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                                                                                                                 Creditor Matrix



                    Creditor Name                         Attention                            Address 1                       Address 2         Address 3             City           State         Zip             Country
1% for the Planet, Inc.                                                    50 Lakeside Ave. #341                                                             Burlington       VT              05401
10 Corso Como                            10 Corso Como                     199 Water St                          Rm 2800                                     New York         NY              83542
10,000 Degrees                                                             Suite 120 1401 Los Gamos Drive                                                    San Rafael       CA              94903
10K Advertising, Inc                                                       473 1/4 S. Farfax Ave.                                                            Los Angeles      CA              90036
10K Advertising, Inc                                                       6245 Wilshire Blvd                    #1509                                       Los Angeles      CA              90046
150 Greene Realty LLC                                                      150 Greene Street                                                                 New York         NY              10012
1972 Agency LLC                                                            420 Kent Ave Suite 360                                                            Brooklyn         NY              11249
24 Seven Talent Calif., Inc.                                               P.O. Box 5786                                                                     Hicksville       NY              11802-5786
24 Seven Talent Calif., Inc.                                               P.O. Box 71305                                                                    Philadelphia     PA              19176-1305
260SSLafayette                           260SSLafayette                    260 5th Ave                                                                       New York         NY              10001
2DKN Trading LLC                                                           4008 CALAIS CT                                                                    Modesto          CA              95356-9348
2RC VAREJO MODA FEMININA LTDA                                              AVENIDA JUSCELINO KUBTSCHEK 2041                                                  SAO PAULO        SP              04543-011    Brazil
2RC VAREJO MODA FEMININA LTDA                                              RUA BELA CINTRA 1951                                                              SAO PAULO        SP              01415-007    Brazil
334 W. Consulting Corp                                                     334 W. 87th St.                       2C-D                                        New York         NY              10024
3700 Highway 421 Owner LLC                                                 Suite 325 200 Garden City Plaza                                                   Garden City      NY              11530
3LD, Inc                                                                   33 West End Avenue                    #3F                                         New York         NY              10023
3M Company                                                                 PO Box 844127                                                                     Dallas           TX              75284-4127
45 Degrees Logistics                                                       P.O. Box 760                                                                      Zanesville       OH              43702
5150 Craft Chocolate, LLC                Purity Wholesale Grocers          5300 Broken Sound Blvd                                                            Boca Raton       FL              33487
7476, Inc                                AmbassadHer                       Apt 106 320 S                                                                     Gramercy Pl      CA              90020-4542
822 Group                                                                  136 Treehaven Street                                                              Gaithersburg     MD              20878
910AIR LLC                                                                 348 Toms Creek Road                                                               Rocky Point      NC              28457
A BETTER SOURCE, LLC                                                       33 N 1ST ST                                                                       CAMPBELL         CA              95008
A Frame LLC                                                                1125 N Fairfax Ave Unit 46279                                                     West Hollywood   CA              90046-8717
A P DA SILVA SUCATAS                                                       R DOMINGOS CONRADO 05/25                                                          SUMARE           SP              13181-643    Brazil
A Priori Advisory Inc.                                                     54 E. 1st Street                      4C                                          New York         NY              10003
A Wild Dove                              A Wild Dove                       57 Reade Street                       Apt 7A                                      New York         NY              10007
A&Z Pharmaceutical, Inc.                                                   350 Wireless Blvd.                                                                Hauppauge        NY              11788
A. Marcus Group                                                            231 West 29th Street                  Suite 701                                   New York         NY              10001
A.G.Scientific, Inc                                                        6450 Lusk Blvd. Suite E102                                                        San Diego        CA              92121
A.I. PR Ltd                                                                Leavesden Park Suite 1                5 Hercules Way                              Watford          Herts           WD25 7GS     United Kingdom
Aaron Garabedian                                                           Address Redacted
Aaron P Zweigle                                                            Address Redacted
AB Mauri Food Inc.                                                         4240 Duncan Avenue, Suite 150                                                     Saint Louis      MO              63110
AB SCIEX                                                                   62510 Collections Center Dr                                                       Chicago          IL              60693-0625
ABA Packaging Corporation                                                  740 Blue Point Rd                                                                 Holtsville       NY              11742
Abad, Maria                                                                Address Redacted
Abatement Technologies, Inc                                                605 Satellite Blvd, Suit 300                                                      Suwanee          GA              30024
Abbamonte, Walter                                                          Address Redacted
Abbott, Derek                                                              Address Redacted
Abcam Inc                                                                  PO Box 3460                                                                       Boston           MA              02241-3460
Abco Laboratories                                                          2450 South Watney Way                                                             Fairfield        CA              94533
ABD Insurance and Financial Service                                        Suite 100 3 Waters Park Drive                                                     San Mateo        CA              94403
Abigail Lim-Kimberg                                                        Address Redacted
Abrahamyan, Emma                                                           Address Redacted
Abrams Artists Agency                    C/O Renegade Mgmt LLC             750 N. San Vicente Blvd., East Towe                                               Los Angeles      CA              90069
Abramson Writing LLC                                                       119 E. Henry Clay St.                                                             Whitefish Bay    WI              53217
Absolute Now                                                               848 N Rainbow Blvd #4763                                                          Las Vegas        NV              89107
Absorb Software, Inc.                                                      #2500, 685 Centre St. S                                                           Calgary          AL              T2G 1S5
Acadia.IO, LLC                                                             956 Brady Avenue NW                   Suite 400                                   Atlanta          GA              30318
Acadia.IO, LLC                                                             Suite 400 956 Brady Avenue NW                                                     Atlanta          GA              30318
Accell Global Risk Solutions, Inc.                                         PO Box 1149                                                                       San Jose         CA              95113-1149
Accenture LLP                                                              Suite 250 1255 Treat Blvd.                                                        Walnut Creek     CA              94597
Access to Advanced Health Institute      formerly IDRI                     Suite 400 1616 Eastlake Ave E                                                     Seattle          WA              98102
AccessBio LLC                                                              2040 E. Mariposa Ave.                                                             El Segundo       CA              90245
Accessible360, LLC                                                         4600 W. 77th Street                                                               Edina            MN              55435
Accision Agency                                                            284 Georgetown Drive                                                              Glastonbury      CT              06033
ACCO Engineered Systems Inc                                                888 East Walnut Street                                                            Pasadena         CA              91101
                                                                                                                                                             COL POLANCO IV
ACCOMS LATAM SAPI DE CV                                                    Horacio 1022 Colonia Polanco                                                      SECCION          TLAX            11550        Mexico
accounting@aubribalk.comAubri Balk Inc                                     3 5 RIVINGTON ST                                                                  New York         NY              10002
AccuImage                                                                  330 Tennant Ave                                                                   Morgan Hill      CA              95037
ACE American Ins. Co.                                                      436 Walnut St                         PO Box 1000                                 Philadelphia     PA              19106
Ace Hardware Corporation                                                   Ace Lockbox 24533 Network Place                                                   Chicago          IL              60673-1245
Achievers LLC                                                              600 California Street, Floor 11                                                   San Francisco    CA              94108
Acme Press Inc dba Calitho                                                 2312 Stanwell Drive                                                               Concord          CA              94520
Acme Scales Co                           C/O Buran and Reed Inc            PO Box 1922                                                                       San Leandro      CA              94577
Acme Security Systems                                                      1660 Factor Avenue                                                                San Leandro      CA              94577
Acorn NMR Inc                                                              7670 Las Posita Rd.                                                               Livermore        CA              94551
Acousticreations                                                           PO Box 2420                                                                       WILMINGTON       NC              28402
Action Agenciamento de Cargas Ltda.                                        SALAS 602, 701 E 702                                                              BELO HORIZONTE   MG              30494-270    Brazil
Action Letter, Inc.                                                        11 Elm Court                                                                      Stamford         CT              06902
Activated Research Company, LLC                                            7561 Corporate Way                                                                Eden Prarie      MN              55344
Ada Support                                                                801 - 96 Spadina Ave                                                              Toronto          ON              M5V 2J6      Canada
Adam Figueroa                                                              Address Redacted
Adam Gallagher                                                             Address Redacted
Adam Gallagher                                                             Address Redacted
ADAM LIPPES LLC                          ADAM LIPPES LLC                   225 Broadway                          42 Fl                                       New York         NY              10007
Adam Wilson                                                                Address Redacted




In re: Amyris, Inc., et al.
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                    Creditor Name                                    Attention                              Address 1                           Address 2                        Address 3            City              State         Zip             Country
Adams & Chittenden Scientific Glass                                                      2741 Eighth Street                                                                                  Berkeley          CA               94710
Adamson Analytical Laboratories Inc                                                      220 Crouse Dr                                                                                       Corona            CA               92879
Adaptive Insights                                                                        Dept. LA 23246                                                                                      Pasadena          CA               91185-3246
Addie Patuto / Joanna Czech                                                              Address Redacted
Adequadoscopio Lda                                                                       Rua Braamcamp 9, S/L Direita                                                                        Lisbon                             1250         Portugal
Adesis, Inc.                                                                             27 McCullough Drive                                                                                 New Castle        DE               19707
ADILSON PRADO                                                                            Address Redacted
ADL BIOPHARMA                                                                            Km. 1,100 - Edificio Gamma Alcobendas                                                                                 Madrid           28108        Spain
ADLOAZH SA DE CV                                   AVENIDA REVOLUCION                    630 COLONIA SAN PEDRO DE LOS PINOS                                                                  CDMX                               3800         Mexico
Adorama                                                                                  42 West 18 Street                                                                                   New York          NY               10011
ADP Inc                                                                                  PO Box 31001-1874                                                                                   Pasadena          CA               91110-1874
Adrian Martin Guadalupe                                                                  Address Redacted
Adrianna Gray                                                                            Address Redacted
Adrizer, LLC                                                                             570 Boulevard of the Arts                                                                           Sarasota          FL               34236
ADT Commercial LLC                                                                       Suite 350 5100 TOWN CENTER CIR                                                                      BOCA RATON        FL               33486-1037
Advance Magazine Publishers Inc.                   dba Conde Nast                        PO Box 5350                                                                                         New York          NY               10087-5350
Advanced Analytical Technologies                                                         2450 Southeast Oak Tree Court                                                                       Ankney            IA               50021
Advanced Chemical Transport Inc                    ACTenviro                             967 Mabury Road                                                                                     San Jose          CA               95133-1025
Advanced Chemical Transport Inc.                   ACTenviro                             967 Mabury Road                                                                                     San Jose          CA               95133-1025
Advanced Science Laboratories, Inc                                                       BLDG. 1 216 CONGERS ROAD                                                                            New York          NY               10956
Advanstar Communications                                                                 1983 MarcusÂ Avenue                        Ste 250                                                  Lake Success      NY               11042
Advantage Sales & Marketing, Inc.                  J.L. Buchanan                         Suite 1000 18100 Von Karman Avenue                                                                  Irvine            CA               92612
Advion, Inc.                                                                             Suite 100 61 Brown Road                                                                             Ithaca            NY               14850
AEDES                                              Robert / Karl                         AEDES DE VENUSTAS                          16A Orchard Street                                       New York          NY               10002
Aegir Specialty Valves                                                                   PO Box 535                                                                                          Menomonee Falls   WI               53052-0535
Aequitas Design Services Inc.                                                            21 Francis J Clarke Circle                                                                          Bethel            CT               06801
Aerotek, Inc,                                                                            7301 Parkway Drive                                                                                  Hanover           MD               21076
Aetna Global Benefits                                                                    151 Farmington Ave. RE4K                                                                            Hartford          CT               06156
Afaghani, Seham                                                                          Address Redacted
AFC COMERCIO DE VESTUARIOS LTDA                                                          AV LUIZ LUA GONZAGA 400, L 239/240                                                                  ARACAJU           SE               49035-500    Brazil
AFCO Acceptance Corporation                                                              Suite 320 4501 College Blvd.                                                                        Leawood           KS               66211
AFG Productions, Inc                                                                     2234 E. Colorado Blvd.                                                                              Pasadena          CA               91107
AFLAC Group Insurance                              Continental American insurance Comp   PO Box 84069                                                                                        Columbia          SC               31908-4069
Afrobella, LLC                                                                           1910 S. State St., #310                                                                             Chicago           IL               60616
AfterShip, Inc.                                                                          2711 Centerville Road                                                                               Wilmington        DE               19808
Agbonkonkon, Nosa                                                                        Address Redacted
Aghabali, Amineh                                                                         Address Redacted
Agilent Technologies Inc                                                                 PO Box 742108                                                                                       Los Angeles       CA               90074-2108
Agnaldo Carneiro de Oliveira x Ardenghi Engenharia
Industrial -Sublime Engenharia - Amyris
Fermentação de Performance LTDA                    ANDRE CESARIO DA COSTA                Antônio Furlan Júnior Street               1219                          Sertãozinho/SP/Brazil                                                      Brazil
Agostoni, Marco                                                                          Address Redacted
Agrana Fruit US, Inc                                                                     6850 Southpointe Parkway                                                                            Brecksville       OH               44141
AI PR HARRIET WILSON                                                                     Address Redacted
AI PR HARRIET WILSON                                                                     Address Redacted
AI PR HARRIET WILSON                                                                     Address Redacted
AI PR HARRIET WILSON                                                                     Address Redacted
Aidan Pilgrim                                                                            Address Redacted
Aila Abraham                                                                             Address Redacted
Ainsworth, Inc. (formerly BP Air)                                                        83-40 72nd Drive                                                                                    Glendale          NY               11385
Air Mail LLC                                                                             9 East 8th Street                          #222                                                     New York          NY               10003
Air Power                                                                                PO Box 5406                                                                                         High Point        NC               27262
Air Products and Chemicals, Inc.                                                         P O Box 71200                                                                                       Charlotte         NC               28272
Airgas Safety Inc                                                                        P.O. Box 734672                                                                                     Dallas            TX               75373-4672
Aisha Adebayo                                                                            Address Redacted
Aisha Hall                                                                               Address Redacted
Aissa Umaru                                                                              Address Redacted
AIT Worldwide Logistics                                                                  PO BOX 775379                                                                                       Chicago           IL               60677-5379
AIT Worldwide Logistics, Inc.                                                            1519 Zephyr Ave.                                                                                    Hayward           CA               94544
AIT Worldwide Logistics, Limited                                                         10/F Hay Nien Building, No. 1                                                                       Hong Kong         KLN              0            Hong Kong
Aja Dang                                                                                 Address Redacted
Aja Renee Holloway                                                                       Address Redacted
Akerman LLP                                                                              P.O. Box 4906                                                                                       Orlando           FL               32802
Akos Azan                                                                                Address Redacted

Al Khafajy Trading LLC                            Al Khafajy Trading LLC                 Warehouse 3, Oilfileds Supply Center Ltd   Al Quoz Ind Area 1, AL Quoz                              Dubai 05570                                     United Arab Emirates
Al Khafajy Trading LLC                                                                   Address Redacted
Alabama Department of Revenue                     Attn: Bankruptcy/Legal Dept.           50 N. Ripley St.                                                                                    Montgomery        AL               36130
Alabama Department of Revenue                     Business Privilege Tax Section         PO Box 327320                                                                                       Montgomery        AL               36132-7320
Alabama Department of Revenue                     Individual & Corp Tax Div Withhol      PO BOX 327480                                                                                       Montgomery        AL               36132-7480
Alabsi, Wafaa                                                                            Address Redacted
Alaimo, Valerie                                                                          Address Redacted
Alameda County                                    Alameda County                         1401 Lakeside Dr.                          9th floor                                                Oakland           CA               94612
Alameda County                                    George Jackson                         AIDS Project of the East Bay               8400 Enterprise Way           Ste 118                    Oakland           CA               94621
Alameda County                                    Javier Orea                            Eden United Church of Christ               21455 Birch Street                                       Hayward           CA               94541
Alameda County                                    Jennifer Ellis                         La Familia Counseling Service              22366 Fuller Ave              Room 4                     Hayward           CA               94541
Alameda County                                    Molly Roberts                          WORLD                                      389 30th Street                                          Oakland           CA               94609
Alameda County                                    Monica Elder                           Roots Community Health Center              7800 MacArthur Blvd                                      Oakland           CA               94605
Alameda County                                    Reyna Perez                            Cal-PEP, Inc                               2811 Adeline Street                                      Oakland           CA               94608




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                 Creditor Name                               Attention                                 Address 1                             Address 2        Address 3              City         State           Zip             Country
Alameda County Assessor's Office                                                   1221 Oak Street                                                                        Oakland            CA           94612
Alamy Inc                                                                          20 Jay Street, Suite 848                                                               Brooklyn           NY           11201
Alan J Blair                                                                       Address Redacted
Alana Cavanzo                                                                      Address Redacted
Alana Diaz                                                                         Address Redacted
Alanna Panday dba IMAP LLC                                                         14950 E. Mayan Dr.                                                                     Fountain Hills     AZ           85268
Alation, Inc.                                                                      Suite 300 3 Lagoon Drive                                                               Redwood Shores     CA           94065
Alba G. Hernandez                                                                  Address Redacted
                                                                                   Building C, Orient Industrial Park, Nanlang
                                                                                   Town, Zhongshan City, Guangdong Province,
AlbÃ©a Tubes (Zhongshan) Co. Ltd.                                                  P.R.C.                                                                                 Zhongshan                       528400         China
Albea Americas                                                                     PO Box 824369                                                                          Philadelphia       PA           19182-4369
Albert Freres                                                                      Address Redacted
Albertsons Companies - Portland Division                                           PO Box 742918                                                                          Los Angeles        CA           90074
Albino, Elizabeth                                                                  Address Redacted
Alcantara, Monica                                                                  Address Redacted
Alconis, Alyson                                                                    Address Redacted
Alder & Co                                 Alder & Co                              222 Main Street                                                                        Germantown         NY           12526
Aldo Fabbri                                                                        Address Redacted
Alejandro, Tizania                                                                 Address Redacted
                                                                                                                                                                          SAO CAETANO DO
ALERI GOGUIN MODAS LTDA EPP                                                        ALAMEDA TERRACOTA 545, LOJA 1057                                                       SUL                SP           09531-190      Brazil
Alessandra Steinherr                                                               Address Redacted
Alex Hong                                                                          Address Redacted
Alex Wolf dba Cry Wolf Creative LLC                                                7810 Corbin Ave                                                                        Reseda             CA           91335
Alexander, Lisa                                                                    Address Redacted
Alexandra Bickerdike                                                               Address Redacted
Alexandra Butler Zuba                                                              Address Redacted
Alexandra Del Bono                                                                 Address Redacted
Alexandra Del Bono                                                                 Address Redacted
Alexandra Glibbery                                                                 Address Redacted
Alexandria Lebsack                                                                 Address Redacted
Alexis Coats                                                                       Address Redacted
Alexis Gallo                                                                       Address Redacted
Alexis, Rebecca                                                                    Address Redacted
Alexsandra Christine Pistorio                                                      Address Redacted
Alexus Jordan                                                                      Address Redacted
Alfa Global Holdings Inc                                                           15025 Proctor Ave                                                                      City of Industry   CA           91746
Alfa Global Holdings Inc - Tmall           Alfa Global Holdings Inc - Tmall        15025 Proctor Avenue                                                                   City of Industry   CA           91746
Alfa Global Holdings Inc - Tmall           Alibaba ID7201000005743401              Kaola ID7020100001143183                      16010 Bloomfield Avenue                  Cerritos           CA           90703
Alfa Laval Inc                                                                     PO Box 123227                                                                          Dallas             TX           75312-3227
Alford, Stephon                                                                    Address Redacted
Ali Ciotto                                                                         Address Redacted
Alice Smellie                                                                      Address Redacted
Alisha Donnell                                                                     Address Redacted

ALISON BROD MARKETING + COMMUNICATIONS                                             440 Park Avenue S                                                                      New York           NY           10016
Alison Brooks                                                                      Address Redacted
All Aces Promotional Staffing, Inc.                                                46-28 Vernon Blvd                                                                      Long Island City   NY           11101
AllChem Industries                                                                 6010 NW First Place                                                                    Gainesville        FL           32607
Alldridge, LeeAnn                                                                  Address Redacted
Allen, Christopher                                                                 Address Redacted
ALLERGISA / Attn: Juliana Pereira                                                  Address Redacted
Allergisa Pesquisa Dermato Cosmetic                                                AV DR. ROMEU TORTIMA 452                                                               BARAO GERALDO      SP           13084-791      Brazil
Alliance Advisors                      C/O Alliance Advisory Group LLC             200 Broadacres Dr 3rd FL                                                               Bloomfield         NJ           07003
Alliance Management Company LLC                                                    14238 Hamlin Street                                                                    Van Nuys           CA           91401
Allie Creevey                                                                      Address Redacted
Allie Creevey                                                                      Address Redacted
Allied Electronics                                                                 AR Dept, PO Box 2325                                                                   Fort Worth         TX           76113-2325
Allied Fluid Products Corp                                                         5303 Adeline St                                                                        Oakland            CA           94608
Allison Cooper                                                                     Address Redacted
Allison LaGuardia LLC dba All Media                                                25 Country Ridge Dr                           Suite 1                                  Monroe             CT           06468
Allison Lewis                                                                      Address Redacted
Allison, Juanita                                                                   Address Redacted
Allog Transportes Internacionais                                                   Av. Joao Scaparo Neto, 84, Bloco C                                                     Campinas           SP           13080-655      Brazil
Allog Transportes Internacionais                                                   Av. Joao Scaparo Neto, 84, Bloco C                                                     Campinas                        SP 13080-655
Allog Transportes Internacionais                                                   Av. Joao Scaparo Neto, 84, Bloco C,                                                    Campinas           SP           13080-655      Brazil
Alloy Technologies, Inc.                                                           528 Folsom Street                                                                      San Francisco      CA           94105
Allrite Logistics LLC                                                              6969 Alum Creek Dr.                           Suite 3                                  Columbus           OH           43217
Allure / Attn: Paige Stables                                                       Address Redacted
Allure / Jessica Cruel                                                             Address Redacted
ALLURE Attn: Jennifer Hussein                                                      Address Redacted
Allure Labs, Inc.                                                                  30901 Wiegman Rd                                                                       Hayward            CA           94544
Allure Labs, Inc.                      Attn: Sunita                                30901 Wiegman Rd                                                                       Hayward            CA           94544
Allure Labs, Inc.                      Attn: Sunita                                30901 Wiegman Rd                                                                       Hayward            CA           94544
Allure Store 191 LLC                   Allure Store 191 LLC                        191 Lafayette Street                                                                   New York           NY           10013
Allured Business Media                 Allured Publishing Corporation              336 Gundersen Drive, Suite A                                                           Carol Stream       IL           60188
Ally Love LLC                                                                      1 2nd Street #1611                                                                     Jersey City        NJ           07302
ALLY URBAN CENTRE, LLC                                                             1211 North Westshore Blvd, Suite 80                                                    Tampa              FL           33607




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                  Creditor Name                             Attention                           Address 1                      Address 2         Address 3            City              State           Zip            Country
Allyson Tobin                                                                Address Redacted
ALOJA                                 ALOJA                                  40 BEACONSFIELD AVE                                                             TORONTO            ON              M6J 3H9       Canada
ALOJA                                 ALOJA                                  872 COLLEGE STREET                                                              TORONTO            ON              M6H1A3        Canada
Alpha Capital Anstalt                 C/O Lindenberg and Lindenberg          287 Eglinton Ave. E., Suite 100                                                 Toronto            ON              M4P 1L3       Canada
Alpha Kappa Alpha Sorority, Inc                                              P.O. Box 9728                                                                   Columbus           GA              31908
Alpha Packaging                       Alpha Plastics, Inc                    1555 Page Industrial Blvd                                                       St Louis           MO              63132
Alphasense Inc.                                                              5th Floor 24 Union Square East                                                  New York           NY              10003
ALPINA PRODUCTOS ALIMENTICIOS SA                                             KM 3 VIA BRICENO SOPO S/N                                                       CUNDINAMARCA       25              25001         Colombia
Alvarez, Eduardo                                                             Address Redacted
Alvi, Ariba                                                                  Address Redacted
Alys Morrison                                                                Address Redacted
ALYSON ALCONIS                                                               Address Redacted
Alyssa Lenore                                                                Address Redacted
Alyssa Pizer Management                                                      13121 Garden Land Rd.                                                           Los Angeles        CA              90049
Alyssa Vidal (Bergdorf Goodman)                                              Address Redacted
AMA Laboratories, Inc.                                                       Box 16                                                                          Valley Cottage     NY              10989
AMAIA                                                                        70 Rue CassiopÃ©e Parc AltaÃ¯s                                                  Chavanod           Paris           74650         France
Amanda Parker                                                                Address Redacted
Amani Richardson                                                             Address Redacted
Amans, Mercedes                                                              Address Redacted
AMARO FASHION LTDA                                                           R ANTONIO NAGIB IBRAHIM 30                                                      SAO PAULO          SP              05036-060     Brazil
AMARO LTDA                                                                   ESTRADA MUNICIPAL LUI 21, GALPAO A                                              EXTREMA            MG              37640-000     Brazil
Amaya Morales, Maria                                                         Address Redacted
Amazing Brands                                                               Klarabergsviadukten 90 A, plan 5                                                Stockholm                          111 64        Sweden
Amazing Brands Stockholm              Amazing Brands                         Klarabergsviadukten 90 A                                                        Stockholm 111 64                                 Sweden
Amazing Brands Stockholm              Amazing Brands Stockholm               Lundåsvägen 10                                                                  Hallstavik 76330                                 Sweden
Amazon                                                                       1200 12th Avenue South                Suite 12                                  Seattle            WA              98109
Amazon                                                                       510 Fairview Ave N                                                              Seattle            WA              98109
Amazon Advertising LLC                                                       PO Box 24651                                                                    Seattle            WA              98124-0651
Amazon Seller | JVN                   (FOE1)                                 Amazon                                9400 LEAVENWORTH RD                       Kansas City        KS              66109
Amazon Seller | JVN                   (SAV3)                                 Amazon                                7001 Skipper Rd                           Macon              GA              31216-6427
Amazon Seller | JVN                   Amazon                                 (ACY2)                                1101 E PEARL ST                           Burlington         NJ              08016
Amazon Seller | JVN                   Amazon                                 MQJ1                                  4412 W 300 N                              Greenfield         IN              46140
Amazon Seller | JVN                   Amazon - BNA2                          500 Duke Drive                                                                  Lebanon            TN              37090
Amazon Seller | JVN                   Amazon - BOS7                          1180 Innovation Way                                                             Fall River         MA              02722-4766
Amazon Seller | JVN                   Amazon - BWI1                          45121 Global Plaza                                                              Sterling           VA              20166
Amazon Seller | JVN                   Amazon - BWI4                          165 Business Blvd                                                               Clear Brook        VA              22624
Amazon Seller | JVN                   Amazon - DEN2                          22205 East 19th Avenue                                                          Aurora             CO              80019-3710
Amazon Seller | JVN                   Amazon - EWR4                          50 New Canton Way                                                               Robbinsville Twp   NJ              08691
Amazon Seller | JVN                   Amazon - HOU3                          31555 Highway 90 E                                                              Brookshire         TX              77423
Amazon Seller | JVN                   Amazon - IND5                          800 Perry Rd                                                                    Plainfield         IN              46168
Amazon Seller | JVN                   Amazon - IND9                          1151 S Graham Road                                                              Greenwood          IN              46143-7830
Amazon Seller | JVN                   Amazon - MEM2                          191 Norfolk Southern Way                                                        Byhalia            MS              38611
Amazon Seller | JVN                   Amazon - MGE3                          808 Hog Mountain Road, Building F                                               Jefferson          GA              30549
Amazon Seller | JVN                   Amazon - PHL4                          21 Roadway Drive                                                                Carlisle           PA              17015
Amazon Seller | JVN                   Amazon - RNO4                          8000 N Virginia Street                                                          Reno               NV              89506
Amazon Seller | JVN                   Amazon - SAV3                          7001 Skipper Rd                                                                 Macon              GA              31216
Amazon Seller | JVN                   Amazon PHX7                            800 N 75th Ave                                                                  Phoenix            AZ              85043
Amazon Seller | JVN                   Amazon Samples - MGA/BrandShare        3818 Grandville Ave                                                             Gurnee             IL              60031
Amazon Seller Canada | Pipette        Amazon Canada                          2750 Peddie Rd.                                                                 Milton             ON              L9T 6Y9       Canada
Amazon Seller Canada | Pipette        Amazon Canada                          450 Derwent PL                                                                  Delta              BC              V3M 5Y9       Canada
Amazon Seller Canada | Pipette        Amazon Canada                          5225 Boundary Road                                                                                                 K4N 1P6       Canada
Amazon Seller Canada | Pipette        Amazon Canada                          6110 Cantay Rd.                                                                 Mississauga        ON              L5R 3W        Canada
Amazon Seller Canada | Pipette        Amazon Canada                          6363 Millcreek Drive                                                            Mississauga        ON              L5N 1L8       Canada
Amazon Seller Canada | Pipette        Amazon Canada                          7995 Winston Churchill Blvd.                                                    Brampton           ON              L6Y 0B2       Canada
Amazon Seller Canada | Pipette        Amazon Canada                          8050 Heritage Rd.,                                                              Brampton           ON              L6Y 0C9       Canada
Amazon Seller Canada | Pipette        Amazon Canada                          P.O. Box 81226                                                                  Seattle            WA              98108-1226
Amazon Seller Canada | Pipette        IRS ENT (Taxpayer ID) XX-XXXXXXX       Amazon Canada                         410 Terry Avenue North                    Seattle            WA              98109
Amazon Seller Costa Brazil            Amazon FC (FWA4)                       9798 Smith Road                                                                 Fort Wayne         IN              46809
Amazon Seller Costa Brazil            Amazon FC (MDW2)                       250 Emerald Drive                                                               Joliet             IL              60433
Amazon Seller Costa Brazil            Amazon FC (MQJ1)                       4412 W 300 N                                                                    Greenfield         IN              46140
Amazon Seller Costa Brazil            Amazon Logistic Service (IND9)         1151 S GRAHAM RD                                                                Greenwood          IN              46143
Amazon Seller EcoFab                  Amazon.com LLC                         440 Terry Ave N                                                                 Seattle            WA              98109

AMAZON SERVICOS DE VAREJO DO BRASIL                                          AVENIDA ANTONIO CANDIDO MACHAD 3100                                             CAJAMAR            SP              07776-415     Brazil
Amazon Web Services Inc                                                      PO Box Box 84023                                                                Seattle            WA              98124-8423
Amazon.com Services, Inc.                                                    10240 Old Dowd Rd                                                               Charlotte          NC              28214-8082
Amazon.com Services, Inc.                                                    11263 Oleander Ave                                                              Fontana            CA              92337-7441
Amazon.com Services, Inc.                                                    1151 S GRAHAM RD                                                                GREENWOOD          IN              46143-7830
Amazon.com Services, Inc.                                                    11903 National Road SW,                                                         Etna               OH              43062-7793
Amazon.com Services, Inc.                                                    12300 Bermuda Road                                                              Henderson          NV              89044-8746
Amazon.com Services, Inc.                                                    1250 NW Swigert Way                                                             Troutdale          OR              97060
Amazon.com Services, Inc.                                                    12900 Pecan Park                                                                Jacksonville       FL              32218-2432
Amazon.com Services, Inc.                                                    1301 Chalk Hill Road                                                            Dallas             TX              75211
Amazon.com Services, Inc.                                                    14000 NW 37th Avenue                                                            Opa-Locka          FL              33054-6324
Amazon.com Services, Inc.                                                    14601 Grand Street                                                              Thornton           CO              80023-6622
Amazon.com Services, Inc.                                                    1550 W. Main Street                                                             West Jefferson     OH              43162-9747
Amazon.com Services, Inc.                                                    1700 Sparrows Point Boulevard                                                   Sparrows Point     MD              21219
Amazon.com Services, Inc.                                                    1800 140th Avenue E                                                             Sumner             WA              93890-9624




In re: Amyris, Inc., et al.
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                    Creditor Name                               Attention                              Address 1                          Address 2         Address 3             City         State         Zip             Country
Amazon.com Services, Inc.                                                           1901 Meadowville Technology Pkwy                                                    Chester           VA           23836-2841
Amazon.com Services, Inc.                                                           200 Old Iron Ore Rd                                                                 Windsor           CT           06095-2144
Amazon.com Services, Inc.                                                           2010 Broening Hwy                                                                   Baltimore         MD           21224-6027
Amazon.com Services, Inc.                                                           20529 59th Place South                                                              Kent              WA           98032-2423
Amazon.com Services, Inc.                                                           240 Mantua Grove Road                                                               West Deptford     NJ           08066
Amazon.com Services, Inc.                                                           24300 Nandina Ave                                                                   Morena Valley     CA           92551-9534
Amazon.com Services, Inc.                                                           250 EMERALD DR                                                                      Joliet            IL           60433-3280
Amazon.com Services, Inc.                                                           32801 Ecorse Road                                                                   Romulus           MI           48174
Amazon.com Services, Inc.                                                           3292 E Holmes Rd                                                                    Memphis           TN           38118-8102
Amazon.com Services, Inc.                                                           33333 LBJ FWY                                                                       Dallas            TX           75241-7203
Amazon.com Services, Inc.                                                           3350 Laurel Ridge Ave                                                               Ruskin            FL           33570-526
Amazon.com Services, Inc.                                                           3923 S B ST                                                                         Stockton          CA           95206-8202
Amazon.com Services, Inc.                                                           4000 Premier Parkway                                                                Saint Peters      MO           63376-3447
Amazon.com Services, Inc.                                                           401 Independence Road                                                               Florence          NJ           08518-2200
Amazon.com Services, Inc.                                                           4040 North 125th East Avenue                                                        Tulsa             OK           74116-2102
Amazon.com Services, Inc.                                                           410 Terry Avenue North                                                              Seattle           WA           98109
Amazon.com Services, Inc.                                                           4412 W 300 N                                                                        GREENFIELD        IN           46140-7099
Amazon.com Services, Inc.                                                           4500 68th Street SE                                                                 Caledonia         MI           48174
Amazon.com Services, Inc.                                                           4950 Goodman Way                                                                    Eastvale          CA           91752-5087
Amazon.com Services, Inc.                                                           546 Gulf Avenue                                                                     Staten Island     NY           10314
Amazon.com Services, Inc.                                                           550 Oak Ridge Road                                                                  Hazleton          PA           18202-9361
Amazon.com Services, Inc.                                                           601 Randolph Road                                                                   Somerset          NJ           08873
Amazon.com Services, Inc.                                                           6855 SHANNON PKWY                                                                   UNION CITY        GA           30291-2009
Amazon.com Services, Inc.                                                           6925 Riverview Avenue                                                               Kansas City       KS           66102-3047
Amazon.com Services, Inc.                                                           700 Westport Parkway                                                                Fort Worth        TX           76177-4513
Amazon.com Services, Inc.                                                           705 Boulder Drive                                                                   Breinigsville     PA           18031-1533
Amazon.com Services, Inc.                                                           8000 Tuckaseegee Rd                                                                 Charlotte         NC           28214-2633
Amazon.com Services, Inc.                                                           8003 Industrial Parkway                                                             Carteret          NJ           07008-3529
Amazon.com Services, Inc.                                                           8181 W ROOSEVELT ST                                                                 PHOENIX           AZ           85045-2356
Amazon.com Services, Inc.                                                           9201 S Portland Avenue                                                              Oklahoma City     OK           73159-0003
Amazon.com Services, Inc.                                                           975 Powder Plant Rd                                                                 Bessemer          AL           35022-5497
Amazon.com Services, Inc.                                                           P.O. Box 81226                                                                      Seattle           WA           98108-1226
Ambe, Divine                                                                        Address Redacted
Amber International                                                                 111 Northfield Ave                        Suite 312                                 West Orange       NJ           07052
Amber Martinez Vasquez                                                              Address Redacted
Amber McGraw                                                                        Address Redacted
Amber Wigmore Alvarez, PhD                                                          Address Redacted
Ambius                                         Rentokil North America Inc           PO Box 14086                                                                        Reading           PA           19612
Amboretto Bombas LTDA. v. Amyris Fermentação
de Performance LTDA                            Maciel                               Fernandes e Basso Lawyers                                                                                                       Brazil
American Arbitration Association                                                    21st Floor 120 Broadway                                                             New York          NY           10271
American Broadcasting Companies, Inc                                                47 West 66th Street                                                                 New York          NY           10023
American Custom Drying                                                              P.O. Box 62760                                                                      Baltimore         MD           21264-2760
American Diabetes Association                                                       Suite 425 1970 Broadway                                                             Oakland           CA           94612
American Distillation, Inc.                                                         PO Box 400                                                                          Leland            NC           28451
American Express                                                                    PO Box 360001                                                                       FT Lauderdale     FL           33336-0001
American Express Travel Related Services
Company, Inc                                                                        200 Vesey Street                                                                    New York          NY           10285
American Industries, Inc.                                                           P.O. Box 1405                                                                       Lumberton         NC           28359-1405
American International Container               AIC                                  Suite 4 3 Mars Court                                                                Boonton           NJ           07005
American Mechanical & Piping, Inc.                                                  PO Box 249                                                                          Cheraw            SC           29520
American Sugar Refining Inc.                                                        One North Clematis Street, Suite 40                                                 West Palm Beach   FL           33401
American Type Culture Collection               ATCC                                 PO Box 76349                                                                        Baltimore         MD           21275-6349
Americas SAP Users Group                                                            Dept.127, PO Box 4248                                                               Houston           TX           77210-4248
Ameridia Innovative Solutions, Inc.                                                 2656 Napa Valley Corporate Drive                                                    Napa              CA           94558
Amerizon of NC                                                                      4424 Bragg Blvd. Suite 101                                                          Fayetteville      NC           28303
AMI Organics Ltd.                                                                   PLOT NO. 440/4,5,6                                                                  GIDC SACHIN       06           394230       India
AminoAcids.com                                 C/O Scientific Research Consortium   Suite 321 1769 Lexington Avenue Nor                                                 St. Paul          MN           55113
Amira Omar                                                                          Address Redacted
Amra Olevic Reyes                                                                   Address Redacted
AMS Services, LLC                                                                   10053 South Olde Wynd                                                               Leland            NC           28451
Amsellem, Elizabeth                                                                 Address Redacted
Amy A Caudy, PhD                                                                    Address Redacted
Amy B Fix                                                                           Address Redacted
Amy Burns                                      Ruchika Gupta                        Franklin Law P.C.                                                                                                               Brazil
Amy Metzger dba IW Studio Inc.                                                      3041 Kallin Ave                                                                     Long Beach        CA           90808
Amy Shanker                                                                         Address Redacted
Amyris - US Manufacturing                                                           5885 Hollis                                                                         Emeryville        CA           54608
Amyris Bio Prod                                Portugal Unipessoal                  5885 Hollis                                                                         Emeryville        CA           54608
Amyris Bio Products Portugal                                                        RUA DIOGO BOTELHO, 1327 S/N                                                         porto                          4169-005
AMYRIS BIO PRODUCTS UNIPESSOAL LTDA                                                 RUA DIOGO BOTELHO 1237                                                              PORTO             13           4169-005     Portugal
AMYRIS BIOSSANCE DO BRASIL                     COMERCIO DE COSMETICOS               Rodovia Governador Mar 3979, K                                                      Serra             ES           29162-703
AMYRIS BIOTECNOLOGIA DO BRASIL LTDA                                                 FAZENDA SAO MARTINH S/N                                                             PRADOPOLIS        SP           14850000     Brazil
AMYRIS BIOTECNOLOGIA DO BRASIL LTDA                                                 FAZENDA SAO MARTINHO SN                                                             PRADOPOLIS        SP           14850-000
AMYRIS BIOTECNOLOGIA DO BRASIL LTDA                                                 Rua James Clerk Maxwell 315                                                         Campinas          SP           13069-380    Brazil
AMYRIS BRASIL LTDA                                                                  JAMES CLERK MAXWELL 315                                                             CAMPINAS          SP           13069-380    Brazil
Amyris Brasil LTDA                                                                  Rua James Clerk Maxwell 318                                                         Campinas          SP           13069-380    Brazil
Amyris Brasil Ltda.                                                                 Rod Brotas/Torrinha S/N                                                             Brotas            SP           17380-000
Amyris Clean Beauty (CBB1)                                                          5885 Hollis Street Suite 100                                                        Emeryville        CA           94608




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                                                                                                                              Please email to
Amyris Clean Beauty (CBB1)                  Amyris Clean Beauty                      Attn: Accounts Payable 13617             CleanBeautyAP@Amyris.com            5885 Hollis Street Suite 100             EMERYVILLE         CA           94608
AMYRIS CLEAN BEAUTY LATAM LTDA                                                       AV. ROQUE PETRONI J 850, TORRE BACA                                                                                   SAO PAULO          SP           04707-000     Brazil
AMYRIS CLEAN BEAUTY LATAM LTDA                                                       ROD GOVERNADOR MARIO COVAS 3979                                                                                       SERRA              ES           29162-703     Brazil
Amyris Clean Beauty, Inc.                                                            Suite 100 5885 Hollis Street                                                                                          Emeryville         CA           94608
Amyris Fermentação de Perfomance Lt                                                  FAZENDA PAU D'ALHO                                                                                                    Barra Bonita       SP           1734-0000

AMYRIS FERMENTACAO DE PERFORMANCE L                                                  FAZENDA PAU D'ALHO S/N                                                                                                BARRA BONITA       SP           17340-000

AMYRIS FERMENTACAO DE PERFORMANCE L                                                  FAZENDA PAU D'ALHO S/N, CP 54 PLAN                                                                                    BARRA BONITA       SP           17340-000     Brazil
Amyris Inc                                                                           10 5885 Hollis Street                                                                                                 Emeryville         CA           00009-4608
AMYRIS INC                                                                           100 5850 HOLLIS STREET                                                                                                EMERVYLLE          CA           94608
AMYRIS INC                                                                           100 5885 HOLLIS STREET                                                                                                EXTERIOR           CA           00009-4608
Amyris Inc (Intercompany with Aprin                                                  5885 Hollis                                                                                                           Emeryville         CA           54608
Amyris Inc (USGL)                                                                    2271 Andrew Jackson Hwy                                                                                               Leland             NC           28541
Amyris Inc /Attn Vianca Dimaranan                                                    Address Redacted
Amyris Inc.                                                                          Address Redacted
Amyris Inc. / Attn: Glorys Hidalgo-Acosta                                            Address Redacted
Amyris Inc. Attn: Mercedes Amans                                                     Address Redacted
Amyris RealSweet                                                                     Suite 100 5885 Hollis St.                                                                                             Emeryville         CA           94608
Amyris UK Trading Limited                                                            Address Redacted
Amyris UK Trading Limited                                                            Address Redacted
Amyris UK Trading Limited (AUK1)            Amyris UK Trading Limited                10-11 Clerkenwell Green                                                                                               London                          EC1R 0DP
Amyris UK Trading Limited (AUK1)            Amyris UK Trading Limited (AUK1)         10-11 Clerkenwell Green                                                                                               London                          EC1R 0DP      United Kingdom
Amyris, Inc.                                5885 Hollis Street                       Suite 100                                                                                                             Emeryville         CA           94608
Amyris, Inc.                                Amyris, Inc.                             5850 Hollis Street                                                                                                    Emeryville         CA           94608
                                            FAO Aisling Connell, Hotel La Nouvelle   FAO Aisling Connell, Hotel La Nouvelle   9 Rue Moret, 75011 Paris Tel: +44   9 Rue Moret, 75011 Paris Tel: +44 7734   PARIS FRANCE
Amyris, Inc.                                République,                              République,                              7734 96437                          96437                                    75011                                         France
Amyris, Inc. v. Lavvan, Inc.                CYRULNIK FATTARUSO LLP                   Jason Cyrulnik                           55 Broadway                         3rd Floor                                NY                 NY           10006
Amyris-EcoFab, LLC (ECF1)                   Amyris-EcoFab, LLC (ECF1)                5885 Hollis St. Suite 100                                                                                             Emeryville         CA           94608
An Uncomplicated Life Blog                                                           9714 Windy Terrace Dr                                                                                                 Dallas             TX           75231
Ana Dutra                                                                            Address Redacted
Ana Karina Allen                                                                     Address Redacted
Ana Khouri                                                                           Address Redacted
Ana Slikta / Rosewood Sao Paulo                                                      Address Redacted
ANALOG NEW YORK LLC                                                                  195 Kent St                              1R                                                                           Brooklyn           NY           11222
Analytical Instrumentation Services                                                  221 Windchime Dr                                                                                                      Wilmington         NC           28412
Analytical Science Instruments US,                                                   3023 Research Drive                                                                                                   Richmond           CA           94806
Analytical Technologies Group LLC           ATG                                      179 Cross Road                                                                                                        Waterford          CT           06385
Analytik Jena US LLC                                                                 2066 W. 11th Street                                                                                                   Upland             CA           91786
Anastasia M Harper                                                                   Address Redacted
Anatrace Products LLC                                                                434 W Dussel Dr                                                                                                       Maumee             OH           43537
And Sales                                                                            526 Deerpath Road                                                                                                     Batavia            IL           60510
Anderes, Tegan                                                                       Address Redacted
Anderson Merchandisers LLC                                                           5601 Granite Parkway                     Suite 1400                                                                   Plano              TX           75024
Anderson, Brooke                                                                     Address Redacted
Anderson, Cheryl                                                                     Address Redacted
Anderson, Lisa                                                                       Address Redacted
Andrada, Marisa                                                                      Address Redacted
Andrade, Rigi                                                                        Address Redacted
Andrea Borg                                                                          Address Redacted
Andrea Cesar                                                                         Address Redacted
Andrea Cortes MGE                                                                    Address Redacted
Andrea Ferreira Adorno                                                               Address Redacted
Andrea Omohundro                                                                     Address Redacted
Andres Burgos                                                                        Address Redacted
Andrew Alliance USA Inc.                                                             135 Beaver Street                                                                                                     Waltham            MA           02452
Andrew Kim                                                                           Address Redacted
Andrew Licout                                                                        Address Redacted
Andrew Prisco                                                                        Address Redacted
Andrews Jr, Edward                                                                   Address Redacted
Andria Lo                                                                            Address Redacted
AndVest Beauty Labs LP                                                               Apt 2B 147 West 79th Street                                                                                           New York           NY           10024
Andy Baraghani                                                                       Address Redacted
Andy Baraghani                                                                       Address Redacted
ANDY HORT c/o Big and Partners                                                       Address Redacted
Anecdote Creative LLC                                                                861 Francis Way                                                                                                       Nipomo             CA           93444
Anesma Group, LLC                                                                    1180 San Carlos Avenue                   #717                                                                         San Carlos         CA           94070
ANESMA GROUP, LLC                                                                    1180 SAN CARLOS AVENUE, #717                                                                                          SAN CARLOS         CA           94070
Anesma Group, LLC                           Goodwin Procter LLP                      3 Embarcadero Center                     28th floor                                                                   San Francisco      CA           94111
Anete Salinieka                                                                      Address Redacted
Angel Cybersecurity LLC                                                              PO Box 518                                                                                                            Sausalito          CA           94966
Angela Welcome (Bergdorf Goodman)                                                    Address Redacted
Angelina Gardner                                                                     Address Redacted
Angelina Sanchez                                                                     Address Redacted
Angelina Sanchez                                                                     Address Redacted
Angelo Clarizio dba Clarizio LLC                                                     1202 Norton Ave                                                                                                       Glendale           CA           91202
Angie Christiansen/Bluemercury                                                       Address Redacted
Ania et Lucie LLC                                                                    98 4th Street                            Suite 301                                                                    Brooklyn           NY           11231




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                   Creditor Name                            Attention                              Address 1                            Address 2         Address 3              City            State           Zip        Country
Anisa International Inc                                                         225 Ottley Drive                           Suite 230                                  Atlanta            GA              30324
Anisa International Inc                                                         Suite 230 225 Ottley Drive                                                            Atlanta            GA              30324
ANITA LAL                                                                       Address Redacted
Anjo Ventures, LLC                                                              1180 San Carlos Avenue                     #717                                       San Carlos         CA              94070
Anjo Ventures, LLC                        Goodwin Procter LLP                   3 Embarcadero Center                       28th floor                                 San Francisco      CA              94111
ANM COMMS LLP                                                                   139-143 Bermondsey Street                                                             London                             SE1 3UW       United Kingdom
ANNA CAROLINA M M PELLEGRINI BASSI                                              Address Redacted
Anna Joo                                                                        Address Redacted
Anna M Hartman-Kenzler                                                          Address Redacted
Anna Zahn                                                                       Address Redacted
Anna Zahn                                                                       Address Redacted
Anna Zahn                                                                       Address Redacted
Anna Zahn                                                                       Address Redacted
Anna-Lena Herrmann                                                              Address Redacted
Anne Ford                                                                       Address Redacted
Anne Heiting                                                                    Address Redacted
Annie Bruce                                                                     Address Redacted
Ann's Health Food                                                               2634 S. ZANG BLVD                                                                     Dallas             TX              75224
Another A Story Ltd.                                                            59A PORTOBELLO ROAD                                                                   LONDON                             W11 3DB       United Kingdom

Another Company Mexico S.C                                                      Avenida Insurgentes Sur #601 Piso 16                                                  Ciudad de Mexico C.P               3810          Mexico
                                                                                                                                                                      Napoles Del. Benito
Another Company Mexico, S.C                                                     Av. Insurgentes Sur # 601 Piso. 16         Luohu                                      Jaurez               MEX           03810
Anresco Laboratories                                                            1375 Van Dyke Ave                                                                     San Francisco        CA            94124
Anthony S. Rogers                                                               Address Redacted
Anthropologie                                                                   Address Redacted
Antibroadcasting Inc.                                                           2438 Grand Ave. S. #201                                                               Minneapolis        MN              55405
Antink, Karl                                                                    Address Redacted
Anton Khachaturian                                                              7119 West Sunset Blvd. #909                                                           Los Angeles        CA              90046
Anton Paar USA, Inc.                                                            2824 Columbia Street                                                                  Torrance           CA              90503
Antonovsky, Neev                                                                Address Redacted
AO & co Executive Consulting LLC                                                54 Lookout Circle                                                                     Larchmont          NY              10538
AO Representative Expense Fund LLC                                              850 New Burton Road                                                                   Dover              DE              19904
AO Representative Expense Fund LLC                                              Suite 201 850 New Burton Rd                                                           Dover              DE              19904
AO Representative Expense Fund, LLC,      Douglas Capuder                       90 Broad Street                            18th Floor                                 NY                 NY              10004
Aon Consulting Inc                                                              PO Box 100137                                                                         Pasadena           CA              91189-0137
Aon Risk Insurance Services W Inc                                               P. O. Box 849832                                                                      Los Angeles        CA              90084-9832
APackaging Group LLC                                                            1350 Mountain View Circle                                                             Azusa              CA              91702
APC Packaging LLC                                                               1850 W McNab Rd                                                                       Fort Lauderdale    FL              33309
APFS Staffing, Inc                        Addison Group                         7076 Solutions Center                                                                 Chicago            IL              60677
APFS Staffing, Inc dba Addison Group                                            7076 Solutions Center                                                                 Chicago            IL              60677-7000
Appear Here Inc.                                                                401 Broadway                                                                          New York           NY              10013
Appelman Schauben Co.                                                           40 John Portman Boulevard Northwest        Suite 1100                                 Atlanta            GA              30303
Apple Inc.                                                                      P.O. Box 846095                                                                       Dallas             TX              75284-6095
Applechem                                                                       2 Cranberry Rd, Unit A4                                                               Parsippany         NJ              07054
Appleton Finn Ltd                                                               1 East Parade                                                                         Leeds              YW              LS1 2AD       United Kingdom
Applied Bioprocess Containers             C/O Saint Gobain Performance Plast.   P.O. Box 743699                                                                       Atlanta            GA              30374-3699
Applied Industrial Technologies                                                 22510 Network Place                                                                   Chicago            IL              60673-1225
April Long                                                                      Address Redacted
Aprinnova (NSC1)                                                                2271 Andrew Jackson Hwy                                                               Leland             NC              28451
Aprinnova LLC                                                                   Andrew Jackson Hwy                                                                    Leland             NC              28451
Aprinnova LLC                                                                   NA 5885 Hollis                                                                        Emeryville         CA              54608
AptarGroup, Inc.                                                                7871 COLLECTION CENTER DR                                                             Chicago            IL              60693
Apura Ingredients Inc                                                           14168 Central Ave, Unit A                                                             Chino              CA              91710
Aqua Designs, Inc.                                                              P.O. Box 72319                                                                        Durham             NC              27722
Aquila Biolabs GmbH                                                             Arnold-Sommerfeld-Ring 2                                                              Baesweiler         05              52499         Germany
Aquino, Sergio                                                                  Address Redacted
AR Toxicology Inc.                        Ashley Roberts                        185 Maple Grove Drive                                                                 Oakville           ON              L6J 4V2       Canada
Ara´kai Beauty                            Ara´kai Beauty                        Gammel Mønt 21                                                                        Copenhagen 1117                                  Denmark
Aramark                                   Aramark Sports and Entertainment      Suite 251 1675 Owens Street                                                           Santa Clara        CA              94143
Arambula, Denisse                                                               Address Redacted
Arbon Equipment                           Rite-Hite Company, LLC                8900 N. Arbon Dr.                                                                     Milwaukee          WI              53223-2451
ARC3 Gases                                                                      P.O. Box 896866                                                                       Charlotte          NC              28289-6866
Arcade Beauty                                                                   P.O. Box 60088                                                                        Chattanooga        TN              37406
Architectural Beauty LLC                                                        205 Robin Road                                                                        Paramus            NJ              07652
Architecture Research Office LLC                                                170 Varick Street, Floor 7                                                            New York           NY              10013
Arcola Products Ltd                                                             Staplehurst Road                                                                      Sittingbourne      Kent            ME10 2NH      United Kingdom
Ardiente, Chris                                                                 Address Redacted
Ardor IT Solutions Inc                                                          8801 JM KEYNES DR                                                                     Charlotte          NC              28262
Argiro Poulos                                                                   2926 Chestnut St                                                                      Wilmington         NC              28405
Argos Multilingual                        Enlaso Corporation                    Suite 408 6126 W STATE STREET                                                         Boise              ID              83703
Argot Partners, LLC                                                             34th Floor 767 Third Ave                                                              New York           NY              10017
Ariel Maroko                                                                    Address Redacted
Ariella Gogol Inc.                                                              72 North 8th Street                                                                   Brooklyn           NY              11249
Arizona Custom Blends Manufacturing LLC                                         1555 W 10th Place                          Suite 106                                  Tempe              AZ              85281
Arizona Model Management, LLC                                                   4729 E. Sunrise Drive, Suite 227                                                      Tucson             AZ              85718
Arizona Nutritional Supplements, LLC                                            210 S. Beck Ave.                                                                      Chandler           AZ              85226
Arkeedah McCormick                                                              Address Redacted
Armstrong, Nancy                                                                Address Redacted




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                    Creditor Name                       Attention                              Address 1                            Address 2         Address 3             City               State                 Zip            Country
Arnall Golden Gregory LLP                                                  #2100 171 17th Street, NW                                                              Atlanta             GA                     30363
Arnold, Dustin                                                             Address Redacted
Aroma NY Pop Up                                                            Address Redacted
Aromatic Fillers                                                           38 Haywood Street                                                                      Greenfield          MA                     01301
Aromatic Fillers / Attn: John Davey                                        Address Redacted
Arpino, James                                                              Address Redacted
Arpita Saha                                                                Address Redacted
ArrakisTek Inc.                       Muse Chem                            Suite 334 277 Fairfield Road                                                           Fairfield           NJ                     07004
Array Marketing Canada Inc.                                                45 Progress Avenue                                                                     Toronto             ON                     M1P2Y6        Canada
Arsenal Communications, Inc                                                275 W 39th St, 3rd Fl                                                                  New York            NY                     10018
Art and Soul Creations Pty Ltd                                             414 Marion Street                                                                      Condell Park        NSW                    2200          Australia
ART CLASS LTD dba Anya Holdstock                                           42 NORTHAMPTON ROAD                                                                    London              London                 EC1R 0HU      United Kingdom
Art Department                                                             242 Washington Ave                                                                     Miami               FL                     33139
Art Department LA, Inc.                                                    1050 W Alameda Ave. #136                                                               Burbank             CA                     91506
Art Partner, Inc                                                           1 Dekalb Avenue                              4th Floor                                 Brooklyn            NY                     11201
Art Robbins Instruments LLC                                                1293 Mt. View Alviso Rd Ste D                                                          Sunnyvale           CA                     94089
Artcom Production LLC                                                      200 Central Park South                       11J                                       New York            NY                     10019
Art-Delta NY 1, Inc.                                                       2520 Brooklyn Queens Expy                                                              Woodside            NY                     11377
Arte Institute Inc.                                                        APT 19 550 Broome Street                                                               New York            NY                     10013
ARTeSYN Biosolutions USA LLC                                               1771 South Sutro Terrace                                                               Carson City         NV                     89706
Arthur J. Gallagher Insurance Broke                                        2850 Golf Road                                                                         Rolling Meadows     IL                     60008
Articulate Global, LLC                                                     244 5th AVE                                  #2960                                     New York            NY                     10001
Artillery                                                                  14510 Lemoyne Blvd                                                                     Biloxi              MS                     39532
Artisan Burlwood Furniture                                                 910 Ashby Ave                                                                          Berkeley            CA                     94710
Artistry Production Ltd                                                    143 mare street                                                                        London                                     E8 3RH        United Kingdom
                                                                           37, JALAN JEJAKA 7, TAMAN MALURI,
Artroom Media Enterprise                                                   CHERAS, 55100                                                                          KUALA LUMPUR        City of Kuala Lumpur   55100         Malaysia
Artworld Agency Ltd                                                        Unit 8 Suna House, 65 Rivington Street                                                 London                                     EC2A 3QQ      United Kingdom
Arvelo, Jamie                                                              Address Redacted
Aryaka Networks Inc.                                                       Suite 500 1850 Gateway Drive                                                           San Mateo           CA                     94404
Arzeda Corp                                                                2715 W. Fort St                                                                        Seattle             WA                     98199
Asap Analytical                                                            1511 Neave St                                                                          Covington           KY                     41011
Ascential (F.K.A, WGSN Inc)                                                Suite 300 1801 Porter Street                                                           Baltimore           MD                     20012
Ash Holm                                                                   Address Redacted
Ashland Food Co-op                                                         237 N. First St.                                                                       Ashland             OR                     97520
Ashley Patzer                                                              Address Redacted
ASHLEY TALIENTO-COSTA BRAZIL                                               Address Redacted
Ashley-Lynn Rolnik/Bluemercury                                             Address Redacted
Ashlie Chavez                                                              Address Redacted
                                                                           Room 1318, 13F, 610 Nathan Road, Hollywood
Asia Quality Focus                                                         Plaza                                                                                  Mongkok Kowloon                                          Hong Kong
Asia Quality Focus                    AQF                                  1199 Heping Road                                                                       Shenzhen            Guangdong              518010        Hong Kong
ASM Catalysts, LLC                                                         PO Box 734396                                                                          Dallas              TX                     75373-4396
ASR Group                             Domino Foods Inc.                    Suite 200 1 N. Clematis                                                                West Palm Beach     FL                     33401
Assad, Paul                                                                Address Redacted
ASSESSA INDUSTRIA COMERCIO E EXPORT                                        R CARDOSO QUINTAO 110                                                                  RIO DE JANEIRO      RJ                     21381-460     Brazil
ASSESSORIA DE COMUNICACAO ESTRATEGI                                        RUA OSCAR FREIRE 379                                                                   SAO PAULO           SP                     01426-900     Brazil
Asset Preservation Services, Inc.                                          588 Homewood Court                                                                     Leland              NC                     28451
Assignment Agency Inc.                                                     478 Carne Road                                                                         Ojai                CA                     93023
Associação - Escola Trinta            e um de Janeiro                      Rua José Elias Garcia, 77                                                              Parede                                     2775-218      Portugal
Associação do Hospital Civil e        Misericórdia de Alhandra             Rua Salvador Marques 22                                                                Alhandra                                   2600-480      Portugal
Associated Flow Control                                                    30 Beta Court                                                                          San Ramon           CA                     94583
Associated Production Music LLC                                            6255 Sunset Blvd                             #900                                      Los Angeles         CA                     90028
Associated Sales and Bag Company      Associated Bag Company               400 W Boden St                                                                         Milwaukee           WI                     53227
Association of National Advertisers                                        4th Floor 10 Grand Central, 155 Eas                                                    New York            NY                     10017-4201
Assumpcao, Daniel                                                          Address Redacted
ASTM International                    C/O Am Soc for Testing & Materials   100 Barr Harbor Dr                                                                     West Conshohocken   PA                     19428
Aston Models, Inc.                                                         328 S. Beverly Dr. #A                                                                  Beverly Hills       CA                     90212
Astrea Bioseparations US Inc                                               308 Tosca Drive                                                                        Stoughton           MA                     02072
AT&T                                                                       P.O. Box 5019                                                                          Carol Stream        IL                     60197-5019
AT&T                                  Attn: Bankruptcy/Legal Dept.         P.O. Box 5019                                                                          Carol Stream        IL                     60197-5019
AT&T Mobility LLC                                                          PO Box 6463                                                                            Carol Stream        IL                     60197-6463
AT&T U-verse(SM)                                                           PO Box 5014                                                                            Carol Stream        IL                     60197-5014
ATCC                                  C/O Am Type Culture Collection       5779 Collections Center Dr                                                             Chicago             IL                     60693
Atel Ventures, Inc                                                         600 California Street,6th Floor                                                        San Francisco       CA                     94108-2733
Athena Calderone                                                           Address Redacted
ATI Sistemas, S.L.                                                         C/ Parroquia de Cortinan Parc. i-5                                                     A Coruna                                   15165         Spain
Atlanta Snapseal Ltd                                                       869 Pickens Industrial Dr                                                              Marietta            GA                     30062
Atlantic Coast Toyotalift                                                  P.O. Box B                                                                             High Point          NC                     27261
Atlantic Shores                       Enviornmental Services               175-1 Venture Drive                                                                    Belville            NC                     28451
Atlas Container Corporation                                                8140 Telegraph RD                                                                      Severn              MD                     21144
Atlas Copco Compressors                                                    Dept CH 19511                                                                          Palatine            IL                     60055-9511
Atlas Copco Compressors LLC                                                92 Interstate drive                                                                    West Springfield    MA                     01089
Atlas Copco Compressors LLC                                                Dept. CH 19511                                                                         Palatine            IL                     60055-9511
Atlas Talent Agency, Inc.                                                  15 East 32nd Street                          6th Floor                                 New York            NY                     10016
Atlassian                                                                  32151 Collections Center Drive                                                         Chicago             IL                     60693-0321
Atomic Sound and Video Inc                                                 521 N. Campbell Ave                                                                    Alhambra            CA                     91801
Atsuko Inc.                                                                115 E 30TH ST                                2nd Floor                                 New York            NY                     10016
Attentive Mobile Inc.                                                      221 River Street                             9th Floor                                 Hoboken             NJ                     07030




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                   Creditor Name                             Attention                           Address 1                        Address 2                Address 3            City                   State           Zip            Country
Attn: Dennise Solis                                                           Address Redacted
ATTN: GOOP RECEIVING                                                          Address Redacted
ATTN: Inc.                                                                    729 Seward St                                                                            Los Angeles           CA                90038
ATTN: Kayla Seah                                                              Address Redacted
ATTN: WWD Apparel and Retail CEO Summit                                       Address Redacted
Aubrey Regner                                                                 Address Redacted
Aubri Balk Inc                                                                3 5 RIVINGTON ST                                                                         New York              NY                10002
AuditBoard, Inc.                                                              Suite 200 12900 Park Plaza Dr.                                                           Cerritos              CA                90703
Audrey Levy                                                                   Address Redacted
Audrey Renee-Carozza                                                          Address Redacted
Audrius Alaburda                                                              Address Redacted
Aufmann, Michelle                                                             Address Redacted
Auger, Reza                                                                   Address Redacted
Aull, Jason                                                                   Address Redacted
Aura FX Studios, Inc.                                                         231 15th Street, 2E                                                                      Brooklyn              NY                11215
Aurora's Milagro Inc (Dawn's Corner)                                          29125 Thousand Oaks Blvd              Unit A                                             Agoura Hills          CA                91301
Austex Fine Food Sales, LLC                                                   3100 Country Lake Court                                                                  Austin                TX                78732
Austrade Inc.                                                                 777 N. US Highway 1                                                                      Tequesta              FL                33469
Austrade Inc.                             Christopher B. Hopkins              McDonald Hopkins LLC                  501 S. Flagler r.         Suite 200                West Beach            Florida           33401
Autotype LLC                                                                  3155 Eucalyptus Hill Road                                                                Montecito             CA                93108
Autumn Communications LLC                                                     8322 Beverly Blvd                     Suite 201                                          Los Angeles           CA                90048
Autumn Sorelle Hardin                                                         33129 6th Ave SW                                                                         Federal Way           WA                98023
AV Images                                                                     7085C Las Positas Road                                                                   Livermore             CA                94551
AvaChem Scientific                        C/O A&A Life Inc                    Po Box 780442                                                                            San Antonio           TX                78278
Avalara, Inc.                                                                 Dept CH 16781                                                                            Palatine              IL                60055
Avanti Polar Lipids, Inc                                                      700 Industrial Park Drive                                                                Alabaster             AL                35007
Avantor Fluid Handling, LLC                                                   29 Saratoga Blvd                                                                         Devens                MA                01434
Avec Moo                                                                      317 2nd Street                                                                           Sausalito             CA                94965
Aveka Group, Inc.                         Aveka Nutra Processing              2045 Wooddale Drive                                                                      Woodbury              MN                55125
Aveka Nutra Processing                                                        830 Allamakee Street                                                                     Waukon                IA                52172
AVENUE HOCHE COMERCIO VAREJISTA DE        PRODUTOS LTDA                       AV AFRANIO DE MELO 290, LJ 304 3PS                                                       RIO DE JANEIRO        RJ                22430-060     Brazil

AVENUE HOCHE COMERCIO VAREJISTA DE        PRODUTOS LTDA                       AV FRANCISCO ROVERI 1413, GALPAOA A                                                      JUNDIAI               SP                13212-541     Brazil
Avon Cosmetics Manufacturing,             S. de R.L. de C.V.                  Col. Lomas de Chapultepec,                                                               Del. Miguel Hidalgo   MEX               11000         Mexico
Avon Products Inc.                                                            Avon Place                                                                               Suffern               NY                10901
Avtech Capital, LLC                                                           6995 Union Park Center Suite 400                                                         Cottonwood Heights    UT                84047
AWTECH LLC                                                                    3018 Joshua Tree Ln                                                                      Manvel                TX                77578
Axcelerate Networks                                                           490 North 1st Street                                                                     San Jose              CA                95112
Axel McPherson Construction, Inc.                                             PO Box 1330                                                                              Whiteville            NC                28472
Ayla Beauty / Attn: Elena Irueta                                              Address Redacted
AYLA, LLC DBA AYLA - Costa Brazil         AYLA - Attn: Purchasing Manager     1825 BUSH ST                                                                             SAN FRANCISCO         CA                94109
Aylin Brenna                                                                  Address Redacted
Ayson, Marites                                                                Address Redacted
Ayton Global Research Ltd                                                     West Cranmore                                                                            SHEPTON MALLET        SO                BA4 4QP       United Kingdom
AYU concepts                              AYU concepts                        125 Ne 32nd St.                       #2020                                              Miami                 FL                33137
AYU concepts                              AYU concepts                        3131 Ne 1st Ave, Apt 2817                                                                Miami                 FL                33137
AZ Brasil Comercio Varejista Ltda                                             Av. Brigadeiro Far 2232, Loja 8GLF0                                                      Sao Paulo             SP                01489-900     Brazil
Azadeh Shirazi MD INC                                                         7301 Girard Ave                       Suite 202                                          La Jolla              CA                92037
Azelis Hong Kong Limited                                                      Room A-D, 26/F, Seabright Plaza                                                          Hong Kong             HK                853G          Hong Kong
AZELIS PRIVATE LTD                                                            801 - B THANE- BELAPUR, 7th Floor                                                        NAVI MUMBAI           13                400708        India
Azelton, Kerry                                                                Address Redacted
Azenta US, Inc.                                                               Suite E 2910 Fortune Circle West                                                         Indianapolis          IN                46241
B & W Communications Ltd                                                      2 Neucleus House                      Lower Mortlake Road                                Richmond              London            Tw9 2JA       United Kingdom
B A Metal Dynamics, Inc.                                                      195 Dupont Drive                                                                         Providence            RI                02907
B Consulting                                                                  3435 Ocean Park Blvd                  Suite 107 #19                                      Santa Monica          CA                90405
B&H Foto & Electronics Corp                                                   420 Ninth Avenue                                                                         New York              NY                10001
B&P LITTLEFORD LLC                                                            1000 HESS AVENUE                                                                         SAGINAW               MI                48601
B/R Instrument Corporation                                                    9119 Centreville Road                                                                    Easton                MD                21601
Babbitt International                                                         5155 April Lane                                                                          Houston               TX                77092
Babischkin, Patricia                                                          Address Redacted
Baby List, Inc.                                                               1625 Clay Street                                                                         Oakland               CA                94612
BabyCenter, LLC                                                               163 Freelon St                                                                           San Francisco         CA                94107
Babyface Consulting, Inc.                                                     360 Park Avenue                                                                          New York              NY                10022
Badgewick-Rodrigues, Stacey                                                   Address Redacted
Baghdasaryan, Ani                                                             Address Redacted
Bai, Wei                                                                      Address Redacted
Bajpai, Ashish                                                                Address Redacted
Baker & McKenzie LLP                                                          1500 1900 North Pearl Street,                                                            Dallas                TX                75201
Baker, Christopher                                                            Address Redacted
Baker, Elizabeth                                                              Address Redacted
Baker, Lewis                                                                  Address Redacted
Balance Inc.                                                                  39 Mill Plain Road                    Suite 9                                            Danbury               CT                06811
Balance Point Group                                                           4726 E Coachwhip Rd                                                                      Cave Creek            AZ                85331
Balciunas, Ruth                                                               Address Redacted
Ball, Olivia                                                                  Address Redacted
Balls, Daniel                                                                 Address Redacted
Balverdes, Marisol                                                            Address Redacted
BaM Productions Inc                                                           27-28 Thomson Ave. Suite 716                                                             Long Island City      NY                11101




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BaM Productions, Inc. v. Amyris Clean Beauty, Inc.   Alan L. Rosen                       Rosen and Loeb                         5743 Corsa Ave.          Suite 110                Westlake Village   CA            91362
Bambico, Evan                                                                            Address Redacted
Banc of America Leasing and Capital                  Oracle                              2600 W. Big Beaver Rd.                                                                   Troy               MI            48084
Bandres, Jaime                                                                           Address Redacted
Bank of the West                                                                         13300 Crossroads Parkway North                                                           City of Industry   CA            91746
Bank of the West                                     Attn: Bankruptcy/Legal Dept.        13300 Crossroads Parkway North                                                           City of Industry   CA            91746
Bankcard Center                                                                          PO Box 4025                                                                              Alameda            CA            94501-0425
BankDirect Capital Finance                                                               Suite 190 150 North Field Drive                                                          Lake Forest        IL            60045

BANN QUIMICA LTDA                                                                         RODOVIA ROBERTO MOREIRA - KM003 S/N                                                     PAULINIA           SP            13140-000     Brazil
Banta Global Turnkey LLC                                                                  6315 West by Northwest Blvd                                                             Houston            TX            77040

BAOLINGBAO BIOLOGY CO., LTD                                                               ROOM1201 166 HAIER ROAD BUILDING YO                                                     QINGDAO            120           266000        China
Barajas Gonzalez, Leonel                                                                  Address Redacted
Baralan USA Inc.                                                                          120-19 89th Ave                                                                         Richmond Hill      NY            11418
Baratho Beato, Felipe                                                                     Address Redacted
Barba-Ledesma, Tayde                                                                      Address Redacted
Barbara Cherry                                                                            Address Redacted
Barbra Marks                                                                              Address Redacted
Barcode Planet                                       Barcodes LLC                         P.O. Box 0776                                                                           Chicago            IL            60690-0776
Barissi Industries LLC                                                                    950A S Broadway                                                                         Hicksville         NY            11801
Barker Air & Hydraulics                                                                   1308 Miller Rd.                                                                         Greenville         SC            29607
Barker, Brent                                                                             Address Redacted
Barlow, Ashleigh                                                                          Address Redacted
Barnes Artists Management LLC dba Exclusive
Artists Management                                                                       510 S Hewitt Street                    Unite #303                                        Los Angeles        CA            90013
Barnes, Molly                                                                            Address Redacted
Barnum Equipment Sales                                                                   Suite 13 4323 Anthony CT                                                                 Rocklin            CA            95677
Barnum Mechanical Inc.                                                                   3260 Penryn Road                                                                         Loomis             CA            95650
Baron & Baron, Inc                                                                       5th Floor 435 Hudson Street                                                              New York           NY            10014
Barreto, Annette                                                                         Address Redacted
Barrett, Allison                                                                         Address Redacted
Barrett, Jessica                                                                         Address Redacted
Barrett, Tyler                                                                           Address Redacted
Barrow, Danielle                                                                         Address Redacted
Barry Samaha                                                                             Address Redacted
Barry-Wehmiller Design Group                         BW Design Group                     Suite 900 8235 Forsyth Blvd.                                                             St. Louis          MO            63105
Basildon Chemical Company Ltd.                                                           Kimber Road                                                                              Abingdon           OX            OX14 1RZ      United Kingdom
Baskin Champion                                                                          Address Redacted
BASKIN CHAMPION MCFARLAND                                                                Address Redacted
Bass/Moeller Children's Fund                         Bank of America                     4120 San Pablo Ave                                                                       Emeryville         CA            94608
Basu, Kiana                                                                              Address Redacted
Batory Foods                                         Total Sweetners, Inc.               PO Box 75162                                                                             Chicago            IL            60018
Batsheva Haart                                                                           Address Redacted
Batsheva Haart                                                                           Address Redacted
Bay Air Systems, Inc.                                                                    #9 1300 Galaxy Way                                                                       Concord            CA            94520
Bay Area Air Quality Mgmt Dist                                                           375 Beale Street, Suite 600                                                              San Francisco      CA            94105
Bay Area Graphics, LLC                                                                   371 Foster City Blvd                                                                     Foster City        CA            94404
Bay Cities Packaging & Design                                                            5138 Industry Avenue                                                                     Pico Rivera        CA            90660
Bayside Electric Supply Co., Inc.                                                        P.O. Box 4427                                                                            Wilmington         NC            28406
Bazaarvoice, Inc.                                                                        PO Box 671654                                                                            Dallas             TX            75267-1654
BBC Global News LTD                                                                      Lindsey North, Broadcasting House                                                        London                           W1A 1AA       United Kingdom
BBP Sales, LLC                                                                           337 Highlandia Drive                                                                     Baton Rouge        LA            70810
BCB BRAZILIAN CONTEMPORARY BRANDS                    COMERCIO VAREJISTA DE ARTIGOS       AV MAGALHAES DE CASTRO 12000                                                             SAO PAULO          SP            05676-900     Brazil
BCENE PR                                                                                 1866 Haymarket Road                                                                      Encinitas          CA            92024
BCENE Public Relations, Inc                                                              1866 Haymarket Rd                                                                        Encinitas          CA            92024
BDO USA, LLP                                                                             Suite 100 5300 Patterson Ave. SE                                                         Grand Rapids       MI            49512
BE Basic                                                                                 406 Science Park                                                                         Amsterdam                        1098 XH
Be Social Public Relations LLC                                                           150 Alhambra Circle ste 1200                                                             Coral Gables       FL            33134
Be Sunshine Digital, LLC                                                                 10635 Santa Monica Blvd.               Suite 350                                         Los Angeles        CA            90025
Beach House Inn                                      C/O Pacific Beach House, LLC        PO Box 129                                                                               Half Moon Bay      CA            94019
Beall's Outlet                                                                           700 13th Ave E                                                                           Bradenton          FL            34208
Beals, Eric                                                                              Address Redacted
Beau Nelson                                                                              Address Redacted
Beau Nelson                                                                              Address Redacted
Beautemotions LLC                                                                        55 East 59th Street                    9th Floor                                         New York           NY            10022
Beauty Insurance Consultants, LLC                                                        1 Blue Hill Plaza                      12th Floor                                        Pearl River        NY            10965
Beauty Labs International Limited                                                        St Johns Innovation Park Cowley Rd.                                                      Cambridge                        CB4 0WS       United Kingdom
Beauty Mark                                          Beauty Mark                         35 W. Deloney Ave.                                                                       Jackson            WY            83001
BeautyDel                                                                                5200 Yonge St, Suite 200                                                                 North York         ON            M2N 5P6       Canada
Beautylove GmbH                                                                          Tempelhofer Ufer 36                                                                      Berlin             11            10963         Germany
Beck, Chandalee                                                                          Address Redacted
Beckman Coulter Inc                                                                      Dept CH 10164                                                                            Palatine           IL            60055
Beckman Coulter Life Sciences                                                            Dept. CH 10164                                                                           Palatine           IL            60055-0164
Beck's Shoes Inc                                                                         354 E McGlincy Ln                                                                        Campbell           CA            95008
Bednark Studio, Inc.                                                                     BLDG 28 63 Flushing Ave                                                                  Brooklyn           NY            11205
Bedrosian, Gayane                                                                        Address Redacted
Beer & Wine Service, Inc.                                                                150 Cheery Creek Rd                                                                      Cloverdale         CA            95425




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Beijing Jianxun Medical Science                                                           11F-1, Floor 11, Building B, No. 3,                                                  Beijing          010              100025       China
Beijing Progress Periodicals                                                              No.13 Qingnianhu South Street                                                        Beijing          010              100011       China
Belardi Wong                                                                              Address Redacted
Belawala, Janvi                                                                           Address Redacted
Belchol Pereira, Angelica                                                                 Address Redacted
Bell International Laboratories Inc                                                       2950 Lexington Ave S                      #100                                       Eagan            MN               55121
Bell, Kimberly                                                                            Address Redacted
Bella Cacciatore                                                                          Address Redacted
Bello Projects LLC                                                                        49 Elizabeth St.                          4th Floor                                  New York         NY               10013
Bellport General Store, LLC                       Bellport General Store, LLC             21 Astor Place 7H                                                                    New York         NY               10003
Bellport General Store, LLC                       Veronica Di Fonzo                       Bellport General Store, LLC               138 S Country Road                         Bellport         NY               11713
Bellssan Asociados Healthcare                                                             DomÃ©nico Veneciano 5l1                   Padre CesÃ¡reo Garcia N70                  SeseÃ±a          Toledo           45223        Spain
Belmark Inc                                                                               600 Heritage Road                                                                    De Pere          WI               54115
Belmark Inc.                                                                              600 Heritage Road - P.O. Box 5310                                                    De Pere          WI               54115-5310
Beltran, Ivette Marie                                                                     Address Redacted
Beltran, Roxanne                                                                          Address Redacted
Ben Group Inc                                                                             15250 Ventura Blvd. Suite 300                                                        Sherman Oaks     CA               91403
Ben Koertge                                                                               Address Redacted
Benchling, Inc.                                                                           8th Floor 680 Folsom Street                                                          San Francisco    CA               94107
Bend Research Inc.                                Lonza Inc.                              Suite 200 1201 NW Wall Street                                                        Bend             OR               97703
Benjamin Butcher                                                                          5 Tower Mews, Ashenden Road                                                          London                            E5 0ES       United Kingdom
Benjamin Litho, Inc                                                                       Suite F 1810 Oakland Rd.                                                             San Jose         CA               95131
Benjamin Peng-Chu Tu                                                                      Address Redacted
Benjamin Pexton Ltd                                                                       Flat 64, Carlton Mansions                 Holmleigh Road                             London                            N16 5PX      United Kingdom
Benjamin Puckley                                                                          Address Redacted
Benjamin, Kirsten                                                                         Address Redacted
Bennett Marine Utility                                                                    1027 California Drive                                                                Burlingame       CA               94010
Bennett, Briana                                                                           Address Redacted
Bennie, Alexis                                                                            Address Redacted
Bensley, Lisa                                                                             Address Redacted
Bent, Baqiyyah                                                                            Address Redacted
Benz Technology International, Inc.                                                       2305 S. Clarksville Road                                                             Clarksville      OH               45113
Beraca International North America                                                        7900 International Drive, Suite 300                                                  Bloomington      MN               55425
Bergdorf Goodman - Beauty Level / Attn: Andryea
Linder                                                                                    Address Redacted
                                                                                          Bergdorf Goodman Warehouse / Beauty Bag
Bergdorf Goodman Inc. | Costa Brazil              Beauty Bag Event C/O Darius             Even C/O Darius                           39-34 43rd Street                          Sunnyside        NY               11104
Bergdorf Goodman Inc. | Costa Brazil              Bergdorf Goodman                        754 5th Ave                                                                          New York         NY               100192581
Bergdorf Goodman Inc. | Costa Brazil              Bergdorf Goodman 7060 - ECDC            600 Research Drive                                                                   Pittston         PA               18640
                                                  Bergdorf Goodman Warehouse Beauty Bag
Bergdorf Goodman Inc. | Costa Brazil              Event c/o Dariusz                       39-34 43rd Street                                                                    Sunnyside        NY               11104
Bergdorf Goodman Inc. | Costa Brazil              Nancy Sherian / Hugh Maragh             Bergdorf Goodman                          2 West 58th Street                         New York         NY               10019
Bergman, Laura                                                                            Address Redacted
Berlin Packaging LLC                                                                      525 W Monroe St, 14th Floor                                                          Chicago          IL               60661
Berlin Packaging LLC                                                                      525 West Monroe Street                    14th Floor                                 Chicago          IL               60661
Berliner Cohen LLP                                                                        333 W. Santa Clara St.                                                               San Jose         CA               95113
Berma LLC DBA NoGood                                                                      524 Broadway, 9th Fl                                                                 New York         NY               10012
Bernard Henrissat                                                                         Address Redacted
Bernice Merline                                                                           Address Redacted
Bernice Merlini                                                                           Address Redacted
Bernstein Brand Architects                                                                5291 Alton Road                                                                      Miami Beach      FL               33140
Bernstein Brand Architects, LLC                                                           5291 Alton Road                                                                      Miami Beach      FL               33140
Bernstein, Lana                                                                           Address Redacted
Berry, Megan                                                                              Address Redacted
Bespoke Digital Inc                                                                       81 Old Hankins Road                                                                  Callicoon        NY               12723
BestGift Com Inc                                                                          229 W 28th Street, Floor 5                                                           New York         NY               10001
Beta Analytic Inc                                                                         4985 SW 74th Ct                                                                      Miami            FL               33155
Bethlayne Hansen                                                                          Address Redacted
Better Source                                                                             33 North First Street, Suite C2                                                      Campbelll        CA               95008
Bettina Mayer                                                                             Address Redacted
BevNET.com, Inc.                                                                          65 Chapel Street                                                                     Newton           MA               02458
Beyond Benefits Life Science Assoc.                                                       9171 Towne Centre Drive, Ste 500                                                     San Diego        CA               92122
BeyondTrust Corporation                                                                   11695 John Creek Pakrway, Suite 200                                                  John Creek       GA               30097
BEYOUNG COSMETICOS LTDA                                                                   AV CIVIT I 1795                                                                      SERRA            ES               29170-740    Brazil
                                                                                                                                                                               SAO JOAO DE
BEYOUNG COSMETICOS LTDA                                                                   ROD PRESIDENTE DUTRA 5901                                                            MERITI           RJ               25510-000    Brazil
BEYOUNG COSMETICOS LTDA                                                                   RODOV CORONEL POLICIA MILIT NEL 740                                                  Itapevi          SP               06696-110    Brazil
Bezerra de Mello, Paula Amalia                                                            Address Redacted
BFA NYC, LLC                                                                              20 West 20th Street                       Suite 700                                  New York         NY               10011
BFPE International                                                                        3300 Highway 421 North                                                               Wilmington       NC               28401
BGA Media Group Inc                                                                       1221 Brickell Avenue                      Suite 900                                  Miami            FL               33131
BGI Bio-solutions Hong Kong Co., Lt                                                       16 Dai Fu Street,                                                                    Hong Kong        HK               518000       Hong Kong
Bhattacharjee, Binita                                                                     Address Redacted
Bia Blooms LLC                                                                            8950 West Olympic Blvd                    Suite 293                                  Los Angeles      CA               90038
BIANCA MARA CAMPOLINO CONDO                                                               Address Redacted
Bianca Rodriguez                                                                          Address Redacted
Bicoastal Models and talent Inc                                                           446 E 86TH ST                             4F                                         Los Angeles      CA               90046
Biddle Consulting Group, Inc.                                                             Suite 270 190 BLUE RAVINE RD                                                         Folson           CA               95630
Biegel, Meghan                                                                            Address Redacted




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                   Creditor Name                        Attention                            Address 1                            Address 2                               Address 3            City                   State         Zip             Country
Big Picture Entertainment                                                  3524 Hayden Ave                                                                                            Culver City            CA               90232
Big Sky Partnership Limited                                                29-31 Brewery Rd                                                                                           London                 London           N7 9QH       United Kingdom
Bigdeli, Khandan                                                           Address Redacted
Binder Inc.                                                                585-1D Johnson Avenue                                                                                      Bohemia                NY               11716
BIO ABSOLUE COMERCIO E DISTRIBUICAO                                        R PEDRO BOTELHO DE REZENDE 2415                                                                            LONDRINA               PR               86047-780    Brazil
Bio Base Europe Pilot Plant                                                Rodenhuizekaai 1                                                                                           Ghent                                   09042
BioChecked™                                                                203 Pecan Ln                                                                                               Nokomis                FL               34275
Biocom California                                                          Suite 200 10996 Torreyana Road                                                                             San Diego              CA               92121
BioInnovation Laboratories, Inc       Robert Holtz                         Suite 112 7220 W Jefferson AVE                                                                             Lakewood               CO               80235
Biolding Investment SA                                                     11A Boulevard Prince Henri                                                                                 Luxembourg                              1724         Luxembourg
Biologics Consulting Group, Inc.                                           Suite 300 1555 King Street                                                                                 Alexandria             VA               22314
BioMADE                               Bioindustrial Manufacturing & Desig  Suite 523 1155-C Arnold Drive                                                                              Martinez               CA               94533
Biomatters Inc                                                             Suite 560 2365 Northside Drive                                                                             San Diego              CA               92108
Biomatters, Inc.                                                           Suite 560 2365 Northside Dr.                                                                               San Diego              CA               92108
Biomillenia                                                                102 AVENUE GASTON ROUSSEL                                                                                  ROMAINVILLE                             93230        France
BioNex Solutions, Inc.                                                     2340 Bering Drive                                                                                          San Jose               CA               95131
BioNiquest Lab Services, Inc                                               696 San Ramon Valley Road #346                                                                             San Ramon              CA               94526
BioProcess Advantage, LLC                                                  1009 Cranford Avenue                                                                                       Westfield              NJ               07090
Bio-Process Innovation, Inc                                                226 N 500 W                                                                                                West Lafayette         IN               47906
Bio-Rad Laboratories                                                       PO Box 849750                                                                                              Los Angeles            CA               90084-9750
Bioresco                                                                   Bundesstrasse 29                                                                                           Basel                  BS               04054
Biorius Sprl                                                               Rue Wauters, 113                                                                                           Manage                                  07170
Bioscreen Testing Services, Inc                                            3904 Del Amo Blvd Ste 801                                                                                  Torrance               CA               90503
BioSero, Inc.                                                              26741 Portola Parkway,                                                                                     Foothill Ranch         CA               92610
BioSpace                              C/O onTargetjobs Inc                 12150 Meredith Dr                                                                                          Urbandale              IA               50323
Biospec Products Inc                                                       P O Box 788                                                                                                bartlesville           OK               74005
                                      EXEMBIZ COMERCIO INTERNACIONAL -     Rod Governador Mario Covas 3979/KM 268-SC                                                                  Planalto de Carapina
Biossance Brazil                      114                                  12-A                                      CNPJ:32.077.842/0001-38                                          Serr                   ES                            Brazil
                                      EXIMBIZ COMERCIO INTERNACIONAL S/A - Av Cem, s/n modulo 16, quadra 1, sala 99,
Biossance Brazil                      111                                  TIMS                                                                                                       Serra ES 29.161.384                                  Brazil
                                                                                                                     Av. Roque Petroni Jr. 850, 16 ° andar,                           Sao Paulo SP 04707-
Biossance Brazil                      Joao Paulo Rossi                     Biossance (Amyris)                        Torre Bacaetava                        CEP 04707-000             000                                                  Brazil

Biossance Brazil                      Quattror Comercial Ltda                  Avenida Calama, 1118, sala 204, Olaria                                                                 Porto Velho Rondônia                    76.801-308   Brazil
Biossance Brazil (BRB1)                                                        Rodovia Governador Mario Covas 3979                                                                    Serra                                   29162-703    Brazil
Biosynth International, Inc.                                                   Suite F 7887 Dunbrook Rd                                                                               San Diego              CA               92126
Biotage, LLC                                                                   Suite C 10430 Harris Oaks Blvd                                                                         Charlotte              CA               28269
Biotechnology Innovation Organizati                                            1201 Maryland Ave SW Suite 900                                                                         Washington             DC               20024
Biotica Technology Limited                                                     Chesterford Research Park                                                                              Cambridge                               CD10 1XL     United Kingdom
Bird & Bird LLP                                                                Zuid-Hollandplein 22                                                                                   The Hague              12               2596 AW      Netherlands
Birko Corp                                                                     9152 Yosemite St                                                                                       Henderson              CO               80640
Biu, Olusola                                                                   Address Redacted
Black Pony Ventures SL                                                         Avgda Blasco Ibanez 1                                                                                  Gandia                                  46700        Spain
Blackberry Mountain LLC               Nest                                     1471 W Millers Cove Rd                                                                                 Walland                TN               37886
Blackberry Mountain LLC               Nest                                     3720 E. Lamar Alexander PKW                                                                            Maryville              TN               37804
BlackLine Systems, Inc                                                         Dept. LA 23816                                                                                         Pasadena               CA               91185-3816
Blacksail Capital Partners                                                     5525 N MacArthur Blvd., Ste. 625                                                                       Irving                 TX               75038
Blackvine Pte Ltd                                                              36 Defu Lane 7                                                                                         Singapore                               539350       Singapore
Blackwell Partners-Series B                                                    #250 1414 Raleigh Road                                                                                 Chapel Hill            NC               27517
Blair, Sarah                                                                   Address Redacted
Blaisdell's Business Products         Blaisdell's & Songery                    Suite 600 880 HARBOUR WAY SOUTH                                                                        Richmond               CA               94804
Blaney, Robert                                                                 Address Redacted
Blank Studio NYC LLC                                                           457 Broome Street, 2F                                                                                  New York               NY               10013
Blanket Consulting LTD                                                         3rd Floor 79 Long Acre                                                                                 London                                  WC2E 9NG     United Kingdom
Blasier, Louisa                                                                Address Redacted
BLC INTIMA LTDA                                                                AV VISCONDE DE SOUZA 776, 3 P- L836                                                                    BELEM                  PA               66053-000    Brazil
Blinklab LLC                                                                   733 Allston Way, Suite 5                                                                               Berkeley               CA               94710
Bloomberg L.P.                                                                 731 Lexington Avenue                                                                                   New York               NY               10022
Bloomingdales - Bloomies                                                       1000 Third Avenue 59th Street                                                                          New York City          NY               10022
Blue Jeans Network, Inc                                                        516 Clyde Avenue                                                                                       Mountain View          CA               94043
Blue Mercury | Costa Brazil           2nd and 51st                             2nd and 51st                              305 E. 51st St.                                              New York               NY               10022
Blue Mercury | Costa Brazil           2nd and 51st                             Blue Mercury                              305 E. 51st St.                                              New York               NY               10022
Blue Mercury | Costa Brazil           3rd Ave and 88th                         1566 THIRD AVENUE                                                                                      New York               NY               10128
Blue Mercury | Costa Brazil           68th Street and 3rd                      68th Street and 3rd                       1164 Third Ave.                                              New York               NY               10065
Blue Mercury | Costa Brazil           92nd and Broadway                        2477 Broadway                                                                                          New York               NY               10025
Blue Mercury | Costa Brazil           Amsterdam Ave.                           341 Amsterdam Ave.                                                                                     New York               NY               10024
Blue Mercury | Costa Brazil           Arboretum                                Arboretum                                 9722 Great Hills Trail Ste 350                               Austin                 TX               78759
Blue Mercury | Costa Brazil           Arboretum                                Blue Mercury                              9722 Great Hills Trail                                       Austin                 TX               78759
Blue Mercury | Costa Brazil           Austin                                   Austin                                    701 S Capital of Texas Hwy                                   Westlake Hills         TX               78746
Blue Mercury | Costa Brazil           Bethesda                                 Bluemercury                               7105 Bethesda Lane -Suite D                                  Bethesda               MD               20814
Blue Mercury | Costa Brazil           Blue Mercury                             Bluemercury - Pool Stock                  5195 Mason Road                                              Atlanta                GA               30349
Blue Mercury | Costa Brazil           Bluemercury - Pool Stock                 Blue Mercury                              20 Constitution Blvd S                                       Shelton                CT               06484
Blue Mercury | Costa Brazil           Bluemercury Web Fulfillment              Blue Mercury                              20 Constitution Blvd S                                       Shelton                CT               06484
Blue Mercury | Costa Brazil           Bluemercury Web Fulfillment              Bluemercury                               5195 Mason Road                                              Atlanta                GA               30349
Blue Mercury | Costa Brazil           Brentwood                                Blue Mercury                              11640 San Vicente Blvd            Ste 108                    Los Angeles            CA               90049
Blue Mercury | Costa Brazil           Brentwood                                Brentwood                                 11640 San Vicente Blvd STE 108                               Los Angeles            CA               90049
Blue Mercury | Costa Brazil           Bridgeport Village                       Blue Mercury                              7291 SW Bridgeport Rd.            Space B-112                Portland               OR               97224
Blue Mercury | Costa Brazil           Bridgeport Village                       Bridgeport Village                        7291 SW Bridgeport Road                                      Portland               OR               97224
Blue Mercury | Costa Brazil           Bronxville                               Bronxville                                48 Pondfield Road                                            Bronxville             NY               10708




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                  Creditor Name                     Attention                              Address 1                      Address 2                        Address 3             City        State         Zip    Country
Blue Mercury | Costa Brazil       Buckhead                              Buckhead                             37 West Paces Ferry Road NW                               Atlanta          GA           30305
Blue Mercury | Costa Brazil       Cabin John                            Cabin John                           7905 Tuckerman Lane                                       Potomac          MD           20854
Blue Mercury | Costa Brazil       Carlsbad                              Blue Mercury                         1925 Calle Barcelona             Ste 163                  Carlsbad         CA           92009
Blue Mercury | Costa Brazil       Carlsbad                              Carlsbad                             1925 Calle Barcelona - Ste 163                            Carlsbad         CA           92009
Blue Mercury | Costa Brazil       Cathedral                             3320 Wisconsin Ave. NW - STE A                                                                 Washington       DC           20016
Blue Mercury | Costa Brazil       Chareston                             Blue Mercury                         278 King Street                                           Charleston       SC           29401
Blue Mercury | Costa Brazil       Charleston                            Charleston                           278 King Street                                           Charleston       SC           29401
Blue Mercury | Costa Brazil       Chelsea                               Chelsea                              695 Avenue of the the Americas                            New York         NY           10010
Blue Mercury | Costa Brazil       Chestnut Hill                         Chestnut Hill                        33 Boylston Street Ste 3343                               Chestnut Hill    MA           02467
Blue Mercury | Costa Brazil       Chestnut St.                          Blue Mercury                         2060 Chestnut St.                                         San Francisco    CA           94123
Blue Mercury | Costa Brazil       Chestnut St.                          Chestnut St.                         2060 Chestnut St.                                         San Francisco    CA           94123
Blue Mercury | Costa Brazil       Closter                               Blue Mercury                         93 VerValen St.                                           Closter          NJ           07624
Blue Mercury | Costa Brazil       Closter                               Closter                              93 VerValen St.                                           Closter          NJ           07624
Blue Mercury | Costa Brazil       Cocowalk                              Cocowalk                             3015 Grand Ave Space 150                                  Coconut Grove    FL           33133
Blue Mercury | Costa Brazil       Columbus Ave                          184 Columbus Ave.                                                                              New York         NY           10023
Blue Mercury | Costa Brazil       Dallas                                Dallas                               83 Highland Park Village                                  Dallas           TX           75205
Blue Mercury | Costa Brazil       Dallas (Highland Park Village)        Blue Mercury                         83 Highland Park Village                                  Dallas           TX           75205
Blue Mercury | Costa Brazil       Danville                              Blue Mercury                         401 Hartz Avenue                                          Danville         CA           94526
Blue Mercury | Costa Brazil       Danville                              Danville                             401 Hartz Avenue Ste A                                    Danville         CA           94526
Blue Mercury | Costa Brazil       Darien                                Blue Mercury                         1015 Post Road                                            Darien           CT           06820
Blue Mercury | Costa Brazil       Darien                                Darien                               1015 Post Road                                            Darien           CT           06820
Blue Mercury | Costa Brazil       Del Mar Highlands                     12925 El Camino Real - Ste J11                                                                 San Diego        CA           92130
Blue Mercury | Costa Brazil       Delray Beach                          445 E. Atlantic Avenue                                                                         Delray Beach     FL           33483
Blue Mercury | Costa Brazil       Denville                              Blue Mercury                         3056 State Route 10 West                                  Denville         NJ           07834
Blue Mercury | Costa Brazil       Denville                              Denville                             3056 State Route 10 West                                  Denville         NJ           07834
Blue Mercury | Costa Brazil       Derby                                 Blue Mercury                         92 Derby Street                  Suite 119                Hingham          MA           02043
Blue Mercury | Costa Brazil       Derby                                 Derby                                92 Derby Street Ste 119                                   Hingham          MA           02043
Blue Mercury | Costa Brazil       East Hampton                          Blue Mercury                         67 Main Street                                            East Hampton     NY           11937
Blue Mercury | Costa Brazil       East Hampton                          East Hampton                         67 Main Street                                            East Hampton     NY           11937
Blue Mercury | Costa Brazil       Edina                                 Blue Mercury                         3290 Galleria                                             Edina            MN           55435
Blue Mercury | Costa Brazil       Edina                                 Edina                                3290 Galleria                                             Edina            MN           55435
Blue Mercury | Costa Brazil       El Segundo                            El Segundo                           840 S. Sepulveda Blvd - B106                              El Segundo       CA           90245
Blue Mercury | Costa Brazil       Fenton Market                         1 Fenton Main Street Suite 130                                                                 Cary             NC           27511
Blue Mercury | Costa Brazil       Fort Worth                            Blue Mercury                         1701 River Run                   Space D101               Fort Worth       TX           76107
Blue Mercury | Costa Brazil       Fort Worth                            Fort Worth                           1701 River Run Space D101                                 Ft. Worth        TX           76107
Blue Mercury | Costa Brazil       Georgetown                            3059 M Street NW                                                                               Washington       DC           20007
Blue Mercury | Costa Brazil       Georgetown                            Bluemercury                          3059 M Street NW                                          Washington       DC           20007
Blue Mercury | Costa Brazil       Grand Central Station                 420 Lexington Ave                                                                              New York         NY           10170
Blue Mercury | Costa Brazil       Greenville                            131 N. Main St.                                                                                Greenville       SC           29601
Blue Mercury | Costa Brazil       Greenwich                             Blue Mercury                         254 Greenwich Avenue                                      Greenwich        CT           06830
Blue Mercury | Costa Brazil       Greenwich                             Greenwich                            254 Greenwich Avenue                                      Greenwich        CT           06830
Blue Mercury | Costa Brazil       Halcyon                               6655 Town Square                                                                               Alpharetta       GA           30005
Blue Mercury | Costa Brazil       Hartford                              Blue Mercury                         987 Farmington Ave                                        West Hartford    CT           06107
Blue Mercury | Costa Brazil       Hartford                              Hartford                             987 FARMINGTON AVE                                        WEST HARTFORD    CT           06107
Blue Mercury | Costa Brazil       Hilldale                              706 N. Midvale Blvd Ste W-139                                                                  Madison          WI           53705
Blue Mercury | Costa Brazil       Hilton Flagship                       Hilton Flagship                      1335 6th Ave                                              New York         NY           10019
Blue Mercury | Costa Brazil       Hinsdale                              Blue Mercury                         21 East First Street                                      Hinsdale         IL           60521-4101
Blue Mercury | Costa Brazil       Hinsdale                              Hinsdale                             21 East First Street                                      Hinsdale         IL           60521
Blue Mercury | Costa Brazil       Hoboken                               Hoboken                              230 Washington St.                                        Hoboken          NJ           07030
Blue Mercury | Costa Brazil       Ice Blocks                            Blue Mercury                         1610 R ST                        Suite 190                Sacramento       CA           95811
Blue Mercury | Costa Brazil       Ice Blocks                            Ice Blocks                           1610 R Street                                             Sacramento       CA           95811
Blue Mercury | Costa Brazil       Kiawah Island                         Blue Mercury                         600 Freshfields Dr                                        Kiawah Island    SC           29455
Blue Mercury | Costa Brazil       Kiawah Island                         Kiawah Island                        600 Freshfields Dr.                                       Kiawah Island    SC           29455
Blue Mercury | Costa Brazil       Kierland Commons                      Blue Mercury                         15215 N. Kierland Blvd           #155                     Scottsdale       AZ           85254
Blue Mercury | Costa Brazil       Kierland Commons                      Kierland Commons                     15215 N. Kierland Blvd. #155                              Scottsdale       AZ           85254
Blue Mercury | Costa Brazil       La Encantada                          Bluemercury                          2905 East Skyline Drive                                   Tucson           AZ           85718
Blue Mercury | Costa Brazil       La Fiesta                             La Fiesta                            3543 Mt. Diablo Blvd.                                     Lafayette        CA           94549
Blue Mercury | Costa Brazil       La Jolla                              Blue Mercury                         7802 Girard Avenue                                        La Jolla         CA           92037
Blue Mercury | Costa Brazil       La Jolla                              La Jolla                             7802 Girard Ave                                           La Jolla         CA           92037
Blue Mercury | Costa Brazil       Lake Forest                           Blue Mercury                         680 N. Bank Lane                                          Lake Forest      IL           60045
Blue Mercury | Costa Brazil       Lake Forest                           Lake Forest                          680 N. BANK LANE                                          LAKE FOREST      IL           60045
Blue Mercury | Costa Brazil       Larchmont Bvd                         Larchmont                            158 N Larchmont Blvd                                      Los Angeles      CA           90004
Blue Mercury | Costa Brazil       Las Vegas                             1065 S Rampart Blvd                                                                            Las Vegas        NV           89145
Blue Mercury | Costa Brazil       Laurel Village                        Laurel Village                       3535 California St.                                       San Francisco    CA           94118
Blue Mercury | Costa Brazil       Los Altos                             Los Altos                            252 Main St.                                              Los Altos        CA           94022
Blue Mercury | Costa Brazil       Madison Ave                           Madison Ave.                         1208 Madison Avenue                                       New York         NY           10128
Blue Mercury | Costa Brazil       Manhasset                             Manhasset                            2034 Northern Boulevard                                   Manhasset        NY           11030
Blue Mercury | Costa Brazil       Miramar Beach                         Blue Mercury                         500 Grand Blvd                                            Miramar Beach    FL           32550
Blue Mercury | Costa Brazil       Miramar Beach                         Miramar Beach                        500 Grand Blvd Suite K-106                                Miramar Beach    FL           32550
Blue Mercury | Costa Brazil       Mizner Park                           414 Plaza Real                                                                                 Boca Raton       FL           33432
Blue Mercury | Costa Brazil       Montclair                             Blue Mercury                         30 South Park Street                                      Monclair         NJ           07042
Blue Mercury | Costa Brazil       Montclair                             Montclair                            30 South Park Street                                      Montclair        NJ           07042
Blue Mercury | Costa Brazil       Mount Pleasant                        1230 Belk Drive                                                                                Mount Pleasant   SC           29464
Blue Mercury | Costa Brazil       Naples                                505 5th Ave. South Ste A                                                                       Naples           FL           34102
Blue Mercury | Costa Brazil       New Canaan                            Blue Mercury                         120 Main Street                                           New Canaan       CT           06840
Blue Mercury | Costa Brazil       New Canaan                            New Canaan                           120 Main Street                                           New Canaan       CT           06840
Blue Mercury | Costa Brazil       New Orleans                           5601 Magazine St - Unit D                                                                      New Orleans      LA           70115
Blue Mercury | Costa Brazil       Newbury                               Newbury                              160 Newbury Street                                        Boston           MA           02116
Blue Mercury | Costa Brazil       Newport Beach                         908A Avocado Ave.                                                                              Newport Beach    CA           92660




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                   Creditor Name                                    Attention                            Address 1                     Address 2                           Address 3             City             State         Zip    Country
Blue Mercury | Costa Brazil                      Old Town                            Old Town                             600 King Street                                              Alexandria            VA           22314
Blue Mercury | Costa Brazil                      P Street                            Blue Mercury                         1427 P St. N.W.                                              Washington            DC           20005
Blue Mercury | Costa Brazil                      P Street                            P Street                             1427 P Street NW                                             Washington            DC           20005
Blue Mercury | Costa Brazil                      Paragon Packaging                   600 Blair Road                                                                                    Carteret              NJ           07008
Blue Mercury | Costa Brazil                      Paragon Packaging                   600 Blair Road Carteret                                                                           Carteret              NJ           07008
Blue Mercury | Costa Brazil                      Park Road                           4247 Park Road Ste 290                                                                            Charlotte             NC           28209
Blue Mercury | Costa Brazil                      Princeton                           Blue Mercury                         72 Palmer Square                                             Princeton             NJ           08542-3712
Blue Mercury | Costa Brazil                      Princeton                           Princeton                            72 Palmer Square West                                        Princeton             NJ           08542
Blue Mercury | Costa Brazil                      Raleigh                             Blue Mercury                         4350 Lassiter at N Hills Av 112                              Raleigh               NC           27609
Blue Mercury | Costa Brazil                      Raleigh                             Raleigh                              4350Lassiter at N Hills Av 112                               Raleigh               NC           27609
Blue Mercury | Costa Brazil                      Rice Village                        Rice Village                         2506 University Blvd - #116                                  Houston               TX           77005
Blue Mercury | Costa Brazil                      Rittenhouse Square                  Rittenhouse Square                   1707 Walnut Street                                           Philadelphia          PA           19103
Blue Mercury | Costa Brazil                      River North                         Blue Mercury                         356 North Clark St.                                          Chicago               IL           60654
Blue Mercury | Costa Brazil                      River North                         River North                          356 North Clark Street                                       Chicago               IL           60654
Blue Mercury | Costa Brazil                      Rye                                 Rye                                  61 Purchase Street                                           Rye                   NY           10580
Blue Mercury | Costa Brazil                      San Jose                            1140 Lincoln Ave.                                                                                 San Jose              CA           95125
Blue Mercury | Costa Brazil                      Santa Barbara                       742 State Street                                                                                  Santa Barbara         CA           93101
Blue Mercury | Costa Brazil                      Santa Monica                        Montana Ave                          1402 Montana Ave.                                            Santa Monica          CA           90403
Blue Mercury | Costa Brazil                      Sarasota                            Blue Mercury                         1500 Main St                                                 Sarasota              FL           34236
Blue Mercury | Costa Brazil                      Sarasota                            Sarasota                             1500 Main St.                                                Sarasota              FL           34236
Blue Mercury | Costa Brazil                      Sawgrass Village                    Sawgrass Village                     310 Front Street - Suite 860                                 Ponte Verdra Beach    FL           32082
Blue Mercury | Costa Brazil                      Sea Girt                            Blue Mercury                         2150 Rte 35                       Suite 22-23E               Sea Girt              NJ           08750
Blue Mercury | Costa Brazil                      Sea Girt                            Sea Girt                             2150 Rte 35 - Suite 22-23E                                   Sea Girt              NJ           08750
Blue Mercury | Costa Brazil                      Seaport                             Seaport                              105 Seaport Blvd.                                            Boston                MA           02210
Blue Mercury | Costa Brazil                      Shrewsbury                          Shrewsbury                           571 Route 35                                                 Shrewsbury            NJ           07702
Blue Mercury | Costa Brazil                      Southampton                         Blue Mercury                         46 Main Street                                               Southampton           NY           11968
Blue Mercury | Costa Brazil                      Southampton                         Southampton                          46 Main St.                                                  Southampton           NY           11968
Blue Mercury | Costa Brazil                      Southlake                           Southlake                            219 Grand Ave.                                               Southlake             TX           76092
Blue Mercury | Costa Brazil                      Southport                           Southport                            3512 North Southport Avenue                                  Chicago               IL           60657
Blue Mercury | Costa Brazil                      State and Elm                       Blue Mercury                         1153 North State St                                          Chicago               IL           60610
Blue Mercury | Costa Brazil                      State and Elm                       State and Elm                        1153 N. State St.                                            Chicago               IL           60610
Blue Mercury | Costa Brazil                      Studio City                         12178 Ventura Blvd                                                                                Studio City           CA           91604
Blue Mercury | Costa Brazil                      Suburban Sq                         Blue Mercury                         42 St. James Place                                           Ardmore               PA           19003-2408
Blue Mercury | Costa Brazil                      Suburban Square                     Suburban Square                      42 St. James Place                                           Ardmore               PA           19003
Blue Mercury | Costa Brazil                      Summit                              Blue Mercury                         374 Springfield Avenue                                       Summit                NJ           07901
Blue Mercury | Costa Brazil                      Summit                              Summit                               374 Springfield Avenue                                       Summit                NJ           07901
Blue Mercury | Costa Brazil                      Sunset Plaza                        Blue Mercury                         8604 Sunset Blvd.                                            West Hollywood        CA           90069
Blue Mercury | Costa Brazil                      Sunset Plaza                        Sunset Plaza (closed)                8604 Sunset Blvd                                             West Hollywood        CA           90069
Blue Mercury | Costa Brazil                      Tampa                               704 S. Village Cir.                                                                               Tampa                 FL           33606
Blue Mercury | Costa Brazil                      Tices Corner                        Blue Mercury                         391 Chesnut Ridge                 #2A                        Woodcliff Lake        NJ           07677
Blue Mercury | Costa Brazil                      Tices Corner                        Tices Corner                         391 Chestnut Ridge - #2A                                     Woodcliff Lake        NJ           07677
Blue Mercury | Costa Brazil                      Town and Country                    Town and Country                     855 El Camino Real                                           Palo Alto             CA           94301
Blue Mercury | Costa Brazil                      Tribeca                             Tribeca                              275 Greenwich Ave.                                           New York              NY           10007
Blue Mercury | Costa Brazil                      Union Square                        Union Square                         865 Broadway                                                 New York              NY           10003
Blue Mercury | Costa Brazil                      University Village                  Blue Mercury                         2661 NE 46th Street                                          Seattle               WA           98105
Blue Mercury | Costa Brazil                      University Village                  University Village                   2661 NE 46th Street                                          Seattle               WA           98105
Blue Mercury | Costa Brazil                      Upper East Side                     Upper East Side                      1311 3rd Avenue                                              New York              NY           10021
Blue Mercury | Costa Brazil                      Village at Totem Lake               11901 NE Village Plaze Ste 141                                                                    Kirkland              WA           98034
Blue Mercury | Costa Brazil                      Wellesley                           Blue Mercury                         200 Linden St                     Suite #200J                Wellesley             MA           02482
Blue Mercury | Costa Brazil                      Wellesley                           Wellesley                            200 Linden St. - Suite #200J                                 Wellesley             MA           02482
Blue Mercury | Costa Brazil                      West Village                        West Village                         404 6th Avenue                                               New York              NY           10011
Blue Mercury | Costa Brazil                      Westfield                           Westfield                            82 Elm Street                                                Westfield             NJ           07090
Blue Mercury | Costa Brazil                      Westlake                            Blue Mercury                         968 S. Westlake Blvd                                         Westlake Village      CA           91361
Blue Mercury | Costa Brazil                      Westlake                            Westlake                             968 S Westlake Blvd. #8                                      Westlake Village      CA           91361
Blue Mercury | Costa Brazil                      Westport                            Blue Mercury                         62 Main Street                                               Westport              CT           06880
Blue Mercury | Costa Brazil                      Westport                            Westport                             62 MAIN STREET                                               WESTPORT              CT           06880
Blue Mercury | Costa Brazil                      Westport2                           Bluemercury                          57 Main St.                                                  Westport              CT           06880
Blue Mercury | Costa Brazil                      Wheatley Plaza                      Wheatley Plaza                       320 Wheatley Plaza                                           Greenvale             NY           11548
Blue Mercury | Costa Brazil                      Winter Park                         Winter Park                          102 N. Park Ave.                                             Winter Park           FL           32789
Blue Mercury | Costa Brazil                      Woodway                             Blue Mercury                         1407 South Voss Rd                Suite B                    Houston               TX           77057
Blue Mercury | Costa Brazil                      Woodway                             Woodway                              1407 South Voss Rd - Suite B                                 Houston               TX           77057
Blue Moon Digital, Inc.                                                              PO Box 7049                                                                                       Carol Stream          IL           60197
Blue Mustard Inc                                                                     7420 NE 8TH AVE                                                                                   Miami                 FL           33138
Blue Mustard Inc                                                                     7420 NE 8TH AVENUE                                                                                Miami                 FL           33138
Blue Torch Capital LP                                                                18th Floor 150 E 58th Street                                                                      New York              NY           10155
BLUE-COSTAB-FIR / Bluemercury PO# 214776                                             Address Redacted
BLUE-COSTAB-FIR / Bluemercury PO# 5083415                                            Address Redacted
Bluemercury                                                                          Address Redacted
Bluemercury                                                                          Address Redacted
Bluemercury - 68th Street and 3rd                                                    Address Redacted
Bluemercury - Chestnut St/ Attn: Store Manager                                       Address Redacted
Bluemercury - Halcyon                                                                Address Redacted
Bluemercury - La Jolla / Attn: Store Manager                                         Address Redacted
Bluemercury / Attn: Nick Eberle                                                      Address Redacted
Bluemercury / Attn: Store Manager KRISTEN                                            Address Redacted
Bluemercury / Attn: Tracey Kline                                                     Address Redacted
Bluemercury /Attn: Nancy (Manager)                                                   Address Redacted
BLUE-MOIL-CEDAR / Bluemercury PO# 215207                                             Address Redacted
Blueprint Studios Trends Inc                                                         352 Shaw Road                                                                                     South San Francisco   CA           94550




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                                                                                                                                  Creditor Matrix



                   Creditor Name                                          Attention                           Address 1                          Address 2              Address 3           City                 State           Zip            Country
BlueSwitch, LLC                                                                             29 Broadway                           Ground Floor                                      New York           NY                10006
Blumberg, Samantha                                                                          Address Redacted
Blumenthal, Jocelyn                                                                         Address Redacted
BLVD                                                  BLVD                                  320 Manhattan Beach Blvd                                                                Manhattan Beach    CA                90266
BMO Nesbitt Burns                                                                           111 West Monroe Street                                                                  Chicago            IL                60603
BNP MEDIA                                                                                   2401 W Big Beaver Rd. Suite 700                                                         Troy               MI                48084
BNP Paribas Securities Corp.                                                                787 Seventh Avenue                                                                      New York           NY                10019-6016
Board Intelligence Ltd                                                                      24 Cornhill                                                                             London                               EC3V 3ND      United Kingdom
Boasso America                                                                              6856 Payshpere Circle                                                                   Chicago            IL                60674
Boasso America Corporation                                                                  100 Intermodal Drive                                                                    Chalmette          LA                70043
Bobbie Angell                                                                               Address Redacted
Bobbie Nelson                                                                               Address Redacted
BOC Sciences                                          BOCSCI Inc                            45-16 Ramsey Rd                                                                         Shirley            NY                11967
Boca Scientific Inc.                                                                        Suite 105 990 Washington St.                                                            Dedham             MA                02026
Body London LTD                                                                             1 LYRIC SQUARE                                                                          London                               W6 0NB        United Kingdom
Bol Adviseurs                                                                               Spoorstraat 73                                                                          Boxmeer            Limburg           5831CK        Netherlands
Bold PR LLC                                                                                 171 Madison Avenue Suite 700                                                            New York           NY                10016
Bolger Vision Beyond Print                                                                  3301 Como Avenue SE                                                                     Minneapolis        MN                55414
BOLINA MODA INTIMA EIRELI                                                                   AV. OLEGARIO MACIEL 1600, L OM68                                                        BELO HORIZONTE     MG                30180-915     Brazil
Bolivia Lumber Company, LLC                           Garner & Garner Investments, LLC      PO Box 1387                                                                             Wilmington         NC                28402
Bond Official LLC                                                                           110 Wall Street                       1505                                              New York           NY                10005
Bonham, Kathryn                                                                             Address Redacted
                                                                                                                                                                                    SANTANA DO
BONICLUB COMERCIO DE COSMETICOS LTD                                                        AV JOSE ROBERTO DE C 1047, GL 1 E 2                                                      PARNAIBA           SP                06504-150     Brazil
Bonneau, Joseph                                                                            Address Redacted
Bonny Chong-Wai Wong Bunson                                                                3401 38th Street Northwest             Apt. 403                                          Washington         DC                20016
Bonsucro                                              C/O Better Sugarcane Initiative      20 Pond Square                                                                           London                               N6 6BA
Bonsucro Limited                                                                           50-52 Wharf Rd                                                                           London                               N1 7EU        United Kingdom
Bonvee, Inc. dba Boon Supply                          Bonvee, Inc.                         1 Lovell Avenue                                                                          Corte Madera       CA                94925
Bonvee, Inc. dba Boon Supply                          Bonvee, Inc.                         2443 Fillmore Street #380-17309                                                          San Francisco      CA                94115
Bonvee, Inc. dba Boon Supply                          Brittany Alderson                    IDS                                    9431 AllPoints PKWY                               Plainfield         IN                46168
Boom Productions Inc                                                                       111 Wadsworth Ave                                                                        New York           NY                10033
Boomi Inc                                                                                  1400 Liberty Ridge Drive                                                                 Chesterbrook       PA                19087
Boox Inc                                                                                   429 1st St                                                                               Petaluma           CA                94952
BOP, LLC                                              Shopbop.com - Division of BOP, LLC   4718 Helgensen Drive                                                                     Madison            WI                53718
Borisova, Svetlana                                                                         Address Redacted
Born and Made, LLC                                                                         105 West 29th Street                                                                     New York           NY                10001
Born and Made, LLC                                                                         20 West 22nd Street                    Suite 1512                                        New York           NY                10010
Borocz, Deanna                                                                             Address Redacted
Borowska, Sylwia                                                                           Address Redacted
Bortstein Legal Group                                 Bortstein Legal LLC                  P.O. Box 120                                                                             Westwood           NJ                07675-0120
Borut d.o.o. / TOP                                    Borut d.o.o. / TOP                   ul. Grada Vukovara 238                                                                   Zagreb 10000                                       Croatia/Hrvatska
Boston Laboratory Equipment                                                                18 Tower Office Park                                                                     Woburn             MA                01801
Bounce Exchange Inc dba Wunderkind corp.                                                   Flr. 74 285 Fulton St                                                                    New York           NY                10007
Boundary                                                                                   91 Paul Street                                                                           London                               EC2A4NY       United Kingdom
Bounty Models LLC                                                                          1726 1/2 Whitley Avenue                                                                  Los Angeles        CA                90028
Bouquillon, Raphael                                                                        Address Redacted
Bowden, Matthew                                                                            Address Redacted
Bowhill Digital Post Production                                                            22a Pepys Road                                                                           London                               SE14 5SB      United Kingdom
BoxFox                                                BoxFox                               3355 W EL SEGUNDO BLVD                                                                   HAWTHORNE          CA                90250
BoxFox                                                BoxFox                               3421 West El Segundo Blvd                                                                Hawthorne          CA                90250         Hong Kong
BP Air Conditioning Corp.                                                                  83-40 72nd Drive                                                                         Glendale           NY                11385
BR Design Associates LLC                                                                   Suite 502 630 Ninth Avenue                                                               New York           NY                10036
Bradley Cockrell                                                                           Address Redacted
Brady Trane Service                                                                        P.O. Box 13587                                                                           Greensboro,        NC                27415-3587
Branch, Kathryn                                                                            Address Redacted
Brand & Branch LLP                                                                         Suite 220 1305 Franklin Street                                                           Oakland            CA                94612
Brand Innovation, Inc dba 3D Color                                                         4817 Vine St                                                                             Cincinnati         OH                45217
Brand, Parker                                                                              Address Redacted
                                                                                                                                  24, Samseong-ro 104-gil , Gangnam-
BRANDERS CO., LTD.                                                                          4F (Ha Young Building)                gu                                                Seoul                                6166          Korea, Republic of
Brandetize, LLC                                                                             2840 Fifth Ave #200                                                                     San Diego          CA                92103
BRANDLINK COMMUNICATIONS, LLC                                                               21650 OXNARD ST.                      FL 12                                             WOODLAND HILLS     CA                91367
Brandshare, IDR Marketing                                                                   1125 Lancaster Avenue                                                                   Berwyn             PA                19312
Brandstyle Communications                                                                   450 Park Avenue S                     Suite 12-108                                      New York           NY                70130
BrandX Studios Inc.                                                                         337 Arias St                                                                            San Rafael         CA                94903
Braunstein, Max                                                                             Address Redacted
Bray Controls Indústria de Válvulas Ltda. v. Amyris
Fermentação de Perforamance Ltda.                     Gomes & Hoffmann                      Bellucci                              Piva Lawyers                                                                                         Brazil
Brazil Foundation                                                                           216 EAST 45TH STREET                  SUITE 1204                                        New York           NY                10017
Brazil Foundation                                                                           Suite 1204 216 East 45th Street                                                         New York           NY                10017
                                                                                                                                                                                    CEP: 01001-001 -
Brazil Translations                                                                         Praça da Sé, 21 - Conj. 1101                                                            Centro             SP                01001-001
Breach, Samantha                                                                            Address Redacted
Breast Cancer Prevention Partners                                                           Suite 400 1388 Sutter Street                                                            San Francisco      CA                94109
Brennan, Recupero, Cascione, Scungi                                                         362 Broadway                                                                            Providence         RI                02909
Brenner - Fiedler & Associates, Inc                                                         4059 Flat Rock Drive                                                                    Riverside          CA                92505
BRENNTAG MID-SOUTH, INC.                                                                    3796 Reliable Parkway                                                                   Chicago            IL                60686-3007
Brenntag Pacific Inc                                                                        Brenntag Pacific File#2674                                                              Los Angeles        CA                90074-2674




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                    Creditor Name                                Attention                                   Address 1                          Address 2       Address 3               City        State           Zip         Country
Brent Ilgen                                                                               Address Redacted
Brewer, Alaina                                                                            Address Redacted
Bri Winters Inc                                                                           217 W. 18th St, Unit 1364                                                         New York           NY           10113
Bria McPherson                                                                            Address Redacted
Bria Research Labs                             Arun Nandagiri                             1920 Industrial Drive                                                             Libertyville       IL           60048
Brian Bolke                                                                               Address Redacted
Brian M. Stoltz                                                                           Address Redacted
Brice, Jason                                                                              Address Redacted
Bridge Reps LLC                                                                           1123 Broadway                          Suite 208                                  New York           NY           10010
Brigandi, Loren                                                                           Address Redacted
BRI'GEID LLC                                                                              949 WILLOUGHBY AVE                     #212                                       Brooklyn           NY           11221
Bright Giant                                                                              Hans-Knöll-Straße 6                                                               Jena               16           7745          Germany
Bright Moment Co.                                                                         #170 550 N Liberty St                                                             Winston Salem      NC           27101
BrightEdge Technologies, Inc.                                                             989 E. Hillsdale Blvd                  Suite 300                                  Foster City        CA           94404
Brightwizard, S.A.                                                                        Rua Alexandre Herculano No 2, 4o                                                  Lisbon                          1150-006      Portugal
Brijlall, Dhaneswar                                                                       Address Redacted
Brilliant Formulations LLC                                                                Suite C 20630 S. Leapwood Avenue                                                  Carson             CA           90746
Brisan Ingredients, Inc                                                                   10608 163rd Pl                                                                    Orland Park        IL           60467
BriskHeat Corporation                                                                     4800 Hilton Corporate Drive                                                       Columbus           OH           43232
BRISTA PHILIPS                                                                            Address Redacted
Brit Media, Inc.                                                                          PO BOX 2640                                                                       Mill Valley        CA           94941
Britney Greenfield                                                                        Address Redacted
Brittany Teague                                                                           Address Redacted
Brittany Wallace                                                                          Address Redacted
Broadley-James Corporation                                                                19 Thomas                                                                         Irvine             CA           92618
Broadridge ICS, Inc.                           C/OBroadridge Investor Communicatio        51 Mercedes Way                                                                   Edgewood           NY           11717
Broadway Furniture Group Inc.                                                             1239 broadway                          Suite 1004                                 New York           NY           10001
Brodbeck, Erich                                                                           Address Redacted
Bronte Goldberger                                                                         Address Redacted
Brooke Merluzzi                                                                           Address Redacted
Brookfield Engineering Laboratories            Inc                                        11 Commerce Blvd                                                                  Middleboro         MA           02346-1031
Brooks Automation Inc                                                                     25347 Network Place                                                               Chicago            IL           60673-1253
Brooks Instrument LLC                                                                     407 West Vine Street                                                              Hatfield           PA           19440
Brooks Roofing, LLC                                                                       2223 Waccamaw Shores Road                                                         Waccamaw,          NC           28450
Brown Rudnick LLP                                                                         One Financial Center                                                              Boston             MA           02211
Brown Talent & PR Inc.                                                                    200 West 20th Street                   Suite # 1010                               New York           NY           10011
Browns Fashion / Attn: Beauty Immersive Room
Testers (Chynna Richardson)                                                               Address Redacted
                                               BROWNS SOUTH MOLTON STREET
BROWNS SOUTH MOLTON STREET LIMITED             LIMITED                                    The Bower                              211 Old Street                             London                          EC1V 9NR      United Kingdom
BROWNS SOUTH MOLTON STREET LIMITED             Clipper Logistics Netherlands B.V. / DC2   Smakterweg 72                                                                     VENRAY 5804 AH                                Netherlands
BROWNS SOUTH MOLTON STREET LIMITED             CLIPPER LOGISTICS NETHERLANDS BV           SMAKTERWEG 70                                                                     AH VENRAY 5804                                Netherlands
Bruker Scientific, LLC                                                                    PO BOX 846041                                                                     Boston             MA           02284-6041
Brundidge & Stanger, P.C.                                                                 Suite 560 1925 Ballenger Avenue                                                   Alexandria         VA           22314-6820
Bruner, Marcela                                                                           Address Redacted
Brunswick County Public Utilities                                                         PO Box 580217                                                                     Charlotte          NC           28258-0217
Brunswick County Public Utilities              Attn: Bankruptcy/Legal Dept.               PO Box 580217                                                                     Charlotte          NC           28258-0217
Brunswick County Revenue Dept.                                                            PO Box 580335                                                                     Charlotte          NC           28258-0335
Brunswick County Revenue Dept.                 Attn: Bankruptcy/Legal Dept.               Brunswick County Government Complex    30 Government Ctr. Dr. NE                  Bolivia            NC           28422
Bryan Richard Wilcox                                                                      Address Redacted
Bryan Robertson                                                                           Address Redacted
BTSA US, Inc.                                                                             PO Box 759                                                                        Lake Geneva        WI           53147
BTWN LLC                                                                                  2386 Silver Ridge Ave                                                             Los Angeles        CA           90039
BTX Global Logistics, Inc                                                                 12 Commerce Dr.                                                                   Shelton            CT           06484
Buchanan, Greg                                                                            Address Redacted
Buchi Corporation                                                                         P.O 822705                                                                        Philadelphia       PA           19182
Buchi Corporation                                                                         PO Box 12997                                                                      Philadelphia       PA           19176
Buchwald, Darren                                                                          Address Redacted
Bueno, Gerardo                                                                            Address Redacted
Bufferad Inc                                                                              11 N. Skokie Hwy, Suite G-16                                                      Lake Bluff         IL           60044
Bulk                                           Chris Wiggins                              Warehouse Anywhere                     680 14th Street NW                         Atlanta            GA           30318
Bulk Tainer Logistics (USA), Inc.                                                         Suite #225 2450 NASA Parkway                                                      Houston            TX           77058
Bulkhaul USA, Inc.                                                                        485E Route 1 South Suite 230                                                      Iselin             NJ           08830
Bunkhouse Group / Attn: Kristen Willson                                                   Address Redacted
BUNZL RETAIL SERVICES                          BUNZL RETAIL SERVICES                      8449 Milliken #102                                                                Rancho Cucamonga   CA           91730
BUNZL RETAIL SERVICES                          BUNZL RETAIL SERVICES - PA                 3600 Progress Driver                                                              Bensalem           PA           19020
Bureau de Femme, LLC                           Melissa Liebling-Goldberg                  #3B 500A e. 87th                                                                  New York           NY           10128
Bureau Veritas North America Inc                                                          16800 Greenspoint Park Drive                                                      Houston            TX           77060
Burgess Capital Management LLC                                                            6901 Runningbrook Terrace                                                         Wilmington         NC           28411
Burgess, Andrew                                                                           Address Redacted
Burlington Coat Factory - Pipette              Burlington Coat Factory - Pipette          1830 Route                             130 North                                  Burlington         NJ           08016
Burlington Coat Factory - Pipette              San Bernardino DC                          570-A East Mill Street                                                            San Bernardino     CA           92408
Burlington Coat Factory - Pipette              Thrive Market Batesville                   1736 Lammers Pike                                                                 Batesville         IN           47006
Burlington Coat Factory - Pipette              Thrive Market Hanover                      125 Logistics Drive                                                               Hanover Township   PA           18706
Burlington Coat Factory - Pipette              Thrive Market Reno                         700 Milan Dr                                                                      Sparks             NV           89437
Burning Questions                                                                         942 Union Street                                                                  San Francisco      CA           94133
Burns Engineering, Inc.                                                                   10201 Bren Rd E.                                                                  Minnetonka         MN           55343
Burns, Christopher                                                                        Address Redacted
Burns, Emmy                                                                               Address Redacted




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                     Creditor Name                                      Attention                                    Address 1                          Address 2         Address 3               City             State         Zip             Country
Business & Legal Resources                           BLR                                           PO Box 41503                                                                       Nashville          TN                37204-1503
Bussemer, Kevin                                                                                    Address Redacted
Bustle / Attn: Faith Xue                                                                           Address Redacted
BVOH Search & Consulting, LLC                                                                      Suite 720 201 Mission Street                                                       San Francisco      CA                94115
BW Creative LLC                                                                                    976 Fulton St.                          Apt 5C                                     Brooklyn           NY                11238
By Disco LLC                                                                                       303 E 57th Street                       #11J                                       New York           NY                10022
Bynder LLC                                                                                         Suite 400 24 Farnsworth Street                                                     Boston             MA                02210
C T CORPORATION SYSTEM, AS
REPRESENTATIVE                                                                                     ATTN: SPRS                              330 N BRAND BLVD, SUITE 700                GLENDALE           CA                91203
C. D. Rudolph Consulting                                                                           156 Parker Avenue                                                                  San Francsico      CA                94118
C. H. Robinson International, Inc.                                                                 14701 Charlson Road, Suite 1400                                                    Eden Prairie       MN                55347
C.H.Robinson Worldwide, Inc.                                                                       P.O. Box 9121                                                                      Minneapolis        MN                55480-9121
C.O. Bigelow | Costa Brazil                          C.O. BIGELOW                                  414 SIXTH AVENUE                                                                   NEW YORK           NY                10011

c/o Design District ERFR LLC & RFR Holding LLC       Attn.: Michael Fuchs and Franks Mangieri      375 Park Avenue                         10th Floor                                 New York           New York          10152
c/o Palm Beach Holdings 3940, LLC & Continental
Real Estate Companies                                                                              2121 Ponce De Leon Blvd.                Suite 1250                                 Coral Gables       FL                33134
c/o Palm Beach Holdings 3940, LLC & Continental
Real Estate Companies                                                                              2121 Ponce De Leon Blvd.                Suite 1250                                 Coral Gables       Florida           33134
CA Fortune Sales & Marketing, LLC                                                                  Suite 1-S 651 W Washington Blvd                                                    Chicago            IL                60661
Cabot Norit Americas Inc.                                                                          P.O. Box 734390                                                                    Chicago            IL                60673-4390
Cabrero, Adrian                                                                                    Address Redacted
Cadence                                                                                            68 rue des archives                                                                Paris                                75003        France
Cai, Wenlong                                                                                       Address Redacted
Calcon Systems, Inc.                                                                               Suite 9 12919 Alcosta Blvd.                                                        San Ramon          CA                94583
Caldwell, Thomas                                                                                   Address Redacted
Calgon Carbon Corporation                                                                          3000 GSK DRIVE                                                                     Pittsburgh         PA                15108
Calhoun Truck Lines                                                                                9845 West 74th Street                                                              Eden Prairie       MN                55344
Caliber Equipment, Inc.                                                                            8433 Erle Rd.                                                                      Mechanicsville     VA                23116
                                                      California Department of Forestry and Fire
California Department of Forestry and Fire Protection Protection                                   1416 9th street                         PO Box 944246                              Sacramento         CA                94244-2460
                                                      California Department of Forestry and Fire
California Department of Forestry and Fire Protection Protection                                   2800 Wright Rd                                                                     Camarillo          CA                93010
California Department of Tax                          and Fee Administration                       PO Box 942879                                                                      Sacramento         CA                94279-6001
California Dept. of Industrial Rela                                                                PO Box 511266                                                                      Los Angeles        CA                90051
California Hydronics Corporation                                                                   PO Box 55602                                                                       Hayward            CA                94545
California Life Sciences Associatio                   CLSA                                         9191 Towne Center Drive, Ste450                                                    San Diego          CA                92122
California Model & Design Group                                                                    1450 Mariposa Street                                                               San Francisco      CA                94107
Caliope Realty Associatees LLC                                                                     134 Spring Street (84 Wooster Street)                                              New York           NY                10012
Caliope Realty Associatees LLC                                                                     134 Spring Street (84 Wooster Street)                                              New York           NY                10012
Caliope Realty Associatees LLC                        Attn.: Christine Rivera                      134 Spring St. Suite 305                                                           New York           New York          10012
Caliope Realty Associatees LLC                        Attn.: Christine Rivera                      Attn.: Christine Rivera                 134 Spring St. Suite 305                   New York           NY                10012
Call & Jensen, APC                                                                                 Ste 700 610 Newport Center Drive                                                   Newport Beach      CA                92660
CALLA SITRAS COMERCIAL EIRELI                                                                      RUA PEIXOTO GOMIDE 1749                                                            SAO PAULO          SP                01409-003    Brazil
Calliope Realty Associates LLC                                                                     Suite 305 134 Spring Street                                                        New York           NY                10012
Calliope Realty AssociatesLLC                                                                      134 Spring Street                       Suite 201 and Suite 304                    New York           NY                10012
Caltrol Inc                                                                                        PO BOX 741123                                                                      Los Angeles        CA                90074-1123
Calum Sample                                                                                       41 Athenlay Road                        Flat 7                                     London                               SE15 3EA     United Kingdom
Calumet Refining, LLC                                 Calumet Specialty Products Partners          Suite 200 2780 Waterfront Parkway E                                                Indianapolis       IN                46214
Calumet Specialty Products Partners                                                                Suite 200 2780 Waterfront Parkway E                                                Indianapolis       IN                46214
Calvin, Jemel                                                                                      Address Redacted
                                                      COMERCIO DE MODA E ACESSORIOS
CALZEDONIA BRASIL                                     LTDA                                         AVENIDA DAS AMERIC 4666, LOJA 219 B                                                RIO DE JANEIRO     RJ                22640-902    Brazil
CALZEDONIA BRASIL COMERCIO                            DE MODA E ACESSORIOS LTDA                    AV DRA RUTH CARDOS 4777, LJ SVL0066                                                SAO PAULO          SP                05477-903    Brazil
CALZEDONIA BRASIL COMERCIO                            DE MODA E ACESSORIOS LTDA                    AV. HIGIENOPOLIS 618, Loja 211                                                     SAO PAULO          SP                01238-000    Brazil
CALZEDONIA BRASIL COMERCIO                            DE MODA E ACESSORIOS LTDA                    AV. IBIRAPUERA 3103, SUC 102                                                       SAO PAULO          SP                04029-200    Brazil
CALZEDONIA BRASIL COMERCIO                            DE MODA E ACESSORIOS LTDA                    AV. MAGALHAES DE CASTR 12000, LJ 21                                                SAO PAULO          SP                05676-120    Brazil
CALZEDONIA BRASIL COMERCIO                            DE MODA E ACESSORIOS LTDA                    PROF PEDRO VIRIATO PA 600, LOJA 162                                                MOSSUNGUE          PR                81200-100    Brazil
CALZEDONIA BRASIL COMERCIO                            MODA E ACESSORIOS LTDA                       RUA TREZE DE MAIO 1947, LUC 2012                                                   SAO PAULO          SP                01327-900    Brazil
CALZEDONIA BRASIL COMERCIO DE                         MODA E ACESSORIOS LTDA                       R PALESTRA ITALIA 500 2100                                                         SAO PAULO          SP                05005-900    Brazil

CALZEDONIA BRASIL COMERCIO DE MODA                   ACESSORIOS LTDA                               AV EMBAIXADOR MACEDO SOARES 10735                                                  SAO PAULO          SP                05035-000    Brazil
CALZEDONIA BRASIL COMERCIO DE MODA                   ACESSORIOS LTDA                               RUA VISCONDE DE PIRA 550, LOJ L / M                                                RIO DE JANEIRO     RJ                22410-002    Brazil
CALZEDONIA BRASIL COMERCIO DE MODA                   E ACESSORIOS LTDA                             AV DO BATEL 1868, LOJA 164                                                         CURITIBA           PR                80420-090    Brazil
CALZEDONIA BRASIL COMERCIO DE MODA                   E ACESSORIOS LTDA                             AV OTTO BAUMGART 500, LOJA 300                                                     SAO PAULO          SP                02049-900    Brazil
CALZEDONIA BRASIL COMERCIO DE MODA                   E ACESSORIOS LTDA                             R. BOCAIUVA 2468, 347/348A                                                         FLORIANOPOLIS      SC                88015-530    Brazil
CALZEDONIA BRASIL COMERCIO DE MODA                   E ACESSORIOS LTDA                             RUA OSCAR FREIRE 900, ANEXO 902                                                    SAO PAULO          SP                01426-002    Brazil
CALZEDONIA BRASIL COMERCIO DE MODA                   MODA E ACESSORIOS LTDA                        AV ROQUE PETRONI JUN 1089, LUC 87-I                                                SAO PAULO          SP                04707-900    Brazil
Camacho, Duane                                                                                     Address Redacted
Camak, Cooper                                                                                      Address Redacted
Cambridge Isotope Labs Inc                                                                         13528 Collection Center Drive                                                      Chicago            IL                60693
Cambridge Scientific Corporation                                                                   199 Dexter Ave                                                                     Watertown          MA                02472
Camelback Displays, Inc.                                                                           20020 Hickory Twig Way                                                             Spring             TX                77388
Camida Limited                                                                                     New Quay                                                                                              TP                E91YV66      Ireland
CAMILA COELHO                                                                                      Address Redacted
Camila Farnezi                                                                                     Address Redacted
CAMILA WHITMAN                                                                                     Address Redacted
Camilla Nickerson                                                                                  Address Redacted
CAMPOS FLORIDOS COMERCIO DE COSMETI                                                                Estrada Municipal Benedito Stef 117                                                EXTREMA            MG                37640-000    Brazil




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                    Creditor Name                                  Attention                           Address 1                          Address 2         Address 3               City                State           Zip            Country
Campos, Abraham                                                                      Address Redacted
Campos, Anna                                                                         Address Redacted
Campoverde, Jaime                                                                    Address Redacted
CANDID WORLDWIDE ATTN: Lee Frankel/TFF                                               Address Redacted
Cannady, Ashlee                                                                      Address Redacted
Canoe Place Inn & Cottages                                                           239 Est Montauk Highway                                                            Nova York - NY                          11946
Canyon Plastics, Inc.                                                                28455 Livingston Ave.                                                              Valencia               CA               91355
Canyon Ranch / Attn: Deidre Strunk                                                   Address Redacted
Canyon Ranch / Attn: Lisa Ledesma                                                    Address Redacted
Canyon Ranch / Attn: Sam Cooper                                                      Address Redacted
Canyon Ranch / Attn: Sam Cooper                                                      Address Redacted
Cap Beauty LLC | Costa Brazil                    Cap Beauty LLC                      25252 Piuma Road                                                                   Calabasas              CA               91302
Cap Beauty LLC | Costa Brazil                    Cap Beauty LLC - Costa Brazil       25252 Piuma Road                                                                   Calabasas              CA               91302
Cap Beauty LLC | Costa Brazil                    Cap Beauty LLC C/O H2O Logistics    H20 Logistics                            23601 S. Wilmington Avenue                Carson                 CA               90745
Caparro & Nash, LLC                                                                  8527 Brier Drive                                                                   Los Angeles            CA               90046
Cape Fear Door, Inc.                                                                 100 Crowatan Rd                                                                    Castle Hayne           NC               28429
Cape Fear Maintenance, Inc.                                                          3411 River Road                                                                    Wilmington             NC               28412
Capital & Counties CG Limited                                                        Regal House, 14 James St                                                                                  London           WC2E 8BU      United Kingdom
Capitol Container, Inc.                                                              P. O. BOX 830525                                                                   BIRMINGHAM             AL               35283-0525
Capricorn Luxury Travel                                                              PO Box 369                                                                         Purchase               NY               10577
Capstone Nutrition                                                                   900 S Depot Drive                                                                  Ogden                  UT               84404
Capstone Partners                                                                    Suite 1725 1225 17th St.                                                           Denver                 CO               80202
Capsum Inc.                                                                          3725 S FM 973                                                                      Del Valle              TX               78617
Captiv8 Inc Powered by Halo                                                          102 West 38th Street                                                               New York               NY               10018
Cara Dawson                                                                          Address Redacted
Carbosynth LLC                                                                       7887 Dunbrook Road, Suite F                                                        San Diego              CA               92126
CARDINAL CONTAINER                                                                   Lockbox 415529                                                                     Boston                 MA               02241-5529
Cardinale Photographic                                                               614 Louisiana St.                                                                  Vallejo                CA               94590
Caren Limited                                                                        The White Cottage, Hammersley Lane                                                 Penn                   Bucks.           HP10 8HB      United Kingdom
Cargill, Incorporated                                                                PO BOX 749481                                                                      Los Angeles            CA               90074
Carissa Cabrera                                                                      Address Redacted
Carissa Koutantzis dba Carissa Kosta                                                 Address Redacted
Carley Bishop                                                                        Address Redacted
Carlos Nazario                                                                       Address Redacted
Carly Kazempoor                                                                      Address Redacted
Carmen Hand Model Management                                                         Address Redacted
Carmen Vasquez                                                                       Address Redacted
CAROL HAMDAN                                                                         Address Redacted
Carola Seher                                                                         Address Redacted
Carole Diarra                                                                        Address Redacted
Carole Piwnica                                                                       Address Redacted
Carolina Filters, Inc.                                                               P.O. Box 716                                                                       Sumter                 SC               29151
Carolina Hernandez                                                                   Address Redacted
Caroline Curry                                                                       Address Redacted
CAROLINE GOMIDE                                                                      Address Redacted

Caroline Hirons LTD                              Caroline Hirons LTD                 16 Armada Way                            Beckton                                   London Middx. E6 7AB                                  United Kingdom
                                                                                                                                                                        London Middx. SW7
Caroline Hirons LTD                              Caroline Hirons LTD                 39 Thurloe Place                         1st Floor                                 2HP                                                   United Kingdom
Carolyn Park Celebucki / FWRD                                                        Address Redacted
Carolyne Loree Teston                                                                Address Redacted
Carow International Inc.                                                             7810 S Virginia Road                                                               Crystal Lake           IL               60014
Carrillo Hernandez, Alejandra Jaline                                                 Address Redacted
Carrillo-Hernandez, Maria                                                            Address Redacted
Carroll, Karson                                                                      Address Redacted
Carroll, Kimberly                                                                    Address Redacted
Carrot Fertility, Inc.                                                               1st Floor 101 Jefferson Drive                                                      Menlo Park             CA               94025
Carry Transit                                                                        711 Jorie Blvd Suite 101 North                                                     Oak Brook              IL               60523
Carson, Elizabeth                                                                    Address Redacted
Cartel & Co Ltd                                                                      596 Shalimar Dr                                                                    Prescott               AZ               86303

CARTER PRITCHETT HODGES, INC.                                                        PO BOX 3648                                                                        NORTH FORT MYERS FL                     33918
Carter, Joan                                                                         Address Redacted
Cartograph LLC                                                                       2203 ERICA KAITLIN LN                                                              Cedar Park             TX               78613
Casa Tua Hotel & Restaurant LLC                                                      244 NW 35th St                                                                     Miami                  FL               33138
Cascade Chemistry                                Organic Consultants, Inc.           Suite 200 90 North Polk St                                                         Eugene                 OR               97402
Case Mason Filling, Inc                          Case Mason Filling, Inc             9101 Yellow Brick Road, Suite C                                                    Rosedale               MD               21237
Casey Price                                                                          Address Redacted
Cason, James Randall                                                                 Address Redacted
Cason,James Randall                                                                  Address Redacted
Cass Bird                                                                            Address Redacted
Cassil Freight Inc                                                                   2510 Huntington Dr.                                                                Fairfield              CA               94533
Cassil Freight Inc                                                                   5054 Peabody Rd.                                                                   Fairfield              CA               94533
Cassio da Silva Camargo x Amyris Brasil Ltda.,
Impacto Serviços de Segturança Ltda.             Leticia Nais                        Campos Sales Street                      890, room 1206                            Campinas               SP                             Brazil
Cast Images Model & Talent Agency L                                                  2530 J Street                                                                      Sacramento             CA               95816
Castro, Celeste                                                                      Address Redacted
Castro, Melton                                                                       Address Redacted
Casual Films                                                                         suite 902 141 Flushing Avenue bldg                                                 Brooklyn               NY               11205




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                   Creditor Name                          Attention                                Address 1                    Address 2                  Address 3           City               State           Zip            Country
Catalyst Creative, LLC                  CatalystCreativ                       1408 S. 6th Street                                                                       Las Vegas             NV           89104
Catherine Lowe                                                                Address Redacted
Catta Keith                                                                   Address Redacted
CAUA REYMOND PRODUCOES ARTISTICAS
EIRELI                                                                        RUA ARTUR POSSOLO 350                 Apto 301                                           Rio De Janeiro                     22790220      Brazil
Cavallaro Foods, LLC | Pipette          Cavallaro Foods, LLC                  5881 Court Street Road                                                                   Syracuse              NY           13206
Cavallaro Foods, LLC | Pipette          River Valley Foods                    3907 New Court Avenue                                                                    Syracuse              NY           13206
Cavallero, Peter                                                              Address Redacted
Cave, Kara                                                                    Address Redacted
Caviar for Companies Catering                                                 277 Carolina Street                                                                      San Francisco         CA           94103
Cayman Chemical Company Inc                                                   16875 Collections Center Drive                                                           Chicago               IL           60693
CB MODA E ACESSORIOS LTDA                                                     AV FERNANDO MACHAD 4000, LT D LJ 43                                                      CHAPECO               SC           89805-203     Brazil
CBHF Engineers                                                                2246 Yaupon Dr.                                                                          Wilmington            NC           28401
CC Squared Enterprises Inc                                                    Suite 1027 11111 Biscayne Blvd                                                           Miami                 FL           33181
CCA Financial                                                                 P O BOX 17190                                                                            Richmond              VA           23226
CCA FINANCIAL, LLC                                                            7275 GLEN FOREST DRIVE, SUITE 100                                                        RICHMOND              VA           23226
CCG Marketing Solutions                                                       Address Redacted
CCL Label, Inc.                                                               39040 Treasury Center                                                                    Chicago               IL           60694-9000
CCL Tube, Inc.                                                                2250 East 220th Street                                                                   Carson                CA           90810
CCR Wood Products                                                             466 Depot Street                                                                         Wilton                ME           04294
CDA Systems LLC                                                               Suite A 410 Longfellow Court                                                             Livermore             CA           94550
CDW Direct, LLC                         C/O CDW LLC                           PO Box 75723                                                                             Chicago               IL           60675
Ceberio, Julio                                                                Address Redacted
Cece King                                                                     Address Redacted
Cedric Pereira                                                                Address Redacted
Ceja, Luis                                                                    Address Redacted
Celigo, Inc.                                                                  1820 Gateway Drive                    Suite 260                                          San Mateo             CA           94404
Celine Cannon                                                                 1308 Second avenue                    2s                                                 New York              NY           10065
CellMark Inc.                                                                 2 Corporate Drive                                                                        Shelton               CT           06484
CellMark Inc.                           CellMark USA LLC                      2 Corporate Drive, 5th Floor                                                             Shelton               CT           06484
CellTrend GmbH                                                                Im Biotechnologiepark 3                                                                  Luckenwalde           12           14943         Germany
Cenit Nadir                                                                   Address Redacted
Cenit Nadir                                                                   Address Redacted
CENTERCHEM INC                                                                120 120 CIRCLE DRIVE NORTH                                                               PISCATAWAY            NJ           08854
Centerchem, Inc.                                                              20 Glover Avenue                                                                         Norwalk               CT           06850
CentiMark                                                                     12 Grandview Circle                                                                      Canonsburg            PA           15317
Central Indiana Ethanol, LLC                                                  2955 W Delphi Pike                                                                       Marion                IN           46952
Central Parking System Inc                                                    PO Box 790402                                                                            St Louis              MO           63179-0402
Cercone Brown & Company, LLC                                                  200 Portland Street                                                                      Boston                MA           02114
Cerda, Matthew                                                                Address Redacted
CEREMONIA c/o ERIN ARANEO                                                     Address Redacted
Cerno Bioscience LLC                                                          Suite 100 1180 N Town Center Dr                                                          Las Vegas             NV           89144
Certified Laboratories of the Midwest                                         2505 Diehl Road                                                                          Aurora                IL           60502
Cesar Gonzalez                                                                Address Redacted
Cesar Gonzalez                                                                Address Redacted
CESD Talent Agency                                                            10635 Santa Monica Blvd.              Suite 130                                          Los Angeles           CA           90025
CEVA Freight LLC                                                              31353 Huntwood Ave.                                                                      Hayward               CA           94544
CEVA Freight LLC                        EGL, Inc.                             Dept 2309                                                                                Carol Stream          IL           60132-2309
CFGI Holdings, LLC                                                            Suite 1301 1 Lincoln Street                                                              Boston                MA           02111
CGC NYC Inc.                                                                  447 Broadway, Floor 2                                                                    New York              NY           10013
CH & T, Inc.                                                                  6662 Mayhews Landing Road                                                                Newark                CA           94560
CH Robinson                                                                   C. H. Robinson                        P.O. Box 9121                                      Minneapolis           MN           55480
Chahat, Kimberly                                                              Address Redacted
Chai, Julianne                                                                Address Redacted
Chakraborty, Urmi                                                             Address Redacted
Chalmers and Kubeck South               Valve & Actuation Services, LLC       1050 Industrial Blvd.                                                                    Watkinsville          GA           30677
Chan, Diva                                                                    Address Redacted
Chan, Margaret                                                                Address Redacted
Chan, Vivian                                                                  Address Redacted
CHANDA CARROLL                                                                Address Redacted
Chandler, Julia                                                               Address Redacted
Chandran, Ajay                                                                Address Redacted
Chandrasekaran, Priyanka                                                      Address Redacted
Chandrasena, Shyhara                                                          Address Redacted
Chang, Jodie                                                                  Address Redacted
Chang, Tsz-Yi                                                                 Address Redacted
Channeled                                                                     39 Summit St                          Suite 107               14 Mica Ln, Suite 105      Newton                MA           02458
Chao, Lawrence                                                                Address Redacted
Character SF, LLC                                                             447 Battery Street                                                                       San Francisco         CA           94507
Character SF, LLC                                                             447 Battery Street                                                                       Alamo                 CA           94507
Chari, Venkat                                                                 Address Redacted
Charkit Chemical Company LLC                                                  32 Haviland Street                                                                       South Norwalk         CT           06854
Charles M. Salter Associates, Inc.                                            Floor 5 130 Sutter Street                                                                San Francisco         CA           94104
Charles Michael Photography LLC                                               #409 839 Post St.                                                                        San Francisco         CA           94109
Charles River Discovery Research                                              PO Box 27812                                                                             NewYork               NY           10087-7812
Charles River Discovery UK              Charles River Discovery Research Se   Chesterford Research Park                                                                Saffron Walden        ES           CB10 1XL      United Kingdom
Charles River Laboratories Den Bosc                                           Hambakenwetering 7                                                                       DD ‘s-Hertogenbosch                5231 DD       Netherlands
Charlie G. LLC                                                                28770 Fairfax St                                                                         Southfield            MI           48076
Charlotte Cook                                                                Address Redacted




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Charlotte Gamage                                                        Address Redacted
Charlotte Messam                                                        Address Redacted
ChartHop, LLC                                                           144 North 7th Street                                                              Brooklyn          NY            11249
Chase Berger                                                            Address Redacted
Chasen Creative Media                                                   136 S Clark Dr #3                                                                 West Hollywood    CA            90048
Chassy, Alexander                                                       Address Redacted
Chau, Wilson                                                            Address Redacted
Chebotina, Anastasiia                                                   Address Redacted
Chek, Wai                                                               Address Redacted
Chelsea Avila                                                           Address Redacted
Chelsea Elliott                                                         Address Redacted
Chelsea March LLC                                                       1660 1/2 Lemoyne Street                                                           Los Angeles       CA            90026
Chemclean Onsite Services                                               2596 Gumdrop dr                                                                   San Jose          CA            95148
Chemglass Life Science, LLC                                             3800 N.Mill Road                                                                  Vineland          NJ            08360
Chemical Abstracts Service           C/O American Chemical Society      L-3000                                                                            Columbus          OH            43260
Chemical Compounding Company                                            791 66TH AVENUE                                                                   Oakland           CA            94621
Chemieliva Pharmaceutical Co., LTD                                      99 Longhua Road                                                                   Chongqing         320           401147        China
ChemIndustrial Systems Inc                                              PO 500 W53N560 Highland Dr                                                        Cedarburg         WI            53012
ChemPoint.com Inc.                   ChemPoint                          Suite 1050 411 108th Avenue NE                                                    Bellevue          WA            98004
ChemSolv Inc                                                            PO Box 13847                                                                      Roanoke           VA            24037
ChemSpec, Ltd.                                                          1559 Corporate Woods Parkway                                                      Uniontown         OH            44685
Chemtrec                             American Chemistry Council         P.O. Box 791383                                                                   Baltimore         MD            21279-1383
Chen, Chang-Ting                                                        Address Redacted
Chen, Si                                                                Address Redacted
Chen, Xiaohui                                                           Address Redacted
Chen, Yihan                                                             Address Redacted
Chen, Yu Wen                                                            Address Redacted
Chen, YunChun                                                           Address Redacted
Chen, Yusu                                                              Address Redacted
Cheney, Jacqueline                                                      Address Redacted
Cheng, Connie                                                           Address Redacted
Cheng, Joan                                                             Address Redacted
Cheng, Ruoqing                                                          Address Redacted
Chenoweth, Cianna                                                       Address Redacted
Cheranne Hack                                                           Address Redacted
Cherish Brooke Hill                                                     5131 Colfax Ave                         Unit 7                                    North Hollywood   CA            91601
Chernoff Vilhauer LLP                                                   #725 111 SW Columbia St.                                                          Portland          OR            97201
Chernoff Vilhauer LLP                                                   111 Southwest Columbia Street                                                     Portland          OR            97201
Cheryl Fried                                                            Address Redacted
Cheung, Beatrice                                                        Address Redacted
Cheung, Michelle                                                        Address Redacted
Cheung, Wilbur                                                          Address Redacted
Chew, Cameron                                                           Address Redacted
Chictopia                                                               5 Third Street, Suite 422                                                         San Francisco     CA            94103
Chief Container                                                         100 Hopson Dr. SE                                                                 Acworth           GA            30102
Chief Container Company                                                 100 Hopson Drive Southeast                                                        Acworth           GA            30102
Chien, Kung Liang                                                       Address Redacted
Children's Museum of the East End                                       376 Bridgehampton Sag Harbor Turnpike                                             Bridgehampton     NY            11932
Chilworth Technologies               DEKRA Insight                      113 Campus Dr.                                                                    Princeton         NJ            08540
Chimney, Bryan                                                          Address Redacted
Chimp on a Chain Production Ltd                                         16830 Ventura Blvd                      Suite 400                                 Encino            CA            91436
Chindavong, Oudaly                                                      Address Redacted
Chinese for Affirmative Action       CAA                                17 Walter U. Lum Place                                                            San Francisco     CA            94108
Ching, Kyle                                                             Address Redacted
Chinn, Scott                                                            Address Redacted
Chinthalapani, Sai Krishna Reddy                                        Address Redacted
Chiquanna Villines                                                      Address Redacted
Chiu, Linda                                                             Address Redacted
Chloe and Mint Special Events LLC                                       8797 Winding Way                                                                  Fair Oaks         CA            95628
Chloe Pemberton                                                         Address Redacted
Chloe Productions, Inc.                                                 82 Main Street                                                                    New Canaan        CT            06840
Chloe Roth                                                              Address Redacted
Chloe Wise                                                              Address Redacted
Cho, Han                                                                Address Redacted
Cho, Jeensun                                                            Address Redacted
Chodash Realty Services, Inc         Jon Chodash                        105 Hudson St                                                                     New York          NY            10012
Chodosh Realty Services, Inc         Jon Chodash                        105 Hudson St                                                                     New York          NY            10012
Chodosh Realty Services, Inc         Jon Chodash                        Jon Chodash                             105 Hudson St                             New York          NY            10012
Choi, Doris                                                             Address Redacted
Cholpak, LLC                                                            1306 Riviera Ave                                                                  Venice            CA            90291
Chowdhury, Reshmi                                                       Address Redacted
Chris Plus Chris                                                        Address Redacted
Chrissy Rutherford                                                      Address Redacted
Christian Alegria Dabek                                                 Address Redacted
CHRISTIAN DEVOE                                                         Address Redacted
Christie, Mea                                                           Address Redacted
Christie, William                                                       Address Redacted
Christina Fiore                                                         Address Redacted
Christina Iwasko                                                        Address Redacted




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                   Creditor Name                               Attention                            Address 1                           Address 2                     Address 3               City             State               Zip            Country
Christina Kassi                                                                  Address Redacted
Christine Lin                                                                    Address Redacted
CHRISTINE SU                                                                     Address Redacted
Christophe deluy                                                                 Address Redacted
Christophe Vuillez                                                               Address Redacted
Christopher J Reaser                                                             Address Redacted
Christopher Leonard Parisi                                                       Address Redacted
Christopher Rawls Bishopp                                                        Address Redacted
Christopher Reeves                                                               Address Redacted
Christopher Romney                                                               Address Redacted
Christy Brissette                                                                Address Redacted
Christy Brissette                                                                Address Redacted
Chroma NY, LLC                                                                   111 Lawrence Street                       Suite 5D                                                Brooklyn            NY                  11201
ChromaDex, Inc                                                                   Suite 200 1735 Flight Way                                                                         Tustin              CA                  92782
ChromaDex, Inc                                                                   Suite G 10005 Muirlands Blvd                                                                      Irvine              CA                  92618

ChromSword                                                                       Liela street 37-13                                                                                Marupe, Rigas Rajons                    LV2167
CHT Germany GmbH                                                                 Bismarckstrasse 102                                                                               Tübingen                                72072         Germany
CHT USA                                          Formerly ICM products           805 Wolfe Ave                                                                                     Cassopolis           MI                 49031
Chu, Kathleen                                                                    Address Redacted
Chu, Ying                                                                        Address Redacted
Chua, Penelope                                                                   Address Redacted
Chuang, Kaichien                                                                 Address Redacted
Chubb Seguros Brazil S.A.                                                        Av. das Nações Unidas, 8501 - Pinheiros                                                           São Paulo - SP                          05425-070     Brazil
Chun Fung Kevin Chiu dba Kevin Chiu Films LLC                                    57-15 156th Street                                                                                Flushing            NY                  11355
Chung, Cassandra                                                                 Address Redacted
Chung, Leila                                                                     Address Redacted
Chung, Suzie                                                                     Address Redacted
Cicirello Garcia, Leonie                                                         Address Redacted
Ciel Creative Space                                                              932 Parker St                             #3                                                      Berkeley            CA                  94710
Cierra Creer                                                                     Address Redacted
Cigna HealthCare                                                                 1340 Treat Blvd, Suite 599                                                                                            CA                  94597
CI-GROUP / ATTN: COSTA BRAZIL AROMA                                              Address Redacted
Cimaprem                                                                         146 rue Joseph Rouxel                                                                             Rieux               56                  56350         France
Cin7 Inc                                                                         2205 152nd Avenue Northeast                                                                       Redmond             WA                  98052
CINC Studios                                                                     #220 11667 N. Main St                                                                             Los Angeles         CA                  90012
Cindy Mello                                                                      Address Redacted
Cintas Office                                                                    PO Box 631025                                                                                     Cincinnati          OH                  45263-1025
Cintas Safety                                                                    P.O. Box 630803                                                                                   Cincinnati          OH                  45263-0803
Cintia Teixeira Lages x TOP Service Serviços e
Sistemas S.A - Amyris Fermentação de Performance
LTDA                                             STEFERSON GUSTAVO JONES         PRUDENTE DE MORAES STREET                 N° 611                         BARRA BONITA/SP/BRAZIL                                                         Brazil
Circularis Partners                                                              Unit 2801 1209 E. Cumberland Ave                                                                  Tampa               FL                  33602
Cision US Inc                                                                    Flr 7 130 East Randolph Street                                                                    Chicago             IL                  60601
Citera, James                                                                    Address Redacted
Citibank, N.A. Citi Private Bank                                                 24th Floor One Sansome St                                                                         San Francisco       CA                  94111
CitrusBits, Inc.                                                                 Suite 219 5994 W Las Positas Blvd                                                                 Pleasanton          CA                  94588
Citscorp                                                                         4500 Northchase Pkny NE                                                                           Wilmington          NC                  28405
City of Berkeley                                                                 1947 Center St., 1st Floor                                                                        Berkeley            CA                  94704
City of Emeryville                                                               1333 Park Avenue                                                                                  Emeryville          CA                  94608
City of Emeryville                               Attn: Bankruptcy/Legal Dept.    333 Park Ave.                                                                                     Emeryville          CA                  9460
City of Emeryville Finance Dept                  Department 05756                PO Box 39000                                                                                      San Francisco       CA                  94139-5756
City of Lakeland                                                                 228 S. Massachusetts Ave.                                                                         Lakeland            FL                  33801
CK House Painting, LLC                                                           97 KENMARE STREET                         3rd Floor                                               New York            NY                  10012
CL&D Graphics LLC                                                                1101 W 2nd St.                                                                                    Oconomowoc          WI                  53066
Claire Goodwin Ltd                                                               4 Heath Square, Boltro Road               Haywards Heath                                          West Sussex         W Sussex            RH161BL       United Kingdom
Claire Jacobs                                                                    Address Redacted
Claire Jacobs                                                                    Address Redacted
Claire Kiely                                                                     Address Redacted
Claire Kiely                                                                     Address Redacted
Claremont Club & Spa                                                             41 Tunnel Road                                                                                    Berkeley            CA                  94705
CLARICE DE ANDRADE RAMOS COMERCIO D                                              AVENIDA VISCONDE DE 776, PI 3 L 336                                                               BELEM               PA                  66053-000     Brazil
Clarim Media LLC                                                                 Suite 1501 245 5th Avenue                                                                         New York            NY                  10016
Clark & Elbing LLP                                                               FL 15 101 Federal St.                                                                             Boston              MA                  02110
Clarke, Kelsey                                                                   Address Redacted
Classic Wine Vinegar Company, Inc.                                               4110 Brew Master Dr,                                                                              Ceres               CA                  95307
ClassPass Inc                                                                    11th Floor 275 7th Avenue                                                                         New York            NY                  10001
ClassPass UK Limited                                                             Suite 2 Templeback, 10 Temple Back,                                                                                                       BS1 6FL       United Kingdom
Claudia Parrinello                                                               Address Redacted
CLAUDIOMAR MIGNONI PACHECO dba Aro Model
Manager                                                                                                                                                                            PORTO ALEGRE        Rio Grande do Sul   90560-002     Brazil
CLD Digital, Inc.                                                                PO Box 644                                                                                        Oconomowoc          WI                  53066
Clean Beauty Collaborative, Inc (CBC1)                                           5885 Hollis Street Suite 100                                                                      Emeryville          CA                  94608
Clean Beauty Collaborative, Inc (CBC1)           Accounts Payable 13617          Clean Beauty Collaborative, Inc           5885 Hollis Street Suite 100                            Emeryville          CA                  94608
Clean Eating Magazine                                                            Address Redacted
Clear Channel Outdoor                                                            5800 NW 77 Court                                                                                  Miami               FL                  33166
Clear Channel Outdoor                                                            99 Park Ave                                                                                       New York            NY                  10016
ClearForMe, Inc.                                                                 510 E 14 Street                           Suite 207                                               New York            NY                  10009
ClearFreight Inc.                                                                1960 E Grand Ave.                         Suite 700                                               El Segundo          CA                  90245




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Clearwater Analytics LLC                                                                950 W Bannock St Ste 1050                                                                     Boise              ID             83702
Cleary, Emily                                                                           Address Redacted
Cleary, Timothy                                                                         Address Redacted
Cleaver, Kirsten                                                                        Address Redacted
Clemson University                                                                      391 College Ave                          Suite 301                                            Clemson            SC             29634
Clemson University                                                                      Suite 301 391 College Ave.                                                                    Clemson            SC             29634
Clésio Juliano Ribeiro x Amyris Brasil Ltda.     Regina Célia Machado.                  Rio Branco Stgreet                       425                                                  Salto              SP                           Brazil
Cleyton Matos de Oliveira x OMB Montagem
Industrial LTDA- ME - Amyris Fermentação de      JOICE CRISTINA GUARNIERI - Amélia
Performance LTD                                  Colombo Dias Street                   nº 235 - Américo Brasiliense                                                                   SP                                              Brazil
Cliff Price & Company                                                                  2100 North Stemmons Freeway               Suite 1860                                           Dallas             TX             75207
CLIMATE CHANGE MEDIA LIMITED                                                           2nd Floor 123 Buckingham Palace Roa                                                            London                            SW1W 9SH      United Kingdom
Cloud Nine Massage Therapy, LLC                                                        1272 Lombardi Ave.                                                                             Petaluma           CA             94954
CloudMills LLC                                                                         37 N Orange Ave STE 500                                                                        Orlando            FL             32801
CloudWyze                                                                              PO Box 2420                                                                                    Wilmington         NC             28402
Cloudwyze Leland                                 Attn: Bankruptcy/Legal Dept.          PO Box 2420                                                                                    Wilmington         NC             28402
CMC Logistics                                                                          2265 Clements Ferry Road                                                                       Charleston         SC             29492
CNA Insurance                                                                          PO Box 74007619                                                                                Chicago            IL             60674-7619
CNS Media B.V.                                                                         Velperweg 18                                                                                   Arnhem                            6824 BH       Netherlands
CO Bigelow / Attn: Keaton Feigeles                                                     Address Redacted
Coakley, Amanda                                                                        Address Redacted
Coalition for Consumer Information               for Cosmetics                         American Anti-Vivisection Society,        Leaping Bunny            801 Old York Road Ste 204   Jenkintown         PA             19046
Coastal Connections, Inc                                                               130 10th ct.                                                                                   Vero Beach         FL             32962
Cobb, Johnny                                                                           Address Redacted
Cochran, Mark                                                                          Address Redacted
Codility Limited                                                                       107 Cheapside                                                                                  London                            EC2V 6DN      United Kingdom
CodyBrock, Inc.                                                                        Suite D 1021 Howard Avenue                                                                     San Carlos         CA             94070
Coelen, Anne                                                                           Address Redacted
Cogert, Kathryn                                                                        Address Redacted
Cohen, Joshua                                                                          Address Redacted
Cohley                                                                                 29 W 17th St                              10th Floor                                           New York           NY             10011
Coker Pump & Equipment Company                                                         1055 Third Street                                                                              Oakland            CA             94607
Cole Fasteners                                                                         2810 North Kerr Avenue                                                                         Wilmington         NC             28405
Cole Parmer Instrument Co                                                              13927 Collections Center Drive                                                                 Chicago            IL             60693
Collado, Miguel                                                                        Address Redacted
Colliers International                           Attn.: Design41                       2550 Tyvola Road                          Suite 300                                            Charlotte          NC             28217
Colliers International                           Attn.: Design41                       Attn.: Design41                           2550 Tyvola Road         Suite 300                   Charlotte          NC             28217
Collins, Janelle                                                                       Address Redacted
Colonial Chemical Solutions                                                            P.O. Box 743239                                                                                Atlanta            GA             30374-3239
Colonial Life Processing Center                                                        P.O. Box 1365                                                                                  Columbia           SC             29202-1365
Colonial Metals Inc.                                                                   PO Box 726                                                                                     Elkon              MD             21921
Color Curated LLC                                DBA Local Color                       Suite 930 20 Jay Street                                                                        Brooklyn           NY             11201
Color X Inc.                                                                           6th Floor 866 6th Avenue                                                                       New York           NY             10001
Colorado Quality Products, LLC                                                         14401 East 33rd Place Suite F                                                                  Aurora             CO             80011
Colorado Quality Products, LLC                   dba Elevation Labs Colorado           Suite 400S 4880 Havana Street                                                                  Denver             CO             80239
Coloredge, Inc                                                                         1919 Empire Ave.                                                                               Burbank            CA             91504
Colorhythm LLC                                   Jeffrey Hugh Nova                     1015 Battery Street, Ste C                                                                     San Francisco      CA             94111
Columbia Cosmetics Manufacturing, Inc.                                                 1661 Timothy Drive                                                                             San Leandro        CA             94577
Columbus Hago, Erwin                                                                   Address Redacted
Comar Molle LLP                                                                        2443 Fillmore St #380-5462                                                                     San Francisco      CA             94115
COMELLI COMERCIO DE                              CONFECCOES EIRELI ME                  RUA 7 DE SETEMBRO 1213, Sala L 75                                                              BLUMENAU           SC             89010-911     Brazil
                                                                                                                                                                                      BALNEARIO
COMELLI E ENGEL COMERCIO DE CONFECC                                                     AV SANTA CATARINA 01, SALA 104                                                                CAMBORIU           SC             88339-005     Brazil
Comforti, Christine                                                                     Address Redacted
Comiskey, Victoria                                                                      Address Redacted
Command K Limited                                                                       12A Chatsworth Close                                                                          West Wickham       Kent           BR4 9QS       United Kingdom
Commune Media, INC                                                                      PO BOX 1726                                                                                   BISHOP             CA             93515
Communication Agency Corp. DBA Conti
Communication Corp. Inc.                                                               195 Chrystie St.                                                                               New York           NY             10002
Communication Specialists                                                              3330 Wrightsville Ave.                                                                         Wilmington         NC             28403
Community Foundation                             For the Fox Valley                    4455 W. Lawrence St                                                                            Appleton           WI             54914
Commuter Check Services Corp                                                           320 Nevada St                                                                                  Newton             MA             02460
Compensation Tool Corporation                                                          174 17th Ave                                                                                   Seattle            WA             98122
Compensia Inc                                                                          P.O. Box 1059                                                                                  San Jose           CA             95108
Complete Packaging and Shipping Supplies, Inc.                                         1200 Shames Drive                         Unit A                                               Westbury           NY             11590
Complete Packaging, LLC                                                                431 N. Neil Armstrong Rd.                                                                      Salt Lake City     UT             84116
Composed Creative Corp                                                                 370 W. 118th St. Apt 4D                                                                        New York           NY             10026
Compound Solutions, Inc.                                                               1930 Palomar Point Way, Suite 105                                                              Carlsbad           CA             92008
ComPsych Corporation                                                                   NBC Tower 455 N. Cityfront Plaza Dr                                                            Chicago            IL             60611
Compton, Miah                                                                          Address Redacted
Comptroller of Public Accounts                                                         PO Box 149348                                                                                  Austin             TX             78714-9348
Computer Packages Inc                                                                  11 N. Washington Street, Suite 300                                                             Rockville          MD             20850
Computype Inc                                                                          P.O. Box CM9496                                                                                Saint Paul         MN             55170
Concur Technologies, Inc                                                               62157 Collections Center Drive                                                                 Chicago            IL             60693
ConEdison                                                                              PO Box 1702                                                                                    New York           NY             10116
Connie Bell                                                                            Address Redacted
Connie Hu                                                                              Address Redacted
Connor Group LLC                                 Dept 34383                            DEPT 3748 P.O. Box 123748                                                                      Dallas             TX             75312-3748
Conselho Da Diaspora Portuguesa                                                        Estrada da Malveira No. 900                                                                    Cascais            31             2750          Portugal




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                   Creditor Name                             Attention                             Address 1                        Address 2                            Address 3                      City                State         Zip             Country
Conservation International Foundation                                         2011 Crystal Dr                           Suite 600                                                             Arlington            VA               22202
Consider Solutions LTD                                                        1st Floor Sackville House                                                                                       London                                EC3M 6BL     United Kingdom
Consolidated Cleaning Solutions         Martin Gonzalez                       872 30th St.                                                                                                    Oakland              CA               94608
Consolidated Sterilizer Systems         Consolidated Machine Corporation      Suite C 3 Enterprise Rd                                                                                         Billerica            MA               01821
Constellation Culinary Group                                                  667 N Broad St                                                                                                  Philadelphia         PA               19123
CONSULTORIO MEDICO DRA ANA PUPPE LT                                           R MINISTRO OROZIMBO NONATO 102                                                                                  NOVA LIMA            MG               34000-000    Brazil
Consumer Safety Analytics, LLC          CannaSafe                             7027 Hayvenhurst Ave.                                                                                           Van Nuys             CA               91406
Container & Packaging Supply, Inc.                                            PO Box 84144                                                                                                    Seattle              WA               98124-5444
CONTI COMMUNICATIONS                                                          Address Redacted
CONTI COMMUNICATIONS- SOPHIE CONTI                                            Address Redacted
Conti, Gabriella                                                              Address Redacted
Contract Label Services Inc.                                                  13885 Ramona Avenue                                                                                             Chino                CA               91710
ContractSafe LLC                                                              23823 Malibu Road Suite 50-197                                                                                  Malibu               CA               90265
Convergent Computing                    C/O Computer Options Inc              1450 Maria Lane, Suite 400                                                                                      Walnut Creek         CA               94596
Conversion Live dba The Live Agency                                           Unit 4 52 Queen St                                                                                              BEACONSFIELD         NSW              2015         Australia
Conway Multi Global dba Megan Conway                                          75 Warren Street, Apt 4                                                                                         Brooklyn             NY               11201
Cooking with Kristina, LLC                                                    284 Georgetown Drive                                                                                            Glastonbury          CT               06033
Cool Coconut Studios Inc.                                                     3850 Washington St                        Unit 601                                                              Hollywood            FL               33021
Cooperative Activity, LLC                                                     156 Beekman St.                           Suite 2E                                                              New York             NY               10038
Copia Scientific LLC                    BioDIrect                             245 Constitution Drive                                                                                          Taunton              MA               02780
CoPower                                                                       2677 N. Main St. Ste. 800                 Suite 201                                                             Santa Ana            CA               92705-6652
Copyright Clearance Center, Inc                                               29118 Network Place                                                                                             Chicago              IL               60673-1291
Corbário - Minerais Industriais, S.                                           Rua do Monte, Nº699                                                                                             Colmeias                              2420-195     Portugal
Corbett, Jennifer                                                             Address Redacted
Core Power Services                     UP Acquisitions Corp.                 Suite K 37350 Cedar Blvd                                                                                        Newark               CA               94560
Corey L. Hartman, MD                                                          Address Redacted
Cori Constantine                                                              Address Redacted
Cori Finglass LLC                       Cori Finglass                         1061 Fielding Park Court Northeast                                                                              Brookhaven           GA               30319
Cority Software (USA) Inc.                                                    Ste B 2045 W Grand Ave                                                                                          Chicago              IL               60612-1577
Cornelius Kaess                                                               Address Redacted
Cornerstone Research, Inc.                                                    20th Floor Two Embarcadero Center                                                                               San Francisco        CA               94111
Corp 2000                                                                     720 14th Street                                                                                                 Sacramento           CA               95814
Corporate Employment Resources, Inc     Corestaff                             P.O. Box 60876                                                                                                  Charlotte            NC               28260
Corporation Service Company                                                   PO Box 13397                                                                                                    Philadelphia         PA               19101-3397
Corporation Service Company             CSC                                   251 Little Falls Drive                                                                                          Wilmington           DE               19808
Correia, Yvonne                                                               Address Redacted
Corren, Cara                                                                  Address Redacted
CORTEZ PARTICIPACOES                    & INVESTIMENTOS LTD                   AV SENADOR SALGADO 2234, LJ 248/249                                                                             NATAL                RN               59064-900    Brazil
Cosan                                   Paul Hastings                         Filipe Lima                                                                                                                                                        Brazil
Cosan US LLC                                                                  920 Wayland Cir                                                                                                 Bensalem             PA               19020
Cosan US LLC                                                                  920 Wayland Cir                                                                                                 Bensalem             PA               19020
Cosmat SA DE CV                                                               CS. Londres 70                                                                                                  Colonia San Alvaro                    2090         Mexico
Cosmetech Laboratories, Inc                                                   39 Plymouth St.Ste 4                                                                                            Fairfield            NJ               07004
Cosmetix West                                                                 2305 Utah Avenue                                                                                                El Segundo           CA               90245
Cosmetix West                           Attn: C. Mirkovich                    2305 Utah Avenue                                                                                                El Segundo           CA               90245
Cosmetix West                           Attn: C. Mirkovich                    2305 Utah Avenue                                                                                                El Segundo           CA               90245
Cosmogen SAS                                                                  97 rue Saint Lazare                                                                                             Paris                France           75009        France
Cospheric LLC                                                                 P.O. Box 6762                                                                                                   Santa Barbara        CA               93160
Costa Brazil                                                                  345 West 13th Street                      #1J                                                                   New York             NY               10014
COSTA BRAZIL                                                                  Address Redacted
COSTA BRAZIL - ANDREA OMOHUNDRO                                               Address Redacted
                                                                                                                        Rod. Gov. Mário Covas 3979 - Km
Costa Brazil - Brazil                   EXIMBIZ COMERCIO INTERNACIONAL S/A    Costa Brazil - Brazil                     268                               Planalto de Carapina - Serra - ES   Serra Espirito       Santo            29162-703    Brazil
COSTA BRAZIL / Attn: Marcela Honigman                                         Address Redacted
COSTA BRAZIL- ALAINA BREWER                                                   Address Redacted
COSTA BRAZIL- ANDREA OMOHUNDRO                                                Address Redacted
COSTA BRAZIL- SHARON SHEMTOV                                                  Address Redacted
COSTA BRAZIL- SHARON SHEMTOV                                                  Address Redacted
COSTA BRAZIL-SHARON SHEMTOV                                                   Address Redacted
COSTA BRAZIL-SHARON SHEMTOV                                                   Address Redacted
Costa, Francisco                                                              Address Redacted
Costco Wholesale Corporation            Costco - Issaquah                     1801 10TH AVE NW                                                                                                Issaquah             WA               98027
Costco Wholesale Corporation            Costco Wholesale Corporation          999 Lake Drive                                                                                                  Issaquah             WA               98027
Costco Wholesale Corporation            Frederick Ecommerce                   5151 Intercostal Ct                                                                                             Monrovia             MD               21770-9518
Costco Wholesale Corporation            Mira Loma Annex Ecommerce             11280 Riverside Drive, Suite A                                                                                  Mira Loma            CA               91752-3701
COTE LLC                                                                      10850 Wilshire Blvd #1050                                                                                       Los Angeles          CA               90024
Cote, Daniella                                                                Address Redacted
County of Alameda                       Environmental Health Services         PO Box N                                                                                                        Alameda              CA               94501-0108
Couple in the Kitchen LLC                                                     B202 1708 Newning Avenue                                                                                        Austin               TX               78704
Coury Science & Engineering, PLLC                                             PO Box 125                                                                                                      Hampstead            NC               28443
Covaris, LLC                                                                  Unit H 14 Gill Street                                                                                           Woburn               MA               01801
Covet Public Relations, Inc.                                                  Suite 2850 750 B Street                                                                                         San Diego            CA               92101
Covington & Burling LLP                                                       One City Center, 850 Tenth Street N                                                                             Washington           DC               20001
Cowan Systems LLC                                                             4555 Hollins Ferry Road                                                                                         Baltimore            MD               21227
Cowen & Company LLC                                                           599 Lexington Ave                                                                                               New York             NY               10022
Cox
Cox, Jeffrey                                                                   Address Redacted
Cox, Kevin                                                                     Address Redacted
Cox, Ryan                                                                      Address Redacted




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                   Creditor Name                        Attention                                    Address 1                        Address 2         Address 3               City             State           Zip         Country
Cox,Kevin                                                                         Address Redacted
Coyne Chemical                                                                    3015 State Road                                                                   Croydon               PA             19021
CP Lab Safety                                                                     Suite 113 14 Commercial Blvd                                                      Novato                CA             94949
CP LIve                                                                           15 E Stimpson Ave                      1st Floor                                  Linden                NJ             07036
CP Logistics NVCC IV                  Kidder Matehws                              7887 East Belleview Avenue,Suite 475                                              Denver                CO             80111
CPA Global                            c/o CPA Global Limited                      2318 Mill Road, 12th Floor                                                        Alexandria            VA             22314
CPA Global Limited Renewal Services                                               Liberation House, Castle Street                                                   St. Helier                           JE1 1BL       United Kingdom
CPCneutek                                                                         2800 Printers Way                                                                 Grand Junction        CO             81506
CPFB Tenant, LLC dba Cavallo Point                                                601 Murray Circle                                                                 Sausalito             CA             94965
CPI Hospitality LLC                                                               239 E Montauk Hwy.                                                                Hampton Bays          NY             11946
CPI Hospitality LLC                                                               85 South Service Road                                                             Plaintview            NY             11803
CPI Hospitality LLC                                                               85 South Service Road                                                             Plaintview            NY             11803
CPI Hospitality LLC                                                               Michael Brod                           85 South Service Road                      Plaintview            NY             11803
CPI Hospitality LLC                   Attn.: Matthew G. Lefkowitz                 Toni Hoverkamp                         85 South Service Road                      Plaintview            NY             11803
CPI Hospitality LLC                   c/o Brick & Timber Collective LLC           Mitchell Rechler                       85 South Service Road                      Plaintview            NY             11803
CR Resorts LLC / Canyon Ranch         Canyon Ranch- Lenox                         165 Kemble Street                                                                 Lenox                 MA             01240
CR Resorts LLC / Canyon Ranch         Canyon Ranch-Tucson                         8600 E Rockcliff Road                                                             Tucson                AZ             85750
Craft Alan, LLC                       C/O Jared Craft                             Apt 4D 210 Park Place                                                             Brooklyn              NY             11238
Cragg, Jayson                                                                     Address Redacted
Craig Hickerson                                                                   Address Redacted
Craig Hickerson                                                                   Address Redacted
Craig McDean Studio / Craig McDean                                                Address Redacted
Crane Pest Control                    C/O Crane Acquisition Inc                   2700 Geary Blvd                                                                   San Francisco         CA             94118
Crawford and Co Productions, Inc                                                  1 8581 Santa Monica Blvd #466                                                     West Hollywood        CA             90069
Crawford Door Systems, Inc.                                                       201 Old Dairy Road                                                                Wilmington            NC             28405-3771
Cray Valley Czech S.R.O.                                                          O. Wichterleho 816                                                                Kralupy Nad Vltavou   52             278 01        Czech Republic
Cray Valley USA                                                                   468 Thomas Jones Way, Suite 100                                                   Exton                 PA             19341
Create & Cultivate LLC                                                            4164 Edenhurst Ave                                                                Los Angeles           CA             90039
Create & Cultivate LLC                                                            777 S Alameda St.                      2nd Floor                                  Los Angeles           CA             90021
Create and Company Inc                                                            1023 East Columbus Drive                                                          Ta,[a                 FL             33605
Creative Circle LLC                                                               PO Box 74008799                                                                   Chicago               IL             60674-8799
Creative Marketing Inc                                                            233 Sansome Street, Suite 300                                                     San Francisco         CA             94104
Creative Safety Supply, LLC                                                       8030 SW Nimbus Ave                                                                Beaverton             OR             97008
Creative Time, Inc.                                                               59 East 4th Street                     6th Floor                                  New York              NY             10003
Credit Suisse Capital LLC                                                         11 Madison Avenue                                                                 New York              NY             10010
Credo                                 Credo Warehouse                             850 Clark Drive                                                                   Budd Lake             NJ             07828
Credo                                 Credo Warehouse c/o IDS Fulfillment, Inc.   9431 Allpoints Parkway                                                            Plainfield            IN             46168
Credo                                 Eco-Chic LLC                                572 Ruger Street, Ste B                                                           San Francisco         CA             94129
Creo, Inc.                                                                        3305 Bellaire Park Ct                                                             Fort Worth            TX             76109
Crescent Chemical Company Inc                                                     2 Oval Drive                                                                      Islandia              NY             11749
CRESTMARK EQUIPMENT FINANCE, INC.                                                 40950 WOODWARD AVENUE, SUITE 201                                                  BLOOMFIELD HILLS      MO             48304
Crispen, Kelly                                                                    Address Redacted
Cristina Ehrlich                                                                  Address Redacted
Cristina Genovese                     GENOVESECONSULTING                          101 S Ridgewood Rd                                                                Kentfield             CA             94904
Cristina Mohler Sousa                                                             Address Redacted
Cristina Mohler Sousa                                                             Address Redacted
Criteo Corp                                                                       387 Park avenue south                                                             New York              NY             10016
Criterion 508 Solutions Inc.                                                      5012 Prairie Pl                                                                   Johnston              IA             50131
Croaker Inc.                                                                      4010 Market Street                                                                Wilmington            NC             28403
Cross Mark                                                                        903 N 47th Street                                                                 Rogers                AR             72756
Crown Properties                                                                  Attn.: Matthew G. Lefkowitz            15 Watts Street 5th Floor                  New York              NY             10013
Crown Properties                      Attn.: Matthew G. Lefkowitz                 15 Watts Street 5th Floor                                                         New York              New York       10013
Cruz, April Angelica                                                              Address Redacted
Cruz, Gabrielle                                                                   Address Redacted
Cruz, Lorenz Andrei                                                               Address Redacted
Cruzada, Vanessa                                                                  Address Redacted
Crybaby Productions Pty Ltd                                                       151 Foveaux Street Surry Hills                                                    Sydney                NSW            2010          Australia
Crystal Marston                       Crystal Lauren Skin                         4589 bellemeade drive                                                             Douglasville          GA             30135
CS Partners Limited                                                               9 White Lion Street                                                               London                               N1 9PD
CSC Global, LLC                                                                   CSC Global, LLC                        10901 Folsom Blvd., Suite F                Rancho Cordova        CA             95670
CSHRP                                                                             Unit 3174 500 Stone Pine Rd.                                                      Half Moon Bay         CA             94019
CSX Transportation Inc                                                            P.O. Box 530181                                                                   Atlanta               GA             30353-0181
CT Corporation                                                                    PO Box 4349                                                                       Carol Stream          IL             60197-4349
CTT Correios de Portugal SA                                                       Avenida D. João II 13                                                             Lisboa                               1999-001      Portugal
CTW Specialties, Inc.                                                             6106 Corporate Park Drive                                                         Browns Summit         NC             27214
Cuevas, Daisy                                                                     Address Redacted
Culinary Love by Chef Ameera                                                      #15 15225 Dickens Street                                                          Sherman Oaks          CA             91423
Culligan Water Conditioning                                                       2017 Carolina Beach Road                                                          Wilmington            NC             28401-7201
Cult Beauty LTD - Biossance           Cult Beauty LTD                             Ground Floor, 46 Colebrooke Row                                                   London                               N1 8AF        United Kingdom
Cult Beauty LTD - Biossance           Cult Beauty LTD                             UNIT 1, 5-9 WILLEN FIELD ROAD                                                     London                               NW10 7BQ      United Kingdom
Culture Biosciences, Inc.                                                         269 E. Grand Ave                                                                  South San Francisco   CA             94080
Cultured Magazine, LLC                                                            2341 Michigan Avenue                                                              Santa Monica          CA             90404
Curia                                 AMRI                                        29224 Network Place                                                               Chicago               IL             60673-1292
Curran, Samuel                                                                    Address Redacted
Curry, Marcus                                                                     Address Redacted
Curtis Kulig                                                                      Address Redacted
CURTIS KULIG/c/o ALIREZA NIROOMAND                                                Address Redacted
Cushman & Wakefield U.S., Inc.                                                    1290 Avenue of the Americas                                                       New York              NY             10104
Custodio & Dubey LLP                                                              455 S. Figueroa St.                    Suite 2520                                 Los Angeles           CA             90071




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Custodio, Diane                                                                            Address Redacted
Custom Analytics LLC                                                                       3789 Thomas Sumter Hwy                                                                             Dalzell            SC               29040
Custom Blenders Corporation                        Custom Blenders Corporation             350 Industrial Park Rd                                                                             Madisonville       TN               37354
Custom Candle Co, Inc                                                                      483 Cherry Street                                                                                  Bedford Hills      NY               10507
Custom Chemical Formulators, Inc                                                           8707 Millergrove Drive                                                                             Santa Fe Springs   CA               90670
Cutting Edge Drapery                                                                       15 Dorman Avenue                                                                                   San Francisco      CA               94124
CV Partners                                        Addison Professional Financial Sear     7076 Solutions Center                                                                              Chicago            IL               60677
CVI Investments, Inc.                                                                      401 City Avenue, Suite 200                                                                         Bala Cynwyd        PA               19004-1188
Cvlt Studios, LLC                                                                          122 West 27th St.                         8th floor                                                New York           NY               10001
                                                                                                                                     ATTN: Heather Bentz-DeAngelis
CVS Health                                                                                 One CVS Drive                             MB2170                                                   Woonsocket         RI               02895
CXA Inc.                                                                                   545 West 25th Street, 19th Floor                                                                   New York           NY               10001
Cyber Metrics                                                                              1523 West Whispering Wind Dr. SUTE                                                                 Phoenix            AZ               85085
CYMIT QUÍMICA S.L.                                                                         Pamplona, 96-104 Local 15                                                                          Barcelona          08               08018         Spain
Cynthia Bryant                                                                             Address Redacted
Cynthia Hadden Lyric Productions                                                           1211 1/2 SOUTH ORLANDO AVE                                                                         Los Angeles        CA               90035
Czyz, Mary Ann                                                                             Address Redacted
D.F. King & Co., Inc.                                                                      22nd Floor 48 Wall Strret                                                                          New York           NY               10005
D.H. Griffin Used Equipment Divisio                D.H. Griffin Wrecking Co., Inc.         2840 US Hwy 421 N                                                                                  Wilmington         NC               28401
D.H. Griffin Wrecking Co., Inc.                                                            4716 Hilltop Road                                                                                  Greensboro         NC               27407
D.P. Ahuja & Co.                                                                           14/2 Palm Avenue                                                                                   Calcutta           25               700019        India
D.Petropoulos SA                                   D.Petropoulos SA                        Kontogianni 15                                                                                     Lykovrysi          Attiki           14123         Greece
D3 LLC                                                                                     20 Melville Park Road                                                                              Melville           NY               11747
Dacosta, Lauren                                                                            Address Redacted
Dai, Yangyang                                                                              Address Redacted
Daijogo & Pedersen LLP                                                                     21 Tamal Vista Blvd Ste 295                                                                        Corte Madera       CA               94925
Daily Karma Inc.                                                                           8605 Santa Monica Blvd                    PMB 95166                                                West Hollywood     CA               90069
Dairy Engineering Company                                                                  5783 Sheridan Blvd                                                                                 Arvada             CO               80002
DAISY BAKER                                                                                Address Redacted
Dale C. Gyure                                                                              Address Redacted
Dale, Rhys                                                                                 Address Redacted
Daling Xinchao(Bejing)                             Trade Company Limited                   Room 506, East Building,                                                                           Beijing            010              100020        China
Dalmacio, Andrew                                                                           Address Redacted
Dalton, Marta                                                                              Address Redacted
Dan Perry                                                                                  Address Redacted
Dana Transport, Inc.                                                                       PO Box 748286                                                                                      Cleveland          OH               44194-4286
Danbury Plastics, Incorporated                                                             4485 North Industrial Drive                                                                        Cumming            GA               30041
DanChem Technologies. Inc                                                                  1975 Old Richmond Rd                                                                               Danville           VA               24540
Daniel Fullington                                                                          Address Redacted
Daniel Hoff Agency, Inc.                                                                   5455 Wilshire Blvd.                       Suite 1100                                               Los Angeles        CA               90036
Daniel O'Neill                                                                             Address Redacted
Daniel Simmons                                                                             Address Redacted
Daniele Anselmo de Morais x TOP Service Serviços
e Sistemas S.A - Amyris Fermentação de
Performance LTDA                                   STEFERSON GUSTAVO JONES                 PRUDENTE DE MORAES STREET                 N° 611                          BARRA BONITA/SP/BRAZIL                                                     Brazil
Danielle Del Plato                                                                         Address Redacted
Danielle Goldberg                                                                          Address Redacted
Danielle Oreoluwa Jinadu                                                                   Address Redacted
Daniels, Holly                                                                             Address Redacted
Daniels, LaTrenda                                                                          Address Redacted
Danillo Kaiki Nishizima x SPSG Serviços e
Patrimônio LTDA - Amyris Fermentação de            MARIA VIRGINIA BELLO JAEGER BENTO
Performance LTDA                                   VIDAL                                   Prudente de Moraes Street                 625                                                      Barra Bonita                        17340-005     Brazil
Danilo Jose Lourenço x SPSG Serviços e
Patrimônio LTDA - Amyris Fermentação de            MARIA VIRGINIA BELLO JAEGER BENTO
Performance LTDA                                   VIDAL                                   Prudente de Moraes Street                 625                                                      Barra Bonita                        17340-000     Brazil
Danisco US, Inc                                                                            PO Box 32020                                                                                       New York           NY               10087-2020
Dannemann Siemsen Bigler & Ipanema                                                         Rua Marquês de Olinda, 70 - Botafog                                                                Rio de Janeiro     RJ               22251-040     Brazil
Danny Todd                                                                                 Address Redacted
Danovich, Iana                                                                             Address Redacted
Dao Le, Minh                                                                               Address Redacted
Darina Byrne                                                                               Address Redacted
Dark Bites LLC                                                                             34-43 82nd Street #42                                                                              Jackson Heights    NY               11372
Darko Inc.                                                                                 26401 Richmond Road                                                                                Bedford Heights    OH               44146
DARRELL CHANG                                                                              Address Redacted
Darrisaw, Natashia                                                                         Address Redacted
Darrow, David                                                                              Address Redacted
Das, Anushree                                                                              Address Redacted
Dash Hudson Inc.                                                                           1668 Barrington street Ste. 600                                                                    Halifax            NS               B3J 2A2       Canada
Dashon Productions c/o United Talent Agency                                                1801 W Olympic Blvd, File 2430                                                                     Pasadena           CA               91199-2430
DATA SALES CO., INC.                                                                       3450 W. BURNSVILLE PARKWAY                                                                         BURNSVILLE         MN               55337
Data Weighing Systems, Inc.                                                                255 Mittel Dr                                                                                      Wood Dale          IL               60191
Datadog, Inc.                                                                              45th Floor 620 8th Avenue                                                                          New York           NY               10018-1741
Dato, Robert                                                                               Address Redacted
David Brown - DIAM                                                                         Address Redacted
David Hollis Allen                                                                         Address Redacted
David Mallett- c/o: Mario Casarella                                                        Address Redacted
David Rudner                                                                               Address Redacted
David Sherrier                                                                             Address Redacted




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David, Sarah                                                                    Address Redacted
Davis Instruments                         C/O Cole-Parmer Instruments Company   14957 Collections Center Dr                                                         Chicago               IL            60693
Davis Polk & Wardwell LLP                                                       450 Lexington Avenue                                                                New York              NY            10017
Davis, Kathryn                                                                  Address Redacted
Dawn Tan                                                                        Address Redacted
DAWN TAN                                                                        Address Redacted
Dawn West                                                                       Address Redacted
Dawn West                                                                       Address Redacted
Dawson, Hayley                                                                  Address Redacted
Daylesford Organic Limited                                                      25-27 Mossop Street                                                                 London                SW            SW32LY        United Kingdom
Daylight Transport                                                              1501 Hughes Way STE 200                                                             Long Beach            CA            90810
Dazzle Design, INC                                                              425 S 5th St                             Apt 3                                      Brooklyn              NY            11211
DB Schenker                                                                     1305 Executive Blvd                      Suite 200                                  Chesapeake            VA            23320
DB Schenker                                                                     380 Littlefield Ave.                                                                South San Francisco   CA            94080
DB Ventures Limited                                                             33 Great Portland Street                                                            London                              W1W 8QG       UK
DB Ventures Limited                                                             33 Great Portland Street                                                            London                              W1W 8QG       United Kingdom
DB Ventures Limited                                                             33 Great Portland Street                                                            London                              W1W 8QG       United Kingdom
DBA Media LLC                             Digital Brand Architects              750 N. San Vicente Blvd.,                                                           West Hollywood        CA            90069
DBA Media LLC                             Digital Brand Architects              Chriselle, Inc.                          750 N. San Vicente Blvd.,                  West Hollywood        CA            90069
DC Scientific                                                                   6750 Mclean Way                                                                     Glen Burnie           MD            21060
DC Scientific                                                                   P.O. BOX 1099                                                                       PASADENA              MD            21123
DC Treasurer                              Attn: Bankruptcy/Legal Dept.          1101 4th Street, SW                      Suite 850W                                 Washington            DC            20024
DC Treasurer                              Office of Tax and Revenue             PO Box 419                                                                          Washington            DC            20044
D'Cruz, Anna                                                                    Address Redacted
De Godoi, Larissa                                                               Address Redacted
De La Pena Munoz, Ricardo                                                       Address Redacted
De Lage Landen Financial Services                                               1111 Old Eagle School Rd.                                                           Wayne                 PA            19087
DE LAGE LANDEN FINANCIAL SERVICES, INC.                                         1111 OLD EAGLE SCHOOL ROAD                                                          WAYNE                 PA            19087
De Matos & Nicolao Limited                                                      95A Northcote Road, Flat 1                                                          London                              SW11 6PL      United Kingdom
De Mendes IndÃºstria de Chocolates Ltda                                         Rua Segunda S/N                          Santa Barbara do ParÃ¡                     Para                                68.798-000    Brazil
                                          HUMANAS DESENVOLVIMENTO DE
De Pessoa Pra Pessoa                      PESSOAS                               Rua Botelho, 187, conj. 73A.                                                        São Paulo             SP            04313-200     Brazil
de Vries, Erik                                                                  Address Redacted
DEA Studio LLC                                                                  2629 Foothill Blvd. #105                                                            La Crescenta          CA            91214
Deanna Borocz                                                                   Address Redacted
Dear Media, LLC                                                                 Suite 950 750 N. San Vicente Blvd.                                                  West Hollywood        CA            90069
Deasis, Charmette                                                               Address Redacted
Deborah Hunt                                                                    Address Redacted
Decena, Vilma                                                                   Address Redacted
DECHEMA e.V.                                                                    Theodor-Heuss-Allee 25                                                              Frankfurt             6             60486         Germany
Dederick, Alana                                                                 Address Redacted
DeepDyve, Inc.                                                                  2221 Broadway St.                                                                   Redwood City          CA            94063
Deepfence, Inc.                                                                 691 S Milpitas Blvd                                                                 Milpitas              CA            95035
Deepicam LLC                                                                    9336 Civic Center Drive                                                             Beverly Hills         CA            90210
DeFina, Steven                                                                  Address Redacted
Dekra Services, Inc.                                                            75 Remittance Drive, Dept.                                                          Chicago               IL            60675-1274
Del Grosso, Kristina                                                            Address Redacted
Del Monte, Gianna                                                               Address Redacted
Delaware Secretary of State                                                     Division of Corporations                                                            Binghampton           NY            13902-5509
Delaware Secretary of State               Attn: Bankruptcy/Legal Dept.          P.O. Box 2044                                                                       Wilmington            DE            19899-2044
Delaware State Treasury                                                         820 Silver Lake Blvd., Suite 100                                                    Dover                 DE            19904
Delft Solids Solutions BV                                                       Molenweer 2B                                                                        Wateringen            12            2291 NR       Netherlands
Delia Mitchell                                                                  Address Redacted
Dell Marketing LP                                                               PO Box 910916                                                                       Pasadena              CA            91110
DELLAMORE MODA INTIMA LTDA                                                      AV. LIMEIRA 722, LOJA P-42                                                          PIRACICABA            SP            13414-900     Brazil
Deloitte & Touche LLP                                                           P.O. Box 844708                                                                     Dallas                TX            75284-4708
Deloitte Consulting LLP                                                         4022 Sells Dr.                                                                      Hermitage             TN            37076
Deloitte Consulting, LLP                                                        30 Rockefeller Plaza                                                                New York              NY            10112
Deloitte Legal B.V.                                                             Wilhelminakade 1                         3072 AP Rotterdam                          Rotterdam                           3000 CA       Netherlands
Deloitte Tax LLP                                                                P O Box 844736                                                                      Dallas                TX            75284-4736
Delphi Productions Inc.                                                         950 West Tower Avenue,                                                              Alameda               CA            94501
Delphix Corp.                                                                   Suite 400 855 Main St                                                               Redwood City          CA            94063
DELTAGEN ECUADOR S.A.                                                           EL ARENAL OE11-156                                                                  QUITO                 190           170208        Ecuador
DELTAGEN GROUP PERU                                                             JR. HUANCHIHUAYLAS S/N                                                              LIMA                  20            15491         Peru
DeltaTrak, Inc.                                                                 PO Box 4115                                                                         Modesto               CA            95352
Deluxe Small Business Sales Inc                                                 500 Main Street                                                                     Groton                MA            01471
Delve Partners LLC                                                              PO BOX 3330                                                                         Boulder               CO            80307-3330
Demanti O'Bryant                                                                Address Redacted
Dembele, Mamadou                                                                Address Redacted
Demina, Elena                                                                   Address Redacted
Den Hartogh Global B.V.                                                         Willingestraat 6                                                                    Rotterdam             12            3087 AN       Netherlands
DeNardo, Peter                                                                  Address Redacted
Dencker, Brian                                                                  Address Redacted
Denise Bidot                                                                    Address Redacted
Denise Brodey                                                                   Address Redacted
Denise Rivera                                                                   Address Redacted
Dennis, Wah-De                                                                  Address Redacted
Densa AG                                                                        Sisslerstrasse 16                                                                   Eiken                 AG            05074
Dentons US LLP                                                                  Suite 5900 233 S. WACKER DRIVE                                                      Chicago               IL            60606




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                  Creditor Name                                       Attention                                    Address 1                             Address 2                    Address 3             City                 State         Zip             Country
Department of Revenue                                                                            PO Box 25000                                                                                     Raleigh              NC                27640-0700
DePaul, Heather                                                                                  Address Redacted
DEPOTCE - DEPOSITO DE TANK CONTAINE                  CESARI LTDA                                 AVENIDA PLINIO DE QUEIROZ S/N                                                                    CUBATAO              SP                11570-000    Brazil
Dept. of Toxic Substances Control                                                                P.O. Box 1288                                                                                    Sacramento           CA                95812-1288
Dera Lee Productions                                                                             240 Kent Avenue                                                                                  Brooklyn             NY                11249
Derk Hendriksen dba Hendriksen Ventures LLC                                                      1097 Mclynn Ave                                                                                  Atlanta              GA                30306
DermCollective LLC                                                                               730 Galley Ln                              #209                                                  Wilmington           NC                28412
Dermstore LLC                                        Dermstore LLC                               1415 Collins Road                                                                                Greenwood            IN                46143
Dermstore LLC                                        Dermstore LLC                               1960 E. Grand Avenue, 6th Floor                                                                  El Segundo           CA                90245
                                                     Dermstore Pitney Bowes - Reno Attn:
Dermstore LLC                                        Receiving                                   38 Isidor Ct, Suite 130                                                                          Sparks               NV                89441
Desai, Ankita                                                                                    Address Redacted
Deshpande, Ketki                                                                                 Address Redacted
Desi Perkins Inc                                                                                 9336 Civic Center Drive                                                                          Beverly Hills        CA                90210
Design District Development Partner                                                              #3 6547 Midnight Pass Rd                                                                         Sarasota             FL                43242
Design District Development Partners LLC                                                         112 NE 41st Street                         Suite 402                                             Miami                FL                33137
Design District Development Partners LLC             Attn.: Roy Norton                           6547 Midnight Pass Rd. #3                                                                        Sarasota             Florida           43242
Design District Development Partners LLC             Attn.: Roy Norton                           Attn.: Roy Norton                          6547 Midnight Pass Rd. #3                             Sarasota             FL                43242
Design District Development Partners LLC             Benjamin R. Norton, Manager                 6547 Midnight Pass Rd #3                                                                         Sarasota             FL                43242
Design District Development Partners LLC             Benjamin R. Norton, Manager                 Benjamin R. Norton, Manager                6547 Midnight Pass Rd #3                              Sarasota             FL                43242
Design District ERFR LLC & RFR Holding LLC           Attn.: Michael Fuchs and Franks Mangieri    Attn.: Michael Fuchs and Franks Mangieri   375 Park Avenue             10th Floor                New York             NY                10152
DesignPac Gifts                                      DesignPac Gifts                             2457 W. North Avenue                                                                             Melrose Park         IL                60546
Designs by Millo                                     Designs by Millo                            932 E 8TH ST                                                                                     Brooklyn             NY                11230
Designs by Millo                                     Millo Haddad, Heather Connelly              Millo Beauty                               971 Elberon Ave                                       Long Branch          NJ                07740
DesRocher, Christopher                                                                           Address Redacted
DEVIN WHEELER                                                                                    Address Redacted
DevisedLabs LLC                                                                                  981 Mission Street # 67                                                                          San Francisco        CA                94103
Devon Consulting & Public Relations Ltd.                                                         51 Jackes Avenue Suite 102                                                                       Toronto              ON                M4T 1E2      Canada
Devoria Radway                                                                                   Address Redacted
Devoria Radway / Attn: Dazzle                                                                    Address Redacted

Devoria Radway / Attn: Summary Party GWP Bag 2                                                   Address Redacted
DeWinter Group Inc                                                                               Suite 250 1919 S. Bascom Ave.                                                                    Campbell             CA                95008
Dexter Paulino                                                                                   #144 5433 Clayton Rd. STE K                                                                      Clayton              CA                94517
DFA California LLC dba The Dragonfly Agency                                                      1855 industrial Street                     Suite 111                                             Los Angeles          CA                90021
DGA                                                  C/O DG Architects Inc                       550 Ellis St                                                                                     Mountain View        CA                94043
DGA CO., LTD.                                                                                    6F., No.46, Nanhai Rd                      Zhongzheng Dist.                                      Taipei                                 100          Taiwan
DGI Training, INC                                    DGI Training Center                         1060 El Camino Real, Suite C                                                                     Redwood City         CA                94063
DH Smith & Associates LP                             Creative Sales & Marketing                  Suite 1501 16607 Blanco RD.                                                                      San Antonio          TX                78232
DH Smith & Associates LP dba Creative Sales &
Marketing                                                                                        16607 Blanco Road                          Suite 1501                                            San Antonio          TX                78232
DHL eCommerce                                                                                    2700 South Commerce Parkway                                                                      Westen               FL                33331
DHL GLobal Forwarding                                Air Express International USA INC           PO Box 742802                                                                                    Los Angeles          CA                90074-2802
DHR International Inc.                                                                           121 N. Jefferson Street                                                                          Chicago              IL                60661
Di Domizio, Gabriella                                                                            Address Redacted
Diaago LLC                                                                                       Suite 1 4 Lindbergh Drive                                                                        Coatesville          PA                19320
Diagenode, Inc.                                                                                  Suite 101 400 Morris Ave.                                                                        Denville             NJ                07834
DiagonAG, LLC                                        Dr Christopher D Knight                     31 Ranch Ct                                                                                      Saint Louis          MO                63146
Dialani, Chandini                                                                                Address Redacted

DIAM BRASIL INDUST, COMERC. MOBILIA                                                              AVENIDA GUATUPE, 2293                                                                            Sao Jose dos Pinhais PR                83060-090    Brazil

DIAM BRASIL INDUST, COMERC. MOBILIÁ                                                              AVENIDA GUATUPE, 2293                                                                            São José dos Pinhais PR                83060-090
Diam UK Ltd.                                                                                     14-16 JUBILEE DRIVE                                                                              LOUGHBOROUGH         Leics.            LE11 5XS     United Kingdom

Diamond Resorts International Marketing Inc.         Diamond Reosrts International Marketing Inc. 10600 West Charleston Blvd.                                                                     Las Vegas            NV                89135-1014
                                                     Mystic Dunes Resort & Golf Club - ATTN Mark
Diamond Resorts International Marketing Inc.         Bearss - DRTOC                               7600 Mystic Dunes Lane                                                                          Kissimmee            FL                34747
Diamond Resorts International Marketing, Inc.                                                     8415 South Park Cir                                                                             Kissimmee            FL                34747

Diamond Wipes International, Inc. Attn: William Li                                               Address Redacted
Diamond Wipes Int'l Inc.                                                                         4651 Schaefer Ave                                                                                Chino                CA                91710
Diana Gonzalez                                                                                   Address Redacted
Diana Henry                                                                                      Address Redacted
Diane Elner                                                                                      Address Redacted
Dianna Mazzone                                                                                   Address Redacted
DiAnne Davis                                                                                     Address Redacted
Diaz, Alana                                                                                      Address Redacted
Diaz-Orellana, Leslie                                                                            Address Redacted
Dick Page                                                                                        Address Redacted
Dick Page                                                                                        Address Redacted
Dickinson, Dave                                                                                  Address Redacted
DiClemente, Gabrielle                                                                            Address Redacted
Diego Villarreal Vagujhelyi                                                                      6125 Wynwood Cove                                                                                Trussville           AL                35173
Dien LLC                                                                                         3510 Pipestone Rd.                                                                               Dallas               TX                75212
Diesch Law Group                                                                                 3000 Lava Ridge Ct                         #110                                                  Roseville            CA                95661
Diesch Law Group, APC                                                                            12093 Lamplighter Way                                                                            Truckee              CA                96161
Dieter De Cock                                                                                   Address Redacted
Dietzel, Kevin                                                                                   Address Redacted




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                    Creditor Name                                   Attention                                 Address 1                          Address 2         Address 3            City                State         Zip             Country
Digestiva Inc                                                                              2700 Stockton Blvd                                                                  Sacramento                           95817
Digi Key Corp                                                                              P.O. Box 250                                                                        Thief River Falls      MN            56701-0677
Digital Analysis Corp                                                                      PO Box 95                                                                           Skaneateles            NY            13152
Digital Entertainment Corporation of America       Kin Community                           12655 W Jefferson Blvd                                                              Los Angeles            CA            90066
Digital Light LTD                                                                          162 Kingâ€™s Cross Road                                                             London                               WC1X 9DH     United Kingdom
Digital Mountain, Inc.                                                                     Suite 401 4633 Old Ironsides Drive                                                  Santa Clara            CA            95054
Diligent Company USA Incorporated                                                          311 W 43rd St., Fl 11                                                               New York               NY            10036
Dilmar Oil Company                                                                         P.O. Box 5629                                                                       Florence               SC            29502-5629
Dimaranan, Vianca                                                                          Address Redacted
DiMasi, Theresa                                                                            Address Redacted
                                                                                                                                                                               Centro - ITAJAI/SC -
Dinaco Importacao Comercio Ltda                    CNPJ 33.424.730/0003/30                 Rua Samuel Heusi, 190 - Sala 1.001                                                  CEP                    SC            88301-320    Brazil
Dinaco Importacao, Comercio LTDA.                                                          Av. Roque Petroni Junior 850                                                        Sao Paolo              SP            04547-090    Brazil
DINACO IMPORTACAO, COMERCIO LTDA.                                                          R SAMUEL HEUSI 190                                                                  ITAJAI                 SC            88301-320    Brazil
Dinaco Importação, Comércio Ltda.                  CNPJ 33.424.730/0003/30                 Av. Pref. Jorge Júlio Costa Dos San                                                 Belford Roxo           RJ            26130-010    Brazil
Ding, Dapeng                                                                               Address Redacted
Diola, Donald                                                                              Address Redacted
Direct 2 C Pty Ltd                                                                         168-180 Victoria Road                                                               Marrickville           NSW           2204         Australia
Direct Source Packaging Co, LLC                                                            Suite W240 225 High Ridge Road                                                      Stamford               CT            06905
Dirty Pretty Productions, LLC                                                              22 mercer street, 2c                                                                New York               NY            10013
DIS COMERCIO DE PERFUMARIA E MED                                                           AV DAS AMERICAS 3900                                                                RIO DE JANEIRO         RJ            22640-102    Brazil
Disc Graphics Inc                                                                          10 Gilpin Ave                                                                       Hauppauge              NY            11788
Dispennette, Drew                                                                          Address Redacted
Disruptional Limited                                                                       St. Johns Innovation Park Cowley Rd                                                 Cambridge                            CB4 0WS      United Kingdom
Disruptional Ltd. and &Vest Beauty Labs LP v.
Amyris, Inc.                                       Stephen P. Blake                        Simpson Thatcher & Bartlett LLP           425 Lexington Ave.                        NY                     NY            10017
District Of Columbia                               Office Of The Attorney General          441 4Th St Nw, Ste 1100S                                                            Washington             DC            20001
District Of Columbia                               Office Of The Attorney General          441 4Th St Nw, Ste 1100S                                                            Washington             DC            20001
Diversey, Inc.                                                                             Suite 125 1300 Altura Rd                                                            Fort Mill              SC            29708
Dixie Services Inc                                                                         EX PO Box 451                                                                       Galena Park            TX            77547
Dixon, Michelle                                                                            Address Redacted
DiYenno, Claire                                                                            Address Redacted
Dizon, Inc.                                                                                88 Bleecker St.                                                                     New York               NY            10012
DKP DESIGNS INC.                                                                           110 Maryland St.                                                                    El Segundo             CA            90245
DKSH Marketing Services Spain                                                              Santaló 152-154                                                                     Barcelona                            8021         Spain
DLA Piper LLP (US)                                                                         Suite 1000 2525 East Camelback Road                                                 Phoenix                AZ            85016
DMart Productions C/O Daniel Martin                                                        Address Redacted
DMart Productions C/O Daniel Martin                                                        Address Redacted
DMV Renewal                                                                                PO Box 942894                                                                       Sacramento             CA            94294-0895
DNJ Media LLC                                                                              235 Main St                               Unit 258                                  Madison                NJ            07940
Do, David                                                                                  Address Redacted
Do, Sharon                                                                                 Address Redacted
Do, Sylvia                                                                                 Address Redacted
Doan, Chau                                                                                 Address Redacted
Dobbs, Timothy                                                                             Address Redacted
                                                                                                                                                                               SAO PEDRO DO
DOCEFRUTA IND. COM.PROD.ALIMENTICIO                                                        RODOVIA SEBASTIAO TEIXEIRA s/n                                                      TURVO                  SP            18940-000    Brazil
Document Publishing LLC                                                                    190 North 10th St                         Suite 309                                 Brooklyn               NY            11211
DocuSign                                                                                   221 Main Street                                                                     San Francisco          CA            94105
DocuSmart Inc. (dba Lexion)                                                                PMB 65390 113 Cherry St.                                                            Seattle                WA            98104
DODDS & ASSOICATES LLC                             C/O DAVID R. DODDS                      4686 DRUIDS GLEN                                                                    MANLIUS                NY            13104
Doherty, Lawrence                                                                          Address Redacted
Dolan, Christopher                                                                         Address Redacted
Dolmage, Jaimi                                                                             Address Redacted
Dolphin Transportation Specialists, Inc. dba Key
Transportation Services Corp.                                                              199 NW 79th Street                                                                  Miami                  FL            33150
Domino Foods, Inc.                                                                         Suite 200 1 N Clemantis Street                                                      West Palm Beach        FL            33401
domnick hunter Process Filtration                  C/O Parker Hannifin Corp                7943 Collection Center Drive                                                        Chicago                IL            60693
Domo, Inc.                                                                                 772 East Utah Valley Drive                                                          American Fork          UT            84003
Donahue, Thomas                                                                            Address Redacted
DONIZETE DISTRIBUIDORA DE ALIMENTOS                                                        RUA RAIMUNDO MATIAS 377                                                             ITAITINGA              CE            61880-000    Brazil
DONNA D AFFARI COMERCIO                            VAREJISTA DE ROUPAS INTIMAS EIRELI      AV PAULISTA 1230, LJ 1208                                                           SAO PAULO              SP            01310-100    Brazil
Donnelley Financial Solutions                      Donnelley Financial, LLC                PO Box 842282                                                                       Boston                 MA            02284
Donnelly, Kate                                                                             Address Redacted
Donohoe Advisory Associates LLC                                                            9901 Belward Campus Drive                                                           Rockville              MD            20850
DoorDash, Inc.                                                                             Suite 800 303 2nd Street, South Tow                                                 San Francisco          CA            94107
Dornau-Zeigler, Aritha                                                                     Address Redacted
DORUKSISTEM MUHENDISLIK                                                                    HACIHALIL MH. 1207. SK NO:1 A/ EBZE                                                 KOCAELI                              41470        Turkey
Dorward, Alastair                                                                          Address Redacted
Dosage/Grupo Investiga                                                                     Avenida Dr. Romeu Tortima                                                           Campinas               SP            13084791,    Brazil
DOSIS S.R.L.                                                                               AV VILLAZON KM 5,8 S/N                                                              COCHABAMBA                           2500         Brazil
DOTCOM GROUP COMERCIO DE PRESENTES                                                         AV FRANCISCO ROVERI 1413                                                            JUNDIAI                SP            13212-541    Brazil
DOTCOM GROUP COMERCIO DE PRESENTES                                                         ROD FERNAO DIAS SN, KM 947,5                                                        EXTREMA                MG            37640-000    Brazil
DOTCOM GROUP COMERCIO DE PRESENTES                                                         Rua Doutor Geraldo de Campos Mo 240                                                 SAO PAULO              SP            04571-020    Brazil
Doty Barlow Britt & Thieman LLP                                                            260 Sheridan Avenue                       Suite 200                                 Palo Alto              CA            94306
Double Robotics, Inc.                                                                      828 Airport Blvd                                                                    Burlingame             CA            94010
Dougherty, Daniel                                                                          Address Redacted
DOUGLAS International Purchasing GmbH              DOUGLAS International Purchasing GmbH   Zum Königsgraben 2                                                                  Zossen 15806                                      Germany




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                                                  DOUGLAS International Purchasing GmbH c/o
DOUGLAS International Purchasing GmbH             Arvato Supply Chain Solutions SE          Trianelstraße 3                                                                                      Hamm 59071                                            Germany
Douglas Machines Corp                                                                       4500 110th Ave N                                                                                     Clearwater            FL                33762
Douglas Pastoura Olimpio x SPSG Serviços e
Patrimônio LTDA - Amyris Fermentação de           MARIA VIRGINIA BELLO JAEGER BENTO
Performance LTDA                                  VIDAL                                      Prudente de Moraes Street             625                                                           Barra Bonita                            17340-003     Brazil
Douglas, Jefferson                                                                           Address Redacted
Dover Street Market New York LLC | Costa Brazil   Dover Street Market New York LLC           443 Park Avenue South                 3rd Floor                                                     New York              NY                10016
Dover Street Market Paris S.A.S.- Costa Brazil    Dover Street Market Paris S.A.S.           11bis Rue Elzevir                                                                                   Paris Île-de-France                     75003         France
Dover Street Market Paris S.A.S.- Costa Brazil    Dover Street Market Paris S.A.S.           16 Place Vendome                                                                                    Paris Île-de-France                                   France
Dovetail Foods                                                                               6483 Joryville Lane South                                                                           Salem                 OR                97306
Dovolis, Aubree                                                                              Address Redacted
DOW Europe GmbH                                                                              Bachtobelstrasse 3                                                                                  Horgen                                  8810          Switzerland
Dow Silicones Belgium SPRL                                                                   Parc Industriel Zone C                                                                              Seneffe               03                7180          Belgium
DOW Silicones Corporation                                                                    PO BOX 210429                                                                                       Dallas                TX                75211
Dowell C&I                                                                                   #415 Yeojundo Center,                                                                               Seoul                                   031-127       Korea, Republic of
Dowell C&I Co. Ltd                                                                           Yeojundo Hall                         Yulgok-ro, Jongno-gu                                          Seoul                                   415-190       Korea, Republic of
DP Print Services Inc                                                                        2331 Walling Avenue                                                                                 La Habra              CA                90631
DPR Construction                                  Special Services Group                     1450 Veteran Boulevard                                                                              Redwood City          CA                94063
Dr. Knoell Consult Shanghai Co., Lt                                                          Tower B No. 567 Langao Road Room 80                                                                 Putuo                 020               200333        China
Dr. Sergio Vieira                                                                            Address Redacted
Draper, William                                                                              Address Redacted
Dream Master LLC                                                                             8 E Oakwood Hills Dr                                                                                Chandler              AZ                85248
Dream Master, LLC                                                                            8 E. Oakwood Hills Drive                                                                            Chandler              AZ                85248
Dreamland Agency LLC                                                                         108 edgars lane                                                                                     Hastings on Hudson    NY                10706
Dreisbach Enterprises Inc                                                                    PO Box 7509                                                                                         Oakland               CA                94601-0509
Dresbach, Davina                                                                             Address Redacted
Dreyer, Elizabeth                                                                            Address Redacted
Dreyer, Melissa                                                                              Address Redacted
Dri Ocean Products, LLC                                                                      696 E 6th Street                                                                                    Boston                MA                02127
Drinker Biddle & Reath LLP                                                                   One Logan Square Suite 2000                                                                         Philadelphia          PA                19103
DRM Marketing International LLC                                                              2222 Main Street                                                                                    Santa Monica          CA                90405
DROGARIA IGUATEMI LTDA                                                                       AV DO BATEL 1868                                                                                    CURITIBA              PR                80420-090     Brazil
DROGARIA IGUATEMI LTDA                                                                       RUA DAS MARGARIDAS 282                                                                              SAO PAULO             SP                04704-040     Brazil
Dropbox, Inc.                                                                                Suite 200 1800 Owens Street                                                                         San Francisco         CA                94158
DSK BioPharma, Inc.                                                                          112 Nova Drive                                                                                      Morrisville           NC                27560
DSM                                                                                          5750 Martin Luther King Jr Hwy                                                                      Greenville            NC                27834
DSM FINANCE B.V.                                                                             HET OVERLOON 1                                                                                      HEERLEN               NL                6411TE
DSM Finance B.V.                                  Attention: Michael Wahl and Vivian Huang                                                                                                                             Heerlen
DSM Finance B.V.                                  Latham & Watkins LLP                       330 North Wabash Avenue               Suite 3800                                                    Chicago               IL                60611
DSM Nutritional Products                                                                     200 ROCHE DRIVE                                                                                     BELVIDERE             NJ                07823-1113
DSM Nutritional Products                                                                     Warenannahme Bau 214                                                                                Wurmisweg             BL                4001          Switzerland
DSM Nutritional Products AG                                                                  Accounts Payable                                                                                    Kaiseraugst                             4303          Switzerland
DSM Nutritional Products Ltd                                                                 PO Box 2676                                                                                         Basel                 BS                04002
DSM PRODUTOS NUTRICIONAIS BRASIL S.                                                          ROD BROTAS/ TORRINHA s/n                                                                            BROTAS                SP                17380-000     Brazil
DSM USA                                                                                      5750 Martin Luther King Jr Hwy                                                                      Greenville            NC                27834
DSM USA                                                                                      5750 Martin Luther King Jr Hwy                                                                      Greenville            NC                27834
DSV Solutions Inc.                                                                           8590 Airport Road                                                                                   Brampton              ON                L6T 5A3       Canada
DTA Agency, LLC dba DT Model Management                                                      345 N Maple Drive                     Suite 179                                                     Beverly Hills         CA                90210
du Lac, Melchior                                                                             Address Redacted
Duane Ventures                                                                               105 Hudson St                                                                                       New York              NY                10012
Duane Ventures                                                                               117 W Broadway                                                                                      New York              NY                10013
Duane Ventures                                    Toni Dove                                  150 Dune Street                       2nd Floor                                                     New York              NY                10013
Duane Ventures                                    Toni Dove                                  Toni Dove                             150 Dune Street                      2nd Floor                New York              NY                10013
Duarte, Miguel                                                                               Address Redacted
DuBois Chemicals                                                                             3630 East Kemper Rd                                                                                 Cincinnati            OH                45241
Duda Energy LLC                                   Duda Diesel LLC                            1112 Brooks St SE                                                                                   Decautur              AL                35601
Duff & Phelps LLC                                                                            12595 Collection Center Drive                                                                       Chicago               IL                60693
Duggal Visual Solutions Inc                                                                  63 Flushing Avenue Bldg 25                                                                          Brooklyn              NY                11205
Duke Energy                                       Attn: Bankruptcy/Legal Dept.               P.O. Box 1003                                                                                       Charlotte             SC                28201-1003
Duke Energy Progress                                                                         P.O. Box 1003                                                                                       Charlotte             SC                28201-1003
Duleck, Harry                                                                                Address Redacted
Dumbo media / attn.: Olivia Palermo                                                          Address Redacted
Dune Inc                                                                                     35 Shinnecock Ave                                                                                   East Qugoue           NY                11942
Dunlop, Courtney                                                                             Address Redacted
Dunn, Nathan                                                                                 Address Redacted
DuPont Industrial Biosciences                                                                3490 Winton Place                                                                                   Rochester             NY                14623
Durden, Kerstin                                                                              Address Redacted
Duya, Lesley                                                                                 Address Redacted
Dynamic Devices                                                                              8 Lewis Circle                                                                                      Wilmington            DE                19804
E A I ENG COM A I AUTOMACAO                                                                  RUA LOPES TROVAO 432                                                                                CAMPINAS              SP                13076-670     Brazil
E&K Scientific Products Inc                                                                  3575 Thomas Rd                                                                                      Santa Clara           CA                95054
E.A.I. Engenharia v. Amyris Fermentação de
Performance Ltda.                                 Granito                                    Coppi                                 Boneli & Andery Associated Lawyers                                                                                  Brazil
E2 Global, Inc                                                                               14529 Innovation Dr.                  Suite B                                                       Riverside             CA                92518
Eagle Alcohol Company LLC                                                                    885 E Taylor Ave                                                                                    St. Louis             MO                63147
Eagle Stainless                                                                              816 Nina Way                                                                                        Warminster            PA                18974
EandM Electric & Machinery                                                                   126 Mill St.                                                                                        Healdsburg            CA                95448
Earnest Brand Marketing                                                                      9762 Gregory Way                                                                                    Beverly Hills         CA                90212




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Earth Fare                                                                               220 Continuum Drive                                                                 Fletcher           NC                28732
EarthKosher                                                                              1750 30th St. #613                                                                  Boulder            CO                80301
East Bay Municipal Utility District
East Carolina Bonded Warehouse                      C/O Wilmington Shipping Company     3930 River Road                                                                      Wilmington         NC                28412
East Coast Technical Services LLC                                                       1308 Smith Bay Circle East                                                           Wilmington         NC                28405
East End Trial Group LLC                            Kevin W. Tucker                     186 42nd St. P.O. Box 40127                                                          Pittsburgh         PA                15201
East Olivia Creative, LLC                                                               642 W. 138th St.                                                                     New York           NY                10031
East Photographic Incorporated                                                          401 Broadway                             Suite 908                                   New York           NY                10013
East, Patricia                                                                          Address Redacted

Eastbourne Color Group Co; Ltd                                                           22 SOI LASALLE 51, BANGNA TAI, BANGNA                                               Bangkok                              10250         Thailand
EasyFrenchy Inc                                                                          60 Broad Street                                                                     New York           NY                10004
Ebates Performance Marketing Inc. dba Rakuten
Rewards et al. v.                                   LEWIS & LLEWELLYN LLP               Paul T. Llewellyn                                                                                                                       Brazil
Ebates Shopping Com Inc dba Rakuten Rewards                                             999 Plaza Drive                          Suite 670                                   Schaumburg         IL                60173
EBay via PayPal                                                                         2145 Hamilton Avenue                                                                 San Jose           CA                95125
Ebba Gratte                                                                             Address Redacted
EBMUD Payment Center                                                                    PO Box 1000                                                                          Oakland            CA                94649-0001
ECAMRICERT SRL                                                                          Viale del lavoro 6                                                                   Monte di Malo      VI                36030         Italy
Echelon Biosciences Inc                                                                 675 Arapeen Drive Suite 302                                                          Salt Lake City     UT                84108
Echeverri, Andres                                                                       Address Redacted
Echo House                                                                              Echo house, Red Lion Business Park                                                   Surbiton                             KT67RD        United Kingdom
Eclipse Office Technology, LLC                                                          2150 Rheem Drive, Suite #E                                                           Pleasanton, CA     CA                94588
EcoBrander Promos LLC                                                                   PO Box 731224                                                                        Puyallup           WA                98373
Ecocert Greenlife                                                                       BP 47                                                                                L'Isle Jourdain                      32600         France
Eco-Chic LLC                                        Eco-Chic LLC                        572 Ruger Street, Suite B                                                            San Francisco      CA                94129
EcoEnclose                                          The Eco Solution LLC                Suite 200 280 S Taylor Ave.                                                          Louisville         CO                80027
eCompliance                                                                             #352 1819 Polk Street                                                                San Francisco      CA                94103
Econocaribe Consolidators. Inc.                     ECU Worldwide                       2401 NW 69 St                                                                        Miami              FL                33147
EcoVadis S.A.S                                                                          43, Avenue de la Grande Armee                                                        Paris                                75116         France
Ecovia Limited                                                                          79 Western Road                                                                      London                               W5 5DT        United Kingdom
ECS Axcess Point LLC                                                                    850 Clark Drive                                                                      Budd Lake          NJ                07828
Eddie Roche                                                                             Address Redacted
Eddy Alcantara                                                                          Address Redacted
Edelman                                             DJE Holdings, Inc.                  Suite 6300 200 East Randolph Street                                                  Chicago            IL                60601
Edelman, Lauren                                                                         Address Redacted
Eden Botanicals                                                                         3820 Cypress Dr., #12                                                                Petaluma           CA                94954
Eden Creative                                                                           Flat 2 Peacock House 38 st Giles road                                                London                               SE5 7RG       United Kingdom
Edge Grip LLC                                                                           4823 W Pico Blvd                                                                     Los Angeles        CA                90019
Edge Retail Ltd.                                                                        83 Grace Road                                                                        Leicester                            LE2 8AE       United Kingdom
Edinaldo Pedro da Silva x Amyris Brasil Ltda, Fox
Gestão em Serviços EIRELI., Novac Construções e
Empreendimentos LTDA)                               Rogério Ribeiro de Carvalho.        Visconde do Rio Branco Street            868                      Jaú                                                                   Brazil
Edit Media Group LLC                                                                    910 2nd Street                                                                       Manhattan Beach    CA                90266
Editorialist YX LLC                                                                     8647 Empire Grade                                                                    Santa Cruz         CA                95060
EDQM-Sales Section-Council of Europ                                                     7 allée Kastner, CS 30026                                                            Strasbourg                           67081         France
Edquist, Brian                                                                          Address Redacted
EDWARD GOUGH                                                                            Address Redacted
Edwards Inc                                                                             4119 Sheep Pasture Road                                                              Spring Hope        NC                27882
Edwards Vacuum Inc                                                                      DEPT CH 19935                                                                        Palatine           IL                60055-9935
Edwards Vacuum LLC                                  Atlas Copco USA Holdings, INC       7 Campus Drive, Ste 200                                                              Parsippany         NJ                07054
eFax Corporate                                      j2 Global Inc                       PO Box 51873                                                                         Los Angeles        CA                90051
EFFEKT GRAFIK WerbetrÃ¤ger GmbH & Co.KG                                                 Raiffeisenring 11                                                                    Deutschland        Bocholt           46395         Germany
EFFEKT GRAFIK Werbeträger GmbH & Co.KG                                                  11 Raiffeisenring                        Bocholt North Rhine                         Westfalia                            46395
Efficient Collaborative Retail Marketing Company,
LLC                                                                                      27070 Miles Road                        Suite A                                     Solon              OH                44139
EHM COMERCIO DE ROUPAS                              E ACESSORIOS EIRELI                  AVENIDA PIRACEMA 669, LJ STBS483                                                    BARUERI            SP                06460-030     Brazil
Eichenbaum, Andrew                                                                       Address Redacted
Eileen Ortiz                                                                             Address Redacted
Eileen Syrop                                                                             Address Redacted
Eisenback Equipment Sales, Inc.                                                          1123 Bishopville Hwy.                                                               Camden             SC                29020
El Gamal, Abrahim                                                                        Address Redacted
ELAINE LAZZERI c/o Dale Rozmiarek                                                        Address Redacted
Elbadawi, Heba                                                                           Address Redacted
Elbadawi, Mona                                                                           Address Redacted
Elcan Industries                                                                         20 Marbledale Rd                                                                    Tuckahoe           NY                10707
Electric Motor Shop of Wake Forest                                                       1225 North White St.                                                                Wake Forest        NC                27587
Elegen Corp.                                                                             Suite 16 1300 Industrial Rd                                                         San Carlos         CA                94070
Element Food Solutions, LLC                                                              7440 Santa Fe Drive                                                                 Hodgkins           IL                90525
Element Material Technology Pharma                                                       9240 Santa Fe Springs Road                                                          Santa Fe Springs   CA                90670
Element Packaging LLC                                                                    1441 West Newport Center Drive                                                      Deerfield Beach    FL                33442
Elemental Container Inc.                                                                 860 Springfield Road South                                                          Union              NJ                07083
Elemental Machines                                                                       Suite 401 185 Alewife Brook Parkway                                                 Cambridge          MA                02139
Elementis Specialities                                                                   469 Old Trenton Road                                                                East Windsor       NJ                08512
Elementis UK Ltd                                                                         Nettlehill Road                                                                     Livingston         WK                EH54 5DL      United Kingdom
Elena Otero                                                                              1174 Upper Happy Valley Rd                                                          Lafayette          CA                94549
Elephant LLC                                                                             2744 E 11th street, G8                                                              Alameda            CA                94601
Elephant Skin LLC                                                                        360 NW 27th St                                                                      Miami              FL                33127
Elevation Labs                                      Northwest Cosmetic Laboratories      2105 Boge Ave                                                                       Idaho Falls        ID                83401




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                     Creditor Name                                     Attention                          Address 1                                  Address 2         Address 3               City                  State           Zip              Country
Elias Nails                                                                              Address Redacted
Elicityl                                                                                 746 avenue Ambroize croizat                                                               Crolles                 69                38920           France

Eliel Elias Navarro x Capua Consultoria e Serviços
de Manutenção Eletrica Ltda. Amyris Brasil Ltda.     ANDRE PEDRO BESTANA                Pereira Rezende Street                          435                                        Igaraçu do Tietê        SP                17350-000       Brazil
Elisse Gabriel                                                                          Address Redacted
Elite Model Management London LTD                                                       Burleigh House, 355 Strand                                                                 London                                    WCR OHS         United Kingdom
Elite Packaging                                                                         40 Cotters Lane                                                                            East Brunswick          NJ                08816
Elite Promo Inc                                                                         Borel Avenue, Suite 350                                                                    San Mateo               CA                94402
Eliza Jordan                                                                            Address Redacted
Elizabeth Albrecht                                                                      Address Redacted
Elizabeth Barrett                                                                       Address Redacted
Elizabeth Barrett/Amyris                                                                Address Redacted
Elizabeth Chang                                                                         Address Redacted
Elizabeth Lopez                                                                         Address Redacted
Elizabeth Saltzmen                                                                      Address Redacted
Elizabeth Stover                                                                        Address Redacted
Elizabeth Stover                                                                        Address Redacted
Elkem Silicones Korea Co.,Ltd.                                                          4, Janghanggongdan-gil                                                                     Seocheon-gun            05                33766           Korea, Republic of
Ellahi, Aisha                                                                           Address Redacted
ELLE / Margaux Anbouba                                                                  Address Redacted
Elle Communications                                                                     1300 Factory Place Ste. 306                                                                Los Angeles             CA                90013
Ellen V Lora                                                                            Address Redacted
Elle's Bump LLC                                      Elle's Bump LLC                    Suite 460                                       285 W Broadway                             New York                NY                10013
                                                                                        Av. Paseo del Rio 111 int 8-812, Oxtopulco.
Ellevana, SA DE CV                                   Ellevana, SA DE CV / Olivine       Coyoacan.                                                                                  CDMX 04318                                                Mexico
Ellevana, SA DE CV                                   OLIVINE V / Attn: Mariana Diaz     Av Paseo                                        del Rio 111 int 8-812                      Col. Barrio Oxtopulco   Coyocan           CDMX 04318      Mexico

Ellevana, SA DE CV                                OLIVINE, Ellevana, SA DE CV           Homero 1635 int 1002, Polanco, Miguel Hidalgo                                              Ciudad de Mexico        CDMX              11510           Mexico
Elliott, Chance                                                                         Address Redacted
Ellipse Analytics                                                                       Suite 307 7000 Broadway                                                                    Denver                  CO                80221
Ellis, Dazree                                                                           Address Redacted
Ely's & Co.                                                                             86 Adams Street                                                                            Lakewood                NJ                08701
EMD MIllipore Corporation                         (For MIllipore Products               25760 Network Place,                                                                       Chicago                 IL                60673-1257
Emedco Inc                                                                              39209 Treasury Center                                                                      Chicago                 IL                60694-9200
Emerald Monzon                                                                          Unit E 2715 Vanderbilt Lane                                                                Redondo Beach           CA                90278
Emerson Alves da Silva Nascimento x Amyris Brasil
Ltda.                                             Jonas Perroni                          Lourenço Prado street                          1150                                       Jaú                     SP                zip 17201.000   Brazil
Emerson Process Mgmt                                                                     12616 Industrial Blvd                                                                     Elk River               MN                55330
Emery Pharma                                                                             1000 Atlantic Ave Suite 110                                                               Alameda                 CA                94501
                                                  Geoff Sears, Wareham Development,
EmeryStation Triange LLC                          GSears@warehamdevelopment.com          1120 Nye Street, Suite 400                                                                San Rafael              California        94901
Emiley Sexton                                                                            Address Redacted
Emili Sindlev                                                                            Address Redacted
Emily Ann Radler                                                                         Address Redacted
Emily Blom                                                                               Address Redacted
Emily Cheng                                                                              Address Redacted
Emily Chow                                                                               Address Redacted
EMILY CHOW                                                                               Address Redacted
Emily Chow                                                                               Address Redacted
Emily Oberg                                                                              Address Redacted
Emily Oberg                                                                              Address Redacted
Emily Petruccione                                                                        Address Redacted
Emily Thomas                                                                             Address Redacted
Emily Trio                                                                               Address Redacted
Emily Wallerstein                                                                        Address Redacted
Emily Wassall                                                                            Address Redacted
Emily Weiser                                                                             Address Redacted
Emma Debany                                                                              Address Redacted
Emma Morrison                                                                            Address Redacted
Emma Sennels                                                                             Address Redacted
Emma Wood / Gratis Costa Brazil Fragrance
Education                                                                               Address Redacted
Empire Marketing Strategies, Inc.                                                       P.O. Box 776751                                                                            Chicago                 IL                60677-6751
Empirical Labs, Inc                                                                     1501 Academy Ct                                 Suite 5                                    Fort Collins            CO                80524
EMPLOYMENT DEVELOPMENT DEPARTMENT                                                       PO BOX 826880                                                                              SACRAMENTO              CA                94280
Employment Solutions                                                                    P.O. Box 8000                                                                              Buffalo                 NY                14267
EMSL Analytical Inc                                                                     200 Route 130 North                                                                        Cinnaminson             NJ                08077
EMTY Trading Ltd                                                                        Unit 8, 8 Dakota Crescent                                                                  Christchurch            CAN               8042            New Zealand
Encore International, LLC                                                               270 Lafayette Avenue                                                                       Hawthorne               NJ                07506
                                                                                        1 304 PARK AVENUE SOUTH PENTHOUSE
Endeavor Parent, LLC dba IMG Models, LLC                                                NORTH                                           12th Floor                                 New York                NY                10010
Endress & Hauser Inc                                                                    DEPT 78795 P.O. Box 78000                                                                  Detroit                 MI                48278-0795
Endress+Hauser, Inc                                  c/o Rust Automation                Dept. 78795 P.O. Box 78000                                                                 Detroit                 MI                48278
Engineered Software, Inc.                            Pipe-Flo                           PO Box 94553                                                                               Seattle                 WA                98124-6853
Englewood Lab Inc.                                                                      20 Campus Road                                                                             Totowa                  NJ                07512
Ennis, Stephanie                                                                        Address Redacted
Enos, Deanna                                                                            Address Redacted
Enpresso GmbH                                                                           Frohnauer Str. 59                                                                          Berlin                  11                13467           Germany




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Enviance, Inc                          Remedy Interactive, Inc               5780 Fleet Street, Ste 200                                                              Carlsbad             CA               92008
Enviro Safetech                                                              2160-B Oakland Road                                                                     San Jose             CA               95131
Environmental Chemists                                                       P.O. Box 1037                                                                           Wrightsville Beach   NC               28480
Environmental Media Association                                              8909 W Olympic BLVD Suite 200                                                           Beverly Hills        CA               90211
Environmental Packaging Internation                                          5 Clinton Avenue                                                                        Jamestown            RI               02835
Environmental Safety Professionals                                           Ste. 115 7419 Knightdale Blvd.                                                          Knightdale           NC               27545
Environmental Working Group                                                  1436 U Street NW, Suite 100                                                             Washington           DC               20009
Envirotrol, LLC                                                              250 Swathmore Ave                                                                       High Point           NC               27261
enVista LLC                                                                  PO Box 7047, Group Q                                                                    Indianapolis         IN               46207
Envoy Global, Inc.                                                           Suite 2700 230 W. Monroe                                                                Chicago              IL               60606
Envoy Studios Inc                                                            807 Clayton Street                                                                      San Francisco        CA               94114
Eny Lee Parker LLC                                                           5105 Flushing Ave                     Suite 203                                         Maspeth              NY               11378
Enzyscreen B.V.                                                              Herenweg 29R                                                                            Heemstede            08               2105 MB      Netherlands
Epic Concierge Services                                                      Unite 9E 860 UN Plaza                                                                   New York             NY               10017
EPIC W12 LLC                                                                 15 Watts Street                       5th Floor                                         New York             NY               10013
EPIC W12 LLC                                                                 15 Watts Street                       5th Floor                                         New York             NY               10013
Epic W12 LLC                                                                 15 Watts Street, 5th Floor                                                              New York             NY               10013
Epic W12 LLC                                                                 408-414 West 13th Street                                                                New York             NY               10014
Epic W12 LLC                           cc: Patrick F Tostado, Esq.           Attention: Steven Elghanayan          15 Watts Street          5th Floor                New York             NY               10013
EPLUS TECHNOLOGY, INC.                                                       13595 DULLES TECHNOLOGY DRIVE                                                           HERNDON              VA               20171
ePlus Technology, inc.                                                       File 56861                                                                              Los Angeles          CA               90074-6861
Eppendorf North America Inc                                                  PO Box 13275                                                                            Newark               NJ               07101
Equality Translation Services Inc                                            600 Beaver Street Suite 2C                                                              Sewickley            PA               15143
EQUILIBRIUM COMERCIO VAREJISTA         DE ROUPAS INTIMAS EIRELI              RUA OLIMPIADAS 360, LOJA 104                                                            SAO PAULO            SP               04551-000    Brazil
Equiniti Trust Company                 Wells Fargo Shareowner services       WF 8113                                                                                 Minneapolis          MN               55485-8113
Erbilgin, Onur                                                               Address Redacted
Erfe, Christine                                                              Address Redacted
Eric Best                                                                    Address Redacted
Eric Chappell                                                                Address Redacted
Erica Baumgarten                                                             Address Redacted
Erika Cervantes                                                              Address Redacted
Erika Stalder                                                                Address Redacted
Erin Ewing / Amyris Inc.                                                     Address Redacted
Erin Jahns                                                                   Address Redacted
Erin Jahns                                                                   Address Redacted
Erin Kornfeld, LLC                                                           62 Cooper Square                      5A                                                New York             NY               10003
Erin Martin Design Inc.                Kim Hocker                            Erin Martin Design Inc.               1350 Main Street                                  Saint Helena         CA               94574
Erin Parsons                                                                 Address Redacted
Erin Parsons Inc.                                                            310 east houston st apt phe                                                             New York             NY               10002
Erin Walsh Studio / Attn: Erin Walsh                                         Address Redacted
Ernst & Young LLP                                                            200 Plaza Drive                                                                         Secaucus             NJ               07094
ERP Maestro Inc.                                                             8050 NW 10TH ST., SUITE 1000                                                            Plantation           FL               33324
ERS Genomics Ltd                                                             88 Harcourt Street                                                                      Dublin               DB               D02YT22      Ireland
ErtelAlsop                                                                   132 Flatbush Ave.                                                                       Kingston             NY               12401
ES East Associates, LLC                                                      1120 Nye Street, Suite 400                                                              San Rafael           California       94901
ES East, LLC                                                                 1120 Nye Street                       Ste 400                                           San Rafael           CA               94901
ES East, LLC                                                                 1120 Nye Street                       Ste 400                                           San Rafael           CA               94901
Escalante, Frank                                                             Address Redacted
ESFERA PROCESS, S.L.                                                         C/ CORRETGER Nº 23, 46980-PATERNA                                                       VALENCIA                              46980        Spain
Espinoza, Susy                                                               Address Redacted
Esquibel, Rochelle                                                           Address Redacted
Esquivel, Jean Marie                                                         Address Redacted
Essence Festival Productions                                                 34 35th St. 5th Floor                                                                   Brooklyn             NY               11232
Essex Testing Clinic, Inc.                                                   799 Bloomfield Ave.                                                                     Verona               NJ               07044
Established Models Limited                                                   Unit 25, 214 Bermondsey Street                                                          London                                SE1 3TQ      United Kingdom
Estela / Attn: Ignacio Mattos                                                Address Redacted
Estelle Smith                                                                Address Redacted
Esterkin, Dana                                                               Address Redacted
Estes Refrigeration Inc                                                      1400 Potrero Ave                                                                        Richmond             CA               94804-3750
Estes, Lindsey                                                               Address Redacted
Estill, Robert                                                               Address Redacted
Eternal Fleur LLC                                                            28711 S Diesel Drive                  Unit 10                                           Bonita Springs       FL               34135
E-TRADE Financial Corporation          Att: Accounts Recievable              PO Box 3512                                                                             Arlington            VA               22203
Eurofins Analytical Laboratories In    Eurofins Central Analtyical Laborat   P.O. Box 2153, Dept 1839                                                                Birmingham           AL               35287-1839

Eurofins do Brasil Analises de Alim                                          Rod. Engenheiro Ermenio Oliveira Pe                                                     Tombadouro-Indiatuba SP               13337-300
Eurofins Food Chemistry Testing US                                           PO Box 11407                                                                            Birmingham           AL               35246
Eurofins Genomics LLC.                                                       13489 Collections Center Drive                                                          Chicago              IL               60693
Eurofins Lancaster Laboratories, In                                          2425 New Holland Pike                                                                   Lancaster            PA               17601
EUROFINS MICROBIOLOGY LABORATORIES                                           11390 KNOTT AVE GARDEN GROVE                                                            LOS ANGELES          CA               92841
Eurofins Microbiology Laboratories                                           PO Box 2153, Dept 1914                                                                  Birmingham           AL               35287-1914
Eurofins MTS Consumer Product                                                11822 North Creek Parkway N., #110                                                      Bothell              WA               98011
Eurofins Nutrition Analysis Center                                           Suite 150 2200 Rittenhouse St.                                                          Des Moines           IA               50321
Eurofins Scientific, Inc.                                                    13 P.O. Box 2153, Dept 1847                                                             Birmingham           AL               35287-1847
Eurofins Scientific, Inc.                                                    P.O. Box 2153, Dept 1847                                                                Birmingham           AL               35287-1847
Euromipe -                             Importação e Exportação               Rua da Quintã 72                                                                        Frossos, Braga                        4700-023     Portugal
European Commission                                                          Rue de la Loi 200                                                                       Brussels                              01049
Eurotextile Packaging                                                        Allee des Epinettes Bat 9 Z.I. Nord                                                     Torcy                France           77200        France
Eursa Major Limited                                                          86c Westbourne Park Villas                                                              London                                W2 5EB       United Kingdom




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Eury Park                                                                                      Address Redacted
Eva Chen                                                                                       Address Redacted
Eva Miah                                                                                       Address Redacted
Evalulab Inc                                                                                   5475 rue Pare, Suite 206                                                          Montreal           QC               H4P 1P7       Canada
Evangeline Dunphy                                                                              Address Redacted
Eve Macsweeney                                                                                 #3 12 W 10th Street                                                               New York           NY               10011
Event Scape Inc.                                                                               5-25 46th Ave                                                                     Long Island City   NY               11101
Ever/Body | Costa Brazil                           Ever/Body                                   1028 Lexington Ave                                                                New York           NY               10021
Ever/Body | Costa Brazil                           Ever/Body                                   133 W 19th St, Floor 6                                                            New York           NY               10011
Ever/Body | Costa Brazil                           Ever/Body                                   1618 14th St NW                                                                   Washington         DC               20009
Ever/Body | Costa Brazil                           Ever/Body                                   1618 4th Street NW                                                                Washington         DC               20009
Ever/Body | Costa Brazil                           Ever/Body                                   200 KENT AVE                                                                      Brooklyn           NY               11249
Ever/Body | Costa Brazil                           Ever/Body                                   696 White Plains Road                                                             Scarsdale          NY               10583
                                                   Ever/Body Arlington Dept 6674 c/o Collins
Ever/Body | Costa Brazil                           Brothers                                    23005 Ladbrook Drive                                                              Sterling           VA               20166
                                                   Ever/Body Arlington Dept 6675 c/o Collins
Ever/Body | Costa Brazil                           Brothers                                    23005 Ladbrook Drive                                                              Sterling           VA               20166
Ever/Body | Costa Brazil                           Ever/Body Flatiron                          16 W. 17th Street                                                                 New York           NY               10011
Ever/Body | Costa Brazil                           Ever/Body -HQ Training Center Flatiron      133 W 19th st, floor 6                                                            New York           NY               10011
Ever/Body Attn: Daniel O'Neill                                                                 Address Redacted
Ever/Body HQ / Attn: Cira Marmolejos                                                           Address Redacted
Everest Indemnity Ins. Co.                                                                     477 Martinsville Road                  PO Box 830                                 Liberty Corner     NJ               07938
Everett, April                                                                                 Address Redacted
Evergreen Nutrition                                                                            1653 Williamette St                                                               Eugene             OR               97401
Every Mother Counts                                                                            333 Hudson Street                      Suite 1006                                 New York           NY               10014
Everyday Health, Inc.                                                                          PO Box 347351                                                                     Pittsburgh         PA               15251
Evie Samuel                                                                                    Address Redacted
Evison, Maximillian                                                                            Address Redacted
evoJets LLC                                                                                    Suite 3570 244 Madison Avenue                                                     New York           NY               10016
Evolution Quality Services                                                                     1020 NW 33RD AVE                                                                  Miami              FL               33125
Evolve Artists Agency                                                                          3900 W Alameda Ave                     Suite 1200                                 Burbank            CA               91505
Evonik Corporation                                                                             P.O. Box 730363                                                                   Dallas             TX               75373
Evonik Corporation                                                                             P.O. Box 730363                                                                   Dallas             TX               75373
Evonik Corporation                                                                             PO Box 905424                                                                     Charlotte          NC               28290-5425
Evoqua Water Technologies LLc                                                                  28563 Network Place                                                               Chicago            IL               60673-1285
Ewald Associates Inc.                                                                          48531 Warm Spring Blvd, #415                                                      Fremont            CA               94539
Ewing, Erin                                                                                    Address Redacted
Excel Plastics, LLC                                                                            PO Box 504                                                                        Fergus Falls       MN               56538
Exec Baby, LLC                                                                                 139 School Drive                                                                  Kintnersville      PA               18930
expackUSA inc                                                                                  16-00 Pollitt Drive                                                               Fair Lawn          NJ               07410
Expeditors Canada Inc dba Tradewin Canada                                                      55 STANDISH COURT                                                                 MISSISSAUGA                         L5R 4A1       Canada
Expeditors International of WA Inc                                                             425 Valley Drive                                                                  Brisbane           CA               94005
Expense Reduction Analysts                                                                     PO Box 956251                                                                     St Louis           MO               63195-6251
Experian                                           C/O Experian Information Solutions          P.O. Box 881971                                                                   Los Angeles        CA               90088-1971
Express Tubes, Inc.                                                                            8655 S.208th St.                                                                  Kent               WA               98031
EXPRIME IMPORTACAO E EXPORTACAO LTD                                                            RUA BRUSQUE 1078                                                                  ITAJAI             SC               88302-001     Brazil
Exxact Corporation                                                                             46221 Landing Parkway                                                             Fremont            CA               94538
ExxonMobil Research & Engineering C                                                            EUP Co Code 1863 US                                                               Spring             TX               77389-1425
Eyelevel Design                                                                                1938 10th Avenue                                                                  San Francisco      CA               94116
EYINOJUOLUWA â€œOJUâ€� E. AJAGBE                                                               19702 CRYSTAL ROCK DRIVE               Apt. 12                                    Germantown         MD               20874
Eyres Productions Limited                                                                      77 BROUGHAM ROAD                                                                  London                              E8 4PL        United Kingdom
F.P. Fensel Supply Co.                                                                         P.O. Box 2063                                                                     Wilmington         NC               28402
FabFitFun, Inc-JVN                                 FabFitFun, Inc                              14101 Pipeline Ave                                                                Chino              California       91710
FabFitFun, Inc-JVN                                 FabFitFun, Inc                              7th Floor - Green Building                                                        Los Angeles        CA               90069
FABIANO FERREIRA OLIVEIRA                                                                      JAMES CLERCK MAXWELL 315                                                          CAMPINAS           SP               13069-380     Brazil
Fabricia Moscoso                                                                               Address Redacted
Fabricia Moscoso                                                                               Address Redacted
Fabricia Moscoso                                                                               Address Redacted
Facebook, Inc.                                                                                 13th Floor 315 Montgomery Street                                                  San Francsico      CA               94104
                                                                                                                                                                                 SAINT GENIES DES
Facteur X                                                                                      22 RUE DU BASSIN                                                                  MOURGUES           HERAULT          34160         France
Faire Wholesale, Inc. | Pipette                    Faire Wholesale, Inc.                       100 Potrero Ave                                                                   San Francisco      CA               94103
Falcon Social, Inc                                                                             19th Floor 200 Vesey Street                                                       New York           NY               10281-8000
Falih, Ali                                                                                     Address Redacted
Fallon Leng, Sarah                                                                             Address Redacted
Fallon, Tim                                                                                    Address Redacted
Family Media Holdings LLC                          John Hurley                                 44 Island Parkway North                                                           Island Park        NY               11558
Fangyi Lin                                                                                     Address Redacted
Fanny Damiette                                                                                 Address Redacted
Fara Homidi                                                                                    Address Redacted
Fareva Itupeva                                                                                 620 Rua Americo Simoes                                                            Itupeva                             13295-500     Brazil
Farfetch / Attn: Geoffrey Aquino                                                               Address Redacted
Fashion Partner Group / Pour Le Bond Marche, Dpt
Parfumerie 38                                                                                  Address Redacted
Fashion Veggie- Molly Tuttle tranchin                                                          6118 ellsworth avenue                                                             dallas             TX               75214
Fastenal Company                                                                               PO Box 978                                                                        Winona             MN               55987-0978
FASTSIGNS Oakland                                  Justipher Inc.                              325 5th Street                                                                    Oakland            CA               94607
Fausto Gortaire                                                                                Address Redacted
FBR Associates, Inc. DBA Serenella                 FBR Associates, Inc. DBA Serenela           134 Newbury Street                                                                Boston             MA               02116




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                  Creditor Name                                      Attention                                     Address 1                                 Address 2                               Address 3                            City                  State         Zip             Country
FBR Associates, Inc. DBA Serenella                  FBR Associates, Inc. DBA Serenella         134 Newbury Street                                                                                                               Boston                 MA               02116
FBR Associates, Inc. DBA Serenella                  Serenella                                  313 Worth Ave, Unit C2                                                                                                           Palm Beach             FL               33480
FBR Associates, Inc. DBA Serenella                  Serenella                                  44 Center Street                                                                                                                 Nantucket              MA               02554
FBR Capital Markets & Co.                                                                      1300 North 17th Street                                                                                                           Arlington              VA               22209
FC Porto                                                                                       Estádio do Dragão - Piso 3,                                                                                                      Porto                                   4350-415     Portugal
                                                                                               Unit 3, 4 & 5 Colthrop Business Park,Colthrop
FCL Event Logistics Ltd                                                                        Lane                                                                                                                             Thatcham               Berks.           RG19 4NB     United Kingdom
FCP - Serviços Partilhados                                                                     VIA DO FUTEBOL CLUBE DO PORTO                                                                                                    Porto                                   4350-415     Portugal
Federal Equipment                                                                              8200 Bessemer Avenue                                                                                                             Cleveland              OH               44127
Federal Express                                                                                PO Box 360353                                                                                                                    Pittsburgh             PA               15250-6353
Federal Express Corp                                                                           PO Box 7221                                                                                                                      Pasadena               CA               91109-7321
                                                                                                                                                                                                                                WHITEHOUSE
Federal Ins. Co.                                                                               202B HALL'S MILL ROAD                                                                                                            STATION                NJ               08889
Federica Carra                                                                                 Address Redacted
FedEx Custom Critical Inc                                                                      PO Box 645135                                                                                                                    Pittsburgh             PA               15264-5135
FedEx Freight                                                                                  Dept LA PO Box 21415                                                                                                             Pasadena               CA               91185-1415
FedEx Trade Net Trans & Broker Inc                                                             15704 Collections Center Dr                                                                                                      Chicago                IL               60693
Fedor Polyushko                                                                                6216A Antioch St.                                                                                                                Oakland                CA               94611
Feedback Group Ltd.                                 Feedback Films                             25A Whiteley Road                                                                                                                London                                  SE19 1JU
Feedinfo News Service                                                                          16 Rue du Village d'Enterprises                                                                                                  Labege                                  31670        France

Feedonomics Holdings, LLC dba Bigcommerce, Inc.                                                11305 Four Points Drive                         Building II, Suite 100                                                           Austin                 TX               78726
Feedonomics, LLC                                                                               21011 Warner Center Lane                                                                                                         Woodland Hills         CA               91367
                                                    Accounts Payable                                                                           4th Floor, Berkshire House, 168-173
Feelunique International Ltd | Biossance            <accounts.payable@feelunique.com>          Feelunique International Ltd                    High Holborn                                                                     London Berks                            WC1V 7AA     United Kingdom
                                                                                                                                                                                                                                Northampton NN4
Feelunique International Ltd | Biossance            Operations                                 feelunique, c/o Cygnia Logistics Ltd.           Gowerton Road, Brackmills                                                        7BW                                                  United Kingdom
Feelunique International Ltd | Biossance | UK       Amyris UK                                  Amyris UK Trading Limited                       10-11 Clerkenwell Green                                                          London                                  EC1R 0DP     United Kingdom
                                                                                               4th Floor, Berkshire House, 168-173 High
Feelunique International Ltd | Biossance | UK       Feelunique International Ltd - Biossance   Holborn                                                                                                                          London                                  WC1V 7AA     United Kingdom
                                                                                                                                                                                                                                Northampton
Feelunique International Ltd | Biossance | UK       Feelunique International Ltd - Biossance   feelunique, c/o Cygnia Logistics Ltd.           Gowerton Road, Brackmills                                                        Northants                               NN4 7BW      United Kingdom
                                                                                                                                                                                                                                Slough Berks. SL3
Feelunique International Ltd | Biossance | UK       Feelunique International Ltd - Biossance   UK                                              Simplycargo Unit 1                    Lakeside Industrial Estate. Colnbrook      0ED                                                  United Kingdom
Feelunique International Ltd | Biossance | UK       Spreetail                                  Unit 19 Ascent Logistics Park N                                                                                                  Leighton Buzzard                        LU7 3RJ      United Kingdom
                                                                                                                                                                                     4th Floor, Berkshire House, 168-173 High
Feelunique International Ltd | JVN | UK             Feelunique International Ltd               JVN                                             accounts payable                      Holborn                                    London Berks.                           WC1V 7AA     United Kingdom
                                                                                                                                                                                                                                Colnbrook Berks. SL3
Feelunique International Ltd | JVN | UK             Feelunique International Ltd - JVN         UK                                              Simplycargo Unit 1                    Lakeside Industrial Estate                 0ED                                                  United Kingdom
                                                    Accounts Payable                           4th Floor, Berkshire House, 168-173 High
Feelunique International Ltd | Rose Inc | UK        <accounts.payable@feelunique.com>          Holborn                                                                                                                          London                                  WC1V 7AA     United Kingdom
Feelunique International Ltd | Rose Inc | UK        Eaden Adkins                               SEPHORA UK                                      4th floor BERKSHIRE HOUSE             168-173 HIGH HOLBORN                       London                                  WC1V 7AA     United Kingdom
                                                                                                                                                                                                                                Northampton
Feelunique International Ltd | Rose Inc | UK        Operations                                 feelunique, c/o Cygnia Logistics Ltd.           Gowerton Road, Brackmills                                                        Northants                               NN4 7BW      United Kingdom
Feliciano, Marie                                                                               Address Redacted
Felix Ruiz Diez                                                                                Address Redacted
Fenwick & West LLP                                  File # 73281                               P.O.Box 742814                                                                                                                   Los Angeles            CA               90074-2814
Ferguson Enterprises, LLC                           Cal Steam                                  12500 Jefferson Ave                                                                                                              Newport News           VA               23602
Fernandez, Jane                                                                                Address Redacted
Fernandez, Joseph                                                                              Address Redacted
Fernando Ferreira Lino x Ardenghi Engenharia
Industrial 2ª Recda: Sublime Engenharia 3ª Recda:
Cocamar - Amyris Fermentação de Performance
LTDA                                                ANDRE CESARIO DA COSTA                     Antônio Furlan Júnior Street                    1219                                  Sertãozinho/SP/Brazil                                                                           Brazil
Fernando Reinach                                                                               Address Redacted
Ferrari Talent, LLC                                                                            18653 Ventura Blvd.                             #344                                                                             Tarzana                CA               91356
Ferrero, Julie                                                                                 Address Redacted
FGD - Financial Group Direct, LLC                                                              9000 Crow Canyon Rd, Suite 374                                                                                                   San Ramon              CA               94506
Fidelity Investments                                C/O FMR LLC                                PO Box 73307                                                                                                                     Chicago                IL               60673-7307
Fiedler, Marianne                                                                              Address Redacted
Fields, Daya                                                                                   Address Redacted
Figliola, Peter                                                                                Address Redacted
Figma, Inc                                                                                     Floor 10 760 Market St                                                                                                           San Francisco          CA               94102
Figma, Inc.                                                                                    760 Market St.                                  Floor 10                                                                         San Francisco          CA               94102
Filbo                                               Phil Bortman & Associates                  29777 Telegraph Road, Suite 1637                                                                                                 Southfield             MI               48034
Filtration Solutions Inc                                                                       4361 Charlotte Hwy Ste 301                                                                                                       Lake Wylie             SC               29710
Financial Acct Standards Board                      C/O Financial Accounting Foundation        PO Box 418272                                                                                                                    Boston                 MA               02241-8272
Fiori, Samantha                                                                                Address Redacted
                                                                                               The Old Aircraft Hangar, Wimbledon West
Firecracker Works Ltd                                                                          Goods Yard, Dundonald Road                                                                                                       London                                  SW19 3QJ     United Kingdom
Firmenich (Minnesota)                                                                          100 North Valley Street                                                                                                          New ULM                MN               56073
Firmenich Chemical Manufacturing                                                               PO Box 5880                                                                                                                      Princeton              NJ               08543
FIRMENICH INC                                                                                  250 Plainsboro Road                                                                                                              Plainsboro             NJ               08536
Firmenich Production S.A.S                                                                     Rue de la Bergere 7                                                                                                              Meyrin 2                                1217         Switzerland
Firmenich S.A                                                                                  PO Box 148                                                                                                                       Meyrin 2               GE               01217

First Choice Sales and Marketing Group (Walmart)                                               3380 Pearson Road                                                                                                                Memphis                TN               38118
First Digital                                       Attn: Bankruptcy/Legal Dept.               Suite 300 357 S 670 West                                                                                                         Lindon                 UT               84042
First Digital Communications, LLC                                                              Suite 300 357 S 670 West                                                                                                         Lindon                 UT               84042




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Fischer, Daniel                                                                          Address Redacted
Fish & Richardson P.C.                                                                   1 Marina Park Drive                                                                     Boston               MA               02210
Fish & Richardson P.C.                                                                   P. O. Box 3295                                                                          Boston               MA               02241-3295
Fisher Scientific Co LLC                                                                 13551 Collections Ctr Dr                                                                Chicago              IL               60693
Fitbit, LLC                                                                              14th Floor 199 Fremont Street                                                           San Francisco        CA               94105
Five Rivers RX, LLC                                                                      Suite 200 705 Montgomery Avenue                                                         Penn Valley          PA               19072
Fix Wellness and Beauty LLC | Costa Brazil          FIX WELLNESS AND BEAUTY              3 STACEY CT                                                                             COHOES               NY               12047
Fix Wellness and Beauty LLC | Costa Brazil          FIX WELLNESS AND BEAUTY LLC          664 LONDON ROAD, #290                                                                   LATHAM               NY               12110
FJ Fleming Food Consulting Pty LTD.                                                      5 Alice Court                                                                           Cherrybrook          NSW              02126
                                                    MARIA VIRGINIA BELLO JAEGER BENTO
Flavio Souto x entação de Performance LTDA          VIDAL                               Prudente de Moraes Street              625                                               Barra Bonita                          17340-004     Brazil
Flavor and Extract Manufacturers As                 FEMA                                700 1101 17th Street NW                                                                  Washington           DC               20036
FlavorCloud Inc.                                                                        2226 Harvard Ave E                                                                       Seattle              WA               98102
Fleischman, Gary                                                                        Address Redacted
Fleming, Allison                                                                        Address Redacted
Flexitank Inc.                                                                          Metro Office Park Calle 1 Lote 5                                                         Guaynabo                              00968         Puerto Rico
Flexport, Inc                                                                           760 Market Street                      8th Floor                                         San Francisco        CA               94102
FLG Partners, LLC                                                                       PO Box 556                                                                               Ross                 CA               94957-0556
FLO Partners Inc.                                                                       100 University Avenue                                                                    Toronto              ON               M5J 1V6       Canada
Floortex                                                                                P.O. BOX 1099                                                                            PASADENA             NC               21123
Florishop, LLC                                                                          #3 968 Lexington Avenue                                                                  New York             NY               10021
Florishop, LLC                                                                          968 Lexington Avenue, #3                                                                 New York             NY               10021
FLORYAMYE                                           CUST0000108 FLORYAMYE               PO BOX148                                                                                Fairfax              CA               94978
FLORYAMYE                                           FLORYAMYE                           270 Magnolia Avenue                                                                      Larkspur             CA               94939
Flow Sciences, Incorporated                                                             2025 Mercantile Drive                                                                    Leland               NC               28451
Flowing Water Creek, LLC                                                                364 Powells Lane                                                                         Westbury             NY               11590-3453
Flowing Water Creek, LLC                                                                364 Powells Lane                                                                         Westbury             New York         11590-3453
Flowing Water Creek, LLC                                                                42 Main St                                                                               Sag Harbor           NY               11963
Flowing Water Creek, LLC                                                                P.O. Box 1949                                                                            Sag Harbor           NY               11963
Flowtrac                                                                                1320 N. White Chapel Blvd                                                                Southlake            TX               76092
Fluid Metering Inc                                                                      P.O. Box 945846                                                                          Atlanta              GA               30394-5846
Fluid Metering, Inc.                                                                    5 Aerial Way, Suite 500                                                                  Syosset              NY               11791
Flynn, James                                                                            Address Redacted
Fohr Card Inc.                                                                          72 Allen Street                        3rd Floor                                         New York             NY               10002
Folio3 Software Inc                                                                     1301 Shoreway Road Suite 160                                                             Belmont              CA               94002
Folio3 Software Inc.                                                                    Suite 160 1301 Shoreway Rd                                                               Belmont              CA               94002
Fong Brothers Printing Inc                                                              320 Valley Drive                                                                         Brisbane             CA               94005
Fong, Bonnie                                                                            Address Redacted
Fong, Spencer                                                                           Address Redacted
Food Development Centre                                                                 810 Phillips Street Box 1240                                                             Portage la Prairie   MB               R1N 3J9       Canada
Food Science Solutions, Inc                                                             28 Geneva Ave                                                                            Toronto              ON               M5A 2J8       Canada
Food Standards Australia New Zealan                                                     ACT 2609 Level 4, 15 Lancaster Plac                                                      Canberra             ACT              2609          Australia
Food Truck Promotions                                                                   350 East 54th St.                      Suite 1H                                          New York             NY               10022
Foothold International Brands Ltd                                                       34a Watling Street                                                                       Radlett              Herts.           WD7 7NN       United Kingdom
Foothold International Brands LTD                                                       Address Redacted
For Curtis                                                                              Address Redacted
Ford, Allison                                                                           Address Redacted
Ford, Anthony                                                                           Address Redacted
Ford, Vanessa                                                                           Address Redacted
Foresight Engineering and Consulti                                                      712 Bancroft Road Ste 878                                                                Walnut Creek         CA               94598
Forever Freckled LLC                                                                    908 south rio vista boulevard                                                            Fort Lauderdale      FL               33316
Foris Ventures, LLC                                                                     1180 San Carlos Avenue                 #717                                              San Carlos           CA               94070
Foris Ventures, LLC                                                                     STE 200 618 WALNUT ST                                                                    San Carlos           CA               94070
Foris Ventures, LLC                                 Goodwin Procter LLP                 3 Embarcadero Center                   28th floor                                        San Francisco        CA               94111
FORIS VENTURES, LLC, AS AGENT                                                           751 LAUREL STREET, #717                                                                  SAN CARLOS           CA               94070
Formagrid Inc dba Airtable                                                              8th Floor 799 Market St                                                                  San Francisco        CA               94103
Forrest Dawson                                                                          Address Redacted
Fort Baker Retreat Subtenant, LLC                   Cavallo Point,                      601 Murray Circle                                                                        Sausalito            CA               94965
Fort Baker Retreat Subtenant, LLC                   Cavallo Point,                      The Lodge at the Golden Gate           601 Murray Circle                                 Sausalito            CA               94965
Fortress Brand                                      FB Select LLC                       31 Howard Street, Floor 2                                                                New York             NY               10013
Fortress Brand                                      Fortress Brand                      31 Howard Street, Floor 2                                                                New York             NY               10013
Fortress Brand                                      Fortress Brand                      Rakuten Logistics                      880 Wigwam Parkway       Suite 120                Henderson            NV               89014
Forward Artists c/o Jordana Holdridge / Attn: Sam
Visser                                                                                   Address Redacted
Forward Artists LLC                                                                      7080 Hollywood Blvd. Suite 902                                                          Los Angeles          CA               90028
Fox Greenberg Public Relations                                                           48 west 21street                      Suite 1003                                        New York             NY               10010
Fox Rothschild LLP                                                                       2000 Market Street                                                                      Philadelphia         PA               19103
Francesca Williams                                                                       Address Redacted
Franchise Tax Board                                                                      P.O. Box 942857                                                                         Sacramento           CA               94257-0551
Franchise Tax Board                                 Attn: Bankruptcy/Legal Dept.         PO Box 942857                                                                           Sacramento           CA               94257- 0500
Franchise Tax Board (CA)                                                                 PO Box 942857                                                                           Sacramento           CA               94257-0511
Francina                                                                                 CÃ’RSEGA 262 ENTLO. 1Âª 08008                                                           Barcelona                             8008          Spain
Francis Alba                                                                             Address Redacted
Francisco Granger                                                                        Address Redacted
Franck Brunaut                                                                           Address Redacted
Franczyk, Nadine                                                                         Address Redacted
Frank Recruitment Group Inc                                                              501 E Kennedy Blvd                                                                      Tampa                FL               33602
Frank Reps, Inc                                                                          103 East Broadway                     4th Floor                                         New York             NY               10002
Frank Rivera                                                                             Address Redacted




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                    Creditor Name                        Attention                          Address 1                          Address 2         Address 3               City        State           Zip            Country
Franklin, Kelly                                                            Address Redacted
FREDERICA ARTHUR COMERCIO DE         MODA E ACESSORIOS EIRELI              AV. DIARIO DE NOTICI 300, LOJA 1100                                               PORTO ALEGRE       RS           90810-080     Brazil
Frederickson Partners                                                      #874 655 Oak Grove Avenue                                                         Menlo Park         CA           94025
Freedman, Wendy                                                            Address Redacted
Freedom Models California Inc                                              820 N FAIRFAX AVE                                                                 Los Angeles        CA           90046
French, Irenee                                                             Address Redacted
Frenchie Group                                                             9 Donegall Drive                                                                  Toronto            ON           M4G 3G6       Canada
Frey, Mark                                                                 Address Redacted
Freya Wallace                                                              Address Redacted
Fridman, Steven                                                            Address Redacted
Friedman, Kacie                                                            Address Redacted
Friedrikson, Brandon                                                       Address Redacted
Frieze Events Inc                                                          247 Centre St                                                                     New York           NY           10013
Front Row Corp                                                             802 Handel                                                                        Apex               NC           27502
Frontier
Frulact Canada Inc.                                                        1295 Centennial Dr.                                                               Kingston           ON           K7P 0R6       Canada
FuelX                                                                      1400 Fashion Island Blvd                                                          San Mateo          CA           94404
Fujikasei Co., Ltd.                                                        3-9-3, Honcho                                                                     Tokyo              13           1640001       Japan
Fulfillment by Amazon - FBA Seller                                         440 Terry Ave N                                                                   Seattle            WA           98109
Full Spectrum                        CBRE Group, Inc.                      Suite 100 3501 Jamboree Road                                                      Newport Beach      CA           92660
Fuller, Howard                                                             Address Redacted
FullStory, Inc.                                                            Suite G 1745 Peachtree St. NW                                                     Atlanta            GA           30312
Fulton, Junious                                                            Address Redacted
Fun Family Brands LLC                                                      3940 Laurel Canyon Blvd                # 158                                      Studio City        CA           94604
Funke LA                                                                   9388 S Santa Monica Blvd                                                          Beverly Hills      CA           90210
Fusion Accelerate LLC                                                      Suite 200 2608 Inwood Road                                                        Dallas             TX           75235
Fusion Packaging, LLC                                                      2608 Inwood Rd. Suite 200                                                         Dallas             TX           75235
Future US LLC                                                              130 West 42nd Street                   7th Floor                                  New York           NY           10036
Future Wave Technologies Inc         dba Caffe Del Mar                     1431 Sun Valley Rd.                                                               Solana Beach       CA           92075
FWRD,LLC                             FWRD,LLC                              12889 Moore St.                                                                   Cerritos           CA           90703
FXM International LLC                                                      #500 800 Town & Country Blvd                                                      Houston            TX           77024
G.A. Murdock, Inc.                                                         1200 S. Division Ave.                                                             Madison            SD           57042
G.D. Long Electric                   Long Electric Company                 450 Technology Way                                                                Napa               CA           94558
G.S. Cosmeceutical USA, Inc.                                               131 Pullman Street                                                                Livermore          CA           94551
GA International Inc.                                                      P.O. Box 2633                                                                     Champlain          NY           12919
Gabe Stone Shayer                                                          Address Redacted
Gabriel, Hana                                                              Address Redacted
Gabriel, Raphael                                                           Address Redacted
Gabriela Ascencio de Myers                                                 Address Redacted
Gabriela Hearst LLC.                 Gabriela Hearst LLC.                  210 11th Avenue                        Suite 302                                  New York           NY           10001
Gabriella Ortiz                                                            Address Redacted
Gabriella Ramirez                                                          Address Redacted
Gabriella Windsor                                                          Address Redacted
Gabrielle Marceca studio, lnc                                              22 Hill Crest                                                                     Mount Sinai        NY           11766
GACP FINANCE CO., LLC, AS AGENT                                            11100 SANTA MONICA BLVD.               SUITE 800                                  LOS ANGELES        CA           90025
Gaffuri, Rahlu                                                             Address Redacted
Gail Zauder                                                                Address Redacted
Galano, Adelisa                                                            Address Redacted
Galbraith Laboratories Inc                                                 PO Box 51610                                                                      Knoxville          TN           37950-1610
Galen, Brady                                                               Address Redacted
Galena Química e Farmaceutica Ltda                                         Rua Pedroso Stancato, 860                                                         Campinas           SP           13082-380     Brazil
Galindo, Digna                                                             Address Redacted
GALLERIST COMERCIO E IMPORTACAO      DE CONFECCOES LTDA                    RUA SAMPAIO VIDAL 33                                                              SAO PAULO          SP           01443-000     Brazil
GameChanger Products LLC                                                   2207 Harbor Bay Pkwy                                                              Alameda            CA           94502
Gamelearn                                                                  Suite 231 12150 SW Ct.                                                            Miami              FL           33186
Ganatra, Darpan                                                            Address Redacted
Gappify, Inc.                                                              Suite 300 1111 Broadway                                                           Oakland            CA           94607
Gaputan, Polo Nector                                                       Address Redacted
Garcia de Gonzalo, Chantal                                                 Address Redacted
Garcia Gomez, Brenda                                                       Address Redacted
Garcia, Fernando                                                           Address Redacted
Garcia, Javier                                                             Address Redacted
Garcia, Johan                                                              Address Redacted
Garcia, Sabrina                                                            Address Redacted
Garcia, Yolanda                                                            Address Redacted
Garde Shop                           Garde Shop                            7410 Beverly Blvd                                                                 Los Angeles        CA           90036
Garde Summerland                     Garde Summerland                      2280 Lillie Avenue                                                                Summerland         CA           93067
Garratt-Callahan                     Attn: Bankruptcy/Legal Dept.          50 Ingold Road                                                                    Burlingame         CA           94010
Garratt-Callahan Company                                                   50 Ingold Road                                                                    Burlingame         CA           94010
Garrett Munce                                                              Address Redacted
Gartner, Inc                                                               55 Top Gallant Rd                                                                 Stamford           CT           06902
Gary Wasserman                                                             Address Redacted
Gas Generator Solutions                                                    Suite 106 14476 Duval Place West                                                  Jacksonville       FL           32218
Gates Creative LLC                                                         Suite 705 17 W. 17th Street                                                       New York           NY           10011
GAYLETTER LLC                                                              195 Chrystie St                        Suite 600A                                 New York           NY           10002
Gaynor, Anna                                                               Address Redacted
GB c/o Bryce Dalzin                                                        Address Redacted
GEA EQUIPAMENTOS E SOLUCOES S.A.                                           AVENIDA MERCEDES BENZ 679                                                         CAMPINAS           SP           13054-750     Brazil
GEA Mechanical Equipment US, Inc.                                          100 Fairway Ct.                                                                   Northvale          NJ           07647




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Gehrmann, Nicole                                                           Address Redacted
Gelest Inc                                                                 P.O Box 789586                                                                 Philadelphia           PA           19178-9586
Gen Digital, Inc.                      NortonLifeLock, Inc.                STE 1000 60 E Rio Salado Pkwy                                                  Tempe                  AZ           85281
Genemarkers LLC                                                            126 E. South St.                                                               Kalamazoo              MI           49007
General Air Compressors North          C/O GGK Enterprises, Inc.           2272 Hoover Avenue                                                             Modesto                CA           95354
General Security                                                           1507 Union Cross Road                                                          Kernersville           NC           27284
Genesee Scientific Corporation                                             900 Vernon Way, Suite 101                                                      El Cajon               CA           92020
Genesky, Geoffrey                                                          Address Redacted
Genevac Inc                            SP Genevac Inc                      935 Mearns Rd.                                                                 Warminster             PA           18974
Genewiz, LLC                                                               PO BOX 3865                                                                    Carol Stream           IL           60132
Genista Biosciences                                                        5285 Hllyer Avenue, Suite 120                                                  San Jose               CA           95138
GenScript Corp.                                                            860 Centennial Ave                                                             Piscataway             NJ           08854
Geodis USA Inc.                        Geodis Wilson USA Inc               62216 Collections Center Drive                                                 Chicago                IL           60693-0622
Geoffrey Duyk MD PhD                                                       Address Redacted
Geordian Abel                                                              Address Redacted
George, Kevin                                                              Address Redacted
Georgia Department of Revenue          Processing Center                   Processing P.O Box 740317                                                      Atlanta                GA           30374-0317
Georgia Williams                                                           Address Redacted
GERGANA IVANOVA                                                            Address Redacted
Gerstel Inc                                                                701 Digital Drive Suite J                                                      Linthicum              MD           21090
Get Lucky Films LLC                                                        280 E Del Mar Blvd                    Apt 142                                  Pasadena               CA           91101
GFL Enviornmental                                                          P.O. Box 791519                                                                Baltimore              MD           21279-1519
GFL Environmental                      Attn: Bankruptcy/Legal Dept.        P.O. Box 791519                                                                Baltimore              MD           21279-1519
GHIA / Attn: Melanie Masarin                                               Address Redacted
GHX Industrial, LLC                                                        Dept 207 P.O. Box 4346                                                         Houston,               TX           77210-4346
GIANI MING VALENT                                                          Address Redacted
Gibson, Dunn & Crutcher LLP                                                333 South Grand Avenue                                                         Los Angeles            CA           90071
Gibson, Dunn & Crutcher LLP                                                333 South Grand Avenue                                                         Los Angeles            CA           90071
Gibson, Richard                                                            Address Redacted
Gierach, Jill                                                              Address Redacted
Gift Lines Kft,                        Gift Lines Kft,                     Forgach utca 9/B                                                               Budapest 01139                                    Hungary
Gigante, Kiana Mae                                                         Address Redacted
Gilic, Milos                                                               Address Redacted
Gill, Mandip                                                               Address Redacted
Gill, Surjit                                                               Address Redacted
Giller, Kate                                                               Address Redacted
Gilligan, Melissa                                                          Address Redacted
Gilmore, Ian                                                               Address Redacted
Gilmore, Misti                                                             Address Redacted
Giltner Logistics, Inc                                                     834 Falls Ave. Suite 1220                                                      Twin Falls             ID           83321
Gina Kohler                                                                Address Redacted
Gina Lee                                                                   Address Redacted
Gina Marí Skincare / Attn: Gina Marí                                       Address Redacted
Gina Mooers                                                                Address Redacted
Ginkgo BioWorks                                                            27 Drydock Ave                                                                 Boston                 MA           02210
Ginsey Industries Inc.                                                     2078 Center Square Road                                                        Swedesboro             NJ           08085
Gio Aquino                                                                 Address Redacted
Giovanni Bianco                                                            Address Redacted
Giovanni Cardenas                                                          Address Redacted
Gitlab Inc.                                                                #350 268 Bush Street                                                           San Francisco          CA           94104
Givaudan Deutschland GmbH                                                  Giselherstrasse 11                                                             DORTMUND                            44319         Germany
GIVAUDAN DO BRASIL LTDA                                                    AV. ENGENHEIRO BILLINGS 2185                                                   SAO PAULO              SP           05321-010     Brazil
Givaudan Flavors Corporation                                               1199 Edison Drive                                                              Cincinnati             OH           45216
Givaudan Fragrances Corporation                                            Dept 2549 Givaudan Fragrances Corpo                                            Carol Stream           IL           60132
Givaudan Hungary Kft                                                       Királyhegyesi út 3.                                                            MAKO                                6900          Hungary
Givaudan Iberica, S.A                                                      Pla d'en Batlle, s/n                                                           SANT CELONI            08           8470          Spain
Givaudan International SA                                                  5, Ch. de la Parfumerie,                                                       Vernier                             1214          Switzerland
Givaudan Netherlands B.V.                                                  Postbox 2                                                                      BUSSUM                 08           1400 CA       Netherlands
Givaudan Schweiz AG                                                        Neugutstrasse 46                                                               DUEBENDORF                          8600          Switzerland
Givaudan Suisse SA                                                         Ajinomoto Omnichem N.V.                                                        Balen                  01           2490          Belgium
Givaudan Suisse SA                     Finance - Accounts Payable          Chemin de la Parfumerie 5                                                      Vernier                GE           1214          Switzerland
Gkionis, Ekaterini                                                         Address Redacted
GL Sciences                                                                Suite 200 609 Deep Valley Dr.                                                                         CA           90274
Glass of Glam                                                              2401 North Janssen Avenue             Unit 406                                 Chicago                IL           60614
Glassdoor, Inc.                                                            P.O. BOX 123436                                                                DALLAS                 TX           75312-3436
Glentham Life Sciences Ltd.                                                Unit 5 Leafield Way                                                            Corsham                WI           SN13 9SW      United Kingdom
Glick, Aaron                                                               Address Redacted
Glickman, Jamie                                                            Address Redacted
Global Compact Network USA, Inc.                                           12th FLoor 685 Third Avenue                                                    New York               NY           10017-8409
Global Data UK Ltd                                                         John Carpenter House                                                           London                              EC4Y 0AN      United Kingdom
Global Equipment Company                                                   29833 Network Place                                                            Chicago                IL           60673
Global Experience Specialists Inc                                          7000 South Lindell Road                                                        Las Vegas              NV           89118
Global Image Factory, Inc.                                                 Suite200Z2 1000 5th Street                                                     Miami Beach            FL           33139
Global Ingredients SAC                                                     Americo Vespucio 208                                                           Lima                   06           00015-012     Peru
Global Ingredients SAC                                                     Cal. Americo Vespucio 208.                                                     La Molina. Lima-Perú                15026         Peru
Global Life Sciences Solutions                                             100 Results Way                                                                Marlborough            MA           01752
Global Life Sciences Solutions USA     Cytiva                              PO BOX 643065                                                                  Pittsburgh             PA           15264
Global Prior Art, Inc.                 Global Competitiveness, Inc.        21 Milk St                                                                     Boston                 MA           02109-5484
Global Process Automation                                                  Suite 110 3333 Jaekle Dr.                                                      Wilmington             NC           28403




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Global Rabbits, LLC                                                                              3505 East Royalton Rd                     Suite 100                                  Broadview Heights   OH              44147
Global Retirement Partners, LLC                                                                  4340 Redwood Hwy, Suite B-60                                                         San Rafael          CA              94903
Global Sage Ltd.                                                                                 802-4 Wilson House                                                                                                       00000         Hong Kong
Global4PL                                                                                        1525 McCarthy Blvd                        Suit 1008                                  Milpitas            CA              95035
Global4PL Supply Chain Services                                                                  1525 McCarthy Blvd., Suite 1008                                                      Milpitas            CA              95035
Global4PL Supply Chain Services                    Attn: Sergio Retamal                          1525 McCarthy Blvd                        Suite 1008                                 Milpitas            CA              95035
Global4PL Supply Chain Services                    Attn: Sergio Retamal                          1525 McCarthy Blvd                        Suite 1008                                 Milpitas            CA              95035

Global4PL Supply Chain Services (Sergio Retamal)                                                 1525 McCarthy Blvd.                       Suite 1008                                 Milpitas            CA              95035
Glossy / Sara Spruch-Feiner                                                                      Address Redacted
Glow Art LLC dba Gloss Studio                                                                    137 W 25th Street                         9th Floor                                  New York            NY              10001
Glowopedia                                                                                       1028 Samish Way                                                                      Bellingham          WA              98229
GLSEN INC                                                                                        110 William St.                           30th Floor                                 New York            NY              10038
Glsmed Trade, S.A.                                                                               Rua Carlos Alberto da Mota nº17, 9º                                                  Lisboa                              1070-313      Portugal
Glycotech Inc                                                                                    2271 Andrew Jackson Hwy                                                              Exterior            NC              28541
GMP Labeling Inc.                                                                                6806 Fallsbrook Ct.                                                                  Granite Bay         CA              95746
GNT USA, Inc.                                                                                    660 White Plains Road                                                                Tarrytown           NY              10591
Gobena, Bontu                                                                                    Address Redacted
God and Beauty LLC                                                                               #201 4568 W 1st                                                                      Los Angeles         CA              90004
GoEngineer Inc                                                                                   739 E Fort Union Blvd.                                                               Midvale             UT              84047
GoFundMe                                           GoFundMe for Aviva                            855 Jefferson Ave                                                                    Redwood City        CA              94063
Goh, Chooi Li                                                                                    Address Redacted
Gold Biotechnology                                                                               1328 Ashby Rd.,                                                                      St Louis            MO              63132
Gold Biotechnology, Inc.                                                                         1328 Ashby Road                                                                      Saint Louis         MO              63132
Goldsby, Gwendolyn                                                                               Address Redacted
Goldwert, Lindsay                                                                                Address Redacted
Golladay, Maureen                                                                                Address Redacted
GoMakeIt Labs, Inc.                                                                              suite 703 68 jay street                                                              Brooklyn            NY              11201
Gomez, Gladys                                                                                    Address Redacted
Gonzales, Cynthia                                                                                Address Redacted
Gonzalez, Cesar                                                                                  Address Redacted
Gonzalez, Rocio                                                                                  Address Redacted
good grit, Inc.                                                                                  Apt. B 1217 N Curson Avenue                                                          West Hollywood      CA              90046
Good Health                                                                                      503 Harrison Ave                                                                     Centralia           WA              98531
Good Houskeeping/ attn: April Franzino                                                           Address Redacted
Goodall Brazier LTD                                                                              1 Park Row                                                                           Leeds               N Yorkshire     LS1 5HN       United Kingdom
Goode, Jorgelina                                                                                 Address Redacted
GOODEE                                             BMS Logistics Inc / Attn: Georgia Antginas    3915 South 48th Terrace                                                              Saint Joseph        MO              64503
GOODEE                                             GOODEE                                        2600 Avenue Pierre Dupuy                  #645                                       Montreal            QC              H3C3R6        Canada
Goodwin Procter LLP                                                                              100 Northern Avenue                                                                  Boston              MA              02210
Goodwin Procter LLP                                                                              Exchange Place                                                                       Boston              MA              02109
                                                   Attn: Michael H. Goldstein and Alexander J.
Goodwin Procter LLP                                Nicas                                         620 Eighth Avenue                                                                    New York            NY              10018
                                                   Attn: Michael H. Goldstein and Alexander J.
Goodwin Procter LLP                                Nicas                                         620 Eighth Avenue                                                                    New York            NY              10018
Goodwin, Marcus                                                                                  Address Redacted
Google LLC                                                                                       1600 Amphitheatre Pkwy                                                               Mountain View       CA              94043
GOOP                                                                                             Address Redacted
GOOP                                                                                             Address Redacted
GOOP Inc.                                          GOOP Inc.                                     125 Castle Rd                                                                        Secaucus            NJ              07094
GOOP Inc.                                          GOOP Inc.                                     3019 Wilshire Blvd. Ste 206                                                          Santa Monica        CA              90403
Goop, Inc                                                                                        3019 Wilshire Blvd                        Suite 206                                  Santa Monica        CA              90403
Gopinathan K. Menon                                                                              Address Redacted
Gordon Rees Scully Mansukhani, LLP                                                               Suite 1700 1111 Broadway                                                             Oakland             CA              94607
Gordon, Isabella                                                                                 Address Redacted
Gordon, Zachary                                                                                  Address Redacted
Gore, Catherine                                                                                  Address Redacted
Gore, Sara                                                                                       Address Redacted
Goree, Olivia                                                                                    Address Redacted
Gorvette Media Limited                                                                           Oak Lodge Lynn Road                                                                  Gayton              NK              PE32 1QJ      United Kingdom
Gotham Architectural & Sign Inc.                                                                 240 Meserole Street                                                                  Brooklyn            NY              11206
Governance & Accountability Inst.                  G&A                                           85 Marjorie Ct                                                                       Manhasset           NY              11030
GP Quinlam                                         Omega Sales & Marketing                       1470 Civic Court, Suite 310                                                          Concord             CA              94520
GPIMETERS.COM LLC                                                                                21 Gail Court                                                                        Sparta              NJ              07871
GPL Enterprises Inc                                The Toner Exchange                            3305 Kitty Hawk Road                                                                 Wilmington          NC              28405
GR0.com LLC                                                                                      12405 Venice Blvd. #340                                                              Los Angeles         CA              90066
Grace Gold                                                                                       Address Redacted
Grace Gordon                                                                                     Address Redacted
Grace Worldwide (Australia) Pty Ltd                                                              Locked Bag 2010                                                                      Seven Hills         NSW             2147          Australia
Graceland Properties LLC                                                                         6807 US Hwy 62 W                                                                     Bardwell            KY              42023
Grade A Design                                                                                   PO Box 431-132 West Merrick Road                                                     Freeport            NY              11520
Graebel Companies Inc                                                                            P.O. Box 71775                                                                       Chicago             IL              60694
Graham Adair, Inc.                                                                               502 W 30th St                                                                        Austin              TX              78705
Graham, Jessica                                                                                  Address Redacted
Graham, John                                                                                     Address Redacted
Grain Processing Corporation                                                                     25560 Network Place                                                                  Chicago             IL              60673-1255
Grainger                                           C/O WW Grainger Inc                           DEPT 873718134                                                                       Palatine            IL              60038
Grand Wailea / ATTN: Hillary Sandbach                                                            Address Redacted
Grant Industries                                                                                 125 Main Ave                                                                         Elmwood             NJ              07407




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                  Creditor Name                                       Attention                          Address 1                                     Address 2                        Address 3           City             State         Zip               Country
Graphic Products, Inc.                                                                 P.O. Box 4030                                                                                                Beaverton       OR               97076-4030
Grapov, Dmitry                                                                         Address Redacted
Graver Technologies LLC                             Marmon Water Inc.                  200 Lake Drive                                                                                               Glasgow         DE               19702
Gray Sorrenti                                                                          Address Redacted
Gray, Adrianna                                                                         Address Redacted
Gray, Hope                                                                             Address Redacted
GRAYSON DE VERE                                     GRAYSON DE VERE                    23 Lewis Street                                                                                              Greenwich       CT               06830
GRAYSON DE VERE                                     Kiki Nix                           GRAYSON DE VERE                                   88 Greenwich Avenue                                        Greenwich       CT               06830
GRBJ EMPREENDIMENTOS EIRELI                                                            AV DANIEL DE LA TOU 987, LOJA 313 B                                                                          SAO LUIS        MA               65074-115      Brazil
Great American Capital Partners                                                        11100 Santa Monica Blvd, Suite 800                                                                           Los Angeles     CA               90025
Great Bowery (UK) Limited T/A MAP                                                      Willow House 72-74 Paul Street                                                                               London                           EC2A 4NA       United Kingdom
Great Bowery (UK) Ltd                                                                  47 - 49 Borough High St                                                                                      London          London           SE1 1NB        United Kingdom
GRECE GHANEM                                                                           Address Redacted
Green lane GmbH                                     Green lane GmbH                    Limmatquai 116                                                                                               Zurich 08001                                    Switzerland
Green lane GmbH                                     Green lane GmbH                    Mühlegasse 21                                                                                                Zurich 801                                      Switzerland
Green Valley Marketplace:Green Valley Marketplace -
Arnold                                                                                  1238 Bay Dale Drive                                                                                         Arnold          MD               21012
Green Valley Marketplace:Green Valley Marketplace -
Bel Air                                                                                 302 Mauser Dr                                                                                               Bel Air         MD               21015
Green Valley Marketplace:Green Valley Marketplace -
Pasadena                                                                                8095 Edwin Raynor Blvd.                                                                                     Pasadena        MD               21122
Green Wave Ingredients, Inc                         IngredientsOnline.com               Suite A 13875 Cerritos Corporate Dr                                                                         Cerritos        CA               90703
Green, Anais                                                                            Address Redacted
Green, Paul                                                                             Address Redacted
Green, Rebecca                                                                          Address Redacted
Green,Rebecca                                                                           2271 Andrew Jackson Hwy.                                                                                    Leland          NC               28451
Greenberg Glusker LLP                                                                   Suite 2600 2049 Century Park East                                                                           Los Angeles     CA               90067
Greenberg Traurig LLP                                                                   One International Place                                                                                     Boston          MA               02110
GreenBridge Technology Services Inc                                                     11419 Blue Blossom Road                                                                                     Charlotte       NC               28277
Greenhaus, Inc.                                                                         2660 First Avenue                                                                                           San Diego       CA               92103
Greenmarket Purveying Co.                                                               47 Runway Rd                                     Suite C                                                    Levittown       PA               19057
Greenroom Inc                                                                           2801 N Madison                                                                                              Denver          CO               80205
Greenwood Brands LLC                                                                    4455 Genesee St                                                                                             Buffalo         NY               14225

Greenwood Brands, LLC - Wine Barrel Holdings LLC Greenwood Brands, LLC                  4455 Genesee Street                                                                                         Cheektowaga     NY               14225

Greenwood Brands, LLC - Wine Barrel Holdings LLC RJW                                    950 W Renwick                                                                                               Romeoville      IL               60446
Greg Carter                                                                             Address Redacted
Gregory Apollon dba LAN Party Studios                                                   146-31 223st                                                                                                Springfield     NY               11413
Gregory Poole                                                                           Address Redacted
GRENADINE PR - Attn: Lorene Cottura                                                     Address Redacted
GRENADINE RP                                                                            91 RUE FAUBOURG ST HONORE                                                                                   Paris           France           75008          France
Greta Brooks                                                                            Address Redacted
Grewal, Karishma                                                                        Address Redacted
Grey-Simmons, Kenneth Thomas                                                            Address Redacted
Griffin, Shannon                                                                        Address Redacted
Griffiths, Emma                                                                         Address Redacted
GRIN Technologies, Inc.                                                                 400 Capitol Mall Suite 900                                                                                  Sacramento      CA               95814
GRIN Technologies, Inc.                                                                 Suite 900 400 Capitol Mall                                                                                  Sacramento      CA               95814
Grocery Outlet, Inc                              Grocery Outlet Warehouse               4400 Florin Perkins Road                                                                                    Sacramento      CA               95826
Grocery Outlet, Inc                              Grocery Outlet, Inc                    5650 Hollis Street                                                                                          Emeryville      CA               94608
Ground Force Logistics                                                                  Suite 820 50 Park Place                                                                                     Newark          NJ               07102
Group Delphi Exhibits LLC                        Sparks Marketing LLC                   2828 Charter Road                                                                                           Philadelphia    PA               19154
Group Nine Media, Inc.                                                                  PO Box 75041                                                                                                Chicago         IL               60675â€�5041
Groupaya                                                                                424 Alvarado Street                                                                                         San Francisco   CA               94114
Groves, Benjamin                                                                        Address Redacted
GS1 US, Inc.                                                                            DEPT 781271, PO BOX 78000                                                                                   DETROIT         MI               48278-1271
GTE Consultores, SA                              Gabinete Técnico de Consultadoria      e Gestão de Empresas, SA                         R. Basílio Teles 35 - 3º Dto                               Lisboa          31               1070           Portugal
GTE Consultores, SA                              Gabinete Técnico de Consultadoria      R. Basílio Teles 35 - 3º Dto                                                                                Lisboa          31               1070           Portugal

Guangzhou Lisson Plastic Co., Ltd.                                                      Lisson Mansion, Hi- Technology Industrial Park                                                              Guongzhou       å¹¿ä¸œçœ�        510540         China
GUARACY ARTIGOS DO VESTUARIO LTDA                                                       RUA ALEXANDRE MARTINS 80, LOJA 166                                                                          SANTOS          SP               11025-200      Brazil
GUARANA BRASIL DIFUSAO DE MODA LTDA                                                     AV MAGALHAES DE CASTRO 12000                                                                                SAO PAULO       SP               05676-900      Brazil
Gucci Westman                                                                           Address Redacted
Guidepoint Global, LLC                                                                  2nd Floor 675 Avenue of the America                                                                         New York        NY               10010
Guidry, Trevor                                                                          Address Redacted

Guilherme Miranda x Futura Eletricidade e Telefonia
EIRELI - Amyris Fermentação de Performance LTDA ANDRE CAPOBIANCO MORANDO                João Ferraz Neto Street                          1000                           Jaú/SP/Brazil                                                               Brazil
Gulati, Sapna                                                                           Address Redacted
Gulfstream Steel & Supply, Inc.                                                         P.O. Box 38                                                                                                 Holly Ridge,    NC               28445
Gupta, Ankita                                                                           Address Redacted
Gurkin Construction                                                                     P.O. Box 706 971 Fertilizer Road                                                                            Riegelwood,     NC               28456
Gurr, Joshua                                                                            Address Redacted
Gusis, Alejandro                                                                        Address Redacted
GUSTAVO LATARO RODRIGUES                                                                AVENIDA OSWALDO FIGUEIREDO 210                                                                              LIMEIRA         SP               13481-280      Brazil
Gutierrez, Mariless                                                                     Address Redacted
Guzman, Rachel                                                                          Address Redacted
GXO Logistics Supply Chain, Inc                                                         4043 Piedmont Parkway                                                                                       High Point      NC               27265




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                   Creditor Name                                 Attention                              Address 1                          Address 2                      Address 3             City                 State           Zip            Country
Gympass US LLC                                                                      Fl. 2 490 Broadway                                                                                  New York             NY              10012
H Beauty                                                                            Address Redacted
H.A.M. Creations Pte Ltd                                                            15 Tai Seng Drive                         #02-01                                                    Singapore            Singapore       535220        Singapore
H.C. Wainwright & Co., LLC                     Rodman & Co., LLC                    430 Park AvenueM, 4th Floor                                                                         New York             NY              10022
H2O Print Media, Inc.                                                               16526 W. 78th St. #359                                                                              Eden Prairie         MN              55346
Ha, Jamie                                                                           Address Redacted
Ha, Lawrence                                                                        Address Redacted
Hadfield, Caroline                                                                  Address Redacted
Haejeon Lee                                                                         Address Redacted
Hagemann, Christopher                                                               Address Redacted
Hahn, Mathew                                                                        Address Redacted
Hailey, Janelle                                                                     Address Redacted
Hailu, Getahun                                                                      Address Redacted
Hal Alper                                                                           Address Redacted
Halal Food Council of Europe                                                        Rue de la Presse 4                                                                                  Brussels                             1000          Belgium
Halenbeck, Meredith                                                                 Address Redacted
Haley Schwartz                                                                      Address Redacted
Hallie Gould                                                                        Address Redacted
Halweg-Edwards, Andrea                                                              Address Redacted
Hamilton Company                                                                    PO Box 10030                                                                                        Reno                 NV              89520
Hamilton Storage Technologies Inc                                                   PO Box 86                                                                                           Minneapolis          MN              55486-2711
Hamilton, David                                                                     Address Redacted
Hamricks                                                                            742 Peachoid Road                                                                                   Gaffney              SC              29341
Han, Seung-Hoon                                                                     Address Redacted
Handit2 Network LLC                                                                 8892 Gray Fox Dr                                                                                    Evergreen            CO              80439
Handler, Susan                                                                      Address Redacted
Handy, Francis                                                                      Address Redacted
Hanft Ideas LLC                                                                     50 Astor Lane                                                                                       Sands Point          NY              11050
HANGZHOU KEXING BIOCHEM CO., LTD                                                    Dongzhou Industrial Zone, Fuyang                                                                    Hangzhou             130             311400        China
Hangzhou Xinfu Science                         & Tech Co. Ltd.                      No. 9, Shanggua Fan, Jinnan Street                                                                  Lin'an City          130             311301        China
Hanna Hillier                                                                       Address Redacted
Hannah Kleit                                                                        Address Redacted
Hannah Robinson-Denning Ltd.                                                        260 -270 Great Marlings                                                                             Butterfield                          LU2 8DL       United Kingdom
Hannah Whiting                                                                      Address Redacted
Hannigan, Alyssa                                                                    Address Redacted
Hansen, Nicole                                                                      Address Redacted
Hanson Bridgett LLP                                                                 26th Floor 425 Market Street                                                                        San Francisco        CA              94105
Hanson Lab Solutions, Inc.                                                          747 Calle Plano                                                                                     Camarillo            CA              93012
Hanson, Jr, Richard                                                                 Address Redacted
Hapag-Lloyd (America) LLC                                                           399 Hoes Lane                                                                                       Piscataway           NJ              08854
Happy Farm Botanicals                                                               Address Redacted
Happy Farms Botanicals / Attn: Eric Jacobson                                        Address Redacted
Happy Farms Botanicals, Inc.                                                        3708 WEST STREET                                                                                    Hyattsville          MD              20785
HAPPYMONDAY LLC                                                                     605 Manhattan Ave                         Apt 6                                                     Brooklyn             NY              11222
Harbinger Creative Inc                                                              175 East Broadway                         5A                                                        New York             NY              10002
Harcombe, Belinda                                                                   Address Redacted
HARD CAR Security LLC                                                               12142 Severn Way                                                                                    Riverside            CA              92504
Hardy Diagnostics                                                                   PO Box 645264                                                                                       Cincinnati           OH              45264-5264
Harmon | Pipette                               Harmon                               5402 E. El Campo Grande Ave.                                                                        North Las Vegas      NV              89115
Harmon | Pipette                               Harmon Discount Warehouse            11 Taft Road                                                                                        Totowa               NJ              07512
Harmon | Pipette                               Liberty Procurement Co. Inc          650 Liberty Avenue                                                                                  Bensalem             PA              19020
Harmon, Chastity                                                                    Address Redacted
Haro, Molly                                                                         Address Redacted
Harper + Scott LLC                                                                  915 Broadway                              Suite 1206                                                New York             NY              10010
Harper, Connor                                                                      Address Redacted
Harper's Bazaar/ Attn Jamie Wilson                                                  Address Redacted
HARRIET WILSON                                                                      Address Redacted
HARRIET WILSON                                                                      Address Redacted
HARRIET WILSON                                                                      Address Redacted
HARRIET WILSON/ AI PR                                                               Address Redacted
Harrington Industrial Plastics LLC                                                  P.O. Box 5128                                                                                       Chino                CA              91708-5128
Harrington, Kevin                                                                   Address Redacted
Harrison Legal                                                                      228 Park Ave. South, #97956                                                                         New York             NY              10003-1502
Harrison, Brett                                                                     Address Redacted
Harrods Ltd - Costa Brazil                     Distribution                         Harrods Ltd. / Attn: Chris Willsher       Unit 1 Mill Lane                                          Thatcham RG19 4AL                                  United Kingdom
Harrods Ltd - Costa Brazil                     Harrods Ltd                          87-135 Brompton Road                      Knightsbridge                                             London                               SW1X 7XL      United Kingdom
Harrods Ltd - Costa Brazil                     Harrods Ltd, Accounts Payable Dept   Finance 2nd Floor                         68 Hammersmith Road                                       London                               W14 8YW       United Kingdom
Harrods Ltd - Costa Brazil                     Thames Valley DC (Harrods)           Unit 1 - Mill Lane                                                                                  Thatcham                             RG19 4AL      United Kingdom
Harrods Ltd- Biossance                         Harrods Ltd                          Thames Valley Distribution Centre         Unit 1 - Mill Lane                                        Thatcham             Berkshire       RG19 4AL      United Kingdom
Harrods Ltd- Biossance | UK                    Fiona McKay                          H Beauty Harrods (next to H&M)            St James Quarter              316-318 St James Crescent   Edinburgh EH1 3AE                                  United Kingdom
Harrods Ltd- Biossance | UK                    H Beauty                             H Beauty Bristol Harrods                  The Mall at Cribbs Causeway   Kessels Road Patchway       Bristol BS34 5DG                                   United Kingdom
Harrods Ltd- Biossance | UK                    Megan Hargreaves                     H Beauty Milton Keynes - Harrods          centre:mk                     28 Acorn Walk               Milton Keynes                        MK9 3AD       United Kingdom

Harrods Ltd- Biossance | UK                    Rebecca Oley                         H beauty Gateshead (Newcastle) Harrods    St. Michaels Wy.              Metrocentre                 Gateshead NE11 9YG                                 United Kingdom
Harrods Receiving Bank / FAO: Abigail Prince                                        Address Redacted
Harte Hanks                                                                         Address Redacted
Hartman, Amy                                                                        Address Redacted
Harus Industria e ComÃ©rcio de CosmÃ©ticos
LTDA                                                                                Avenida Wilson Sabio de Mello 4100                                                                  Franca               SP              14.406-209    Brazil




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Harus Industria e Comércio de Cosméticos LTDA                                         Avenida Wilson Sabio de Mello 4100                                                                     SP                                 14.406-209   Franca
Harvard Medical School DF/HCC                      DNA Resource Core                  C2 Room 204; 240 Longwood Ave                                                                          Boston             MA              02115
Harvest Energy, Inc.                                                                  2820 Division Ave S                                                                                    Grand Rapids       MI              49548
Hatch.IM LLC                                                                          1741 3rd St                                                                                            Manhattan Beach    CA              92066
Hatchett, Philip                                                                      Address Redacted
Hatchett, Taiya                                                                       Address Redacted
Hauptman Ham, LLP                                                                     Suite 1400 2318 Mill Road                                                                              Alexandria         VA              22314
Havas Formula LLC                                                                     1215 Cushman Ave                                                                                       San Diego          CA              92110
HAW SRL                                                                               VIA PRIVATA ROBERTO BRACCO 6                                                                           MILANO             ITALY           20159        Italy
Hawes, Jasmin                                                                         Address Redacted
Hawkins, Suzanne                                                                      Address Redacted
Hawmi Guillebeaux                                                                     Address Redacted
Haws Consulting Group                              Raymond V Haws, Inc                #222 901 Campisi Way                                                                                   Campbell           CA              95008
Hawthorne, Brian                                                                      Address Redacted
Haydon Kerk Motion Solutions, Inc.                                                    PO Box 30000                                                                                           Hartford           CT              06150
Hayes-Curry, Mark                                                                     Address Redacted
Hazard Solutions LLC                               C/O Arthur Mahoney                 326 Sonora Drive                                                                                       San Mateo          CA              94402
Hazmatpac Inc                                                                         Suite 400 30310 Emerald Valley Park                                                                    Glenwillow         OH              75267-0573
HCP Packaging Hong Kong Limited                                                       Room 1317 77 Leighton Road, Causewa                                                                    Hong Kong                          0            Hong Kong
HCP Packaging Hong Kong Limited                                                       Room 508, 5/F, K. Wah Center                 191 Java Road, North Point                                Hong Kong                                       China
He, Qian                                                                              Address Redacted
Healthy Lifestyle Brands, LLC                                                         Suite 300 5141 N. 40th Street                                                                          Phoenix            AZ              85018
Healthy Living                                                                        15845 HWY 105 WSTE 100                                                                                 Montgomery         TX              77356
Hearst / Jessica Roy                                                                  Address Redacted
Hearst Magazine Media                                                                 28th Floor 300 West 57th Street                                                                        New York           NY              10019
Hearst Magazine Media                                                                 300 West 57th Street                         28th Floor                                                New York           NY              10019
Hearst Magazine Media                                                                 300 West 57th Street                         28th Floor                                                New York           NY              10019
Heather                                                                               Address Redacted
Heather Hazzan LLC                                                                    410 W 24th St                                Apt 6J                                                    New York           NY              10011
Heather McDermott                                                                     Address Redacted
Heather Muir                                                                          Address Redacted
Heaven Scent                                       Heaven Scent                       Øvre Slottsgate 18/20                                                                                  Oslo 00157                                      Norway
Heaven Scent                                       Ingvild Toft Waehler               Heaven Scent                                 ORG # 991919856              Operagata 75 B               Oslo 00194                                      Norway
Heavy Atelier, Inc.                                                                   1160 N. Wiatt Way                                                                                      La Habra           CA              90631
HEB Grocery Company LP | Pipette                   HEB Grocery Company LP             380 Wonder World drive                                                                                 San Marcos         TX              78666
HEB Grocery Company LP | Pipette                   HEB Grocery Company LP             PO Box 839977                                                                                          San Antonio        TX              78283
                                                                                      Yifan, The Intersection of Jinxiu Road and
Hefei Yifan Biotechnology & Pharmaceutical Co, Inc.                                   Qinglongtan Road, Shushan District                                                                     Hefei City         å®‰å¾½çœ�       230601       China
Heidrick & Struggles Inc                                                              1133 Paysphere Circle                                                                                  Chicago            IL              60674
Heike Leming                                                                          Address Redacted
Heil, Aaron                                                                           Address Redacted
HEINKEL USA Drying & Separation Gro                                                   520 Sharptown Rd.                                                                                      Swedesboro         NJ              08085
Heitfeld, Joseph                                                                      Address Redacted
HEITOR DELIVIO SANCHES SALINAS                                                        JAMES CLERCK MAXWELL 315                                                                               CAMPINAS           SP              13069-380    Brazil
Hela Gawrzyalska                                                                      Address Redacted
Helen Kupfer Haas                                                                     Address Redacted
Helen Kupfer Haas                                                                     Address Redacted
HELEN KUPFER/HKH                                                                      Address Redacted
Helena Christensen                                                                    Address Redacted
Hello Adhesive Creative Consulting                                                    P.O. Box 535                                                                                           Boliand            CA              94924
Helmink, Kathryn                                                                      Address Redacted
Helms, Stephanie                                                                      Address Redacted
Hemming Morse LLP                                                                     #410 1390 Willow Pass Road                                                                             Concord            CA              94520
Henderson, William                                                                    Address Redacted
Hendricks, Hailey                                                                     Address Redacted
Hendricks, Sean                                                                       Address Redacted
Hendriksen Ventures LLC                             Derk Hendriksen                   1097 Mclynn Ave                                                                                        Atlanta            GA              30306
Heniff Transportation Systems                                                         Suite 780 2015 Spring Road                                                                             Oak Brook          IL              60523
Henry C. Levy                                       Tax Collector, Alameda County     1221 Oak Street                                                                                        Oakland            CA              94612-4286
Henry C. Levy, Treasurer                            Attn: Bankruptcy/Legal Dept.      1221 Oak St.                                 Rm. 131                                                   Oakland            CA              94612
Henry, Ronald                                                                         Address Redacted
Henson, Staneisha                                                                     Address Redacted
Heraeus Inc                                                                           15524 Carmenita Rd.                                                                                    Santa Fe Springs   CA              90670
Herbal Consultants Private Limited                                                    9, RAKHEE VASANT UTSAV, THAKUR VILL                                                                    MUMBAI             13              400101       India
Herbert Kirkpatrick Robbins                                                           1325 Quail Run Cir                                                                                     Bentonville        AR              72712
Herc Rentals                                                                          P.O. Box 936257                                                                                        Atlanta            GA              31193
Herico, Janet                                                                         Address Redacted
Herman Prager III                                                                     Address Redacted
HerMD                                               HerMD                             8350 East Kemper Road, Suite A                                                                         Cincinnati         OH              45249
HerMD                                               Jennifer Bravo                    HerMD                                        7020 Berry Farms Crossing    Suite 100                    Franklin           TN              37064
HerMD                                               Jessica Greene                    HerMD                                        885 Monon Green Blvd         Suite 118                    Carmel             IN              46032
Hernandez, Damaris                                                                    Address Redacted
Hernandez, Guadalupe                                                                  Address Redacted
Hernandez, Jennifer                                                                   Address Redacted
Hero Collective LLC                                                                   9 Broderick St.                                                                                        San Francsico      CA              94117
Herrera, Mayra                                                                        Address Redacted
Herrmann, Stanley                                                                     Address Redacted
HexisLab Limited                                                                      The Catalyst, Newcastle Helix                                                                          Newcastle                          NE4 5TG      United Kingdom
HeyDay Wellness LLC                                                                   134 Spring Street                                                                                      New York           NY              10012




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                   Creditor Name                           Attention                            Address 1                           Address 2                       Address 3              City              State           Zip            Country
Hicks, Angela                                                                Address Redacted
Hidalgo-Acosta, Glorys                                                       Address Redacted
Higgs, Courtney                                                              Address Redacted
High Trail Capital                                                           9th Floor 221 River Street                                                                         Hoboken             NJ               07030
High10 Media LLC                                                             1 Robin Lane                                                                                       Shelter Island      NY               11964
HighRes Biosolutions                                                         102 Cherry Hill Drive                                                                              Beverly             MA               01915
Hikita, Nicholas                                                             Address Redacted
Hill Maufacturing Company, Inc.                                              1500 Jonesboro Road SE                                                                             Atlanta,            GA               30315
Hill, Donald                                                                 Address Redacted
Hill, Paul                                                                   Address Redacted
Hillary Ann Franchi                                                          Address Redacted
HILLDUN CORPORATION                                                          255 WEST 35TH STREET                                                                               NEW YORK            NY               10001
Hired Hands Models Ltd                                                       6 Carlton Road                                                                                     Romford             Lanarkshire      RM2 5AA       United Kingdom
Hiscox                                                                       5 Concourse Parkway                      Suite 2150                                                Atlanta             GA               30328
Hive Brands                               Hive Brands                        43 Rowan Road                                                                                      Chatham             NJ               07928
Hive Brands                               Resurge LLC.                       183 Three Brooks Road                                                                              Freehold            NJ               07728
Hive Brands                               Resurge LLC.                       630 Spice Island Drive                                                                             Sparks              NV               89431
HKH EURL                                                                     33-35 Boulevard Du Temple                                                                          Paris                                75003         France
HKH Paris / Attn: Helen Kupfer Haas                                          Address Redacted
HM Revenue & Customs                                                         Alexander House, 21 Victoria Avenue      Southend on Sea                                           Southend on Sea                      SS99 1BD      United Kingdom
HME COMERCIO DE ROUPAS E                  ACESSORIOS EIRELI                  AV GUILHERME CAMPOS 500, LJ 290                                                                    CAMPINAS            SP               13087-901     Brazil
HMRC Birmingham Stamp Office                                                 9th Floor City Centre House 30 Unio                                                                Birmingham                           B2 4AR        United Kingdom
Ho, Brendan                                                                  Address Redacted
Ho, Lana                                                                     Address Redacted
Ho, Ricky                                                                    Address Redacted
Hoang, Phon                                                                  Address Redacted
Hobbs, Jack                                                                  Address Redacted
Hochstrasser, Debbie                                                         Address Redacted
Hodges, Rachel                                                               Address Redacted
Hoffman, Aaron                                                               Address Redacted
Hogan, Kyle                                                                  Address Redacted
Hogeboom, Jason                                                              Address Redacted
HOLA NI HAO PTE LTD                                                          7 Kim Chuan Lane                                                                                   Singapore                            537071        Singapore
Hollescene Inc                                                               707 N. Ridgewood Pl                      Apt 203                                                   Los Angeles         CA               90038
Hollis R & D Associates                                                      1120 Nye Street                          Ste 400                                                   San Rafael          CA               94901
Hollis R & D Associates                                                      1120 Nye Street                          Ste 400                                                   San Rafael          CA               94901
Hollis R & D Associates                                                      6121 Hollis Street                                                                                 Emeryville          CA               94608
Hollis R & D Associates                                                      Suite 400 1120 Nye St                                                                              San Rafael          CA               94901
Hollis R & D Associates                   c/o Wareham Property Group         1120 Nye Street                          Suite 400                                                 San Rafael          California       94901
Hollis R & D Associates                   c/o Wareham Property Group         c/o Wareham Property Group               1120 Nye Street                  Suite 400                San Rafael          CA               94901
Hollis, Daniel                                                               Address Redacted
Holly Siegel                                                                 Address Redacted
Holmes & Brakel International Inc.                                           Suite 100 3014 N US HIGHWAY 301                                                                    Tampa               FL               33619
Holmes, Ashley                                                               Address Redacted
Holmes, Kenneth                                                              Address Redacted
Holmes, Victor                                                               Address Redacted
Holyfield, Ashlee                                                            Address Redacted
Homewood Metalworks, Inc.                                                    2430 Wise Rd                                                                                       Conway              SC               29526
HOMME SKIN CO LLC                         HOMME SKIN CO LLC                  9206 NORTHEDGE DRIVE                                                                               SPRINGFIELD         VA               22153
Honeywell Analytics                                                          P.O. Box 840067                                                                                    Dallas,             TX               75284-0067
Hong Kong Global Limited                                                     Level 6A, Cheung Kong Factory Building   5 Cheung Shun Street                                      Lai Chi Kok                          999077        Hong Kong
                                                                                                                      FLAT B5 1/F MANNING INDUSTRIAL                            Hong Kong, Kwun
Hong Kong Lisson Industry Limited                                           116-118 HOW MING STREET                   BUILDING                                                  Tong                                               China
Honigman, Marcela                                                           Address Redacted
Honor Hellon Productions Inc                                                361 Stagg Street #402                                                                               Brooklyn            NY               11206
Hoover Materials Handling Group           C/O Hoover Container Solutions    PO Box 732866                                                                                       Dallas              TX               75373-2866
Horiuchi, Clay                                                              Address Redacted
Horizon Scientific, Inc.                                                    PO Box 1797                                                                                         Summerville         SC               29484
Horton, Taylor                                                              Address Redacted
Horwood, Frederick                                                          Address Redacted
Hose and Fittings, Etc.                                                     1181 Enterprise Blvd                                                                                West Sacramento     CA               95691

HOTEL EMBLEM- ATTN: GUEST NADIA YOUSIF                                       Address Redacted
Hotel Guest: Regina Sanches                                                  Address Redacted
HOTEL SAO PAULO ADMINISTRADOR HOTEL                                          R SAO PAULO 2320                                                                                   BELO HORIZONTE      MG               30170-137     Brazil
Hotel Triton (Attn Guest: Nadia Yousif)                                      Address Redacted
Hou, Randy                                                                   Address Redacted
House of Beauty LLC                                                          21 Prospect Pl                                                                                     Riverhead           NY               11901
House of Grey Ltd                                                            1 Duchess Street                         Suite 1, First Floor                                      London              London           W1W 6AN       United Kingdom
House of Kala LLC                                                            1504 South Bronson Ave.                                                                            Los Angeles         CA               90019

Howard Tenens Logistics Ltd                                                  Unit B, Dolphin Rd                       The Dolphin Estate                                        Sunbury Upon Thames Surrey           TW16 7HE      United Kingdom
Howery, Nicholas                                                             Address Redacted
Hoye, Derek                                                                  Address Redacted
Hoyer (Global) USA, Inc.                                                     200 2100 Space Park Dr                                                                             Houston             TX               77058
HPCi Media Limited                                                           17 Mill Street                                                                                     London                               EC2Y 8BP      United Kingdom
HPM Systems Inc                                                              70 Sarotaga Ave Suite 200                                                                          Santa Clara         CA               95051
Hsiao, Victoria                                                              Address Redacted
Hsu, Jeffrey                                                                 Address Redacted




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                     Creditor Name                              Attention                             Address 1                          Address 2        Address 3               City        State           Zip            Country
Hsu, Kai-Wei                                                                       Address Redacted
HT Investments MA LLC                                                              9th Floor 221 River Street                                                         Hoboken            NJ           07030
Huang, Chong Wei                                                                   Address Redacted
Huang, Eric                                                                        Address Redacted
Huang, Foley                                                                       Address Redacted
Huang, Richard                                                                     Address Redacted
Huang, Shu Yin                                                                     Address Redacted
Huang, Yong                                                                        Address Redacted
HUB International Insurance Services                                               PO Box 4047                                                                        Concord            CA           94524-4047
HubSpot, Inc.                                                                      25 First Street                                                                    Cambridge          MA           02141
Hudson Cuneo Photography                     Hudson Matthew Cuneo                  4195 26th Street                                                                   San Francisco      CA           94131
Hudson Robotics                                                                    10 Stern Ave.                                                                      Springfield        NJ           07081
Hudsonville Creamery &                       Ice Cream Co., LLC                    Ste 200 345 East 48th Street                                                       Holland            MI           49423
Huenemann, Tracey                                                                  Address Redacted
Huerta Garcia, Emmanuel                                                            Address Redacted
Huerta, Lillian                                                                    Address Redacted
Huet, Didier                                                                       Address Redacted
Huge Conglomerate, LLC                                                             96 Schermerhorn Street                                                             Brooklyn           NY           11201
Hughes Network Systems LLC                                                         11717 Exploration Lane                                                             Germantown         MD           20876
Hughes, Season                                                                     Address Redacted
Hughes, Tiffany                                                                    Address Redacted
Hui, Jennifer                                                                      Address Redacted
Hulst & Handler LLP                                                                530 Divisadero Street #272                                                         San Francisco      CA           94117
HULU, LLC                                                                          2500 Broadway                            2nd Floor                                 Santa Monica       CA           90404
HUMANS INC DBA FLIP FIT                      FLIP - Los Angeles WH                 6098 Rickenbacker Road                                                             Los Angeles        CA           90040
HUMANS INC DBA FLIP FIT                      HUMANS INC DBA FLIP FIT               900 W HILLCREST BLVD                                                               INGLEWOOD          CA           90301
Humphries, Jacqueline                                                              Address Redacted
Hung Vanngo                                                                        Address Redacted
Hung Vanngo                                                                        Address Redacted
Hung, John                                                                         Address Redacted
Hung, Macy                                                                         Address Redacted
Hunter Amenities International Ltd.                                                1205 Corporate Drive                                                               Burlington         ON           L7L 5V5       Canada
Hurtt, Kevin                                                                       Address Redacted
Huth, Casey                                                                        Address Redacted
Huzza, LLC                                   Leann Kieft                           Huzza, LLC                               136 East Main Street                      Harbor Springs     MI           49740
HVN LLC                                                                            1918 TAFT AVE                                                                      Los Angeles        CA           90068
Hydraulic & Pneumatic Sales, Inc.                                                  P.O. Box 410587                                                                    Charlotte          NC           28241
Hy-Vee, Inc                                  Hy-Vee Chariton                       1802 Osceola Ave                                                                   Chariton           IA           50049
Hy-Vee, Inc                                  Hy-Vee Cherokee                       1010 Riverview Drive                                                               Cherokee           IA           51012
Hy-Vee, Inc                                  Hy-Vee, Inc                           5820 Westown Parkway                                                               West Des Moines    IA           50266
Hy-Vee, Inc. (Nicole Oneal)                                                        5820 Westown Pkwy                                                                  West Des Moines    IA           50266
I Love My Dog So Much LLC                                                          10 Overlook Ridge Drive, Unit 344                                                  Malden             MA           02152
I&I Detective Agency, LLC                                                          5905 Carolina Beach Rd. Suite # 9                                                  Wilmington         NC           28412
Iallonardo, Gino                                                                   Address Redacted
IANA VINOKUROV                                                                     Address Redacted
Ibarra, Jessica                                                                    Address Redacted
Iberex Consulting LLC                                                              7191 Sumption Drive                                                                New Albany         OH           43054
Ibotta, Inc.                                                                       1801 California Street Suite 400                                                   Denver             CO           80202
Ibotta, Inc.                                                                       Suite 400 1801 California St                                                       Denver             CO           80202
iCandy Inc.                                                                        6161 sw 19 st                                                                      Miami              FL           33155
ICC                                          International Court of Arbitration    Suite 14C 140 East 45th Street                                                     New York           NY           10017
Ice Cream Van Ltd                                                                  Flat 1 , 67 Highbury Park                                                          London                          N51UA         United Kingdom
Ice Safety Solutions                                                               47703 Fremont Blvd                                                                 Fremont            CA           94538
IconicFocus Models LLC                                                             37 Northern Blvd #335                                                              Greenvale          NY           11548
ID Matters, LLC                                                                    7060 Hollywood Blvd                      8th Floor                                 Los Angeles        CA           90028
ID Matters, LLC                              ID Public Relations                   8th Fl 7060 Hollywood Blvd                                                         Los Angeles        CA           90028
Iddings, Paul                                                                      Address Redacted
Idem Translations, Inc.                                                            550 California Ave                       Suite 310                                 Palo Alto          CA           94306
IDEO LP                                                                            780 High Street                                                                    Palo Alto          CA           94301
IDEX Health & Science LLC                                                          12906 Collections Center Dr                                                        Chicago            IL           60693
IDR Marketing Partners, LLC dba Brandshare                                         1125 Lancaster Ave.                                                                Berwyn             PA           19312
Ieronimo, Katherine                                                                Address Redacted
Iggy Unlimited                               C/O Ignightus Enterprises, Inc        790 Yuba Drive                                                                     Mountain View                   94041
IGOE & COMPANY                                                                     16769 Bernardo Center Drive Ste 21                                                 San Diego          CA           92128-2548
IGUATEMI 365 LTDA                                                                  AV BRIG FARIA LIMA 2232                                                            Sao Paulo          SP           01489-900     Brazil
IGUATEMI 365 LTDA                                                                  R ANGELINA MAFFEI VITA 200                                                         SÃO PAULO          SP           01455-070     Brazil
iHeartMedia Entertainment Inc                                                      20880 Stone Oak Pkwy                                                               San Antonio        TX           78258
iHerb, LLC | Pipette                         Accounts Payable Team                 iHerb, LLC                               15535 Sand Canyon Ave                     Irvine             CA           92618
iHerb, LLC | Pipette                         iHerb, LLC                            301 N Lake Ave, Suite 600                                                          Pasadena           CA           91101
iHerb, LLC | Pipette                         iHerb, LLC HBH                        iHerb, LLC HBH                           1765 Worldwide Blvd                       Hebron             KY           41048
iHerb, LLC | Pipette                         iHerb, LLC MVH                        15810 Heacock Street                                                               Moreno Valley      CA           92551
IKA Works, Inc.                                                                    2635 Northchase PKWY SE                                                            Wilmington         NC           28405
Ilaria Urbinati                                                                    Address Redacted
Ilegra Corporation                                                                 299 Alhambra Cir                         Suite 403                                 Coral Gables       FL           33134
Ilgen, Brent                                                                       Address Redacted
Illinois Secretary of State                  Corporation Service Company           801 ADLAI STEVENSON DR.                                                            Springfield        IL           62708
Illumina, Inc.                                                                     12864 Collections Center Drive                                                     Chicago            IL           60693
ILM Stationers                                                                     305 Raleigh Street                                                                 Wilmington         NC           28412
Ilyana Green                                                                       Address Redacted




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                      Creditor Name                                 Attention                            Address 1                            Address 2       Address 3             City              State         Zip            Country
IMCD US Food Inc.                                                                     DEPT CH 19514                                                                       Palatine             IL             60055-9514
IMG Italy SRL                                                                         Via Vittoria Colonna 4                                                              Milano               Lombardy       20149        Italy
IMI/Norgren                                                                           5400 South Delaware St                                                              Littleton            CO             80120
Immunology Consultants Laboratory,                                                    7150 SW Sandburg Street                                                             Portland             OR             97223
Impact Tech, Inc                                                                      223 E. De La Guerra                                                                 Santa Barbara        CA             93101
Impextraco NV Belgium                                                                 Wiekevorstsesesteenweg 38                                                           Heist-op-den-Berg    01             2220         Belgium
Imprimus                                                                              655 Tamarack Ave.                                                                   Brea                 CA             92821
Imprimus                                         Lotus Labels                         700 Columbia Street                                                                 Brea                 CA             92821
IMTECH Graphics, Inc.                                                                 545 DELL ROAD                                                                       Carlstadt            NJ             07072
IN RE AMYRIS, INC. STOCKHOLDER DERIVATIVE
LITIGATION (Other Defendants: Melo, Doerr, Kung,
Duyk, Mills and former D&Os)                     Robbins LLP                          Brian J. Robbins                          5040 Shoreham Place                       San Diego            CA             92122
IN RE AMYRIS, INC. STOCKHOLDER DERIVATIVE
LITIGATION (Other Defendants: Melo, Doerr, Kung,
Duyk, Mills and former D&Os)                     Robbins LLP                          Robert Tauler Esq.                        5040 Shoreham Place                       San Diego            CA             92122
In-Between Studios LLC                                                                1765 Hauser Blvd.                                                                   Los Angeles          CA             90019
inch int co.,ltd                                                                      119/133 the terrace tiwanon3 Tiwan                                                  Muang                36             11000        Taiwan
Inchem Charlotte, LLC                                                                 800 Cel-River Rd.                                                                   Rock Hill            SC             29730
Incredible Strategy unipessoal, Lda              iStrategy                            Av do Atlantico nº 16- 1 escritorio                                                 Lisbon                              1900-019     Portugal
Indeed, Inc.                                                                          177 Braod Street                                                                    Stamford             CT             06901
Indiana Sugars, Inc.                                                                  911 Virginia Street                                                                 Gary                 IN             46401
Indigo Design, LLC                                                                    4091 REDWOOD AVE, SUITE 509                                                         Los Angeles          CA             90066
Indigo Projects Incorporated                                                          1471 Havenhurst Drive, #5                                                           West Hollywood       CA             90046
Indigo Talent Pty Ltd                                                                 111 Pyrmont St                                                                      Pyrmont              NSW            02009
Induplast spa                                                                         Via Europa 34                                                                       Bolgare(BG)                         24060        Italy
Industrial & Construction                        Enterprises, Inc                     PO BOX 127                                                                          Washington           NC             27889
Industrial Cleaning Equipment                                                         2820 Carolina Beach road                                                            Wilmington           NC             28412
Industrial Pump Service of NC                                                         1980 Wood Treatment Rd.                                                             Leland               NC             28451
Industry Group USA, LLC                                                               469 South Robertson Blvd                                                            Beverly Hills        CA             90211
Industry Model Group, LLC                                                             59 Chelsea Piers, 3rd Level                                                         New York             NY             10011
Inex One                                         AB Leverache                         Stora Nygatan 25                                                                    Stockholm                           111 27       Sweden
Infectious Disease Research Institu                                                   1616 Eastlake Ave E Suite 400                                                       Seattle              WA             98102
Infinity Creative Agency                                                              843 S. Los Angeles St.                    Suite 200                                 Los Angeles          CA             90014
Influenster                                      VOXPop Communities Inc               435 Hudson Street, Suite 400                                                        New York             NY             10014
Influenster C/O Mossberg Fulfillment Division                                         Address Redacted
Informa Exhibitions, LLC                                                              Suite 100 101 Paramount Drive                                                       Sarasota             FL             34232
InforsUSA                                                                             Suite D 9070 Junction Dr                                                            Annapolis Junction   MD             20701
InfoTrust LLC                                                                         4340 Glendale Milford Rd                  Suite 200                                 Blue Ash             OH             45242
InfoTrust LLC                                                                         Suite 200 4340 Glendale Milford Roa                                                 Blue Ash             OH             45242
Ingles Markets, Inc. | Pipette                   Ingles Markets, Inc                  2913 US Highway 70                                                                  Black Mountain       NC             28711
Ingles Markets, Inc. | Pipette                   Ingles Markets, Inc                  PO Box 6676                                                                         Asheville            NC             28816
ingredients s.r.o.                               ingredients s.r.o.                   Jáchymova 26/2                                                                      Prague 11000                                     Czech Republic
ingredients s.r.o.                               Krystyna Brozkova                    Maiselova 41/21                                                                     Prague 11000                                     Czech Republic
INGREDION BRAZIL                                                                      R. PAULA BUENO 2935                                                                 MOGI GUACU           SP             13841-010    Brazil
Ingredion Colombia S.A                                                                CRA 5 No- 52-56                                                                     Cali                                76001        Colombia
INGREDION COLOMBIA SA                                                                 CARRERA 5 52-56                                                                     VALLE DEL CAUCA      76             760004       Colombia
Ingrid and Isabel LLC                            Ingrid and Isabel LLC                10300 Sanden Drive Ste 100                                                          Dallas               TX             75238
Ingrid and Isabel LLC                            Ingrid and Isabel LLC                1902 Van Ness                                                                       San Francisco        CA             94109
Ink Retouch LTD                                                                       66 - 68 DE BEAUVOIR CRESCENT                                                        London                              N1 5SB       United Kingdom
Inmar - YouTech, LLC                                                                  One West Fourth Street                                                              Winston-Salem        NC             27101
Inmar Brand Solutions, Inc                                                            PO Box 751011                                                                       Charlotte            NC             28275
InMarket                                         InMarket                             71 Nassau St. Apt. 3C                                                               New York             NY             10038
InMarket Media, LLC                                                                   1530 P B Ln #P5446                        #5243                                     Wichita Falls        TX             76302-2612
inMarket Media, LLC                                                                   PO Box 94436                                                                        Las Vegas            NV             89193
inMotion Now, Inc. dba Lytho, Inc.                                                    215 Southport Drive, Suite 1000                                                     Morrisville          NC             27560
Innovasource LLC                                                                      11515 Vanstory Drive                                                                Huntersville         NC             28078
Innovation Sciences Inc.                                                              Suite 180 680 E. Colorado Blvd                                                      Pasadena             CA             91101
Innovative Cosmetic Labs                                                              9740 Cozycroft Ave                                                                  Chatsworth           CA             91311
Innovative Resource Management                                                        125 Crosscreek Drive                                                                Summerville          NC             29485
Insanity Group, LLC                                                                   10202 W. Washington Blvd                  Mority Building, 4th Floor                Culver City          CA             90232
InSci Associates Ltd                                                                  5, 1st fl Century Court                                                             Watford              HT             WD18 9PX     United Kingdom
Inscripta, Inc.                                                                       5500 Central Ave                                                                    Boulder              CO             80301
Inspectorate America Corp                                                             P.O. Box 847921                                                                     Dallas               TX             75284-7921
Instel Power Products                                                                 303 Greer Drive                                                                     Simpsonville         SC             29681
Institut Des Sciences Analytiques                                                     5 rue de las Doua                                                                   Villeurbanne                        69100        France
Institut National des Sciences Appl                                                   135 Avenue de Rangueil                    31007                                     Toulouse Cedex 4                    31400
Institute for Environmental Health                                                    15300 Bothell Way NE                                                                Lake Forest Park     WA             98155
Institute for In Vitro Sciences                                                       Ste#100 30 W. Watkins Mill Road                                                     Gaithersburg         MD             20878
Instyle / Attn: Pia Velasco                                                           Address Redacted
Integra Biosciences Corp.                                                             22 Friars Drive                                                                     Hudson               NH             03051
Integrated DNA Technologies Inc                                                       PO Box 74007330                                                                     Chicago              IL             60674-7330
Integrated Project Services, LLC                                                      Suite 100 721 Arbor Way                                                             Blue Bell            PA             19422
Integrity Express Logistics, LLC                                                      62488 Collections Center Dr                                                         Chicago              IL             60693
Integrity Ingredients Corporation                                                     2255 Jefferson Street                                                               Torrance             CA             90501
Intelligen, Inc.                                                                      2326 Morse Avenue                                                                   Scotch Plains        NJ             07076
Intelligize                                                                           Suite 200 1920 Association Drive                                                    Reston               VA             20191
Intelli-tech                                     C/O Intelligent Tech & Service Inc   1031 Serpentine Ln Ste 101                                                          Pleasanton           CA             94566
Interchim Inc                                                                         1536 25th St. #126                                                                  Los Angeles          CA             90732




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                     Creditor Name                                   Attention                                   Address 1                                    Address 2                      Address 3            City            State           Zip            Country

                                                   Interface Indústria e Comércio de Cosméticos Rua José de Rezende Meirelles Santa Cândida -
Interfaces (IFC1)                                  Ltda                                         Distrito Industrial Benedito Storani Vinhedo                                                             São Paulo 3730                                 Brazil
Interfaces (IFC1)                                  Interfaces                                   5850 Hollis Street                                                                                       Emeryville        CA             94608
INTERFACES INDUSTRIA COM DE COSMETI                                                             R JOSE DE REZENDE MEIRELLES 3730                                                                         VINHEDO           SP             13288-130     Brazil
Internal Revenue Service                                                                        PO Box 7346                                                                                              Philadelphia      PA             19101-7346
Internal Revenue Service Center                                                                 Internal Revenue Services                                                                                Cincinnati        OH             45999-0039
International Business Machines                                                                 PO Box 643600                                                                                            Pittsburgh        PA             15264-3600
International Business Machines Cor                                                             PO Box 676673                                                                                            Dallas            TX             75267
International Cosmetic Suppliers                                                                15/F 1501 60 Wyndham Street                                                                              Hong Kong         HK                           Hong Kong
International Cosmetic Suppliers                                                                Suite 701 7/F South Island Place              8 Wong Chuk Hang Road                                      Hong Kong         HK                           Hong Kong
INTERNATIONAL FLAVORS FRAGRANCES                                                                150 DOCKS CORNER RD                                                                                      DAYTON            NJ             08810
International Identification Inc                   C/O National Band & Tag Company              721 York Street                                                                                          Newport           KY             41071

INTERNATIONAL MANAGEMENT GROUP UK LTD                                                         5th floor arundel street building, 180 the strand                                                          LONDON                           WC2R 3DA      United Kingdom
International Model Management Ltd dba IMM
Agency Group                                                                                  27 Greenwood Place                                  Studio 20                                              London                           NW5 1LB       United Kingdom
International Ocean Film Festival                                                             Suite 205 1007 General Kennedy Aven                                                                        San Francisco     CA             94129
International Paper Company                        International Paper Company                6400 Poplar Ave                                                                                            Memphis           TN             38119
International Paper Company                        International Paper Company                PO Box 5838                                                                                                Portland          OR             97228
International Paper Company                        Nate Wilson                                International Paper Company                         4350 Sam Jones Expressway                              Indianapolis      IN             46241
International Research Services                                                               222 Grace Church Street Suite                                                                              Port Chester      NY             10573
International Stevia Council, Inc.                                                            Suite 1280 National Press Building,                                                                        Washington DC     DC             20045
Interstate Capital Corporation                                                                PO Box 915183                                                                                              Dallas            TX             75391-5183
Intertek Consumer Goods N.A.                       C/O Labtest International Inc.             Suite G 1060 Holland Drive                                                                                 Boca Raton        FL             33487
Intertek Health Sciences Inc.                                                                 Suite 201 2233 Argentia Road                                                                               Mississauga       ON             L5L 3M1       Canada
Intertek USA Inc                                                                              PO Box 416482                                                                                              Boston            MA             02241-6482
Intertek USA, Inc.                                                                            200 Westlake Park Blvd. Ste. 400                                                                           Houston           TX             77079
Intrabartolo, Gino                                                                            Address Redacted
Intrado Digital Media, LLC                                                                    P.O. Box 780700                                                                                            Philadelphia      PA             19178-0700
Intrepid Investment Bankers LLC                                                               11755 Wilshire Boulevard 22nd floor                                                                        Lost Angeles      CA             90025
Intuitive Creative Brand Strategy                                                             623 S. Gertruda Avenue                                                                                     Redondo Beach     CA             90277
Inventions International Events S.L                                                           Paseo de Gracia, 8-10 1-1                                                                                  Barcelona         08             08007         Spain
Invincia Technologies LLC                                                                     8817 WATERMAN CT                                                                                           New Port Richey   FL             34654
Ioanna Davos                                                                                  Address Redacted
Iowa State University                                                                         2221 Wanda Daley Dr                                                                                                          IA             50011
Ip, Kristy                                                                                    Address Redacted
IPFS Corporation                                                                              P O Box 412086                                                                                             Kansas City       MO             64141-2086
IPFS Corporation                                                                              P.O. Box 100391                                                                                            Pasadena          CA             91189
IQ Bar, Inc.                                                                                  #115 444 E 3rd St                                                                                          South Boston      MA             02127
Iron dos Santos Marques x Construark Projetos e
execução de Obras Ltda - Amyris Fermentação de
Performance LTDA - Construark Projetos e           MARCO AUGUSTO DE ARGENTON E
execução de Obras Ltda                             QUEIROZ                                    Campos Salles Street                                372                         room 12                    Campinas                         13010-080     Brazil
Iron Mountain                                      C/O Iron Mountain Info Mgmt LLC            PO Box 601002                                                                                              Pasadena          CA             91189-1002
Iron Mountain                                      IM Off-Site Data Protection                P. O. Box 601018                                                                                           Los Angeles       CA             90060-1018
IronOne Technologies LLC                                                                      9600 Great Hills Trail, 150W                                                                               Austin            TX             78759
Isaac, Catherine                                                                              Address Redacted
ISABELA GRUTMAN                                                                               Address Redacted
Isabella Fuehrer                                                                              Address Redacted
Ishaq Totah                                                                                   Address Redacted
Islamic Food and Nutrition Council                                                            2004 Miner Street                                                                                          Des Plaines       IL             60016
Isos Technology                                    Runtime Technologies, LLC                  Suite 900 60 E Rio Salado Pkwy                                                                             Tempe             AZ             85281
IT Model Management                                                                           5151 California Ave                                 #100                                                   Irvine            CA             92617
                                                                                                                                                                                                         SAO JOSE DOS
ITALIA MODA INTIMA LTDA - ME                                                                  AV DEPUTADO BENEDIT 9403, LOJA M203                                                                        CAMPOS            SP             12215-900     Brazil
iText Software Corp.                                                                          265 Medford St.                                                                                            Somerville        MA             02143
ITOCHU Chemicals America Inc.                                                                 360 Hamilton Avenue 6th Floor                                                                              New York          NY             10601
Itoh, Nobu                                                                                    Address Redacted
ITPOINT - Tecnologia e Marketing, L                                                           Avenida da República 354 1EF                                                                               Matosinhos                       4450-237      Portugal
It's Not Much But It's Ours                                                                   PO Box 341076                                                                                              Los Angeles       CA             90034
IVANA KORDIC                                                                                  Address Redacted
Ivanildo da Silva Oliveira x Ardenghi Engenharia
Industrial 2ª Recda: Sublime Engenharia - Amyris
Fermentação de Performance LTDA                    ANDRE CESARIO DA COSTA                     Antônio Furlan Júnior Street                        1219                        Sertãozinho/SP/Brazil                                                     Brazil
J Grob Associates, Inc.                                                                       9501 East Bexhill Drive                                                                                    Kensington        MD             20895
J. Little Mercer Co.                                                                          254 Hornbine Rd.                                                                                           Rehoboth          MA             02769
J. Rettenmaier USA LP                              International Fiber Corporation            16369 US 131 Highway                                                                                       Schoolcraft       MI             49087
J. Simone Marshall                                                                            Address Redacted
J.J. Keller & Associates, Inc.                                                                P.O. Box 548                                                                                               Neenah            WI             54957-0548
J.P. Morgan                                        Jesus Jimenez                              270 Park Ave                                                                                               New York          New York       10017
J.T. Magen & Company Inc.                                                                     11th Floor 44 W. 28th Street                                                                               New York          NY             10001
Jabber Haus                                                                                   Address Redacted
Jack Menhinick                                                                                Address Redacted
Jack Newman                                                                                   Address Redacted
Jackie Aina                                                                                   Address Redacted
Jackie O, INC                                                                                 #1100 750 N. San Vicente Blvd East                                                                         Los Angeles       CA             90069
Jacks, Tiaja                                                                                  Address Redacted
Jackson Lewis P.C.                                                                            PO Box 416019                                                                                              Boston            MA             02241-6019




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                  Creditor Name                              Attention                            Address 1                        Address 2         Address 3               City                State           Zip            Country
Jackson, Peter                                                                Address Redacted
Jackson, Shaina                                                               Address Redacted
Jaclyn Bonnie International                                                   Suite 14S 55 West 39th Street                                                      New York              NY                10018
Jacob Zinzan Hobbs                                                            Address Redacted
Jacobs, Claire                                                                Address Redacted
Jacobs, Danielle                                                              Address Redacted
Jacobs, John                                                                  Address Redacted
Jacobs, John                                                                  Address Redacted
Jacobs, Michelle                                                              Address Redacted
                                                                              2nd floor Gadd House, Arcadia Avenue,
Jacobus Limited                                                               Finchley,                                                                          London                                  N3 2JU        United Kingdom
Jacqueline Bolig                                                              Address Redacted
Jacqui Koroll                                                                 Address Redacted
Jade Scientific, Inc.                                                         39103 Warren Road                                                                  Westland              MI                48185
Jaelyn Lockhart                                                               Address Redacted
Jai Crocker                                                                   Address Redacted
Jai of Beverly Hills                      Jai of Beverly Hills                10309 Lauriston avenue                                                             Los Angeles           CA                90025
Jaimie Homes (Goop)                                                           Address Redacted
Jaimie Potters                                                                Address Redacted
Jake Waskowitz                                                                Address Redacted
Jakovleski, Vladimir                                                          Address Redacted
Jameela Siddiqi                                                               Address Redacted
JAMEF TRANSPORTES EIRELI                                                      AVENIDA GUARAPARI                                                                  SERRA                 ES                29162-714     Brazil
JAMES B WHITESIDE                                                             Address Redacted
James Bee                                                                     Address Redacted
James F McCann                                                                Address Redacted
James Lattanzio                                                               Address Redacted
James Manso                                                                   Address Redacted
James Shepherd                                                                Address Redacted
James Standfield Catering                                                     425 Littlefield Ave                                                                South San Francisco   CA                94080
Jamie Hess                                                                    Address Redacted
JAMIE STONE                                                                   Address Redacted
Jamie Stone                                                                   Address Redacted
Jams, Inc.                                                                    P.O. Box 845402                                                                    Los Angeles           CA                90084
Jana Maier-Leidreiter                                                         Address Redacted
Janagam, Sanjana                                                              Address Redacted
Janakes, Laura                                                                Address Redacted
Janbaz, Daryush                                                               Address Redacted
Janco Press                                                                   20 Floyds Run                                                                      Bohemia               NY                11716
Jane Atkin                                                                    Address Redacted
Jane Freitas                                                                  Address Redacted
Jane He                                                                       Address Redacted
janelle@olikalife.com                                                         2933 58th Avenue                                                                   Oakland               CA                94605
Janice Sung                                                                   Address Redacted
Janice Tran                                                                   Address Redacted
Jansy / Attn: Michele Squicciarini                                            Address Redacted
Jansy Holdings, Inc.                                                          270 Sylvan Ave Ste 1140                                                            Englewood Cliffs      NJ                07632
January Digital                                                               4833 Overton Woods Drive                                                           For Worth             TX                76109
Jarchem Innovative Ingredients                                                3605 NW 115th Ave.                                                                 Doral                 FL                33178
Jarchem Innovative Ingredients LLC                                            414 Wilson Ave                                                                     Newark                NJ                07105
Jared Pasamar                                                                 Address Redacted
Jarel, Hana                                                                   Address Redacted
Jasmina Samardzic v. Amyris, Inc.         Chad A. Justice                     1205 N. Franklin Street                 Suite 326                                  Tampa                 Florida           33602
Jasmine Navarro                                                               Address Redacted
Jasmine Thomas                                                                Address Redacted
Jasmine Tsingman Lai                                                          Address Redacted
Jason De Beer                                                                 Address Redacted
Jason De-Beer                                                                 Address Redacted
Jason Hogan                                                                   Address Redacted
Jaspreet Sodhi                                                                Address Redacted
Jay Taylor Exterminating Co., Inc.                                            P.O. Box 3445                                                                      Wilmington            NC                28406
Jayant Kumar Ojha, Nikita                                                     Address Redacted
Jayes, Ella                                                                   Address Redacted
JBCStyle NY LLC                                                               108 W 39th Street                       7th Floor                                  New York              NY                10018
JCDecaux Street Furniture New York, LLC                                       350 5th Avenue                          73rd Floor                                 New York              NY                10118
JCPenney                                  JCPenney                            6501 Legacy Dr.                                                                    Plano                 TX                75024
JCPenney                                  JCPenney - 94847                    120 Penney Rd                                                                      FORREST PARK          GA                30297
Jeanette Chang                                                                Address Redacted
JEANNE GREY                                                                   Address Redacted
Jeanne Grey                                                                   Address Redacted
Jean-Philippe Dobrin                                                          Address Redacted
Jedwards International, Inc.                                                  141 Campanelli Drive                                                               Braintree             MA                02184
JEFF CHA                                                                      Address Redacted
Jeffer Mangels Butler & Mitchell          LLP                                 1900 Ave of the Stars7th Fl                                                        Los Angeles           CA                90067
Jefferson Raposo Santiago Boyd                                                216 7th Ave Apt 2F                                                                 New York              NY                10011
Jeffrey Johnson                                                               Address Redacted
Jeffrey Keith                                                                 Address Redacted
Jeffrey Vogeding                                                              Address Redacted
Jekal, Angela                                                                 Address Redacted




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                 Creditor Name                                     Attention                                     Address 1                    Address 2         Address 3              City        State           Zip            Country
Jemily Figueroa                                                                               Address Redacted
Jemily Figueroa                                                                               Address Redacted
JEN CEBELLOS                                                                                  Address Redacted
Jen Semelka / ShopBop                                                                         Address Redacted
                                                 Duchess / Jenn Streicher DBA Scout by Jenn
Jenn Streicher DBA Scout by Jenn Streicher       Streicher                                  641 Old Post Rd                         Unit C3                                 Bedford           NY           10506
Jenn Streicher DBA Scout by Jenn Streicher       Duchess / Jenn Streicher, Inc.             72 Westchester Avenue                                                           Pound Ridge       NY           10576

Jenn Streicher DBA Scout by Jenn Streicher       Jenn Streicher DBA Scout by Jenn Streicher   15 Hitching Post Lane                                                         Chappaqua         NY           10514

Jenn Streicher DBA Scout by Jenn Streicher       Jenn Streicher DBA Scout by Jenn Streicher   98 Pound Ridge Rd                                                             Bedford           NY           10506
Jenna Dargenzio                                                                               Address Redacted
Jenna Rosenstein                                                                              Address Redacted
Jenni Barnao                                                                                  Address Redacted
Jennifer Daft/ShopBop                                                                         Address Redacted
Jennifer F. Castillo                                                                          Address Redacted
Jennifer Irizarry                                                                             Address Redacted
Jensen Rong                                                                                   Address Redacted
Jensen, Mollie                                                                                Address Redacted
Jeon, Ju Eun                                                                                  Address Redacted
Jeremy Marquez                                                                                Address Redacted
Jeremy O. Harris                                                                              Address Redacted
Jerry Mather                                                                                  Address Redacted
Jess Estrada LLC                                                                              400 N. Chapel Avenue #317                                                     Alhambra          CA           91801
Jesse Pyle                                                                                    Address Redacted
Jessica B. Schiffer                                                                           Address Redacted
JESSICA FELTRIN OLIVEIRA                                                                      Address Redacted
Jessica L. Bargon                                                                             Address Redacted
Jessica Lasky Catering LLC                                                                    Address Redacted
Jessica Levin                                                                                 Address Redacted
Jessica Matlin                                                                                Address Redacted
Jessica Ourisman                                                                              Address Redacted
Jessica Schanker                                                                              Address Redacted
Jessica Scott                                                                                 Address Redacted
Jessica Van Gaalen                                                                            Address Redacted
Jesus Aguilar Photo                                                                           Address Redacted
Jet Genius Florida Holdings                      Charter Flight Group                         Suite 406 3700 Airport Road                                                   Boca Raton        FL           33431
Jewell, Mallorie                                                                              Address Redacted
JH Technologies, Inc                                                                          213 Hammond Avenue                                                            Fremont           CA           94539
Jhulki, Isita                                                                                 Address Redacted
Jhunjhunwala, Navya                                                                           Address Redacted
Jiang, Hanxiao                                                                                Address Redacted
Jiang, Wanyi                                                                                  Address Redacted
Jigyassa Yshi                                                                                 Address Redacted
Jill Gruber                                                                                   Address Redacted

Jill Noelle Budik DBA Spotlight Media Relations, LLC                                          14716 Boysenberry Court                                                       ROSEMOUNT         MN           55068
Jillian Glenn                                                                                 Address Redacted
Jillian Glenn                                                                                 Address Redacted
Jimena, Sarah                                                                                 Address Redacted
Jingco, Francis Jay                                                                           Address Redacted
Jinx Studios LLC                                                                              53 Clay St                            #S414                                   Brooklyn          NY           11222
JK COMERCIO DE ROUPA INTIMA LTDA                                                              PRESIDENTE JUSCELI 2041, AD2 LJ 366                                           SAO PAULO         SP           04543-011     Brazil
J-KEM Scientific Inc                                                                          858 Hodiamont Ave                                                             St Louis          MO           63112
JMM Consulting Group LLC                                                                      166 East 92nd Street Apt 2D           2D                                      New York          NY           10128
JMR Development LLC                                                                           347 West 36th Street, Suite 901                                               New York          NY           10018
JOAN CHENG/ ONE HOTEL                                                                         Address Redacted
Joan Creative, LLC                                                                            1000 8383 Wilshire Blvd                                                       Beverly Hills     CA           90211
Joanna Briley                                                                                 Address Redacted
Joanna Czech                                                                                  Address Redacted
Joanna Czech                                                                                  Address Redacted
Joanna Czech                                                                                  Address Redacted
Joanna Czech                                                                                  Address Redacted
Joanna Czech / Attn: Ashley Zidell                                                            Address Redacted
Joanna Czech c/o Ashley Zidell                                                                Address Redacted
Joanna Czech E-Commerce LLC                          Joanna Czech E-Commerce LLC              1027 Dragon St.                                                               Dallas            TX           75207
Joanna Czech E-Commerce LLC                          Joanna Czech E-Commerce LLC              34 Howard St, 2nd Floor                                                       New York          NY           10013
Joanna Davila                                                                                 Address Redacted
JOAO PAULO OLIVEIRA SANTANA                                                                   Address Redacted
JobTarget LLC                                                                                 Dept CH 16743                                                                 Palatine          IL           60055-6743
Jodie Herbage                                                                                 Address Redacted
Joel Fear                                                                                     Address Redacted
Joel Robert Cherry                                                                            Address Redacted
Johana Riehm                                                                                  Address Redacted
Johannes Huebl & Olivia Palermo                                                               Address Redacted
John Chester                                                                                  Address Redacted
John Christopher Dombrowski                                                                   Address Redacted
John Crane Inc.                                                                               Address Redacted
John Doerr                                                                                    Address Redacted




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                   Creditor Name                                    Attention                           Address 1                         Address 2              Address 3               City            State           Zip            Country
Johnell Celestino                                                                     Address Redacted
Johnny Ho Ltd                                                                         7 Cavendish Hall House                  Holmesley Road                                 Borehamwood                         WD6 1AQ       United Kingdom
Johnson Matthey Inc                                                                   2 2 Trans Am Plaza Dr, Ste 230                                                         OakBrook Terrace     IL             60181
Johnson, Angela                                                                       Address Redacted
Johnson, Anthony                                                                      Address Redacted
Johnson, Corbin                                                                       Address Redacted
Johnson, Ivan                                                                         Address Redacted
Johnson, Jeffrey                                                                      Address Redacted
Johnson, Joseph                                                                       Address Redacted
Johnson, Kendall                                                                      Address Redacted
Johnson, Nicole                                                                       Address Redacted
Johnson, Tyler                                                                        Address Redacted
Jolliffe, Aaron                                                                       Address Redacted
Jolls, Jenna                                                                          Address Redacted
Jolver Cutino                                                                         Address Redacted
Jonathan E. Rattner, Attorney At La               Law Offices of Jonathan E Rattner   Suite 200 2225 East Bayshore Road                                                      Palo Alto            CA             94303
Jonathan Nelson                                                                       Address Redacted
Jones Day                                                                             12265 EL Camino Real Suite 200                                                         San Diego            CA             92130
Jones, Matthew                                                                        Address Redacted
Jones, Samantha                                                                       Address Redacted
Jordan Ozuna                                                                          Address Redacted
Jordan, Amber                                                                         Address Redacted
Jordan, Christina                                                                     Address Redacted
JORDANRISA, LLC                                                                       556 S FAIR OAKS AVE                                                                    Pasadena             CA             91105
Jordyn Lee                                                                            Address Redacted
Jorge Dorsinville                                                                     Address Redacted
José Filho de Sousa x Construark, Ahie Wohnrath,
Hospital Vera Cruz, Novac - Amyris Fermentação de MARCO AUGUSTO DE ARGENTON E
Performance LTDA                                  QUEIROZ                             Campos Salles Street                    372                     room 12                Campinas                            13010-080     Brazil
Jose Pedro Aguiar Branco                                                              Address Redacted
Joseph Carrillo                                                                       Address Redacted
Joseph Kang Lee                                                                       Address Redacted
Joseph Martin Smith Gainsborough                                                      Address Redacted
Joshua Szumski                                                                        Address Redacted
Josimar Junior de Souza x SPSG Serviços e
Patrimônio LTDA - Amyris Fermentação de           MARIA VIRGINIA BELLO JAEGER BENTO
Performance LTDA                                  VIDAL                               Prudente de Moraes Street               625                                            Barra Bonita                        17340-001     Brazil
Jossile Damazio Pastoura x SPSG Serviços e
Patrimônio LTDA - Amyris Fermentação de           MARIA VIRGINIA BELLO JAEGER BENTO
Performance LTDA                                  VIDAL                               Prudente de Moraes Street               625                                            Barra Bonita                        17340-002     Brazil
Jost Chemicals Company                                                                8150 Lackland Rd                                                                       Saint Louis          MO             63114
Jourdan Sloane                                                                        Address Redacted
Jourdan Sloane                                                                        Address Redacted
JP Packaging, LLC                                                                     37 Elkay Dr                             Suite 59                                       Chester              NY             10918
JPMorgan Chase & Co.                                                                  383 Madison Avenue                                                                     New York             NY             10179
JPMorgan Chase Bank                               N.A. New York                       1111 Polaris Parkway                                                                   Columbus             OH             43240
JPMORGAN CHASE BANK, N.A.                         Jesus Jimenez                       270 Park Ave                                                                           New York             New York       10017
JPT Peptide Technologies GmbH                                                         Volmerstrasse 5                                                                        Berlin               11             12489         Germany
Juan Carlos Reyes Mendez                                                              412 barbey street                                                                      Brooklyn             NY             11207
Judith Kaufman                                                                        Address Redacted
Judy Casey, Inc                                                                       262 Central Park West, Suite 10D                                                       New York             NY             10024
Juice Studio                                                                          678 Hart Street                         1A                                             Brooklyn             NY             11221
juin cohen                                                                            Address Redacted
Julabo USA, Inc.                                                                      884 Marcon Boulevard                                                                   Allentown            PA             18109
Julia Chandler                                                                        Address Redacted
Julia Chandler                                                                        Address Redacted
Julian Foglietti                                                                      Address Redacted
Julian Watson Agency                                                                  81 Rivington Street                                                                    London                              EC2A 3AY      United Kingdom
Juliana Chang                                                                         Address Redacted
Juliana Gazzillo                                                                      Address Redacted
Juliana Geh                                                                           Address Redacted
Juliane Viana Testi Bindez x UTBR -
Unitechonologies Industria de Equipamentos -
GERDAU Acominas - Saint-Gobain do Brasil
Produtos Industriais - Amyris Fermentação de
Performance LTDA                                  MATHEUS DE ALMEIDA ALVES            José de Souza Campos Street             900                     room 61                Campinas/SP-Brazil                  13092-123     Brazil
Julianna Simmons LLC                                                                  108 Dickenson Bayou Cv.                                                                Hutto                TX             78634
JULIANO F. THOMS                                                                      Address Redacted
Julie Martenson                                                                       Address Redacted
Julie Washington                                                                      Address Redacted
Julio Cesar Barbosa Matias x Novac Construções e
Emrpeendimentos Ltda - Amyris Fermentação de
Performance LTDA                                  ALEX NIGER LOPES RAMOS              Benjamin Constant Street                846                                            Campo Maior          PI             64.280-000    Brazil
Julio Cesar Rodrigues x Amyris Brasil Ltda. (DSM
PRODUTOS NUTRICIONAIS BRASIL S.A)                 ALEX NIGER LOPES RAMOS.             Barão de Burgueia Street                2172 Teresina-PI                                                                   64018-500     Brazil
Julius, Olamide                                                                       Address Redacted
JuliusWorks, Inc                                                                      114 West 26th Street Floor 5                                                           New York             NY             10001
Jung, Han Young                                                                       Address Redacted
Junhe Industry Company Limited                                                        17/F Building B. Changfa Center, #300   East Zhongshan Road                            Nanjing                             210000        China




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                  Creditor Name                            Attention                             Address 1                             Address 2        Address 3            City               State           Zip         Country
Just Media                                                                     6001 Shellmound Street Suite 700                                                     Emeryville         CA               94608
Justin Lin                                                                     Address Redacted
JUSTIN PETZSCHKE- SOUL MGMT                                                    Address Redacted
JVN Brazil                               Asia Shipping USA                     1800 NW 129th Avenue                       Suite 100                                 Miami              FL               33182
JVN Entertainment INC                                                          Suite 815 16633 Ventura Blvd                                                         Encino             CA               91436
Jwalapuram, Sravya                                                             Address Redacted
K&L Gates LLP                                                                  925 Fourth Ave, St 2900                                                              Seattle            WA               98104
K. Rossi Consulting                                                            2247 Louella Ave                                                                     Venice             CA               90291
K-1 Packaging Group                                                            17989 E. Arenth Ave.                                                                 City of Industry   CA               91748
Kahn, Corrina                                                                  Address Redacted
Kahn, Rebecca                                                                  Address Redacted
KAIALI                                   KAIALI                                11766 Wilshire Blvd                        Suite 900                                 Los Angeles        CA               90025
Kaiser Foundation Health Plan Inc                                              PO BOX 80204                                                                         Los Angeles        CA               90080-0204
Kaiser Hawaii                            Kaiser Foundation Health Plan         One Kaiser Plaza 17L                                                                 Oakland            CA               94612
Kajiya, Amy                                                                    Address Redacted
Kalejunkie, Inc.                                                               10 Edgemar Way                                                                       Corte Madera       CA               94925
Kamara Hakeem-Oyawoye                                                          8 Piper Close                                                                        Islington          London           N7 8TY        United Kingdom

Kamchatka (Leads From Clicks)                                                 616 Corporate Way STE 2-5853 Valley Cottage                                           Valley Cottage     NY               10989
Kamilla Lal                                                                   Address Redacted
Kanaan Pitan                                                                  Address Redacted
Kandhai, Rabindranauth                                                        Address Redacted
Kang, MinKyung                                                                Address Redacted
Kansas department of revenue                                                  120 SE 10th ave                                                                       Topeka             KS               66625
KARA DEL TORO                                                                 Address Redacted
Kara Jewell                                                                   Address Redacted
Karen Chen dba Rosalie LLC                                                    1404 E LOMA ALTA DR                                                                   Altadena           CA               91001
Karen Keilt                                                                   Address Redacted
Karen Seidman                                                                 Address Redacted
Karina Bik                                                                    Address Redacted
KARINA BIK                                                                    Address Redacted
KARINA MARIANO CASSEMIRO                                                      Address Redacted
KARINA MKRTCHIAN- SOHO HOUSE                                                  Address Redacted
Karl Fisher                                                                   Address Redacted
Karl The Store - Costa Brazil            Karl The Store - Costa Brazil        1201 Bridgeway                                                                        Sausalito          CA               94965
Karla Welch                                                                   Address Redacted
Karolina Kurkova                                                              Address Redacted
Karpukhina, Kateryna                                                          Address Redacted
Kasia Michalski                                                               Address Redacted
Kasprzyk, Stephen                                                             Address Redacted
Kassab, MacKenzie                                                             Address Redacted
Kassem, Zayd                                                                  Address Redacted
Kate Howell                                                                   Address Redacted
Kate Melvin                                                                   Address Redacted
Kate Moss Agency Ireland Ltd                                                  104 Baggot Street                                                                     Dublin                              D02 Y940      Ireland
Kate Young                                                                    Address Redacted
Kate Young                                                                    Address Redacted
Katelyn Brock                                                                 Address Redacted
Katelyn Winker                                                                Address Redacted
Katerina Mandalas                                                             Address Redacted
Katherine Flannery                                                            Address Redacted
Kathryn Marie Horgan (Bravo CPG LLC)     Bravo CPG LLC                        3405 santa fe drive                         apt 1703                                  austin             TX               78741
Kathryn N. Tedesco                                                            Address Redacted
Kathy Valiasek                                                                Address Redacted
Katie Beleznay                                                                Address Redacted
Katie Jane Hughes                                                             Address Redacted
Katie Jane Hughes                                                             Address Redacted
Katie Jayne Becker                                                            Address Redacted
Katie Klinefelter                                                             Address Redacted
Katie Kolbe - The DC Darlings                                                 Address Redacted
Katie Nash Beauty                                                             Address Redacted
Katie Wright                                                                  Address Redacted
Kaufman Container                                                             PO BOX 70199                                                                          Cleveland          OH               44190-0199
Kaufman Friedman Plotnicki & Grun, LLP   Attn.: Jose David Dabdoub            Attention: Linda Plotnicki, Esq.            300 East 42nd Street                      New York           NY               10017
Kaur, Lovedeep                                                                Address Redacted
Kaur, Sanimar                                                                 Address Redacted
Kaveem Consultores S.A. DE C.V.                                               Av. Eugenia 114 Apart 1 PB Col. Del                                                   Mexico City        MEX              03100
Kaye Bassey                                                                   Address Redacted
Kaylena Beaulieu                                                              Address Redacted
KCC Basildon                                                                  Hawksworth, Southmead Industrial Es                                                   Didcot             OX               OX11 7HR      United Kingdom
KDC Northern Labs                                                             5800 West Dr                                                                          Manitowc           WI               54221-0850
KDC Northern Labs                                                             PO Box 850                                                                            Manitowoc          WI               54221
KDE Scientific Consulting, LLC                                                1657 Settlement Trail                                                                                    WI               53081
Ke Li                                                                         Address Redacted
Kearney, Shannon                                                              Address Redacted
Keeper Security, Inc                                                          Suite 400 820 W Jackson Blvd                                                          Chicago            IL               60607
Kegel, Monika                                                                 Address Redacted
KEHE Dist.- Dallas                                                            PO Box 24830                                                                          Jacksonville       FL               32241
KeHE Distributors - Elletsville                                               8101 IN-46                                                                            Ellettsville       IN               47429




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                    Creditor Name                             Attention                                   Address 1                         Address 2                 Address 3                           City           State           Zip         Country
KeHE Distributors (Vendor)                                                             PO Box 389                                                                                              St. Augustine      FL             32085
Kehe Distributors Holdings, LLC | Pipette   KeHe Chino A                               Kehe Distributors Holdings, LLC         16081 Fern Ave                                                  Chino              CA             91708
Kehe Distributors Holdings, LLC | Pipette   Kehe Distributors                          101 Enterprise Dr                                                                                       Flower Mound       TX             75028
Kehe Distributors Holdings, LLC | Pipette   Kehe Distributors                          16081 Fern Avenue                                                                                       Chino              CA             91708
Kehe Distributors Holdings, LLC | Pipette   Kehe Distributors                          17510 W Thomas Road                                                                                     Goodyear           AZ             85395
Kehe Distributors Holdings, LLC | Pipette   Kehe Distributors                          1851 Riverside Pkwy                                                                                     Douglasville       GA             30135
Kehe Distributors Holdings, LLC | Pipette   Kehe Distributors                          2200 N Himalaya Road                                                                                    Aurora             CO             80011
Kehe Distributors Holdings, LLC | Pipette   Kehe Distributors                          3225 Meridian Pkwy                                                                                      Fort Lauderdale    FL             33331
Kehe Distributors Holdings, LLC | Pipette   Kehe Distributors                          4024 Rock Quarry Road                                                                                   Dallas             TX             75211
Kehe Distributors Holdings, LLC | Pipette   Kehe Distributors                          4055 Deer Park Blvd                                                                                     Elkton             FL             32033
Kehe Distributors Holdings, LLC | Pipette   Kehe Distributors                          4650 Newcastle Rd                                                                                       Stockton           CA             95215
Kehe Distributors Holdings, LLC | Pipette   Kehe Distributors                          601 Wall Street                                                                                         Glendale Heights   IL             60139
Kehe Distributors Holdings, LLC | Pipette   Kehe Distributors                          8101 West State Rte 46                                                                                  Ellettsville       IN             47429
Kehe Distributors Holdings, LLC | Pipette   Kehe Distributors                          860 NESTLE WAY                                                                                          BREINIGSVILLE      PA             18031
Kehe Distributors Holdings, LLC | Pipette   Kehe Distributors                          900 North Schmidt Road                                                                                  Romeoville         IL             60446
Kehe Distributors Holdings, LLC | Pipette   Kehe Distributors                          9555 NE Alderwood Rd                                                                                    Portland           OR             97220
Kehe Distributors Holdings, LLC | Pipette   Kehe Distributors                          KEHE DISTRIBUTORS                       585 PRINCIPIO PKY W                                             NORTH EAST         MD             21901
Kehe Distributors Holdings, LLC | Pipette   Kehe Distributors Holdings, LLC            1245 E. Diehl Rd #200                                                                                   Naperville         IL             60563
Kehe Distributors Holdings, LLC | Pipette   Kehe Distributors Holdings, LLC            585 Principio Pky                                                                                       W North East       MD             21901
Kehe Distributors Holdings, LLC | Pipette   Kehe Distributors Holdings, LLC (Dallas)   4450 Logistics Drive                                                                                    Dallas             TX             75241
Kehe Distributors Holdings, LLC | Pipette   Kehe Distributors, Chino                   Bld B 6810 Bickmore Ave                                                                                 Chino              CA             91708
Keith Bronsdon                                                                         Address Redacted
Keith Giusto Bakery Supply                                                             1120 Holm Road                                                                                          Petaluma           CA             94954
Kekst and Company, Incorporated                                                        437 Madison Avenue, 37th Floor                                                                          New York           NY             10022
Keller and Heckman LLP                                                                 1001 G Street NW Ste 500 W                                                                              Washington         DC             20001
Kelley Drye & Warren LLP                                                               27th Floor 101 Park Ave.                                                                                New York           NY             10178
Kelli Bartlett/Mercedes Doan                                                           Address Redacted
Kelli Dunham                                                                           Address Redacted
Kelly Allen                                                                            Address Redacted
Kelly Connor                                                                           Address Redacted
Kelly Faulds                                                                           Address Redacted
Kelly NA                                                                               Address Redacted
Kelly Pioneer Group                                                                    601 Pennsylvania Avenue NW - South                                                                      Washington         DC             20004
KELLY SELIGMAN                                                                         Address Redacted
Kelly Services, Inc.                                                                   999 West Big Beaver Road                                                                                Troy               MI             48084
Kelly, Matt                                                                            Address Redacted
Kelsey, Nicole                                                                         Address Redacted
Kendall Meade                                                                          Address Redacted
Kendall Meade                                                                          Address Redacted
Kendra Byrd                                                                            Address Redacted
Kennedy Office Supply Company Inc.                                                     PO Box 40847                                                                                            Raleigh            NC             27629-0847
Kennedy Trawick                                                                        Address Redacted
Kensington Grey International Inc                                                      2100 KINGS HWY                          Lot 778                                                         Port Charlotte     FL             33980
Kentor Consulting, LLC                                                                 2216 Santa Monica Blvd.                 Suite 101                                                       Santa Monica       CA             90404
Keri Fay                                                                               Address Redacted
Keri Fay                                                                               Address Redacted
KERRI FAY                                                                              Address Redacted
Kersti J Werdal                                                                        Address Redacted
Kerwin Associates, LLC                                                                 1733 Woodside Road, Suite 260                                                                           Redwood City       CA             94061
Ketone Aid Inc.                                                                        6304 Crosswoods Circle                                                                                  Falls Church       VA             22044
Kevin K Chung Inc.                                                                     Address Redacted
Kevin Kung                                                                             Address Redacted
Key Transportation Service Corp             Dolphin Transportation Specialists         199 Northwest 79th Street                                                                               Miami              FL             33150
Keyence Corporation of America                                                         Suite 403 669 River Dr.                                                                                 Elmwood Park       NJ             07407
KF Plastics Pty Ltd                                                                    90 Vore St                                                                                              Silverwater        NSW            2128          Australia
KFD Public Relations, LLC dba Foundation                                               Suite 601 594 Broadway                                                                                  New York           NY             10012
Khalil & Kane Ltd                                                                      Address Redacted
Khanduri, Mahika                                                                       Address Redacted
Khankhoje, Aditi                                                                       Address Redacted
Khayutin, Ekaterina                                                                    Address Redacted
Kherata, Hadeer                                                                        Address Redacted
Khusial, Permanan                                                                      Address Redacted
Kia D. Goosby                                                                          Address Redacted
Kiana Nunez                                                                            Address Redacted
Kieftenbeld, Hermanus                                                                  Address Redacted
Kiel, Russell                                                                          Address Redacted
                                                                                                                                                                                               municipality of
Kierin Holdings LLC                         RUTH NELLY CHAPA CONTRERAS                 Mariano Azuela Street                   number 149               Colinas de San Jeronimo neighborhood   Monterrey          Nuevo León
Kierin Holdings LLC                         Stephen McNamara                           St. Onge Steward Johnston & Reens LLC   986 Bedford St.                                                 Stamford           CT             06905
Kilbo, Alexander                                                                       Address Redacted
Kilpatrick Townsend                                                                    Address Redacted
Kim Bell                                                                               Address Redacted
Kim Slagle                                                                             Address Redacted
Kim, Amy                                                                               Address Redacted
Kim, Emily                                                                             Address Redacted
Kim, Joann                                                                             Address Redacted
Kim, Jung Yun                                                                          Address Redacted
Kim, Matthew                                                                           Address Redacted
Kim, Meagan                                                                            Address Redacted




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                    Creditor Name                       Attention                             Address 1                            Address 2         Address 3              City              State           Zip            Country
Kim, Seung Jung                                                           Address Redacted
Kim, Ye Seong                                                             Address Redacted
Kimber Stanhope                                                           Address Redacted
Kimberly Hungerford                                                       Address Redacted
Kimberly L Hungerford                                                     Address Redacted
Kimberly North                                                            Address Redacted
Kimberly Sin                                                              Address Redacted
Kind Regards ApS                                                          Aakandevej 60                                                                          Vaerloese          001               3500          Denmark
Kinder Morgan Liquid Terminals LLC    C/O Kinder Morgan Operating L P D   PO Box 734027                                                                          Dallas             TX                75373-4027
Kinergy Marketing LLC                                                     Suite 2060 400 Capitol Mall                                                            Sacramento         CA                95814
King, Alyssa                                                              Address Redacted
King, Ashley                                                              Address Redacted
King, Christian                                                           Address Redacted
King, Jarett                                                              Address Redacted
King, Katie                                                               Address Redacted
King, Shana                                                               Address Redacted
King, Zachary                                                             Address Redacted
KINTETSU WORLD EXPRESS                                                    ONE JERICHO PLAZA SUITE 100                                                            JERICHO            NY                11753
Kira West                                                                 Address Redacted
Kirk Palmer Associates                                                    500 Fifth Avenue                                                                       New York           NY                10110
Kirk Wortman                                                              Address Redacted
Kirsty R Williams                                                         Address Redacted
Kiser, Ellen                                                              Address Redacted
Kitty Wagner                                                              Address Redacted
Kitty-Blu Appleton                                                        Address Redacted
Kiwi Bravo                                                                Address Redacted
Kizovski, Jessica                                                         Address Redacted
Klaviyo, Inc.                                                             125 Summer St.                            Floor 6                                      Boston             MA                02111
KLDiscovery Ontrack LLC               LD Lower Holdings Inc.              Suite 300 82010 Greensboro Drive                                                       McLean             VA                22102
Kleen Concepts                                                            8388 E. HarÆžord Drive, Suite 105                                                      Scottsdale         AZ                85255
Klein, Andrew                                                             Address Redacted
Klocke of America                                                         14201 Jetport Loop                                                                     Ft. Myers          FL                33913
KM Artist Agency LLC dba Apostrophe                                       217 Centre Street - 7th Floor                                                          New York           NY                10013
KMT Logistics, Inc.                                                       P.O. Box 229                                                                           Woodstown          NJ                08098
Knechtel, Inc                                                             7341 Hamlin Avenue                                                                     Skokie             IL                60076
KNF Neuberger, Inc                                                        2 Black Forest Road                                                                    Trenton            NJ                08691-1810
Knockout Beauty                       Emily Rosen                         Knockout Beauty                           11724 Barrington Court                       Los Angeles        CA                90049
Knockout Beauty                       Knockout Beauty                     33 East 93rdt Street - Ground Floor                                                    New York           NY                101287
Knockout Beauty                       Nicole Angelico                     Knockout Beauty                           2400 Montauk Hwy                             Bridgehampton      NY                11932
Knockout Beauty Attn: Emily Rosen                                         Address Redacted
KNOCKOUT. BEAUTY c/o Emily Rosen                                          Address Redacted
Knox, Victoria                                                            Address Redacted
Kobo Products Inc                                                         3474 South Clinton Ave.                                                                South Plainfield   NJ                07080
Kohl's Inc. | Biossance               CORPORATE - DO NOT SHIP             Kohl's Inc.                               CORPORATE - DO NOT SHIP                                         CA
Kohl's Inc. | Biossance               Kohl's Inc.                         10201 SCHUSTER WAY                                                                     Pataskala          OH                43062
Kohl's Inc. | Biossance               Kohl's Inc.                         1600 NORTH BUSINESS 45                                                                 Corsicana          TX                75110
Kohl's Inc. | Biossance               Kohl's Inc.                         1701 TRIMBLE AVENUE                                                                    Edgewood           MD                21040
Kohl's Inc. | Biossance               Kohl's Inc.                         2015 NE JEFFERSON STREET                                                               Grain Valley       MO                64029
Kohl's Inc. | Biossance               Kohl's Inc.                         2019 N. I-35 E                                                                         Desoto             TX                75115
Kohl's Inc. | Biossance               Kohl's Inc.                         2065 KEYSTONE PACIFIC PAR                                                              Patterson          CA                95363
Kohl's Inc. | Biossance               Kohl's Inc.                         300 ADMIRAL BYRD DRIVE                                                                 Winchester         VA                22602
Kohl's Inc. | Biossance               Kohl's Inc.                         3030 AIRPORT ROAD EAST                                                                 Macon              GA                31216
Kohl's Inc. | Biossance               Kohl's Inc.                         3440 STATE ROUTE 209                                                                   Wurtsboro          NY                12790
Kohl's Inc. | Biossance               Kohl's Inc.                         3500 SALZMAN RD                                                                        Middletown         OH                45044-9401
Kohl's Inc. | Biossance               Kohl's Inc.                         4300 MBL DRIVE                                                                         Ottawa             IL                61350
Kohl's Inc. | Biossance               Kohl's Inc.                         7855 COUNTY ROAD 140                                                                   Findlay            OH                45840
Kohl's Inc. | Biossance               Kohl's Inc.                         825 EAST CENTRAL AVENUE                                                                San Bernardino     CA                92408-2413
Kohl's Inc. | Biossance               Kohl's Inc.                         890 EAST MILL STREET                                                                   San Bernardino     CA                92408
Kohl's Inc. | Biossance               Kohl's Inc.                         9998 ALL POINTS PARKWAY                                                                Plainfield         IN                46168
Kohl's Inc. | Biossance               Kohl's Inc.                         N56 W17000 Ridgewood Drive                                                             Menomonee Falls    WI                53051
Kohl's Inc. | Biossance               Kohl's Inc.                         PO Box 3097                                                                            Milwaukee          WI                53201
KOHNO & KOHNO                                                             4-3 TSURIGANECHO                                                                                          27                5400035       Japan
Kokomo Resorts Pte Limited                                                Po Box 11718                              Nadi Airport                                 Kadavu             Fiji Island                     Fiji
Koller, Michael                                                           Address Redacted
Kombu Kitchen SF LLC                                                      6851 The Turn                                                                          Oakland            CA                94611
Kompass Cargo LLC                                                         10925 NW 27th St #201,                                                                 MIAMI, Doral       FL                33172
Kong, Aileen                                                              Address Redacted
Konica Minolta Sensing Americas Inc                                       101 Williams Dr                                                                        Ramsey             NJ                07446
Korn Ferry Internacional              Consultoria LTD                     Av. das Nações Unidas,                                                                 São Paulo          SP                05425-070     Brazil
Kornfeld, Erin                                                            Address Redacted
Koryakina, Irina                                                          Address Redacted
KOSMOSCIENCE                                                              Rua Italia, 274 - Jardim Ribeiro                                                       Valinhos           SÃ£o Paulo        13270-180     Brazil
Kosmoscience Ciencia E Tecnologia C                                       RUA DOZ E DE OUTUBRO 688                                                               Valinhos           SP                13274-125     Brazil
Kothari, Ninad                                                            Address Redacted
Kotob, Michaela                                                           Address Redacted
Kotulak, Mary                                                             Address Redacted
Kousha Berokim                        Berokim Law; Canon Law              FI 3 270 N Canon Dr.                                                                   Beverly Hills      CA                90210
Kousha Berokim                        Berokim Law; Canon Law              XANDRA KRAHE                              FI 3 270 N Canon Dr.                         Beverly Hills      CA                90210
Kovachi Design-Build                                                      88 Wilson Street                                                                       Staten Island      NY                10304




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                     Creditor Name                                  Attention                               Address 1                       Address 2                Address 3           City            State         Zip             Country
Koyote Trading                                                                           10th Floor 800 Third Avenue                                                             New York        NY              10022
KPEX, Inc.                                        Emma Olenberger - Alameda County EMS   KPEX, Inc.                            6780 Sierra Court        Suite M                  Dublin          CA              94568
KPEX, Inc.                                        KPEX, Inc.                             1017 26th Street                                                                        Oakland         CA              94607
KPH Healthcare Services, Inc                                                             520 E Main Street                                                                       Gouverneur      NY              13642
KPMG LLP                                                                                 Dept 0922                                                                               Dallas          TX              75312-0922
Kraft, Charles                                                                           Address Redacted
Krainock, Kayla                                                                          Address Redacted
Kramer, Aimee                                                                            Address Redacted
Kranenburg, Ewa                                                                          Address Redacted
KREATE                                                                                   Level 3, 55 Pyrmont Bridge Road                                                         Pyrmont         NSW             2009         Australia
Krefman, Nathaniel                                                                       Address Redacted
KREO Technologies Inc.                                                                   2857 Sherwood Heights Drive Unit #1                                                     Oakville        ON              L6J 7J9      Canada
KRH Holdings, Inc.                                                                       257 N. Canon Drive                    2nd Floor                                         Beverly Hills   CA              90210
Krista Blair                                                                             Address Redacted
Kristin Ann Corpuz                                                                       Address Redacted
Kristin Miller/Shuttters on the Beach c/o Jenna
Lewanda                                                                                  Address Redacted
Kroger/Vitacost                                                                          4700 Exchange Court                   Suite 200                                         Boca Raton      FL              33432
Kroll LLC                                                                                12595 COLLECTION CENTER DRIVE                                                           Chicago         IL              60693
Kroshyna, Viktoria                                                                       Address Redacted
Kruzick, Stephanie                                                                       Address Redacted
KS COSMETICOS LTDA                                                                       AV HIGIENOPOLIS 618                                                                     SÃO PAULO       SP              01238-000    Brazil
KS COSMETICOS LTDA                                                                       R TREZE DE MAIO 1933                                                                    SÃO PAULO       SP              01327-001    Brazil
KTM Industries                                                                           2325 Jarco Drive                                                                        Holt            MI              48842
Kuehn, Amelia                                                                            Address Redacted
Kuehne+Nagel Inc.                                                                        10 Exchange Place                     19th Floor                                        Jersey City     NJ              07302
Kuehnle AgroSystems Inc                                                                  2800 Woodlawn Dr                                                                        Honolulu        HI              96822
Kuhl Linscomb                                                                            Address Redacted
Kuhl Linscomb                                                                            Address Redacted
Kult London                                                                              Address Redacted
Kumho Petrochemical R & D center                                                         1-F, 69-13 Shinseongnam-ro                                                              Yuseong-Gu                      34116        Korea, Republic of
Kung, Stephanie                                                                          Address Redacted
Kunkel, Jeffrey                                                                          Address Redacted
Kunming Firmenich                                 Aromatics Co., Ltd                     Huoliban SME Business Park,                                                             Kunming         240             650400       China
Kuraray Co., LTD.                                                                        1-1-3 Otemachi Chiyodaku                                                                Tokyo                           1008115      Japan
Kurita, Yasufumi                                                                         Address Redacted
Kurt Lundquist                                                                           8055 Holanda Ct.                                                                        Dublin          CA              94568
Kwipped                                                                                  228 N. Front St. Ste. 301                                                               Wilmington      NC              28401
KWM LLC                                                                                  43 SALEM ROAD                                                                           WESTON          CT              06883
Kwok, Chuen                                                                              Address Redacted
Kyle Christopher Garcia Reyes                                                            Address Redacted
Kyle Krieger                                                                             Address Redacted
Kyle Pennell                                                                             Address Redacted
Kylie Kreischer                                                                          Address Redacted
Kylie Quebedeaux                                                                         Address Redacted
L. La Follette, MD Inc                                                                   599 Sir Francis Drake                 Suite 301                                         Greenbrae       CA              94904
L.I.S. - Colégio Novo da Maia                                                            Rua Carlos Alberto                                                                      Maia                            4475-311     Portugal
L.O Trading Corp                                                                         10800 NW 21st St. # 250.                                                                Miami           FL              33172
LA BAIONI MODA INTIMA LTDA - EPP                                                         AVENIDA IGUATEMI 777, QD13 LJ03/                                                        CAMPINAS        SP              13092-902    Brazil
La Maison Du Parfum                               La Maison Du Parfum                    Appelmansstraat 25 ,shop 6                                                              Antwerp 02018                                Belgium
LA Models INC                                                                            7700 W. SUNSET BLVD                                                                     Los Angeles     CA              90046

LA REGINELLA COMERCIO                             DE LINGERIE LTDA                       AV. COMENDADOR GUST 5945, LOJA 1016                                                     MACEIO          AL              57038-000    Brazil
Lab Equipment Co.                                                                        2506 Technology Drive                                                                   Hayward         CA              94545
Lab Partners                                                                             34 7th Ave                                                                              San Francisco   CA              94118
Lab Support                                       On Assignment Staffing Services Inc    File # 54318                                                                            Los Angeles     CA              90074-4318
Lab Works Equipment Service                                                              102 Hamilton Drive, Ste B                                                               Novato          CA              94949
Labaton Sucharow LLP                                                                     140 Broadway                                                                            New York        NY              10005
Labconco Corp                                                                            P.O Box 801133                                                                          Kansas          MO              64180
Labcorp Early Development Labs LTD                Labcorp                                Otley Road Harrogate                                                                                    YN              HG3 1PY      United Kingdom
Labcyte, Inc.                                                                            170 Rose Orchard Way                                                                    San Jose        CA              95134
Labelmaster                                       C/O American Labelmark Co              PO Box 46402                                                                            Chicago         IL              60646
Lab-Machines, inc.                                                                       2131 Hendricks Road                                                                     Pennsburg       PA              18073
Laboratoire DERMSCAN                                                                     114 boulevard du 11 novembre 1918                                                       Villeurbanne    69              69100        France
Labosphere SARL                                                                          5 Rue de Setubal                                                                        BEAUVAIS        60              60000        France
Lac2Biome SRL                                                                            Via Ceresio No. 7                                                                       Milan           Italy           20154        Italy
Lachtman Cohen P.C                                Attn.: Mario E. Teran                  Attention: David R. Lachtman, Esq.    600 Third Avenue         2nd Floor                New York        NY              10016
Lack, Claire                                                                             Address Redacted
Lacosfar Laboratorio SAS                                                                 Via Pompeo Mariani, 16                                                                  Milano          Milan           20128        Italy
Lad, Beena                                                                               Address Redacted
Lady Rose Inc.                                                                           10960 WILSHIRE BLVD., 5TH FLOOR       5th floor                                         Los Angeles     CA              90024
Lady Rose Inc.                                                                           19th floor 405 Lexington Avenue                                                         New York        NY              10174
Ladybird, Inc.                                                                           11444 W. OLYMPIC BLVD.                11th Floor                                        Los Angeles     CA              90064
LAGARDERE GLOBAL ADVERTISING                                                             2 RUE DES CEVENNES                                                                      PARIS           FRANCE          75015        France
Lai, Jasmine                                                                             Address Redacted
Lakeview Products of Chicago Inc                  Lakeview Equipment                     #5F 1327 West Washington Boulevard                                                      Chicago         IL              60607
Lalaland Artists Ltd                                                                     79 South Wing                         Somerset House                                    London                          SW1P4LG      United Kingdom
Lalit Nadkarni                                                                           Address Redacted
Lalit Nadkarni                                                                           Address Redacted




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                   Creditor Name                                     Attention                                        Address 1                                  Address 2                           Address 3              City          State           Zip            Country
Lam, Frank                                                                                        Address Redacted
Lam, Justin                                                                                       Address Redacted
Lana Al-Tawil                                                                                     Address Redacted
LANA BERNSTEIN                                                                                    Address Redacted
LANA BERNSTEIN                                                                                    Address Redacted
Lancer Sales USA, Inc.                                                                            1150 Emma Oaks Trail, Ste140                                                                                   Lake Mary           FL           32746-7120
Landucci, Aaron                                                                                   Address Redacted
Landuyt, Erica                                                                                    Address Redacted
Lang, Kristyn                                                                                     Address Redacted
Language Link                                      Corporate Translation Services, Inc            701 NE 136th Ave, Suite 200                                                                                    Vancouver           WA           98684
Lanham, David                                                                                     Address Redacted
LANKA HEALTHY FOODS BIOLOGICAL TECH                                                               1/4 A 1/4 A MAHINDARAMA MAWATHA                                                                                COLOMBO 10          01           1000          Sri Lanka
Lara Gerin                                                                                        Address Redacted
Lares Consulting                                                                                  2222 Sedwick Road                                                                                              Durham              NC           27713
Larissa Thomson                                                                                   Address Redacted
LaRochelle, Dylan                                                                                 Address Redacted
Larrinaga Sisters LLC                                                                             1101 North Wilmot Road                           Suite 235                                                     Tucson              AZ           85712
Larrinaga Sisters LLC                                                                             1101 North Wilmot Road                           Suite 249                                                     Tucson              AZ           85712
Larrinaga Sisters, LLC                                                                            1101 N WILMOT                                    # 225                                                         Tucson              AZ           85712
Larringa Sisters LLC                                                                              Attn.: Jose David Dabdoub                        1101 North Wilmont Road                                       Tucson              AZ           85712
Larringa Sisters LLC                                                                              Attn.: Mario E. Teran                            1101 North Wilmont Road                                       Tucson              AZ           85712
Larringa Sisters LLC                               Attn.: Jose David Dabdoub                      1101 North Wilmont Road                          Suite 225                                                     Tucson              AZ           85712
Larringa Sisters LLC                               Attn.: Mario E. Teran                          1101 North Wilmont Road                          Suite 225                                                     Tucson              AZ           85712
Larrow, Krystina                                                                                  Address Redacted
Larsen, Sierra                                                                                    Address Redacted
                                                                                                  AV PROFESSOR BENEDICTO MONTENEG
LASA PESQUISAS LABORATORIAIS LTDA                                                                 240                                                                                                            PAULINIA            SP           13148-189     Brazil

Lasenby House / Attn: Francesca Sciaraffa-Stubbs                                                  Address Redacted
Laskey, Joseph                                                                                    Address Redacted
LATERAL OBJECTS                                    LATERAL OBJECTS                                224 West 29th Street                             12th Floor                                                    New York            NY           10001

Latest in Beauty - JVN                             CPM Innovations Limited t/a Latest in Beauty   Latest in Beauty, 3rd Floor, 86-90 Paul Street                                                                 London                           EC2A4NE       United Kingdom
                                                                                                                                                   Latest in Beauty, Steller Packing
                                                                                                                                                   Limited, Unit XYZ, Paddock Wood
Latest in Beauty - JVN                             FAO Kim Johnston                               Latest in Beauty - JVN                           Distribution                        Centre, Transfesa Road    Kent TN12 6UU                                  United Kingdom
Latham & Watkins                                                                                  PO Box 7247-8181                                                                                               Philadelphia        PA           19170-8181
Latin American Fashion Summit LLC                                                                 252 Hampton Lane                                                                                               Key Biscayne        FL           33149
Latin Insights, LLC                                                                               111 West 33rd Street                             Suite 1900                                                    New York            NY           10001
Latin Insights, LLC                                                                               275 W. Broadway, 5th Floor                                                                                     New York            NY           10016
Lau, Jannifer                                                                                     Address Redacted
Lau, Peter                                                                                        Address Redacted
Lau, Rosalyn                                                                                      Address Redacted
Laura Brown                                                                                       Address Redacted
Laura Freitas/Victoria Steinsberg                                                                 Address Redacted
Laura Hughes Dixon                                                                                Address Redacted
Laura Vila (Vendor)                                                                               Address Redacted
Laure Hériard Dubreuil                                                                            Address Redacted
Laurel Stokke                                                                                     Address Redacted
Lauren Faust (Bergdorf Goodman)                                                                   Address Redacted
Lauren Faust / Bergdorf Goodman                                                                   Address Redacted
Lauren Gamarra Renz                                                                               Address Redacted
Lauren Monchar                                                                                    Address Redacted
Lauren Santo Domingo                                                                              Address Redacted
Lauture, Kamisha                                                                                  Address Redacted
Lavvan Inc. v. Amyris, Inc.                        CYRULNIK FATTARUSO LLP                         Jason Cyrulnik                                   55 Broadway                         3rd Floor                 NY                  NY           10006
LAVVAN, INC.                                                                                      434 WEST 33RD STREET                                                                                           NEW YORK            NY           10001
Lawrence Berkeley National Laborato                                                               1 Cyclotron Road MS 971-BO                                                                                     Berkeley            CA           94720
Lawrence, Lindsay                                                                                 Address Redacted
Lawrence, Travis                                                                                  Address Redacted
LAYLA                                              LAYLA                                          352 Atlantic Ave                                                                                               Brooklyn            NY           11217
Layota Watson                                                                                     Address Redacted
Lazzeri, Elaine                                                                                   Address Redacted
LBP Leland, LLC                                    Lord Baltimore Investment Partners,            6225 Smith Ave, Suite B100                                                                                     Baltimore           MD           21209
LCS Advanced Solutions                                                                            8901 S. La Cienega Blvd. Suite 209                                                                             Inglewood           CA           90301
Le Bon Marché - Bastien Gravelines/ Les Salons
Particuliers                                                                                      Address Redacted
Le Bon Marche Maison Aristide Boucicaut | Costa    Fashion Partner Group, pour Le Bon Marche      Porte De Quai E ou F, 15 boulevard de
Brazil                                             Dpt 38 Parfumerie                              Beaubourg                                                                                                      Croissy Beaubourg                77183         France
Le Bon Marche Maison Aristide Boucicaut | Costa    LE BON MARCHE MAISON ARISTIDE
Brazil                                             BOUCICAUT                                      24 rue de Sèvres                                                                                               Paris                            75007         France
Le Maire, Lydia                                                                                   Address Redacted
Le Point LLC                                       Le Point LLC                                   301 Valencia St                                                                                                San Francisco       CA           94103
LE SOLEIL CONFECCAO                                DE ROUPAS EIRELI                               PRACA PAN AMERICANA 42, 11                                                                                     SAO PAULO           SP           05461-000     Brazil
Lea Colombo CC Paula Fulton                                                                       Address Redacted
Leaf Group Ltd.                                                                                   1655 26th Street                                                                                               Santa Monica        CA           90404
Leaf, Timothy                                                                                     Address Redacted
Leah Bernard                                                                                      Address Redacted
Leah Bradley                                                                                      314 Bowling Green Drive                                                                                        Costa Mesa          CA           92626




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                     Creditor Name                     Attention                              Address 1                         Address 2     Address 3               City             State           Zip            Country
LEAP PAL Parts and Consumables LLC                                         4216 Atlantic Avenue                                                           Raleigh              NC              27604
Leavell, Michael                                                           Address Redacted
Lebsack, Alexandria                                                        Address Redacted
LeCaro, Ludovic                                                            Address Redacted
Lee Mei hui                                                                Address Redacted
Lee Rubber Products, LLC                                                   500 Riverwood Road                                                             Charlotte            NC              28270
Lee, Andrea                                                                Address Redacted
Lee, Caren                                                                 Address Redacted
Lee, Collette                                                              Address Redacted
Lee, Daniel                                                                Address Redacted
Lee, Gina                                                                  Address Redacted
Lee, Holly                                                                 Address Redacted
Lee, Jenny                                                                 Address Redacted
Lee, Kristan                                                               Address Redacted
Lee, Monica                                                                Address Redacted
Lee, Ryan                                                                  Address Redacted
Lee, Shirley                                                               Address Redacted
Lee, Su Jin                                                                Address Redacted
Lee, Won Jung                                                              Address Redacted
Lee-Goldman, Alexandria                                                    Address Redacted
Leeper, Madeline                                                           Address Redacted
Legat, Jolene                                                              Address Redacted
Lehvoss UK                           Bayersiche Hypo und Vereinsbank AG    120 London Wall                                                                London                               EC2Y 5ET      United Kingdom
LEHVOSS UK Limited                                                         40 Holmes Chapel                                                               Congleton            CH              CW12 4NG      United Kingdom
Lehvoss UK Ltd.                                                            Unit 3C Park Farm Road                                                         Folkestone                           CT19 5EY      United Kingdom
Leibovich, Audrey                                                          Address Redacted
Leigh Dickson                                                              Address Redacted
Leigh, Susanna                                                             Address Redacted
LEILA FAZEL                                                                Address Redacted
Leland Ace Hardware                                                        117 Village Road                                                               Leland               NC              28451
Leland Machine Shop, Inc.                                                  767 Village Road                                                               Leland               NC              28451
Lemon Tree Productions LLC                                                 130 W. Lafayette Ave                                                           Baltimore            MD              21217
Lemon Tree Productions LLC                                                 5300 Market St.                                                                Oakland              CA              94608
Lemonada Media                                                             Address Redacted
Lena Maiah                                                                 Address Redacted
Leng, Joshua                                                               Address Redacted
Lentsch, Samantha                                                          Address Redacted
Leon, Yvonne                                                               Address Redacted
Leone-Cox, Erica                                                           Address Redacted
Lesley Lillah McKenzie                                                     Address Redacted
Leslie Dong                                                                Address Redacted
Leslie Tynik Consulting LLC                                                Apt #3R 579 Onderdonk Avenue                                                   Ridgewood            NY              11385
Lessonly, Inc.                                                             1129 East 16th St.                                                             Indianapolis         IN              46202
LETICIA THOMAS- MOODBOARD TALENT                                           Address Redacted
Levementum LLC                                                             55 N Ariz ona Place, Suite 203                                                 Chandler             AZ              85225
Lever, Inc.                                                                1125 Mission Street                                                            San Francisco        CA              94103
Levy, Lauren                                                               Address Redacted
Lewis Container & Service                                                  PO Box 691777                                                                  Charlotte            NC              28227
Lewis, Kendall                                                             Address Redacted
Lex + Park, LLC                                                            1505 Clay Street                                                               Newport Beach        CA              92663
LexisNexis                           RELX Inc.                             28544 Network Place                                                            Chicago              IL              60673-1285
Lexy Nespoli                                                               Address Redacted
LF COMERCIO DE VESTUARIO LTDA                                              Q 107 NORTE AV EK ESQU, LT 01 PSL1                                             PALMAS               TO              77001-080     Brazil
LFMS MODA FEMININA EIRELI EPP                                              ROD CELSO GARCIA CID S/N, LOJA 245B                                            LONDRINA             PR              86050-901     Brazil
Li, Chunli                                                                 Address Redacted
Li, Li                                                                     Address Redacted
Li, Megan                                                                  Address Redacted
Li, Wei                                                                    Address Redacted
Li, Wenzong                                                                Address Redacted
Liam Douglas                                                               Address Redacted
Liam Han                                                                   Address Redacted
Liang, Feng Ting                                                           Address Redacted
Liang, Jinwen                                                              Address Redacted
Liang, Kaman                                                               Address Redacted
Liberty Fire Protection                                                    PO Box 42239                                                                   Charleston           SC              29423-2239
Liberty Procurement Co. Inc.         Liberty Procurement Co. Inc.          650 Liberty Avenue                                                             Union                NJ              07083
Liberty Retail Ltd | COSTA BRAZIL    CLIPPER C/O LIBERTY (Bay 11)          William Nadin Way                     Tetron Point                             Swadlincote Derbys                   DE11 0BB      United Kingdom
Liberty Retail Ltd | COSTA BRAZIL    Liberty Retail Ltd                    Regent Street                                                                  London                               W1B 5AH       United Kingdom
Liberty Retail Ltd | ROSE INC        Accounts Payable Liberty Retail Ltd   PO Box 2239                                                                    London                               W1A 5FS       United Kingdom
Liberty Retail Ltd | ROSE INC        Clipper C/O Liberty                   Bay 11, 19 William Nadin Way                                                   Swadlincote Derbys                   DE11 0BB      United Kingdom
Liberty Retail Ltd | ROSE INC        Liberty Retail Ltd                    210-220 Regent Street                                                          London                               W18 5AH       United Kingdom
Liconic AG                                                                 Industriestrasse 8                                                             Mauren                               9493          Liechtenstein
Lieberman Research Worldwide                                               #1600 1900 Ave of the stars                                                    Los Angeles          CA              90067
Liebscher, Destiny                                                         Address Redacted
Life Technologies Corp.              dba Invitrogen                        Bank of America Lockbox Services                                               Chicago              IL              60693
LifeLabs Group, Inc.                                                       10 Hedges Road                                                                 Warwick              NY              10990
Lifetech Resources LLC                                                     2280 B Ward Avenue 93065                                                       Simi Valley          CA              93065
Light Locations                                                            Orchard Barn                          Lydeway                                  Devizes              Wilts           SN10 3PU      United Kingdom
Lighthouse Document Technologies                                           DEPT LA 24291                                                                  Pasadena             CA              91185




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                    Creditor Name                                   Attention                               Address 1                           Address 2         Address 3             City               State           Zip            Country
Lilit Oganisyan                                                                         Address Redacted
Lily Montasser                                                                          Address Redacted
Lim, John Dominic                                                                       Address Redacted
Limble Solutions, LLC                                                                   3290 W Mayflower Ave                                                                  Lehi                  UT             84043
Lin, Imee                                                                               Address Redacted
Lincoln Financial Group                           The Lincoln National Life Insurance   P.O. Box 2658                                                                         Carol Stream          IL             60132-2658
Linda Lam                                                                               Address Redacted
Linda Mai Green                                                                         Address Redacted
Linda O'Donnell                                                                         Address Redacted
Linde Gas & Equipment Inc.                                                              10 Riverview Dr.                                                                      Danbury               CT             06810
Linde Gas, Inc.                                   Attn: Bankruptcy/Legal Dept.          10 Riverview Dr.                                                                      Danbury               CT             06810
Linden Bulk Transportation LLC                    Odessey Logistics & Technology Corp   4200 Tremley Point Rd.                                                                Linden                NJ             07036-6536
Linden Bulk Transportation LLC                    Odessey Logistics & Technology Corp   Attn: Payment Processing                   4200 Tremley Point Rd.                     Linden                NJ             07036-6536
Linden Staub LLP                                                                        29 Charlotte Road                          3rd Floor                                  London                               EC2A 3PF      United Kingdom
Lindsay King-Miller                                                                     Address Redacted
Lindsey Munette                                                                         Address Redacted
Lindsey Zubritsky                                                                       Address Redacted
Ling Bai                                                                                Address Redacted
LINHARDT GmbH & Co.KG                                                                   Dr.-Winterling-Str. 40                                                                Viechtach                            D-94234       Germany
LinkedIn Corporation                                                                    62228 Collections Center Drive                                                        Chicago               IL             60693-0622
Linn Hagglund Stylist & Creative AB                                                     Nantesvagen 87                                                                        Akersberga                           18494         Sweden
Lintao SA                                                                               Avenue Louis-Casaï 81                                                                 Cointrin              GE             01216
Lip Messages, LLC                                                                       15015 NIGHTHAWK LN                                                                    Bowie                 MD             20716
Lipari, Bridgette                                                                       Address Redacted
Lipoid LLC                                                                              Suite 1801 744 Broad Street                                                           Newark                NJ             07102
Liquid Process Systems, Inc.                                                            1025 Technology Dr, Ste A                                                             Indain Trail          NC             28079
Lisa Alexander                                                                          Address Redacted
LISA HAPGOOD                                                                            Address Redacted
Lisa Katchman                                                                           Address Redacted
Lisa Levy                                                                               Address Redacted
Lisa Piper                                                                              Address Redacted
Lisa Qi                                                                                 Address Redacted
Liset Martinez                                                                          Address Redacted
Literate AI LLC                                                                         1248 Coral Way                                                                        Coral Gables          FL             33134
Lithotype Company, Inc                                                                  333 Point San Bruno Blvd                                                              South San Francisco   CA             94080
Little Bear Studios                                                                     839 Brooks Ave                                                                        Venice                CA             90291
Little Big Brands                                                                       1 North Broadway                           Suite 202                                  White Plains          NY             10601
Liu, Andrea                                                                             Address Redacted
Liu, Chi-Li                                                                             Address Redacted
Liu, Xiaoge                                                                             Address Redacted
Liu, Zhiguo                                                                             Address Redacted
Liv Judd Soye                                                                           Address Redacted
Liv Judd Soye                                                                           Address Redacted
Live Talent, LLC                                                                        10120 W. Flamingo Rd                       Suite 4545                                 Las Vegas             NV             89147
Livent USA Corp.                                  FMC Lithium USA Corp                  PO Box 406011                                                                         Atlanta               GA             30384

LIVIA COSTA CUNHA                                                                       R DESEMBARGADOR LA 1500, LOJA 2118A                                                   FORTALEZA             CE             60176-065     Brazil
Liyan Chen                                                                              Address Redacted
Liz Barclay                                                                             Address Redacted
LIZ MANALIO/FIT                                                                         Address Redacted
Liza Blakiston                                                                          Address Redacted
Lizi Eames c/o RHW                                                                      Address Redacted
LJ Star Incorporated                                                                    2396 EDISON BLVD                                                                      Twinsburg             OH             44087
LJ's Lawn and Land Management                                                           1598 Old Fayetteville Road                                                            Leland                NC             28451
Llave, Francis                                                                          Address Redacted
Lloyd-Randolfi, Jennifer                                                                Address Redacted
LMAP Kappa Limited                                                                      #250 1414 Raleigh Road                                                                Chapel Hill           NC             27517
LMC Worldwide LTD                                                                       11 Bressenden Place                                                                   London                               SW1E 5BY      United Kingdom
LMcMullen Consulting LLC                                                                370 Ridgewood Avenue                                                                  Mill Valley           CA             94941
                                                                                                                                                                              San Pedro de los
LMI PRODUCCIONES S.A DE C.V.                                                            Blvd Adolfo Lopez Mateos 202, Interior 2   Alvaro Obregon                             Pinos                 CDMX           1180          Mexico
LNY 2005 INDUSTRIA DE ROUPAS LTDA                                                       RUA MAJOR FONSECA 21                                                                  RIO DE JANEIRO        RJ             20920-040     Brazil
Lo, Teresa                                                                              Address Redacted
Local Grit                                                                              206 Great Falls Street                                                                Falls Church          VA             22046
Local Grit LLC                                    Grit Studio                           206 Great Falls St                                                                    Falls Church          VA             22046
Local Grit LLC dba Grit Studio                                                          206 Great Falls St                                                                    Falls Church          VA             22046
Loeb & Loeb LLP                                                                         Suite 2200 10100 Santa Monica Blvd                                                    Los Angeles           CA             90067
Loki BBTN LLC dba Illuminate Social                                                     1880 Century Park East                     Suite 1600                                 Los Angeles           CA             90067
LOLA Creative Agency                                                                    6267 Doyle Street                                                                     Emeryville            CA             94608
London Nomad Hotel / Leonie Ricari Studios Room
107                                                                                     Address Redacted
London, Wynne Daryll                                                                    Address Redacted
Long Trail Sustainability                                                               830 Taft Rd                                                                           Huntington            VT             05462
Look Model Agency                                                                       166 Geary St. suite 1401                                                              San Francisco         CA             94108
Loop1 Systems Inc                                                                       PO Box 671327                                                                         Dallas                TX             75267
Looped Logic                                      Blackrock Traidng Company             747 Calle Plano                                                                       Camarillo             CA             93012
Lopez, Elizabeth                                                                        Address Redacted
Lopez, Kaleah                                                                           Address Redacted
Lopez, Lina                                                                             Address Redacted




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                    Creditor Name                                     Attention                           Address 1                            Address 2         Address 3             City                 State           Zip            Country
Lopez, Melissa                                                                           Address Redacted
Loren Data Corp.                                                                         PO Box 933731                                                                       Atlanta               GA               31193-3731
Loren Thompson                                                                           Address Redacted
Lorianne Vaughn                                                                          Address Redacted
Los Trigos, Inc                                    The Receptionist                      #62971 13918 E Mississippi Ave                                                      Aurora                CO               80012
Lost Cause Photographic, LLC                                                             4325 Salem St                                                                       Emeryville            CA               94608
Louise McArdle                                                                           25 Elsden Road                                                                      London                                 N17 6RY       United Kingdom
Love Social Media, LLC                                                                   14 Turtle Walk                                                                      Key Biscayne          FL               33149
Loyens & Loeff N.V.                                                                      Parklaan 54A                                                                        Eindhoven                              5613 BH       Netherlands
LR Paris                                                                                 345 7th Ave                              19th Floor                                 New York              NY               10001
Lu, Chia-Wei                                                                             Address Redacted
Lu, Mimi                                                                                 Address Redacted
LUB Foods USA Inc.(Nick's)                         Luthman Backlund Foods USA Inc.,      300 214 Main St.                                                                    El Segundo            CA               90245
Luca Barbieri LTD                                                                        12 Danby House, Frampton Park Road                                                  London                                 E9 7RD        United Kingdom
Luca Mornet                                                                              Address Redacted
Luca Mornet                                                                              Address Redacted
LUCAS DE CAMPOS SOARES                                                                   RUA STEVIA 300                                                                      MARINGA               PR               87070-140     Brazil
Lucas Handley                                                                            Address Redacted
Lucchesi, Alexander                                                                      Address Redacted
Luciano Cerqueira da Silva x Amyris Brasil Ltda.
(DSM PRODUTOS NUTRICIONAIS BRASIL S.A)             FABIO EDUARDO DE LAURENTIZ            Rui Barbosa Street                       333 - Centro - Guariba/SP                                                                       Brazil
Lucid Ape Los Angeles                              Cheng Yu Wang                         3201 Overland Ave.                                                                  Los Angeles           CA               90034
Lucid Scientific, Inc.                                                                   311 Ferst Drive                                                                     Atlanta               GA               30332
LUCIEN PAGES COMMUNICATION SAS                                                           15 Boulevard PoissonniÃ¨re                                                          Paris                 France           75002         France
Lucky VIitamin | Pipette                           LUCKY VITAMIN                         555 East North Lane                      Suite 6050                                 Conshohocken          PA               19428
Lucky VIitamin | Pipette                           LuckyVitamin Warehouse #1             1620 Central Ave                                                                    Roselle               IL               60172
Lucky VIitamin | Pipette                           LuckyVitamin Warehouse #2             575 Vista Blvd                                                                      Sparks                NV               89434
Lucy Annabella                                                                           Address Redacted
Lucy Banfield                                                                            Address Redacted
Lui Geh, Juliana                                                                         Address Redacted
Luiz Henrique Schiel Gigolotti                                                           Address Redacted
Lukas Production Inc.                                                                    Suite O 1170 Burnett Ave.                                                           Concord               CA               94520
Lula-Westfield LLC                                                                       451 Highway 1005                                                                    Paincourtville        LA               70391
LuLu Artists Collective                                                                  128 Tunstead Avenue                                                                 San Anselmo           CA               94904
Luminaire Limited                                                                        18 Powis Mews                                                                       London                                 W11 1JN       United Kingdom
Luna, Marissa                                                                            Address Redacted
Lunar Lyte, Inc.                                                                         8942 Wilshire Blvd                                                                  Beverly Hills         CA               90211
Lung, Ryan                                                                               Address Redacted
Luo, Siyi                                                                                Address Redacted
Lupo, Anthony                                                                            Address Redacted
Lusohigin Produtos                                 de Higiene Industrial, Lda            Rua António Maria da Costa 379                                                      Maia, Porto                            4470-460      Portugal
Luttrell, Brittany                                                                       Address Redacted
LW1 Inc.                                                                                 9378 WILSHIRE BLVD, STE 310                                                         BEVERLY HILLS         CA               90212
Ly, Nancy                                                                                Address Redacted
Lydia Nichols                                                                            Address Redacted
Lyn, Anna                                                                                Address Redacted
Lynn Hashinsky                                                                           Address Redacted
Lys Janez Warehousing and Logistics                                                      Ctra. Leon-Astorga, N-120, Km 334,                                                  Leon                    24             24289         Spain
Lysi consulting LLC                                                                      620 newport center dr                    11th Floor                                 Newport Coast           CA             92657
Lytle Consulting                                                                         201 Magnolia Terrace                                                                Pendleton               SC             29670
M + A Group US Inc.                                                                      520 West 27th Street                     #901                                       New York                NY             10001
M and P Models                                                                           29 Poland Street                                                                    London                                 W1F 8QR       United Kingdom
M Management Group, LLC                                                                  1902 S. Palm Grove Ave                                                              Los Angeles             CA             90016
M&J Photography LTD                                                                      106a Clova Road                                                                     London                                 E7 9AF        United Kingdom
M&S Logistics Ltd                                                                        Hope Street Chapel                                                                  Sandbach                CH             CW11 1BA      United Kingdom
M. C. Tank Transport, Inc.                                                               10134 Mosteller Lane                                                                West Chester            OH             45069
M.C. Schroeder Equipment Company                                                         3625 Denver Drive                                                                   Denver                  NC             28037
                                                                                                                                                                             Ciudad de Buenos
M.Cassab Argentina S. A.                                                                 Cnel Manuel E. Arias 1639-5to - B.                                                  Aires                                  1429          Argentina
                                                                                                                                                                             San Isidro - pcia de Bs
M.Cassab Argentina S. A.                                                                 Fondo de la Legua 1111                                                              As                                     1642          Argentina
M.G. Newell Corporation                                                                  301 Citation Court                                                                  Greensboro              NC             27409
M.G. West Company                                                                        3rd Floor 2 Shaw Alley                                                              San Francisco           CA             94105
m2p-labs, Inc.                                                                           400 Oser Ave, Suite 1650                                                            Hauppauge               NY             11788
Ma, Cara Justine                                                                         Address Redacted
Ma, Edmond                                                                               Address Redacted
Ma, Jie                                                                                  Address Redacted
Maakad, Jessica                                                                          Address Redacted
Macaraeg, Jovilynn                                                                       Address Redacted
Macarta, LLC                                                                             3459 Ringsby Ct. #301                                                               Denver                CO               80216
Machaon Diagnostics, Inc.                                                                2023 Eighth Street                                                                  Berkeley              CA               94710
MACHEREY-NAGEL lnc.                                                                      Suite 102 924 Marcon Blvd.                                                          Allentown             PA               18109
Machia, Katherine                                                                        Address Redacted
Macias Gini & O'Connell LLP                                                              Suite 300 3000 S Street                                                             Sacramento            CA               95816
Maciel, Jose                                                                             Address Redacted
Mack Elevation Forum LLC                                                                 338 May Street                                                                      Elmhurst,             IL               60126
Mac-Mod Analytical, Inc                                                                  P.O. Box 587                                                                        Chadds Ford           PA               19317
Macy's Backstage                                   Macys Backstage - Columbus DC         7145 Rickenbacker Parkway W                                                         Columbus              OH               43217
Macy's Backstage                                   Macy's Backstage Invoice Processing   Macy's Accounts Payable                  P.O. Box 8251                              Mason                 OH               45040




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Macy's Backstage                                   Macy's Corporate Services            7 West 7th Street                                                                 Cincinnati            OH                 45202
Macy's Content Studio / Attn: Tricia Chichester-
Harris                                                                                  Address Redacted
Madden Manufacturing                                                                    1317 Princeton Blvd.                                                              Elkhart               IN                 46516
Made Safe                                          Nontoxic Certified, Inc.             #200 145 Palisade St                                                              Dobbs Ferry           NY                 10522
Made Thought Design Limited                                                             1 St John's Lane                                                                  London                                   EC1M 4BL      United Kingdom
Madeleine Dalla                                                                         Address Redacted
Madeline St Clair Baker                                                                 Flat 2, Flour House, French Yard                                                  Bristol                                  BS1 6UE       United Kingdom
Madewell-Frando, Winona                                                                 Address Redacted
Madi Shaw                                                                               Address Redacted
Madison Teeuws                                                                          4457 S centinela Ave                                                              Los Angeles           CA                 90066
Madler, Michelle                                                                        Address Redacted
Maed Media, LLC                                                                         2633 Lincoln Blvd                       STE 153                                   Santa Monica          CA                 90405
Maersk Line                                                                             Address Redacted
Maggie Lindsey                                                                          Address Redacted
Maggie Lindsey                                                                          Address Redacted
Magnetic Packaging Inc                                                                  No.35, Lane 121, Xinghe Road            Dadu District                             Taichung City         Taiwan ROC         432           Taiwan
Magothy Consulting Group, LLC                                                           16905 Old Sawmill Road                                                            Woodbine              MD                 21797
Mahaffey, Ronya                                                                         Address Redacted
Mai, Zaw                                                                                Address Redacted
Maibach Corporation                                                                     2745 Larkin Street                                                                San Francisco         CA                 94109
Mainfreight INC                                                                         50 Tanforan ave                                                                   south san francisco   CA                 94080
Mainwaring, Edward                                                                      Address Redacted
Maira Genovese                                                                          Address Redacted
Maira Genovese                                                                          Address Redacted
Maira Genovese                                                                          Address Redacted
MAIS EMPORIUM COSMETICOS E PRODUTOS                                                     R CEL OSCAR PORTO 691                                                             SÃO PAULO             SP                 04003-003     Brazil
Maisie Tomkins                                                                          Address Redacted
                                                                                                                                                                          BOULOGNE
Maison de la Recherche                             Sodexo Sports et Loisirs SAS         30, cours de l'Ile Seguin                                                         BILLANCOURT                              92100         France
Major Lindsey & Africa, LLC                        Allegis Group Holdings, Inc.         7301 Parkway Dr. S                                                                Hanover               MD                 21076
Make USA LLC                                                                            465 Mola Blvd, Suite 3                                                            Elmwood Park          NJ                 07407
Makeup by Mario / Joshua McLaughlin                                                     Address Redacted
Makeupshayla, inc                                                                       9336 Civic Center Drive                                                           Beverly Hills         CA                 90210
Maldonado, Michael                                                                      Address Redacted
Malina Gilchrist                                                                        Address Redacted
Malloy, Brian                                                                           Address Redacted
Malloy, Edward                                                                          Address Redacted
Malloy, Nancy                                                                           Address Redacted
Malwadkar, Prerana                                                                      Address Redacted
Mama Shocks, Inc.                                                                       32 HERRINGBONE CT                                                                 Newbury Park          CA                 91320
Mana Products, Inc.                                                                     27-11 49th ave                                                                    Long Island City      NY                 11101
Mana Products, Inc.                                                                     32-02 Queens Blvd                                                                 Long Island City      NY                 11101
Management 360                                                                          9111 Wilshire Blvd.                                                               Beverly Hills         CA                 90210
Manatt Phelps & Philips LLP                                                             11355 W Olympic Blvd                                                              Los Angeles           CA                 90064-1614
Manatt Phelps and Phillips, LLP                                                         Suite 1700 2049 Century Park East                                                 Los Angeles           CA                 90067
Mandala Global Advisors                            Ana Dutra                            850 River Trail                                                                   Vero Beach            FL                 32963
Mandlik & Rhodes Information Systems, Inc          Elizabeth Labuda                     223 applebee st                                                                   Barrington            IL                 60011-0249
Mane USA                                                                                339 Jefferson Rd                                                                  Parsippany            NJ                 07054
MANN+HUMMEL Water & Fluid Solutions                Microdyn Nadir US Inc.               93 S. La Patera Lane                                                              Goleta                CA                 93117
Mannikum, Kimberley                                                                     Address Redacted
Manningham, Michelle                                                                    Address Redacted

Manufacture Française des                          Pneumatiques Michelin                PO Box 130                                                                        Cerdanyola Del Valles 08                 8290          Spain
Manufacturing Consuting Associates,                c/o Johm M. Kane                     1618 dye Place                                                                    Wilimington           NC                 28405
MAPRIN Representaciones Ltda                                                            AV LOS LEONES 382 OF 302                                                          SANTIAGO              13                               Chile
Marc Henry                                                                              Address Redacted
MARCELA ALCALA                                                                          Address Redacted
Marcela Alcala (Mexicanbutjapanese)                                                     28 Box Street, Apt. 534                                                           Brooklyn              NY                 11222
Marcelino, Maria Carina                                                                 Address Redacted
Marciniak, Alexander                                                                    Address Redacted
Marcor Development Corp                            Marcor, An Azelis Americas Company   PO Box 785917                                                                     Philadelphia          PA                 19178-5917
Marcos Wiliam da Silva Rodrigues x PAV MAR
Pavimentação EIRELI - Amyris Fermentação de
Performance LTDA                                   CARLOS EDUARDO PEREIRA COSTA         Sta. Terezinha Street                   51                                        Osasco                SP                               Brazil
Marcus and Zelman                                                                       Suite 300 701 Cookman Ave                                                         Asbury Park           NJ                 07712
MAREKA KESSLER/ C/O CHRIS BLACWELL                                                      Address Redacted
Margaret Champagne                                                                      Address Redacted
Margaret Elizabeth Barclay                                                              Address Redacted
Margaret H. Georgiadis                                                                  Address Redacted
Margaret Jackson                                                                        Address Redacted
Margaret Smith Maxum                                                                    Address Redacted

Margarida Moreira, ComunicaÃ§Ã£o e Eventos, Lda.                                        Rua Luis Derouet                        n23 3 andar                               Lisboa                Portugal           1250-151      Portugal
Margaux Models LLC                                                                      210 SANTA MONICA BLVD                   #306                                      Santa Monica          CA                 90401
Margie Peoples                                                                          Address Redacted
Mari Beauty Inc                                                                         156 Mott Street                         Apt 3                                     New York              NY                 10013
MARIA AMELIA PAIVA- DIPLOMATIC
CONSULTANT                                                                              Address Redacted




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MARIA AMELIA PAIVA- DIPLOMATIC
CONSULTANT                                                                        Address Redacted
MARIA ANGELA DO COUTO NORMANDIA                                                   Address Redacted
Maria de Lourdes Figueiredo da Silva x Amyris
Biotecnologia do Brasil Ltda - SMA, Impacto
Serviços de Segturança Ltda.                    David Souza Advogados.            Barão de Itapura Street             1518 - room 906                                       Campinas             SP           13020-432     Brazil
MARIA DEL RIO                                                                     Address Redacted
Maria Joudina                                                                     Address Redacted
Maria Tyomkina                                                                    Address Redacted
MARIAH LEONARD                                                                    Address Redacted
MARIANNA HEWITT                                                                   Address Redacted
Marianna Hewitt                                                                   Address Redacted
Mariano, Christa Lynna                                                            Address Redacted
Marie Lodi Andreakos                                                              Address Redacted
MARILIA FERREIRA LOPES MOREIRA                                                    Address Redacted
MARILUCI DE MATOS OBATA                                                           AVENIDA ALEXANDRE CAZELATO 610                                                            PAULINIA             SP           13148-910     Brazil
Marilyn Red Model Management LLC                                                  210 11th Avenue                     Suite 704                                             New York             NY           10001
Marin                                                                             Tax Collectorâ€™s Office            PO Box 4220                                           San Rafael           CA           94913-4220
Marin, Marta                                                                      Address Redacted
MARINA BICUDO ZEFERINO                                                            Address Redacted
Marina, Diana                                                                     Address Redacted
Marinkovich, Samantha                                                             Address Redacted
Mario Henrique Correa x Amyris Fermentação de   NADIA RANGEL KOHATSU e CEZAR
Performance LTDA                                ADRIANO CARMESINI                 Coronel Virgílio Street             240                       Barra Bonita Brazil.                                                        Brazil
Maripol c/o Pierre Fauque                                                         Address Redacted
Mariya Timchuk/Vladimir Timchuk                                                   Address Redacted
Marjon Carlos                                                                     Address Redacted
Mark David Spillman                                                               ladywood cottage                    sarratt lane, loudwater                               Rickmansworth                     wd3 4az       United Kingdom
Market Performance Group                                                          101 Erford Rd                                                                             Camp Hill            PA           17011
Market Performance Group, LLC                                                     40 Lake Shore Drive                                                                       Princeton Junction   NJ           08550
MarketLab Inc                                                                     PO BOX 844348                                                                             Boston               MA           02284-4348
Marketplace Ignition, LLC                       Wunderman Thompson Commerce       Suite 500 414 Olive Way                                                                   Seattle              WA           98101
MarketVision Research, Inc.                                                       Suite 300 5151 Pfeiffer Rd                                                                Cincinnati           OH           45242
Markit North America, Inc.                                                        55 Water Street                                                                           New York             NY           10041
MarkMonitor, Inc                                                                  P.O. Box 3775                                                                             Carol Stream         IL           60132-3775
Marlen Roman Owen                                                                 Address Redacted
Marlena Kur                                                                       Address Redacted
Marlene Dominguez                                                                 Address Redacted
Marlowe, Rachel                                                                   Address Redacted
Marquette Marketing, LLC                                                          215 Farmingville Road                                                                     Ridgefield           CT           06877
Marquita Lynch (Novation Styles)                                                  Address Redacted
Marrocco, Elyse                                                                   Address Redacted
MARS Philter, Inc. DBA The MARS Agency                                            PMB #330, 2255B Queen Street East                                                         Toronto              ON           M4E 1G3       Canada
Mars Wong                                                                         Address Redacted
Marshall, Sabrina                                                                 Address Redacted
Marshalls/TJX - Marmaxx                                                           770 Cochituate Road                                                                       Framingham           MA           01701
Marsham Natural Products Broker                                                   35 Romina Drive, 2nd Floor                                                                Concord              ON           L4K 4Z9       Canada
Marta Marin                                                                       Address Redacted
Marta Marin                                                                       Address Redacted
Martha Dominguez                                                                  Address Redacted
Martin Coceres                                                                    Address Redacted
Martin Eito                                                                       Address Redacted
Martin Vincent Diegor                                                             Address Redacted
Martin, Jose                                                                      Address Redacted
Martin, Robert                                                                    Address Redacted
Martinez, Desiree                                                                 Address Redacted
Martinez, Germana                                                                 Address Redacted
Martinez, Jessica                                                                 Address Redacted
Marton, Ian Benedict                                                              Address Redacted
Mary Asseratte                                                                    Address Redacted
Mary Downing                                                                      Address Redacted
Mary Leest                                                                        Address Redacted
MARY LEEST                                                                        Address Redacted
Mary Leest                                                                        Address Redacted
Mary Mathew, Shilpa                                                               Address Redacted
Mary O' Brien                                                                     Address Redacted
Mary Papadimos                                                                    Address Redacted
Mary Phillips c/o Jen Kelly                                                       Address Redacted
Mary Turner Troutman /Bluemercury                                                 Address Redacted
Mary Wiles / WILLIAMS                                                             Address Redacted
Maryam Lieberman                                                                  Address Redacted
Maryanne Coll                                                                     Address Redacted
Mash Technology Services LLC                                                      68 Old Bedford Road                                                                       East Bridgewater     MA           02333
Mash Technology Services LLC                                                      PO Box 372                                                                                North Easton         MA           02356
Mass Construction Corporation                                                     1060 Brickell ave                   Unit 1601                                             Miami                FL           33131
Mass Construction Corporation                                                     Unit 1601 1060 Brickell ave                                                               Miami                FL           33131
Massabni, Kimberly                                                                Address Redacted
Masuno, Duy                                                                       Address Redacted
Masy Systems Inc                                                                  PO Box 485                                                                                Pepperell            MA           01463




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                   Creditor Name                         Attention                              Address 1                        Address 2         Address 3            City                State         Zip         Country
Mate Libre                                                                  5333, Avenue Casgrain, Suite 405                                                   Montreal            QC               H2T 1X3      Canada
Materiae By David Pirrotta            Materiae By David Pirrotta            7424 1/2 W Sunset Blvd                   #5                                        Los Angeles         CA               90046
Matheson Tri-Gas                                                            P.O. Box 842724                                                                    Dallas              TX               75284-2724
Matheson Tri-Gas Inc                                                        Dept 3028 - PO Box 123028                                                          Dallas              TX               75312-3028
Matlack Leasing LLC                                                         PO Box 822588                                                                      Philadelphia        PA               19182-2588
Matrix Science Limited                                                      64 Baker Street                                                                    London                               W1U 7GB      United Kingdom
Matsunami, Kai                                                              Address Redacted
Matt Leonard Kurze                                                          15107 Lassen Way                                                                   Morgan Hill         CA               95037
Matt Marshall Company                                                       PO Box 77357                                                                       Greensboro          NC               27417-7357
Matt Pak, Inc.                                                              2910 Commerce Street                                                               Franklin Park       IL               60131
Matte Finish LLC                                                            561 Broadway                             6A                                        New York            NY               10012
Matthews, Allison                                                           Address Redacted
Matthews, Latrice                                                           Address Redacted
Mattingly Cold Storage                                                      P.O. Box 760                                                                       Zanesville          OH               43702-0760
Mattioli Woods PLC                                                          1 New Walk Place                                                                   Leicester           Leics.           LE1 6RU      United Kingdom
Mauser Packaging Solutions            Industrial Container Services         701 Lawton Rd                                                                      Charlotte           NC               28216
Maverick Separation Solutions LLC     Christopher F Doll                    5212 W Woodside Ave                                                                Spokane             WA               99208
MaverickLabel.com                                                           120 W Dayton St, Ste A-7                                                           Edmonds             WA               98020
Max Bartick Studio Inc.                                                     378 S 3 Street Apt 1L                                                              Brooklyn            NY               11211
Max Media Lab Pty Ltd                                                       13/32 Ralph Street                                                                 Alexandria          NSW              2015         Australia
Maya Machado                                                                Address Redacted
Mayan Toledano                                                              552 Driggs Avenue                        Apt 12                                    Brooklyn            NY               11211
Mayer Electric Supply                                                       PO Box 896537                                                                      Charlotte           NC               28289-6537
Mays, Phillip                                                               Address Redacted
MBraun Inc                                                                  14 Marin Way                                                                       Stratham            NH               03885
McAdam, Daniel                                                              Address Redacted
McAndrews, Held & Malloy, Ltd.                                              34th Floor 500 West Madison Street                                                 Chicago             IL               60661
McCampbell Analytical Inc                                                   1534 1534 Willow Pass Road                                                         Pittsburg           CA               94565
McCannon, Abigail                                                           Address Redacted
McClure, Emily                                                              Address Redacted
McCormack, Matthew                                                          Address Redacted
McCracken, Bonnie                                                           Address Redacted
McDaniel, Karima                                                            Address Redacted
McDermott Will & Emery LLP            Attn.: Elias Eliopoulos, Esq.         349 Madison Ave.                                                                   New York            New York
McDermott Will & Emery LLP            Attn.: Elias Eliopoulos, Esq.         Attn.: Elias Eliopoulos, Esq.            349 Madison Ave.                          New York            NY               10173
MCF Enviromental Services             Hazardous Waste Experts               4319 Tanners Church Road                                                           Ellenwood           GA               30294
Mcfadden, Alexander                                                         Address Redacted
McGill, Alex                                                                Address Redacted
McGinnis, Joshua                                                            Address Redacted
McGregor, Collin                                                            Address Redacted
MCH Global LLC                                                              3527 OAKFIELD DR                                                                   Sherman Oaks        CA               91423
MCIAQ, Inc.                                                                 11 Kimball Place                                                                   Mt. Vernon          NY               10550
Mcintyre, Jewel                                                             Address Redacted

McKella280                                                                  7025 Central Hwy                                                                   Pennsauken Township NJ               08109
McLarty-Ritchie, Nerissa                                                    Address Redacted
McLaughlin Coffee Company, Inc.                                             6355 Hollis St.                                                                    Emeryville          CA               94608
McLoughlin, Russell                                                         Address Redacted
McManus Drum Company                                                        PO Box 26037                                                                       Charlotte           NC               28221
McMaster-Carr Supply Co                                                     PO Box 7690                                                                        Chicago             IL               60680
McMillan, Ramon                                                             Address Redacted
Mcnaughton-McKay Southeast Inc                                              6719 Amsterdam Way                                                                 Wilmington          NC               28405
MCO Transportation                                                          PO BOX 604054                                                                      Charlotte           NC               28260
McPhee, Derek                                                               Address Redacted
MD Consulting LLC                                                           8095 S Cloverdale Rd                                                               Boise               ID               83709
mdi Membrane Technologies INC.                                              STE 103 75 Utley Drive                                                             Camp Hill           PA               17011
Me2 Beauty Skincare                   Me2 Beauty Skincare                   2701 NW 2nd Ave                          Suite 215                                 Boca Raton          FL               33431
Meadows, Adam                                                               Address Redacted
Measurlabs                            Measur Oy                             Mannerheimintie 117                                                                Helsinki                             00280        Finland
MECCA Brands Pty Ltd | Costa Brazil   MECCA Brands Pty Ltd                  34 Wangaratta Street                                                               Richmond VIC 3121                                 Australia
                                      VIC WMS Warehouse / Attn: Warehouse
MECCA Brands Pty Ltd | Costa Brazil   Manager                               107-113 Link Road                                                                  Melbourne Airport   VIC              3045         Australia
MECCA Brands Pty Ltd. | Rose Inc      MECCA Brands Distribution Pty Ltd     107-113 Link Road                                                                  Melbourne Airport   VIC              3045         Australia
Mec-Tric Controls Company                                                   PO Box 221918                                                                      Charlotte           NC               28222
Medac Health Services PA                                                    4402 Shipyard Blvd.                                                                Wilmington          NC               28403-6161
Medallion Labs                                                              N-Wing 5 9000 Plymouth Ave.                                                        Minneapolis         MN               55427
MEDEIROS & VESTUARIOS                 EMPREENDIMENTOS ERIELI                AV MARECHAL CASTELO 911, LOJA 210 F                                                TERESINA            PI               64003-087    Brazil
Mediant Communications Inc.                                                 PO Box 29976                                                                       New York            NY               10087
Mediaplanet Publishing House, Inc.                                          18th Floor 350 7th Ave                                                             New York            NY               10016
MediaPro Holdings, LLC                                                      20021 120th Avenue, Suite 102                                                      Bothell             WA               98011
Medical Training Services             John Jansen                           707 Arabian Circle                                                                 Vacaville           CA               95687
Medicina Laboratorial                 Dr. Carlos da Silva Torres, S.A       Rua do Campo Alegre 231 5º                                                         Porto                                4150-178     Portugal
Medina, Aleli                                                               Address Redacted
Medina, Maira                                                               Address Redacted
Medina, Michelle                                                            Address Redacted
Mega Seating and Design, LLC                                                2076 Sunnydale Blvd                                                                Clearwater          FL               33765
Megan Buckley                                                               Address Redacted
Megan Roosevelt                                                             Address Redacted
Megazyme International Ireland                                              Bray Business Park                                                                 Bray                WK               01 286 616   Ireland




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Meghan Manning                                                                 Address Redacted
MEH COMERCIO DE ROUPAS                  E ACESSORIOS EIRELI                    AV. NOVE DE JULHO 3333, LOJA 27                                                           SAO PAULO          SP           13208-056     Brazil
Meharu, Viramrinder                                                            Address Redacted
Mei Kawajiri                                                                   Address Redacted
Meijer                                                                         2929 WALKER AVE NW                                                                        GRAND RAPIDS       MI           49544
                                        LANSING DISTRIBUTION - CREYTS RD - GM
Meijer | Pipette                        DF 093                                2501 S CREYTS RD                                                                           LANSING            MI           489178544
Meijer | Pipette                        LANSING DRY GROCERY DF 84             6622 CENTRAL CIRCLE DR                                                                     LANSING            MI           489179530
Meijer | Pipette                        Meijer - Pipette                      2350 Three Mile Road NW                                                                    Grand Rapids       MI           49544
Meijer | Pipette                        Meijer - Pipette                      PO Box X                                                                                   Grand Rapids       MI           49501
Meijer | Pipette                        MEIJER DC 881                         8857 SWAN CREEK RD                                                                         NEWPORT            MI           481669275
Meijer | Pipette                        MEIJER DF 802                         4220 S COUNTY RD 25A                                                                       TIPP CITY          OH           453712950

Meijer | Pipette                        PLEASANT PRAIRIE DRY STORAGE DF 871 8900 GREEN BAY RD                                                                            PLEASANT PRAIRIE   WI           531582717
Meijer | Pipette                        TIPP CITY DRY GROCERY 807           4200 S COUNTY ROAD 25A                                                                       TIPP CITY          OH           453711361
Melanie Torigoe                                                             Address Redacted
Melany Rodriguez                                                            Address Redacted
MELANY RODRIGUEZ                                                            Address Redacted
Melissa Dreyer                                                              Address Redacted
Melissa G Goldberg                                                          Address Redacted
Melissa Ramirez                                                             Address Redacted
Mellon, Tammy                                                               Address Redacted
Melo, John                                                                  Address Redacted
Melo, Sofia                                                                 Address Redacted
Meltwater News US Inc                                                       225 Bush Street, Ste 1000                                                                    San Francisco      CA           94104
Membrane Specialists LLC                                                    9354 Sutton Place                                                                            West Chester       OH           45011
MEMBRANE SPECIALISTS SISTEMAS DE        FILTRAGEM LTDA                      RUA TREZE DE MAIO 33                                                                         ANTONIO PRADO      RS           95250-000     Brazil
Memo Press                                                                  12 HENDRICK AVENUE                                                                           London                          SW12 8TL      United Kingdom
Memoryscape, Inc                                                            4251 S Centinela Ave. Apt 1/2                                                                Los Angeles        CA           90066
Men Women NY Model Management Inc                                           55 Hudson Yards, 3rd Floor                                                                   New York           NY           10001
Mendoza Carrillo, Vanessa                                                   Address Redacted
Menke Sales & Marketing LLC             TMZ Brokerage Company               14006 South Shore Dr                                                                         Clive              IA           50325
MenoLabs LLC                                                                Suite 249 1101 N Wilmot Rd                                                                   Tucson             AZ           85712
Menon, Narayan                                                              Address Redacted
Mercado, Elvis                                                              Address Redacted
MERCANTIL CONTINENTAL S.A.S.                                                CARRERA 38 # 14-80 14-80                                                                     CALI               76           760050        Colombia
Mercer                                  Mercer (US) Inc                     1166 Avenue of the Americas                                                                  New York           NY           10036-2708
Mercurius, Arabail                                                          Address Redacted
Mercy Buckets, Inc.                                                         200 Park Avenue South                    8th Floor                                           New York           NY           10003
Meredith Gagnon                                                             Address Redacted
Mereyah Cage                                                                Address Redacted
Mergele, Peyton                                                             Address Redacted
Meridien Marketing & Logistics                                              3808 Park Avenue                                                                             Wilmington         NC           28403
Merlini, Bernice                                                            Address Redacted
Mesen Mora, Maria                                                           Address Redacted
Messiha, Melanie                                                            Address Redacted
                                                                                                                                                                         Santiago de
Mestrelab Research, S.L.                                                       Feliciano Barrera fernandez 9B Bajo                                                       Compostela                      15706         Spain
Metal Dynamics Attn: Barbara DeNuccio                                          Address Redacted
Metallix                                                                       251 Industrial Blvd                                                                       Greenville         NC           27834
Metano IBC Services, Inc.                                                      PO BOX 21273                                                                              New York           NY           10087
Met-Chem Inc                                                                   837 east 79th Street                                                                      Cleveland          OH           44103
Method Products, PBC                                                           637 Commercial Street, Suite 300                                                          San Francisco      CA           94111
MetLife Legal Plans, Inc.                                                      Suite 800 1111 Superior Avenue                                                            Cleveland          OH           44114
MetLife Small Business Center                                                  PO Box 804466                                                                             Kansas City        MO           64180-4466
Metric Theory, LLC                                                             311 California St                     Suite 200                                           San Francisco      CA           94104
Metrohm USA, Inc.                                                              PO Box 405562                                                                             Atlanta            GA           30384
Mettler-Toledo Inc                                                             PO Box 100682                                                                             Pasadena           CA           91189
Mettler-Toledo International, Inc.                                             1900 Polaris Parkway                                                                      Columbus           OH           43240
Mettler-Toledo Process Analytics In                                            Bld. 8 900 Middlesex Turnpike                                                             Billerica          MA           01821
Mettler-Toledo Rainin, LLC                                                     Lockbox # 100802                                                                          Pasadena           CA           91189-0802
Mewburn Ellis LLP                                                              Newnham House, Cambridge Business P                                                       Cambridge          CA           CB4 0WZ       United Kingdom
MF SETE RIO COMERCIO DE ROUPAS LTDA                                            AV. ATAULFO DE PAIVA 270                                                                  RIO DE JANEIRO     RJ           22440-900     Brazil
MG Empower Limited                                                             20-22 Wenlock Road                                                                        London                          N17GU         United Kingdom
MG Empower Limited | UK                 Andrea CCC                             Andrea Cortes MGE                     10-11 Cleckerwell Green                             London                          EC1R 0DP      United Kingdom
MG Empower Limited | UK                 MG Empower Limited                     UK                                    37 Cremer St              Office 204                London                          E2 8HD        United Kingdom
MG Empower Ltd                                                                 19 W 24th Street                                                                          10010              NY           10010
MG Empower Ltd. (MGE1)                  37 Cremer St                           Office 204                                                                                London                          E2 8HD        United Kingdom
MG STORE PERFUMES EIRELI                                                       R ESTADOS UNIDOS 1862                                                                     SAO PAULO          SP           01427-002     Brazil
MHD Communications                                                             Suite G 5808 Breckenridge Pkwy                                                            Tampa              FL           33610
MHS - Maria Helena                      Sampaio Unip. LDA                      Rua Godinho de Faria 1412                                                                 Leça do Balio                   4465-643      Portugal
Mia Holley                                                                     Address Redacted
Mibelle Biochemistry USA                                                       500 Summer Street                     Suite 202                                           Stamford           CT           06901
Mibelle Biochemistry USA                                                       Suite 715 1 International Blvd                                                            Mahwah             NJ           07945
M-I-C, INC                                                                     PO Box 729                                                                                Livermore          CA           94550
Michael Alshooler                                                              Address Redacted
Michael Braun                                                                  Address Redacted
MICHAEL BRAUN                                                                  Address Redacted
Michael D Wyrsta Consulting, Inc.                                              Address Redacted




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                    Creditor Name                                Attention                                     Address 1                            Address 2                     Address 3               City            State           Zip            Country
Michael Herrinton                                                                           Address Redacted
Michael Interrante                                                                          Address Redacted
Michael Modula                                                                              Address Redacted
Michael Sullivan Media                                                                      Address Redacted
Michael Tyler Thompson                                                                      Address Redacted
Michaela Kotob                                                                              Address Redacted
Michele Levy                                                                                Address Redacted
Michelle Dacillo                                                                            Address Redacted
Michelle Pitre                                                                              Address Redacted
Michelle Pitre                                                                              Address Redacted
Michelson Laboratories, Inc                                                                 6280 Chalet Drive                                                                                 Commerce           CA               90040-3704
Mickey Williams Lifestyle, LLC                                                              119 West 72 Street #132                    c/o MWB                                                New York           NY               10023
Micro Motion, Inc.                                                                          7070 Winchester Cirle                                                                             Boulder            CO               80301
Micro Quality Labs, Inc.                                                                    3120 N. Clybourn Avenue                                                                           Burbank            CA               91505
Microchem Laboratory                                                                        1304 West Industrial Blvd                                                                         Round Rock         TX               78681
Microgenics Corporation                         C/O Thermo Fisher Corporation               C/O Bank of America Lockbox Service        7055 Collection Center Dr.                             Chicago            IL               60693
Microsoft Corporation                                                                       6100 Neil Road                             Bldg A                                                 Reno               NV               89511
Microsoft Corporation                                                                       6100 Neil Road                             Bldg A                                                 Reno               NV               89511
Microsoft Corporation                                                                       6100 Neil Road, Bldg A                                                                            Reno               NV               89511
Microsoft Licensing GP                                                                      1950 N Stemmons Fwy                                                                               Dallas             TX               75207
Microsoft Online, Inc.                                                                      6880 Sierra Center Pkwy                                                                           Reno               NV               89511
Microsolv Technology Corp                                                                   9158 Industrial Blvd. NE                                                                          Leland             NC               28451
Microwest Software Systems, Inc                                                             Suite 210 10981 San Diego Mission R                                                               San Diego          CA               92108
Midland Management and Casting LLC                                                          195 Chrystie Street 701d                                                                          New York           NY               10002
Midwest Laboratories Inc.                                                                   13611 B Street                                                                                    Omaha              NE               68144
Miguel Duarte                                                                               Address Redacted
Mih, Nathan                                                                                 Address Redacted
MIKAs Stockholm KB                                                                          Birger Jarlsgatan 37                                                                              Stockholm                           11145         Sweden
Mike Talansky                                                                               Address Redacted
Miki Vargas Photography                                                                     2806 Wright Avenue                                                                                Pinole             CA               94564
Milan, Donna                                                                                Address Redacted
Milberg, Marina                                                                             Address Redacted
Miles Pearson                                                                               Address Redacted
Milk Management                                                                             46 Loman Street                                                                                   LONDON                              SE10EH        United Kingdom
Millard, Debora                                                                             Address Redacted
Miller Transporters, Inc.                                                                   P O Box 1123                                                                                      Jackson            MS               39215
Miller, Priscilla                                                                           Address Redacted
Milo Hawaii - Attn: Asia Leong                                                              Address Redacted
                                                Michael Milthorpe - DRTOC c/o Four Season
Milthorpe Sports LLC                            Golf and Sport Club                         3451 Golf View Dr                                                                                 Orlando            FL               32830
Milthorpe Sports LLC                            Milthorpe Sports                            235 Coral reef way                                                                                Daytona Beach      FL               32124
Milthorpe Sports LLC                            Milthorpe Sports LLC                        PO Box 12727                                                                                      Palm Desert        CA               92255
Milton S. Frank Co., Inc.                                                                   Suite A 180 Mason Circle                                                                          Concord            CA               94520
Minch, Laura                                                                                Address Redacted
Mindgruve Holdings, Inc.                                                                    627 8th Avenue                                                                                    San Diego          CA               92101
Mindy Tucker                                                                                Address Redacted
Minenkova, Elizaveta                                                                        Address Redacted
Minesoft Ltd                                                                                Boston House, Little Green                                                                        Richmond           SY               TW9 1QE       United Kingdom
Minimalist Media Inc                                                                        82 Shaftesbury Avenue                                                                             Toronto            ON               M4T1A3        Canada
Minimus LLC                                                                                 2610 Conejo Spectrum Street                                                                       Newbury Park       CA               91320
                                                                                            ROCHELLE SCHOOL, STUDIO F, friars mount
Mink Management Ltd                                                                         house                                                                                             London                              E2 7FA        United Kingdom
Minnesota Department of Revenue                                                             600 North Robert St.                                                                              St. Paul           MN               55101
Mint Collaborative, Inc                                                                     270 W 39TH ST                              Floor 16                                               New York           NY               10018
Mintel Group Ltd                                                                            333 West Wacker Dr.                                                                               Chicago            IL               60441
Mione Management LLC                                                                        523 South Hudson Avenue                    Apt 3                                                  Pasadena           CA               91101
Miqueias Barbosa Uchoa Construção - Me x Amyris
Biotecnologia do Brasil Ltda                    Kátia Simone Soares                         Ferreira Penteado Street                   709                          Room 84, Centro           Campinas           São Paulo        13010-041     Brazil
Mirabella, Robert                                                                           Address Redacted
Miron Violetglass USA, Inc.                                                                 2207 E Carson St                           Unit C2                                                Carson             CA               90810
Mishka Ivanovic                                                                             Address Redacted
Mishra, Manjari                                                                             Address Redacted
Mission Flavors & Fragrnaces, Inc.                                                          25882 Wright Circle                                                                               Foothill Ranch     CA               92610
Misumi, Donald                                                                              Address Redacted
Mitchell, Briant                                                                            Address Redacted
Mitchell, Heather                                                                           Address Redacted
Mitchell's Speedway Press                                                                   1 Burkle St                                PO Box 815                                             Oswego             NY               13126
Mitrovich, Quinn                                                                            Address Redacted
Mixed Makeup, LLC                                                                           8117 W. Manchester Ave. #1115                                                                     Playa del Rey      CA               90293
Miyahara, Leticia                                                                           Address Redacted
MJS Packaging                                                                               35601 Veronica Street                                                                             Livonia            MI               48150
MMG Art Production LTD                                                                      590 Kingston Road                                                                                 London             London           SW20 8DN      United Kingdom
MNTN Digital, Inc                                                                           823 Congress Ave #1827                                                                            Austin             TX               78768
Mobile Communications America                                                               PO Box 1458                                                                                       Charlotte          NC               28201
Moda Operandi / Attn: Alicia Murphy                                                         Address Redacted
Moda Operandi, Inc                              Moda Operandi Receiving                     Moda Operandi, Inc Attn: Ryder Logistics   125 Castle Road                                        Secauscus          NJ               07094
Moda Operandi, Inc                              Moda Operandi, Inc                          34 34th Street                             Building 6, Suite 4A                                   Brooklyn           NY               11232
                                                Moda Operandi, Inc Attn: Savanna
Moda Operandi, Inc                              Bigelow/Ava Milliner                        34 34th Street, Building 6, Suite 4A                                                              Brooklyn           NY               11232




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MODEENA BROWN                                                                    Address Redacted
Models Inc Talent Agency                                                         3290 Maguire Way #200                                                              Dublin                CA           94568
Models One Limited                                                               12 Macklin Street                                                                  London                             WC2B 5SZ      United Kingdom
Modern Health Arizona PLLC                                                       Floor 12 450 Sansome Street                                                        San Francisco         CA           94111
Modern Post NYC LLC                                                              434 Broadway                            4th Floor                                  New York              NY           10013
Modulor GmbH                                                                     Prinzenstr. 85                                                                     Berlin                             10969         Germany
Modulus Data USA INC.                                                            15th Floor 1 Beacon St.                                                            Boston                MA           02108
Moeller, Alison                                                                  Address Redacted
Mohler Nixon & Williams                                                          635 Campbell Technology Pkwy                                                       Campbell              CA           95008-5059
Mokon                                                                            3013 Momentum Place                                                                Chicago               IL           60689-5330
Mold-Rite Plastics                           Weatherchem Corp                    2222 Highland Road                                                                 Twinsburg             OH           44087
Mold-Rite Plastics, LLC Plattsburgh                                              1 Plant Street                                                                     Plattsburgh           NY           12901
Molecular Devices, LLC                                                           3860 North First Street                                                            San Jose              CA           95134
Mollie Papouloute                                                                Address Redacted
MOLLY GARAWAY                                                                    Address Redacted
Momentive Performance Materials                                                  Chempark Leverkusen Building V7                                                    Leverkusen                         51368         Germany
Momentive Performance Materials              (India) Private Limited             Electronic City (West) Hosur Road                                                  Bangalore             10           560100        India
Momma To Bee, LLC                            Momma To Bee, LLC                   4231 Balboa Avenue                      #1149                                      San Diego             CA           92117
Momma To Bee, LLC                            Momma To Bee, LLC                   8244 Station Village Ln                 #2014                                      San Diego             CA           92117
MommyCon LLC                                 Parent & Co.                        Unit A 192 Skokie Valley Road                                                      Highland Park         IL           60035
Momtrends, LLC                                                                   70 Washington St                        Apt 12G                                    Brooklyn              NY           11201
Mona Gohara LLC                                                                  157 Newton Road                                                                    Woodbridge            CT           06525
Monaco, Heather                                                                  Address Redacted
Monahan, Silvia Helena                                                           Address Redacted
Monday.com Ltd                                                                   6 Yitzhak Sadeh Street                                                             Tel Aviv              06           6777506       Israel
Monika Cioch                                                                     Address Redacted
Monika Cioch                                                                     Address Redacted
Monika Domarke                                                                   16D Laurel Point                        2 Fortunes Walk                            London                             E20 1JD       United Kingdom
Monique Watson                                                                   48b Malvern road                                                                   London                             E83LP         United Kingdom
                                                                                                                                                                    POINT REYES
MONK MODERN STATE                            MONK ESTATE                          100 PORTOLA AVE, 818                                                              STATION               CA           94956
                                                                                                                                                                    POINT REYES
MONK MODERN STATE                            MONK STATE                          PO BOX 818                                                                         STATION               CA           94956
Montebello Packaging Inc                                                         P.O BOX 503293                                                                     Saint Louis           MO           63150-3293
Monteverde & Associates PC                                                       The Empire State Building                                                          New York              NY           10118
Montgomery, Karolina                                                             Address Redacted
Montgomery, McCracken, Walker & Rho                                              1735 Market Street                                                                 Philadelphia          PA           19103
Montpetit, Alessandro                                                            Address Redacted
Monvera Glass Decor                                                              1414 Harbour Way South                  Suite 1400                                 Richmond              CA           94804
Monvera Glass Décor                                                              1414 Harbour Way South, Suite 1400                                                 Richmond              CA           94804
MOO                                                                              14 Blackstone Valley Place                                                         Lincoln               RI           02865
Moquin Press, Inc.                                                               555 Harbor Blvd                                                                    Belmont               CA           94002
Moraes Mantovani, Simone                                                         Address Redacted
Morata, Justin                                                                   Address Redacted
Moreau, Michael                                                                  Address Redacted
MoreFlavor, Inc                              MoreBeer                            701 Willow Pass Road                                                               Pittsburg             CA           94565
Morello Beauty, Inc. c/o Rare Global, Inc.                                       #700 1875 Century Park E.                                                          Los Angeles           CA           90067
Moreno, Gecelie                                                                  Address Redacted
Moreno, Noemi                                                                    Address Redacted
Morgan Ketzner                                                                   Address Redacted
Morgan Lewis & Bockius LLP                   Counselors at Law                   One Market, Spear Street Tower                                                     San Francisco         CA           94105-1596
Morgan Stanley and Co.                                                           1585 Broadway                                                                      New York              NY           10036
Morgan, Cassandra                                                                Address Redacted
Morgenthaler, Andrew                                                             Address Redacted
Moritz, Rick                                                                     Address Redacted
Morris, Gregory                                                                  Address Redacted
Morrison Foerster                            File No. 72497                      425 Market Street                                                                  San Francisco         CA           94105
Morrow Service Inc                                                               313 Corey Way                                                                      South San Francisco   CA           94080
Moser, Stefan                                                                    Address Redacted
Moss Adams LLP                               ATTN: Payment Services              PO Box 101822                                                                      Pasadena              CA           91189-1822
Moss, Gabrielle                                                                  Address Redacted
Mosspark LLC                                                                     261 Lexington Ave. A1                                                              Brooklyn              NY           11216
Mother Earth Storehouse                                                          300 Kings Mall Ct                                                                  Kingston              NY           12401
Motherly, Inc.                                                                   6300 N Sagewood Dr.                     STE H-242                                  Park City             UT           84098
Motherly, Inc.                                                                   PO Box 7734                                                                        Menlo Park            CA           94026
MOTI ANKARI                                                                      Address Redacted
Motion and Flow Control Products, I                                              Suite 300 10822 W Toller Drive                                                     Littleton             CO           80127
Motion Industries, Inc.                                                          Suite A 2441 Sprig Ct                                                              Concord               CA           94520
Motornov, Mikhail                                                                Address Redacted
Mott Corporation                                                                 PO Box 844540                                                                      Boston                MA           02284
MOTTI CASA                                                                       Address Redacted
                                                                                                                         CHISWICK BUSINESS PARK,
Mount Brilliant LTD                                                               C/O FMA ACCOUNTANTS LTD                BUILDING 3                                 London                             W4 5YA        United Kingdom
Mount Vernon Entertainment, inc                                                   4805 Gloria Avenue                                                                Encino                CA           91436
Mouser Electronics Inc                                                            PO Box 99319                                                                      Fort Worth            TX           76199
Mpact Group, LLC                                                                  913 N Sweetzer Ave                     Unit B                                     West Hollywood        CA           90069
Mp-Biomedicals LLC.                                                               P.O. Box 74008447                                                                 Chicago               IL           60674
MPM Silicones, LLC                                                                260 Hudson River Rd Bldg 11                                                       Waterford             NY           12188-1910
MS COMERCIO DE LINGERIE LTDA                                                      AV ROLF WIEST 333, LOJA 29                                                        JOINVILLE             SC           89223-005     Brazil




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MS COMERCIO DE VESTUARIO                          E ACESSORIOS LTDA - EPP               AV. MARIO YPIRANGA 1300                                                           MANAUS             AM           69057-002    Brazil
MSC Industrial Supply Co                          C/O Sid Tool Co Inc                   P O Box 953635                                                                    St. Louis          MO           63195-3635
MSDSonline Inc                                    Velocity EHS                          27185 Network Place                                                               Chicago            IL           60673-1271
MTS Logistics                                                                           5 West 37th Street, Suite 300                                                     New York           NY           10018
MTS Services, Inc.                                                                      Suite 7 13 Delta Dr.                                                              Londonberry        NH           03053
Muck Rack LLC                                                                           PO Box 21131                                                                      New York           NY           10087-1131
Mudhaus                                                                                 152 Bayview Ave                                                                   Belvedere          CA           94920
Mudhaus                                                                                 152 Bayview Avenue                                                                Belvedere          CA           94920
Mueller-Yurgae Associates, Inc.                                                         1055 SE 28TH STREET                                                               Grimes             IA           50111
Mugler, Christopher                                                                     Address Redacted
Muirisc, LLC                                                                            1180 San Carlos Avenue                 #717                                       San Carlos         CA           94070
Muirisc, LLC                                      Goodwin Procter LLP                   3 Embarcadero Center                   28th floor                                 San Francisco      CA           94111
Multi Packaging Solutions                         Chesapeake Pharmaceutical Packaging   Suite 3111 75 Remittance Dr                                                       Chicago            IL           60675-3111
Multi Packaging Solutions Inc.                                                          1000 Abernathy Road                                                               Atlanta            GA           30328
MultiMedia Pharma Science, LLC                                                          Suite 100 2 Clarke Drive                                                          Cranbury           NJ           08512
MultiVu                                           MultiVu PR Newswire                   G.P.O. Box 6584                                                                   New York           NY           10249-6584
Mulugeta, Daniel                                                                        Address Redacted
Muni, Stephanie                                                                         Address Redacted
Muniak Studio                                                                           916 N Harper Ave                                                                  West Hollywood     CA           90046
Munoz Gutierrez, Vivian                                                                 Address Redacted
Murarka, Abhishek                                                                       Address Redacted
Murillo, Susana                                                                         Address Redacted
Muroski, John                                                                           Address Redacted
Murray, Madyson                                                                         Address Redacted
Muse Law Group Trust Account                                                            Suite 900 9595 Wilshire Blvd.                                                     Beverly Hills      CA           90212
musee du quai branly                                                                    222 Rue de l'Université                                                           Paris                           75343        France
Museum of Science, Inc. dba Frost Science                                               1101 Biscayne Blvd.                                                               Miami              FL           33132
MUTANDINE COMERCIO DE                             VESTUARIO LTDA                        AV. REPUBLICA DO LIBANO 251, LJ 208                                               RECIFE             PE           51110-160    Brazil
MuteSix, LLC                                                                            5800 Bristol Parkway                   Suite 500                                  Culver City        CA           90230
MW Studios, Inc.                                                                        49 West 38th St.                       2nd Floor                                  New York           NY           10118
My Green Lab Corp                                                                       101 Oak Rim Way                                                                   Los Gatos          CA           95032
MyMicrobiome AG                                                                         Alte Churerstrasse 45                                                             Balzers                         9496         Liechtenstein
Myong, Anne                                                                             Address Redacted
Nachman & Associates, P.C.                        NPZ Law Group, P.C                    487 Goffle Road , Visaserve Plaza                                                 Ridgewood          NJ           07450
Nadia Camara                                                                            Address Redacted
Nadia Yousif                                                                            Address Redacted
Nadia Yousif                                                                            Address Redacted
Nadler, Dana                                                                            Address Redacted
NAECOWARE LLC                                                                           601 West 26th Street, Suite 325                                                   New York           NY           10001
Nagase America LLC                                                                      16F 546 Fifth Ave.                                                                New York           NY           10036
Nagramada, Michael Joseph                                                               Address Redacted
Nagree, Shah                                                                            Address Redacted
NAIR SANCHEZ OKIDA                                                                      R GENERAL MARCOND 11-39, LJ357 PSL3                                               BAURU              SP           17013-113    Brazil
Nakamura, Ann                                                                           Address Redacted
Nam Hai Chua                                                                            Address Redacted
Nam Vo                                                                                  Address Redacted
Nam Vo                                                                                  Address Redacted
NAMITALA MODA E DESIGN EIRELI                                                           RUA MELO ALVES 508                                                                SAO PAULO          SP           01417-010    Brazil
NAMSA                                                                                   6750 Wales Road                                                                   Northwood          OH           43619
Nana Agyemang                                                                           Address Redacted
Nanci Monaco                                                                            Address Redacted
Nancy Kane                                                                              Address Redacted
NANCY KANE                                                                              Address Redacted
Nancy Matz                                                                              Address Redacted
Nancy Nguyen                                                                            Address Redacted
Nancy Rothstein Photography LLC                                                         545 Athol Avenue                                                                  Oakland            CA           94606
NANE KRETZER                                                                            Address Redacted
Nanjing NutriHerb BioTech Co.,Ltd                                                       148 ZHONGSHAN NANLU,NANJING,CHINA                                                 NANJING                         215000       China
Nanophase Technologies                                                                  1319 Marquette Drive                                                              Romeoville         IL           60446
NanoScreen, LLC                                                                         4401 Piggly Wiggly Drive Suite 1000                                               North Charleston   SC           29405
Nant Africa, LLC                                                                        2040 E. Mariposa Ave.                                                             El Segundo         CA           90245
Nantau, Samantha                                                                        Address Redacted
Napat Sonamai                                                                           Address Redacted
Napierski, Chad                                                                         Address Redacted
Narayana, Krishna                                                                       Address Redacted
Narcross, Lauren                                                                        Address Redacted
Narisara Vanichanan                                                                     77 Fulton St.                                                                     New York           NY           10038
Nasdaq                                                                                  P.O. Box 780700                                                                   Philadelphia       PA           19178
Nasha Pisano                                                                            Address Redacted
Nastya Swan                                                                             Address Redacted
Natalino de Souza x Amyris Brasil Ltda, Impacto                                         Oliveira & Izidoro Advogados. Artemi
Serviços de Segturança Ltda.                      Vismar                                Secomandi Street 37                                                               Paulínia           SP           13140-326    Brazil
Nataly Aponte                                                                           Address Redacted
Natanael da Costa Lima x Novac Construções e
Emrpeendimentos Ltda - Amyris Fermentação de
Performance LTDA                                  ALEX NIGER LOPES RAMOS                Benjamin Constant Street               846                                        Campo Maior        PI           64.280-000   Brazil
Natasha Chalenko                                                                        Address Redacted
Natasha Wolff                                                                           Address Redacted
Nateisha Scott                                                                          Address Redacted




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                                                                               Studio 17, Empson Street Studios, 5 Empson
Nathan Perkins Photography Ltd                                                 Street                                                                                                       London                             E3 3LU        United Kingdom
National Container Group                                                       Suite 600 375 Northridge Road                                                                                Atlanta               GA           30350
National Eczema Association                                                    Suite B300 505 San Marin Dr                                                                                  Novato                CA           94945
National Packaging Co., Inc.                                                   101 Lenwood Road SE                                                                                          Decatur               AL           35603
National Registered Agents Inc.                                                P.O.Box 4349                                                                                                 Carol Stream          IL           60197-4349
National Research Council                                                      110 Gymnasium Pl                                                                                             Saskatoon             SK           S7N 0W9       Canada
National Research Council Canada     Finance Branch                            1200 Montreal Rd,Building M-58                                                                               Ottawa, Ontario                    K1A 0R6       Canada
National Union Fire Insurance Co.    American International Group              18th Floor 175 Water Street                                                                                  New York              NY           10038
Natural Living Center                                                          209 Longview Dr.                                                                                             Bangor                ME           04401
Natural Model Management LLC                                                   4505 W Jefferson Blvd                                                                                        Los Angeles           CA           90016
Natural Products Expo East           Informa Media Inc                         24654 Network Place                                                                                          Chicago               IL           60673-1246
Naty Maxaon                                                                    Address Redacted
Naumenkova, Svetlana                                                           Address Redacted
Navarre, Kiana                                                                 Address Redacted
Navarro, Andres                                                                Address Redacted
Navarro, Gabriel                                                               Address Redacted
Naveen Sudharsan                                                               Address Redacted
Naveen Venayak                                                                 Address Redacted
Navex Global, Inc.                                                             #500 5500 Meadows Road                                                                                       Lake Oswego           OR           97035
Navidi, Adam                                                                   Address Redacted
Navigant Consulting Asia Limited                                               Suites 2901-4 29/F                                                                                           108 Gloucester Road   HK           108
NAWCWD Technology Transer Office     Naval Air Warfare Center Weapons Dv       1900 N. Knox Road                                                                                            China Lake            CA           93555
Naxos UK Ltd                                                                   Springfield Hse                                                                                              Hertfordshire                      EN8 8JR
NAXYRIS S.A.                                                                   40 BOULEVARD JOSEPH II                                                                                       LUXEMBOURG            LU           L1840
Naxyris S.A.                                                                   6 Pall Mall East                                                                                             London                             SW1Y 5BF      United Kingdom
Naxyris SA                                                                     40 Boulevard Joseph II                                                                                                                          1840          Luxembourg
Naylor, Kristine                                                               Address Redacted
NB Ventures, Inc.                    GEP                                       3rd Floor 100 Walnut Avenue                                                                                  Clark                 NJ           07066
NBCUniversal, LLC                                                              30 Rockefeller Plaza                                                                                         New York              NY           10112
NBS Scientific, LLC                                                            1003 Ashwood Drive                                                                                           Canonsburg            PA           15317
NC DIVISION OF WASTE MANAGEMENT                                                1646 MAIL SERVICE CENTER                                                                                     Raleigh               NC           27699
NC Safety Conference Inc                                                       PO Box 1608                                                                                                  Roanoke Rapids        NC           27870
NCDEQ                                                                          512 Salisbury Street                                                                                         Raleigh               NC           27699
NCDEQ - Division of Energy,          Mineral and Land Resources                Attn: Stormwater Billing1612                                                                                 Raleigh               NC           27699-1612
NCDOR                                                                          PO Box 25000                                                                                                 Raleigh               NC           27640-0650
Neeley, Rachel                                                                 Address Redacted
Neff Rental, LLC                                                               P.O. Box 405138                                                                                              Atlanta, GA           GA           30384-5138
Negociar SAC                                                                   Int 201 Urb,                                                                                                 Lima                  06           201           Peru
NegotiumBio, LLC                                                               66 Herrick Road                                                                                              North Andover         MA           01845
Neiman Marcus / Attn: Hayden Smith                                             Address Redacted
Neiman Marcus Group | Costa Brazil   East Coast Distribution Center            Neiman Marcus (7099-ECDC)                    450 Centerpoint Blvd                                            Pittston              PA           18640
Neiman Marcus Group | Costa Brazil   Las Colinas NMD-WHS-7088                  Neiman Marcus Group Direct                   113 Customer Way                                                Irving                TX           75039
Neiman Marcus Group | Costa Brazil   Longview                                  Neiman Marcus Group                          2301 Neiman Marcus Pkwy                                         Longview              TX           75602
Neiman Marcus Group | Costa Brazil   Mona Mohammadi- Beauty Manager            Neiman Marcus - Fashion Island               601 Newport Center Drive                                        Newport Beach         CA           92660
Neiman Marcus Group | Costa Brazil   Neiman Marcus - Coral Gables              1000 Riverside Dr, Dock #8                                                                                   Keasby                NJ           08832
                                     Neiman Marcus 7060-ECDC c/o The Gilbert
Neiman Marcus Group | Costa Brazil   Company                                   1000 Riverside Dr, Dock #8                                                                                   Keasby                NJ           08832
                                     Neiman Marcus 7077-WCSC c/o The Gilbert
Neiman Marcus Group | Costa Brazil   Company                                   1000 Riverside Dr, Dock #8                                                                                   Keasby                NJ           08832
Neiman Marcus Group | Costa Brazil   Neiman Marcus Group                       1000 Riverside Dr, Dock #8                                                                                   Keasby                NJ           08832
Neiman Marcus Group | Costa Brazil   Neiman Marcus Group                       1201 Elm Street                              20th floor                                                      Dallas                TX           75270
Neiman Marcus Group | Costa Brazil   Neiman Marcus Group                       2 West 58th Street                                                                                           New York              NY           10019
Neiman Marcus Group | Costa Brazil   Neiman Marcus Group                       Costa Brazil                                 170 N. Gulph Road                                               King of Prussia       PA           19406
Neiman Marcus Group | Costa Brazil   Neiman Marcus Group                       Costa Brazil                                 601 Newport Center Dr.                                          Newport Beach         CA           92660
Neiman Marcus Group | Costa Brazil   Neiman Marcus Group                       Costa Brazil                                 150 Stockton St.                                                San Francisco         CA           94108
Neiman Marcus Group | Costa Brazil   Neiman Marcus Group                       Costa Brazil                                 2 East Maple Ave.                     WESTCHESTER - 1014 - WC   White Plains          NY           10601
Neiman Marcus Group | Costa Brazil   Neiman Marcus Group                       Costa Brazil                                 390 San Lorenzo Ave.                                            Coral Gables          FL           33146
Neiman Marcus Group | Costa Brazil   Neiman Marcus Group                       Costa Brazil                                 9700 Collins Ave.                                               Bal Harbour           FL           33154
Neiman Marcus Group | Costa Brazil   Neiman Marcus Group                       Costa Brazil                                 6550 Topanga Canyon Blvd.                                       Canoga Park           CA           91303
Neiman Marcus Group | Costa Brazil   Neiman Marcus Group                       Costa Brazil                                 620 Old Country Road                                            Garden City           NY           11530

Neiman Marcus Group | Costa Brazil   Neiman Marcus Group                       Costa Brazil                                 15900 La Cantera Parkway, Suite #14                             San Antonio           TX           78256
Neiman Marcus Group | Costa Brazil   Neiman Marcus Group                       Costa Brazil                                 1200 Morris Turnpike                                            Short Hills           NJ           07078
Neiman Marcus Group | Costa Brazil   Neiman Marcus Group                       Costa Brazil                                 6900 E. Camelback Rd.                                           Scottsdale            AZ           85251
Neiman Marcus Group | Costa Brazil   Neiman Marcus Group                       Costa Brazil                                 5000 Northbrook Ct.                                             Northbrook            IL           60062
Neiman Marcus Group | Costa Brazil   Neiman Marcus Group                       Costa Brazil                                 5860 Glades Mall                                                Boca Raton            FL           33431
Neiman Marcus Group | Costa Brazil   Neiman Marcus Group                       Costa Brazil                                 400 Stanford Shop Ctr.                                          Palo Alto             CA           94304
Neiman Marcus Group | Costa Brazil   Neiman Marcus Group                       Costa Brazil                                 100 Plaza Frontenac                                             St. Louis             MO           63131
Neiman Marcus Group | Costa Brazil   Neiman Marcus Group                       Costa Brazil                                 7027 Friars Road                                                San Diego             CA           92108
Neiman Marcus Group | Costa Brazil   Neiman Marcus Group                       Costa Brazil                                 5200 Monahans Ave.                                              Ft. Worth             TX           76109
Neiman Marcus Group | Costa Brazil   Neiman Marcus Group                       Costa Brazil                                 6 Oakbrook Center                                               Oak Brook             IL           60523
Neiman Marcus Group | Costa Brazil   Neiman Marcus Group                       Costa Brazil                                 4400 Sharon Road                                                Charlotte             NC           28211
Neiman Marcus Group | Costa Brazil   Neiman Marcus Group                       Costa Brazil                                 3200 Las Vegas Blvd.                                            Las Vegas             NV           89109
Neiman Marcus Group | Costa Brazil   Neiman Marcus Group                       Costa Brazil                                 1450 Ala Moana Blvd.                                            Honolulu              HI           96814
Neiman Marcus Group | Costa Brazil   Neiman Marcus Group                       Costa Brazil                                 c/o WCSC 2500 Workman Mill Rd                                   Whittier              CA           90601
Neiman Marcus Group | Costa Brazil   Neiman Marcus Group                       Costa Brazil                                 737 N. Michigan Ave.                                            Chicago               IL           60611
Neiman Marcus Group | Costa Brazil   Neiman Marcus Group                       Costa Brazil                                 4170 Conroy Rd.                                                 Orlando               FL           32839
Neiman Marcus Group | Costa Brazil   Neiman Marcus Group                       Costa Brazil                                 3393 Peachtree Rd. N.E.                                         Atlanta               GA           30326




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                Creditor Name                                   Attention                              Address 1                               Address 2                Address 3              City             State           Zip           Country
Neiman Marcus Group | Costa Brazil              Neiman Marcus Group                  Costa Brazil                                503 Garden State Plaza                             Paramus            NJ               07652
Neiman Marcus Group | Costa Brazil              Neiman Marcus Group                  Costa Brazil                                2600 S. Post Oak Rd.                               Houston            TX
Neiman Marcus Group | Costa Brazil              Neiman Marcus Group                  Costa Brazil                                5 Copley Place                                     Boston             MA               02116
Neiman Marcus Group | Costa Brazil              Neiman Marcus Group                  Costa Brazil                                3400 Palm Way                                      Austin             TX               78758
Neiman Marcus Group | Costa Brazil              Neiman Marcus Group                  Costa Brazil                                3030 E. 1st Ave.                                   Denver             CO               80206
Neiman Marcus Group | Costa Brazil              Neiman Marcus Group                  Costa Brazil                                310 Speen Street                                   Natick             MA               01760
Neiman Marcus Group | Costa Brazil              Neiman Marcus Group                  Costa Brazil                                1618 Main Street                                   Dallas             TX               75201
Neiman Marcus Group | Costa Brazil              Neiman Marcus Group                  Costa Brazil                                2255 International Dr.                             McLean             VA               22102
                                                                                                                                 8687 North Central Expressway Suite
Neiman Marcus Group | Costa Brazil              Neiman Marcus Group                  Costa Brazil                                400                                                Dallas             TX               75225
Neiman Marcus Group | Costa Brazil              Neiman Marcus Group                  Costa Brazil                                2201 Dallas Parkway                                Plano              TX               75093
Neiman Marcus Group | Costa Brazil              Neiman Marcus Group                  Costa Brazil                                2223 Westshore Boulevard                           Tampa              FL               33607
Neiman Marcus Group | Costa Brazil              Neiman Marcus Group                  Costa Brazil                                2705 W. Big Beaver Rd.                             Troy               MI               48084
Neiman Marcus Group | Costa Brazil              Neiman Marcus Willowbend             2201 N Dallas Parkway                                                                          Plano              TX               75093
Neiman Marcus Group | Costa Brazil              Pinnacle Point Distribution Center   Neiman Marcus (7010-PNDC)                   4123 Pinnacle Point                                Dallas             TX               75211
Neiman Marcus Group | Costa Brazil              West Coast Service Center            Neiman Marcus (7077-WCSC)                   2500 S. Workman Mill                               Whittier           CA               90601
Neiman Marcus Group | Rose Inc                  Neiman Marcus                        4123 Pinnacle Point                                                                            Dallas             TX               75211
Nelson Lau                                                                           #68 3602 Thornton Ave                                                                          Fremont            CA               94536
Nelson, John                                                                         Address Redacted
Nenter & Co, Inc.                                                                    197 Oriental Rd,                                                                               Jingzhou City      170              434000        China
                                                                                                                                                                                    Ladlumkaew
Neocosmed Co Ltd                                                                     222 Moo 4 Rahaeng                                                                              Pathumthani                         12140         Thailand
Neogen Corporation                                                                   620 Lesher Place                                                                               Lansing            MI               48912
Neon Rose Inc.                                                                       5158 Bristol Road                                                                              San Diego          CA               92116
Neptune                                                                              545 Washington Blvd                                                                            Jersey City        NJ               07310
Nerissa Anderson Gomez Adan                                                          105 Fenham Road                                                                                London             London           SE15 1AE      United Kingdom
Nest-Filler USA                                                                      2334 E Valencia Drive                                                                          Fullerton          CA               92831
Nest-Filler USA                                                                      2334 E Valencia Drive                                                                          Fullerton          CA               92831
Nest-Filler USA                                 Purorganic Products, Inc             2334 E Valencia Drive                                                                          Fullerton          CA               92831
NET-A-PORTER / ATTN: JESSICA JAN                                                     Address Redacted
Netrush LLC                                                                          Suite 120 17800 SE Mill Plain Boule                                                            Vancouver          WA               98683
Netzsch Instruments                                                                  129 Middlesex Turnpike                                                                         Burlington         MA               01803
Never Settle Media, Inc.                                                             3101 Ocean Park Blvd                        Ste 100 PMB 99                                     Santa Monica       CA               90405
Neville, Mariah                                                                      Address Redacted
Nevs Models                                                                                                                                                                         London                              W6 7AF        United Kingdom
New Age Industries                                                                   145 James Way                                                                                  Southhampton       PA               18966
New Engen Inc.                                                                       Suite 700 2401 4th ave.                                                                        Seattle            WA               98121
New England BioGroup, LLC                                                            PO Box 1321                                                                                    Atkinson           NH               03811
New England BioLabs Inc                                                              PO Box 3933                                                                                    Boston             MA               02241
New Pig Corporation                                                                  One Pork Avenue                                                                                Tipton             PA               16684

New Print, LDA                                                                       Rua General Humberto Delgado, LOTE 12 C/V   2685 994 Prior Velho                               Lisboa                              2685-994      Portugal
New Relic,Inc.                                                                       PO Box 101812                                                                                  Pasadena           CA               91189-1812
New Terracotta                                                                       Polo Industrial Vale de Borregao            Rua Democratica, sn                                Mortagua           Viseu            3450-097      Portugal
New York State Corporation Tax                  NYS Corporation Tax                  P.O. Box 3653                                                                                  Albany             NY               12212

New York State Department of Taxation and Finance                                    Harriman Campus Rd                                                                             Albany             NY               12226
Newark Corp                                                                          33190 Collection Center Drive                                                                  Chicago            IL               60693
NewPort Tank Containers (USA), LLC                                                   Suite 300 2055 Crocker Rd                                                                      Westlake           OH               44145
Nexcelom Bioscience LLC                                                              360 Merrimack Street, Building 9                                                               Lawrence           MA               01843
Nexeo Solutions LLC                                                                  62190 Collections Center Dr                                                                    Chicago            IL               60693-0621
Nexis Emergency Solutions, Inc.                                                      Suite 200 7567 Amador Valley blvd                                                              Dublin             CA               94568
Next Management LLC                                                                  15 Watts Street                                                                                New York           NY               10013
Next Management London LTD                                                           Ground Fl., Blocks B & C                    Morelands Building, 5-23 Old Street                London                              EC1V 9HL      United Kingdom
NextActiv LLC                                                                        6265 Virgo Road                                                                                Oakland            CA               94611
Ng, Alicia                                                                           Address Redacted
Ng, Chiam Yu                                                                         Address Redacted
Ng, Jordan                                                                           Address Redacted
Nguyen & Tarbet LLC                                                                  2474 E River Rd                                                                                Tucson             AZ               85718
Nguyen, Andrew                                                                       Address Redacted
Nguyen, Brittany                                                                     Address Redacted
Nguyen, Lucy                                                                         Address Redacted
Nguyen, MyHanh                                                                       Address Redacted
Nguyen, Phillip                                                                      Address Redacted
Nguyen, Thao Anh                                                                     Address Redacted
Nguyen, Tran                                                                         Address Redacted
Nguyen, Tri                                                                          Address Redacted
Nguyen, Tuong-Vy                                                                     Address Redacted
Nguyen, Vy                                                                           Address Redacted
NGWhelan Creative, Inc.                                                              318 19th St.                                                                                   Huntington Beach   CA               92649
Niakan, Navid                                                                        Address Redacted
Niche-Beauty.com GmbH                             Niche-Beauty.com GmbH              Harderweg 2                                                                                    Hamburg 22549                                     Germany
Niche-Beauty.com GmbH                             Niche-Beauty.com GmbH              Langenkamp 26E                                                                                 Wedel 22880                                       Germany
NICHE-BEAUTY.COM GmbH                                                                Address Redacted
Niche-Beauty.COM GmbH / Attn: Emilia Korte                                           Address Redacted
Nicholas Hugh Schmidt                                                                Address Redacted
Nicholas Rosser                                                                      Address Redacted
Nichole Kreglow                                                                      Address Redacted
Nick O'Neill                                                                         Address Redacted




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                  Creditor Name                                     Attention                                    Address 1                         Address 2      Address 3               City               State           Zip            Country
Nick Pathammavong                                                                             Address Redacted
Nick Robinson c/o Jessica Graboff Office                                                      Address Redacted
Nickelson Wooster                                                                             Address Redacted
Nicole Elise                                                                                  Address Redacted
Nicole Linda Kelsey                                                                           Address Redacted

Nicole Palmer & Co., LLC dba Underground Fashion Nicole Palmer                                Underground Fashion Boutique          316 Gifford Street, Unit 6                Falmouth               MA              02540
                                                 Nicole Palmer & Co., LLC dba Underground
Nicole Palmer & Co., LLC dba Underground Fashion Fashion                                      521 Harchville Road                                                             East Falmouth          MA              02536
Nicole Pearl Kaplan                                                                           Address Redacted
Nicole Thibodeau                                                                              Address Redacted
Nielsen Consumer LLC                                                                          P.O. Box 735059                                                                 Chicago                IL              60673-5059
Nightline Express, Inc.                                                                       12250 Weber Hill Road                 Suite 105                                 St. Louis              MO              63127
Nikki DeRoest                                                                                 Address Redacted
Nikki Makeup Ltd                                                                              8 Hampstead Reach, 81 Chandos                                                   London                                 NW11 7JH      United Kingdom
Nikko Chemicals                                  Shanghai Corporation                         Room 682A Fenggu Building,                                                      Shanghai                               200131        China
Nikko Chemicals (Singapore) Pte Ltd                                                           39 Ayer Merbau road                                                             Jurong Island                          927718        Singapore
Nikko Chemicals Co Ltd                                                                        Nihonbashi-Bakurocho 1-4-8                                                      Chuo-ku                13              1030002       Japan
Nikko Chemicals Co Ltd                                                                        Nihonbashi-Bakurocho 1-4-8 Chuo-ku    13                                                                               1030002       Japan
Nikko Chemicals Co Ltd                                                                        Nihonbashi-Bakurocho 1-4-8 Chuo-ku    13                                                                               1030002
NIKKO Chemicals Co., Ltd.                                                                     1-4-8 Nihonbashi-Bakurocho                                                      Chuoku, Tokyo                          1030002       Japan

NIKKO CHEMICALS CO., LTD.                                                                     1-4-8, NIHONBASHI-BAKUROCHO, CHUO-KU                                            TOKYO                                  1030002       JP
Nikko Chemicals Shanghai Corp.                                                                Honi Internatiol Plaza Room 903                                                 Shanghai               020             200041        China
Nikon Instruments, Inc                                                                        1300 Walt Whitman Road                                                          Melville               NY              11747
Nill, Jennifer                                                                                Address Redacted
NIMBA                                                                                         5753 East Santa Ana Canyon Road                                                 Anaheim                CA              92807
NIMBL                                                                                         800 Kalamath Street                                                             Denver                 CO              80204
NIMBL Worldwide Inc.                                                                          Suite 202 1401 Zuni Street                                                      Denver                 CO              80204
NINA (SILKONME)                                                                               Address Redacted
Nina Japaridze                                                                                Address Redacted
Nina Managarov                                                                                Address Redacted
Nina Park                                                                                     Address Redacted
Nippon Surfactant Industries Co., Ltd (Nissa)                                                 Nihonbashi-Bakurocho 1-4-8 Chuo-ku                                              Tokyo                                  1030002       Japan
Nippon Surfactant Industries Co., Ltd (Nissa)                                                 Nihonbashi-Bakurocho 1-4-8 Chuo-ku                                                                     Tokyo           1030002       Japan
Nkechi Deanna Njaka                                                                           Address Redacted
NKM Productions LLC                                                                           #72183 1301 Clay St.                                                            Oakland                CA              94612
NLA media access Ltd                                                                          Mount Pleasant House                 Lonsdale Gardens                           Tunbridge Wells        Kent            TN1 1HJ       United Kingdom
NLO                                                 C/O NLO BVBA                              Technologiepark-Zwijnaarde 19                                                   Gent                                   2502 LS       Netherlands
NMN Creative Studio LLC                                                                       1431 Armacost Ave Unit 401                                                      Los Angeles            CA              90025
Nneoma's Pen                                                                                  343 W Wolf Point Plaza                                                          Chicago                IL              60654
No Issue Ltd                                                                                  1 Cross St                                                                      Auckland                               1010          New Zealand
No Planet B Investments, LLC                                                                  442 Seaspray Avenue                                                             Palm Beach             FL              33480
No Sugar Baker, LLC                                                                           1294 Sorrento Woods Blvd                                                        Nokomis                FL              34275
No Ties Management, LLC                                                                       PMB # 232 - 1501 India Street        Suite 103-232                              San Diego              CA              92101
Noack Laboratorien GmbH                                                                       Käthe-Paulus-Straße 1                                                           Sarstedt               03              31157         Germany
Noble Work, LLC                                                                               559 Woodrow Noble Rd.                                                           Chadbourn              NC              28431
Nocado do Brasil Ltda.
(Fluitek Componentes de Processo Ltda.) v. Amyris
Fermentação de Performance Ltda.                    Gomes & Hoffmann                          Bellucci                              Piva Lawyers                                                                                   Brazil
Noemí García Cué                                                                              Urbanizacion Monte Leon, 50                                                     Carbajal de la Legua                   24196         Spain
Nogueira, Adela                                                                               Address Redacted
Nolan Transportation Group, LLC                                                               P.O. BOX 931184                                                                 Atlanta                GA              31193-1184
Nolan Zangas                                                                                  211 St James Place                    apt.2b                                    Brooklyn               NY              11238
Nomad Model Management, LLC                                                                   777 Brickell Ave #500-94778                                                     Miami                  FL              33131
Nomade Lido, LLC - The Standard Spa, Miami          The Standard Spa, Miami                   40 Island Avenue                                                                Miami Beach            FL              33139
Nontoxic Certified, Inc.                                                                      145 Palisade St                       #200                                      Dobbs Ferry            NY              10522
Noonan, Danielle                                                                              Address Redacted
Noor Alali                                                                                    Address Redacted
Noorie Ana                                                                                    Address Redacted
Noorie Ana                                                                                    Address Redacted
Nor-Cal Moving Services                                                                       3129 Corporate Place                                                            Hayward                CA              94545
Nordex, Inc                                                                                   426 Federal Road                                                                Brookfield             CT              06804
NORDISKA GALLERIET STOCKHOLM                        AB Nordiska Galleriet                     NORDISKA GALLERIET STOCKHOLM          Rörvägen 22                               Jordbro 13650                                        Sweden
NORDISKA GALLERIET STOCKHOLM                        NORDISKA GALLERIET STOCKHOLM              Nybrogatan 11                                                                   Stockholm 11439                                      Sweden
Nordson Medical                                                                               805 West 71st Street                                                            Loveland               CO              80538
Nordstrom / Attn: Cosmetics DM Calina Catan                                                   Address Redacted

Nordstrom / Attn: Cosmetics DM Jennifer Reasbeck                                              Address Redacted
Nordstrom / Attn: Cosmetics DM Melissa Leary                                                  Address Redacted
Nordstrom / Attn:Cosmetics DM Jose Belardo                                                    Address Redacted
Nordstrom / Cosmetics DM Christina                                                            Address Redacted
Nordstrom DC699 Maryland FC                                                                   Address Redacted
Nordstrom Inc. | Pipette                         Cedar Rapids DC 0599                         7700 18th St. S.W.                                                              Cedar Rapids           IA              52404
Nordstrom Inc. | Pipette                         Dubuque DC 0299                              5050 Chavenelle Road                                                            Dubuque                IA              52002-2616
                                                 Elizabethtown OP Fulfillment Center (Store
Nordstrom Inc. | Pipette                         881)                                         30 Distribution Drive                                                           Elizabethtown          PA              17022
Nordstrom Inc. | Pipette                         Gainesville DC 0799                          5497 NE 49th Avenue                                                             Gainesville            FL              32609
Nordstrom Inc. | Pipette                         Newark DC 0499                               37599 Filbert Street                                                            Newark                 CA              94560-3537




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                   Creditor Name                                Attention                                     Address 1                        Address 2         Address 3             City         State         Zip         Country
Nordstrom Inc. | Pipette                      Nordstrom Accounts Payable                  Nordstrom Inc. / JWN                    PO BOX 870                                 Seattle           WA           98111-0870
Nordstrom Inc. | Pipette                      Nordstrom Inc. / JWN                        1600 Sixth Avenue                       Suite 500                                  Seattle           WA           98101
Nordstrom Inc. | Pipette                      Ontario DC 0399                             1600 South Milliken                                                                Ontario           CA           91761-7812
Nordstrom Inc. | Pipette                      Portland DC 0089                            5703 North Marine Drive                                                            Portland          OR           97203
Nordstrom Inc. | Pipette                      San Bernardino OP Fulfillment Center 0879   17335 Glen Helen Parkway                Store 0879                                 San Bernardino    CA           92407
Nordstrom Inc. | Pipette                      Upper Marlboro DC 0699                      839 Commerce Drive                                                                 Upper Marlboro    MD           20774-7421
Nordstrom, Inc. | Costa Brazil                GWP Receiving                               Nordstrom, Inc.                         1040 Andover Park West                     Tukwila           WA           98188
Nordstrom, Inc. | Costa Brazil                Nordstrom, Inc.                             10 Oak Brook Center                                                                Oak Brook         IL           60523
Nordstrom, Inc. | Costa Brazil                Nordstrom, Inc.                             1131 Galleria Boulevard                                                            Roseville         CA           95678
Nordstrom, Inc. | Costa Brazil                Nordstrom, Inc.                             1201 Lake Woodlands Drive                                                          Woodlands         TX           77380
Nordstrom, Inc. | Costa Brazil                Nordstrom, Inc.                             15900 La Cantera Parkway                                                           San Antonio       TX           78256
Nordstrom, Inc. | Costa Brazil                Nordstrom, Inc.                             1600 S Milliken                                                                    Ontario           CA           91761
Nordstrom, Inc. | Costa Brazil                Nordstrom, Inc.                             1600 South Milliken                                                                Ontario           CA           91761-7812
Nordstrom, Inc. | Costa Brazil                Nordstrom, Inc.                             19507 Biscayne Boulevard                                                           Aventura          FL           33180
Nordstrom, Inc. | Costa Brazil                Nordstrom, Inc.                             225 W 57th Street                                                                  New York          NY           10019
Nordstrom, Inc. | Costa Brazil                Nordstrom, Inc.                             2400 Forest Avenue                                                                 San Jose          CA           95128
Nordstrom, Inc. | Costa Brazil                Nordstrom, Inc.                             2901 S Capital of Texas Hwy                                                        Austin            TX           78746
Nordstrom, Inc. | Costa Brazil                Nordstrom, Inc.                             300 Los Cerritos Center                                                            Cerritos          CA           90703
Nordstrom, Inc. | Costa Brazil                Nordstrom, Inc.                             3200 Las Vegas Boulevard                                                           South Las Vegas   NV           89109
Nordstrom, Inc. | Costa Brazil                Nordstrom, Inc.                             3333 Bristol Street                                                                Costa Mesa        CA           92626
Nordstrom, Inc. | Costa Brazil                Nordstrom, Inc.                             37599 Filbert Street                                                               Newark            CA           94560-3537
Nordstrom, Inc. | Costa Brazil                Nordstrom, Inc.                             4310 Ponce de Leon Boulevard                                                       Coral Gables      FL           33146
Nordstrom, Inc. | Costa Brazil                Nordstrom, Inc.                             490 Columbia Ave                                                                   Riverside         CA           92507
Nordstrom, Inc. | Costa Brazil                Nordstrom, Inc.                             500 Pine Street                                                                    Seattle           WA           98101
Nordstrom, Inc. | Costa Brazil                Nordstrom, Inc.                             5050 Chavenelle Road                                                               Dubuque           IA           52002-2616
Nordstrom, Inc. | Costa Brazil                Nordstrom, Inc.                             5192 Hidalgo Street                                                                Houston           TX           77056
Nordstrom, Inc. | Costa Brazil                Nordstrom, Inc.                             5220 Alpha Road                                                                    Dallas            TX           75240
Nordstrom, Inc. | Costa Brazil                Nordstrom, Inc.                             5497 NE 49th Avenue                                                                Gainesville       FL           32609
Nordstrom, Inc. | Costa Brazil                Nordstrom, Inc.                             55 E Grand Avenue                                                                  Chicago           IL           60611
Nordstrom, Inc. | Costa Brazil                Nordstrom, Inc.                             5703 North Marine Drive                                                            Portland          OR           97203-6421
Nordstrom, Inc. | Costa Brazil                Nordstrom, Inc.                             6997 Friars Road                                                                   San Diego         CA           92108
Nordstrom, Inc. | Costa Brazil                Nordstrom, Inc.                             7055 E Camelback Road                                                              Scottsdale        AZ           85251
Nordstrom, Inc. | Costa Brazil                Nordstrom, Inc.                             7700 18th Street SW                                                                Cedar Rapids      IA           52404
Nordstrom, Inc. | Costa Brazil                Nordstrom, Inc.                             839 Commerce Drive                                                                 Upper Marlboro    MD           20774-7421
Nordstrom, Inc. | Costa Brazil                Nordstrom, Inc.                             8465 Park Meadows Center Drive                                                     Lone Tree         CO           80124
Nordstrom/ Attn: Cosmetics DM Christina                                                   Address Redacted
Nordstrom/ Attn: Cosmetics DM Heather Smile                                               Address Redacted
Norris, Ashley                                                                            Address Redacted
Norris, Kristopher                                                                        Address Redacted
North American Beauty Events LLC              Cosmoprof North America ; CPNA ; NABE       7755 E Gray Rd                                                                     scottsdale        AZ           85260
North Carolina Department of Labor            Budget and Management Division              1101 Mail Service Center                                                           Raleigh           NC           27699-1101
North Carolina Dept of Revenue                Motor Fuels Tax Division                    PO Box 25000                                                                       Raleigh           NC           27640-0650
North Carolina Secretary of State                                                         2 S Salisbury St.                                                                  Raleigh           NC           27601
North Carolina State University               C/O Department of Animal Science            Campus Box 7205                                                                    Raleigh           NC           27695
North Central Companies                                                                   601 Carlson Parkway                                                                Minnetonka        MN           55305
North Dakota State University                                                             NDSU Dept. 3100                                                                                      ND           58108-6050
Northern Commerce Inc.                                                                    300 Wellington St                       Unit 200                                   London            ON           N6B2L5       Canada
Northover, Romy                                                                           Address Redacted
Northpass, Inc.                                                                           6 Upper Pond Road                                                                  Parsippany        NJ           07054
Northwest Cosmetic Labs                                                                   2105 Boge Ave.                                                                     Idaho Falls       ID           83401
Northwest Cosmetic Labs                                                                   2105 Boge Ave.                                                                     Idaho Falls       ID           83401
Northwest Fluid Solutions, Inc.                                                           12328 134th Court NE                                                               Redmond           WA           98052
Norton, Philip                                                                            Address Redacted
Norville, Kenneth                                                                         Address Redacted
Nose SAS                                      Bérengère Bourdel                           20 rue Bachaumont                                                                  Paris                          75003        France
Nossa Caldas, Tania                                                                       Address Redacted
Notpla Limited                                                                            Unit 8B, Queens Yard, White Post Lane                                              London                         E9 5EN       United Kingdom
Novotny, Karen                                                                            Address Redacted
Novvi                                                                                     16876 Royal Crest Drive                                                            Houston           TX           77058
Novvi, LLC                                                                                5885 Hollis Street, Suite 100                                                      Emeryville        CA           94608
NQC C/O Nordstrom / ATTN: GWP Receiving                                                   Address Redacted
NSF International Food Safety, LLC                                                        789 N. Dixboro Rd.                                                                 Ann Arbor         MI           48105-9723
NTT America Solutions, Inc                                                                PO Box 392387                                                                      Pittsburgh        PA           15251-9387
NTT DATA, Inc.                                Enterprise Application Services Inc         Suite 1100 7950 Legacy Drive                                                       Plano             TX           75024
Nu-Chek-Prep, Inc                                                                         109 W. Main St.                                                                    Elysian           MN           56028
NUMBER ONE BEAUTY INC.                        NUMBER ONE BEAUTY INC.                      1426 MONTANA AVE #3                                                                SANTA MONICA      CA           90403
NuMega Resonance Labs, Inc                                                                SUITE B-2 11526 SORRENTO VALLEY RD                                                 San Diego         CA           92121
Nunes Carneiro, Thiane                                                                    Address Redacted
Nuno, Jose                                                                                Address Redacted
Nutrition By Mia LLC                          Mia Syn                                     1636 Juliana Street                                                                Daniel Island     SC           29492
NuVisions Studio                                                                          128 East Dyer Road Ste E                                                           Santa Ana         CA           92707
Nwosu, Emeka                                                                              Address Redacted
Nwuzi, Chioma                                                                             Address Redacted
NYC Department of Finance                                                                 P.O. Box 3653                                                                      New York          NY           10008
O&C LTD dba BOTTLETOP                                                                     Unit 15, 7-15 Greatorex Street          Unit 40                                    London                         E1 5NF       United Kingdom
O&C LTD dba Bottletop                                                                     Unit 40 7-15 Greatorex Street                                                      London                         E1 5NF       United Kingdom
O. Berk                                                                                   300 Callegari Drive                                                                West Haven        CT           06516
Oak Paper Products Company, Inc.              dba Acorn Paper Products Co.                PO Box 23965                                                                       Los Angeles       CA           90023
Oak Plaza Associates                                                                      Space No. 110 and 210                   Design District Center                     Miami             FL




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                     Creditor Name                                     Attention                                   Address 1                       Address 2        Address 3             City               State           Zip            Country
                                                     MIAMI DESIGN DISTRICT ASSOCIATES
Oak Plaza Associates                                 MANAGER, LLC, its Manager                 3841 NE 2nd Avenue, Suite 400                                                    Miami              FL                33137
                                                     Attn.: Miami Design District Associates
Oak Plaza Associates (Del) LLC                       Manager, LLC                              3841 NE 2nd Avenue                    Suite 400                                  Miami              Florida           33137
                                                     Attn.: Miami Design District Associates
Oak Plaza Associates (Del) LLC                       Manager, LLC                              3841 NE 2nd Avenue                    Suite 400                                  Miami              FL                33137
Oak Plaza Associates (DEL), LLC                                                                Suite 400 3841 NE 2nd Ave                                                        Miami              FL                33137
OakBarrel Winecraft                                                                            1443 San Pablo Avenue                                                            Berkeley           CA                94702
Oakland Asian Cultural Center                        API Cultural Center, Inc                  Suite 290 388 9th Street                                                         Oakland            CA                94607
OANDA Business Information & Servic                                                            46th Floor 140 Broadway                                                          New York           NY                10005
Obelis s.a                                                                                     Blvd. Brand Whitlock 30                                                          Brussels           11                1200          Belgium
O'Brien, Mary                                                                                  Address Redacted
Occupational Health Centers of CA                    Concentra Medical Centers                 PO Box 3700                                                                      Rancho Cucamonga   CA                91764
Ocean City Organics                                                                            11944 Ocean Gtwy #C                                                              Ocean City         MD                21842
Oceana, Inc.                                                                                   Suite 200 1025 Connecticut Ave                                                   Washington         DC                20036
Ochoa, Alyssa                                                                                  Address Redacted
Ochoa, Irvine                                                                                  Address Redacted
OCTO COMERCIO DE VESTUARIO LTDA                                                                R CAPITAO PACHECO E CHAV 313, LJ L1                                              SAO PAULO          SP                03126-000     Brazil
Octoly Inc                                                                                     244 Fifth Avenue Suite D61                                                       New York           NY                10001
                                                                                               AV. BONAMPAK MZ 1 LTE 4 Y 5 LOC SA2
OctopusMx                                                                                      PISO 1 SM 8                           BENITO JUÃ�REZ                             CancÃºn            QROO              77504         Mexico
ODALISQUE                                                Bridget Lescher                       ODALISQUE                             101 S Third St.                            Geneva             IL                60134
Odicci Ltd                                                                                     124 City Road                                                                    London                               EC1V 2NX      United Kingdom
ODP Business Solutions                                   Office Depot Inc                      PO Box 29248                                                                     Phoenix            AZ                85038-9248
O'Dwyer, Teresa                                                                                Address Redacted
OEC Fluid Handling, Inc.                                                                       140 Cedar Springs Road                                                           Spartanburg        SC                29302
OF BECOMING US LLC                                                                             600 Broadway                          Suite 200 #4802                            Albany             NY                12207
Office Libations                                         Noble Brewer Beer Co.                 4721 Tidewater Ave                                                               Suite C            CA                94601
Office of the United States Attorney for the District of
Delaware                                                 c/o U.S. Attorney's Office            Hercules Building                     1313 N Market Street                       Wilmington         DE                19801
Office of the United States Attorney for the District of
Delaware                                                 c/o U.S. Attorney's Office            Hercules Building                     1313 N Market Street                       Wilmington         DE                19801
Office of the United States Trustee                                                            844 King Street, Suite 2207           Attn: John Schanne                         Wilmington         DE                19801
Office of the United States Trustee for the District of
Delaware                                                                                       844 King St                           Suite 2207                                 Wilmington         DE                19801
Office Relief Inc                                                                              516 McCormick St                                                                 San Leandro        CA                94577
OfficeSpace Software, Inc                                                                      #39903 228 Park Ave S                                                            New York           NY                10003
Offprem Technology, LLC                                                                        12175 Visionary Way                                                              Fishers            IN                46038
Ofori, Christine                                                                               Address Redacted
Oghubazghi, Bereket                                                                            Address Redacted
Oglesby, Oona                                                                                  Address Redacted
Oh, Sarah                                                                                      Address Redacted
Ohler, Maud                                                                                    Address Redacted
OK Kosher Certification                                  C/O Committee for the Advancement o   391 Troy Avenue                                                                  Brooklyn           NY                11213
Oklahoma Tax Commission - Franchise                                                            PO Box 26930                                                                     Oklahoma City      OK                73126-0930
Oklahoma Tax Commission - Franchise                      Attn: Bankruptcy/Legal Dept.          Oklahoma Tax Commission                                                          Oklahoma City      OK                73194
Okodia                                                                                         C/ NÃºria 57                                                                     RubÃ-              Barcelona         8191          Spain
Okrut, Julia                                                                                   Address Redacted
Oladele, Michael                                                                               Address Redacted
Old Dominion Freight Line Inc                                                                  PO Box 742296                                                                    Los Angeles        CA                90074-2296
Olena Zhurya                                                                                   Address Redacted
Olesya Stryzhak                                                                                Address Redacted
Olika Inc                                                                                      #502 336 Bon Air Center                                                          Greenbrae          CA                94904
Olivares, Vicente                                                                              Address Redacted
Oliver Inc. / Attn: Allyson Tobin                                                              Address Redacted
Olivia Bennett                                                                                 Address Redacted
Olivia Cefalu                                                                                  Address Redacted
Olivia Culpo, Inc                                                                              Suite 1600 1880 Century Park E.                                                  Los Angeles        CA                90067
Olivia Oldsman DBA Sage                                  Olivia Oldsman DBA Sage               318 Derby Street                                                                 Salem              MA                01970
Olon SpA                                                                                       Strada Rivoltana km 6/7                                                          Rodano             MI                20090         Italy
Olshan Frome Wolosky LLP                                 Attn.: Eric L. Goldberg, Esq.         65 East 55th Street                                                              New York           New York          10022
Olshan Frome Wolosky LLP                                 Attn.: Eric L. Goldberg, Esq.         Attn.: Eric L. Goldberg, Esq.         65 East 55th Street                        New York           NY                10022
Olson, James                                                                                   Address Redacted
Olsson, Elizabeth                                                                              Address Redacted
Olympus America Inc.                                                                           48 Woerd Ave                                                                     Waltham            MA                02453
Olympus Controls                                                                               18280 SW 108th Ave                                                               Tualatin           OR                97062
Om Office Yoga                                                                                 #6 119 Haight St                                                                 San Francisco      CA                94102
Omega Engineering Inc                                                                          26904 Network Place                                                              Chicago            IL                60673-1269
Omegasonics                                              C/O S & F Sonics, Inc.                330 E. Easy St. Suite A                                                          Simi Valley        CA                93065
Omeryar, Jasmin                                                                                Address Redacted
Omi Productions, Inc.                                                                          9100 Wilshire Blvd                    Suite 1000W                                Beverly Hills      CA                90212
Omohundro, Andrea                                                                              Address Redacted
On Target Staffing, LLC                                                                        Suite 103 2050 Rt 27                                                             North Brunswick    NJ                08902
On Trek Mom                                                                                    6214 Garden Lakes Ln.                                                            Sugarland          TX                77479
Onda Beauty (Sag Harbor)                                                                       Address Redacted

ONDA Beauty c/o Amyris Inc , Attn: Emma Griffiths                                              Address Redacted
Onda Beauty c/o Shipdudes Logistics                                                            Address Redacted
Onda Beauty Inc                                                                                117 West Broadway                                                                New York           NY                10013




In re: Amyris, Inc., et al.
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                     Creditor Name                         Attention                            Address 1                        Address 2         Address 3            City         State           Zip            Country
Onda Beauty Inc.                       Onda Beauty                          42 Main St                                                                         Sag Harbor       NY           11963
Onda Beauty Inc.                       ONDA Beauty Inc                      117 West Broadway                                                                  New York         NY           10013
Onda Beauty Inc.                       ONDA Beauty Inc                      2500 83rd St, Unit #12                                                             North Bergen     NJ           07047
Onda Beauty Inc. | JVN                 Rowaida Younes                       117 West Broadway                                                                  New York         NY           10013
Onda Beauty Inc. | JVN                 Rowaida Younes                       239 E Montauk Highway                                                              Hampton Bays     NY           11946
Onda Beauty Inc. | JVN                 Rowaida Younes                       42 Main St                                                                         Sag Harbor       NY           11963
ONDA Beauty:ONDA Beauty - Sag Harbor                                        42 Main Street                                                                     Sag Harbor       NY           11963
ONDA Beauty:ONDA Beauty 3PL                                                 2500 83rd StreetUnit #12                                                           North Bergen     NJ           07047
ONE HOTEL C/O JOAN CHENG                                                    Address Redacted
One Hour Delivery Service, Inc.                                             2920 Camino Diablo #100                                                            Walnut Creek     CA           94597
One Line Power Systems, Inc.                                                Suite 300 1450 Maria Lane                                                          Walnut Creek     CA           94507
One Represents LTD                                                          27 POLAND STREET                         3rd Floor                                 London                        W1F 8QW       United Kingdom
O'Neill, Daniel                                                             Address Redacted
OneSource Virtual Inc                                                       9001 Cypress Waters Blvd.                                                          Dallas           TX           75019
OneTrust LLC                                                                1200 Abernathy Rd NE                                                               Sandy Springs    GA           30328
Onyx Unity, LLC                                                             181 Ferndale Rd                                                                    Scarsdale        NY           10583
OPAC REUNION INDUSTRIAL LIMITED                                             391, Sec. 1 Sunrong Rd., Wuri District                                             Taichung                      41455         Taiwan
Opadeyi, Moradeyo                                                           Address Redacted
OPC MGMT, LLC                                                               1425 N Cherokee Ave Box 931112                                                     Los Angeles      CA           90093
Open Book Extracts                                                          317 Lucy Garrett Road                                                              Roxboro          NC           27574
Opensci, LLC                                                                6730 E Via Rosmarino                                                               Tucson           AZ           85750
Opentrons Labworks Inc                                                      20 Jay Street, Suite 528                                                           Brooklyn         NY           11201
Opia GmbH                              Opia GmbH                            Lagerstrasse 72                                                                    Zürich 08004                                Switzerland
Oppenheimer & Co. Inc.                                                      85 Broad Street, 4th Floor                                                         New York         NY           10004
OPRAH DAILY c/o ELENA ODULAK                                                Address Redacted
OpSec Online, LLC                                                           2929 Walden Avenue                                                                 Depew            NY           14043
Optima Chemical Group LLC                                                   200 Willacoochee Highway                                                           Douglas          GA           31535
Optimism LLC (dba BarrettSF)                                                250 Suô€†©er Street                      Suite 200                                 San Francisco    CA           94108
Optimist, Inc.                                                              5431 W. 104th St.                                                                  Los Angeles      CA           90045
Optimum Advertising Specialties                                             3282 Lance Drive                                                                   Stockton         CA           95205
Optimum Processing Inc.                                                     336 Bon Air Center #128                                                            Greenbrae        CA           94904
Optimum Processing Inc.                                                     55 Mitchell Blvd. No. 23                                                           San Rafael       CA           94903
Oracle America, Inc.                                                        500 Oracle Parkway                                                                 Redwood City     CA           94065
Orange Coast Pneumatics, Inc                                                Unite A 3810 Prospect Ave                                                          Yorba Linda      CA           92886
Orchard Custom Beauty                                                       275 Superior Blvd                        Unit 1                                    MISSISSAUGA      ON           L5T 2L6       Canada
ORESTE CESCO FIESCH                                                         Address Redacted
ORESTE CESCO FIESCHI                                                        Address Redacted
ORG Chem Group, LLC                    ORG Indiana Holding, LLC             2406 Lvnch Rd.                                                                     Evansville       IN           47711
Organic Spa Media, LTD                                                      19537 Lake Road                          Suite 203                                 Rocky River      OH           44116
Orion Industries LTD                                                        5492 N. Northwest Hwy                                                              Chicago          IL           60630
Orlando, Audrey                                                             Address Redacted
Orora Visual                                                                3210 Innovative Way                                                                Mesquite         TX           75149
Orrick, Herrington & Sutcliffe LLP                                          Dept 34461 PO Box 39000                                                            San Francsico    CA           94139
Orthodox Union                                                              14th floor 11 Broadway                                                             New York         NY           10004
Ortiz Aburto, Silvio                                                        Address Redacted
OSIsoft LLC                                                                 1600 Alvarado Street                                                               San Leandro      CA           94577
Osler, Hoskin & Harcourt LLP           Osler                                Suite 6200 100 King Street West                                                    Toronto                       M5X 1B8       Canada
Oteri, Rosario                                                              Address Redacted
Ou, Jasmine                                                                 Address Redacted
Ouardia Feddi et Victoire Adrien,                                           Address Redacted
OUM & Co. LLP                                                               601 California Street                    Ste 1800                                  San Francisco    CA           94108
Out There OOH Srl                                                           Via dei Fontanili 13                                                               Milano                        20141         Italy
Outfront Media                                                              2640 NW 17th Ln                                                                    Pompano Beach    FL           33064
Outfront Media                         Attn: Sandra Vicente                 2640 NW 17th Ln                                                                    Pompano Beach    FL           33064
Outfront Media                         Attn: Sandra Vicente                 2640 NW 17th Ln                                                                    Pompano Beach    FL           33064
Overhead Door Co. of Wilmington                                             2914 Orville Wright Way                                                            Wilmington       NC           28405
Oxford Nanopore Technologies                                                PO Box 7247, Mail Code: 7901                                                       Philadelphia     PA           19170
P&C - PERFUMES & COMPANHIA                                                  RUA MOUZINHO DA SILVEIRA n.15                                                      LISBOA                        1250-166      Portugal
P-3 Sales and Leasing                  C/O Barry Kurtzer                    6363 Christie Avenue #211                                                          Emeryville       CA           94608
Pachulski Stang Ziehl & Jones LLP                                           150 California St, 15th Floor                                                      San Francisco    CA           94111
Pacific Bag LLC                                                             15300 Woodinville Redmond Rd NE                                                    Woodinville      WA           98072
Pacific BioLabs Inc.                                                        551 Linus Pauling Dr.                                                              Hercules         CA           94547
Pacific Bridge Packaging, Inc.                                              103 Exchange Place                                                                 Pomona           CA           91768
Pacific Color Graphics                                                      6336 Patterson Pass Rd, Suite A                                                    Livermore        CA           94550
Pacific Digital Image                                                       333 Broadway                                                                       San Francisco    CA           94133
Packaging Brands                                                            Rua Engenheiro Cortes Sig BL1 1002C                                                Rio De Janeiro   RJ           22450 150     Brazil
Packaging Corporation of America                                            1 North Field Court                                                                Lake Forest      IL           60045
Packaging Corporation of America                                            36596 Treasury Center                                                              Chicago          IL           60694-6500
Packform USA LLC                                                            #714 25852 McBean Pkwy                                                             Valencia         CA           91355
Paddon, Christopher                                                         Address Redacted
Paige Campbell Linden LLC                                                   232 Avenida La Cuesta                                                              San Clemente     CA           92672
Paige Leitch                                                                Address Redacted
Paige Stables                                                               Address Redacted
Pak, Valeriya                                                               Address Redacted
Pakayla Biehn                                                               Address Redacted
Palacio Editorial LLC                                                       371 Madison Street                       #402                                      New York         NY           10002
Palko, Jessica                                                              Address Redacted
Pall Corporation                                                            PO Box 419501                                                                      Boston           MA           02241
PalletOne of NC, Inc                                                        2340 Ike Brooks Road                                                               Siler City       NC           27344




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                 Creditor Name                                          Attention                                    Address 1                           Address 2       Address 3               City        State           Zip            Country
Palm beach Holdings 3940 llc                                                                        114-120 NE 40th Street                                                           Miami              FL           33137
                                                     c/o Design District ERFR LLC, Attn.: Michael
                                                     Fuchs and Frank Mangieri
Palm beach Holdings 3940 llc                         Fax: (212) 308-5090                            375 Park Avenue, 10th Floor                                                      Miami              FL           10152
Palm Beach Holdings 3940, LLC                                                                       801 Brickwell Ave                       Ste 900                                  Miami              FL           33131-2979
Palm Beach Holdings 3940, LLC                                                                       801 Brickwell Ave                       Ste 900                                  Miami              FL           33131-2979
Palm Beach Holdings 3940, LLC                                                                       Suite 900 801 Brickwell Ave                                                      Miami              FL           33131-2979
Palm Heights Hotel                                   CISNE CARGO CORPORATION                        5435 NW 72nd Avenue                                                              Miami              FL           33166
Palm Heights Hotel                                   Palm Heights Attn: Caroline Curry              747 West Bay Road, Seven Mile Beach                                              Grand Cayman                    KY1-1110      Cayman Islands
                                                                                                                                                                                     Camana Bay Grand
Palm Heights Hotel                                   Palm Sunrise Ltd                               Suite 1068                              10 Market Street                         Cayman                                        Cayman Islands
Palm Heights Hotel Attn: Gabriella Khalil / Sophie
Roche Conti                                                                                         Address Redacted
Palm Heights Hotel Attn: Gabriella Khalil / Sophie
Roche Conti                                                                                         Address Redacted
Palm Sunrise Limited                                                                                1068 10 Market Street                                                            CAYMAN ISLANDS     10           KY1-9006      Cayman Islands
Palmetto Insulation Co.                                                                             991 Park Rd.                                                                     Cassatt            NC           29032
Paloma                                               Paloma                                         439 Thurman Ave                                                                  Columbus           OH           43206
Paloma                                               Paloma / Attn: Angela Gann                     1197 W 5th Ave                                                                   Columbus           OH           43212
Pam Arias                                                                                           Address Redacted
Pam Arias                                                                                           Address Redacted
Pam Arias                                                                                           Address Redacted
Pam Eskalyo                                                                                         Address Redacted
Pamela Rutter                                                                                       Address Redacted
Pampiks, Austin                                                                                     Address Redacted
Pampiks, Austin                                                                                     Address Redacted
Pan, Jonathan                                                                                       Address Redacted
Pan, Shu                                                                                            Address Redacted
Panackia, Chantelle                                                                                 Address Redacted
Panaya Ltd                                                                                          6 Hacharash St                                                                   Hod HaSharon                    4524079       Israel
Pandit, Meeta Girish                                                                                Address Redacted
Pandora Media LLC dba SXM Media                                                                     1221 Avenue of the Americas                                                      New York           NY           10020
Pandya, Bhargav                                                                                     Address Redacted
Pangilinan, Mary Catherine                                                                          Address Redacted
Pannier Consulting Limited                                                                          15, High Street                                                                  Royston            HT           SG8 5QN       United Kingdom
Pan-Pacific Supply Co, Inc.                                                                         2045 Arnold Industrial Way                                                       Concord            CA           94520
Pantheon Systems, Inc.                                                                              FL2 717 California Street                                                        San Francisco      CA           94108
Panther Global, Inc.                                                                                251 Little Falls Drive                                                           Wilmington         DE           19807-1674
Paola Alberti                                                                                       Address Redacted
Paola Oramas                                                                                        Address Redacted
Papamarkou Wellner & Co Inc.                                                                        430 Park Avenue                                                                  New York           NY           10022
Paper Tube LLC                                                                                      Suite 206 4180 IL Rte 83                                                         Long Grove         IL           60047
Parallel Consulting global Ltd                                                                      64 Southwark Bridge Road                                                         London                          SE1 0AS       United Kingdom
Paramount Graphics                                                                                  6075 Parkway North Drive                                                         Cumming            GA           30040
Paras Chemcare                                                                                      202 Shivdutta, Topiwaia Lane                                                     Goregaon           13           400062        India
Parchem Nutrition Inc.                                                                              415 Huguenot Street                                                              New Rochelle       NY           10801
Parentville                                                                                         108 W 73rd S #1                                                                  New York           NY           10023
Parikh, Rupesh                                                                                      Address Redacted
Parikh, Tejas                                                                                       Address Redacted
Paris Levy                                                                                          Address Redacted
Park Wynwood LLC                                                                                    2734 NW 1st Avenue                                                               Miami              FL           33127
Park Wynwood LLC                                                                                    855 Front Street                                                                 San Francisco      CA           94111
Park Wynwood LLC                                                                                    855 Front Street                                                                 San Francisco      CA           94111
Park Wynwood LLC                                                                                    c/o Brick & Timber Collective LLC       855 Front Street                         San Francisco      CA           90004
Park Wynwood LLC                                                                                    cc: Patrick F Tostado, Esq.             200 North Larchmont Blvd.                Los Angeles        CA           90004
Park Wynwood LLC                                     C/o Brick & Timber Collective LLC              2734 NW 1st Avenue,                                                              New York           NY
Park Wynwood LLC                                     c/o Brick & Timber Collective LLC              855 Front Street                                                                 San Francisco      CA           90004
Park Wynwood LLC                                     cc: Patrick F Tostado, Esq.                    200 North Larchmont Blvd.                                                        Los Angeles        CA           90004
Park Wynwood, LLC v. Amyris, Inc.                    Richard A. Appelbaum                           Keesal, Young & Logan                                                                                                          Brazil
Park, Hayeon                                                                                        Address Redacted
Park, Janet                                                                                         Address Redacted
Park, Young                                                                                         Address Redacted
Park, Youngju                                                                                       Address Redacted
Parker Hannifin Corporation                          Dominic Hunter Process                         7975 Collection Center Drive                                                     Chicago            IL           60693
Parker Management LLC                                                                               2474 NW Birkendene St.                                                           Portland           OR           97229
Parker Management LLC                                                                               4535 SW Natchez Ct.                                                              Tualatin           OR           97062
Park-Langer LTD                                                                                     1 Eastview Ln                                                                    Glen Head          NY           11545
Parr Instruments Co                                                                                 211 53rd Street                                                                  Moline             IL           61265
Parthmer, George                                                                                    Address Redacted
Particle Technology Labs                                                                            555 Rogers Street                                                                Downers Grove      IL           60515
Parts Models LLC                                                                                    7529 FDR Station                                                                 New York           NY           10150
Pasch, Frederick                                                                                    Address Redacted
Passos Piagentini Lawant, Bruna                                                                     Address Redacted
Passport Global, Inc.                                                                               3790 El Camino Real                     #854                                     Palo Alto          CA           94306
Pat Saxby (Bergdorf Goodman)                                                                        Address Redacted
Patel, Anupa                                                                                        Address Redacted
Patel, Mehul                                                                                        Address Redacted
Patel, Neepa                                                                                        Address Redacted
Patel, Nidhi                                                                                        Address Redacted




In re: Amyris, Inc., et al.
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                                                                                                                         Creditor Matrix



                   Creditor Name                                 Attention                             Address 1                      Address 2       Address 3             City              State           Zip            Country
Patel, Sonali                                                                       Address Redacted
Patel, Zeel                                                                         Address Redacted
Pathammavong, Somsanith                                                             Address Redacted
Patheon Regensburg GmbH                                                             Donaustaufer StraBe 378                                                       Regensburg                          93055         Germany
Patricia Anne Spoon                                                                 Address Redacted
Patricia Carrillo                                                                   Address Redacted
Patricia Johnston                                                                   Address Redacted
Patricia Lebon                                                                      Address Redacted
Patricia Mceachern                                                                  Address Redacted
Patrick Clayton Productions                                                         Address Redacted
Patrick H Pirkey                                                                    Address Redacted
Patrick Luna                                                                        Address Redacted
Patrick Pichette                                                                    Address Redacted
Patrick Schoenardie x Amyris Brasil Ltda.                                           Address Redacted
Patrick Yuhmin Yang                                                                 Address Redacted
Pattarasettagarn, Hathaiporn                                                        Address Redacted
Pattern Design, LLC                                                                 936B 7th Street #212                                                          Novato                 CA           94945
Patterson Lift Trucks Inc                                                           975 Industrial Parkway West                                                   Hayward                CA           94544
Patti Birbiglia                                                                     Address Redacted
Pattumma, Sureepoul                                                                 Address Redacted
Patzer, Ashley                                                                      Address Redacted
Paul Jamesen Steiner                                                                Address Redacted
Paul Miller                                                                         Address Redacted
Paul Mueller Company                                                                1600 West Phelps St.                                                          Springfield            MO           65802
Paul Ritter                                                                         Address Redacted
Paul Rupprecht                                                                      Address Redacted
Paul Weiss Rifkind Wharton &                   Garrison LLP                         1285 Avenue of the Americas                                                   New York               NY           10019-6064
Paula Albuquerque                                                                   Address Redacted
Paula Bezerra de Mello                                                              Address Redacted
PAULA BEZERRA de MELLO                                                              Address Redacted
PAULA BEZERRA de MELLO                                                              Address Redacted
PAULA BEZERRA de MELLO                                                              Address Redacted
Paula Fran Connelly                                                                 Address Redacted
PAULA LESIAK                                                                        Address Redacted
Paulas, James                                                                       Address Redacted
Paulina Piiponen                                                                    Address Redacted
Paulo Diniz                                                                         Address Redacted
Paulo Ribeiro Management LTD                                                        1 Gainsford Street                                                            London                              SE1 ZNE       United Kingdom
Paulsson, Dan                                                                       Address Redacted
Paxio                                          Attn: Bankruptcy/Legal Dept.         PO Box 8247                                                                   Emeryville             CA           94662
Paxio Inc                                                                           PO Box 8247                                                                   Emeryville             CA           94662
PayScale, Inc.                                                                      75 Remittance Dr., Dept 1343                                                  Chicago                IL           60675-1343
Payton Sartain                                                                      Address Redacted
PB Hotel Property LLC dba Four Seasons Hotel
Palm Beach                                     Four Seasons Hotel Palm Beach       2800 S. Ocean Blvd.                                                            Palm Beach             FL           33480
PDART COMERCIO DE VESTUARIO LTDA                                                   ROD RSC 453 - KM 3,5 2780                                                      CAXIAS DO SUL          RS           95140-000     Brazil
PDART KELLER MODA INTIMA LTDA                                                      AVENIDA PREFEITO CH 3288, LJ 108/03                                            PORTO VELHO            RO           76820-408     Brazil
PDART SHOPPING BH LTDA                                                             RODOVIA BR - 356 3049, LOJA NL15                                               BELO HORIZONTE         MG           30320-900     Brazil
Peace, Jason                                                                       Address Redacted
Peak Scientific                                                                    19 Sterling Road, Suite # 1                                                    Billerica              MA           01862
PEAK, LLC, AS REPRESENTATIVE                                                       170 WEST SHIRLEY AVENUE, SUITE 207                                             WARRENTON              VA           20186
Pearl Dworkin                                                                      Address Redacted
Peddiraju, Sarika Raj                                                              Address Redacted
Peeke Scientific                                                                   936B 7th Street, #304                                                          Novato                 CA           94945
Peet's Coffee & Tea                                                                1400 Park Avenue                                                               Emeryville             CA           94608
Pena, Cristina                                                                     Address Redacted
Penaloza, Ireri                                                                    Address Redacted
Pencil One                                                                         275 Centre St. Unit 17                                                         Holbrook               MA           02343
Pencreative-Publicidade, Lda                                                       Av. Central de Guilhufe 198/cave                                               Penafiel                            4560-131      Portugal
Penderfund                                                                         Suite 1640 1066 West Hastings St.                                              Vancouver              BC           V6E 3X1
Penelope & The Beauty Bar / Ondrea Watson                                          Address Redacted
Penelope & The Beauty Bar/ Kasia Michalski                                         Address Redacted
Penelope and the Beauty Bar                    Kasia Michalski                     Penelope and the Beauty Bar           950 Mason Street                         San Francisco          CA           94108
Penelope and the Beauty Bar                    Kasia Michalski                     Penelope and the Beauty Bar           411 University St                        Seattle                WA           98101
Peng, Madeline                                                                     Address Redacted
Penman Consulting Limited                                                          Stanford Mill                                                                  Stanford in the Vale                SN7 8NP       United Kingdom
Pennsylvania Department of Revenue                                                 PO BOX 280905                                                                  Harrisburg             PA           17128
Penske Business Media, LLC                     Fairchild Publishing, LLC           9th Floor 11175 Santa Monica Blvd                                              Los Angeles            CA           90025
Penta International                                                                50 Okner Pkwy                                                                  Livingston             NJ           07039
Penta International Corporation                                                    PO Box 1448                                                                    Fairfield              NJ           07007-1448
Peony Lim                                                                          Address Redacted
Peony Lim                                                                          Address Redacted
PEP Printing, Inc dba Premier Press                                                5000 North Basin Ave                                                           Portland               OR           97217
PEP TROPICAL MIX SRL                                                               CALLE ALVAREZ GUZMAN S/N                                                       SANTO DOMINGO          01           11113         Dominican Republic
Pepper Style, Inc.                                                                 9306 Civic Center Dr                                                           Beverly Hills          CA           90210
Pepperjam LLC                                                                      LB 1683 PO Box 95000                                                           Philadelphia           PA           19195-0001
Pepsi-Cola                                     Pepsi Beverages Company             75 Remittance Drive, Suite 1884                                                Chicago                IL           60675-1884
Percy Works Ltd                                                                    6 Thornwood Road                                                               London                              SE13 5RG      United Kingdom
Perez, Adam                                                                        Address Redacted




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                                                                                                                          Creditor Matrix



                    Creditor Name                            Attention                              Address 1                         Address 2                           Address 3               City         State           Zip            Country
Perez, Jill                                                                      Address Redacted
Perez, Regina                                                                    Address Redacted
Perfect Video Conferencing                                                       4065 Watts Street                                                                                                       CA            94608
Performance Based Ergonomics Inc                                                 484 Lake Park Ave Suite 14                                                                           Oakland            CA            94610
Perkin Elmer Health Sciences Inc                                                 13633 Collection Center Drive                                                                        Chicago            IL            60693
PerkinElmer Informatics Inc.                                                     940 Winter Street                                                                                    Waltham            MA            02451
Perpetua Labs, Inc.                                                              36 Maplewood Ave                                                                                     Portsmouth         NH            03801
Perpetua Labs, Inc.                                                              Suite 28T 680 Mission Street                                                                         San Francisco      CA            94105
PERRARA VENTURES, LLC                                                            1180 SAN CARLOS AVE., #717                                                                           SAN CARLOS         CA            94070
Perrara Ventures, LLC                      Attention: Jon Novotny                Goodwin Procter LLP                      3 Embarcadero Center              28th floor                San Francisco      CA            94111
Perrara Ventures, LLC                      Barbara Hager                         1180 San Carlos Avenue                   #717                                                        San Carlos         CA            94070
Perrigo Portugal                                                                 Lagoas Park - Edifício 15 - Piso 3                                                                   Porto Salvo                      2740-262      Portugal
Perry Products Corporation                                                       25 Hainesport - Mount Laurel Rd.                                                                     Hainesport         NJ            08036
Persiasglo LLC                                                                   204 Old Bremen Road                                                                                  Carrollton         GA            30117
Personal Care Products Council                                                   1101 17th St NW #300                                                                                 Washington DC      DC            20036-4702
Personal Care Products Council                                                   Suite 1200 1620 L Street, NW                                                                         Washington         DC            20036
Personalized Beauty Discovery Inc. | JVN   BFA Industries                        201 Baldwin Ave.                                                                                     San Mateo          CA            94401
Personalized Beauty Discovery Inc. | JVN   Personalized Beauty Discovery, Inc.   201 Baldwin Ave                          2nd Floor                                                   San Mateo          CA            94401
Personalized Beauty Discovery Inc. | JVN   Saddle Creek - Missouri               6401 E 160th St Belton                                                                               Belton             MO            64012
Personalized Beauty Discovery Inc. | JVN   Saddle Creek - North Carolina         6420 Saddle Creek Court                                                                              Harrisburg         NC            28075
Personalized Beauty Discovery Inc. | JVN   Saddle Creek - Texas                  Door 301                                 4670 Railhead Road                                          Fort Worth         TX            76106
Petakoff, Kristin                                                                Address Redacted
Peter Allan                                                                      Address Redacted
Peter DeNardo                                                                    Address Redacted
Peter Lio                                                                        Address Redacted
Peter Yurgel                                                                     Address Redacted
Petersen, Andre                                                                  Address Redacted
Petersen, James                                                                  Address Redacted
Petersen, Nicole                                                                 Address Redacted
Petra Flannery                                                                   Address Redacted
Petronio Associates                                                              7 RUE DEBELLEYME                                                                                     Paris                            75003         France
Petty Cash Inc                                                                   505 COURT STREET                         #6K                                                         Brooklyn           NY            11231
Peyton Beck                                                                      Address Redacted
PFS Global Services UK Limited                                                   Unit 7, Mountpark Southampton            Wide Lane                                                   Southampton                      SO18 2FA      United Kingdom
PFSweb                                                                           505 Millennium Drive                                                                                 Allen              TX            75013
PG&E                                       Attn: Bankruptcy/Legal Dept.          PO Box 997300                                                                                        Sacramento         CA            95899-7300
PG&E Co                                                                          PO Box 997300                                                                                        Sacramento         CA            95899-7300
Pham, Dau                                                                        Address Redacted
Pharma Contracting Inc.                                                          2517 Delaney Avenue                                                                                  Wilmington         NC            28403
Pharma Contracting, Inc.                                                         2517 Delaney Ave                                                                                     Wilmington         NC            28403
Pharma COS SRL                                                                   via volta 7                                                                                          Caravaggio                       24043         Italy
Pharma Developability Solutions            Rheology Testing Services             103 Nettle Ridge                                                                                     Chapel Hill        NC            27517
Phase Five Partners, LP                                                          10th Floor 800 Third Avenue                                                                          New York           NY            10022
Phenomenal Women                                                                 912 Cole Street                                                                                      San Francisco      CA            94117
Phenomenex Inc                                                                   PO Box 749397                                                                                        Los Angeles        CA            90074
Philip B. Klepak                                                                 Address Redacted
Philippa Usher                                                                   Address Redacted
Philippe Boisseau                                                                Address Redacted
Phillip Romano                                                                   Address Redacted
Phillips, Kelsey                                                                 Address Redacted
Phoenix Bioinformatics Corporation                                               Suite 200 39899 Balentine Dr.                                                                        Newark             CA            94560
Photogenics Media, LLC                                                           665 Rose Ave                                                                                         Venice             CA            90291
Piacente, Stephanie                                                              Address Redacted
Pickering, Jennifer                                                              Address Redacted
Piedad, Aine                                                                     Address Redacted
Piedmont Natural Gas                                                             PO Box 1246                                                                                          Charlotte          NC            28201
Piedmont Natural Gas                       Attn: Bankruptcy/Legal Dept.          PO Box 1246                                                                                          Charlotte          NC            28201
Piette, Lindsay                                                                  Address Redacted
Pillari, Laura                                                                   Address Redacted
PIMS New York, Inc.                                                              20 West 36th street                                                                                  New York           NY            10018
Pin, Armelle                                                                     Address Redacted
Pine River Master Fund Ltd.                                                      7th Floor 601 Carlson Parkway                                                                        Minnetonka         MN            55305
Pineda, Kris                                                                     Address Redacted
Pinel, Dominic                                                                   Address Redacted
Pinheironeto Advogados                                                           R. Hungria, 1100-01455-000                                                                           Sao Paulo          SP            1100-0145     Brazil
Pinnacle Storage of Leland                 LIP Mini Storage LLC                  2011 Enterprise Dr.                                                                                  Leland             NC            28451
Pinterest, Inc                                                                   651 Brannan Street                                                                                   San Francsico      CA            94107
                                                                                                                          West Avenue of Xintang, Xintang
PIONEER HITECH MFG CO.,LTD                                                       064, 4th Floor Building A, No 511        Town,Zengcheng                                              Guangzhou          å¹¿ä¸œçœ�     511340        China
Pioneer Sales Company                                                            PO BOX 312                                                                                           East Longmeadow    MA            01028
Pissarra Cogo, Juliana                                                           Address Redacted
PitchBook Data, Inc.                                                             Suite 1200 901 5th Ave                                                                               Seattle            WA            98164
Pitera, Douglas                                                                  Address Redacted
Pitney Bowes                               Global Financial Services LLC         PO Box 371887                                                                                        Pittsburgh         PA            15250-7887
Pitts, Danielle                                                                  Address Redacted
Pivit Global Inc.                                                                Suite B 826 De la Vina St                                                                            Santa Barbara      CA            93101
PJ Mattan                                                                        Address Redacted
PKG Group LLC                              c/o YonWoo International              1875 Century Park East, Suite 2240                                                                   Century City       CA            90067
PKN Caps and Polymers (P) Ltd.                                                   Shed no 24, 2nd Phase                                                                                Harohalli                        562112        India




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Plahn, Elizabeth                                                                      Address Redacted
Planet Equity Group LLC                                                               4016 Flowers Rd                                                                                  Atlanta             GA               30360
Planet Equity Group LLC                         IT Works Recruitment Inc              Suite 201 800 Hillgrove Ave                                                                      Western Springs     IL               90558
Plank                                                                                 98 Broadway                                                                                      Oakland             CA               94607
PlanSource                                                                            Suite 203 101 S. Garland Ave.                                                                    Orlando             FL               32821
Plant: USRS                                                                           Address Redacted
Plantaysia, Inc.                                                                      Apt. 12 1606 West Ave                                                                            Miami Beach         FL               33139
Planting Justice                                                                      319 105th Ave                                                                                    Oakland             CA               94603
Plasky, Joseph Christopher                                                            Address Redacted
Plasky,Joseph Christopher                                                             Address Redacted
Platform Agency                                                                       Singel 512 II                                                                                    Amsterdam           Noord Holland    1017 AX       Netherlands
Platinum Pixie LLC                                                                    4046 Lilac Road                                                                                  Allentown           PA               18103
Please Respect Our Neighbors Inc.                                                     59 Jefferson St.                       #211                                                      Brooklyn            NY               11206
Plotly Technologies Inc.                                                              118 - 5555 ave de Gaspe                                                                          Montreal            QC               H2T 2A3       Canada
Plus More Group LLC                                                                   350 Fifth Avenue, 38th FL                                                                        New York            NY               10118
PM Business Advisors LLC                                                              333 Westchester Avenue                                                                           White Plains        NY               10604
PMG Worldwide LLC v. Amyris Clean Beauty, Inc   Davis+Gilbert LLP                     Jshua E. Epstein                       Eva M. Jimenez                1675 Broadway               NY                  NY               10019
PMG Worldwide, LLC                                                                    2845 W. 7th St                                                                                   Fort Worth          TX               76107
PMG Worldwide, LLC                                                                    2845 W. 7th St                                                                                   Fort Worth          TX               76107
PNC Equipment Finance                                                                 P.O. Box 51657                                                                                   Los Angeles         CA               90051-5957
Pohuja, Natasha                                                                       Address Redacted
Point Made Learning, LLC                                                              Suite 6206 600 Carraway Crossing                                                                 Chapel Hill         NC               27516
Point Systems Inc                                                                     870 Market Street, Suite 1284                                                                    San Francisco       CA               94102
Pok, Eumi                                                                             Address Redacted
Polaris Intermodal                              Evans Delivery Company, Inc.          PO BOX 62892                                                                                     Baltimore           MD               21264-2892

Pôle logistique BM LE BON MARCHE - Beauté 38                                          Address Redacted
Pollack, Neil                                                                         Address Redacted
Pollak, Sheila                                                                        Address Redacted
Polly Hill                                                                            Address Redacted
Polycarbin, Inc.                                                                      2735 Greenwood Drive                                                                             San Pablo           CA               94806
Polykon Manufacturing                                                                 6201 Engineered Wood Way                                                                         Sandston            VA               23150
Polyscience Consulting                                                                22530 Itasca St                                                                                  Chatsworth          CA               91311
Ponnath, Edith                                                                        Address Redacted
Pool Represents LLC                                                                   401 Broadway                           Suite 1400                                                New York            NY               10013
POOSH LLC                                                                             21731 Ventura Boulavard, Suite 300                                                               Woodland Hills      CA               91364
Pop Up Mob LLC                                                                        72 Allen St                                                                                      New York            NY               10002
Pope Scientific Inc                                                                   351 N Dekora Woods Blvd                                                                          Saukville           WI               53080-1684
Poppin Inc.                                                                           16 Madison Square West                 Floor 3                                                   New York            NY               10010
PoppingFun, Inc.                                                                      1344 Constitution Drive                                                                          Neenah              WI               54956
Porocel Holdings                                                                      1 Landy Lane                                                                                     Reading             OH               45215
Portia Smith                                                                          Address Redacted
Porton Pharma Solutions Ltd.                                                          1 Fine Chemical Zone, Chongqing Che                                                              Chongqing           320              401221        China
Portugal CMO                                    Amyris Bioproducts Portugal, Unipes   Rua Diogo Botelho, 1327                                                                          Porto                                4169-005      Portugal
Poshly Inc.                                                                           #103 1830 Lakeshore Ave.                                                                         Oakland             CA               94606
Positive Luxury Limited                                                               81 Leonard Street                                                                                                    London           EC2A 4QS      United Kingdom
Post, Deborah                                                                         Address Redacted
Potter Anderson & Corroon LLP                                                         6th Floor 1313 N MARKET ST                                                                       WILMINGTON          DE               19801-6101
Poulos, Argiro                                                                        Address Redacted
                                                                                                                                                                                       FERNANDO DE
POUSADA MARIA FLOR                                                                    ALAMEDA PAU D ARCO 508                                                                           NORONHA             PE               53990-000     Brazil
Powell-Hayre, Catherine                                                               Address Redacted
Power Conversion Technology, LLC                                                      316 Abbotsford Ct                                                                                Charlotte           NC               28270
Power Design District LLC                                                             767 5th Ave                            12th Floor                                                New York            NY               10153
PowerReviews                                                                          1 N Dearborn Suite 800                                                                           Chicago             IL               60602
PowerSpeaking, Inc.                                                                   1233 Harrison Ave.                                                                               Redwood City        CA               94062
Powertemp Services                                                                    1601 South College Rd. Suite 201                                                                 Wilmington          NC               28403
PR Newswire Association LLC                                                           350 Hudson Street, Suite 300                                                                     New York            NY               10014
Practising Law Institute                                                              1177 Avenue of the Americas                                                                      New York            NY               10036
Prager Metis CPAs, LLC                                                                14 Penn Plaza                          Suite 1800                                                New York            NY               10122
Praxair Inc                                                                           186-Praxair Distribution Inc           Depart LA 21511                                           Pasadena            CA               91185-1511
PRC Inc                                                                               10093 S Prosperity Road                                                                          West Jordan         UT               84081
Precision Electronics, Inc                                                            1048 Main Avenue Drive NW                                                                        Hickory             NC               28601
Precision IBC Inc                                                                     8054 McGowin Dr                                                                                  Fairhope            AL               36532
Precision Measurements Inc.                                                           1630 Zanker Road                                                                                 San Jose            CA               95112
Precision Painting Plus                         Blue Chip Painting                    Suite 310 825 East Gate Blvd                                                                     Garden City         NY               11530
Preece-Scaringe, Ann                                                                  Address Redacted
Premi SpA                                                                             Via Gera 16                                                                                      Gessate             Lombardia        20060         Italy
PREMIER + LTD                                                                         222 Kensal Road                        Studio 133, Canalot Studios                               London                               W10 5BN       United Kingdom
Premier Displays and Exhibits, Inc                                                    5275 W. Diablo Drive                   Suite A2                                                  Las Vegas           NV               89118
Premier Model Management Limited                                                      40-42 Parker Street                                                                              London                               WC2B 5PQ      United Kingdom
Premier Title Agency, LLC                                                             55 Cherry Lane                         Suite 200                                                 Carle Place         NY               11514
Premium Beauty Brands GmbH                      Premium Beauty Brands GmbH            Spichernstr. 6                                                                                   Cologne Northrine   Westphalia       50672         Germany
Premium Beauty Brands GmbH                                                            Address Redacted
Premium Retail Services, Inc.                                                         618 Spirit Drive                                                                                 Chesterfield        MO               63005
President Enterprise                            Lotus Labels                          700 Columbia Street                                                                              Brea                CA               92821
Presidio Search Partners                        C/O John Postlethwaite                5471 Tara Drive                                                                                  Clayton             CA               94517
Presperse Corporation                                                                 19 Schoolhouse Rd                                                                                Somerset            NJ               08873
Presquim Ltda.                                                                        Cra. 13 No. 90-36 Of. 702                                                                        Bogota              11                             Colombia




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Pressure Chemical Co                                                        3419 Smallman Street                                                                    Pittsburgh            PA             15201
Pressworks                                                                  Ste#100A 440 Boulder Court                                                              Pleasanton            CA             94566
Prestige Lens Lab                     C/O Kenneally Optics Inc              338 N Canal St Ste 14                                                                   South San Francisco   CA             94080
Presto Packaging Solutions LLC                                              223 S. Dean Street                                                                      Englewood             NJ             07631
Price, Chelsea                                                              Address Redacted
PricewaterhouseCoopers LLP                                                  PO Box 514038                                                                           Los Angeles           CA             90051-4038
Pride, Mary                                                                 Address Redacted
Pridgen Brothers Contractors Inc.                                           P.O. Box 39                                                                             Whiteville            NC             28472
Prima Beaute                                                                21 Rue Dugommier                                                                        Paris                                75012         France
Primient                              Primary Products Ingredients Americ   5450 Prarie Stone Parkway                                                               Hoffman Estates       IL             60192
Princeton Consumer Research Corp                                            Suite 120 9600 Koger Blvd N                                                             Saint Petersburg      FL             33702
Principal Life Insurance Co.                                                Dept 900, P O Box 14416                                                                 Des Moines            IA             50306-3516
Prine, Danny                                                                Address Redacted
Pringle, Candace                                                            Address Redacted
Prinova US LLC                                                              285 E. Fullerton Avenue                                                                 Carol Stream          IL             60188
Print & Contact, Inc.                                                       28 Marcy Ave                          Unit 1                                            Brooklyn              NY             11211
PRINTPAPA                                                                   1920 Lafayette Street                 Unit L                                            Santa Clara           CA             95050
Priority Fulfillment Services, Inc.                                         505 Millennium Drive                                                                    Allen                 TX             75013
Priscilla Gragg Photography Inc.                                            93 Woodmont Ct                                                                          Danville              CA             94526
PRM Agency                                                                  3 Archie Street                                                                         London                               SE1 3JT       United Kingdom
ProcessHQ Inc                                                               410 N. Varney Street                                                                    Burbank               CA             91502
ProcessHQ, Inc.                       ProcessHQ.COM                         410 N. Varney Street                                                                    Burbank               CA             91502
Product Investigations Inc                                                  151 East 10th Avenue                                                                    Conshohocken          PA             19428
Product Safety Labs, Inc.                                                   2394 US HWY 130                                                                         Dayton                NJ             08810
Productiv                                                                   Address Redacted
Products By O2, Inc                                                         Suite 300 3020 High Ridge Road                                                          Boynton Beach         FL             33426
Proffitt, William                                                           Address Redacted
Proforma                                                                    P.O. Box 640814                                                                         Cincinnati            OH             45264-0814
Progent Corp                                                                PO Box 254737                                                                           Sacramento            CA             95865-4737
Progressive Business Publications     C/O American Future Systems Inc       370 Technology Drive                                                                    Malvern               PA             19355
Projector Lamps LLC                                                         210 Gale Ln                                                                             Kennett Square        PA             19348
ProLighting Ltd                                                             6-8 Hemming St                                                                          London                               E1 5BL        United Kingdom
ProPac                                                                      683 Vivian Drive                                                                        Livermore             CA             94550
Property / Project Manager            Attn: Robert Calderon                 375 Park Avenue                       10th Floor                                        New York              New York       10152
Property / Project Manager            Attn: Robert Calderon                 Attn: Robert Calderon                 375 Park Avenue         10th Floor                New York              NY             10152
ProPharma Group The Netherlands       Xpure                                 P.O. Box 255                                                                            Leiden                               2316 ZL       Netherlands
Pro-Seal, Inc.                                                              P.O. Box 358                                                                            Riegelwood            NC             28456
Proteome Software Inc                                                       Suite 10 1340 SW Bertha Blvd                                                            Portland              OR             97219
Proteus Fund Inc.                                                           15 Research Drive, Suite B                                                              Amherst               MA             01002
PROTHERAGEN INC                       C/O ALFA CHEMISTRY                    2200 Smithtown Avenue, Room 1                                                           Ronkonkoma            NY             11779-7329
Protiviti Inc                                                               12269 Collections Center Dr                                                             Chicago               IL             60693
Proton Energy Systems, Inc            Proton OnSite                         10 Technology Drive                                                                     Wallingford           CT             06492
Proulx, Jade                                                                Address Redacted
Public Company Acct Oversight Board                                         PO Box 418631                                                                           Boston                MA             02241-8631
Publicide Inc                                                               250 W 40th Street                     8th Floor                                         New York              NY             10018
Pugliese, Adriana                                                           Address Redacted
Pulse Combustion Systems              Pulse Holdings LLC                    1509 W Red Baron Rd                                                                     Payson                AZ             85541
PumpSource USA                                                              5020 Bleecker Street                                                                    Baldwin Park          CA             91706
Purchase Power                        C/O The Pitney Bowes Bank Inc         PO Box 371874                                                                           Pittsburgh            PA             15250-7874
Purdue University                     Sponsored Program Services            23510 Network Place                                                                     Chicago               IL             60673-1235
Purecane.com                                                                5885 Hollis St, Ste 100                                                                 Emeryville            CA             94608
PureCircle Limited                                                          200 West Jackson Blvd. 8th Floor                                                        Chicago               IL             60606
Purecircle Mexico SA DE CV                                                  San Nicolas 56                                                                          TLALNEPANTLA          MEX            54030         Mexico
PureCircle Sdn Bhd                                                          23149 PT Lengkuk Teknologi                                                              Bandar Enstek         SER            71760         Malaysia
PureCircle Trading Sdn Bhd                                                  3 Level 22, Mercu                                                                       Kuala Lumpur          KUL            59200         Malaysia
Purecircle Trading SDN BHD                                                  No. 9 Jalan P. Ramlee                                                                   Kuala Lumpur          KUL            50250         Malaysia
PURECIRCLE USA INC                                                          5 WESTBROOK CORPORATE CENTER                                                            WESTCHESTER           IL             60154
Purecircle USA, Inc                                                         5 Westbrook Coroporate Center                                                           Westchester           IL             60154
PureForm Global, Inc.                                                       5700 Melrose ave #208                                                                   Los Angeles           CA             90038
Purolite LLC                          Ecolab Inc.                           PO Box 824075                                                                           Philadelphia          PA             19182-4075
PURPLE- ALEX WATSON                                                         Address Redacted
Purple PR USA, Inc.                                                         322 Eight Avenue                      12A                                               New York              NY             10001
Pyle, Marybeth                                                              Address Redacted
Qadri, Syed                                                                 Address Redacted
QDiligence LLC                                                              1600 Golf Road                                                                          Rolling Meadows       IL             60004
Qiagen Inc                                                                  PO Box 5132                                                                             Carol Stream          IL             60197
QIMA (US), LLC                                                              352 Sonwill Dr                                                                          Buffalo               NY             14225
QInstruments GmbH                                                           Loebstedter Str. 101                                                                    Jena                                 7749          Germany
Qorpak                                Berlin Packaging LLC                  2300 Sweeney Dr.                                                                        Clinton               PA             15026
Qosmedix                                                                    2002-Q Orville Drive North                                                              Ronkonkoma            NY             11779
Qosmedix                              Qosina                                95-Q Executive Drive                                                                    Edgewood              NY             11717
QSC Facility Services                                                       P.O. Box 96                                                                             Hampstead             NC             28443
Qualipac America Corp.                                                      One Garret Montain Plaza, Suite 502                                                     Little Falls          NJ             07424
Quality Carriers Inc                                                        4910 Paysphere Circle                                                                   Chicago               IL             60674-4910
Quality Chemical Laboratories LLC                                           3400 Enterprise Drive                                                                   Wilmington            NC             28405
Quality In Place, LLC                                                       201 Frankel Lane                                                                        Sebastopol            CA             95472
Quality Resourcing Services, LLC                                            211 Kennedy Drive 2nd Floor - Ste B                                                     Putnam                CT             06260
Qualtrics LLC                                                               333 West River Park Dr.                                                                 Provo                 UT             84604
Quantum Market Research, Inc.         Quantum Workplace                     STE 401 13810 FNB Parkway                                                               Omaha                 NE             68154




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Quaxar                                                                                2222 Ponce de LeÃ³n Blvd.                                                            Miami              FL           33134
Quest Diagnostics Health & Wellness                                                   10101 Renner Blvd                                                                    Lenexa             KS           66219
Questex, LLC                                                                          685 3RD AVENUE                                                                       New York           NY           10017
Quiet Logistics, Inc.                                                                 64 Jackson Road                                                                      Devens             MA           01434
Quimosing, Ina                                                                        Address Redacted
Quinn Emanuel Urquhart & Sullivan                                                     5th Floor 555 Twin Dolphin Drive                                                     Redwood Shores                  94065
Quintara Biosciences                                                                  1569 Solano Ave #268                                                                 Berkeley           CA           94707
R.C. Davis Co Inc                                                                     80 SMith ST.                                                                         Farmingdale        NC           11735
R.D. Laboratories, Inc.                                                               204 Lange Drive                                                                      Washington         MO           63090
R.F. MacDonald Co                                                                     25920 Eden Landing Road                                                              Hayward            CA           94545
R.R. Donnelley & Sons Company                                                         Suite 3600 35 W Wacker Drive                                                         Chicago            IL           60601
Rachael Chen                                                                          Address Redacted
RACHAEL FUSS c/o Artists Agency                                                       Address Redacted
Rachel Bolton                                                                         Address Redacted
Rachel Brand                                                                          Address Redacted
Rachel Chandler                                                                       Address Redacted
Rachel Kushnick / ShopBop                                                             Address Redacted
Rachel Lowder                                                                         Address Redacted
Rachel Retouching LLC                                                                 #221-9687 818 SW 3rd Ave                                                             Portland           OR           97204
Racher Press Inc                                 Chain Drug Review/MMR                12th FL Address 1 126 Fifth Ave                                                      New York           NY           10011
Racher Press Inc dba Chain Drug Review/MMR                                            126 Fifth Ave 12th fl                                                                New York           NY           10011
                                                                                      Unit 3B Building One, Canonbury Yard, 190A
Radim Pesko Limited                                                                   New North Road                                                                       London                          N1 7BJ        United Kingdom
Raetz, Lauren                                                                         Address Redacted
Rafael Daly                                                                           Address Redacted
Rafii Sereshki, Banafsheh                                                             Address Redacted
Ragan, Christina                                                                      Address Redacted
RainbowWave Retail Ltd 'Mouki Mou'               RainbowWave Retail Ltd               146 Royal College Street                                                             London                          NW1 0TA       United Kingdom
RainbowWave Retail Ltd 'Mouki Mou'               RainbowWave Retail Ltd 'Mouki Mou'   29 Chiltern Street                                                                   London                          W1U 7PL       United Kingdom
Rainin Instrument, LLC                                                                Lockbox No. 13505                                                                    Neward             NJ           07188-0505
Raízen Energia S/A                                                                    Avenida Faria Lima, 4100, 11º Andar                                                  São Paulo          SP           04538-132     Brazil
Rajaraman, Vishwanathan                                                               Address Redacted
Rajneet Sodhbans                                                                      Address Redacted
Rajni Jacques                                                                         Address Redacted
Rakuten Advertising                                                                   215 PARK AVE S FL 9                                                                  New York           NY           10003
Rakuten Marketing                                                                     6985 S UNION PARK CENTER                     Ste 300                                 MIDVALE            UT           84047
Rakuten Marketing                                                                     6985 S UNION PARK CENTER                     Ste 300                                 MIDVALE            UT           84047
Rakuten Marketing dba Rakuten Adv.               Rakuten USA, Inc.                    SUITE 300 6985 S UNION PARK CENTER                                                   MIDVALE            UT           84047
Rakuten USA Inc                                                                       PO Box 415613                                                                        Boston             MA           02241-5613
Ralph Alexander, Riverstone LLC                                                       Address Redacted
Ramanujam, Balaji                                                                     Address Redacted
Ramboll US Corporation                                                                4350 N. Fairfax Drive Suite 300                                                      Arlington          VA           22203
Ramchandran, Divya                                                                    Address Redacted
Ramirez, Matthew                                                                      Address Redacted
Ramos, Cynthia                                                                        Address Redacted
Randolph Newman                                                                       Address Redacted
Randolph, Tina                                                                        Address Redacted
Randstad                                                                              PO Box 894217                                                                        Los Angeles        CA           90189-4217
Randy Rigg                                                                            Address Redacted
Rao, Natasha                                                                          Address Redacted
Rapid Displays, Inc                                                                   3880 Paysphere Circle                                                                Chicago            IL           60674
Rapid Eye / Attn: Eddie Wrey                                                          Address Redacted
Rapid7 LLC                                                                            Rapid7 LLC Lockbox PO Box 347377                                                     Pittsburgh         PA           15251-4377
RAQUEL PEIXOTO MARTINS                                                                Address Redacted
Rasaan Wyzard                                                                         Address Redacted
Rated R Media LLC                                                                     111 poplar lane                                                                      Kunkletown         PA           18058
Rave Mobile Safety                               C/O Rave Wireless, Inc.              492 Old Connecticut Path 2nd Floor                                                   Framingham         MA           01701
Ravindran, Srinath                                                                    Address Redacted
Ravula, Anupa                                                                         Address Redacted
Raw Indulgence, Ltd.                                                                  525 Executive Blvd. Suite 205                                                        Elmsford           NY           10523
Raymond N Williams                                                                    Address Redacted
Raymundos Food Group, LLC                                                             7424 S Lockwood Ave                                                                  Bedford Park       IL           60638
Raynie Flores /Bluemercury                                                            Address Redacted
RB Tools USA LLC                                                                      74A Stonehill Rd                                                                     OSwego             IL           60543
RCA Beauty LLC                                                                        145 World of Tennis Square                                                           Lakeway            TX           78738
Reaction Retail / Attn: Luxepack samples/Janet                                        Address Redacted
Real Leaders, Inc                                                                     Unit 15 5328 Yacht Haven Grande                                                      St. Thomas                      00802         US Virgin Islands
Rebecca Bartlett LLC                             Bartlett Brands                      84 Mangels Avenue                                                                    San Francisco      CA           94131
Rebecca DeMarco / FWRD                                                                Address Redacted
Rebecca Smith                                                                         Address Redacted
Rebecca Somers                                                                        Address Redacted
Rebecca Suhrawardi                                                                    Address Redacted
Red Antler LLC                                                                        20 Jay Street                                                                        Brooklyn           NY           11201
Red Eye Productions, Inc.                                                             5363 La Gorce Drive                                                                  Miami Beach        FL           33140
Redfield IP, Professional Corporati                                                   1580 Canada Lane                                                                     Woodside           CA           94062
Redi Set Diagnostics                                                                  822 Hampton Dr                                                                       Venice             CA           90291
RedLine Solutions, Inc.                                                               Suite 501 3350 Scott Blvd.                                                           Santa Clara        CA           95054
RedUmbrella Group Inc.                                                                725 Grandview Ave.                                                                   Martinez           CA           94553
Reed Exhibitions Ltd                                                                  435 Stratford Road                                                                   Shirley Solihull                B90 4AA       United Kingdom




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Reed Technology and Information                                                             7 Walnut Grove Drive                                                                          Horsham            PA           19044
Reeves Welding                                                                              5479 Gooseneck Road                                                                           Riegelwood         NC           28456
Referente, Cheryl                                                                           Address Redacted
Refinery29, Inc.                                                                            225 Broadway 23rd Floor                                                                       New York           NY           10007
Refurbco Inc                                                                                226 Washington Street                                                                         Mount Vernon       NY           10553
REGA COMERCIO DE MODA E ACESSORIOS                                                          AV. TANCREDO NEVES 3133, Loja 2144                                                            SALVADOR           BA           41820-021     Brazil
Regents of the University of Califo                  University of California Berkeley      2195 Hearst Avenue, Room 159                                                                  Berkeley           CA           94720
Regents of the University of California (San Diego
Campus)                                                                                     9500 Gilman Drive #0940                                                                       La Jolla           CA           92093
REGGISENO LTDA - EPP                                                                        R PADRE CARAPUCEIRO 777                                                                       RECIFE             PE           51020-280     Brazil
Regi US Inc.                                                                                8 Fairfield Crescent                                                                          West Caldwell      NJ           07006
Regina Sanches / Costa Brazil                                                               Address Redacted
Registrar Corp                                                                              144 Research Drive                                                                            Hampton            VA           23666
REID architecture PLLC                                                                      104 Vanderbilt Street                                                                         Brooklyn           NY           11218
Reid Architecture PLLC v. Amyris, Inc.               Offit Kurman, P.A.                     Peter E. Sayer                            590 Madison Avenue      6th Floor                   NY                 NY           10022
Reif, David                                                                                 Address Redacted
Ren Skincare                                                                                1090 King Georges Post Rd.                Suite 505                                           Edison             NJ           08837
Renata De Abreu LLC                                                                         152 Sunny Isle Blvd                       Unit 121                                            Sunny Isle Beach   FL           33160
Renee Keel                                                                                  Address Redacted
Renfield                                             Davis & Gilbert                        Richard S. Eisert                                                 1675 Broadway               New York           NY           10019
Renfield Manufacturing LLC                                                                  4649 Aircenter Circle                     Suite 101                                           Reno               NV           89502
Renmatix, Inc.                                                                              660 Allendale Rd.                                                                             King of Prussia    PA           19406-1418
REOTEMP INSTRUMENT                                                                          10656 ROSELLE ST                                                                              SAN DIEGO          CA           92121
Repco                                                                                       1835 E North St                                                                               Salina             KS           67401
Reprints Desk, Inc.                                                                         Suite 165 15821 Ventura Blvd.                                                                 Encino             CA           91436
REPUBLIC RETAILERS | Costa Brazil                    MILO HAWAII                            675 Auahi Street #126                                                                         Honolulu           HI           96813
REPUBLIC RETAILERS | Costa Brazil                    REPUBLIC RETAILERS - Costa Brazil      4211 WAIALAE AVENUE, #6050                                                                    HONOLULU           HI           96816
REPUBLIC RETAILERS | Costa Brazil                    SURFCAMP HAWAII                        65-1227 OPELO RD, #A1                                                                         Kamuela            HI           96743
RESCUE SPA PHILADELPHIA                              RESCUE SPA PHILADELPHIA                1601 Walnut Street                        Floor 3                                             Philadelphia       PA           19102
Research Product International Corp                                                         410 N Business Center Dr                                                                      Mt Prospect        IL           60056
Restaurant Associates Inc                                                                   132 WEST 65TH STREET                                                                          New York           NY           10023
Restek Corp                                                                                 PO Box 4276                                                                                   Lancaster          PA           17604
Revel Management Group, LLC                                                                 3756 W Ave 40                             Suite K140                                          Los Angeles        CA           90065
Revenue of Inspiration                                                                      Revenue of Inspiration                    651 American Oaks Ave                               Thousand Oaks      CA           91320
Revolve | Costa Brazil                               Eminent, Inc. dba Revolve Clothing     12889 Moore St                                                                                Cerritos           CA           90703
Revolve | Costa Brazil                               Kandice Hansen                         4107 Bouton Drive                                                                             Lakewood           CA           90712
Revolve | Costa Brazil                               Mara Watkins / Revolve                 Mara Watkins                              2555 Main Street        Unit 3010                   Irvine             CA           92614
Revolve | Costa Brazil                               Vida Stout                             2632 Coleridge Dr                                                                             Los Alamitos       CA           90720
RewardStyle Inc.                                                                            3102 Oak Lawn Ave                         Suite 900                                           Dallas             TX           75219
Reynolds, Ashley                                                                            Address Redacted
RGA Enterprises, Inc.                                                                       4001 Performance Rd.                                                                          Charlotte          NC           28214
                                                     Cardinal Health at-Home Distribution
RGH Enterprises, LLC                                 Center/FSA Store                       Northland Park, Building III, Suite 100   12600 NE 40th Street                                Kansas City        MO           64161
RGH Enterprises, LLC                                 RGH Enterprises, LLC                   1810 Summit Commerce Park                                                                     Twinsburg          OH           44087
Rheonics, Inc.                                                                              Suite 100 3 SUgar Creek Center Blvd                                                           Sugarland          TX           77478
Rhode, Erin                                                                                 Address Redacted
RHW / Attn: Kimberly Fernandes                                                              Address Redacted
Ribeiro, Isabel                                                                             Address Redacted
Ricari Studios                                                                              Address Redacted
Ricari Studios / Attn: Alex Holt                                                            Address Redacted
RICCI YUMANG                                                                                Address Redacted
RICEFER EQUIPAMENTOS INOX LTDA                                                              ROD RSC 470 SN                                                                                GARIBALDI          RS           95720-000     Brazil
Richard Benn III                                                                            Address Redacted
Richard Cohen MD MPH Inc                                                                    PO Box 3717                                                                                   Saratoga           CA           95070
Richard Mirabile                                                                            Address Redacted
Richard R Younkers                                                                          Address Redacted
Richards, Layton & Finger, P.A.                                                             One Rodney Square                                                                             Wilmington         DE           19801
Richards, Peter                                                                             Address Redacted
Richberg, Amanda                                                                            Address Redacted
Riches, Michelle                                                                            Address Redacted
Rick Schottenfeld                                                                           Address Redacted
Riedesel, Kindra                                                                            Address Redacted
Rieke LLC                                                                                   4832 Azusa Canyon Road                    Suite A                                             Baldwin Park       CA           91706
Rienzo, Matthew                                                                             Address Redacted
Riffyn, Inc.                                                                                1581 Trestle Glen Rd.                                                                         Oakland            CA           94610
Riker Danzig Scherer Hyland Perrett                                                         Headquaters Plaza 1 Speedwell Ave                                                             Morristown         NJ           07962-1981
Rikke Krefting                                                                              Address Redacted
RIKKI FERRAR                                                                                Address Redacted
RIM Bio, Inc.                                                                               P.O. box 78351                                                                                Seattle            WA           98178
Rim, Jenny                                                                                  Address Redacted
RIND Print                                                                                  172 Canyon Road                                                                               Newbury Park       CA           91320
RinLaures LLC                                                                               Suite 3W 320 W. Ohio St.                                                                      Chicago            IL           60654
Rion Designs Inc.                                                                           518 Technology Way                                                                            Napa               CA           94558
Rise Exhibits & Environments                                                                1021 W 3160 S                                                                                 South Salt Lake    UT           84119
Rivera Earl, Cristina                                                                       Address Redacted
Rivera, Rowena                                                                              Address Redacted
RJIF-LDA                                                                                    Rua Central da Lomba,                                                                         Valongo, Porto                  4440-309      Portugal
RL COMERCIO DE ROUPAS, MODA                          INTIMA E ACESSORIOS LTDA               AV PRESIDENTE ITAMA 3600, LOJA 273                                                            JUIZ DE FORA       MG           36033-970     Brazil
RNF LLC FSO Rachael Fuss                                                                    350 Fifth Avenue, 38th Floor                                                                  New York           NY           10118




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                   Creditor Name                                 Attention                               Address 1                        Address 2                   Address 3                          City            State           Zip            Country
Rob Zangardi                                                                           Address Redacted
Robbin Tufano                                                                          Address Redacted
Robert E Mason & Associates, Inc.                                                      1726 N. Graham St                                                                                     Charlotte            NC             28206
Robert H. Field                                                                        Address Redacted
Robert Half International, Inc.              C/O Accountemps, RH Legal                 PO Box 743295                                                                                         Los Angeles          CA             90074
Robert James Sales                                                                     Address Redacted
Robert Lydecker                                                                        Address Redacted
Robert Willey                                                                          Address Redacted
Roberta Greenspan                                                                      Address Redacted
ROBERTO COELHO OKIDA ME                                                                Address Redacted
Roberts Beauty                                                                         Suite 110 9131 Oakdale Ave.                                                                           Chatsworth           CA             91311
Roberts, Bryan                                                                         Address Redacted
Robertson, Bryan                                                                       Address Redacted
Robertson, Rachel                                                                      Address Redacted
Robinson, Claude                                                                       Address Redacted
Robinson, Gina                                                                         Address Redacted
Roche, Alyssa                                                                          Address Redacted
Roche, Christine                                                                       Address Redacted
Rock Paper LLC                                                                         355 1/2 N Genesee Ave                                                                                 Los Angeles          CA             90035
Rocket Lawyer Incorporated                                                             101 2nd St 4th Fl                                                                                     San Francisco        CA             94105
Rod Georgiu                                                                            Address Redacted
Rodman Media                                Happi                                      PO Box 69260                                                                                          Baltimore            MD             21264-9260
Rodriguez Porcel, Elisa                                                                Address Redacted
Rodriguez, Blanca                                                                      Address Redacted
Rodriguez-Hernandez, Raquel                                                            Address Redacted
Rodriguez-Hernandez, Vanessa                                                           Address Redacted
Roe, Jessica                                                                           Address Redacted
Rogers Excavating and Grading                                                          8920 Flat Path NE                                                                                     Leland               NC             28451
ROHMA SIDDIQUI                                                                         Address Redacted

Romario da Silva Almeida x Ardengui Engenharia
Industrial, Sublime Engenharia, Unigra Brasil, Nestlé
Brasil - Amyris Fermentação de Performance LTDA MILENA SOLA ANTUNES                    Francisco Paula Santos Street         30                       Votorantim/SP                                                              18.110-060    Brazil
Romero, Mindy                                                                          Address Redacted
Romy Northover                                                                         Address Redacted
Ron Johnston                                                                           Address Redacted
Ronald Purdy                                                                           Address Redacted
Roquette America, Inc.                                                                 2905 Eagle Way                                                                                        Chicago              IL             60678-1290
                                                                                                                                                                                             municipality of
ROSA NELLY CHAPA CONTRERAS                   RUTH NELLY CHAPA CONTRERAS                Mariano Azuela Street                 number 149               Colinas de San Jeronimo neighborhood   Monterrey            Nuevo León
Rosa, Samantha                                                                         Address Redacted
Rosalie LLC                                                                            Apt 2703 801 s olive st                                                                               Los Angeles          CA             90014
Rosanna Peng                                                                           Address Redacted
Rose Callahan Photography                                                              104 Minna St.                         #2                                                              Brooklyn             NY             11218
Rose Crosby                                                                            Address Redacted
Rose, McKenzie                                                                         Address Redacted
Ross Aronstam & Moritz LLP                                                             1313 North Market Street                                                                              Wilmington           DE             19801
Ross Stores, Inc.- Pipette                   Ross Stores, Inc.                         5130 Hacienda Drive                                                                                   Dublin               CA             94568
rosseel STUDIO / anne-sophie rosseel                                                   Address Redacted
Rossi Builders Inc                                                                     3127-A Mission St                                                                                     San Francisco        CA             94110
Rossi, Joao                                                                            Address Redacted
Rossini Neto                                                                           Address Redacted
Roth v. Foris Ventures, LLC et al.           Glenn F. Ostrager                         Ostrager Chong & Broitman P.C.        437 Madison                                                     NY                   NY
Roth v. Foris Ventures, LLC et al.           Robert C. Schubert                        Shubert Jonckheer & Kolbe LLP         2001 Union Street        Suite 200                              San Francisco        CA             94123
Rottenberg Lipman Rich, P.C.                                                           18th Floor 230 Park Avenue                                                                            New York             NY             11377
Rottenberg Lipman Rich, P.C.                                                           230 Park Ave                          Suite 1825                                                      New York             NY             10169
                                                                                                                                                                                             Sao Domingos de
Roudolph Arié Perfumaria E Cosmética SA      Roudolph Arié Perfumaria E Cosmética SA   Estrada de Tires-Manique              Carcavelos                                                      Rana                                2776-953      Portugal
                                                                                                                                                                                             São Domingos de
Roudolph Arie-Perfumaria Cosmética                                                     Rua Fernando Pessoa Nº224                                                                             Rana                                2785-264      Portugal
Roundtable on Sustainable Biomatl.                                                     International Environment House                                                                       Châtelaine, Geneve                  1219          Switzerland
Rouse, Lynne                                                                           Address Redacted
Rouse,Lynne                                                                            Address Redacted
Rowland, Keira                                                                         Address Redacted
Roxanne Birnbaum                                                                       Address Redacted
Rozins, Melanie                                                                        Address Redacted
Rozmiarek, Dale                                                                        Address Redacted
RR COMERCIO DE ARTIGOS                       DO VESTUARIO LTDA                         ST ST SDN CNB CONJ A TERREO LO T 58                                                                   BRASILIA             DF             70077-900     Brazil
RR Donnelley                                 Donnelley Financial, LLC                  PO Box 842282                                                                                         Boston               MA             02284-2282
RR Donnelley & Sons Company                                                            PO Box 842282
RR Donnelley & Sons Company                 RR Donnelley                               35 W Wacker Drive                                                                                     Chicago              IL             60601
RS Calibration Services, Inc.               a Trescal Company                          500 1047 Serpentine Lane                                                                              Pleasanton           CA             94566
RSUI Ins.
RTL Genomics                                                                           Suite B 5901 63rd Street                                                                              Lubbock              TX             79424
Ruales, Erick                                                                          Address Redacted
Ruby Has, LLC                                                                          5 Inez Drive                                                                                          Bayshore, NY         NY             11706
Ruder Finn, Inc.                                                                       425 East 53rd St                                                                                      New York             NY             10022
Rudi Fasan                                                                             Address Redacted
Rudolph Commercial Interiors, Inc.           RCI                                       1125 67th St.                                                                                         Oakland              CA             94608




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                   Creditor Name                        Attention                            Address 1                      Address 2         Address 3            City             State           Zip         Country
Ruf, Rhonda                                                               Address Redacted
Ruoxin Zhang / Amyris                                                     Address Redacted
Rupert Bowkett                                                            Address Redacted
Rupprecht, Paul                                                           Address Redacted
Russ, Jesse                                                               Address Redacted
Russell, Brett                                                            Address Redacted
Russom, Decoda                                                            Address Redacted
Ruter, Victoria                                                           Address Redacted
Rutherford, Monica                                                        Address Redacted
Ryan Lopes                                                                Address Redacted
Ryan Panchadsaram                                                         Address Redacted
Ryan Sallans, Inc.                                                        5028 Burt St                                                                    Omaha                NE           68132
Rytokoski, Mika                                                           Address Redacted
S&P Yard, INC. dba Yard NYC                                               25 Broadway                           2nd FLoor                                 New York             NY           10004
Saada, Andrew                                                             Address Redacted
Sabah International Inc                                                   5925 Stoneridge Drive                                                           Pleasanton           CA           94588-2705
Sabin Metal Corporation                                                   300 Pantigo Place                                                               East Hampton         NY           11937
Sable Boykin                                                              Address Redacted
Sabril - Sociedade de                Areias e Britas, Lda.                Albergaria dos Doze                                                             Pombal                            3100-081      Portugal
Sabrina Henriquez                                                         Address Redacted
Sabrina Sinclair                                                          Address Redacted
Sacha Phillips                                                            Address Redacted
Sade Strehlke                                                             Address Redacted
SADIE NEWMAN                                                              Address Redacted
Sadie Newman                                                              Address Redacted
Safe Rack                                                                 PO BOX 117366                                                                   Atlanta              GA           30368-7366
SafeBridge Consultants Inc                                                1924 Old Middlefield Way                                                        Mountain View        CA           94043
SafeGuard Asset Recovery                                                  30820 Suncatcher St                                                             Murrieta             CA           92563
SafeGuard World Int'l Limited                                             Suite 24/25                                                                     Sandbach, Cheshire   CH           CW11 3AE      United Kingdom
SafeStart                                                                 631 College Street E.                                                           Belleville           ON           K8N 0A3       Canada
SAFE-TEC Clinical Products LLC                                            142 Railroad Drive                                                              Ivyland              PA           18974
SafeTraces, Inc                                                           Suite 260 4473 Willow Road                                                      Pleasanton           CA           94588
SafetyMax Corporation                                                     2256 Palou Ave                                                                  San Francisco        CA           94124
SAFIC ALCAN                                                               3, RUE BELLINI                                                                  PUTEAUX CEDEX        35           92806         France
Safic Alcan Romania SRL                                                   Bdul Regina Maria nr 32                                                         Bucuresti                         40125         Romania
Safic Alcan UK                                                            812 Fountain Court Birchwood Boulev                                             Warrington                        WA3 7QZ       United Kingdom
Safic-Alcan                                                               Tour Pacific 13                                                                 Puteaux                           92800         France
                                                                                                                                                          Paris La Defense-
Safic-Alcan                                                               Tour Pacific 13 Cours Valmy                                                     Cedex                             92977         France
Safic-Alcan Benelux                                                       Neringstraat 11                                                                 Londerzeel           10           1840          Belgium
Safic-Alcan Polska Sp. z o.o.                                             Komitetu Obrony Robotnikow 48                                                   Warszawa                          02-146        Poland
SAFIC-ALCAN SAS                                                           3, rue Bellini                                                                  Puteaux Cedex                     92806         France
Sagala, Gloria                                                            Address Redacted
Sahari, Ali                                                               Address Redacted
SailPoint Technologies, Inc.                                              Bldg 100 11120 Four Points Dr                                                   Austin               TX           78726
Sajesh, Neena                                                             Address Redacted
Salaria, Jennifer                                                         Address Redacted
Salcius, Kathryn                                                          Address Redacted
Sales Producers, Inc.                                                     860 South Los Angeles Street          Suite 209                                 Los Angeles          CA           90014
Sales, Marielle                                                           Address Redacted
Salesforce.com Inc                                                        PO Box 203141                                                                   Dallas               TX           75320-3141
Salgado Marshall, Paulina                                                 Address Redacted
Salgado, Erica                                                            Address Redacted
Salinitri, Vincent                                                        Address Redacted
Sam Copeland                                                              Address Redacted
Sam Neibart                                                               Address Redacted
Samah Dada                                                                Address Redacted
Samantha Falgiani                                                         Address Redacted
Samantha Fazzolare                                                        Address Redacted
Samantha Morris                                                           Address Redacted
Samantha Nantau                                                           Address Redacted
Samardzic, Jasmina                                                        Address Redacted
Samartin and Friends Limited                                              241 Southwark Bridge Rd                                                         London                            SE1 6FP       United Kingdom
Same Concept LLC dba Half Helix                                           153 Lafayette Street                  Floor 3                                   New York             NY           10013
Same Mind Group Ltd                                                       13 Cable Court                                                                  Preston                           PR2 9YW       United Kingdom
Samer Jannan DBA Jannan Studios                                           246 West 22nd Street                                                            New York             NY           10011
Sameth, Sovisal                                                           Address Redacted
SAM-LAB, Inc.                                                             2309 Kiln Point Drive                                                           Mount Pleasant       SC           29466
SAN FRANCISCO AIDS FOUNDATION                                             1035 Market Street                    Suite 400                                 San Francisco        CA           94103
San Francisco Giants Baseball Club                                        24 Willie Mays Plaza                                                            San Francisco        CA           94107
Sana, Alex                                                                Address Redacted
Sanches, Regina                                                           Address Redacted
Sanchez, Juan                                                             Address Redacted
Sanchez, Kimberly                                                         Address Redacted
Sanchez, Laura                                                            Address Redacted
Sanchez, Lauren                                                           Address Redacted
Sanders, Douglas                                                          Address Redacted
Sanders, Hannah                                                           Address Redacted
Sandoval, Alicia                                                          Address Redacted




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                   Creditor Name                                 Attention                             Address 1                               Address 2                 Address 3             City              State           Zip            Country
Sandoval-Torres, Elizabeth                                                          Address Redacted
Sandra Alvim                                                                        Address Redacted
Sandy Noto Photography                                                              Address Redacted
Sandy Valdes                                                                        Address Redacted
Sani Purevdorj                                                                      Address Redacted
Sanissimo                                      Desinf. e Deterg. de Higienização,   Lugar da Varziela - Rua E Lote 19 A                                                              Árvore                              4480-623      Portugal
SaniSure, Inc.                                 Sani-Tech West Inc                   1020 Flynn Road                                                                                  Camarillo              CA           93012
SaniSure, Inc. Sparta                                                               18 White Lake Road                                                                               Sparta                 NJ           07871
Sanjana Ravi                                                                        Address Redacted
Sanjeevi, Srividhya                                                                 Address Redacted
Sankar, Kavitha                                                                     Address Redacted
Sankh Care Craft                                                                    G-188, EPIP II, NEEMRANA                                                                         Alwar                               301705        India
Sans Serif Design, LLC.                                                             107 251 Rhode Island Street                                                                      San Francisco          CA           94103
                                                                                                                                                                                     Vila Nova da
Santa Casa da Misericordia                     de Vila Nova da Barquinha            Rua José Filipe Rebordão S/N                                                                     Barquinha                           2260-437      Portugal
Santa Casa da Misericordia                     do Bombarral                         Aveninda Inocência Cairel Simão                                                                  Bombarral                           2540-003      Portugal
Santa Casa da Misericórdia                     da Póvoa de Lanhoso                  Rua da Misericórdia, 141                                                                         Póvoa de Lanhoso                    4830-503      Portugal
Santa Casa da Misericórdia                     de Anadia                            Apartado 85                                                                                      Anadia                              3780-909      Portugal
Santa Casa da Misericórdia                     de Oliveira de Azemeis               Rua da Abelheira 571                                                                             Oliveira de Azemeis                 3720-137      Portugal
Santa Casa da Misericordia Faro                                                     RUA DA MISERICÓRDIA, Nº 3                                                                        Faro                                8000-269      Portugal
Santa Casa Misericordia                        de Amarante                          Rua Dr. Miguel Pinto Martins 134                                                                 Amarante                            4600-090      Portugal
Santa Casa Misericordia                        Montemor o Novo                      Rua Irma Sousa nº1 - Apartado 144                                                                Montemor o Novo                     7051-909      Portugal
Santa Casa Misericórdia                        de Riba de Ave                       Rua 25 de Abril Apartado 16                                                                      Riba de Ave                         4795-916      Portugal
Santa Casa Misericórdia                        Évora                                Rua Mendo Esteves 6                                                                              Évora                               7000-865      Portugal
Santa Casa Misericórdia                        Evoramonte                           Praça dos Aviadores 38                                                                           EvoraMonte                          7100-316      Portugal
Santa Casa Misericórdia                        Lousada                              Av. Major Arrochela Lobo 157                                                                     Silvares, Lousada                   4620-697      Portugal
Santa Casa Misericórdia                        Vila do Conde                        Rua Rainha D. Leonor 123                                                                         Vila do Conde                       4480-247      Portugal
Santa Cruz Biotechnology Inc                                                        10410 Finell Street                                                                              Dallas                 TX           75220
Santa Cruz, Meryl                                                                   Address Redacted
SANTELLA COMERCIO DE ROUPAS LTDA                                                    AV CAPITAO PACHECO E C 313, LJ 1068                                                              SAO PAULO              SP           03126-000     Brazil
SAO SEBASTIAO DO RIO DE JANEIRO ADM            RADORA HOTELARIA S/A                 RUA JOAQUIM NABUCO 276                                                                           RIO DE JANEIRO         RJ           22080-090     Brazil
SAP America Inc.                                                                    P.O Box 7780-824024                                                                              Philadelphia           PA           19182-4024
SARA ESCUDERO                                                                       Address Redacted
Sara Hardy                                                                          Address Redacted
Sarah Agee                                                                          Address Redacted
Sarah Boyd Co                                                                       Address Redacted
Sarah Brown                                                                         Address Redacted
Sarah Crisp                                                                         Address Redacted
Sarah Dawson Photography                                                            556 El Dorado Ave                                                                                Oakland                CA           94611
Sarah Kayla King                                                                    Address Redacted
Sarah Lerer / ShopBop                                                               Address Redacted
Sarah McLellan                                                                      Address Redacted
Sarah Tanno                                                                         Address Redacted
Sarah Wong                                                                          Address Redacted
Sarakem                                                                             65 Tamsen Rd.                                                                                    Fort Montgomery        NY           01922
Sarl Conofrance                                CTI Biotech                          A16 5 Avenue Lionel Terray                                                                       Meyzieu                             69330         France
Sarmiento, Audria                                                                   Address Redacted
Sarmiento, Katrina                                                                  Address Redacted
Sarmiento, Rialle                                                                   Address Redacted
Sartori, Piero                                                                      Address Redacted
Sartorius Corporation                                                               24918 Network Place                                                                              Chicago                IL           60673-1249
Sartorius Corporation                                                               24918 Network Place                                                                              Chicago                IL           60673-1249
Sartorius Stedim North America Inc                                                  24917 Network Place                                                                              Chicago                IL           60673-1249
SAS Institute Inc                              World Headquarters                   PO Box 406922                                                                                    Atlanta                GA           30384-6922
Sasha Bogie, Inc. dba NTA Model Management                                          1445 N. STANLEY AVE                         2nd Floor                                            Los Angeles            CA           90046
Sasha Mei Huebener                                                                  Address Redacted
Sasha Mei Huebener                                                                  Address Redacted
SATO RAHAL EMPREENDIMENTOS ARTISTICOS
LTDA                                                                                 3050 AVENTURA BLVD                                                                              Miami                  FL           33180
Savannah Fine Chemicals (Pty) Ltd                                                    19 Boeing Road west                                                                             Bedfordview                         2047          South Africa
Savannah Fine Chemicals Pty Ltd                                                      19 Boeing Road                                                                                  Johannesburg                        2007          South Africa
Save Mart Supermarket/DBA Lucky California |
Pipette                                        SAVE MART SUPERMARKETS                SAVE MART SUPERMARKETS                     ATTN ACCOUNTS PAYABLE      PO BOX 4664               MODESTO                CA           95352-4664
Save Mart Supermarket/DBA Lucky California |
Pipette                                        YOSEMITE WHOLESALE                    2674 EAST VASSAR AVENUE                                                                         Merced                 CA           95341
Savinvibe SRL                                  Savinvibe SRL                         str. Mitropolitul Nifon 13 ap 8 et 2                                                            Bucharest                           40501         Romania
                                                                                                                                                                                     SAO CAETANO DO
SAVITI COMERCIO DE ROUPAS LTDA                                                       ALAMEDA TERRACOTA 545, ANEXO 1057                                                               SUL                    SP           09531-190     Brazil
Savixx Comercio International                  Savixx Comercio International         Avenida Nossa Senhora dos Navegante                                                             Vitoria ES 29050-335                              Brazil
Saxton Brothers                                                                      6455 Fishers Court                                                                              Moorpark               CA           93021
Say Technologies LLC                           Robinhood Markets, Inc.               85 Willow Road                                                                                  Menlo Park             CA           94025
SB CREATIVE COLLECTIVE                                                               210 Manatee Ave West                                                                            BRADENTON              FL           34209
                                                                                                                                                                                     Bucharest Sector 1
SC Inside Home Com SRL                         Cristina Andrei                       SC Inside Home Com SRL                     Rabat no. 11                                         011835                                            Romania
                                                                                                                                                                                     Bucharest Sector 3
SC Inside Home Com SRL                         SC Inside Home Com SRL                Mircea Voda no.36, ap.25, M6                                                                    30668                                             Romania
SC Johnson & Son, Inc                                                                Accounts Payable                                                                                Racine                 WI           53401-1873
Scafuro, Christine                                                                   Address Redacted
Scannell, Lynda                                                                      Address Redacted




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                  Creditor Name                                    Attention                                          Address 1                                Address 2                        Address 3             City                  State           Zip            Country
Scarminach Writing Services                        Sarah Jane Scarminach                          Apt. 5 904 E. Carrillo Rd.                                                                                  Santa Barbara         CA              93103
SCHAE GRAHAM                                                                                      Address Redacted
Schaeffer, Amy                                                                                    Address Redacted
Schager, Bryan                                                                                    Address Redacted
Schatz, Colin                                                                                     Address Redacted
Schawk UK Ltd                                                                                     1 Croft Way, Eastways                                                                                       Witham                Essex           CM8 2FB       United Kingdom
Scheib, Eric                                                                                      Address Redacted
Scheibel, Maria                                                                                   Address Redacted
Schenker, Inc                                                                                     Dept. LA 21047                                                                                              Pasadena              CA              91185-1047
Schieber, Marlon                                                                                  Address Redacted
Schmidt, Thomas                                                                                   Address Redacted
Schnitzer Swansen, Beth                                                                           Address Redacted
Schnock, Danielle                                                                                 Address Redacted
Schotland, Aviva                                                                                  Address Redacted
Schottenfeld Opportunities Fund II                                                                10th Floor 800 Third Avenue                                                                                 New York              NY              10022

SCHOTTENFELD OPPORTUNITIES FUND II, L.P.                                                          800 THIRD AVENUE, 10TH FLOOR                                                                                NEW YORK              NY              10022
Schreier, Celeste                                                                                 Address Redacted
Schuetz Container Systems, Inc.                                                                   PO Box 416434                                                                                               Boston                MA              02241-6434
SchuF (USA), Inc.                                                                                 486 Long Point Road                                                                                         Mount Pleasant        SC              29464
Schwei, Thomas                                                                                    Address Redacted
ScienceMagic Inc Ltd                                                                              84 Wooster Street                                                                                           New York              NY              10012
Scientific Adventures for Girls                                                                   PO Box 11123                                                                                                Oakland               CA              94611
Scientific Bioprocessing, Inc.                                                                    201 Penn Center                                                                                             Pittsburgh            PA              15235
Scientific Equipment Repair                                                                       Suite F 950 N. Rengstorff Ave                                                                               Mountain View         CA              94043
Scientific Notebook Co                                                                            PO Box 238                                                                                                  Stevensville          MI              49127
SciSafe Inc                                                                                       7 Corporate Drive, Unit D                                                                                   Cranbury              NJ              08512
SciSafe Inc                                                                                       8 Corporate Drive, Unit D                                                                                   Cranbury              NJ              08512
Scivera LLC                                                                                       300 East Main Street                                                                                        Charlottesville       AL              22902
Scott Ferrell Class Action Letter                  Scott Ferell                                   Pacific Trial Attorneys                        4100 Newport Place Dr.         Suite 800                     Newport Beach         CA              92660
Scott Laboratories                                                                                1480 Cader Lane                                                                                             Petaluma              CA              94954
SCS Global Services                                C/O Scientific Certification System            2000 Powell Street, Ste. 600                                                                                Emeryville            CA              94608
Scymaris Ltd                                                                                      Brixham Laboratory, Freshwater Quar                                                                         Brixham               DV              TQ5 8BA       United Kingdom
SDC&P Agenciamento e produÃ§Ã£o ArtÃ-stica
Eireli                                                                                            Rua Brejo Alegre, 138                                                                                       SÃ£o Paulo                            04557-050     Brazil
SDC&P Agenciamento e produção Artística Eireli                                                    Rua Brejo Alere                                138                                                          Sao Paulo                             04547-050     Brazil
SDS Thomaston Corp                                 Albéa Thomaston                                PO Box 824815                                                                                               Philadelphia          PA              19182-4815
SeaCliff Beauty Packaging & Laboratories                                                          9810 Irvine Center Drive                                                                                    Irvine                CA              92618
Sean Garrette                                                                                     Address Redacted
SEAPLANE ARMADA LLC                                                                               480 St. Marks Ave                              # 713                                                        Brooklyn              NY              11238
Sebo, Matej                                                                                       Address Redacted
Second Name agency Ltd                                                                            20 Tudor Road                                                                                               London                                E9 7SN        United Kingdom
Secretary of State                                 Division of Corporations                       Franchise Tax                                  PO Box 898                                                   Dover                 DE              19903
Securecell LLC                                                                                    Suite 507 2125 Center Ave                                                                                   Fort Lee              NJ              07024
Securimate Inc                                                                                    2638 Highway 109 Suite 200                                                                                  Wildwood              MO              63040
Securities & Exchange Commission                                                                  PO Box 979081                                                                                               St Louis              MO              63197
Securities and Exchange Commission                                                                100 F Street, NE                                                                                            Washington            DC              20549
Securities and Exchange Commission                 New York Regional Office                       Attn: Mark Berger, Regional Director           Brookfield Place               200 Vesey Street, Suite 40    New York              NY              10281-1022
SEE Turtles                                                                                       5605 SE Rural St                                                                                            Portland              OR              97206
Sefar Inc.                                                                                        111 Calumet Street                                                                                          Depew                 NY              14043
SEI Acquisition, LLC                               Northstar Services                             P O Box 5658                                                                                                Carol Stream          IL              60197-5658

SEKAI INDUSTRIA E COMERCIO DE COMES                                                               AL PROFESSOR LUCAS NOGUEIRA GA 7733                                                                         ATIBAIA               SP              12947-000     Brazil
Select Hotels Group LLC                            Hyatt Summerfield Emeryville                   5800 Shellmound Street                                                                                      Emeryville            CA              94608
Select Model Management                                                                           27 Mortimer Street                  1st Floor                                                               London                                W1T 3JF       United Kingdom
Selfridges - Costa Brazil                          DHL Supply Change                              DHL Supply Change Selfridges        Edison Road, Coleshill                                                  Birmingham B46 1DA                                  United Kingdom
                                                                                                                                                                                                              Enderby Leics. LE19
Selfridges - Costa Brazil                          Selfridges $ Co                                Lake Side House, 4 Smith Way                                                                                1SX                                                 United Kingdom
Selfridges - Costa Brazil                          Selfridges & Co. / Selfridges Retail Limited   Selfridges - Costa Brazil                      400 Oxford St                                                London                                W1A 1AB       United Kingdom

Selfridges & Co Head Office / Attn: Kelly Orphanides                                              Address Redacted
Selfridges & Co. Limited - Biossance | UK            DHL Supply Chain Selfridges                  Edison Road                                    Coleshill                                                    Birmingham B46 1DA                                  United Kingdom
Selfridges & Co. Limited - Biossance | UK            G&N International Ltd                        G&N International Ltd                          Unit D1 Cirrus Court           Aviation Business Park West   Christchurch                          BH23 6BW      United Kingdom

Selfridges & Co. Limited - Biossance | UK          Natalia Sambati - Beauty Workshop Selfridges Selfridges Exchange Manchester                   1 Exchange Sq,                 Central                       Manchester M3 1BD                                   United Kingdom
Selfridges & Co. Limited - Biossance | UK          Selfridges & Co. Limited                     400 Oxford Street                                                                                             London                                W1A 1AB       United Kingdom

Selfridges & Co. Limited - Biossance | UK          Selfridges Accounts Payable, Lakeside House 4 Smith Way                                       Enderby                                                      Leicester LE19 1SX                                  United Kingdom

Selfridges & Co. Limited - Biossance | UK          Therese Nowek / Hollie Murphy                  Selfridges - Beauty Workshop                   60 The Trafford Centre         Trafford Park Stretford       Manchester M17 8DA                                  United Kingdom
                                                   Victoria Wood- Beauty Workshop level 3
Selfridges & Co. Limited - Biossance | UK          Selfridges                                     Selfridges Birmingham                          The Bullring Upper Mall East   Moor Street Queensway         Birmingham B5 4BP                                   United Kingdom
                                                                                                  Hams Hall National Distribution Park, Edison
Selfridges & Co. Limited - JVN | UK                Selfridges                                     Road                                           Coleshill                                                    Birmingham B46 1DA                                  United Kingdom
Selfridges- Biossance                              Dan Perry                                      Dan Perry                                      91 Lowshoe Lane                                              Romford London                        RM5 2AS       United Kingdom
Selfridges- Biossance                              DHL Supply Change                              Selfridges & Co                                Edison Road                    Coleshill                     Birmingham B46 1DA                                  United Kingdom
                                                                                                                                                                                                              Enderby Leics. LE19
Selfridges- Biossance                              Selfridges                                     4 Smith Way                                                                                                 1SX                                                 United Kingdom
Selfridges- Biossance                              Selfridges c/o                                 DHL Manufacturing Logistics                    Canton Lane                    Coleshill                     Birmingham B46 1DA                                  United Kingdom




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                                                   Selfridges Exel Hams Hall National       Hams Hall National Distribution Park, Edison                                                                           Coleshill Warks B46
Selfridges- Biossance                              Distribution Park                        Road                                                                                                                   1DA                                                  United Kingdom
SELIA SERVICOS DE GESTAO EMPRESARIA                                                         ROD ANHANGUERA KM 31,7 800                                                                                             CAJAMAR                 SP             07753-580     Brazil
SELIA SERVICOS DE GESTAO EMPRESARIA                LTDA                                     RODOVIA ANHANGUERA 800, G 21 BOX01                                                                                     CAJAMAR                 SP             07753-580     Brazil
SELIA SERVICOS DE GESTAO EMPRESARIAL               SELIA SERVICOS DE GESTAO
LTDA                                               EMPRESARIAL LTDA                         AVENIDA PORTUGAL                                ITAQUI                                                                 ITAPEVI Sao Paulo                      06696-060     Brazil
Sellis v. Biossance (Biossance Sheer Mineral SPF
30)                                                Lauren A. Buchanan                       200 E. 5th Ave.                                 Suite 113                            Suite 113                         Naperville              IL             60563
Semaphore Brand Solutions, Inc.                                                             16420 Bake Pkwy                                                                                                        Irvine                  CA             92618
SEMCO TECNOLOGIA EM PROCESSOS LTDA                                                          R SEVERINO TESCAROLLO 640                                                                                              ITATIBA                 SP             13255-410     Brazil
Semitorr Group Inc                                                                          10655 SW Manhasset Drive                                                                                               Tualatin                OR             97062
Semitorr Group, Inc                                Floworks Intl. LLC                       3750 Hwy 225                                                                                                           Pasadena                CA             77503
Semprun, Dalal                                                                              Address Redacted
Seng Chen Photography                                                                       #204 2407 Telegraph Avenue                                                                                             Oakland                 CA             94612
Sensient Technologies Corporation                  Sensient Colors LLC                      62453 Collections Center Drive                                                                                         Chicago                 IL             60693
Sensory Spectrum                                                                            554 Central Ave                                                                                                        New Providence          NJ             07974
Sentry BioPharma Services, Inc.                    Sentry Logistic Solutions Inc            4605 Decatur Boulevard                                                                                                 Indianapolis            IN             46241
Separation Equipment Co., Inc.                                                              501 N. Falkenburg Rd                                                                                                   Tampa                   FL             33619
                                                                                            Greystanes Campus (Building 2), 14-16 Picrite                                                                          Greystances Park
Sephora Australia Pty Ltd. | Biossance             Sephora Australia Pty Ltd                Close                                                                                                                  NSW 2145                                             Australia
Sephora Australia Pty Ltd. | Biossance             Sephora Australia Pty Ltd                Suite 3, Level 7                                                                                                       Sydney NSW 2000                                      Australia
Sephora Australia Pty Ltd. | JVN                   Sephora Australia Pty Ltd                Level 11, 32 Martin Place                                                                                              Sydney NSW 2000                                      Australia
SEPHORA BARRA SHOPPING (RJ)                                                                 AVENIDA DAS AMERICAS 4666                                                                                              RIO DE JANEIRO          RJ             22640-902     Brazil
Sephora Beauty | Biossance                         #0751 Belcamp                            4622 Mercedes Drive                                                                                                    Belcamp                 MD             21017
Sephora Beauty | Biossance                         ATTN: SEPHORA RECEIVING                  ELITE OPS                                       4000 EAST HWY 6                      DOCK 32                           Spanish Fork            UT             84660
Sephora Beauty | Biossance                         Case Mason                               9101 Yellow Brick Road                                                                                                 Baltimore               MD             21237
Sephora Beauty | Biossance                         Sephora                                  525 Market Street                                                                                                      San Francisco           CA             94105
Sephora Beauty | Biossance                         Sephora Perryman DC                      531 Chelsea Road                                                                                                       Perryman                MD             21130
Sephora Beauty | Biossance                         Sephora Southeast DC                     8500 Nail Road                                                                                                         Olive Branch            MS             38654
Sephora Beauty | Biossance                         Sephora Utah DC                          6075 West, 300 South                                                                                                   Salt Lake City          UT             84104
Sephora Beauty | Biossance                         Sephora WDC                              6260 E Ann Road                                                                                                        North Las Vegas         NV             89115
Sephora Beauty | JVN                               Logistics & Distribution Inc             8590 Airport Road                                                                                                      Brampton                ON             L6T 5A3       Canada
Sephora Beauty | JVN                               Sephora - C/O DSV                        18899 28th Avenue                               Unit 24                                                                Surrey                  BC             V3Z 0W5       Canada
Sephora Beauty | Stripes                           Sephora - Stripes                        425 Market St.                                  6th Floor                                                              SAN FRANCISCO           CA             94105
Sephora Beauty | Stripes                           Sephora USA Inc                          Utah Distribution Center                        6075 West, 300 South                                                   Salt Lake City          UT             84104
Sephora Beauty | Stripes                           Sephora USA Inc                          Western Distribution Center                     6260 East Ann Road                                                     North Las Vegas         NV             89115
Sephora Beauty | Stripes                           Sephora USA, Inc                         Perryman Distribution Center                    531 Chelsea Road                                                       Perryman                MD             21130
Sephora Beauty | Stripes                           Sephora USA, Inc                         Southeast Distribution Center                   8500 Nail Road                                                         Olive Branch            MS             38654
Sephora Beauty Canada | Biossance                  DSV Solutions Inc. (0750)                Sephora Beauty Canada                           8590 AIRPORT ROAD                                                      BRAMPTON                ON             L6T 5A3       Canada
Sephora Beauty Canada | Biossance                  DSV Solutions Inc. (1050)                18899 28th Avenue                               Unit 24                                                                South Surrey            BC             V3Z 0W5       Canada
Sephora Beauty Canada | Biossance                  Jim Summers                              VDI - Sephora Beauty Canada                     8590 Airport Road                    Door 22 to 24                     Brampton                ON             L6T 5A3       Canada
                                                                                                                                            3401 Dufferin Street, Space # CRU
Sephora Beauty Canada | Biossance                  Store Manager                            Sephora Beauty Canada                           233                                                                    Toronto                 ON             M6A 3A1       Canada
                                                                                                                                            100 City Centre Drive, Space CRU #2-
Sephora Beauty Canada | Biossance                  Store Manager                            Sephora Canada                                  130                                                                    Mississauga             ON             L5B 2B9       Canada
Sephora Beauty Canada | JVN                        Sephora Beauty Canada                    Sephora USA, Inc                                525 Market Street, 15th Floor                                          San Francisco           CA             94105
Sephora Beauty Canada | Rose                       DSV Solutions Inc (0750)                 8590 Airport Road                                                                                                      Brampton                ON             L6T 5A3       Canada
Sephora Beauty Malaysia | Biossance                Beauty in Motion Sdn Bhd                 Suit 02-03 , Level 22, Centrepoint North        Mid Valley Centre                                                      Lingkaran Syed Putra    Kuala Lumpur   59200         Malaysia
Sephora Beauty Malaysia | Biossance                Mapletreee Logistics Hub Shah Alam       Jalan Julbi Perak 22/1A                         Seksyen 22                                                             Shah Alam               Selangor       40300         Malaysia
SEPHORA CIDADE JARDIM                                                                       AVENIDA MAGALHAES CASTRO 12000                                                                                         SAO PAULO               SP             05676-120     Brazil
SEPHORA HIGIENOPOLIS                                                                        RUA DOUTOR VEIGA FILHO 133                                                                                             SAO PAULO               SP             01238-000     Brazil
Sephora Hong Kong Limited | Biossance              Sephora Hong Kong Limited                4/F Cambridge House, Taikoo Place                                                                                      Hong Kong HK 100                                     Hong Kong
Sephora Hong Kong Limited | Rose                   Sephora Hong Kong Limited                C/o BOLLORE LOGISTICS HONG KONG                 10/F Tai Hing Cotton Mill Building   Tuen Mun, 3 Tsing Yeung Circuit   Hong Kong HK                                         Hong Kong
Sephora HQ: PALLAVI NAIDU                                                                   Address Redacted

Sephora India                                      SEPHORA COSMETICS PRIVATE LIMITED        UNIT # 27, GROUND FLOOR, RECTANGLE - 1, D - 4, DISTRICT CENTRE, SAKET,                                                 NEW DELHI DELHI                        110017        India
                                                   SEPHORA COSMETICS PRIVATE LIMITED        KHASRA NO. 15 / 24, NEAR TELEPHONE
Sephora India                                      C/O BLR LOGISTIKS (I) LIMITED;           EXCHANGE, SAMALKHA                                                                                                     NEW DELHI DELHI                        110037        India

Sephora Indonesia- Biossance                       PT SEPHORA INDONESIA                     Recapital Building 9th Floor                    Jalan Adityawarman Kav. 55                                             South Jakarta Jakarta                  12160         Indonesia
SEPHORA JK IGUATEMI                                                                         AV PRESIDENTE JUSCEL 2041, LOJA 219                                                                                    SAO PAULO               SP             04543-011     Brazil
                                                                                                                                                                                                                   Gyeonggi-do KR
Sephora Korea Seoul | Biossance                    Sephora Korea DHL DC                     763, Yeoyang-ro, Daesin-myeon, Yeoju-si                                                                                12611                                                Korea, Republic of
Sephora Korea Seoul | Biossance                    Sephora Korea Seoul Office               21F, 419, Tewherab-ro, Gangnam-gu                                                                                      Seoul 006-160                                        Korea, Republic of
Sephora Mexico S. de R.L. de C.V. | Rose           Sephora Mexico S. de R.L. de C.V.        Boulevard Miguel de Cervantes                                                                                          Ciudad de Mexico                       11520         Mexico
Sephora Mexico S. de R.L. de C.V. | Rose           Transterre, Inc                          13488 Port Drive                                                                                                       Laredo                  TX             78045
SEPHORA MORUMBI                                                                             AV. ROQUE PETRONI JUNIOR 1089                                                                                          SAO PAULO               SP             04707-900     Brazil
SEPHORA PORTO ALEGRE IGUATEMI                                                               AVENIDA JOAO WALLIG 1800, 2 PISO                                                                                       PORTO ALEGRE            RS             91349-900     Brazil
SEPHORA SHOPPING ANALIA FRANCO                                                              AVENIDA REGENTE FEI 1739, LOJA LR17                                                                                    SAO PAULO               SP             03342-000     Brazil
SEPHORA SHOPPING ELDORADO                                                                   AV REBOUCAS 3970, LOJA 150                                                                                             SAO PAULO               SP             05402-918     Brazil
SEPHORA SHOPPING PATIO PAULISTA                                                             RUA 13 DE MAIO 1947, LOJA 3005                                                                                         SAO PAULO               SP             01327-001     Brazil
SEPHORA SHOPPING RIO SUL                                                                    AV LAURO SODRE 445, LOJA 301                                                                                           RIO DE JANEIRO          RJ             22290-160     Brazil

Sephora Singapore Pte Ltd. | Biossance             Sephora Singapore Pte Ltd                391A Orchard Road #16-00                                                                                               Singapore SG 238873                                  Singapore
Sephora Singapore Pte Ltd. | Biossance             Sephora Singapore Pte Ltd                47 Jalan Buroh #05-03A                                                                                                                                        619491        Singapore
Sephora Singapore Pte Ltd. | JVN                   Att. Finance Sephora Singapore Pte Ltd   Sephora Singapore Pte Ltd                       391A Orchard Road #16-00             Ngee Ann City Tower A             Singapore                                            Singapore
                                                                                            Sephora Singapore Pte Ltd c/o Bollore Logistics
Sephora Singapore Pte Ltd. | JVN                   Attn Sephora SG Logistics                Singapore                                       47 Jalan Buroh #05-03A                                                 Singapore                              238873        Singapore
Sephora Thailand Co., Ltd | Biossance              Bollore Logistics (Thailand) SMILE Hub   159/2, M.7 Bangpla, Bangpli                                                                                            Samutprakarn                           10540         Thailand




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Sephora Thailand Co., Ltd | Biossance   Sephora (Thailand) Co., Ltd             689 Bhiraj Tower at Emquartier                                                                Bangkok 10110                                     Thailand
Sephora Thailand Co., Ltd | Biossance   Sephora Thailand Co., Ltd               Units 3203-3204 Sukhum VI Rd,           North K Longton                                       Vadhana BKK 10110                                 Thailand
Sephora USA Inc.                                                                32nd Floor 525 Market Street                                                                  San Francisco         CA            94105
Seppic SA                                                                       1 rue du Mont                                                                                 BLAN                                81700         France

Seppic SA                                                                       50 Boulevard National                                                                         La-Garenne-Colombes                 92250         France
Seppic SA                               Sepiprod                                127, Chemin de la Poudrerie                                                                   Castres                             81100         France
Sequeira Correia, Natalie                                                       Address Redacted
Sequetech Corporation                                                           935 Sierra Vista Ave Ste C                                                                    Mountain View         CA            94043
Serendipitee NYC, LLC                                                           4112 North Lake Leelanau Drive                                                                Lake Leelanau         MI            49653
SERGIO BELISARIO DE ANDRADE                                                     Address Redacted
Serres, Aisha                                                                   Address Redacted
Seth Zucker                                                                     Address Redacted
Seven Artist Management                                                         140 South Gramercy Place Unit #6                                                              Los Angeles           CA            90004
Seven Bridges Genomics, Inc                                                     529 Main Street                                                                               Boston                MA            02129
Seventh House LLC- COSTA BRAZIL         Seventh House LLC                       7001 Melrose Ave                                                                              Los Angeles           CA            90038
Seyedebrahimi, Daniel                                                           Address Redacted
Seymour, Michele                                                                Address Redacted
SF Hills & Drills Boot Camp             James Johnson                           1307 - E Gateview Ave                                                                         San Francisco         CA            94130
SGS Agency LLC                                                                  P.O. Box 101822                                                                               Pasadena              CA            91189-1822
SGS Herguth Laboratories Inc                                                    PO Box 2502                                                                                   Carol Stream          IL            60132-2502
SGS North America Inc.                                                          P.O Box 2502                                                                                  Carol Stream          IL            60132-2502
Shadan Dehgahi                                                                  Address Redacted
Shadi Ojelade                                                                   Address Redacted
Shah, Khushbu                                                                   Address Redacted
Shah, Nisha                                                                     Address Redacted
Shah, Riya Rahul                                                                Address Redacted
Shah, Syed                                                                      Address Redacted
Shah, Tanvi                                                                     Address Redacted
Shaikh, Abdul                                                                   Address Redacted
Shaikh, Sana                                                                    Address Redacted
Shaklee Corporation                                                             4747 Willow Road                                                                              Pleasanton            CA            94588
Shaklee Corporation                     Shaklee Corporation Groveport           5650 Green Pointe Drive North                                                                 Groveport             OH            43125
SHALINI ACHARYA                                                                 Address Redacted
Shamsi, Linda                                                                   Address Redacted
Shamsid-deen, Michael                                                           Address Redacted
Shandex Sales Group Ltd                 Shandex Sales Group Ltd (0001)          1100 Squires Beach Road                                                                       Pickering             ON            L1W 3N8       Canada
Shang Hai Sheng Xi Trade Center         Pfilix Inc.                             Suzhou Industrial Park                                                                        Suzhou                100           215126        China
                                                                                                                        NO. 307, NORTH XURI ROAD,
Shangrao Manya Industry Co., Ltd                                                9/F, UNIT10, #11 BUILDING, TAOHUAYUAN   GUANGXING DISTRICT                                    SHANGRAO              æ±Ÿè¥¿çœ�                   China
Shanita Sims Photography                                                        563 56th St                             Apt 3L                                                Brooklyn              NY            11220
Share Local Media Inc.                                                          9th Floor 85 Broad St.                                                                        New York              NY            10004
Sharma, Saroj                                                                   Address Redacted
Sharne Jackson                                                                  Address Redacted
Sharon Shemtov                                                                  Address Redacted
SHARON SHEMTOV                                                                  Address Redacted
SHARON SHEMTOV                                                                  Address Redacted
SHARON SHEMTOV                                                                  Address Redacted
SHARON SHEMTOV (SB SEEDING)                                                     Address Redacted
SHARON SHEMTOV- CB                                                              Address Redacted
Sharp International Services LLC                                                STE 140-48 2257 N Loop 336 W                                                                  Conroe                TX            77304
Shartsis Friese LLP                     Attention: Senior Real Estate Partner   Attention: Senior Real Estate Partner   One Maritime Plaza          18th Floor                San Francisco         CA            94901
Shartsis Friese LLP                     Attention: Senior Real Estate Partner   One Maritime Plaza                      18th Floor                                            San Fransisco         CA            94901
Shaun J. Fletcher                                                               Address Redacted
Shauna Faulisi                                                                  Address Redacted
Shaw Wildlife Solutions, LLC                                                    102 North Navassa Rd.                                                                         Leland                NC            28451
Shazaan Khan                                                                    Address Redacted
Shearman & Sterling LLP                                                         589 Lexington Ave                                                                             New York              NY            10022
Shearman & Sterling LLP                                                         589 Lexington Ave                                                                             New York              NY            10022
Sheika Daley                                                                    Address Redacted
Sheikh Abdullah bin Khalifa AlThani                                             Address Redacted
Sheikh, Hana                                                                    Address Redacted
SHELBY RODRIGUEZ                                                                Address Redacted
Shelby Rodriquez                                                                Address Redacted
Shelby Rodriquez                                                                Address Redacted
Shemtov, Sharon                                                                 Address Redacted
Shen Beauty                                                                     Address Redacted
Shen Beauty LLC                         Jessica Richards/Kayla Adams            Shen Beauty LLC                         1663A Superior Ave                                    Costa Mesa            CA            92627
Shen Beauty LLC                         Shen Beauty LLC                         138 Court Street                                                                              Brooklyn              NY            11201
Sheppard Mullin Richter & Hampton L                                             333 South Hope Street 48th Fl                                                                 Los Angeles           CA            90071-1448
Shereen Idris                                                                   Address Redacted
Sheridan Ross                                                                   Address Redacted
Sherline Products Inc                                                           3235 Executive Ridge                                                                          Vista                 CA            92081
Sheshalevich, Yulia                                                             Address Redacted
Shetty, Poonam                                                                  Address Redacted
SHI International Corp                                                          290 Davidson Ave.                                                                             Somerset              NJ            08873
Shibu, Varsha                                                                   Address Redacted
Shill, Kierston                                                                 Address Redacted
Shimadzu Scientific Instruments                                                 7102 Riverwood Dr.                                                                            Columbia              MD            21046




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                  Creditor Name                      Attention                           Address 1                           Address 2                         Address 3           City           State         Zip         Country
Shimizu Health, LLC                                                    1300 Eagle Street                                                                                   New Orleans       LA           70118
Shine Influencers                                                      Unit 2024 777 Richmond Street West                                                                  Toronto           ON           M6J 3N5      Canada

Shine Talent Group                                                    1129 N POINSETTIA PL                                                                                 WEST HOLLYWOOD CA              90046
Shiney Media Group, LLC                                               5710 West 74th Street                                                                                Los Angeles    CA              90045
Shinkong Textile Co.                Shinkong Textile Co.              15F., No. 44, Sec. 2, Zhongshan N. Rd.,   Zhongshan Dist.                                            Taipei 00104                                Taiwan
Shipman & Goodwin LLP                                                 One Constitution Plaza                                                                               Hartford       CT              06103
Shipman, Marissa                                                      Address Redacted
Shippers Supplies                                                     1202 Mill Rd.                                                                                        Bellville         OH           44813
Shiru, Inc.                                                           850 Marina Village Parkway                                                                           Alameda           CA           94501
Shoko Shimizu                                                         1702-691 North Rd.                                                                                   Coquitlam         BC           V3J0H        Canada
SHOPBOP / ATTN: Corey Diener                                          Address Redacted
ShopBop.com                                                           Address Redacted
SHOPDEV LLC                                                           1049-C El Monte Ave                       Suite C                                                    Mountain View     CA           94040
ShopDog Studios Fabrications Inc.                                     145 Prospect Ave.                                                                                    Brooklyn          NY           11215
Shopify Biossance                   Abby Duran                        Abby Duran                                1406 McKenzie Street          B                            San Clemente      CA           92672
Shopify Biossance                   Abby Williamson                   Abby Williamson                           1100 Meadowlark Ln            Unit A, PO Box 13496         Jackson           WY           83001-8572
Shopify Biossance                   Alberto /Ana Urcina               Alberto /Ana urcina                       618 Northwest 128th Place                                  Miami             FL           33182
Shopify Biossance                   Alberto /Ana urcina               Alberto /Ana urcina                       618 NW 128th Pl                                            Miami             FL           33182
Shopify Biossance                   Aleigha Holmes                    Aleigha Holmes                            431 Dorothy Dr.                                            Des Plaines       IL           60016
Shopify Biossance                   Alex Bratty                       Alex Bratty                               135 North Ram Island Drive                                 Shelter Island    NY           11964
Shopify Biossance                   Alexandria Anderson               Alexandria Anderson                       23300 SE Black Nugget Rd      Unit G4                      Issaquah          WA           98029
Shopify Biossance                   Alice Ewing                       Alice Ewing                               9710 Harrington Drive                                      Fort Belvoir      VA           22060
Shopify Biossance                   Amanda Sakagawa                   Amanda Sakagawa                           2112 NW Quimby Street         Apt 541                      Portland          OR           97210
Shopify Biossance                   Amanda Sestak                     Amanda Sestak                             4037 N Mozart St. Apt 1                                    Chicago           IL           60618
Shopify Biossance                   Amanda Uzowulu                    Amanda Uzowulu                            4902 Washington Ave                                        Houston           TX           77007
Shopify Biossance                   Andrea Cameron                    170 Summerhill Drive                                                                                 Franklin          NC           28734
Shopify Biossance                   Andrea Cameron                    Andrea Cameron                            170 Summerhill Drive                                       Franklin          NC           28734
Shopify Biossance                   Andrea Van Eaton                  Andrea Van Eaton                          5455 Valley Drive Unit 2107                                North Las Vegas   NV           89031
Shopify Biossance                   Angel Ting                        Angel Ting                                18 West 48th Street,          17D, Centria,                New York          NY           10036
Shopify Biossance                   Angela Moreno                     Angela Moreno                             21901 Moneta Ave Unit 41                                   Carson            CA           90745
Shopify Biossance                   Angie Donaton                     Angie Donaton                             460 Red Wing Drive Alamo                                   Alamo             CA           94507
Shopify Biossance                   Ankita Singh                      Ankita Singh                              2719 Fort Drive                                            Alexandria        VA           22303
Shopify Biossance                   Anna Acciarino                    Anna Acciarino                            45 Hutchinson Boulevard                                    Scarsdale         NY           10583
Shopify Biossance                   Anna Darling                      Anna Darling                              3875 N. Steele Blvd           Apt #102                     Fayetteville      AR           72703
Shopify Biossance                   April Gain                        April Gain                                14624 72nd Street east        Apt 74                       Sumner            WA           98390
Shopify Biossance                   April Tuason                      April Tuason                              9631 Brandy Court             apt 1                        Des Plaines       IL           60016
Shopify Biossance                   Argelis Hall                      Argelis Hall                              13205 Sage Meadow Lane                                     Pearland          TX           77584
Shopify Biossance                   Ariel Vu                          Ariel Vu                                  2927 4th Ave                  #303                         San Diego         CA           92103
Shopify Biossance                   Ashley Gale                       Ashley Gale                               7861 SE 13th Ave                                           Portland          OR           97202
Shopify Biossance                   Ashley Gherlone                   Ashley Gherlone                           101 Bedford Ave               Apt. D-211                   Brooklyn          NY           11211
Shopify Biossance                   Ashley Mangan                     Ashley Mangan                             416 South Veitch Street       Apt 206                      Arlington         VA           22204
Shopify Biossance                   Ashton Thompson                   Ashton Thompson                           50 Enoree Road                                             Travelers Rest    SC           29690
Shopify Biossance                   Aubrey Hoffman                    74 Grand Ave APT 4H                                                                                  Brooklyn          NY           11205
Shopify Biossance                   Ayesha Patel                      Ayesha Patel                              5755 Glenridge Drive          #382                         Atlanta           GA           30328
Shopify Biossance                   Barrett & Associates              Cynthia Chase                             130 Kercheval Ave                                          Grosse Pointe     MI           48236
Shopify Biossance                   Barrie Moskovich                  Barrie Moskovich                          481 Washington St             #2S                          New York          NY           10013
Shopify Biossance                   Betsy Morales                     Betsy Morales                             338 e 120th st apt 4                                       New York          NY           10035
Shopify Biossance                   Blair Gibbs                       Blair Gibbs                               4615 Rodman Street, NW                                     Washington        DC           20016
Shopify Biossance                   Brittany Neiman                   Brittany Neiman                           9324 Neils Thompson DR        STE 100 GPL934               Austin            TX           78758
Shopify Biossance                   c/o Yijie Zhang                   c/o Yijie Zhang                           980 Howell Mill Road NW       Unit 801                     Atlanta           GA           30318
Shopify Biossance                   Callie Fisher                     Callie Fisher                             1460 Little Raven St.         Unit 2-222                   Denver            CO           80202
Shopify Biossance                   Candy Jimenez                     Candy Jimenez                             1217 Rock Mill Lane                                        Georgetown        TX           78626
Shopify Biossance                   Caroline Hobson                   Caroline Hobson                           2412 Mirow Place                                           Charlotte         NC           28270
Shopify Biossance                   Carrie jeffords                   Carrie jeffords                           164 Saint Joseph Avenue                                    Long Beach        CA           90803
Shopify Biossance                   Casey Berry                       Casey Berry                               Fed Ex Print and Ship         73 St. Philip Street         Charleston        SC           29403
Shopify Biossance                   Cat Dorethy                       Cat Dorethy                               400 Alisal Rd                                              Solvang           CA           93463
Shopify Biossance                   Catherine Zhang                   Catherine Zhang                           130 College Ave                                            Ithaca            NY           14850
Shopify Biossance                   Catherine Zhang                   Catherine Zhang                           Catherine Zhang                                            Ithaca            NY           14850
Shopify Biossance                   Cathy Mcclure                     Cathy Mcclure                             2100 Bay St, Apt 201                                       San Francisco     CA           94123
Shopify Biossance                   Charlotte Flint                   Charlotte Flint                           901 5th St, APT H             APT H                        Santa Monica      CA           90403
Shopify Biossance                   Cheena Singh                      Cheena Singh                              4202B Bon Secours Parkway                                  Henrico           VA           23233
Shopify Biossance                   Chiquitha Gilder                  Chiquitha Gilder                          12411 Adams Ridge Lane                                     Humble            TX           77346
Shopify Biossance                   Christina DiLeo                   Christina DiLeo                           751 Vandenburg Rd             Apt 3122                     King of Prussia   PA           19406
Shopify Biossance                   Christine Tibbs                   Christine Tibbs                           16185 Poppyseed Cir           Unit 404                     Delray Beach      FL           33484
Shopify Biossance                   Christopher Kelley                Christopher Kelley                        3750 Philemon Ave             APT 1309                     Charlotte         NC           28206
Shopify Biossance                   Courtney Lee                      Courtney Lee                              2300 W McDermott Rd           Suite 200 MB 328             Plano             TX           75025
Shopify Biossance                   Danielle Aita                     Danielle Aita                             445 Coombs Street                                          Napa              CA           94559
Shopify Biossance                   Danielle Campbell                 Danielle Campbell                         336 S. Cochran Ave.           #4                           Los Angeles       CA           90036
Shopify Biossance                   Danielle Murphy                   Danielle Murphy                           760 Waldron Street                                         Columbus          OH           43215
Shopify Biossance                   Danielle Storey                   Danielle Storey                           2167 Applegate Drive NW                                    Grand Rapids      MI           49534
Shopify Biossance                   Dayana Agasieva                   Dayana Agasieva                           47220 West Eldorado Drive                                  Indian Wells      CA           92210
Shopify Biossance                   Debbie Blanton                    Debbie Blanton                            101 N Pearl St Apt 105                                     Buffalo           NY           14202
Shopify Biossance                   Diane Case                        Diane Case                                3752 Park Boulevard Apt 305                                San Diego         CA           92103
Shopify Biossance                   Dianne Askew                      Dianne Askew                              302 Esther Ave Campbell                                    Campbell          CA           95008
Shopify Biossance                   Dona Saji                         Dona Saji                                 95 Norman Street                                           New Hyde Park     NY           11040
Shopify Biossance                   Donita Sarmiento                  Donita Sarmiento                          519 East 228th Street                                      Carson            CA           90745
Shopify Biossance                   Duncan Hudson                     Duncan Hudson                             707 W Sheridan Rd             Apt 522                      Chicago           IL           60613
Shopify Biossance                   Edee DeLuca                       Edee DeLuca                               13650 Fiddlesticks Blvd       Suite 202-301                Fort Myers        FL           33912




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                     Creditor Name                      Attention                            Address 1                          Address 2                           Address 3            City           State           Zip   Country
Shopify Biossance                    Elena Mendez Leal                    Elena Mendez Leal                        6037 breithorn circle                                        Reno               NV           89511
Shopify Biossance                    Elizabeth Rodriguez                  Elizabeth Rodriguez                      895 Karisa Ln                                                North Liberty      IA           52317
Shopify Biossance                    Ellen Chen                           Ellen Chen                               14639 Burbank Boulevard           Apt #103                   Sherman Oaks       CA           91411
Shopify Biossance                    Emily Forotan                        Emily Forotan                            3395 michelson drive              apt 2454                   Irvine             CA           92612
Shopify Biossance                    Emily Franchett                      Emily Franchett                          452 Park Place, Apt. 1A           Apt. 1A                    Brooklyn           NY           11238
Shopify Biossance                    emma galvin                          emma galvin                              1105 E Sabeta Avenue                                         Poncha Springs     CO           81242
Shopify Biossance                    Emma Nystedt                         Emma Nystedt                             2306 41sr Ave                                                San Francisco      CA           94116
Shopify Biossance                    Erika I Garcia Corredor              Erika I Garcia Corredor                  39511 Gallaudet Dr.               Apt 272                    Fremont            CA           94538
                                                                                                                   334 West Mason street, Santa
Shopify Biossance                    erin tracy                           erin tracy                               Barbara CA 93101                                             Santa Barbara      CA           93101
Shopify Biossance                    Ethel Rice                           Ethel Rice                               1530 7th St                       406                        Santa Monica       CA           90401
Shopify Biossance                    Felizia Nava-Kardon                  Felizia Nava-Kardon                      5 Hansen Ct.                                                 Moraga             CA           94556
Shopify Biossance                    Felizia Nava-Kardon                  Felizia Nava-Kardon                      23 Crestview Drive                                           Orinda             CA           94563
Shopify Biossance                    Frances Rivera                       Frances Rivera                           36 Cheyenne Street                                           Tinton Falls       NJ           07712
Shopify Biossance                    gabrielle weaver                     gabrielle weaver                         619 Edgewood Drive                                           Goleta             CA           93117
Shopify Biossance                    Gillian Tisdale                      Gillian Tisdale                          40 Winchester Street              #5                         Brookline          MA           02446
Shopify Biossance                    Gloria Brenes                        5054 North Peachtree Road                                                                             Atlanta            GA           30338
Shopify Biossance                    Grace Bejosano                       Grace Bejosano                           238 Saint James Place GF                                     Brooklyn           NY           11238
Shopify Biossance                    Hanna Pons                           Hanna Pons                               3028 Northwest 72nd Avenue                                   Miami              FL           33122
Shopify Biossance                    hayley texidor                       hayley texidor                           28400 Renee Drive Agoura Hills                               Agoura Hills       CA           91301
Shopify Biossance                    Heidi Askew                          Heidi Askew                              11921 Fiddlers Roof Lane                                     Charlotte          NC           28277
Shopify Biossance                    Heidi Scheleski                      Heidi Scheleski                          32 West Pinehurst Circle          103                        Glendale Heights   IL           60139
Shopify Biossance                    HILLARY JAY                          HILLARY JAY                              163 Valley Stream Rd. East                                   Larchmont          NY           10538
Shopify Biossance                    Hollis Rendleman                     Hollis Rendleman                         2606 E Cherry St.                                            Seattle            WA           98122
Shopify Biossance                    Isabela Tavares                      Isabela Tavares                          1338 Cartagena                                               Newport Beach      CA           92660
Shopify Biossance                    Ishara Abeysekara                    Ishara Abeysekara                        145 E. 15th Street,               #3L                        New York           NY           10003
Shopify Biossance                    Ivian Toney                          1217 Lorene Drive                                                                                     Pasadena           MD           21122
Shopify Biossance                    Jacqueline Killenga                  Jacqueline Killenga                      1030 Castro Street                APT 2408                   Mountain View      CA           94040
Shopify Biossance                    JAIME GRIFFON                        JAIME GRIFFON                            3216 W. DeBazan Ave.                                         Saint Petersburg   FL           33706
Shopify Biossance                    Jane E. Dobson                       Jane E. Dobson                           23 Garthgannon Rd                                            Owls Head          ME           04854
Shopify Biossance                    Janet Thibeau                        Janet Thibeau                            Po Box 603 Hinckley IL 60520                                 Hinckley           IL           60520
Shopify Biossance                    Jared Lewis                          Jared Lewis                              1050 N Gardner Street             #9                         West Hollywood     CA           90046
Shopify Biossance                    Jasjot Kaur                          Jasjot Kaur                              101-20 117th St                                              Jamaica            NY           11419
Shopify Biossance                    Jayme King                           Jayme King                               44 Ryarbor Drive                  #A                         Palm Coast         FL           32164
Shopify Biossance                    Jelena Scepanovic                    Jelena Scepanovic                        4207 Wessex place                 Apt. 4207                  Princeton          NJ           08540
Shopify Biossance                    Jen Han c/o Diana Phak               Jen Han c/o Diana Phak                   17 Independence Way                                          Edgewater          NJ           07020
Shopify Biossance                    Jenelle Gallagher                    Jenelle Gallagher                        770 Mays Blvd                     PO BOX 4843                Incline Village    NV           89451
Shopify Biossance                    Jenna Vasquez                        Jenna Vasquez                            154 W. Mohawk Street              APT 6N                     Oswego             NY           13126
Shopify Biossance                    Jennifer Chiavone                    Jennifer Chiavone                        2589 Chalmette Court Unit 17                                 Rocklin            CA           95677
Shopify Biossance                    Jeremy Leavitt                       Jeremy Leavitt                           41539 North Jacaranda Court                                  San Tan Valley     AZ           85140
Shopify Biossance                    Jessica Andresini                    Shopify BiossanceJessica Andresini       11 Clarendon Place                Apt 1B                     Bloomfield         NJ           07003
Shopify Biossance                    Jessica Bullard                      Jessica Bullard                          92 Mantero Way                                               Destin             FL           32541
Shopify Biossance                    Jessica Parker                       Jessica Parker                           1342 Liberty Ln                   #6238                      Chino Valley       AZ           86323
Shopify Biossance                    Jessica Pointer                      Jessica Pointer                          17607 E. 61st Ave.                Apt 2-213                  Denver             CO           80249
Shopify Biossance                    Jinxia liu                           Jinxia liu                               800 North Camac Street                                       Philadelphia       PA           19123
Shopify Biossance                    Joanna Palminteri                    Joanna Palminteri                        2100 Park Ave #683604             #683604                    Park City          UT           84068
Shopify Biossance                    Joanna Ramirez                       Joanna Ramirez                           6890 N Kendall Drive              Apt. B403                  Miami              FL           33156
Shopify Biossance                    Jocelyn Perez                        Jocelyn Perez                            12336 Branner Place Apartment     #304                       Chester            VA           23836
Shopify Biossance                    Judi Breinin                         Judi Breinin                             1145 Audace Ave                   Apt 501                    Boynton Beach      FL           33426
Shopify Biossance                    Julia Fields                         Julia Fields                             1470 Dean Street                                             Brooklyn           NY           11213
Shopify Biossance                    Julie Cryer                          Julie Cryer                              4250 Balfour Road                                            Brentwood          CA           94513
Shopify Biossance                    Julie List                           Julie List                               214 E 11th St                     Apt 1c                     New York           NY           10003
Shopify Biossance                    Jushya Ravi                          Jushya Ravi                              26 Belden Ave                     Unit 1214                  Norwalk            CT           06850
Shopify Biossance                    Kara Hendrickson                     Kara Hendrickson                         3657 Rockaway Street                                         Fort Collins       CO           80526
Shopify Biossance                    Karen Duggleby Rohde                 Karen Duggleby Rohde                     3360 Thomas Drive                                            Palo Alto          CA           94303
Shopify Biossance                    Karla Noyola                         Karla Noyola                             868 S. 5th St                     Apt 243                    San Jose           CA           95112
Shopify Biossance                    Karli Allen c/o Coleen Gormly        Karli Allen c/o Coleen Gormly            24 Meritage                                                  Coto de Caza       CA           92679
Shopify Biossance                    Katariina Sak                        Katariina Sak                            1951 28th Avenue South            Apt 308                    Grand Forks        ND           58201
Shopify Biossance                    Kate O'Connell                       Kate O'Connell                           9123 E Mississippi Ave            Unit 11-204                Denver             CO           80247
Shopify Biossance                    Katie Getschow                       Katie Getschow                           2843 North 91st Street            406                        Milwaukee          WI           53222
Shopify Biossance                    Katie Letsch                         Katie Letsch                             40 West 4th St                    Unit 5                     Patchogue          NY           11772
Shopify Biossance                    Kattiana Rivera                      Kattiana Rivera                          8700 NE Bothell Way               Apt K201                   Bothell            WA           98011
Shopify Biossance                    Kayleigh Randle                      Kayleigh Randle                          970 Wedgewood Drive                                          Crystal Lake       IL           60014
Shopify Biossance                    Kaylin Olivas                        Kaylin Olivas                            606 West Cherry Avenue AR 72401   Apt 10                     Jonesboro          AR           72401
Shopify Biossance                    Kelly Fisher-Katz                    Kelly Fisher-Katz                        9580 Lime Orchard Road                                       Beverly Hills      CA           90210
Shopify Biossance                    Kelly Huang                          Kelly Huang                              3225 Janku Ct.                                               San Jose           CA           95127
Shopify Biossance                    Kendra Miller                        Kendra Miller                            C/O Lemac Manufacturing           3890 Hammer Drive          Bellingham         WA           98226
Shopify Biossance                    Kenia Araujo                         Kenia Araujo                             947 E 4th St                                                 Calexico           CA           92231
Shopify Biossance                    Kennyetta Dillon                     Kennyetta Dillon                         828 Saint John's Place, Apt 2R    Door code #2413            Brooklyn           NY           11216
Shopify Biossance                    Kira Powell                          Kira Powell                              14 Lakeview rd                                               Trout Creek        MT           59874
Shopify Biossance                    kourtney proffitt                    kourtney proffitt                        1071 Lake Carolyn Pkwy            Apt 1007                   Irving             TX           75039
Shopify Biossance                    Kristen Hershowitz                   Kristen Hershowitz                       220 Montgomery Street             suite 450                  San Francisco      CA           94104
Shopify Biossance                    Kristen Ohe                          Kristen Ohe                              4002 14th Avenue South                                       Seattle            WA           98108
Shopify Biossance                    Kseniia Darouze                      Kseniia Darouze                          3116 164th st SW                  Unit. 1002                 Lynnwood           WA           98087
Shopify Biossance                    Lacy Wittman                         Lacy Wittman                             4201 Sunset Dr.                   Apt 320                    Spring Park        MN           55384
Shopify Biossance                    Laura Isherwood                      Laura Isherwood                          66-19 54th Ave                                               Maspeth            NY           11378
Shopify Biossance                    Lauren Kinner                        Lauren Kinner                            2593 Mary Beth Dr.                                           Loveland           CO           80537
Shopify Biossance                    Lauren Murphy                        Lauren Murphy                            2780 Nattie Ct                                               Orlando            FL           32826
Shopify Biossance                    Lauren Rice                          Lauren Rice                              936 North Wolcott Avenue          Apt: Garden Front          Chicago            IL           60622




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Shopify Biossance                    Lauren Zenovka                       Lauren Zenovka                           738 Homer Ave                                                  Palo Alto          CA           94301
Shopify Biossance                    Leah Judkins                         Leah Judkins                             7027 FM 78                        APT 8305                     SAN ANTONIO        TX           78244-1381
Shopify Biossance                    Leah M Parisian                      Leah M Parisian                          2015 Draper Street                                             Delaware City      DE           19706
Shopify Biossance                    Leegan Lim                           Leegan Lim                               269 Chestnut Street Apt 304       Apt 304                      Nutley             NJ           07110
Shopify Biossance                    Leslie Sarrow                        Leslie Sarrow                            2112 Century Park Lane            Unit 410                     Los Angeles        CA           90067
Shopify Biossance                    Lia Kartika                          Lia Kartika                              6620 Darby Ave                                                 Reseda             CA           91335
Shopify Biossance                    Liliana Millan                       Liliana Millan                           12220 Valley Blvd,                suite D American Dental      El Monte           CA           91732
Shopify Biossance                    Linda Mau                            Linda Mau                                2444 Rooke Avenue                                              Honolulu           HI           96817
Shopify Biossance                    Lindsey Pizzo                        Lindsey Pizzo                            242 Rosey Lane                                                 Rutherfordton      NC           28139
Shopify Biossance                    Lisa Brice                           Shopify BiossanceLisa Brice              777 W. Chandler Blvd. Apt. 2302                                Chandler           AZ           85225
Shopify Biossance                    Madison McAllister                   Madison McAllister                       4076 Kekaulike Ln                                              Princeville        HI           96722-5500
Shopify Biossance                    maekawa shihori                      maekawa shihori                          4283 Express Lane                 Suite 6479-732               Sarasota           FL           34249
Shopify Biossance                    MARCI HOLCOMBE                       MARCI HOLCOMBE                           11 Mackenzie Circle                                            Fort Meade         SD           57741
Shopify Biossance                    Margareth Vargas                     Margareth Vargas                         743 Jefferson Ave                                              Elizabeth          NJ           07201
Shopify Biossance                    Maria Illidge                        Maria Illidge                            #F312285 Southwest 151st Street   # F306                       Miami              FL           33186
Shopify Biossance                    Mariana Aguilar                      MAriana Aguilar                          12710 Gable Wind Mill Lane                                     Houston            TX           77044
Shopify Biossance                    Mariana Cedillo                      Mariana Cedillo                          897 San Aleso Ave,                apt 2                        Sunnyvale          CA           94085
Shopify Biossance                    Marina Goktas                        Marina Goktas                            164 steelhammer rd                                             Silverton          OR           97381
Shopify Biossance                    Martha Dominguez                     Martha Dominguez                         50 Southampton Road               #7D                          Westfield          MA           01085-1348
Shopify Biossance                    Mary Yee                             Mary Yee                                 154 W Mohawk Street               Apt 6N                       Oswego             NY           13126
Shopify Biossance                    Maude Meeker c/o Morgan Brown        Maude Meeker c/o Morgan Brown            63 Arrowhead Road                                              Naples             ME           04055
Shopify Biossance                    Maureen Scherger                     Maureen Scherger                         2455 lariat Meadows Dr                                         Eugene             OR           97401
Shopify Biossance                    Maxie Young                          Maxie Young                              813 Garrison Drive                                             Saint Augustine    FL           32092
Shopify Biossance                    McCaffity Wester                     McCaffity Wester                         3425 Twin Lakes Ct                                             Mobile             AL           36571
Shopify Biossance                    McLellan Nancy                       McLellan Nancy                           1717 N. Verdugo Rd.               Apt. 315                     Glendale           CA           91208
Shopify Biossance                    Meg Jones                            Meg Jones                                100 W Matsonford Rd Bldg 5,       Ste 550                      Radnor             PA           19087
Shopify Biossance                    Megan Korte                          Megan Korte                              3787 Redwood Avenue                                            Los Angeles        CA           90066
Shopify Biossance                    Megan Oyler                          Megan Oyler                              9047 Thornhill Court                                           Springboro         OH           45066
Shopify Biossance                    Melanie Campbell                     Melanie Campbell                         90 East Seventh st                                             Leming             TX           78050
Shopify Biossance                    Melissa Holland                      Melissa Holland                          18214 Riverside Dr                                             Beverly Hills      MI           48205
Shopify Biossance                    Melissa Johnson                      Melissa Johnson                          19821 Deep Harbor                                              Huntington Beach   CA           92648
Shopify Biossance                    Melissa Moody                        Melissa Moody                            391 112th Ave N                   apt 1104                     Saint Petersburg   FL           33716
Shopify Biossance                    Melissa Thompson                     Melissa Thompson                         6052 37th Avenue Southwest                                     Seattle            WA           98126-3016
Shopify Biossance                    Mercedes Noriega                     Mercedes Noriega                         4240 Laurel Canyon Blvd           apt 301                      Studio City        CA           91604
Shopify Biossance                    Michelle Flandreau                   Michelle Flandreau                       1623 Taylor Ave N                 #102                         Seattle            WA           98109
Shopify Biossance                    Michelle SMith                       Michelle SMith                           548 e. Michigan Ave.                                           Salt Lake City     UT           84105
Shopify Biossance                    Moataz Sbeih                         Moataz Sbeih                             11638 Chesapeake Dr                                            Plainfield         IL           60585
Shopify Biossance                    Molly Martin                         Molly Martin                             6612 Xerxes Ave S                 #247                         Minneapolis        MN           55435
Shopify Biossance                    Molly Rosenbach                      Molly Rosenbach                          4105 Via Marina                   P102                         Marina del Rey     CA           90292
Shopify Biossance                    Morgan Yuhase                        Morgan Yuhase                            5571 Warren Dr                                                 Huntingtown        MD           20639
Shopify Biossance                    Nada Bushey                          Nada Bushey                              572 NW Mawrcrest Pl,                                           Gresham            OR           97030
Shopify Biossance                    Namphung Bish                        Namphung Bish                            201 East Pikes Peakes             Avenue #1609                 Colorado Springs   CO           80901
Shopify Biossance                    Nara Geleg                           Nara Geleg                               4805 42nd street                  apt 4H                       Sunnyside          NY           11104
Shopify Biossance                    Natalia Morales                      Natalia Morales                          850 E. 131st Pl.                                               Denver             CO           80241
Shopify Biossance                    natalie Dees                         natalie Dees                             6615 West 56th Street                                          Mission            KS           66202
Shopify Biossance                    Natalie Honsey                       Natalie Honsey                           7713 Redwood Ct                                                Shaw A F B         SC           29152
Shopify Biossance                    Natalie Yaldo                        Natalie Yaldo                            2188 Bel Aire                                                  West Bloomfield    MI           48323
Shopify Biossance                    Nedeya Stoyanova                     Nedeya Stoyanova                         505 West 100 South, 293           293                          Salt Lake City     UT           84101
Shopify Biossance                    Paige Givens                         Paige Givens                             1747 FM 1101                      apt 6201                     New Braunfels      TX           78130
Shopify Biossance                    Primrose Snith-Walker                Primrose Snith-Walker                    6700 192nd St                     APT. 203                     Fresh Meadows      NY           11365
Shopify Biossance                    Purseerat Singh                      Purseerat Singh                          1657 church st                                                 Evanston           IL           60201
Shopify Biossance                    Rebecca Wang                         Rebecca Wang                             Neighborhood Health Rx            10018 67th Ave               Rego Park          NY           11374
Shopify Biossance                    Rosalind Holliday                    Rosalind Holliday                        5870 Samet Drive STE 111                                       High Point         NC           27265
Shopify Biossance                    Rosemary Rosemary                    Rosemary Rosemary                        8315 Covington Ridge Cutoff                                    Westport           KY           40077
Shopify Biossance                    Samyul Ellyson                       Samyul Ellyson                           6366 bold regatta ct                                           Las Vegas          NV           89139
Shopify Biossance                    Sandy Lo                             Sandy Lo                                 188 Spear St.                     Suite 250                    San Francisco      CA           94105
Shopify Biossance                    Sara Lara-Ayon                       Sara Lara-Ayon                           5836 West 77th Place                                           Los Angeles        CA           90045
Shopify Biossance                    Sara Picard                          Sara Picard                              1936 McCloskey Street                                          Austin             TX           78723
Shopify Biossance                    Sarah Goldberg                       Sarah Goldberg                           325 Windy Pines Trail                                          Roswell            GA           30075
Shopify Biossance                    Sarah Sherman                        Sarah Sherman                            2 Guerrero St. Apt #105                                        San Francisco      CA           94103
Shopify Biossance                    Sarah Zietlow                        114 N Doheny Drive                       Apt 307                                                        Los Angeles        CA           90048
Shopify Biossance                    Sarom Pyun                           Sarom Pyun                               1801 Oleander Place                                            Davis              CA           95618
Shopify Biossance                    Shannon Soain                        Shannon Soain                            151 Daniel Dr                                                  Newnan             GA           30265
Shopify Biossance                    Sharonda Washington                  Sharonda Washington                      10207 Pintado                                                  Irvine             CA           92618
Shopify Biossance                    Shopify Biossance                    150 Elgin Street, Ste 800                                                                               Ottawa             ON           K2P 1L4      Canada
Shopify Biossance                    Shopify Biossance                    325 Public Street                        Media & Arts Center                                            Providence         RI           02905
Shopify Biossance                    Shopify Biossance                    5885 Hollis Street, Ste. 100                                                                            Emeryville         CA           94608
Shopify Biossance                    Shopify Biossance                    Shopify Biossance                        2004 Kingsley Circle                                           Johns Creek        GA           30022
Shopify Biossance                    Shopify Biossance                    Shopify Biossance                        840 S Clarizz Blvd                                             Bloomington        IN           47401
Shopify Biossance                    Shopify Biossance                    Shopify Biossance                        2708 Barton’s Bluff Lane                                       Austin             TX           78746
Shopify Biossance                    Simone Yuille                        Simone Yuille                            675 Marcy Ave                     Apt 6F                       Brooklyn           NY           11216
Shopify Biossance                    Sonam Diki                           Sonam Diki                               4242 80th street                  Apt 2K                       Elmhurst N         Y1           1373
Shopify Biossance                    Sophia jamie                         Sophia jamie                             17100 Amble Trail                                              Greenville         SC           29609
Shopify Biossance                    Sophie Klimcak c/o Anne Strathairn   Sophie Klimcak c/o Anne Strathairn       161 Nantucket Road                                             Shelton            WA           98584
Shopify Biossance                    Stacy Winkler                        Shopify BiossanceStacy Winkler           10 Parkland Avenue                                             Saint Louis        MO           63122
Shopify Biossance                    Stephanie Daniel                     Stephanie Daniel                         1338 Winterlake Dr.               Apt # 201                    Midlothian         VA           23113
Shopify Biossance                    Stephanie Mellini                    Stephanie Mellini                        4751 COCONUT PALM CIR NE                                       ST PETERSBURG      FL           33703-3145
Shopify Biossance                    Stephany Serrano                     Stephany Serrano                         6730 Bull Run Rd                  Miami Lakes                  Miami Lakes        FL           33014
Shopify Biossance                    Summer Shades                        c/o Sarah McDonnell                      36 Main St                                                     Edgartown          MA           02539




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Shopify Biossance                                      Susan Foong                               Susan Foong                              84 West Santa Clara Street            Suite 200                               San Jose             CA           95113
Shopify Biossance                                      Susan Jones                               Susan Jones                              5725 Washington Blvd                                                          Indianapolis         IN           46220
                                                                                                                                                                                please put in secure package drop box
Shopify Biossance                                      Swetha Maddipudi                          Swetha Maddipudi                         210 I Street NE                       2100                                    Washington           DC           20002
Shopify Biossance                                      Talia Goldstein                           Talia Goldstein                          1781 Sunny Heights Dr                                                         Los Angeles          CA           90032
Shopify Biossance                                      Tara Papanicolas                          Tara Papanicolas                         3420 MANOR ROAD                                                               Chevy Chase          MD           20815
Shopify Biossance                                      Tara Riva                                 Shopify Biossance                        98 dew mist lane,                                                             Acworth              GA           30101
                                                                                                                                          19107 San Saba River Court Building
Shopify Biossance                                      Tiffany McWilliams                        Tiffany McWilliams                       505                                   Building 505                            Cypress              TX           77433
Shopify Biossance                                      Tiffany Zygarewicz                        Shopify BiossanceTiffany Zygarewicz      41-023 Hilu St                                                                Waimanalo            HI           96795
Shopify Biossance                                      Tricia Backelin                           Tricia Backelin                          501 West Lake Ave                                                             Bayhead              NJ           08742
Shopify Biossance                                      Wen Ting Zheng                            Wen Ting Zheng                           36 Ferro Rd                                                                   Wolcott              CT           06705
Shopify Biossance                                      Whitney Obriant                           Whitney Obriant                          2601 n Richmond rd                    apt B19                                 Wharton              TX           77488
Shopify Biossance                                      Ximena Fajardo                            Ximena Fajardo                           15051 Royal Oaks Lane Apt# 2201       Apt# 2201                               Miami                FL           33181
Shopify Biossance                                      Xueyun Zheng                              Shopify Biossance                        700 Cobia Dr. Apt121                                                          Katy                 TX           77494
Shopify Biossance                                      Yumi Pak                                  Yumi Pak                                 5654 Bowesfield Place                                                         Los Angeles          CA           90016
Shopify Biossance                                      Yu-San Yang                               Shopify Biossance                        4256 Botanical Ave Apt 2,                                                     St. Louis            MO           63110
Shopify Biossance                                      Zaya Jargalsaikhan                        Zaya Jargalsaikhan                       75 Lyman Ave                                                                  Medford              MA           02155
Shopify Biossance                                      Zenetea Alexander                         Zenetea Alexander                        42699 Wardlaw Ter                                                             Ashburn              VA           20147
Shopify Costa Brazil                                   Brianna Fisher                            Brianna Fisher                           8612 Crocker Hill Road                                                        Caneadea             NY           14717
Shopify Costa Brazil                                   CostaBrazil.com                           5885 Hollis St., Ste 100                                                                                               Emeryville           CA           94608
                                                                                                                                          Hotel La Nouvelle République, 9 Rue
                                                                                                                                          Moret, 75011 Paris Tel: +44 7734    Hotel La Nouvelle République, 9 Rue       PARIS FRANCE
Shopify Costa Brazil                                   FAO Aisling Connell                       FAO Aisling Connell                      96437                               Moret, 75011 Paris Tel: +44 7734 96437    75011                                           France
Shopify Costa Brazil                                   Tatiana Tremblay                          Tatiana Tremblay                         13405 Contour Dr                                                              Sherman Oaks         CA           91423-4803
Shopify EcoFab                                         Beky Winkler                              1905 Union St.                                                                                                         Lakewood             CO           80215
Shopify EcoFab                                         Lisa Holenko                              529 S 2nd Ave                                                                                                          Frisco               CO           80443
Shopify EcoFab                                         Mary Severino                             21769 N 825 E Rd                                                                                                       Carlock              IL           61725
Shopify EcoFab                                         Shopify JVN                               5885 Hollis Street, Ste. 100                                                                                           Emeryville           CA           94608
Shopify Inc.                                                                                     150 Elgin Street, 8th Floor                                                                                            Ottawa               ON           K2P 1L7       Canada
Shopify Pipette                                        Aranya Douk bun                           1328 South 33rd Street                                                                                                 Philadelphia         PA           19146
Shopify Pipette                                        Sold to Customer                          Pipette.com                              5885 Hollis St., Ste 100                                                      Emeryville           CA           94608
Shopify Rose                                           Angela Hasnen                             7357 East Rochelle Circle                                                                                              Mesa                 AZ           85207
Shopify Rose                                           Atinuch Saimai (QR)                       Millennium Hotel Broadway Times Square   145 W 44th St                                                                 New York             NY           10036
Shopify Rose                                           Holly Sheppard                            Shopify Rose                             Pounts Mead                                                                   Woolgarston                       BH20 5JD      United Kingdom
                                                                                                                                                                                                                        Kangaroo Point QLD
Shopify Rose                                           Julie Griffin                             602/24 Wicklow Street                                                                                                  4169                                            Australia
Shopify Rose                                           Mara Zidaru                               Calea Rahovei nr 217                     Bl 12, sc 3, ap 83,                                                           Bucharest B 050896                              Romania
Shopify Rose                                           Monique Scott                             24 mid pines rd                                                                                                        Scarborough          ON           M1G 2L6       Canada
Shopify Rose                                           Rosio Fernandez                           4259 Minnesota Street                                                                                                  Pittsburgh           PA           15222
Shopify Rose                                           Shopify Rose                              5885 Hollis Street, Ste. 100                                                                                           Emeryville           CA           94608
Shopify Rose                                           Verena Wenzel                             Urlaubstraße 2a                          Apartment No. A314                                                            Würzburg 97076                                  Germany
SHOPPER COMERCIO BEAUTY LTDA                                                                     AV PRESIDENTE KENNEDY 2299                                                                                             OSASCO               SP           06298-190     Brazil
Shopstyle Inc                                                                                    Suite 670 999 Plaza Drive                                                                                              Schaumburg           IL           60173
Shoreditch Studios Ltd                                                                           37, Bateman's Row                                                                                                      London                            EC2A 3HH      United Kingdom
Short, Gregory                                                                                   Address Redacted
Shortlist Model and Talent Agency, LLC                                                                                                                                                                                  Mill Valley          CA           94941
Shou Sugi Ban House                                    Shou Sugi Ban House/Attn: Georgia Lynch   337 Montauk Highway                                                                                                    Water Mil            NY           11976
Shou Sugi Ban House / Attn: Georgia Lynch                                                        Address Redacted
Showtime Media Services Ltd.                                                                     27 Burymead Road Suite 2&3                                                                                             Hitchin, Herts       HT           SG5 1RT       United Kingdom
Shreeyansh DB Software Pvt Ltd.                                                                  Bdg - B; Office No 14, 2nd floor                                                                                       Pune                 13           411057        India
Shteyn, Melissa                                                                                  Address Redacted
Shu Pan                                                                                          Address Redacted
Shulman, Jodi                                                                                    Address Redacted
Shutters on the Beach Attn: Kristin
Miller/Conservation International Board of Directors
Meeting C/O: Jenna Lewanda                                                                       Address Redacted
Shutterstock, Inc                                                                                Shutterstock Inc Dept. CH 17445                                                                                        Palatine             IL           60055
Shyjan, Andrew                                                                                   Address Redacted
Shyu, Niles                                                                                      Address Redacted
Sibel Patino                                                                                     Address Redacted
Sidco                                                                                            6805 Silacci Way                                                                                                       Gilroy               CA           95020
Side of Sweet, LLC                                                                               1360 Wayland Street                                                            1360 Wayland Street                     San Francisco        CA           94134
Sidney Schliesman                                                                                Address Redacted
Sierra Brown                                                                                     Address Redacted
Sierra Hinzo                                                                                     Address Redacted
Sierra Trading- Pipette                                ASH: Ashville DC #0860                    4077 Airbase Road                                                                                                      Ashville             OH           43103
Sierra Trading- Pipette                                CHE:Cheyenne DC #0810                     5121 Campstool Road                                                                                                    Cheyenne             WY           82007
Sierra Trading- Pipette                                CHE:Cheyenne DC #0811                     5121 Campstool Road                                                                                                    Cheyenne             WY           82007
Sierra Trading- Pipette                                CHE:Cheyenne DC #0812                     5121 Campstool Road                                                                                                    Cheyenne             WY           82007
Sierra Trading- Pipette                                CHE:Cheyenne DC #0813                     5121 Campstool Road                                                                                                    Cheyenne             WY           82007
Sierra Trading- Pipette                                CHE:Cheyenne DC #0814                     5121 Campstool Road                                                                                                    Cheyenne             WY           82007
Sierra Trading- Pipette                                CHE:Cheyenne DC #0815                     5121 Campstool Road                                                                                                    Cheyenne             WY           82007
Sierra Trading- Pipette                                CHE:Cheyenne DC #0816                     5121 Campstool Road                                                                                                    Cheyenne             WY           82007
Sierra Trading- Pipette                                CHE:Cheyenne DC #0817                     5121 Campstool Road                                                                                                    Cheyenne             WY           82007
Sierra Trading- Pipette                                CHE:Cheyenne DC #0818                     5121 Campstool Road                                                                                                    Cheyenne             WY           82007
Sierra Trading- Pipette                                CHE:Cheyenne DC #0819                     5121 Campstool Road                                                                                                    Cheyenne             WY           82007
Sierra Trading- Pipette                                CHE:Cheyenne DC #0820                     5121 Campstool Road                                                                                                    Cheyenne             WY           82007
Sierra Trading- Pipette                                CHE:Cheyenne DC #0821                     5121 Campstool Road                                                                                                    Cheyenne             WY           82007




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Sierra Trading- Pipette                          CHE:Cheyenne DC #0822                        5121 Campstool Road                                                           Cheyenne               WY              82007
Sierra Trading- Pipette                          CHE:Cheyenne DC #0823                        5121 Campstool Road                                                           Cheyenne               WY              82007
Sierra Trading- Pipette                          Sierra Trading                               5025 Campstool Road                                                           Cheyenne               WY              82007
Sierra Trading- Pipette                          Sierra Trading                               PO Box 9171                                                                   Framingham             MA              01701
SightCall Inc.                                                                                330 Townsend Street                 Suite 209                                 San Francisco          CA              94107
Sigma-Aldrich Inc                                                                             PO Box 535182                                                                 Atlanta                GA              30353
Signguy                                                                                       2700 East Patrick Lane              Suite #20                                 Las Vegas              NV              89120
Signtech Electrical Advertising, In                                                           4444 Federal Blvd                                                             San Diego              CA              92102
Signum Dermalogix, Inc.                                                                       Suite 202 11 Deer Park Drive                                                  Monmouth Junction      NJ              08852
Silent Models USA LLC                                                                         147 West 4th Street, Apt #1                                                   New York               NY              10012
Silgan Dispensing Systems Corporation                                                         PO Box 74008971                                                               Chicago                IL              60674-8582

Silgan Dispensing Systems Thomaston Corporation                                               P.O. Box 7410224                                                              Chicago                IL              60674-0224
Silgan Plastics LLC                                                                           40 Powell Lane                                                                Penn Yan               NY              14527
Silicon Valley Bank                                                                           3003 Tasman Drive                                                             Santa Clara            CA              95054
Sillart, Alberto                                                                              Address Redacted
Silpac International                                                                          1850 Russell Ave                                                              Santa Clara            CA              95054
Siltech Corporation                                                                           225 Wicksteed Ave                                                             Toronto                ON              M4H 1G5      Canada
Silva, Andrew                                                                                 Address Redacted
Silver Lining Services, LLC                                                                   Jonathan Britt, P.O. Box 1543                                                 Bladenboro             NC              28320
Silverback                                                                                    #250 1414 Raleigh Road                                                        Chapel Hill            NC              27517
Silverson Machines Inc                                                                        355 Chestnut St PO Box 589                                                    East Longmeadow        MA              01028
Silverson Machines Inc.                                                                       355 Chestnut Street                                                           East Longmeadow        MA              01028
Silverstein, Emily                                                                            Address Redacted
Sim, Gin                                                                                      Address Redacted
Simmons, Robert Daniel                                                                        Address Redacted
Simmons, William                                                                              Address Redacted
Simon Morch                                                                                   Address Redacted
Sindy Yong                                                                                    Address Redacted
Singh, Jinelle                                                                                Address Redacted
Singh, Joseph                                                                                 Address Redacted
Singh, Navneet                                                                                Address Redacted
Singh, Pavanjit                                                                               Address Redacted
Singulier                                       Squadigital                                   1 rue du débarcadère                                                          Paris                  75              75017        France
Sir John                                                                                      Address Redacted
Sir John Official, LLC                                                                        122 S. Detroit St                                                             Los Angeles            CA              90036
Sirius Automation                                                                             318 W. Half Day Rd.                                                           Buffalo Grove          IL              60089
Sisson, Tami                                                                                  Address Redacted
Sitec Services, LLC                                                                           P.O. Box 790448                                                               St. Louis              MO              63179-0448
Sithirath, Rudy                                                                               Address Redacted
SIVAN AYLA                                                                                    Address Redacted
Sizelove, Milagro                                                                             Address Redacted
Skagit Valley Food Coop                                                                       202 S. 1st Street                                                             Mt. Vernon             WA              98273
Skidmore Sales and Distributing Co.                                                           3767 SOLUTIONS CENTER                                                         CHICAGO                IL              60677-3007
Skin Health Strategies LLC                                                                    111 S. Dixon Ave                                                              cARY                   NC              27511
Skin Note Inc.                                  Skin Note Inc.                                725 S Brea Canyon Rd, Ste 2                                                   Walnut                 CA              91789
Skincare Anarchy                                                                              151 centre st                       Apt 1328                                  Bayonne                NJ              07002
Skincare Anarchy LLC                                                                          151 East Centre Street              1328                                      Bayonne                NJ              07002
Skinner LLC dba School House                                                                  20 W 22nd St.                       Suite 614                                 New York               NY              10010
                                                                                                                                                                            Amsterdam Noo 1047
Skins Cosmetics B.V. | Costa Brazil              CJ HENDRIKS                                  Latexweg 10, Lood U                                                           BJ                                                  Netherlands
Skins Cosmetics B.V. | Costa Brazil              Skins Cosmetics B.V.                         Pletterij 3-5                                                                 Amstelveen             Noord-Holland   1185 ZK      Netherlands
Skins Cosmetics B.V. | Costa Brazil              Skins Cosmetics tav Attn: Jannita/Training   Pletterij 3                                                                   Amstelveen             Noord-Holland   1185ZK       Netherlands
Skins Cosmetics tav Training/ Attn: Jannita                                                   Address Redacted
Skolnik Industries, Inc.                                                                      P.O. BOX 1238                                                                 Bedford Park           IL              60499-1238
Skutecki, Brendon                                                                             Address Redacted
Skyframe                                                                                      28 Evans Terminal Road                                                        Hillside               NJ              07205
SL GOODS LLC-The Shop at The Standard High
Line | Costa Brazil                              SL GOODS LLC                                 23 E 4th Street, 5th Floor                                                    New York               NY              10003
SL GOODS LLC-The Shop at The Standard High       SL GOODS LLC-The Shop at The Standard
Line | Costa Brazil                              High Line                                    848 Washington Street                                                         New York               NY              10014
SLAACK Productions                                                                            1931 Montgomery Road                                                          Thousand Oaks          CA              91360
Slalom, LLC                                                                                   PO Box 101416                                                                 Pasadena               CA              91189
Slate Studios LLC                                                                             5102 21st Street                                                              Long Island City       NY              11101
Slaughter and May                                                                             47th Floor, Jardine House                                                     Hong Kong              HK              HKSAR        Hong Kong
SMA INDUSTRIA QUIMICA LTDA                                                                    FAZENDA SAO MARTINHO S/N                                                      PRADOPOLIS             SP              14850-000
Smartsheet Inc.                                                                               #1300 10500 NE 8th St                                                         Bellevue               WA              98004
Smith Anderson Blount Dorsett                    Mitchell & Jernigan, LLP                     PO Box 2611                                                                   Raleigh                NC              27602
Smith, Candra                                                                                 Address Redacted
Smith, Eric                                                                                   Address Redacted
Smith, Jacqueline                                                                             Address Redacted
Smith, Jonathan                                                                               Address Redacted
Smithers ERS Limited                                                                          108 Woodfield Drive                                                           Harrogate              YN              HG1 4LS      United Kingdom
Smithers ERS LLC                                                                              790 Main St.                                                                  Wareham                MA              02571
Snack Sound LLC                                                                               212 Parkside Place                                                            Indian Harbour beach   FL              32937
Snata Ghosh                                                                                   1002 Bromma                                                                   Stockholm Post                         168 66       Sweden
Snata Ghosh                                                                                   Solbergsvagen 64, Lgh 1002 Bromma                                             Stockholm Post                         16866        Sweden
Snegovskaia, Elena                                                                            Address Redacted
Snohomish Apothecary                                                                          722 Ave D                                                                     Snohomish              WA              98290




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Snowline Packaging Solutions, LLC                                             1422 S. 700 W.                                                                                                    Salt Lake City     UT           84014
SNP Communications                    MT2 Network                             403 Francisco St.                                                                                                 San Francisco      CA           94133
SNW Investment Group                  VITA Leadership                         253 Coleman Ave.                                                                                                  Santa Barbara      CA           93109
So Loud, Inc.                                                                 8439 Kirkwood Drive                                                                                               Los Angeles        CA           90046
Soban Fernandes Kertesz, Ana                                                  Address Redacted
SOBO Concepts, LLC                                                            401 E Las Olas Blvd                          #130-110                                                             Fort Lauderdale    FL           33100
SOC HOTELEIRA PRACA CASTRO ALVES S                                            PC CASTRO ALVES S/N, EDIF A TAR                                                                                   SALVADOR           BA           40020-160     Brazil
Social Art House                                                              1070 Norumbega Dr                                                                                                 Monrovia           CA           91016
Social Good Fund Inc.                 Unconcious Bias Project                 12651 San Pablo Ave                                                                                               Richmond           CA           94805
Social Impact Fund                                                            750 West 7th Street                          P.O. Box 811026                                                      Los Angeles        CA           90081
SOCIALEBS, LLC                                                                Suite 1013 39600 San Fernando Road                                                                                Los Angeles        CA           90015
SocialEdge, Inc dba CreatorIQ                                                 Suite 210 600 Corporate Pointe                                                                                    Culver City        CA           90230
Sociedade de Transportes              Colectivos do Porto S.A                 Avenida Fernão de Magalh, 1862, 13º                                                                               Porto                           4350-158      Portugal
Societe D'Exploitation De La Tour E                                           1 QUAI DE GRENELLE                                                                                                Paris                           75015         France
Society for Pediatric Dermatology                                             Suite 107 8365 Keystone Crossing                                                                                  Indianapolis       IN           46240
                                      C/O MUSEE DU QUAI BRANLY JACQUES
SOFEREST                              CH                                      222 rue de l'Université                                                                                           PARIS                           75007         France
Softchoice Corp                                                               16609 Collections Center Dr                                                                                       Chicago            IL           60693
SoftExpert Software, LLC                                                      Suite 800 2121 S Hiawassee Rd                                                                                     Orlando            FL           32801
Soheila Harouni                                                               Address Redacted
Soho House Beach House LLC                                                    4385 Collins Ave.                                                                                                 Miami Beach        FL           33140
Solanki, Pooja                                                                Address Redacted
SolarWinds Inc                        C/O SolarWinds Worldwide LLC            Building 4 7171 Southwest Parkway                                                                                 Austin             TX           78735
Solid Color Inc                                                               30 Broad street                              Unite 5                                                              Denville           NJ           07834
Solomon Partners, L.P.                                                        31st Floor 1345 Avenue of the Ameri                                                                               New York           NY           10105
Solomon, Samantha                                                             Address Redacted
                                                                              Hyundai Bldg 4F, Cheonho-daero 1224,
Solution Plus Korea                                                           Gangdong-gu                                                                                                       Seoul                           5360          Korea, Republic of
Solutus Legal Search, LLC                                                     Suite 150 203 Redwood Shores Parkwa                                                                               Redwood City       CA           94065
Solvay USA Inc.                                                               504 Carnegie Center Dr.                                                                                           Princeton          NJ           08540
Somin Cha/ CHANGSOON YANG                                                     Address Redacted
Sona Gasparian                                                                Address Redacted
Song, Ting Jie                                                                Address Redacted
Sonic Packaging Industries Inc.                                               35 Charles Street                                                                                                 Westwood           NJ           07675
Sony Biotechnology                                                            1730 North 1st Street                                                                                             San Jose           CA           95112
Soom Creative Inc.                                                            191 Main St #2048                                                                                                 Port Washington    NY           11051
Sophie Conti                                                                  Address Redacted
Sophie Katirai                                                                Address Redacted
Sophie Randall                                                                Address Redacted
SOPHIE Roche Conti                                                            Address Redacted
SoPost Inc.                                                                   110 Greene Street                            Suite 9C                                                             New York           NY           10012
Sopris Global Advisors LLC            John Ziegelman                          Apt 21B 1 East Delaware                                                                                           Chicago            IL           60611
Sorbent Technologies Inc                                                      5955 Peachtree Corners East                                                                                       Norcross           GA           30071
Soriano, Timothy                                                              Address Redacted
Sorrel Restaurant LLC                                                         3228 Sacramento Street                                                                                            San Francisco      CA           94115
Sosland Publishing Company                                                    Suite 650 4801 Main Street                                                                                        Kansas City        MO           64112
Sosmetal Products, Inc.                                                       2945 East Tioga Street                                                                                            Philadelphia       PA           19134
Sotheby’s c/o Cat Almonte                                                     Address Redacted
Sounding Board Labs Inc                                                       318 27068 LA PAZ RD                                                                                               Aliso Viejo        CA           92656
Sourlis, Athanasios                                                           Address Redacted
Sousa & Pimenta Atividades            Hoteleiras Unipessoal                   Rua do Ouro 274                                                                                                   Porto                           4150-554      Portugal
South Fork Instruments, Inc.                                                  3845 Buffalo Road                                                                                                 Auburn             CA           95602
Southeastern Laboratories, Inc.                                               P.O. Box 10189                                                                                                    Charlotte          NC           27532-0189
Southern Design & Mechanical, Inc                                             Suite 430 8229 Cloverleaf Drive                                                                                   Millersville       MD           21108
Southern Industrial Constructors                                              136 Roymac Drive                                                                                                  Wilmington         NC           28401
Southwest Sign Company                Fovell Enterprises Inc                  1852 Pomona Rd                                                                                                    Corona             CA           92878
SP Scientific                         SP Industries, INC.                     935 Mearns Rd.                                                                                                    Warminster         PA           18974
Space 519                             Space 519                               200 E. Chestnut St.                                                                                               Chicago            IL           60611
Space Cargo Valencia S.A.                                                     CALLE MENORCA, 17 -1                                                                                              VALENCIA           46           46023         Spain
Space NK                                                                      Address Redacted
Space NK Distribution Center                                                  Address Redacted
                                                                              Brandon Business Centre, Units 8-10 Putney
Space NK Inc | Costa Brazil           Provenance & Green / FAO Luke Elliott   Close                                                                                                             Brandon IP27 0PA                              United Kingdom
Space NK Inc | Costa Brazil           Space NK                                Attn: 1 Segro Park, Horsenden Lane South                                                                          Perivale UB6 7RL                              United Kingdom
                                                                              5th Floor Shropshire House, 11-20 Capper
Space NK Inc | Costa Brazil           Space NK Apothecary                     Street                                                                                                            London                          WC1E 6JA      United Kingdom
Space NK Inc | Costa Brazil           Space NK Distribution Centre            Units 5 & 10 - Telford Way                   East Acton                                                           London                          W3 7XS        United Kingdom
SPACE NK LIMITED- ROSE INC UK         SPACE NK                                UNIT 1 SEGRO PARK                            HORSENDEN LANE SOUTH                                                 PERIVALE UB6 7RL                              United Kingdom
SPACE NK LIMITED- ROSE INC UK         SPACE NK LIMITED                        5th Floor, SHROPSHIRE HOUSE                  11-20 CAPPER STREET                                                  LONDON                          WC1E 6JA      United Kingdom

Space NK LTD | Biossance              Luke Elliott                            Provenance & Green                           Unit 8-10, Brandon Business Centre   Putney Close                    London                          IP27 0PA      United Kingdom
Space NK LTD | Biossance              Space NK Distribution Center            Unit 1, Segro Park Perivale                  Horsenden Lane South                                                 Perivale UB6 7RL                              United Kingdom
Space NK LTD | Biossance              Space NK Distribution Centre            Units 5 & 10 Telford Way                                                                                          London                          W3 7XS        United Kingdom
                                                                              5th Floor Shropshire House, 11-20 Capper
Space NK LTD | Biossance              Space NK LTD                            Street                                                                                                            London                          WC1E 6JA      United Kingdom
Space NK LTD | Biossance | UK         Abbey Parkinson - Assistant Buyer       Space NK LTD, Biossance                      11-20 Capper Street                  Shropshire House                London                          WC1E 6JA      United Kingdom
Space NK LTD | Biossance | UK         Eva Miah SpaceNK                        Eva Miah SNK                                 Unit 1 Segro Park,                   Horsenden Lane South Perivale   London                          UB6 7RL       United Kingdom
Space NK LTD | Biossance | UK         Roshni Shah                             Amyris UK Trading Limited                    10-11 Clerkenwell Green                                              London                          EC1R 0DP      United Kingdom




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                     Creditor Name                      Attention                              Address 1                           Address 2                               Address 3           City                  State           Zip        Country
                                                                                                                                                                                       Melton Mowbray LE13
Space NK LTD | Biossance | UK          Unit 5                               Dynamic Merchandise                      Saxby Road Industrial Estate                                      1BS                                                 United Kingdom

Space NK LTD | JVN                     Luke Elliot                         Provenance & Green (Space NK)             Units 8-10 Brandon Business Centre     Putney Close               London                                IP27 0PA      United Kingdom
Space NK LTD | JVN | UK                Dan Perry                           10-11 Clerkenwell Green                                                                                     London                                EC1R 0DP      United Kingdom
Space NK LTD | JVN | UK                Nikki Elphic                        Space NK Distribution Center              Unit 1, Segro Park Perivale            Horsenden Lane South       Perivale UB6 7RH                                    United Kingdom
                                                                                                                                                                                       Perivale London UB6
Space NK LTD | Rose                    Space NK Distribution Center         Unit 1, Segro Park Perivale              Horsenden Lane South                                              7RL                                                 United Kingdom
SpaceNK / Attn: Gerardine O'Donohoe                                         Address Redacted
Sparks Events Marketing, LP                                                 2828 Charter Road                                                                                          Philadelphia          PA              19154-2111
SparkZero LLC dba theWrapBoutique                                           35 SE 6th Street                         Unit 106                                                          Miami                 FL              33131
Spate, Inc.                                                                 4th Floor 49-51 Elizabeth Street                                                                           New York              NY              10013
SpecialChem                                                                 100 Rue Petit                                                                                              Paris                 35              75019         France
Spectra Digital Imaging                                                     3812 Old Highway 100                                                                                       Labadie               MO              63055
Spectrum
Spectrum Chemical Mfg Corp             C/O Spectrum Lab Products Inc        769 Jersey Ave                                                                                             New Jersey            NJ              90074
Spex Sample Prep, LLC                                                       203 Norcross Avenue                                                                                        Metuchen              NJ              08840
                                                                                                                                                                                       SEPTEMES LES
SPI Pharma SAS                                                              Chemin du Vallon du Maire                                                                                  VALLONS                               13240         France
Spiegel Design Group, Inc.                                                  11693 San Vicente Blvd.                  Suite 501                                                         Los Angeles           CA              90049
SPINX Inc                                                                   911 West.Washington Blvd.                                                                                  Los Angeles           CA              90015
Spirax Sarco Inc                                                            PO Box 101160                                                                                              Atlanta               GA              30392-1160
Spireworks Pte Ltd                                                          Whse 02-30 No. 9 Kaki Bukit Rd 2, G                                                                        Singapore             SG              417842        Singapore
SPK Associates                                                              10648 Painter Avenue
SPK Associates                                                              2010 Crow Canyon Place                   Suite 100                                                         San Ramon             CA              94583
Sponenberg, Deanna                                                          Address Redacted
Sports Unlimited Talent Agency Inc.                                         PO Box 723                                                                                                 Lake Oswego           OR              97034
Sprenger, Aimee                                                             Address Redacted
Spring Creative, Inc                                                        6 St. Johns Lane                                                                                           New York              NY              10013
Spring Prairie HB                                                           6189 170th St N                                                                                            Hawley                MN              56549
Sprout Social, Inc.                                                         131 S. Dearborn Street                   Suite 700                                                         Chicago               IL              60603
Sprouts Farmers Market - Chula Vista                                        690 3rd Ave                                                                                                Chula Vista           CA              91910
Sprouts Farmers Market - Eastlake                                           878 Eastlake Parkway                                                                                       Chula Vista           AZ              91914

SPS Commerce                                                               SPS Commerce Inc                          333 South Seventh Street, Suite 1000                              Minneapolis           MN              55402
SPT Labtech Ltd                                                            Melbourn Science Park                                                                                       Melbourne, Royston    HT              SG8 6HB       United Kingdom
Squalan Natural Health BV                                                  CHURCHILLAAN 179 H                                                                                          Amsterdam                             1078 DX
Squire Patton Boggs                                                        7 Devonshire Square                                                                                         London                                136546        United Kingdom
Squire Patton Boggs (UK) LLP                                               2 and a Half Premier Place                                                                                  Leeds                 W Yorkshire     EC2M 4YH      United Kingdom
Squire Patton Boggs (US) LLP                                               PO Box 643051                                                                                               Cincinnati            OH              45264
SR&R Environmental                                                         P.O. Box 221                                                                                                Wilmington            NC              28402
SRA Instruments SAS                                                        Rue Des Sources, 210                                                                                        Marcy L'Etoile                        69280         France
SRG Woolf Group                                                            2841 Plaza Place Suite 210                                                                                  Raleigh               NC              27612
SRLV LLP                                                                   Eisley Court 20-22 Great Titchfield                                                                         London                                W1W 8BE       United Kingdom
SS Digitech Inc                                                            8950 West Olympic Blvd                    Suite 719                                                         Beverly Hills         CA              90211
SSCI                                   A division of AMRI                  3065 Kent Ave.                                                                                              West Lafayette        IN              47906
SSL Law Firm LLP                                                           575 Market Street Suite 2700                                                                                San Francisco         CA              94105
ST CROIX SENSORY INC                   STILLWATER BLVD NO                  1150 STILLWATER BLVD NO                                                                                     STILLWATE             MN              55082
STÃ‰PHANIE GAZEL                                                           45BIS RUE DES ACACIAS                                                                                       Paris                 ILE DE FRANCE   75017         France
Staci Lee Studios Ltd                                                      22 Carlton mansions, Holmleigh rd                                                                           London                                N16 5PX       United Kingdom
Stacie Gillian                                                             Address Redacted
Stadelman, Andrea                                                          Address Redacted
Stafford, Stefanie                                                         Address Redacted
Stalle Studios LLC                     Elizabeth Hand                      Stalle Studios LLC                        66 Crosby Street                       APT 5E                     New York              NY              10012
Stalle Studios LLC                     Stalle Studios LLC                  145 6th Avenue, 7th Floor                                                                                   New York              NY              10013
Standard Dose / Attn: Buying                                               Address Redacted
Standard Dose- Costa Brazil            Standard Dose / Attn: Buying        1145 Broadway, 2nd Floor                  2nd Floor                                                         New York              NY              10001
Standard Dose- Costa Brazil            Standard Dose, Inc                  500 Bic Drive, Building 2, Suite 1                                                                          Milford               CT              06461
Standard Dose Inc.- Pipette            Standard Dose Inc.                  1145 Broadway                                                                                               New York              NY              10001
Standard Dose Inc.- Pipette            Standard Dose Inc.                  500 Bic Dr                                Building 2, Suite 1                                               Milford               CT              06461
Standard Insurance Company             The Standard                        P.O. Box 3789                                                                                               Portland              OR              97208
Stankiewiz, Jamie                                                          Address Redacted
Stanton, Taylor                                                            Address Redacted
Staples Business Advantage             Dept LA 1368                        PO BOX 105748                                                                                               Atlanta               GA              30348-5748
Starfish Liberation Army                                                   273 Sussex Street                                                                                           San Francisco         CA              94131
Starr, Kristina                                                            Address Redacted
Stars Management                                                           23 Grant Ave                                                                                                San Francisco         CA              94108
Starworks Artists, LLC                                                     #250 110 S. Fairfax                                                                                         Los Angeles           CA              90036
Stas Komarovski Inc.                                                       21 Peach Orchard Ln                                                                                         Bantam                CT              06750
Stasiak, Brittany                                                          Address Redacted
Statco Engineering and Fabricators                                         PO Box 102373                                                                                               Pasadena              CA              91189-2373
State Artist Management LLC                                                525 7th Avenue                            Suite 904                                                         New York              NY              10018
State Corporation Commission                                               Clerk's Office, PO Box 7621                                                                                 Merrifield            VA              22116
State Of Alabama                       Office Of The Attorney General      501 Washington Ave                                                                                          Montgomery            AL              36104
State Of Alabama                       Office Of The Attorney General      501 Washington Ave                                                                                          Montgomery            AL              36104
State Of Alaska                        Office Of The Attorney General      1031 W 4th Ave, Ste 200                                                                                     Anchorage             AK              99501
State Of Alaska                        Office Of The Attorney General      1031 W 4th Ave, Ste 200                                                                                     Anchorage             AK              99501
State Of Arizona                       Office Of The Attorney General      2005 N Central Ave                                                                                          Phoenix               AZ              85004
State Of Arizona                       Office Of The Attorney General      2005 N Central Ave                                                                                          Phoenix               AZ              85004




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State Of Arkansas                    Office Of The Attorney General    323 Center St, Ste 200                                                                               Little Rock      AR           72201
State Of Arkansas                    Office Of The Attorney General    323 Center St, Ste 200                                                                               Little Rock      AR           72201
State Of California                  Office Of The Attorney General    P.O. Box 944255                                                                                      Sacramento       CA           94244-2550
State Of California                  Office Of The Attorney General    P.O. Box 944255                                                                                      Sacramento       CA           94244-2550
State Of Colorado                    Office Of The Attorney General    Ralph L. Carr Judicial Building          1300 Broadway, 10Th Fl                                      Denver           CO           80203
State Of Colorado                    Office Of The Attorney General    Ralph L. Carr Judicial Building          1300 Broadway, 10Th Fl                                      Denver           CO           80203
State Of Connecticut                 Office Of The Attorney General    55 Elm St                                                                                            Hartford         CT           06106
State Of Connecticut                 Office Of The Attorney General    55 Elm St                                                                                            Hartford         CT           06106
State Of Delaware                                                      Department Of Justice                    Carvel State Office Building     820 N French Street        Wilmington       DE           19801
State Of Florida                     Office Of The Attorney General    The Capitol Pl-01                                                                                    Tallahassee      FL           32399
State Of Florida                     Office Of The Attorney General    The Capitol PlǦ01                                                                                    Tallahassee      FL           32399
State Of Georgia                     Office Of The Attorney General    40 Capitol Sq Sw                                                                                     Atlanta          GA           30334
State Of Georgia                     Office Of The Attorney General    40 Capitol Sq Sw                                                                                     Atlanta          GA           30334
State Of Hawaii                      Office Of The Attorney General    425 Queen Street                                                                                     Honolulu         HI           96813
State Of Hawaii                      Office Of The Attorney General    425 Queen Street                                                                                     Honolulu         HI           96813
State Of Idaho                       Office Of The Attorney General    700 W. Jefferson St, Suite 210                                                                       Boise            ID           83720
State Of Idaho                       Office Of The Attorney General    700 W. Jefferson St, Suite 210                                                                       Boise            ID           83720
State Of Illinois                    Office Of The Attorney General    James R. Thompson Center                 100 W. Randolph St                                          Chicago          IL           62706
State Of Illinois                    Office Of The Attorney General    James R. Thompson Center                 100 W. Randolph St                                          Chicago          IL           62706
State Of Indiana                     Office Of The Attorney General    Indiana Government Center South          302 W Washington St 5Th Fl                                  Indianapolis     IN           46204
State Of Indiana                     Office Of The Attorney General    Indiana Government Center South          302 W Washington St 5Th Fl                                  Indianapolis     IN           46204
State Of Iowa                        Office Of The Attorney General    Hoover State Office Building             1305 E. Walnut Street Rm 109                                Des Moines       IA           50319
State Of Iowa                        Office Of The Attorney General    Hoover State Office Building             1305 E. Walnut Street Rm 109                                Des Moines       IA           50319
State Of Kansas                      Office Of The Attorney General    120 SW 10Th Ave, 2nd Fl                                                                              Topeka           KS           66612
State Of Kansas                      Office Of The Attorney General    120 SW 10Th Ave, 2nd Fl                                                                              Topeka           KS           66612
State Of Kentucky                    Office Of The Attorney General    Capitol Building                         700 Capitol Ave Ste 118                                     Frankfort        KY           40601
State Of Kentucky                    Office Of The Attorney General    Capitol Building                         700 Capitol Ave Ste 118                                     Frankfort        KY           40601
State Of Louisiana                   Office Of The Attorney General    1885 N. Third St                                                                                     Baton Rouge      LA           70802
State Of Louisiana                   Office Of The Attorney General    1885 N. Third St                                                                                     Baton Rouge      LA           70802
State Of Maine                       Office Of The Attorney General    6 State House Station                                                                                Augusta          ME           04333
State Of Maine                       Office Of The Attorney General    6 State House Station                                                                                Augusta          ME           04333
State Of Maryland                    Office Of The Attorney General    200 St. Paul Pl                                                                                      Baltimore        MD           21202
State Of Maryland                    Office Of The Attorney General    200 St. Paul Pl                                                                                      Baltimore        MD           21202
State Of Massachusetts               Office Of The Attorney General    1 Ashburton Place, 20Th Floor                                                                        Boston           MA           02108
State Of Massachusetts               Office Of The Attorney General    1 Ashburton Place, 20Th Floor                                                                        Boston           MA           02108
State Of Michigan                    Office Of The Attorney General    G. Mennen Williams Building, 7Th Floor   525 W Ottawa St                                             Lansing          MI           48909
State Of Michigan                    Office Of The Attorney General    G. Mennen Williams Building, 7Th Floor   525 W Ottawa St                                             Lansing          MI           48909
State Of Minnesota                   Office Of The Attorney General    445 Minnesota St, Ste 1400                                                                           St. Paul         MN           55101
State Of Minnesota                   Office Of The Attorney General    445 Minnesota St, Ste 1400                                                                           St. Paul         MN           55101
State Of Mississippi                 Office Of The Attorney General    Walter Sillers Building                  550 High St Ste 1200                                        Jackson          MS           39201
State Of Mississippi                 Office Of The Attorney General    Walter Sillers Building                  550 High St Ste 1200                                        Jackson          MS           39201
State Of Missouri                    Office Of The Attorney General    Supreme Court Building                   207 W High St                                               Jefferson City   MO           65101
State Of Missouri                    Office Of The Attorney General    Supreme Court Building                   207 W High St                                               Jefferson City   MO           65101
State Of Montana                     Office Of The Attorney General    215 N. Sanders                           Justice Building, Third Fl                                  Helena           MT           59601
State Of Montana                     Office Of The Attorney General    215 N. Sanders                           Justice Building, Third Fl                                  Helena           MT           59601
State Of Nebraska                    Office Of The Attorney General    2115 State Capitol                                                                                   Lincoln          NE           68509
State Of Nebraska                    Office Of The Attorney General    2115 State Capitol                                                                                   Lincoln          NE           68509
State Of Nevada                      Office Of The Attorney General    Old Supreme Court Building               100 N Carson St                                             Carson City      NV           89701
State Of Nevada                      Office Of The Attorney General    Old Supreme Court Building               100 N Carson St                                             Carson City      NV           89701
State Of New Hampshire               Office Of The Attorney General    Nh Department Of Justice                 33 Capitol St.                                              Concord          NH           03301
State Of New Hampshire               Office Of The Attorney General    Nh Department Of Justice                 33 Capitol St.                                              Concord          NH           03301
State of New Jersey                  Dept fo Treasury                  PO Box # 308                                                                                         Trenton          NJ           08625-0308
State Of New Jersey                  Office Of The Attorney General    Richard J. Hughes Justice Complex        25 Market St 8Th Fl, West Wing                              Trenton          NJ           08611
State Of New Jersey                  Office Of The Attorney General    Richard J. Hughes Justice Complex        25 Market St 8Th Fl, West Wing                              Trenton          NJ           08611
STATE OF NEW JERSEY Dept. of Labor   Division of Employer Accounts     PO Box 929                                                                                           Trenton          NJ           08625-0929
State Of New Mexico                  Office Of The Attorney General    408 Galisteo Street                      Villagra Building                                           Santa Fe         NM           87501
State Of New Mexico                  Office Of The Attorney General    408 Galisteo Street                      Villagra Building                                           Santa Fe         NM           87501
State Of New York                    Office Of The Attorney General    The Capitol                              2nd Floor                                                   Albany           NY           12224
State Of New York                    Office Of The Attorney General    The Capitol                              2nd Floor                                                   Albany           NY           12224
State Of North Carolina              Office Of The Attorney General    114 W Edenton St                                                                                     Raleigh          NC           27603
State Of North Carolina              Office Of The Attorney General    114 W Edenton St                                                                                     Raleigh          NC           27603
State Of North Dakota                Office Of The Attorney General    State Capitol, 600 E Boulevard Ave       Dept. 125                                                   Bismarck         ND           58505
State Of North Dakota                Office Of The Attorney General    State Capitol, 600 E Boulevard Ave       Dept. 125                                                   Bismarck         ND           58505
State Of Ohio                        Office Of The Attorney General    State Office Tower                       30 E Broad St 14Th Fl                                       Columbus         OH           43215
State Of Ohio                        Office Of The Attorney General    State Office Tower                       30 E Broad St 14Th Fl                                       Columbus         OH           43215
State Of Oklahoma                    Office Of The Attorney General    313 Ne 21St St                                                                                       Oklahoma City    OK           73105
State Of Oklahoma                    Office Of The Attorney General    313 Ne 21St St                                                                                       Oklahoma City    OK           73105
State Of Oregon                      Office Of The Attorney General    1162 Court St Ne                                                                                     Salem            OR           97301
State Of Oregon                      Office Of The Attorney General    1162 Court St Ne                                                                                     Salem            OR           97301
State Of Pennsylvania                Office Of The Attorney General    Strawberry Square 16Th Fl                                                                            Harrisburg       PA           17120
State Of Pennsylvania                Office Of The Attorney General    Strawberry Square 16Th Fl                                                                            Harrisburg       PA           17120
State Of Rhode Island                Office Of The Attorney General    150 S Main St                                                                                        Providence       RI           02903
State Of Rhode Island                Office Of The Attorney General    150 S Main St                                                                                        Providence       RI           02903
State Of South Carolina              Office Of The Attorney General    Rembert C. Dennis Bldg                   1000 Assembly St Rm 519                                     Columbia         SC           29201
State Of South Carolina              Office Of The Attorney General    Rembert C. Dennis Bldg                   1000 Assembly St Rm 519                                     Columbia         SC           29201
State Of South Dakota                Office Of The Attorney General    1302 E Highway 14, Ste 1                                                                             Pierre           SD           57501
State Of South Dakota                Office Of The Attorney General    1302 E Highway 14, Ste 1                                                                             Pierre           SD           57501
State Of Tennessee                   Office Of The Attorney General    301 6Th Ave N                                                                                        Nashville        TN           37243
State Of Tennessee                   Office Of The Attorney General    301 6Th Ave N                                                                                        Nashville        TN           37243




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                                                                                                                                  Creditor Matrix



                     Creditor Name                          Attention                                 Address 1                                Address 2                    Address 3            City           State           Zip        Country
State Of Texas                           Office Of The Attorney General            300 W. 15Th St                                                                                       Austin             TX           78701
State Of Texas                           Office Of The Attorney General            300 W. 15Th St                                                                                       Austin             TX           78701
State Of Utah                            Office Of The Attorney General            Utah State Capitol Complex                     350 North State St Ste 230                            Salt Lake City     UT           84114
State Of Utah                            Office Of The Attorney General            Utah State Capitol Complex                     350 North State St Ste 230                            Salt Lake City     UT           84114
                                         Office Of The Attorney General, Sean D.
State Of Utah                            Reyes                                     State Capitol, Room 236                                                                              Salt Lake City     UT           84114
                                         Office Of The Attorney General, Sean D.
State Of Utah                            Reyes                                     State Capitol, Room 236                                                                              Salt Lake City     UT           84114
State Of Vermont                         Office Of The Attorney General            109 State St.                                                                                        Montpelier         VT           05609
State Of Vermont                         Office Of The Attorney General            109 State St.                                                                                        Montpelier         VT           05609
State Of Virginia                        Office Of The Attorney General            202 N. Ninth St.                                                                                     Richmond           VA           23219
State Of Virginia                        Office Of The Attorney General            202 N. Ninth St.                                                                                     Richmond           VA           23219
State Of Washington                      Office Of The Attorney General            1125 Washington St Se                                                                                Olympia            WA           98501
State Of Washington                      Office Of The Attorney General            1125 Washington St Se                                                                                Olympia            WA           98501
State Of Washington                      Office Of The Attorney General            PO Box 40100                                                                                         Olympia            WA           98504-00
State Of Washington                      Office Of The Attorney General            PO Box 40100                                                                                         Olympia            WA           98504-00
State Of West Virginia                   Office Of The Attorney General            State Capitol, 1900 Kanawha Blvd E             Building 1 Rm E-26                                    Charleston         WV           25305
State Of West Virginia                   Office Of The Attorney General            State Capitol, 1900 Kanawha Blvd E             Building 1 Rm E-26                                    Charleston         WV           25305
State Of Wisconsin                       Office Of The Attorney General            17 West Main Street, Room 114 East P                                                                 Madison            WI           53702
State Of Wisconsin                       Office Of The Attorney General            17 West Main Street, Room 114 East P                                                                 Madison            WI           53702
State Of Wyoming                         Office Of The Attorney General            Kendrick Building                              2320 Capitol Ave                                      Cheyenne           WY           82002
State Of Wyoming                         Office Of The Attorney General            Kendrick Building                              2320 Capitol Ave                                      Cheyenne           WY           82002
Statement Artists Management, Inc.                                                 71 WEST 23RD STREET                            Suite 302                                             New York           NY           10010
Stateside LLC                                                                      38505 Riverside Dr                                                                                   Clinton Township   CA           48036
Steam Logistics LLC                                                                Suite 204 325 Market Street                                                                          Chattanooga        TN           37402
Steel House, Inc.                                                                  PO Box 5286                                                                                          Culver City        CA           90231
Steele Vadnais, Heather                                                            Address Redacted
Steep Hill Lab                           C3 Labs LLC                               2448 6th St.                                                                                         Berkeley           CA           94710
                                                                                   Studio 503, The Archives, Unit 10 High Cross
Stefan Ebelewicz Photography                                                       Centre                                                                                               London                          N15 4BE       United Kingdom
Stefan Wittocx                                                                     Kloosterstraat 4                                                                                     Brussels                        01020
Stefania Spampinato                                                                Address Redacted
Stein, Kristina                                                                    Address Redacted
Steller Packing Limited, Units XYZ                                                 Address Redacted
Step Won LLC                                                                       813 Southwest Raintree Lane                    Suite 7                                               Bentonville        AR           72712
Stephanie Keene / Bluemercury                                                      Address Redacted
Stephanie Keene / Bluemercury                                                      Address Redacted
Stephanie Ledda                                                                    Address Redacted
Stephanie Meyers                                                                   Address Redacted
Stephanie Radovich                                                                 Address Redacted
Stephanie Simons                                                                   Address Redacted
Stephen Gould Corporation                                                          Address Redacted
Stephen Michael Simon                                                              Address Redacted
Stephen Newell                                                                     Address Redacted
Stephen Sharp                                                                      Address Redacted
Stephens, Hannah                                                                   Address Redacted
Stephens, Jason                                                                    Address Redacted
StephShep Inc.                                                                     F17 9460 Wilshire Blvd.                                                                              Beverly Hills      CA           90212
Sterling                                                                           PO Box 102255                                                                                        Pasadena           CA           91189
Sterlitech Corp                                                                    4620 B St NW, Suite 101                                                                              Auburn             WA           98001-1763
Stett Transportation                                                               224 Grandview Drive                                                                                  Ft Mitchell        KY           41017
Stetts Model Management, Inc                                                       835 E Dilido Dr                                                                                      Miami Beach        FL           33139
Steven Galloway                                                                    Address Redacted
Steven Gregory Photography                                                         1001 46th Street #513                                                                                Emeryville         CA           94608
Steven Mianowski                                                                   Address Redacted
Steven R Mills                                                                     Address Redacted
Steven Wildenberg                                                                  Address Redacted
Stevens, Mayana                                                                    Address Redacted
STEVIAFARMA INDUSTRIAL AS                                                          RUA STEVIA 300                                                                                       MARINGA            PR           87070-110     Brazil
Stewardship Solutions Ltd                                                          Green Lowe Farm, Shawclough Road                                                                     Rossendale         LA           BB4 9SA       United Kingdom
Stewart Ward & Josephson LLP             Attention: Winnifred C. Ward, Esq.        1601 Response Road                             Suite 360                                             Sacramento         CA           95815
Stewart Ward & Josephson LLP             Attention: Winnifred C. Ward, Esq.        Attention: Winnifred C. Ward, Esq.             1601 Response Road           Suite 360                Sacramento         CA           95815
Sticher Media LLC                                                                  PO Box 22560                                                                                         New York           NY           10020
Stichting Hermitage aan de Amstel                                                  Amstel 51                                                                                            Amsterdam                       1018 DR       Netherlands
Sticker.com, Inc.                                                                  26 Railroad Ave                                                                                      Babylon            NY           11702-2216
Stilwell & Associates, Inc.                                                        212 Simmons Drive                                                                                    Wilmington         NC           28411
Stimare LLC                                                                        4730 Tejon St                                                                                        Denver             CO           80211
Stine Karlsen                                                                      Address Redacted
Stine Karlsen                                                                      Address Redacted
Stock & Option Solutions Inc                                                       1475 S. Bascom Ave Suite 203                                                                         Campbell           CA           95008-0603
Stoeckle, David                                                                    Address Redacted
Stoermer, Pearl                                                                    Address Redacted
Stolt-Nielsen USA Inc                                                              PO Box 7247-7357                                                                                     Philadelphia       PA           19170-7357
Stone, Jonathan                                                                    Address Redacted
Store Manager                                                                      Address Redacted
Store Manager - HAND SANITIZER REFILLS                                             Address Redacted
Storslett, Kari                                                                    Address Redacted
Storslett, Nicole                                                                  Address Redacted
Stour Group LLC                                                                    Address 191 Lafayette Street                                                                         New York           NY           10013




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                    Creditor Name                                Attention                             Address 1                            Address 2               Address 3             City                State           Zip           Country
Stout Risius Ross, LLC                                                              One South Wacker Drive                                                                      Chicago              IL               60606
Stowell, Timothy                                                                    Address Redacted
Strategic Innovation Ltd                                                            17D Sturton Street                                                                          Cambridge            CA               CB1 2SN       United Kingdom
Streams LLC                                                                         23749 Hopewell Manor Ter                                                                    Ashburn              VA               20148
Stribling, Jason                                                                    Address Redacted
Stripe, Inc                                                                         3180 18th Street                                                                            San Francisco        CA               94110
Strombom, Nicole                                                                    Address Redacted
Strukmyer Medical                                                                   1801 Big Town Boulevard                    Suite 100                                        Mesquite             TX               75149
Strukmyer, LLC v. Amyris Clean Beauty, Inc.   Kenneth W. Sloan                      Sloan & Roberts PLLC                       5151 Belt Line Rd.       Ste. 150                Dallas               Texas            75254
Struktol                                                                            Moorfleeter Strasse 28                                                                      Hamburg              02               22113         Germany
Stuart W. Johnson & Co., Inc.                                                       1002 Mobile Street                                                                          Lake Geneva          WI               53147
Studio 99 Limited                                                                   33 Great Portland Street                                                                    London                                W1W8QG        United Kingdom
Studio Adele Park LLC                                                               267 Linden Street                                                                           San Francisco        CA               94102
Studio B Films, Inc.                                                                Suite B 2121 Bonar Street                                                                   Berkeley             CA               94702
Studio Case LLC                                                                     141 Wooster St., 4A                                                                         New York             NY               10012
Studio Creme Ltd                                                                    Studio AL21 - Alloy House, Moulding Lane                                                    London                                SE146BH       United Kingdom
Studio Forty Four Design Group LTD                                                  325 West 38th Street                       Suite 1101                                       New York             NY               10018
Studio MPLS LLC                                                                     4009 East Lake Street                                                                       Minneapolis          MN               55406
Studio Pearson, Inc                                                                 473 Humboldt St                            #2L                                              Brooklyn             NY               11211
Studio Yama, LLC                                                                    480 St. Marks Ave.                         Apt 401                                          Brooklyn             NY               11238
StudioXAG Limited                                                                   5 Argall Avenue                                                                             London               London           E10 7QE       United Kingdom
Stulic, Jelica                                                                      Address Redacted
Suan, Gretchen                                                                      Address Redacted
Sublime HQ Pty. Ltd.                                                                46 Adelaide Street                                                                          Woollahra            NSW              02028
Submittable Holdings Inc.                                                           PO Box 8255                                                                                 Missoula             MT               59807
SUCESORES DE JOSE JESUS                       RESTREPO Y CIA S A                    CR 23 64 B 33 TO A SEC EL CABLE S/N                                                         MANIZALES            17               170002        Colombia
Sudhin Biopharma Corporation                                                        685 E. Heartstrong St                                                                       Superior             CO               80027
Sugar Foods Corporation                                                             9500 El Dorado Avenue                                                                       Sun Valley           CA               91352
Suggs, Samantha                                                                     Address Redacted
Suh, Christine                                                                      Address Redacted
Sulit, Yvette                                                                       Address Redacted
summer jensen                                                                       Address Redacted
Summercroft LTD.                                                                    14 Pavilion Apartments                                                                      London                                NW8 7HB       United Kingdom
Summit Design Group, Inc.                                                           P.O. Box 995                                                                                Bladenboro           NC               28320
Summit Logistics Group                                                              PO Box 2789                                                                                 Wilmington           NC               28402
Sumo Creative Limited                                                               3 Broadway Buildings                                                                        Bromley              KE               BR1 1LW       United Kingdom
Sun Life Assurance Company of Canad                                                 96 Worcester Street                                                                         Wellesley Hills      MA               02481
Sun, Amy                                                                            Address Redacted
Sun, Jeffrey                                                                        Address Redacted
Sunland Nutrition, Inc                                                              Suite E 1150N Red Gum Street                                                                Anaheim              CA               92806
Sunny Studios                                                                       1406 Pinewood Ct                                                                            Longmont             CO               80504
Sunrise Genetics Inc                                                                PO Box 2372                                                                                 Fort Collins         CO               80525
Sunrise Science Products, Inc.                                                      Suite A 127 Perimeter Park Rd.                                                              Knoxville            TN               37922
Super Fan Media, LLC                                                                40 Trumbull Ave                                                                             Stonington           CT               06378
Superior Cranes Inc.                                                                P.O. Box 2371                                                                               Rockingham           NC               28380
Superior Industrial Contractors                                                     P.O. Box 310                                                                                Rockingham           NC               28380
Superior Press                                C/O Superior Printing, Inc.           9440 Norwalk Blvd.                                                                          Santa Fe Springs     CA               90670
SuperOrdinaryCO USA Inc.                      SuperOrdinaryCO USA Inc.              660 Newport Center Drive, STE 1600                                                          Newport Beach        CA               92660
SuperOrdinaryCO USA Inc.                      SuperOrdinaryCO USA Inc.              7466 Carroll Road                          Suite 101                                        San Diego            CA               92121
SURE                                                                                Address Redacted
SURE / ATTN: MIKE THOMAS                                                            Address Redacted
SURFACE IMPROVEMENTS PVT LTD                                                        Sy No.20, Alahalli Telephone Exc                                                                                                  560108        India
Surplus Solutions LLC                                                               2010 Diamond Hills Road                                                                     Woonsocket           RI               02895
Susan S Mueller                                                                     Address Redacted
Susanne Evans                                                                       Address Redacted
Sustainable Composites                                                              1919 Olde Homestead Ln, Ste 102                                                             Lancaster            PA               17601
Sutter VNA and Hospice                        C/O Sutter Visiting Nurses Associat   1900 Powell Street, Suite 300                                                               Emeryville           CA               94608
Suttons International N.A. Inc.                                                     Suite 200 101 Crawfords Corner Road                                                         Holmdel              NJ               07733
Sutton's Safety Shoes                                                               7943 Hwy 70 West                                                                            La Grange                             28551
Suzy, Inc.                                                                          228 Park Ave South                         PMB 85529                                        New York             NY               10003-1502
Sverdlik, Galina                                                                    Address Redacted
SVI                                                                                 12261 Nations Ford Road                                                                     Pineville            NC               28134
Swagelok Northern California                                                        3393 West Warren Ave                                                                        Fremont              CA               94538
Swanky Catering & Events                                                            2300 23rd Ave                                                                               Oakland              CA               94606
Sweet Note Foods                                                                    100 Danforth Avenue                                                                         Dobbs Ferry          NY               10522
Sweet Note Foods                                                                    6 Old Bethel Rd                                                                             Newtown              CT               06470
Sweet Solutions LLC                                                                 25503 W Ruff Street                                                                         Plainfield           IL               60585
Swinbank, Autumn                                                                    Address Redacted
Swing Media Inc                                                                     7421 Beverly Blvd                          Suite 13                                         Los Angeles          CA               90036
Switchbox Developments (M) Sdn Bhd                                                  No. 41, Lorong Dedalu, Batu 4 1/2 J                                                         Kuala Lumpur         KUL              55000         Malaysia
SXSW, LLC                                                                           PO Box 685289                                                                               Austin               TX               78768
Sycomp, A Technology Company, Inc.                                                  950 Tower Lane, Suite 1785                                                                  Foster City          CA               94404
Sydney Poulton                                                                      Address Redacted
Syed, Husna                                                                         Address Redacted
Sylvia Gonzalez                                                                     Address Redacted
SYMRISE AROMAS E FRAGRANCIAS LTDA                                                   AV PAULO VARCHAVTCHIK 200-01                                                                SOROCABA             SP               18087-190     Brazil
Symrise LTDA                                  Purecircle USA, Inc.                  Carrera 58 NO 9-54 Puente Aranda                                                            Bogota                                111611        Colombia
                                                                                                                                                                                San Nicolas De Las
Symrise S. De R.L. DE C.V.                                                          AV Republica Mexicana 200                                                                   Garza                NL               66480         Mexico




In re: Amyris, Inc., et al.
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                                                                                                           Creditor Matrix



                  Creditor Name                     Attention                           Address 1                       Address 2         Address 3             City         State         Zip            Country
SynBioBeta, LLC                                                       3559 Mount Diablo Boulevard 2                                                   Lafayette         CA           94549
Synder Filtration                    Synder Inc.                      4941 Allison Parkway                                                            Vacaville         CA           95688
Syndigo                                                               141 W. Jackson Blvd Suite 1220                                                  Chicago           IL           60604
SYNQ Marketing Group, LLC            Proforma                         PO Box 640814                                                                   Cincinnati        OH           45264-0814
SynTech Research                                                      17745 S. Metcalf                                                                Stilwell          KS           66085
Synthonix Inc                                                         2713 Connector Drive                                                            Wake Forest       NC           27587

Synzeal Research Private Limited                                     PLOT NO -F GANESH INDUSTRIAL ESTATE                                              AHMEDABAD         06           382213       India
Systel Business Equipment                                            PO Box 41602                                                                     Philadelphia      PA           19101
T and D Communications, Inc.                                         4145 Indus Way                                                                   Riverside         CA           92503
T. HASEGAWA U.S.A., INC.                                             14017 E.183RD STREET                                                             CERRITOS          CA           90703
TA Instruments Waters LLC                                            Dept AT 952329                                                                   Atlanta           GA           31192-2329
Taavi Moore                                                          Address Redacted
Tabayoyong, Jemena                                                   Address Redacted
Tahira Herold                                                        Address Redacted
Tai, Anna                                                            Address Redacted
Takara Bio USA                                                       PO Box 45794                                                                     San Francisco     CA           94145-0794
Takasago International Corporation                                   37-1, Kamata, 5-Chrome                                                           Ota-ku            13           1440052      Japan
Takasago International Corporation                                   Nissay Aroma Square 17F 5-37-1                                                   Tokyo             13           1448721      Japan
Takemoto, Wan-Hsuan                                                  Address Redacted
TalentX Management LLC                                               841 Worcester St. #164                                                           Natick            MA           01760
Tali Corp                            bkr                             720 Market Street,9th Floor                                                      San Francisdco    CA           94102
Talia Abbas                                                          Address Redacted
Taliento, Ashley                                                     Address Redacted
Talk Shop Media Inc                                                  1498 West 5th Avenue                                                             Vancouver         BC           V6H 4G3      Canada
Talkable                             Curebit Inc.                    475 Valencia St, Second Floor                                                    San Francisco     CA           94103
Tam Vu                                                               705 W 9th St.                         Apt 2906                                   Los Angeles       CA           90015
Tami Goral                                                           Address Redacted
Tamim Alnuweiri                                                      Address Redacted
Tan, Sherry                                                          Address Redacted
TANG HOUSE LLC                                                       750 N. San Vicente Blvd East Tower    11th Floor                                 West Hollywood    CA           90069
Tangent Membranes, Inc.                                              17379 River Ranch Road                                                           Grass Valley      CA           95409
TANGO                                TANGO                           145 Montague Street                                                              Brooklyn          NY           11201
Tanjoco, Benedict                                                    Address Redacted
Tanto Tempo Inc                                                      5665 New Northside Drive              Suite 110                                  Atlanta           GA           30328
Tanya Posternak                                                      Address Redacted
TANYA POSTERNAK                                                      Address Redacted
Tapias, Joy                                                          Address Redacted
Tardy, Morgan                                                        Address Redacted
Target Corporation                                                   PO Box 9471                                                                      Minneapolis       MN           55440-9471
Target Corporation | Pipette         DO-NOT-USE                      TARGET DC 0588                        7101 W Van Buren                           Phoenix           AZ           85043
Target Corporation | Pipette         Target Corporation              1000 Nicollet Mall                                                               Minneapolis       MN           55403
Target Corporation | Pipette         TARGET DC 0551                  7120 HWY 65 NE                                                                   FRIDLEY           MN           55432
Target Corporation | Pipette         TARGET DC 0553                  7895 REDWOOD AVE                                                                 FONTANA           CA           92336
Target Corporation | Pipette         TARGET DC 0554                  34800 UNITED AVE                                                                 PUEBLO            CO           81001
Target Corporation | Pipette         TARGET DC 0555                  2050 E BEAMER ST                                                                 WOODLAND          CA           95776
Target Corporation | Pipette         TARGET DC 0556                  110 W JORDAN RD                                                                  TIFTON            GA           31793
Target Corporation | Pipette         TARGET DC 0557                  1100 E VALLEY RD                                                                 OCONOMOWOC        WI           53066
Target Corporation | Pipette         TARGET DC 0558                  875 BETA DR SW                                                                   ALBANY            OR           97321
Target Corporation | Pipette         TARGET DC 0559                  1350 S GIRLS SCHOOL RD                                                           INDIANAPOLIS      IN           46231
Target Corporation | Pipette         TARGET DC 0560                  423 MOUNT VERNON RD                                                              STUARTS DRAFT     VA           24477
Target Corporation | Pipette         TARGET DC 0578                  13790 COUNTY RD 433                                                              TYLER             TX           75706
Target Corporation | Pipette         TARGET DC 0579                  131 NORTH RD                                                                     WILTON            NY           12831
Target Corporation | Pipette         TARGET DC 0580                  6305 GREENBRIER PKWY NW                                                          MADISON           AL           35756
Target Corporation | Pipette         TARGET DC 0587                  12905 E L AVE                                                                    GALESBURG         MI           49053
Target Corporation | Pipette         TARGET DC 0588                  7101 W VAN BUREN                                                                 PHOENIX           AZ           85043
Target Corporation | Pipette         TARGET DC 0589                  3325 ARCHER DR                                                                   CHAMBERSBURG      PA           17202
Target Corporation | Pipette         TARGET DC 0590                  6601 HUDSON RD                                                                   CEDAR FALLS       IA           50613
Target Corporation | Pipette         TARGET DC 0593                  3700 ZACHARY AVE                                                                 SHAFTER           CA           93263
Target Corporation | Pipette         TARGET DC 0594                  166 CORPORATE DR                                                                 LUGOFF            SC           29078
Target Corporation | Pipette         TARGET DC 3801                  4055 RAILPORT PKWY                                                               MIDLOTHIAN        TX           76065
Target Corporation | Pipette         TARGET DC 3802                  1730 STATE HWY 5S                                                                AMSTERDAM         NY           12010
Target Corporation | Pipette         TARGET DC 3803                  5400 WENGER ST                                                                   TOPEKA            KS           66609
Target Corporation | Pipette         TARGET DC 3804                  3 WALKER WAY                                                                     WEST JEFFERSON    OH           43162
Target Corporation | Pipette         TARGET DC 3806                  2702 SUMMIT AVE                                                                  RIALTO            CA           92377
Target Corporation | Pipette         TARGET DC 3808                  895 SUNBURY RD                                                                   MIDWAY            GA           31320
Target Corporation | Pipette         TARGET DC 3810                  211 Little Hearst Parkway                                                        Savannah          GA           31407
Target Corporation | Pipette         TARGET DC 3811                  1900 STOVER CT                                                                   NEWTON            NC           28658
Target Corporation | Pipette         TARGET DC 3840                  2704 SUMMIT AVE                                                                  RIALTO            CA           92377
Target Corporation | Pipette         TARGET DC 3841                  300 MANNING BRIDGE ROAD                                                          SUFFOLK           VA           23434
Target Corporation | Pipette         TARGET DC 3842                  1115 MACOM DRIVE                                                                 DEKALB            IL           60115
Target Corporation | Pipette         TARGET DC 3856                  23000 VAN BUREN BLVD                                                             RIVERSIDE         CA           92518
Target Corporation | Pipette         TARGET DC 3857                  400 CROSSROADS BLVD                                                              LOGAN TOWNSHIP    NJ           08085
Target Corporation | Pipette         TARGET DC 3865                  4300 W. 35TH PL                                                                  CHICAGO           IL           60623
Target Corporation | Pipette         TARGET DC 600                   ?3500 Marvin Rd NE                                                               Lacey             WA           98516
Target Corporation | Pipette         TARGET STORE 0003               5537 WEST BROADWAY                                                               CRYSTAL           MN           55428
Target Corporation | Pipette         TARGET STORE 0004               1902 MILLER TRUNK HWY                                                            DULUTH            MN           55811
Target Corporation | Pipette         TARGET STORE 0061               4202 13TH AVE SOUTH                                                              FARGO             ND           58103
Target Corporation | Pipette         TARGET STORE 0069               1800 VALLEY WEST DR                                                              WEST DES MOINES   IA           50266




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                                                                                                   Creditor Matrix



                  Creditor Name                Attention                         Address 1                   Address 2       Address 3          City            State           Zip   Country
Target Corporation | Pipette      TARGET STORE 0082              2401 KOSSOW RD                                                          WAUKESHA          WI           53186
Target Corporation | Pipette      TARGET STORE 0090              601 COLONIAL RD                                                         MEMPHIS           TN           38117
Target Corporation | Pipette      TARGET STORE 0100              13201 RIDGEDALE DR                                                      MINNETONKA        MN           55305
Target Corporation | Pipette      TARGET STORE 0158              5850 EASTEX FWY                                                         BEAUMONT          TX           77708
Target Corporation | Pipette      TARGET STORE 0212              3520 TYLER AVENUE                                                       RIVERSIDE         CA           92503
Target Corporation | Pipette      TARGET STORE 0215              4201 W DIVISION ST                                                      SAINT CLOUD       MN           56301
Target Corporation | Pipette      TARGET STORE 0220              8225 FLYING CLOUD DR                                                    EDEN PRAIRIE      MN           55344

Target Corporation | Pipette      TARGET STORE 0222              17751 COLIMA RD                                                         ROWLAND HEIGHTS   CA           91748
Target Corporation | Pipette      TARGET STORE 0255              3333 W AIRPORT FWY                                                      IRVING            TX           75062
Target Corporation | Pipette      TARGET STORE 0259              26932 LA PAZ RD                                                         ALISO VIEJO       CA           92656
Target Corporation | Pipette      TARGET STORE 0265              4001 S MARYLAND PKWY                                                    LAS VEGAS         NV           89119
Target Corporation | Pipette      TARGET STORE 0273              3405 MCHENRY AVE                                                        MODESTO           CA           95350
Target Corporation | Pipette      TARGET STORE 0274              1280 AUTO PARKWAY SOUTH                                                 ESCONDIDO         CA           92029
Target Corporation | Pipette      TARGET STORE 0288              20801 VENTURA BLVD                                                      WOODLAND HILLS    CA           91364
Target Corporation | Pipette      TARGET STORE 0289              20200 BLOOMFIELD AVE                                                    CERRITOS          CA           90703
Target Corporation | Pipette      TARGET STORE 0290              2169 REDONDO BEACH BLVD                                                 GARDENA           CA           90247

Target Corporation | Pipette      TARGET STORE 0294              11051 VICTORY BLVD                                                      NORTH HOLLYWOOD CA             91606
                                                                                                                                         RANCHO
Target Corporation | Pipette      TARGET STORE 0301             10576 FOOTHILL BLVD                                                      CUCAMONGA       CA             91730
Target Corporation | Pipette      TARGET STORE 0302             1050 HUNTINGTON DR                                                       DUARTE          CA             91010
Target Corporation | Pipette      TARGET STORE 0310             2505 RIVERSIDE BLVD                                                      SACRAMENTO      CA             95818
Target Corporation | Pipette      TARGET STORE 0320             5001 JUNIPERO SERRA BLVD                                                 COLMA           CA             94014
Target Corporation | Pipette      TARGET STORE 0322             555 SHOWERS DR                                                           MOUNTAIN VIEW   CA             94040
Target Corporation | Pipette      TARGET STORE 0324             1811 HILLSDALE AVE                                                       SAN JOSE        CA             95124
Target Corporation | Pipette      TARGET STORE 0341             3320 S 23RD ST                                                           TACOMA          WA             98405
Target Corporation | Pipette      TARGET STORE 0346             9000 SE SUNNYSIDE RD                                                     CLACKAMAS       OR             97015
Target Corporation | Pipette      TARGET STORE 0348             30 BELLIS FAIR PKWY                                                      BELLINGHAM      WA             98226
Target Corporation | Pipette      TARGET STORE 0358             900 SHAW AVE                                                             CLOVIS          CA             93612
Target Corporation | Pipette      TARGET STORE 0360             2000 CLIFF LAKE RD                                                       EAGAN           MN             55122
Target Corporation | Pipette      TARGET STORE 0530             4001 N 132ND ST                                                          OMAHA           NE             68164
Target Corporation | Pipette      TARGET STORE 0625             9371 COORS BLVD NW                                                       ALBUQUERQUE     NM             87114
Target Corporation | Pipette      TARGET STORE 0641             3280 R ST                                                                MERCED          CA             95348
Target Corporation | Pipette      TARGET STORE 0643             15150 CEDAR AVE                                                          APPLE VALLEY    MN             55124
Target Corporation | Pipette      TARGET STORE 0660             16964 SLOVER AVE                                                         FONTANA         CA             92337
Target Corporation | Pipette      TARGET STORE 0664             4175 VINEWOOD LN N                                                       PLYMOUTH        MN             55442
Target Corporation | Pipette      TARGET STORE 0676             1640 N MAIN ST                                                           SALINAS         CA             93906
Target Corporation | Pipette      TARGET STORE 0677             8148 E SANTA ANA CANYON RD                                               ANAHEIM         CA             92808
Target Corporation | Pipette      TARGET STORE 0732             2901 S CICERO AVE                                                        CICERO          IL             60804
Target Corporation | Pipette      TARGET STORE 0737             1400 FITZGERALD RD                                                       PINOLE          CA             94564
                                                                875 LAWRENCEVILLE SUWANEE RD STE
Target Corporation | Pipette      TARGET STORE 0747             4000                                                                     LAWRENCEVILLE     GA           30043
Target Corporation | Pipette      TARGET STORE 0752             735 W STADIUM BLVD                                                       JEFFERSON CITY    MO           65109
Target Corporation | Pipette      TARGET STORE 0754             6365 I 55 N                                                              JACKSON           MS           39213
Target Corporation | Pipette      TARGET STORE 0755             2056 SKIBO RD                                                            FAYETTEVILLE      NC           28314
Target Corporation | Pipette      TARGET STORE 0762             9531 SOUTH BLVD                                                          CHARLOTTE         NC           28273
Target Corporation | Pipette      TARGET STORE 0767             888 W ARROW HWY                                                          SAN DIMAS         CA           91773
Target Corporation | Pipette      TARGET STORE 0770             4001 N MIDLAND DR                                                        MIDLAND           TX           79707
Target Corporation | Pipette      TARGET STORE 0808             485 N ROLLING MEADOW DR                                                  FOND DU LAC       WI           54937
Target Corporation | Pipette      TARGET STORE 0809             2017 HUMES RD                                                            JANESVILLE        WI           53545
Target Corporation | Pipette      TARGET STORE 0810             6560 E STATE ST                                                          ROCKFORD          IL           61108
Target Corporation | Pipette      TARGET STORE 0822             801 SUNLAND PARK DR                                                      EL PASO           TX           79912
Target Corporation | Pipette      TARGET STORE 0833             313 E TOWNLINE RD                                                        VERNON HILLS      IL           60061
Target Corporation | Pipette      TARGET STORE 0835             2621 W SCHAUMBURG RD                                                     SCHAUMBURG        IL           60194

Target Corporation | Pipette      TARGET STORE 0836              175 W ARMY TRAIL RD                                                     GLENDALE HEIGHTS IL            60139
Target Corporation | Pipette      TARGET STORE 0840              1951 W JEFFERSON AVE                                                    NAPERVILLE       IL            60540
Target Corporation | Pipette      TARGET STORE 0842              15850 S 94TH AVE                                                        ORLAND PARK      IL            60462
Target Corporation | Pipette      TARGET STORE 0849              6001 W GATEWAY BLVD                                                     EL PASO          TX            79925
Target Corporation | Pipette      TARGET STORE 0851              7409 W VIRGINIA AVE                                                     PHOENIX          AZ            85035
Target Corporation | Pipette      TARGET STORE 0852              475 ROHNERT PARK EXPY W                                                 ROHNERT PARK     CA            94928
Target Corporation | Pipette      TARGET STORE 0858              13250 NORTHWEST FWY                                                     HOUSTON          TX            77040

Target Corporation | Pipette      TARGET STORE 0863              N95 W 17707 SHADY LN                                                    MENOMONEE FALLS   WI           53051
Target Corporation | Pipette      TARGET STORE 0871              5001 BIG HOLLOW RD                                                      PEORIA            IL           61615
Target Corporation | Pipette      TARGET STORE 0875              2417 N HASKELL AVE                                                      DALLAS            TX           75204
Target Corporation | Pipette      TARGET STORE 0885              2420 RESERVE ST                                                         MISSOULA          MT           59808
Target Corporation | Pipette      TARGET STORE 0907              19955 KATY FWY                                                          HOUSTON           TX           77094
                                                                                                                                         RANCHO SANTA
Target Corporation | Pipette      TARGET STORE 0914              30602 SANTA MARGARITA PKWY                                              MARGARITA         CA           92688
Target Corporation | Pipette      TARGET STORE 0928              6150 TOUHY AVE                                                          NILES             IL           60714
Target Corporation | Pipette      TARGET STORE 0936              15444 N FRANK LLOYD WRIGHT BLVD                                         SCOTTSDALE        AZ           85260
Target Corporation | Pipette      TARGET STORE 0942              2656 N ELSTON AVE                                                       CHICAGO           IL           60647
Target Corporation | Pipette      TARGET STORE 0947              9440 MARSH LN                                                           DALLAS            TX           75220
Target Corporation | Pipette      TARGET STORE 0955              4323 SAN FELIPE ST                                                      HOUSTON           TX           77027
Target Corporation | Pipette      TARGET STORE 0957              50 E NORTH AVE                                                          VILLA PARK        IL           60181
Target Corporation | Pipette      TARGET STORE 0961              2021 WALNUT ST                                                          CARY              NC           27518




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                                                                                                    Creditor Matrix



                     Creditor Name                Attention                       Address 1                   Address 2       Address 3           City          State           Zip   Country
                                                                                                                                          PEACHTREE
Target Corporation | Pipette         TARGET STORE 0982             3200 HOLCOMB BRIDGE RD                                                 CORNERS          GA           30092
Target Corporation | Pipette         TARGET STORE 0993             6955 HIGHWAY 6 N                                                       HOUSTON          TX           77084
Target Corporation | Pipette         TARGET STORE 0996             755 NW GILMAN BLVD                                                     ISSAQUAH         WA           98027
Target Corporation | Pipette         TARGET STORE 0997             5500 GROSSMONT CTR DR                                                  LA MESA          CA           91942
Target Corporation | Pipette         TARGET STORE 1001             5230 CAMPBELL BLVD                                                     BALTIMORE        MD           21236
Target Corporation | Pipette         TARGET STORE 1002             580 MARKETPLACE DR                                                     BEL AIR          MD           21014
Target Corporation | Pipette         TARGET STORE 1003             7951 NOLPARK CT                                                        GLEN BURNIE      MD           21061
Target Corporation | Pipette         TARGET STORE 1004             4600 MITCHELLVILLE RD                                                  BOWIE            MD           20716
Target Corporation | Pipette         TARGET STORE 1006             10500 CAMPUS WAY S                                                     LARGO            MD           20774
Target Corporation | Pipette         TARGET STORE 1007             3343 CORRIDOR MARKETPLACE                                              LAUREL           MD           20724
Target Corporation | Pipette         TARGET STORE 1009             46201 POTOMAC RUN PLZ                                                  STERLING         VA           20164
Target Corporation | Pipette         TARGET STORE 1010             1575 NIAGARA FALLS BLVD                                                AMHERST          NY           14228
Target Corporation | Pipette         TARGET STORE 1021             1316 GREENBRIER PKWY                                                   CHESAPEAKE       VA           23320
Target Corporation | Pipette         TARGET STORE 1024             60 YORKTOWN SHOPPING CTR                                               LOMBARD          IL           60148
Target Corporation | Pipette         TARGET STORE 1025             7505 LAGUNA BLVD                                                       ELK GROVE        CA           95758
Target Corporation | Pipette         TARGET STORE 1027             209 W VENTURA BLVD                                                     CAMARILLO        CA           93010
Target Corporation | Pipette         TARGET STORE 1028             2831 EASTLAND CENTER DR                                                WEST COVINA      CA           91791
Target Corporation | Pipette         TARGET STORE 1029             1010 N EL CAMINO REAL                                                  ENCINITAS        CA           92024
Target Corporation | Pipette         TARGET STORE 1030             7989 US HIGHWAY 64                                                     MEMPHIS          TN           38133
Target Corporation | Pipette         TARGET STORE 1031             1825 EAST PRIMROSE                                                     SPRINGFIELD      MO           65804
Target Corporation | Pipette         TARGET STORE 1032             7845 N MACARTHUR BLVD                                                  IRVING           TX           75063
Target Corporation | Pipette         TARGET STORE 1033             3100 BALDWIN PARK BLVD                                                 BALDWIN PARK     CA           91706
Target Corporation | Pipette         TARGET STORE 1040             1751 UNIVERSITY DR                                                     VISTA            CA           92083
Target Corporation | Pipette         TARGET STORE 1042             4390 MONTGOMERY RD                                                     ELLICOTT CITY    MD           21043
Target Corporation | Pipette         TARGET STORE 1046             20908 FREDERICK RD                                                     GERMANTOWN       MD           20876
Target Corporation | Pipette         TARGET STORE 1054             1150 EL CAMINO REAL                                                    SAN BRUNO        CA           94066
Target Corporation | Pipette         TARGET STORE 1060             201 JUNCTION RD                                                        MADISON          WI           53717
Target Corporation | Pipette         TARGET STORE 1076             3101 RICHMOND HWY                                                      ALEXANDRIA       VA           22305
Target Corporation | Pipette         TARGET STORE 1095             1650 NEW BRIGHTON BLVD                                                 MINNEAPOLIS      MN           55413
Target Corporation | Pipette         TARGET STORE 1102             25 BRENTWOOD PROMENADE CT                                              BRENTWOOD        MO           63144
Target Corporation | Pipette         TARGET STORE 1107             4711 NEW CENTRE DR                                                     WILMINGTON       NC           28405
Target Corporation | Pipette         TARGET STORE 1109             380 CONSUMER SQ                                                        MAYS LANDING     NJ           08330
Target Corporation | Pipette         TARGET STORE 1113             1441 CORAL RIDGE AVE                                                   CORALVILLE       IA           52241
Target Corporation | Pipette         TARGET STORE 1115             503 I 45 N                                                             CONROE           TX           77304
Target Corporation | Pipette         TARGET STORE 1121             5837 SUNRISE BLVD                                                      CITRUS HEIGHTS   CA           95610
Target Corporation | Pipette         TARGET STORE 1125             239 GOLF MILL CTR STE 2002                                             NILES            IL           60714
Target Corporation | Pipette         TARGET STORE 1132             4001 BLACK HORSE PIKE                                                  TURNERSVILLE     NJ           08012
Target Corporation | Pipette         TARGET STORE 1138             12000 CHERRY HILL RD                                                   SILVER SPRING    MD           20904
Target Corporation | Pipette         TARGET STORE 1139             999 CORPORATE DR                                                       WESTBURY         NY           11590
Target Corporation | Pipette         TARGET STORE 1142             1238 PUTTY HILL AVE                                                    TOWSON           MD           21286
Target Corporation | Pipette         TARGET STORE 1143             1415 MAIN ST                                                           WATSONVILLE      CA           95076
Target Corporation | Pipette         TARGET STORE 1147             1149 SUNRISE HWY                                                       COPIAGUE         NY           11726
Target Corporation | Pipette         TARGET STORE 1148             838 SUNRISE HWY                                                        BAY SHORE        NY           11706
Target Corporation | Pipette         TARGET STORE 1150             13505 20TH AVE                                                         FLUSHING         NY           11356
Target Corporation | Pipette         TARGET STORE 1151             500 NASSAU PARK BLVD                                                   PRINCETON        NJ           08540
Target Corporation | Pipette         TARGET STORE 1167             2241 WILLOW RD                                                         GLENVIEW         IL           60025
Target Corporation | Pipette         TARGET STORE 1175             632 ROUTE 46 E                                                         FAIRFIELD        NJ           07004
Target Corporation | Pipette         TARGET STORE 1180             2701 LAWNDALE DR                                                       GREENSBORO       NC           27408
Target Corporation | Pipette         TARGET STORE 1191             265 POND PATH                                                          SOUTH SETAUKET   NY           11720
Target Corporation | Pipette         TARGET STORE 1193             25 GRAND CORNER AVE                                                    GAITHERSBURG     MD           20878
Target Corporation | Pipette         TARGET STORE 1197             3535 PEACHTREE RD NE                                                   ATLANTA          GA           30326
Target Corporation | Pipette         TARGET STORE 1204             8234 AGORA PKWY                                                        SELMA            TX           78154
Target Corporation | Pipette         TARGET STORE 1207             8750 W CHARLESTON BLVD                                                 LAS VEGAS        NV           89117
Target Corporation | Pipette         TARGET STORE 1229             1 MYSTIC VIEW RD                                                       EVERETT          MA           02149
Target Corporation | Pipette         TARGET STORE 1230             6280 EAGLE RD                                                          BOISE            ID           83713
Target Corporation | Pipette         TARGET STORE 1235             2401 COULEE RD                                                         HUDSON           WI           54016
Target Corporation | Pipette         TARGET STORE 1237             2550 CATRON ST                                                         BOZEMAN          MT           59718
Target Corporation | Pipette         TARGET STORE 1238             13200 JAMBOREE RD                                                      IRVINE           CA           92602
Target Corporation | Pipette         TARGET STORE 1244             356 12TH ST SW                                                         FOREST LAKE      MN           55025
Target Corporation | Pipette         TARGET STORE 1247             1001 CORMIER RD                                                        GREEN BAY        WI           54304
Target Corporation | Pipette         TARGET STORE 1258             45155 FIRST COLONY WAY                                                 CALIFORNIA       MD           20619
                                                                                                                                          SOUTH
Target Corporation | Pipette         TARGET STORE 1261              30 RHL BLVD                                                           CHARLESTON       WV           25309
Target Corporation | Pipette         TARGET STORE 1264              3850 HEMPSTEAD TPKE                                                   LEVITTOWN        NY           11756
Target Corporation | Pipette         TARGET STORE 1266              101 COMMERCE WAY                                                      WOBURN           MA           01801
Target Corporation | Pipette         TARGET STORE 1274              1698 US HIGHWAY 98                                                    DAPHNE           AL           36526
Target Corporation | Pipette         TARGET STORE 1293              3030 HARBOR BLVD STE A                                                COSTA MESA       CA           92626
Target Corporation | Pipette         TARGET STORE 1304              3000 COUNTRYSIDE DR                                                   TURLOCK          CA           95380
Target Corporation | Pipette         TARGET STORE 1306              3535 S LA CIENEGA BLVD                                                LOS ANGELES      CA           90016
Target Corporation | Pipette         TARGET STORE 1307              5711 SEPULVEDA BLVD                                                   VAN NUYS         CA           91411
Target Corporation | Pipette         TARGET STORE 1308              400 COCHITUATE RD                                                     FRAMINGHAM       MA           01701
Target Corporation | Pipette         TARGET STORE 1316              1225 W IRVINGTON RD                                                   TUCSON           AZ           85714
Target Corporation | Pipette         TARGET STORE 1319              10204 TWO NOTCH RD                                                    COLUMBIA         SC           29229
Target Corporation | Pipette         TARGET STORE 1322              372 COX CREEK PKWY                                                    FLORENCE         AL           35630
Target Corporation | Pipette         TARGET STORE 1328              12300 SEAL BEACH BLVD                                                 SEAL BEACH       CA           90740
Target Corporation | Pipette         TARGET STORE 1329              3471 W CENTURY BLVD                                                   INGLEWOOD        CA           90303
Target Corporation | Pipette         TARGET STORE 1330              630 MAIN ST                                                           HACKENSACK       NJ           07601
Target Corporation | Pipette         TARGET STORE 1332              3121 E COLORADO BLVD                                                  PASADENA         CA           91107




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                                                                                                  Creditor Matrix



                  Creditor Name                Attention                        Address 1                   Address 2       Address 3           City          State           Zip   Country
Target Corporation | Pipette      TARGET STORE 1336             8500 MAIN ST                                                            HOUSTON          TX           77025
Target Corporation | Pipette      TARGET STORE 1339             1600 W ARBROOK BLVD                                                     ARLINGTON        TX           76015
Target Corporation | Pipette      TARGET STORE 1347             7110 YOUREE DR                                                          SHREVEPORT       LA           71105
Target Corporation | Pipette      TARGET STORE 1348             529 LINCOLN ST LINCOLN PLAZA                                            WORCESTER        MA           01605
Target Corporation | Pipette      TARGET STORE 1351             3827 MARKETPLACE DR NW                                                  ROCHESTER        MN           55901
Target Corporation | Pipette      TARGET STORE 1352             111 PIONEER TRL                                                         CHASKA           MN           55318
Target Corporation | Pipette      TARGET STORE 1354             18255 BLANCO RD                                                         SAN ANTONIO      TX           78258
Target Corporation | Pipette      TARGET STORE 1356             4802 HIGHWAY 101                                                        MINNETONKA       MN           55345
Target Corporation | Pipette      TARGET STORE 1357             275 S RIVER RD                                                          ST GEORGE        UT           84790
Target Corporation | Pipette      TARGET STORE 1360             21001 N TATUM BLVD                                                      PHOENIX          AZ           85050
Target Corporation | Pipette      TARGET STORE 1363             6845 SIERRA CENTER PKWY                                                 RENO             NV           89511
Target Corporation | Pipette      TARGET STORE 1368             1401 W GLADE RD                                                         EULESS           TX           76039
Target Corporation | Pipette      TARGET STORE 1369             6885 SIEGEN LN                                                          BATON ROUGE      LA           70809
Target Corporation | Pipette      TARGET STORE 1374             79 COMMERCE WAY                                                         SEEKONK          MA           02771
Target Corporation | Pipette      TARGET STORE 1376             790 SCHILLINGER RD S                                                    MOBILE           AL           36695
Target Corporation | Pipette      TARGET STORE 1383             1893 W MALVERN AVE                                                      FULLERTON        CA           92833
Target Corporation | Pipette      TARGET STORE 1384             9100 ROSEDALE HWY                                                       BAKERSFIELD      CA           93312
Target Corporation | Pipette      TARGET STORE 1385             1400 E LAKE COOK RD                                                     WHEELING         IL           60090
Target Corporation | Pipette      TARGET STORE 1392             1850 NW CHIPMAN RD                                                      LEES SUMMIT      MO           64081
Target Corporation | Pipette      TARGET STORE 1396             5757 FAIRMONT PKWY                                                      PASADENA         TX           77505
Target Corporation | Pipette      TARGET STORE 1397             13924 N PENNSYLVANIA AVE                                                OKLAHOMA CITY    OK           73134
Target Corporation | Pipette      TARGET STORE 1398             1200 E 2ND ST                                                           EDMOND           OK           73034
Target Corporation | Pipette      TARGET STORE 1401             519 GATEWAY DR                                                          BROOKLYN         NY           11239
Target Corporation | Pipette      TARGET STORE 1406             21500 NE HALSEY                                                         FAIRVIEW         OR           97024
Target Corporation | Pipette      TARGET STORE 1407             133 SERRAMONTE CTR                                                      DALY CITY        CA           94015
Target Corporation | Pipette      TARGET STORE 1409             141 LAKEWOOD CENTER MALL                                                LAKEWOOD         CA           90712
Target Corporation | Pipette      TARGET STORE 1411             3600 ROSEMEAD BLVD                                                      ROSEMEAD         CA           91770
Target Corporation | Pipette      TARGET STORE 1422             39201 FREMONT BLVD                                                      FREMONT          CA           94538
Target Corporation | Pipette      TARGET STORE 1424             12051 IMPERIAL HWY                                                      NORWALK          CA           90650
Target Corporation | Pipette      TARGET STORE 1426             450 N CAPITAL AVE                                                       SAN JOSE         CA           95133
Target Corporation | Pipette      TARGET STORE 1430             601 S PLANO RD                                                          RICHARDSON       TX           75081
Target Corporation | Pipette      TARGET STORE 1431             6100 ARLINGTON BLVD                                                     FALLS CHURCH     VA           22044
Target Corporation | Pipette      TARGET STORE 1435             984 GESSNER RD                                                          HOUSTON          TX           77024
Target Corporation | Pipette      TARGET STORE 1437             2939 W ADDISON ST                                                       CHICAGO          IL           60618
Target Corporation | Pipette      TARGET STORE 1447             3245 GEIER DR.                                                          CINCINNATI       OH           45209
Target Corporation | Pipette      TARGET STORE 1448             749 APOLLO DR                                                           LINO LAKES       MN           55014
Target Corporation | Pipette      TARGET STORE 1449             4500 VETERANS MEMORIAL BLVD                                             METAIRIE         LA           70006
Target Corporation | Pipette      TARGET STORE 1450             1727 MARTIN LUTHER KING JR BLVD                                         HOUMA            LA           70360
Target Corporation | Pipette      TARGET STORE 1451             1731 MANHATTAN BLVD                                                     HARVEY           LA           70058
Target Corporation | Pipette      TARGET STORE 1453             3045 ATLANTA HWY                                                        ATHENS           GA           30606
Target Corporation | Pipette      TARGET STORE 1457             20777 HWY 59 N                                                          HUMBLE           TX           77338
Target Corporation | Pipette      TARGET STORE 1458             19511 I H 45                                                            SPRING           TX           77388
Target Corporation | Pipette      TARGET STORE 1462             6480 SKY POINTE DR                                                      LAS VEGAS        NV           89131
Target Corporation | Pipette      TARGET STORE 1469             4103 PECANLAND MALL DR                                                  MONROE           LA           71203
Target Corporation | Pipette      TARGET STORE 1470             3545 N SHILOH DR                                                        FAYETTEVILLE     AR           72703
Target Corporation | Pipette      TARGET STORE 1472             2499 WHIPPLE RD                                                         HAYWARD          CA           94544
Target Corporation | Pipette      TARGET STORE 1481             6625 E LLOYD EXPY                                                       EVANSVILLE       IN           47715
Target Corporation | Pipette      TARGET STORE 1484             18275 KENRICK AVE                                                       LAKEVILLE        MN           55044
Target Corporation | Pipette      TARGET STORE 1485             9846 MISSION GORGE RD                                                   SANTEE           CA           92071
Target Corporation | Pipette      TARGET STORE 1486             2400 N DRUID HILLS RD NE                                                ATLANTA          GA           30329
Target Corporation | Pipette      TARGET STORE 1487             6100 BROADMOOR ST                                                       MISSION          KS           66202
Target Corporation | Pipette      TARGET STORE 1491             130 STATE ROUTE 10 STE 1                                                EAST HANOVER     NJ           07936
Target Corporation | Pipette      TARGET STORE 1495             101 INDEPENDENCE MALL WAY                                               KINGSTON         MA           02364
Target Corporation | Pipette      TARGET STORE 1496             330 TURNPIKE RD                                                         WESTBOROUGH      MA           01581
                                                                                                                                        COLORADO
Target Corporation | Pipette      TARGET STORE 1501              3810 BLOOMINGTON ST                                                    SPRINGS          CO           80922
Target Corporation | Pipette      TARGET STORE 1506              3909 E 42ND ST                                                         ODESSA           TX           79762
Target Corporation | Pipette      TARGET STORE 1507              4500 MACDONALD AVE                                                     RICHMOND         CA           94805
                                                                                                                                        NORTH RICHLAND
Target Corporation | Pipette      TARGET STORE 1514              8532 DAVIS BLVD                                                        HILLS            TX           76182
Target Corporation | Pipette      TARGET STORE 1517              5959 LONG PRAIRIE RD                                                   FLOWER MOUND     TX           75028
Target Corporation | Pipette      TARGET STORE 1518              4750 MILLENIA PLAZA WAY                                                ORLANDO          FL           32839
Target Corporation | Pipette      TARGET STORE 1524              4155 S GRAND CANYON DR                                                 LAS VEGAS        NV           89147
Target Corporation | Pipette      TARGET STORE 1526              280 SPRECKELS AVE                                                      MANTECA          CA           95336
Target Corporation | Pipette      TARGET STORE 1527              8101 COSUMNES RIVER RD                                                 SACRAMENTO       CA           95823
Target Corporation | Pipette      TARGET STORE 1528              7 STONY HILL RD                                                        BETHEL           CT           06801
Target Corporation | Pipette      TARGET STORE 1531              5401 BOSQUE BLVD                                                       WACO             TX           76710
Target Corporation | Pipette      TARGET STORE 1533              6600 RICHMOND HWY                                                      ALEXANDRIA       VA           22306
Target Corporation | Pipette      TARGET STORE 1536              1801 HIGHWAY 287 N                                                     MANSFIELD        TX           76063
Target Corporation | Pipette      TARGET STORE 1540              2365 US HIGHWAY 93 N                                                   KALISPELL        MT           59901
Target Corporation | Pipette      TARGET STORE 1544              21 BROAD ST                                                            STAMFORD         CT           06901
Target Corporation | Pipette      TARGET STORE 1753              1135 W RIVERDALE RD                                                    RIVERDALE        UT           84405
Target Corporation | Pipette      TARGET STORE 1755              815 W 2000 N                                                           LAYTON           UT           84041
Target Corporation | Pipette      TARGET STORE 1756              15345 W 119TH ST                                                       OLATHE           KS           66062
Target Corporation | Pipette      TARGET STORE 1757              12200 BLUE VALLEY PKWY                                                 OVERLAND PARK    KS           66213
Target Corporation | Pipette      TARGET STORE 1759              15700 SHAWNEE MISSION PKWY                                             SHAWNEE          KS           66217
Target Corporation | Pipette      TARGET STORE 1763              3201 PRESTON RD                                                        FRISCO           TX           75034
Target Corporation | Pipette      TARGET STORE 1764              2200 DALLAS PKWY                                                       PLANO            TX           75093
Target Corporation | Pipette      TARGET STORE 1765              8000 DENTON HWY                                                        WATAUGA          TX           76148




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                  Creditor Name                Attention                         Address 1                    Address 2       Address 3           City            State           Zip   Country
Target Corporation | Pipette      TARGET STORE 1766              1400 PRECINCT LINE RD                                                    HURST              TX           76053
Target Corporation | Pipette      TARGET STORE 1770              5700 OVERTON RIDGE BLVD                                                  FORT WORTH         TX           76132
Target Corporation | Pipette      TARGET STORE 1771              3400 EDGEWOOD RD SW                                                      CEDAR RAPIDS       IA           52404
Target Corporation | Pipette      TARGET STORE 1774              3649 S HASTINGS WAY                                                      EAU CLAIRE         WI           54701
Target Corporation | Pipette      TARGET STORE 1775              16731 COIT RD                                                            DALLAS             TX           75248
Target Corporation | Pipette      TARGET STORE 1777              17810 WEST CENTER                                                        OMAHA              NE           68130
Target Corporation | Pipette      TARGET STORE 1783              3601 32ND AVE S                                                          GRAND FORKS        ND           58201
Target Corporation | Pipette      TARGET STORE 1784              6419 SKILLMAN ST                                                         DALLAS             TX           75231
Target Corporation | Pipette      TARGET STORE 1786              16300 SOUTHWEST FWY                                                      SUGARLAND          TX           77479
Target Corporation | Pipette      TARGET STORE 1787              1901 13TH AVE E                                                          TUSCALOOSA         AL           35404
Target Corporation | Pipette      TARGET STORE 1791              11148 PLUM DR                                                            URBANDALE          IA           50322
Target Corporation | Pipette      TARGET STORE 1792              1501 E SAN MARNAN DR                                                     WATERLOO           IA           50702
Target Corporation | Pipette      TARGET STORE 1797              10900 LAKELINE MALL DR                                                   AUSTIN             TX           78717
Target Corporation | Pipette      TARGET STORE 1798              40 W 225TH ST                                                            BRONX              NY           10463
Target Corporation | Pipette      TARGET STORE 1800              5775 SUNNYBROOK DR                                                       SIOUX CITY         IA           51106
Target Corporation | Pipette      TARGET STORE 1805              4247 S MOONEY BLVD                                                       VISALIA            CA           93277
Target Corporation | Pipette      TARGET STORE 1811              102 RICHMOND RANCH RD                                                    TEXARKANA          TX           75501
Target Corporation | Pipette      TARGET STORE 1814              608 W MAIN ST                                                            AMERICAN FORK      UT           84003
Target Corporation | Pipette      TARGET STORE 1815              910 EASTLAKE PKWY                                                        CHULA VISTA        CA           91914
Target Corporation | Pipette      TARGET STORE 1824              1040 TIMBER DR E                                                         GARNER             NC           27529
Target Corporation | Pipette      TARGET STORE 1832              1500 109TH AVE NE                                                        BLAINE             MN           55449
Target Corporation | Pipette      TARGET STORE 1833              14333 HWY 13                                                             SAVAGE             MN           55378
Target Corporation | Pipette      TARGET STORE 1834              1931 CAMPUS AVE                                                          UPLAND             CA           91784
Target Corporation | Pipette      TARGET STORE 1837              1801 W BAY AREA BLVD                                                     WEBSTER            TX           77598
Target Corporation | Pipette      TARGET STORE 1843              2755 CANYON SPRINGS PKWY                                                 RIVERSIDE          CA           92507
Target Corporation | Pipette      TARGET STORE 1846              3424 COLLEGE AVE                                                         SAN DIEGO          CA           92115
Target Corporation | Pipette      TARGET STORE 1849              139 FLATBUSH AVE                                                         BROOKLYN           NY           11217
Target Corporation | Pipette      TARGET STORE 1851              6705 CAMINO ARROYO                                                       GILROY             CA           95020
Target Corporation | Pipette      TARGET STORE 1852              3227 SE MILITARY DR                                                      SAN ANTONIO        TX           78223
Target Corporation | Pipette      TARGET STORE 1857              1090 STAFFORD MARKET PL                                                  STAFFORD           VA           22556
Target Corporation | Pipette      TARGET STORE 1863              9615 E OLD SPANISH TRL                                                   TUCSON             AZ           85748
Target Corporation | Pipette      TARGET STORE 1866              100 WILLOW PARK CTR                                                      FARMINGDALE        NY           11735
Target Corporation | Pipette      TARGET STORE 1867              78935 US HWY 111                                                         LA QUINTA          CA           92253
Target Corporation | Pipette      TARGET STORE 1871              403 CONSTANT FRIENDSHIP BLVD                                             ABINGDON           MD           21009
Target Corporation | Pipette      TARGET STORE 1872              4037 DURHAM CHAPEL HILL BLVD                                             DURHAM             NC           27707
Target Corporation | Pipette      TARGET STORE 1873              13301 GATEWAY CENTER DR                                                  GAINESVILLE        VA           20155
Target Corporation | Pipette      TARGET STORE 1876              69320 HIGHWAY 21                                                         COVINGTON          LA           70433

Target Corporation | Pipette      TARGET STORE 1884             7100 SANTA MONICA BLVD STE 201                                            WEST HOLLYWOOD     CA           90046
Target Corporation | Pipette      TARGET STORE 1887             500 EAST SANFORD BLVD                                                     MOUNT VERNON       NY           10550
Target Corporation | Pipette      TARGET STORE 1888             4050 N HARLEM AVE                                                         NORRIDGE           IL           60706
Target Corporation | Pipette      TARGET STORE 1889             1154 S CLARK ST                                                           CHICAGO            IL           60605
Target Corporation | Pipette      TARGET STORE 1890             3500 EAST WEST HWY STE 1200                                               HYATTSVILLE        MD           20782
Target Corporation | Pipette      TARGET STORE 1891             501 ELSINGER BLVD                                                         CONWAY             AR           72032
Target Corporation | Pipette      TARGET STORE 1892             4191 THE CIRCLE AT NORTH HILLS ST                                         RALEIGH            NC           27609
Target Corporation | Pipette      TARGET STORE 1893             5115 LEESBURG PIKE                                                        FALLS CHURCH       VA           22041
Target Corporation | Pipette      TARGET STORE 1897             3101 DONNELL DR                                                           DISTRICT HEIGHTS   MD           20747
Target Corporation | Pipette      TARGET STORE 1898             7 ALLSTATE RD                                                             DORCHESTER         MA           02125
Target Corporation | Pipette      TARGET STORE 1903             28201 DIEHL RD                                                            WARRENVILLE        IL           60555
Target Corporation | Pipette      TARGET STORE 1906             140 N 12TH AVE                                                            HANFORD            CA           93230
Target Corporation | Pipette      TARGET STORE 1913             8005 CALUMET AVE                                                          MUNSTER            IN           46321
Target Corporation | Pipette      TARGET STORE 1916             200 UNIVERSAL DR N                                                        NORTH HAVEN        CT           06473
Target Corporation | Pipette      TARGET STORE 1920             170 PROMENADE BLVD                                                        FLOWOOD            MS           39232
Target Corporation | Pipette      TARGET STORE 1922             200 NW JOHN JONES DR                                                      BURLESON           TX           76028
Target Corporation | Pipette      TARGET STORE 1924             6525 W DIVERSEY AVE                                                       CHICAGO            IL           60707
Target Corporation | Pipette      TARGET STORE 1926             1057 EASTSHORE HWY                                                        ALBANY             CA           94710
Target Corporation | Pipette      TARGET STORE 1930             91 TAUNTON ST                                                             PLAINVILLE         MA           02762
Target Corporation | Pipette      TARGET STORE 1936             1441 W 17TH ST                                                            SANTA ANA          CA           92706
Target Corporation | Pipette      TARGET STORE 1942             36 FURLONG DR                                                             REVERE             MA           02151
Target Corporation | Pipette      TARGET STORE 1945             2727 MAIZE RD                                                             WICHITA            KS           67205
Target Corporation | Pipette      TARGET STORE 1950             1001 SUTTON RD                                                            STREAMWO           OD           IL 60107
Target Corporation | Pipette      TARGET STORE 1952             1272 TOWN & COUNTRY CROSSING DR                                           CHESTERFIELD       MO           63017
Target Corporation | Pipette      TARGET STORE 1958             15272 SUMMIT AVE                                                          FONTANA            CA           92336
Target Corporation | Pipette      TARGET STORE 1959             5110 S POWER RD                                                           MESA               AZ           85212
Target Corporation | Pipette      TARGET STORE 1965             86 ORCHARD HILL PARK DR                                                   LEOMINSTER         MA           01453
Target Corporation | Pipette      TARGET STORE 1970             1330 MARTIN BLVD                                                          MIDDLE RIVER       MD           21220
Target Corporation | Pipette      TARGET STORE 1975             300 MEYERLAND PLAZA MALL                                                  HOUSTON            TX           77096
Target Corporation | Pipette      TARGET STORE 1977             5201 N BELT HWY STE H                                                     ST JOSEPH          MO           64506
Target Corporation | Pipette      TARGET STORE 1980             1601 KINGSDALE AVE                                                        REDONDO BEACH      CA           90278
Target Corporation | Pipette      TARGET STORE 1984             1750 STORY RD                                                             SAN JOSE           CA           95122
Target Corporation | Pipette      TARGET STORE 2018             695 W HERNDON AVE                                                         CLOVIS             CA           93612
Target Corporation | Pipette      TARGET STORE 2020             8999 BALBOA BLVD                                                          NORTHRIDGE         CA           91325
Target Corporation | Pipette      TARGET STORE 2021             5071 KIPLING ST                                                           WHEAT RIDGE        CO           80033
Target Corporation | Pipette      TARGET STORE 2036             100 PERIMETER CENTER PL                                                   ATLANTA            GA           30346
Target Corporation | Pipette      TARGET STORE 2046             1750 ROBERT ST S                                                          WEST ST PAUL       MN           55118
                                                                                                                                          HUNTINGTON
Target Corporation | Pipette      TARGET STORE 2051              9882 ADAMS AVE                                                           BEACH              CA           92646
Target Corporation | Pipette      TARGET STORE 2052              7930 NORTHFIELD BLVD                                                     DENVER             CO           80238
Target Corporation | Pipette      TARGET STORE 2055              6143 US HIGHWAY 98 STE 80                                                HATTIESBURG        MS           39402




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                  Creditor Name                Attention                         Address 1                   Address 2       Address 3           City           State           Zip   Country
Target Corporation | Pipette      TARGET STORE 2056              2625 PEACHTREE PKWY                                                     SUWANEE           GA           30024
Target Corporation | Pipette      TARGET STORE 2066              6801 FM 1960 RD W                                                       HOUSTON           TX           77069
Target Corporation | Pipette      TARGET STORE 2069              8210 RENAISSANCE PKWY                                                   DURHAM            NC           27713
Target Corporation | Pipette      TARGET STORE 2075              2701 CASTOR AVE                                                         PHILADELPHIA      PA           19134
Target Corporation | Pipette      TARGET STORE 2079              2112 W PETERSON AVE                                                     CHICAGO           IL           60659
Target Corporation | Pipette      TARGET STORE 2080              9841 NORTHLAKE CENTRE PKWY                                              CHARLOTTE         NC           28216
Target Corporation | Pipette      TARGET STORE 2081              800 BROADVIEW VILLAGE SQ                                                BROADVIEW         IL           60155
Target Corporation | Pipette      TARGET STORE 2088              533 COLEMAN AVE                                                         SAN JOSE          CA           95110
Target Corporation | Pipette      TARGET STORE 2093              2580 SHEARN ST                                                          HOUSTON           TX           77007
Target Corporation | Pipette      TARGET STORE 2096              2425 CLARABEL RD                                                        RIVERBANK         CA           95367
Target Corporation | Pipette      TARGET STORE 2101              1515 COUNTY ROAD B W                                                    ROSEVILLE         MN           55113
Target Corporation | Pipette      TARGET STORE 2106              6321 MCKEE RD                                                           FITCHBURG         WI           53719
Target Corporation | Pipette      TARGET STORE 2111              1000 SHOPPES AT MIDWAY DR                                               KNIGHTDALE        NC           27545
Target Corporation | Pipette      TARGET STORE 2115              3601 N FREEWAY BLVD                                                     SACRAMENTO        CA           95834
Target Corporation | Pipette      TARGET STORE 2123              11525 PARKWAY PLAZA DR                                                  SOUTH JORDAN      UT           84095
Target Corporation | Pipette      TARGET STORE 2125              7200 DODGE ST                                                           OMAHA             NE           68114
Target Corporation | Pipette      TARGET STORE 2132              12830 WALKER BRANCH DR                                                  CHARLOTTE         NC           28273
Target Corporation | Pipette      TARGET STORE 2133              60 SHINING WILLOW WAY                                                   LA PLATA          MD           20646
Target Corporation | Pipette      TARGET STORE 2134              1090 S MAIN ST                                                          KERNERSVILLE      NC           27284
Target Corporation | Pipette      TARGET STORE 2139              8605 WESTHEIMER RD                                                      HOUSTON           TX           77063
Target Corporation | Pipette      TARGET STORE 2140              4040 N ORACLE RD                                                        TUCSON            AZ           85705
Target Corporation | Pipette      TARGET STORE 2141              2235 SPRINGFIELD AVE                                                    VAUXHALL          NJ           07088
Target Corporation | Pipette      TARGET STORE 2142              8900 STATE HIGHWAY 121                                                  MCKINNEY          TX           75070
Target Corporation | Pipette      TARGET STORE 2145              1801 S LOOP 288                                                         DENTON            TX           76205
Target Corporation | Pipette      TARGET STORE 2151              2300 PARK AVE                                                           TUSTIN            CA           92782
Target Corporation | Pipette      TARGET STORE 2153              400 OXFORD EXCHANGE BLVD                                                OXFORD            AL           36203
Target Corporation | Pipette      TARGET STORE 2165              3150 BUSINESS PARK DR                                                   VISTA             CA           92081
Target Corporation | Pipette      TARGET STORE 2168              3401 RALEIGH RD PKWY W STE 1A                                           WILSON            NC           27896
Target Corporation | Pipette      TARGET STORE 2169              6150 BAYFIELD PKWY                                                      CONCORD           NC           28027
Target Corporation | Pipette      TARGET STORE 2170              2100 N 2ND ST                                                           MILLVILLE         NJ           08332
Target Corporation | Pipette      TARGET STORE 2179              747 GRAND AVE                                                           DIAMOND BAR       CA           91765
Target Corporation | Pipette      TARGET STORE 2180              1447 E 7TH ST                                                           MONTICELLO        MN           55362
Target Corporation | Pipette      TARGET STORE 2182              11 ANDREWS RD                                                           SOMERSWORTH       NH           03878
Target Corporation | Pipette      TARGET STORE 2183              2171 PRAIRIE CENTER PKWY                                                BRIGHTON          CO           80601
Target Corporation | Pipette      TARGET STORE 2188              3401 N MIAMI AVE STE 100                                                MIAMI             FL           33127
Target Corporation | Pipette      TARGET STORE 2190              6064 MARSHA SHARP FREEWAY                                               LUBBOCK           TX           79407
Target Corporation | Pipette      TARGET STORE 2193              15300 GROVE CIRCLE N                                                    OSSEO             MN           55369
Target Corporation | Pipette      TARGET STORE 2194              600 S 7TH ST                                                            BISMARCK          ND           58504
Target Corporation | Pipette      TARGET STORE 2195              18287 COLLIER AVE                                                       LAKE ELSINORE     CA           92530
Target Corporation | Pipette      TARGET STORE 2203              233 CARMICHAEL WAY                                                      CHESAPEAKE        VA           23322
Target Corporation | Pipette      TARGET STORE 2205              23912 COMMERCIAL DR                                                     ROSENBERG         TX           77471
Target Corporation | Pipette      TARGET STORE 2206              16300 N MARKET PLACE BLVD                                               NAMPA             ID           83687
Target Corporation | Pipette      TARGET STORE 2212              1598 FLATBUSH AVE                                                       BROOKLYN          NY           11210
Target Corporation | Pipette      TARGET STORE 2216              1874 JOE BATTLE BLVD                                                    EL PASO           TX           79936
Target Corporation | Pipette      TARGET STORE 2218              551 S HOVER RD                                                          LONGMONT          CO           80501
Target Corporation | Pipette      TARGET STORE 2220              1400 24TH AVE NW                                                        NORMAN            OK           73069
                                                                                                                                         COLORADO
Target Corporation | Pipette      TARGET STORE 2221              9670 PROMINENT PT                                                       SPRINGS           CO           80924
Target Corporation | Pipette      TARGET STORE 2225              1985 SHERIDAN BLVD                                                      EDGEWATER         CO           80214
Target Corporation | Pipette      TARGET STORE 2227              24890 N LAKE PLEASANT PKWY                                              PEORIA            AZ           85383
Target Corporation | Pipette      TARGET STORE 2232              3060 PLAZA BONITA RD                                                    NATIONAL CITY     CA           91950
Target Corporation | Pipette      TARGET STORE 2233              9525 CROSSHILL BLVD                                                     JACKSONVILLE      FL           32222
Target Corporation | Pipette      TARGET STORE 2234              4701 LAKEVIEW PKWY                                                      ROWLETT           TX           75088
Target Corporation | Pipette      TARGET STORE 2236              16806 N 7TH ST                                                          PHOENIX           AZ           85022
Target Corporation | Pipette      TARGET STORE 2238              3155 SILVER CREEK RD                                                    SAN JOSE          CA           95121
Target Corporation | Pipette      TARGET STORE 2244              900 METROPOLITAN AVE STE 2                                              CHARLOTTE         NC           28204
Target Corporation | Pipette      TARGET STORE 2245              4200 E 4TH ST                                                           ONTARIO           CA           91764
Target Corporation | Pipette      TARGET STORE 2252              1061 COCHRANE RD                                                        MORGAN HILL       CA           95037
Target Corporation | Pipette      TARGET STORE 2259              3100 14TH ST NW SUITE 201                                               WASHINGTON        DC           20010
Target Corporation | Pipette      TARGET STORE 2260              20288 US HIGHWAY 18                                                     APPLE VALLEY      CA           92307
Target Corporation | Pipette      TARGET STORE 2261              3650 RIVERPOINT PKWY                                                    SHERIDAN          CO           80110
Target Corporation | Pipette      TARGET STORE 2264              3343 DANIELS RD                                                         WINTER GARDEN     FL           34787
Target Corporation | Pipette      TARGET STORE 2270              4400 TOWN CENTER BLVD                                                   EL DORADO HILLS   CA           95762
Target Corporation | Pipette      TARGET STORE 2271              1911 TOWNE CENTRE BLVD                                                  ANNAPOLIS         MD           21401
Target Corporation | Pipette      TARGET STORE 2275              1621 S ALAMEDA ST                                                       COMPTON           CA           90220
Target Corporation | Pipette      TARGET STORE 2280              2700 W 120TH ST                                                         HAWTHORNE         CA           90250
Target Corporation | Pipette      TARGET STORE 2281              2161 MONTEREY HWY                                                       SAN JOSE          CA           95125
Target Corporation | Pipette      TARGET STORE 2283              3092 N EASTMAN RD STE 100                                               LONGVIEW          TX           75605
Target Corporation | Pipette      TARGET STORE 2284              4001 PHOENIX AVE                                                        FORT SMITH        AR           72903
Target Corporation | Pipette      TARGET STORE 2288              9500 S IH 35 STE G                                                      AUSTIN            TX           78748
Target Corporation | Pipette      TARGET STORE 2289              11627 WEST HILLSBOROUGH AVE                                             TAMPA             FL           33635
Target Corporation | Pipette      TARGET STORE 2295              8061 BREWERTON RD                                                       CICERO            NY           13039
Target Corporation | Pipette      TARGET STORE 2300              6445 RICHFIELD PKWY                                                     RICHFIELD         MN           55423
Target Corporation | Pipette      TARGET STORE 2301              200 GLYNN ISLE                                                          BRUNSWICK         GA           31525
Target Corporation | Pipette      TARGET STORE 2304              200 WESTMINSTER MALL                                                    WESTMINSTER       CA           92683
Target Corporation | Pipette      TARGET STORE 2309              27100 EUCALYPTUS AVE                                                    MORENO VALLEY     CA           92555
Target Corporation | Pipette      TARGET STORE 2312              1200 BALTIMORE PIKE                                                     SPRINGFIELD       PA           19064
Target Corporation | Pipette      TARGET STORE 2313              7000 YORK AVE S                                                         MINNEAPOLIS       MN           55435
Target Corporation | Pipette      TARGET STORE 2314              2941 QUEENSGATE DR                                                      RICHLAND          WA           99352




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                  Creditor Name                Attention                        Address 1                    Address 2       Address 3            City          State           Zip   Country
Target Corporation | Pipette      TARGET STORE 2315             119 CROSSING WAY                                                         AUGUSTA           ME           04330
Target Corporation | Pipette      TARGET STORE 2319             950 EAST 33RD ST                                                         LONG BEACH        CA           90755
Target Corporation | Pipette      TARGET STORE 2320             3100 GULF FWY S                                                          LEAGUE CITY       TX           77539
Target Corporation | Pipette      TARGET STORE 2321             4611 MAINE AVE SE                                                        ROCHESTER         MN           55904
Target Corporation | Pipette      TARGET STORE 2323             9900 SOWDER VILLAGE SQ                                                   MANASSAS          VA           20109
Target Corporation | Pipette      TARGET STORE 2328             651 W SEPULVEDA BLVD                                                     CARSON            CA           90745
Target Corporation | Pipette      TARGET STORE 2329             11133 BALBOA BLVD                                                        GRANADA HILLS     CA           91344
Target Corporation | Pipette      TARGET STORE 2333             5610 ROSWELL RD                                                          ATLANTA           GA           30342
Target Corporation | Pipette      TARGET STORE 2339             1801 E PARKS HWY                                                         WASILLA           AK           99654
Target Corporation | Pipette      TARGET STORE 2340             810 COUNTY ROAD 42 W                                                     BURNSVILLE        MN           55337
Target Corporation | Pipette      TARGET STORE 2350             38019 47TH ST E                                                          PALMDALE          CA           93552
Target Corporation | Pipette      TARGET STORE 2354             5715 N 19TH AVE                                                          PHOENIX           AZ           85015
Target Corporation | Pipette      TARGET STORE 2360             803 INDUSTRIAL BLVD                                                      SMYRNA            TN           37167
Target Corporation | Pipette      TARGET STORE 2361             5065 MAIN ST STE TARGET                                                  TRUMBULL          CT           06611
Target Corporation | Pipette      TARGET STORE 2362             1033 CROSSINGS BLVD                                                      SPRING HILL       TN           37174
Target Corporation | Pipette      TARGET STORE 2369             9350 DYNASTY DR                                                          FORT MYERS        FL           33905
Target Corporation | Pipette      TARGET STORE 2371             1200 NORTH MULDOON RD STE F                                              ANCHORAGE         AK           99504
Target Corporation | Pipette      TARGET STORE 2381             900 BERGEN TOWN CTR                                                      PARAMUS           NJ           07652
Target Corporation | Pipette      TARGET STORE 2383             12500 K PLAZA                                                            OMAHA             NE           68137
Target Corporation | Pipette      TARGET STORE 2384             675 WOODBURY GLASSBORO RD                                                SEWELL            NJ           08080
Target Corporation | Pipette      TARGET STORE 2386             1000 COMMERCE AVE                                                        ATWATER           CA           95301
Target Corporation | Pipette      TARGET STORE 2387             5865 SPOUT SPRINGS RD                                                    FLOWERY BRANCH    GA           30542
Target Corporation | Pipette      TARGET STORE 2390             15560 PILOT KNOB RD                                                      APPLE VALLEY      MN           55124
Target Corporation | Pipette      TARGET STORE 2394             15922 CRAIN HWY                                                          BRANDYWINE        MD           20613
Target Corporation | Pipette      TARGET STORE 2398             245 S MILLS RD                                                           VENTURA           CA           93003
Target Corporation | Pipette      TARGET STORE 2399             912 AIRPORT CENTER DR                                                    ALLENTOWN         PA           18109
Target Corporation | Pipette      TARGET STORE 2400             995 S COTTON LN                                                          GOODYEAR          AZ           85338
Target Corporation | Pipette      TARGET STORE 2404             350 W LAKE MEAD PKWY                                                     HENDERSON         NV           89015
Target Corporation | Pipette      TARGET STORE 2406             449 COMMERCE DR                                                          WOODBURY          MN           55125
Target Corporation | Pipette      TARGET STORE 2410             4380 LAWEHANA ST                                                         Honolulu          HI           96818
Target Corporation | Pipette      TARGET STORE 2411             4450 KAPOLEI PKWY STE 100                                                KAPOLEI           HI           96707
Target Corporation | Pipette      TARGET STORE 2423             9040 N SKYVIEW AVE                                                       KANSAS CITY       MO           64154
Target Corporation | Pipette      TARGET STORE 2428             3061 WILDFLOWER DR                                                       BRYAN             TX           77802
Target Corporation | Pipette      TARGET STORE 2431             13055 HIGHWAY 9 N                                                        MILTON            GA           30004
Target Corporation | Pipette      TARGET STORE 2436             4521 S LABURNUM AVE                                                      RICHMOND          VA           23231
Target Corporation | Pipette      TARGET STORE 2442             5150 GOODMAN RD                                                          OLIVE BRANCH      MS           38654
Target Corporation | Pipette      TARGET STORE 2449             875 E MAIN ST                                                            WACONIA           MN           55387
Target Corporation | Pipette      TARGET STORE 2451             4024 COLLEGE POINT BLVD STE F600                                         FLUSHING          NY           11354
Target Corporation | Pipette      TARGET STORE 2456             15800 87TH ST NE                                                         OTSEGO            MN           55330
Target Corporation | Pipette      TARGET STORE 2457             1415 EGLIN ST                                                            RAPID CITY        SD           57703
Target Corporation | Pipette      TARGET STORE 2460             1700 GARTH BROOKS BLVD                                                   YUKON             OK           73099
Target Corporation | Pipette      TARGET STORE 2462             51 TIERRA REJADA RD                                                      SIMI VALLEY       CA           93065
Target Corporation | Pipette      TARGET STORE 2470             1701 N GAFFEY ST                                                         SAN PEDRO         CA           90731
Target Corporation | Pipette      TARGET STORE 2475             700 EXTERIOR ST                                                          BRONX             NY           10451
Target Corporation | Pipette      TARGET STORE 2478             201 PERIMETER DR                                                         MIDLOTHIAN        VA           23113
Target Corporation | Pipette      TARGET STORE 2482             855 E BIRCH ST                                                           BREA              CA           92821
Target Corporation | Pipette      TARGET STORE 2485             3867 PROMENADE PKWY                                                      DIBERVILLE        MS           39540
Target Corporation | Pipette      TARGET STORE 2490             130 S MANNHEIM RD                                                        HILLSIDE          IL           60162
Target Corporation | Pipette      TARGET STORE 2492             6507 4TH AVE                                                             SACRAMENTO        CA           95817
Target Corporation | Pipette      TARGET STORE 2493             916 LOGANVILLE HWY STE 400                                               BETHLEHEM         GA           30620
Target Corporation | Pipette      TARGET STORE 2494             8503 S SAM HOUSTON PKWY E                                                HOUSTON           TX           77075
Target Corporation | Pipette      TARGET STORE 2497             7090 N 5TH ST                                                            NORTH LAS VEGAS   NV           89084
Target Corporation | Pipette      TARGET STORE 2501             5001 HOLT AVE                                                            HAMPTON           VA           23666
Target Corporation | Pipette      TARGET STORE 2503             5561 GROVE BLVD                                                          BIRMINGHAM        AL           35226
Target Corporation | Pipette      TARGET STORE 2516             150 E STACY RD STE 2400                                                  ALLEN             TX           75002
Target Corporation | Pipette      TARGET STORE 2520             4760 STATE HIGHWAY 121                                                   LEWISVILLE        TX           75056
Target Corporation | Pipette      TARGET STORE 2523             9401 NE CASCADES PKWY                                                    PORTLAND          OR           97220
Target Corporation | Pipette      TARGET STORE 2527             2450 SHOPPERS LN                                                         WYNCOTE           PA           19095
Target Corporation | Pipette      TARGET STORE 2531             2030 HAMMOND SQUARE DR                                                   HAMMOND           LA           70403
Target Corporation | Pipette      TARGET STORE 2532             1167 WASHINGTON ST                                                       HANOVER           MA           02339
Target Corporation | Pipette      TARGET STORE 2538             436 RETAIL COMMONS PKWY                                                  MARTINSBURG       WV           25403
Target Corporation | Pipette      TARGET STORE 2542             10019 S MEMORIAL DR                                                      TULSA             OK           74133
Target Corporation | Pipette      TARGET STORE 2544             28800 DEQUINDRE RD                                                       WARREN            MI           48092
Target Corporation | Pipette      TARGET STORE 2550             3440 W FM 544                                                            WYLIE             TX           75098
Target Corporation | Pipette      TARGET STORE 2568             695 S GREEN VALLEY PKWY                                                  HENDERSON         NV           89052
Target Corporation | Pipette      TARGET STORE 2569             6371 N DECATUR BLVD                                                      LAS VEGAS         NV           89130
Target Corporation | Pipette      TARGET STORE 2572             1629 N TOWN EAST BLVD                                                    MESQUITE          TX           75150
Target Corporation | Pipette      TARGET STORE 2581             95 HOLGER WAY                                                            SAN JOSE          CA           95134
Target Corporation | Pipette      TARGET STORE 2584             298 W MCKINLEY AVE                                                       SUNNYVALE         CA           94086
Target Corporation | Pipette      TARGET STORE 2586             3900 N 124TH ST                                                          WAUWATOSA         WI           53222
Target Corporation | Pipette      TARGET STORE 2596             160 W DEKALB PIKE                                                        KING OF PRUSSIA   PA           19406
Target Corporation | Pipette      TARGET STORE 2604             5104 COMMONS DR                                                          ROCKLIN           CA           95677
Target Corporation | Pipette      TARGET STORE 2605             5630 COTTLE RD                                                           SAN JOSE          CA           95123
Target Corporation | Pipette      TARGET STORE 2627             809 N AZUSA AVE                                                          AZUSA             CA           91702
Target Corporation | Pipette      TARGET STORE 2632             6000 SEPULVEDA BLVD STE 2250                                             CULVER CITY       CA           90230
Target Corporation | Pipette      TARGET STORE 2641             1110 S 300 W                                                             SALT LAKE CITY    UT           84101
Target Corporation | Pipette      TARGET STORE 2649             221 UNIVERSITY AVE                                                       WESTWOOD          MA           02090
Target Corporation | Pipette      TARGET STORE 2660             100 HOOKELE ST                                                           KAHULUI           HI           96732
Target Corporation | Pipette      TARGET STORE 2693             250 GRANITE ST STE 121                                                   BRAINTREE         MA           02184




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Target Corporation | Pipette         TARGET STORE 2697                 345 HAHANI ST                                                                                     KAILUA              HI               96734
Target Corporation | Pipette         TARGET STORE 2715                 11000 STOCKDALE HWY                                                                               BAKERSFIELD         CA               93311
Target Corporation | Pipette         TARGET STORE 2725                 5188 KYLE CENTER DR                                                                               KYLE                TX               78640
Target Corporation | Pipette         TARGET STORE 2729                 210 BALLARDVALE ST                                                                                WILMINGTON          MA               01887
Target Corporation | Pipette         TARGET STORE 2744                 6655 NORTH RIVERSIDE DR                                                                           FRESNO              CA               93722
Target Corporation | Pipette         TARGET STORE 2784                 7129 OKELLY CHAPEL ROAD                                                                           CARY                NC               27519
Target Corporation | Pipette         TARGET STORE 2804                 950 CODDINGTOWN CENTER                                                                            SANTA ROSA          CA               95401

Target Corporation | Pipette         TARGET STORE 2810                 30740 RUSSELL RANCH RD                                                                            WESTLAKE VILLAGE    CA               91362
Target Corporation | Pipette         TARGET STORE 2811                 815 E HUTCHINSON RIVER PKWY                                                                       BRONX               NY               10465
Target Corporation | Pipette         TARGET STORE 2830                 2004 EL CAMINO REAL                                                                               SANTA CLARA         CA               95050
Target Corporation | Pipette         TARGET STORE 2847                 5750 SUNRISE HWY                                                                                  SAYVILLE            NY               11782
Target Corporation | Pipette         TARGET STORE 2855                 17170 CAMINO DEL SUR                                                                              SAN DIEGO           CA               92127
Target Corporation | Pipette         TARGET STORE 2857                 4915 S REGAL ST                                                                                   SPOKANE             WA               99223
Target Corporation | Pipette         TARGET STORE 2865                 6635 N GRAND PKWY W                                                                               SPRING              TX               77389
Target Corporation | Pipette         TARGET STORE 2868                 10241 WEST GRAND PARKWAY SOUTH                                                                    HOUSTON             TX               77407
Target Corporation | Pipette         TARGET STORE 3252                 4955 DEMPSTER ST                                                                                  SKOKIE              IL               60077
Target Corporation | Pipette         TARGET STORE 3258                 2620 E CHAPMAN AVE                                                                                ORANGE EAST         CA               92869
Target Corporation | Pipette         TARGET STORE 3274                 2222 E LINCOLN AVE                                                                                ANAHEIM             CA               92806
Target Corporation | Pipette         TARGET STORE 3290                 1157 ROUTE 46                                                                                     PARSIPPANY          NJ               07054
Target Corporation | Pipette         TARGET STORE 3291                 1520 FOREST AVE                                                                                   STATEN ISLAND       NY               10302
Target Corporation | Pipette         TARGET STORE 3305                 34 CAMBRIDGE ST. STE 145                                                                          BURLINGTON          MA               01803
Target Corporation | Pipette         TARGET STORE 3318                 307 INDEPENDENCE PLZ                                                                              SELDEN              NY               11784
Target Corporation | Pipette         TARGET STORE 3324                 793 IYANNOUGH RD                                                                                  HYANNIS             MA               02601
Target Corporation | Pipette         TARGET STORE 3333                 333 N MAIN ST, STE 10                                                                             WEST HARTFORD       CT               06117
Target Corporation | Pipette         TARGET STORE 3334                 1863 BROADWAY                                                                                     NEW YORK            NY               10023
Target Corporation | Pipette         TARGET STORE 3336                 14310 HAWTHORNE BLVD                                                                              LAWNDALE            CA               90260
Target Corporation | Pipette         TARGET STORE 3347                 1833A LACIENEGA BLVD                                                                              LOS ANGELES         CA               90035
Target Corporation | Pipette         TARGET STORE 3376                 5800 S REDWOOD RD                                                                                 TAYLORSVILLE        UT               84123
Target Corporation | Pipette         TARGET STORE 3382                 345 ROCKAWAY TPKE                                                                                 LAWRENCE            NY               11559
TargetCW                                                               9475 Chesapeake Dr                                                                                San Diego           CA               92123
TargetCW                             C/O WMBE Payrolling Inc           PO BOX 515848                                                                                     Los Angeles         CA               90051-3148
Tarter, Ysis                                                           Address Redacted
Tashanda Giles                                                         Address Redacted
TaShawn L Mustiful                                                     Address Redacted
Tasmin Meyer Ersahin                                                   Address Redacted
Tassin Scientific Services, LLC                                        Suite 210 7426 Cherry Ave.                                                                        Fontana             CA               92336
Tatiana Waterford                                                      Address Redacted
Taylor Bryant                                                          Address Redacted
Taylor Cunningham                                                      Address Redacted
Taylor Giavasis                                                        Address Redacted
Taysty Life LLC                                                        73 Monarch Bay Drive                                                                              Dana Point          CA               92629
TBC PERFUMES E COSMETICOS LTDA                                         AV NEW JERSEY (C IND ARUJA) 919                                                                   ARUJA               SP               07411-670     Brazil
TCI Chemicals                                                          Dept CH 17593                                                                                     Palatine            IL               60055-7593
TDC National Assurance Co.
Team Medic (London) Ltd                                                105 Mayford Business Centre, Mayford,                                                             Woking              Surrey           GU22 0PP      United Kingdom
Tech Law Partners LLP                                                  52 Morse Lane                                                                                     Woodside            CA               94062
TechNet                              C/O Technology Network            4633 Old Ironsides Drive, Ste 310                                                                 Santa Clara         CA               95054
TechNet                              C/O Technology Network            Attn: Member Services                                         4633 Old Ironsides Drive, Ste 310   Santa Clara         CA               95054
Technical Safety Services Inc                                          Dept 33265 PO Box 39000                                                                           San Francisco       CA               94139
TechniClean Products                 C/O TechniClean-Halco Inc         20279 Mack Street                                                                                 Hayward             CA               94545
Technology Integration Group         PC Specialists Inc.               Suite 300 10620 Treena Street                                                                     San Diego           CA               92131
Technology Sciences Group            TSG                               1150 18th St NW                                                                                   Washington          DC               20036
TechSmith                                                              2405 Wodlake Drive                                                                                Okemos              MI               45564
Techwood Consulting                                                    Suite100 200 Ashford Center N                                                                     Atlanta             GA               30338
Tecmag, Inc.                                                           Suite 150 10161 Harwin Dr                                                                         Houston             TX               77036
TECNIA INTERIOR SA DE CV                                               Alejandria 32 A, Col. Claveria Del.                                                               Mexico City         MEX              02080
TECO Pneumatic Inc                                                     1069 Serpentine Lane                                                                              Pleasanton          CA               94566
Teikametrics, Inc.                                                     280 Summer St.                          FL 9                                                      Boston              MA               02210
Tejada, Jennifer                                                       Address Redacted
Tek-Matic, Inc                                                         7316 N Alpine Rd                                                                                  Loves Park          IL               61111
Teknor Apex                                                            505 Central Ave                                                                                   Pawtucket           RI               02861
Teknor Germany GmbH                                                    Am Roedlein 1                                                                                     Rothenburg o.d.T.                    91541         Germany
Teknova                              C/O Alpha Teknova Inc             2451 Bert Drive                                                                                   Hollister           CA               95023
Teleco Wilmington                                                      5221-A Oleander Dr.                                                                               Wilmington          NC               28403
Telesis Bio, Inc.                    Codex DNA, Inc.                   Suite 100 9535 Waples Street                                                                      San Diego           CA               92121
Tempresco Inc                                                          P.O Box 2342                                                                                      Dublin              CA               94568
Tencarva                                                               1200 North 23 St.                                                                                 Wilmington          NC               28405
Tenicka Boyd                                                           Address Redacted
Teorema Xentral S.C.                                                   AVENIDA REVOLUCIÓN 1267 PISO 19                                                                   CIUDAD DE MEXICO DF                  01010
Teppich, Melanie                                                       Address Redacted
tEQuitable, Inc.                                                       #220 1423 Broadway                                                                                Oakland             CA               94612
TERA CARGO TRANSPORTES                                                 R RAFAEL DE BARROS 380                                                                            LEME                SP               13610-200     Brazil
Terasana.com                         Pipette.com                       5885 Hollis St., Ste 100                                                                          Emeryville          CA               94608

TERLOC - TERMINAL LOGISTICO CESARI                                     AVENIDA ENGENHEIRO PLINIO DE QU S/N                                                               CUBATAO             SP               11570-000     Brazil
Terrace Consulting, Inc.                                               PO Box 597                                                                                        San Francisco       CA               94104
Terrace International, Inc.                                            7 ALLEGHENY CT                                                                                    BOLINGBROOK         IL               60440
Terrana, Kristin                                                       Address Redacted




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                  Creditor Name                                        Attention                             Address 1                                Address 2                  Address 3            City             State         Zip         Country
Terumo BCT Inc                                                                           Department 7087                                                                                     Carol Stream         IL           60122-7087
Tessa Watson                                                                             5861 San Pablo ave                                                                                  Emeryville           CA           94608
Texas Comptroller of Public Accounts               Attn: Bankruptcy/Legal Dept.          P.O. Box 13528                               Capitol Station                                        Austin               TX           78711-3528
Texas Comptroller of Public Accts                                                        PO Box 149348                                                                                       Austin               TX           78714-9348
TH Outdoor & Events LLC                                                                  447 Broadway                                 2nd Floor #355                                         New York             NY           10013
Thais Saetta                                                                             108 Professional Center Pkwy, #408                                                                  San Raael            CA           94903
Thaitumu, Marlene                                                                        Address Redacted
Thakker, Chandresh                                                                       Address Redacted
Tham, Phillip                                                                            Address Redacted
Thames Valley DC                                                                         Address Redacted
Thangadurai, Subasthika                                                                  Address Redacted
That Agency Corp                                                                         8605 Santa Monica Blvd 50348                                                                        West Hollywood       CA           90069
The Adventure School                                                                     1240 STANYAN ST                                                                                     San Francisco        CA           94117-3817
The Andwin Corporation                             Andwin Scientific                     PO Box 940220                                                                                       Simi Valley          CA           93904
The Avalon Group, Inc.                                                                   27758 Santa Margarita Pkwy #203                                                                     Mission Viejo        CA           92691
The Battery Foundation                                                                   387 Tehama Street                                                                                   San Francisco        CA           94103
The Benchmarking Company                                                                 11710 Plaza America Dr. Ste 2000                                                                    Reston               VA           20190
The Bernard Group                                                                        19011 Lake Drive East                                                                               Chanhassen           MN           55317
The Booking Project                                                                      56 Shoreditch High Street                                                                           London                            E1 6JJ       United Kingdom
The Business of Fashion Ltd                                                              7th Floor 2, Television Centre 101 Wood Ln                                                          London                            W12 7FR      United Kingdom
The Business of Fashion, Inc.                                                            500 Broome Street                                                                                   New York             NY           10013
The Caldwell Partners International                                                      LB# 1183, PO Box 95000                                                                              Philadelphia         PA           19195-1183
The Cary Company                                                                         PO Box 88670                                                                                        Chicago              IL           60680-1670
The Chicago Club                                                                         Post Office Box No 92737                                                                            Chicago              IL           60675
The Class by Taryn Toomey                          ShipBob Inc Attn: The Class           3001 Woodbridge Avenue                                                                              Edison               NJ           08837
The Class by Taryn Toomey                          The Class                             2433 Main Street                                                                                    Santa Monica         CA           90404
The Class by Taryn Toomey                          The Class by Taryn Toomey             22 Park Place, Floor 3                                                                              New York             NY           10007
The Comfort Table LLC                              Katherine R. Lee                      2000 Avenue of the Stars                                                                            Los Angeles          CA           90042
The Commonwealth of Massachusetts                                                        17th Floor One Ashburton Place                                                                      Boston               MA           02108
The Conde Nast Publications Limited                                                      Vogue House                                  Hanover Square                                         London                            W1S 1JU      United Kingdom
The Conference Board, Inc.                                                               845 Third Avenue                                                                                    New York             NY           10022
The Conservatory                                                                         Address Redacted
The Conservatory - Engagement Marketing Gallery,
LLC                                                The Conservatory                      100 Highland Park Village, Suite 205                                                                Dallas               TX           75205
The Conservatory - Engagement Marketing Gallery,
LLC                                                The Conservatory Dallas               4141 Lomo Alto Drive                                                                                Dallas               TX           75219
The Conservatory Houston                                                                 Address Redacted
The Conservatory New York City                                                           Address Redacted
The Controllers Group                                                                    1818 The Alameda                                                                                    San Jose             CA           95126
The Design Council Ltd. dba The Style Council                                            242 W. 36th Street, 5th Fl.                                                                         New York             NY           10018
The Dow Chemical Company                                                                 7719 Collection Center Dr                                                                           Chicago              IL           60693-0077
The Dowal Walker Agency                                                                  12 Fulham Business Exchange, Imper                                                                  London                            SW6 2TL      United Kingdom
The Dtx Company dba Flowcode                                                             45 Grand St                                                                                         New York             NY           10013
The E.J. McKernan Co.                                                                    PO Box 7281                                                                                         Reno                 NV           89510
The Efflorescence                                                                        228 West Hill St Apt 2312                                                                           Chicago              IL           60610
The Everygirl Media Group, LLC                                                           #208 845 W. Fulton Market                                                                           Chicago              IL           60607
The Four Seasons Residences/ Attn: Iván Pol                                              Address Redacted

The Gilbert Company / Neiman Marcus 7010 PNDC                                            Address Redacted
The Golden RX LLC                                                                        5200 Wilshire Blvd                           Apt 563                                                Los Angeles          CA           90036
The Good Face Project                                                                    5667 Linda Rosa Ave                                                                                 La Jolla             CA           92037
The Hand of God                                                                          4-8 Arcole Street                                                                                   London                            E8 2DJ       United Kingdom
The Hanover Insurance Company                                                            440 Lincoln Street                                                                                  Worcester            MA           01653
The Hanover Research Council LLC                                                         4th Floor 4401 Wilson Blvd                                                                          Arlington            VA           22203
THE HAUTE PURSUIT PROJECTS INC.                                                          Suite 05, 1485 West 13th Avenue                                                                     Vancouver            BC           V6H 1P1      Canada
The Hive Model Management Ltd                                                            Unit 17 Tileyard Studios                     Tileyard Road                                          London                            N7 9AH       United Kingdom
The Hut Group                                                                            Fifth Floor, Voyager House, Chicago                                                                 Manchester                        M90 3DQ      United Kingdom

The Hut Group- Pipette                             Omega South                           The Hut Group                                Skyline Drive               Great Sankey               Warrington WA5 3UG                             United Kingdom
The Hut Group- Pipette                             Seko Logistics Omni                   15702 Cypress Ave                                                                                   Chino              CA             91708

The Hut Group- Pipette                             The Hut Group                         5th Floor, Voyager House                                                                            Manchester M90 3DQ                             United Kingdom
The Hut Group- Pipette                             The Hut Group                         8551 Esters Blvd                             Ste 100                                                Irving               TX           75063
The Hut Group- Pipette                             THG Kentucky                          The Hut Group                                1350 Cedar Grove Road                                  Shepherdsville       KY           40165
The Hut Group- Pipette                             THG New Jersey                        300 Cedar Lane                                                                                      Edison               NJ           08817
The Hut Group- Pipette                             THG New Jersey                        6 Greek Ln                                                                                          Edison               NJ           08817
The Hut Group- Rose | UK                           The Hut Group- Rose                   The M2                                       No.5 Sunbank Lane                                      Altrincham                        WA15 0AF     United Kingdom
The Ingredient House LLC                                                                 400 NW Broad Street                                                                                 Southern Pines       NC           28387
The Internet is for Everyone, LLC                                                        5025 W Lemon Street                          Suite 200                                              Tampa                FL           33609
The JGO Agency                                                                           1048 N. Lake Street                                                                                 Burbank              CA           91502
The Kair Group LLC                                                                       313 Grand Blvd                               Suite # 509                                            Venice               CA           90294
The Knot Worldwide Inc                                                                   P.O. Box 32177                                                                                      New York             NY           10087-2177
The Kroger Co.                                     The Kroger Co.                        Mt. Zion Fulfillment Center                  251 East Mt Zion Road                                  Florence             KY           41042
The Kroger Co.                                     Vitacost.com                          4700 Exchange Ct Suite 200                                                                          Boca Raton           FL           33431
The Lab, LLC                                                                             175 Pearl Street                             8th Floor                                              Brooklyn             NY           11201
The Law Office of David C. Deal, P.                David C. Deal                         P.O. Box 625                                                                                        Charlottesville      VA           22902
The Leadership Council Legal Divers                The Leadership Council                Suite 110 951 E. Byrd Street                                                                        Richmond             VA           23219
The Lede Company LLC                                                                     780 3rd Avenue                               9th Floor                                              New York             NY           10017
The Lincoln National Life Insurance Company                                              100 N Greene Street                                                                                 Greensboro           NC           27401




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THE LOOK & CO | Costa Brazil                           THE LOOK & CO                                 1031 CHUCK DAWLEY                                                                                     MT PLEASANT           SC                29464
The Make Haus                                                                                        9/15 Laurence St.                                                                                     Manly                 NSW               02095
The Makeup House Ltd                                                                                 122 High Street                                                                                       Tamworth              Staffs.           B77 1LP      United Kingdom
The Maxwell Agency, LLC                                                                              17-26 Menahan Street, Apt 1,                                                                          Ridgwood              NY                11385
The Napa Valley Reserve                                                                              1000 Silverado Trail                                                                                  St Helena             CA                94574
The National Food Lab, Inc.                                                                          2425 New Holland Pike                                                                                 Lancaster             PA                17601
The National Food Lab, Inc.                                                                          PO Box 1481                                                                                           Carol Stream          IL                60132-1481
The Navy Exchange Service Command                      The Navy Exchange Service Command             3280 Virginia Beach Blvd                                                                              Virginia Beach        VA                23452
The Net A Porter Group Limited | Costa Brazil          FAO: Joseph A Lojo / Sandy Alexander          93 Entin Road                                                                                         Clifton               NJ                07014
                                                                                                                                                                                                           Tsing Yi New
The Net A Porter Group Limited | Costa Brazil          NET-A-PORTER GRP LTD                          10/F Goodman Interlink, 39 Tsing Yi Road                                                              Territories                                          Hong Kong

                                                                                                                                                      Stock Arrival, Unit 3, Charlton Gate
The Net A Porter Group Limited | Costa Brazil          NET-A-PORTER GRP LTD                          The Net-A-Porter Group Limited                   Business Park, Anchor & Hope Lane                    Charlton SE7 7RU                                     United Kingdom
                                                       The Net A Porter Group Asia Pacific Limited
The Net A Porter Group Limited | Costa Brazil          (DC3)                                         Level 26/27, 28 Hennessy Road                                                                         Wan Chai                                             Hong Kong

The Net A Porter Group Limited | Costa Brazil          The Net-A-Porter Group Asia Pacific Limited   Level 26/27                                      28 Hennessy Road                                     Wan Chai                                             China
                                                                                                     ROOM 2313-19, Jardine House, 1 Connaught
The Net A Porter Group Limited | Costa Brazil          The Net-A-Porter Group Asia Pacific Limited   Place                                                                                                 Central                                              Hong Kong
                                                       The Net-A-Porter Group Asia Pacific LTD       Stock Arrivals, 10th Floor, Goodman Interlink,                                                        Tsing Yi New
The Net A Porter Group Limited | Costa Brazil          (DC3)                                         39 Tsing Yi Road                                                                                      Territories                                          Hong Kong
                                                                                                     1 The Village Offices, Westfield London
The Net A Porter Group Limited | Costa Brazil          The NET-A-PORTER Group Limited                Shopping Centre                                  Ariel Way                                            London                                  W12 7GF      United Kingdom
The Net A Porter Group Limited | Costa Brazil          YNAP Corporation                              100 Fifth Avenue                                 11th Floor                                           New York              NY                10011

The Net A Porter Group Limited | Costa Brazil          YNAP Corporation (DC 2) / NET-A-PORTER        725 Darlington Avenue                                                                                 Mahwah                NJ                07430
The Net A Porter Group Limited | Costa Brazil          Yoox Net A Porter Group Spa                   Via Morimondo 17                                                                                      Milano 20143                                         Italy
                                                                                                                                                                                                           Landriano Pavia, PV
The Net A Porter Group Limited | Costa Brazil          YOOX NET-A-PORTER GROUP SPA                   Stock Arrivals                                   Via Privata Paolo Baffi, 2                           27015                                                Italy
                                                                                                                                                                                                           Tsing Yi New
The Net A Porter Group Limited | Rose Inc              The Net A Porter Group Asia Pacific Limited   10/F Goodman Interlink                           39 Tsing Yi Road                                     Territories                                          Hong Kong
The Net A Porter Group Limited | Rose Inc              The Net A Porter Group Limited                1 The Village Offices, Airel Way                                                                      London                                  W12 7GF      United Kingdom

The Net A Porter Group Limited | Rose Inc              The Net-A-Porter Group Asia Pacific Limited   Rm 2313-19 23/F JARDINE HSE                      1 CONNAUGHT PLACE                                    Central                                              Hong Kong
The Net A Porter Group Limited | Rose Inc              YNAP Corporation                              725 Darlington Avenue                                                                                 Mahwah                NJ                07430
The Net A Porter Group Limited | Rose Inc              Yoox Net A Porter Group Spa                   C/O Class Spa,                                   Via Morimondo 17                                     Milano Italy 20143                                   Italy
The Net A Porter Group Limited | Rose Inc              YOOX NET A PORTER GROUP SPA                   VIA MORIMONDO 17                                                                                      MILANO (MI) 20143                                    Italy
                                                       YOOX NETA-A-PORTER GROUP SPA /
The Net A Porter Group Limited | Rose Inc              STOCK ARRIVALS                                Via Privata Paolo Baffi 2                                                                             Landriano 27015                                      Italy

THE NET A PORTER GRP/ ATTN: LUCY KELLOCK                                                             Address Redacted
The Net-A-Porter Group Asia Pacific Limited / NET-A-
PORTER GRP LTD                                                                                       Address Redacted

The Net-A-Porter Group Limited /Attn: Neeve Gale                                                     Address Redacted
The Net-A-Porter Group LTD                                                                           1 THE VILLAGE OFFICES                            WESTFIELD, ARIEL WAY                                 London                London            W12 7GF      United Kingdom
The New York Times                                                                                   620 Eighth Avenue                                                                                     New York              NY                10018
The Nielsen Company US, LLC                            ACNielsen Corporation                         200 West Jackson Boulevard                                                                            Chicago               IL                60606
The Nieto Group                                        David L. Nieto                                #1008 1211 Van Street SE                                                                              Washington            DC                20003-4680
The North Carolina Dept of Commerce                    Division of Employment Security               PO Box 26504                                                                                          Raleigh               NC                27611-6504
The Northeast Group, LLC                                                                             562 Main Street                                                                                       Fiskdale              MA                01518
The NPD Group                                                                                        24619 Network Place                                                                                   Chicago               NY                11050
The Ohio State University                                                                            901 Woody Hayes Dr                                                                                    Columbus              OH                43210
The One That Got Away, LLC                                                                           385 Grand Street L503                                                                                 New York              NY                10002
The Only Agency, Inc                                                                                 20 West 22nd Street                              Suite 701                                            New York              NY                10010
The Parker Companies                                                                                 17 W MCDONOUGH ST                                                                                     SAVANNAH              GA                31401
The Parker Companies                                   Parker's 40                                   6159 Hwy. 21 South                                                                                    Rincon                GA                31401
The Parker Companies                                   Parkers Jacksonville                          4102-7 Bulls Baw Hwy                                                                                  Jacksonville          FL                32219
The Polycube Company LLC                                                                             30A Runway Rd.                                                                                        Levittown             PA                19057
The Poole Shop/Capitol                                 The Poole Shop/Capitol                        4010 Sharon Rd                                                                                        Charlotte             NC                28211
The Post Shop                                                                                        1777 Yosemite Avenue 45                                                                               San Francisco         CA                94124
The PR People Pte Ltd                                                                                110 Lor 23 Victory Center, Unit 02-02                                                                 Singapore                               388410       Singapore
The Prego Expo LLC                                                                                   1 Purlieu Place Suite 292                                                                             Winter Park           FL                32792
The Protectoseal Company                                                                             225 Foster Avenue                                                                                     Bensenville           IL                60106
The Real Real                                          The Real Real                                 55 Francisco                                     6th Floor                                            San Francisco         CA                94133
The Regents of the University of CA                                                                  1111 Franklin Street, 5th Floor                                                                       Oakland               CA                94607
THE ROBERTS CONTAINER CORPORATION                                                                    9131 OAKDALE AVE, SUITE 110                                                                           CHATSWORTH            GA                91311
The Rockridge Group                                                                                  5905 Shelby Ln                                                                                        Franklin              TN                37064
The Royal Box Group, LLC                                                                             1301 S. 47th Avenue                                                                                   Cicero                IL                60804
The Royal Promotion Group, Inc. dba RPG                                                              119 W. 57th Street                               906, 9th Floor                                       New York              NY                10019
The Sage Group                                         C/O Sage Consulting Associates, Inc           33 Falmouth Street                                                                                    San Francisco         CA                94107
The Sampler App Inc                                                                                  216-250 University Ave                                                                                Toronto               ON                M5H 3E5      Canada
The Scoular Company                                                                                  1050 250 Marquette Ave S                                                                              Minneapolis           MN                55401
The Sherwin-Williams Company                                                                         1114 New Pointe Blvd                                                                                  Leland                NC                28451
The Socialyte Collective                               Nylon Media Inc                               Dept LA 24406                                                                                         Pasadena              CA                91185
The Soul Market                                        The Soul Market                               135 N 11th Street                                2B                                                   Brooklyn              NY                11249
The Staffing Solutions Group                                                                         3478 Buskirk Ave., Suite 110                                                                          Pleasant HIll         CA                94523
The Style Du Jour                                                                                    1126 Lincoln Avenue South                                                                             Highland Park         IL                60035




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The Surf Lodge                                    Rosita Moraes                                 The Surf Lodge                           183 S Edgemere St                                                         Montauk               NY           119545327
The Tarka Group, Inc.                                                                           210 N. Old Stonehouse Road                                                                                         Carlisle              PA           17015-8517
The TJX Companies Inc (EcoFab)                    Marshalls Distribution Center #883            2760 Red Lion Rd                                                                                                   Philadelphia          PA           19114
The TJX Companies Inc (EcoFab)                    The TJ Maxx Distribution Center #893          4000 Oldfield Blvd                                                                                                 Pittston              PA           18640
The TJX Companies Inc (EcoFab)                    The TJX Companies Inc Memphis Oaks            3860 E. Holmes Rd                        Suite 101                                                                 Memphis               TN           38118
The TJX Companies Inc. (Canada) | Biossance       The TJX Companies Inc.                        3185 American Drive                                                                                                Mississauga           ON           L4V 1B8         Canada
The TJX Companies Inc. (Canada) | Biossance       The TJX Companies Inc.                        60 Standish Court                                                                                                  Mississauga           ON           L5R 0G1         Canada
The Upreach Agency                                                                              111 17th Ave S                           #1314                                                                     Nashville             TN           37203
The Upside Corporation                                                                          98 Barcom Ave                                                                                                      Darlinghurst                       2010            Australia
The Vegan Society Trading Itnl.                                                                 34-35 Ludgate Hill                                                                                                 Birmingham                         B3 1EH          United Kingdom
The Villani Group                                                                               747 Third Avenue                         Suite 25A                                                                 New York              NY           10017
The Wall Group / Attn Romy Soleimani                                                            Address Redacted
The Wall Group / Attn: James Kaliardos                                                          Address Redacted
The Wall Group LA, LLC                            WME IMG Holdings, LLC                         FILE 2228                                                                                                          Pasadena              CA           91199-2228
The Webster US, LLC                               Cesar Gonzalez/Costa Brazil                   1758 1st Avenue, Apt 9                                                                                             New York              NY           10128
The Webster US, LLC                               Haya Elkadi / The Webster US, LLC             90 Donaldson Ave                                                                                                   Rutherford            NJ           07070
The Webster US, LLC                               Miguel Duarte/Costa Brazil                    12927 Sproule Ave                                                                                                  Sylmar                CA           91342
The Webster US, LLC                               The Webster - Soho                            29 Greene Street                                                                                                   New York              NY           10013-2508

The Webster US, LLC                               The Webster US, LLC / Attn: Britney Sumpter   5045 Westheimer Rd # X09                                                                                           Houston               TX           77056
The Webster US, LLC                               The Webster US, LLC DBA The Webster           1220 Collins Ave                                                                                                   Miami Beach           FL           33139
The Webster US, LLC                               The Webster US, LLC DBA The Webster           900 Secaucus road                                                                                                  Secaucus              NJ           07094
The Webster US, LLC                               Zoe Betancourt /The Webster US, LLC           19335 SW 25th Ct / Code *1952                                                                                      Miramar               FL           33029
Thea Cartwright                                                                                 Address Redacted
Theory Communication & Design                                                                   Ste A 5900 Harris Technology Blvd                                                                                  Charlotte             NC           28269
Thermo Electron North America LLC                                                               P.O. Box 742775                                                                                                    Atlanta               GA           30374-2775
Thermo Environmental Instruments LL                                                             27 Forge Parkway                                                                                                   Franklin              MA           02038
Thermo Fisher Financial Services, I                                                             P.O. Box 742764                                                                                                    Atlanta               GA           30374
Thermo Fisher Scientific                          (Asheville) LLC                               Suite 400 28 Schenck Parkway                                                                                       Asheville             NC           28803
Thermo Fisher Scientific Chemicals                                                              P.O. Box 744488                                                                                                    Atlanta               GA           30374
Thermo King Columbia. Inc.                        Thermo King of Charleston                     PO Box 9007                                                                                                        Columbia              SC           29209
Thermo King Columbia. Inc.                        Thermo King of Charleston                     Thermo King of Florence                  PO Box 9007                                                               Columbia              SC           29209
Thermo Process Instruments, LP                                                                  P. O. Box 742770                                                                                                   Atlanta               GA           30374-2770
theSkimm, Inc.                                                                                  53 West 23rd Street                      8th Floor                                                                 New York              NY           10010
                                                                                                                                         Chicago Avenue, : Manchester         VAT Number: GB396453358 Supplier Tax
THG Beauty Limited | Biossance                    THG BEAUTY LIMITED                            5th Floor, Voyager House                 Airport,                             Code:                                Manchester M90 3DQ                                 United Kingdom
THG Beauty Limited | Biossance                    THG M1                                        THG BEAUTY LIMITED                       Plot 4                               No. Sunbank Lane                     Altrincham                         WA15 0AF        United Kingdom
THG Beauty Limited | Biossance                    THG M2                                        THG BEAUTY LIMITED                       Icon Plot 2, No.5 Sunbank Lane                                            Altrincham                         WA15 0AF        United Kingdom
                                                                                                                                                                                                                   Magnice Wroclaw 55-
THG Beauty Limited | Biossance                    THG Poland Pi                                 THG BEAUTY LIMITED                       Magazynowa 1                                                              040                                                Poland
THG Beauty Limited- Biossance | UK                Georgia Berry                                 Cult Beauty                              We Work                              10 York Rd                           London                             SE1 7ND         United Kingdom
THG Beauty Limited- Biossance | UK                Meg Carins                                    THG Head Office                          ICON 1 - 9 Sunbank Lane                                                   Altrincham                         WA15 0AF        United Kingdom
                                                                                                                                         Happy Place Festival, Chiswick
THG Beauty Limited- Biossance | UK                Sunny Chisholm                                Cult Beauty - CH01                       House                                Burlington Lane                      London                             W4 2RP          United Kingdom
THG Beauty Limited- Biossance | UK                The Hut Group - THG M2                        Icon Plot 2                              No.5 Sunbank lane                                                         Altrincham                         WA15 0AF        United Kingdom

THG Beauty Limited- Biossance | UK                THG Beauty Limited                            5th Floor, Voyager House                 Chicago Avenue, Manchester Airport                                        Manchester M90 3DQ                                 United Kingdom
THG Beauty Limited- Biossance | UK                THG Beauty Limited                            Icon 1                                   7-9 Sunbank Lane                                                          Ringway WA15 0AF                                   United Kingdom
THG Beauty Limited- JVN | UK                      Georgia Berry                                 Cult Beauty                              WeWork                               10 York Road                         London                             SE1 7ND         United Kingdom
                                                                                                                                         Happy Place Festival, Chiswick
THG Beauty Limited- JVN | UK                      Sunny Chisholm                                Cult Beauty CH01                         House,                               Burlington Lane,                     London                             W4 2RP          United Kingdom
THG Beauty Limited- JVN | UK                      The Hut Group                                 The M2, Icon Plot 2                      No.5 Sunbank Lane                                                         Altrincham                         WA15 0AF        United Kingdom
Thiago Vanderlei Pisano x Amyris Fermentação de
Performance LTDA                                  FABIO EDUARDO DE LAURENTIZ                    Rui Barbosa Street                       333-Guariba                                                                                                  ZIP 14840-000   Brazil
Thibiant International Inc                                                                      LBX 675043, PO Box 675043                                                                                          Dallas                TX           75267-5043
Third and Grove LLC                                                                             Unit 326 333 Washington St                                                                                         Boston                MA           02108
Thomann, Melissa                                                                                Address Redacted
Thomas Scientific Inc                                                                           1654 High Hill PO Box 99                                                                                           Swedesboro            NJ           08085
Thompson Filtration, Inc.                                                                       8491 US Highway 264 East                                                                                           Washington            NC           27889
Thompson Legal Advisory Services                                                                229 Brannan Street                       Suite 18G                                                                 San Francisco         CA           94107
Thompson, Andrew                                                                                Address Redacted
Thompson, Arthur                                                                                Address Redacted
Thompson, Dominique                                                                             Address Redacted
Thompson, Francis                                                                               Address Redacted
Thompson, Kristanne                                                                             Address Redacted
Thompson, Michael                                                                               Address Redacted
Thompson, Theodore                                                                              Address Redacted
Thomson Reuters (Tax & Accting) Inc                                                             PO Box 71687                                                                                                       Chicago               IL           60694-1687
Thomson, Franziska                                                                              Address Redacted
Thorn Leeson, Daniel                                                                            Address Redacted
THREE CROWNS LOGISTICS LLC                                                                      Address Redacted
Three Model Management, Inc                                                                     932 Parker Ave, Suite 3                                                                                            Berkeley              CA           94710
Thrive Market, Inc. (Vendor)                                                                    4509 Glencoe Ave                         Suite 105                                                                 Marina Del Rey        CA           90292
Thrive Market, Inc. | Pipette                     Thrive Market Reno                            700 Milan Drive                          Suite 101                                                                 Sparks                NV           89437
Thrive Market, Inc. | Pipette                     Thrive Market, Inc.                           5340 Alla Road                           Suite 105B                                                                Los Angeles           CA           90066
Throne Performance                                Throne Performance                            666 Greenwich St (152 Christopher St)                                                                              New York              NY
Thuy On                                                                                         Address Redacted
Tierra Santa Healing House                        Tierra Santa Healing House                    3201 Collins Avenue                                                                                                Miami Beach           FL           33140
Tieu, Daniel                                                                                    Address Redacted




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                                                                                                              Creditor Matrix



                   Creditor Name                      Attention                            Address 1                       Address 2           Address 3             City                  State         Zip         Country
Tifco Industries                                                        P.O. Box 40277                                                                     Houston                TX               77240-0277
Tiffany Hughes                                                          Address Redacted
Tigerman-Gamerl, Ann                                                    Address Redacted
Tijan Mazour                                                            Address Redacted
TikTok Inc.                                                             5800 Bristol Parkway                  Suite 100                                    Culver City            CA               90230
Tilley Chemical Co Inc                                                  501 Chesapeake Park Plaza                                                                                 MD               21220
Tilley, Heath                                                           Address Redacted
Time D. C. dba Owensboro Tank Wash                                      1103 Wing Ave                                                                      Owensboro              KY               42301
Time Dedicated Carriers Inc.         Owensboro Tank Wash                Suite A 2827 W. State Rd. 66                                                       Rockport               IN               47685
Timothy Cleary                                                          Address Redacted
Timothy Lim                                                             Address Redacted
Tinker, Anne                                                            Address Redacted
Tinuiti                                                                 121 S. 13th Street, 3rd Floor                                                      Philadelphia           PA               19107
Tioga Research, Inc.                                                    Suite 102 6330 Nancy Ridge Dr                                                      San Diego              CA               92121
Tipton Mills Foods LLC                                                  835 S Mapleton Street                                                              Columbus               IN               47201
Tisch Scientific                                                        201 South Miami Ave                                                                Cleves                 OH               45002
Titanium Model Management                                               21 Wheler Street                                                                   London                 London           E1 6NR       United Kingdom
TIZA COMERCIO DE LINGERIE LTDA                                          AV SANTA BEATRIZ DA S 1501, SUC 414                                                UBERABA                MG               38020-433    Brazil
TIZIANA MODAS E ACESSORIOS           EIRELI ME                          AV GISELE CONSTANTIN 1850, LOJA 247                                                VOTORANTIM             SP               18110-902    Brazil
TJ Maxx | Biossance                  Marshalls                          2760 Red Lion Rd                                                                   Philadelphia           PA               19114
TJ Maxx | Biossance                  TJ Maxx                            3185 American Drive                                                                Mississauga            ON               L4V 1B8      Canada
                                                                                                                                                           Watford London WD
TJ Maxx | Biossance                  TJ Maxx                            50 Clarendon Road                                                                  17 1TX                                               United Kingdom
TJ Maxx | Biossance                  TJ Maxx                            50 Clarendon Road                                                                  Watford                                 WD 17 1TX    United Kingdom
TJ Maxx | Biossance                  TJ Maxx                            888 S. Figueroa Street                                                             Los Angeles            CA               90017
TJ Maxx | Biossance                  TJX - MAR Atlanta - 887            2300 Miller Road                                                                   Decatur                GA               30035
TJ Maxx | Biossance                  TJX - MAR Woburn - 888             83 Commerce Way                                                                    Woburn                 MA               01801
TJ Maxx | Biossance                  TJX - TJM Charlotte - 894          14300 Carowinds Blvd                                                               Charlotte              NC               28273
TJ Maxx | Biossance                  TJX - TJM Evansville - 897         3301 Maxx Road                                                                     Evansville             IN               47711
TJ Maxx | Biossance                  TJX - TJM Las Vegas - 898          4100 Eastlone Mountain Rd                                                          North Las Vegas        NV               89081
TJ Maxx | Biossance                  TJX - TJM San Antonio - 891        11650 Fm 1937                                                                      San Antonio            TX               78221
TJ Maxx | Biossance                  TJX - TJM Worcester - 896          135 Goddard Memorial Drive                                                         Worcester              MA               01603
TJ Maxx | JVN                        Home Goods                         888 S. Figueroa Street                                                             Los Angeles            CA               90017
TJ Maxx | JVN                        MAR Atlanta 887                    2300 Miller Road                                                                   Decatur                GA               30035
TJ Maxx | JVN                        MAR Philadelphia 883               2760 Red Lion Rd                                                                   Philadelphia           PA               19114
TJ Maxx | JVN                        MAR Woburn 888                     83 Commerce Way                                                                    Woburn                 MA               01801
TJ Maxx | JVN                        Marshalls                          888 S. Figueroa Street                                                             Los Angeles            CA               90017
TJ Maxx | JVN                        Marshalls Inc.                     PO Box 9126                                                                        Framingham             MA               01701
TJ Maxx | JVN                        TJ Maxx                            50 Clarendon Road                                                                  London Lanarkshire                      WD 17 1TX    United Kingdom
TJ Maxx | JVN                        TJ Maxx                            50 Clarendon Road                                                                  London                                  WD 17 1TX    United Kingdom
TJ Maxx | JVN                        TJ Maxx 888 S. Figueroa Street     888 S. Figueroa Street                                                             Los Angeles            CA               90017
TJ Maxx | JVN                        TJ Maxx- JVN                       770 Cochituate Road                                                                Framingham             MA               01701
TJ Maxx | JVN                        TJM Charlotte 894                  14300 Carowinds Blvd                                                               Charlotte              NC               28273
TJ Maxx | JVN                        TJM Evansville 897                 3301 Maxx Road                                                                     Evansville             IN               47711
TJ Maxx | JVN                        TJM Las Vegas 898                  4100 Eastlone Mountain Rd                                                          North Las Vegas        NV               89081
TJ Maxx | JVN                        TJM Mississauga 20                 3185 American Drive                                                                Mississauga            ON               L4V 1B8      Canada
TJ Maxx | JVN                        TJM San Antonio 891                11650 Fm 1937                                                                      San Antonio            TX               78221
TJ Maxx | JVN                        TJM Worcester 896                  135 Goddard Memorial Drive                                                         Worcester              MA
TJ Maxx | JVN                        TJX - HM BROWNSBURG - 887          850 NORTHFIELD DR                                                                  BROWNSBURG             IN               46112
TJ Maxx | JVN                        TJX - HM CARTERET - 883            50 BRYLA STREET                                                                    Carteret               NJ               07008
TJ Maxx | JVN                        TJX - HM San Pedro - 881           401 WESTMONT DR.                                                                   San Pedro              CA               90731
TJ Maxx | JVN                        TJX - HM Tucson - 882              7000 S. ALVERNON WAY                                                               Tucson                 AZ               85756
TJ Maxx | JVN                        TJX - MAR Bridgewater - 886        701 N. Main Street                                                                 Bridgewater            VA               22812
TJ Maxx | JVN                        TJX - MAR Phoenix - 881            3000 S. 55th Avenue                                                                Phoenix                AZ               85043
TJ Maxx | JVN                        TJX - TJM Pittston - 893           4000 Oldfield Blvd                                                                 Pittston               PA               18640
TJ Maxx | JVN                        TJX Companies, Inc                 PO Box 9126                                                                        Framingham             MA               01701
TJ Maxx | JVN                        TJX- HM BLOOMFIELD - 885           1415 BLUE HILL AVE                                                                 Bloomfield             CT               06002
TJ Maxx | Pipette                    The TJX Companies, Inc             770 Cochituate Road                                                                Framingham             MA               01701
TJ Maxx | Pipette                    TJ Maxx CHARLOTTE                  14300 CAROWINDS BLVD.                                                              Charlotte              NC               28273
TJ Maxx | Pipette                    TJ Maxx EVANSVILLE                 3301 MAXX ROAD                                                                     EVANSVILLE             IN               47711
TJ Maxx | Pipette                    TJ Maxx Las Vegas                  4100 EASTLONE MOUNTAIN RD                                                          NORTH LAS VEGAS        NV               89081
TJ Maxx | Pipette                    TJ Maxx PHOENIX                    3000 S. 55TH AVENUE                                                                Phoenix                AZ               85043
TJ Maxx | Pipette                    TJ Maxx WORCESTER                  135 GODDARD MEMORIAL DR                                                            WORCESTER              MA               01603
TJ Maxx | Pipette                    TJM SAN ANTONIO DC # 891           11650 FM 1937                                                                      San Antonio            TX               78221
TJ Maxx Canada | JVN                 TJ Maxx Canada- JVN                60 STANDISH COURT                                                                  MISSISSAUGA            ON               L5R OG1      Canada
TJ Maxx Terasana                     TJ Maxx Distribution Center #893   4000 Oldfield Blvd                                                                 Pittston               PA               18640
TJ Maxx Terasana                     TJ Maxx Terasana                   P.O Box 9126                                                                       Framingham             MA               01701
TJX Europe                           APL Logistics Deutschland GMBH     Altstaedter Strasse 6                                                              Hamburg 20095                                        Germany
                                                                                                                                                           Stratford London E15
TJX Europe                           TJX Europe                         APLL UK LTD3rd Floor Press Centre,    Here East, 14 East Bay Lane,                 2GW                                                  United Kingdom
TLNT, Inc. DBA LÃœK                                                     1052 South Olive Street                                                            Los Angeles            CA               90015
TLNT, Inc. DBA LÜK                                                      1052 South Olive St                                                                Los Angeles            CA               90015
TMZ Brokerage Co.                                                       14006 South Shore Drive                                                            Clive                  IA               50325
Tobi Henney                                                             Address Redacted
Tobin Sanson                                                            Address Redacted
Todd Shemarya Artists, Inc.                                             2550 OUTPOST DRIVE                                                                 Los Angeles            CA               90068
Todd Shemarya Artists, Inc.          Attn: Josh                         2550 OUTPOST DRIVE                                                                 Los Angeles            CA               90068
Todd Shemarya Artists, Inc.          Attn: Josh                         2550 OUTPOST DRIVE                                                                 Los Angeles            CA               90068
Toledo Carolina                                                         PO Box 12366                                                                       Florence               SC               29504




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                                                                                                                           Creditor Matrix



                     Creditor Name                                   Attention                        Address 1                          Address 2         Address 3            City                 State         Zip             Country
Toluna USA, Inc.                                                                  24804 Network Place                                                                  Chicago              IL               60673-1248
Toly USA                                                                          4 Commerce Dr. South, Ste 2A                                                         Harriman             NY               10926
Tom D Morgan Ltd                                                                  74 A Gosterwood Street                                                               London               London           SE8 5NY      United Kingdom
Tom Jackson Cabinet Co, Inc.                                                      21420 Clilvus Dr.                                                                    Grass Valley         CA               95949
Tom Lynch                                                                         Address Redacted
Tomassian Cosmetics LLC                                                           1444 Grand Blvd                           Apt 1905                                   Kansas City          MO               64106
Tomlinson Management Group, Inc.                                                  23823 Malibu Road                         Ste 50-381                                 Malibu               CA               90265
Toner, John                                                                       Address Redacted
Tong, Tate                                                                        Address Redacted
Too Much Fun Club, Inc.                                                           5193 Westport Way                                                                    Union City           CA               94587
Top Source Talent                                 TST, Top Source Talent, LLC     16346 Road 16, P O Box 136                                                           Cahone               CO               81320
TopBox Marketing                                                                  53B Tycos Dr.                                                                        Toronto              ON               M6B 1W3      Canada
Topnotch                                                                          1111 Foxbow Cove                                                                     Leland                                28451
TOPS Software Corporation                                                         1301 Central Expy S                       Suite 200                                  Allen                TX               75013
Toronto Research chemicals                                                        2 Brisbane Rd                                                                        North York           ON               M3J 2J8      Canada
Total Concept Integration, Inc.                                                   #522 8780 19th Street                                                                Alta Loma            CA               91701
TOTAL Marketing & Services                                                        Chemin du Canap - BP 22                                                              Solaize                               69360        France
Total New Energies USA, Inc.                                                      SN 1201 Louisiana Suite 1600                                                         Houston              TX               77002
Total Petrochemicals                              & Refining USA, Inc.            P.O. Box 674411                                                                      Houston              TX               77267-4411
Total Quality Logistics                                                           PO Box 634558                                                                        Cincinnati           OH               45263
Total Quality Logistics (TQL)                                                     P.O. Box 634558                                                                      Cincinnati           OH               45245
Total Raffinage Chimie S.A.                                                       2, Place Jean Millier                                                                La Defense 6                          92400        France
Touch Massage Bar                                                                 451 King Street West                                                                 Toronto              ON               M5V3M4       Canada
TOVANI BENZAQUEM COM IMP EXP E REPR               LTDA                            RUA DIOGO ALVAREZ CARVALHO 113                                                       GUARULHOS            SP               07042-250    Brazil
TOVANI BENZAQUEN COMERCIO IMPORTAC                                                RUA JAMIL JOAO ZARIF 684                                                             GUARULHOS            SP               07143-000    Brazil
Tovar, Jessica                                                                    Address Redacted
Town & Country Markets Inc                                                        130 5th Ave SouthSuite 126                                                           Edmonds              WA               98020
Town & Country Markets Inc:Ballard Market #211                                    1400 NW 56th Street                                                                  Seattle              WA               98107
Town & Country Markets Inc:Lakemont Town &
Country Market #208                                                               4989 Lakemont Blvd SE                                                                Bellevue             WA               98006
Town & Country Markets Inc:Millcreek Town &
Country Market #217                                                               15605 Main Street                                                                    Millcreek            WA               98012
Town & Country Markets Inc:Poulsbo Central Market
#216                                                                              20148 10th Ave                                                                       Poulsbo              WA               98370
Town & Country Markets Inc:Shoreline Central
Market #212                                                                       15505 West Minster Way N                                                             Shoreline            WA               98133
Town & Country Markets Inc:Town & Country
Corporate #210                                                                    19302 Powderhill PlaceSTE 101                                                        Poulsbo              WA               98370
Town & Country Markets Inc:Town & Country Market
#215                                                                              343 Winslow Way East                                                                 Bainbridge Island    WA               98110
Toxicology & Pharmacology, Inc.                                                   8718 September Drive                                                                 Richmond             VA               23229
Toxicology Regulatory Services                    Trinity Consultants             154 Hansen Road, Ste 201                                                             Charlottesville      VA               22911
Toy, Winnifred                                                                    Address Redacted
Tozzini, Freire, Teixeira e Silva A                                               Rua Borges Lagoa 1328 Vila Clementi                                                  São Paulo            SP               04038-904    Brazil
TPG Growth, LLC                                                                   301 Commerce Street Suite 3300                                                       Ft.Worth             TX               76102
Traackr Inc                                                                       244 California Street                                                                San Francisco        CA               94111
Trace Henningsen                                                                  Address Redacted
Tracet MFG                                                                        40 Kirby Ave.                                                                        Morgan Hill          CA               95037
Traci Rubin                                                                       Address Redacted
Tracy Ross                                                                        Address Redacted
Tracy Scarlato                                                                    Address Redacted
Tracy, Allison                                                                    Address Redacted
Trajan Scientific Americas Inc                                                    1421 W WELLS BRANCH PKWY                                                             PFLUGERVILLE         TX               78660
Tran, Anh                                                                         Address Redacted
Tran, Carol                                                                       Address Redacted
Tran, Kimberly                                                                    Address Redacted
Tran, Mai                                                                         Address Redacted
Tran, Trung                                                                       Address Redacted
Transamerica Life                                 Insurance Company               P.O Box 30266                                                                        Los Angeles          CA               90030-0266
Transcat, Inc.                                                                    P.O. Box 62827                                                                       Baltimore            MD               21264-2827
TransLegal, LLC                                                                   3924 Duke Street                                                                     Alexandria           VA               22304
Translingua Associates, Inc.                                                      1445 Pearl Street                         Suite 215                                  Boulder              CO               80302
Transperfect Holdings, LLC                                                        1250 Broadway                             32nd Floor                                 New York             NY               10001
Trapeze Associates Pty Ltd                                                        Ste. 27 6 Meridian Place                                                             Bella Vista          NSW              2153         Australia
Trauzzi, Marco                                                                    Address Redacted
Travelers
Travers Smith LLP                                                                 10 Snow Hill                                                                         London                                EC1A 2AL     United Kingdom
Travis L. Welch                                                                   Address Redacted
Treehouse Law, LLP                                                                Suite 100 10250 Constellation Blvd                                                   Los Angeles          CA               90067
Trend Lab, LLC                                                                    8925 Highway 1010 West                                                               Savage               MN               55378
TRI Princeton                                                                     601 Prospect Ave                                                                     Princeton            NJ               08540
Triangle Process Equipment                        A Fluid Flow Products Company   2307 Industrial Park Drive                                                           Wilson               NC               27893
Tribe Dynamics                                                                    8605 Santa Monica Blvd                    PMB 82232                                  West Hollywood       CA               90069
TriContinent Scientific, Inc.                                                     PO BOX 954353                                                                        Saint Louis          MO               63195-4353
TricorBraun Inc.                                                                  6 City Place                              Suite 1000                                 Saint Louis          MO               63141
Trifinity Partners Inc.                                                           5312 104th ave                                                                       Kenosha              WI               53144
Trifinity Specialized Distribution                                                2431 N Delany Rd                                                                     Waukegan             IL               60087
Tri-iso TryLine, LLC                                                              2187 Newcastle Ave. Suite 101                                                        Cardiff by the Sea   CA               92007
Trinh, Sarah                                                                      Address Redacted




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                      Creditor Name                                 Attention                                  Address 1                        Address 2                   Address 3               City             State           Zip         Country
Trinity Woodward                                                                           Address Redacted
Triple Whale Inc.                                                                          266 N Fifth Street                                                                           Columbus           OH                43215
TriplePoint Capital                                                                        2755 Sand Hill Road                                                                          Menlo Park         CA                94025
                                                                                           CARRETERA NORTE ESQUINA OPUEST KM
Trisan Nicaragua SA.                                                                       8                                                                                            MANAGUA            080               13116         Nicaragua
TriStar Capital LLC                              Attn.: David Edelstein                    Attn.: David Edelstein                 590 Madison Ave                                       New York           NY                10022
Tri-Star Display Pte Ltd                                                                   blk 3016a ubi rd 1, #01-08                                                                   Singapore          SG                408707        Singapore
TRISTAR ICS, INC.                                                                          PO BOX 32363                                                                                 Long Beach         CA                90832
Triumvirate Environmental                                                                  200 Inner Belt Rd.                                                                           Somerville         MA                02143
Tropic of C, Inc. - Costa Brazil                 Noelle Marino                             Tropic of C, Inc                       611 Broadway, Suite 726                               New York           NY                10012
Tropic of C, Inc. - Costa Brazil                 Tropic of C c/o Quiet Logistics           422 Hazelwood Logistics Center Drive                                                         Hazelwood          MO                63042
Tropic of C, Inc. - Costa Brazil                 Tropic of C, Inc. - Costa Brazil          611 Broadway                           630                                                   New York           NY                10012
Trotta, Maria                                                                              Address Redacted
Troutman Pepper Hamilton Sanders LLP             Attn: David M. Fournier                   1313 N. Market Street, Suite 5100      Hercules Plaza            P.O. Box 1709               Wilmington         DE                19899
Troutman Pepper Hamilton Sanders LLP             Attn: David M. Fournier                   1313 N. Market Street, Suite 5100      Hercules Plaza            P.O. Box 1709               Wilmington         DE                19899
Trucent Centrifuge Parts & Repair L                                                        7400 Newman Blvd                                                                             Dexter             MI                48130
True Beauty Digital                                                                        8950 Ellis Ave.                        Unit B                                                Los Angeles        CA                90034
True Beauty Digital dba Favored Live Inc.                                                  8950 Ellis Ave                         Unit B                                                Los Angeles        CA                90034
TrueAir LLC                                                                                Suite 813 2355 Westwood Blvd.                                                                Los Angeles        CA                90064
Truffl Ventures, LLC                                                                       1163 N Poinsettia Place                                                                      West Hollywood     CA                90046
Truong, Andrew                                                                             Address Redacted
Truong, Johnson                                                                            Address Redacted
Tsang, Michael                                                                             Address Redacted
Tsang, Stephanie                                                                           Address Redacted
Tse, Chung Man                                                                             Address Redacted
Tsegaye, Yoseph                                                                            Address Redacted
Tsong, Annie                                                                               Address Redacted
TSSI Holdings                                                                              620 Hearst Avenue                                                                            Berkeley           CA                94710
TTPM Influencer Talent Management                                                          149 West 36th Street, 10th Floor                                                             New York           NY                10018
Tu, Cynthia                                                                                Address Redacted
TUC OFFICE OWNER 1, L.P and TUC OFFICE
OWNER 2, L.P.                                                                              4890 West Kennedy Boulevard                                                                  Tampa              Florida           33609
TUC Office Owner 1, L.P.                         c/o Jones Lang LaSalle, Inc               P.O. Box 603753                                                                              Charlotte          NC                28260-3753
Tucson electric Power
Tuesday Morning Partners, Ltd.                   Tuesday Morning Partners, Ltd.            4610 Langland Road                                                                           Farmers Branch     TX                75244
Tuesday Morning Partners, Ltd.                   Tuesday Morning Partners, Ltd.            6250 LBJ Freeway                                                                             Dallas             TX                75240-6321
Tuffy, Erin                                                                                Address Redacted
Tula Wellness & Aesthetics                                                                 3170 N. Swan RdSte 110                                                                       Tucson             AZ                85716
Tumlin, Michael                                                                            Address Redacted
Turn Marketing Services                                                                    2350 artesia, Unit A                                                                         Fullerton          CA                92833
Turner, Dorron                                                                             Address Redacted
Turner, Savannah                                                                           Address Redacted
Tuttnauer USA Co Ltd                                                                       25 Power Drive                                                                               Hauppauge          NY                11788
TWD TradeWinds Inc                                                                         10555 86th Avenue                                                                            Pleasant Prairie   WI                53158
Twelve, Inc.                                                                               Suite 615 45 main street                                                                     Brooklyn           NY                11201
Twist Bioscience Inc                                                                       Ste. 545 455 Mission Bay Blvd South                                                          San Francisco      CA                94158
Twist Sales Inc.                                                                           10301 Bren Road West                   436                                                   Minnetonka         MN                55343
Twist Sales, Inc.                                                                          10301 Bren Road West                   Green 436                                             MINNETONKA         MN                55343
Two Hearts Productions, Inc.                                                               Suite 204 201 1st Street                                                                     Petaluma           CA                94952
Twomey, Kevin                                                                              Address Redacted
Tyler Anderson                                                                             Address Redacted
TyLynn Nguyen                                                                              Address Redacted
U.S. Bank                                        Howard Kang                               800 Nicollet Mall                                                                            Minneapolis        Minnesota         55402
U.S. Bank N.A.                                                                             800 Nicollet Mall                                                                            Minneapolis        MN                55402
U.S. Bank N.A.                                                                             800 Nicollet Mall                                                                            Minneapolis        MN                55402
U.S. Bank National Association, as Trustee for   Attn: B. Scarbrough (Amyris Convertible
Convertible Notes                                Senior Notes due 2026)                    633 West Fifth Street                  24th Floor                                            Los Angeles        CA                90071
U.S. Customs and Border Protection                                                         P.O. Box 979126                                                                              St. Louis          MO                63197-9000
U.S. Nonwovens Corporation                                                                 100 Emjay Blvd                                                                               Brentwood          NY                11717
UBM Advanstar                                    CHROMacademy                              131 West First Street                                                                        Duluth             MN                55802
UC Regents-Off. of Techn. Licensing              University of California                  1111 Franklin Street, 5th Floor                                                              Oakland            CA                94607-5200
UCHE MOXAM                                                                                 Address Redacted
Udo-Udoma, Alexis                                                                          Address Redacted
Udo-Udoma, Samuel                                                                          Address Redacted
UEFO, LLC                                                                                  Apt. 6D 525 Union Ave                                                                        Brooklyn           NY                11211
UFO Display Solutions                                                                      3 Walker Street                                                                              Braeside           VIC               3195          Australia
UL Verification Services Inc                                                               333 Pfingsten                                                                                Northbrook         IL                60062
UL Verification Services Inc.                                                              333 Pfingsten Road                                                                           Northbrook         IL                60062
Ulanday, Krystle                                                                           Address Redacted
ULine Inc                                                                                  PO Box 88741                                                                                 Chicago            IL                60680-1741
Ulloa, Ruben                                                                               Address Redacted
Ulrich, Justine Monica                                                                     Address Redacted
Ulta, Inc. | Pipette                             Ulta Beauty DC #822                       95 Kriner Road                                                                               Chambersburg       PA                17202-8841
Ulta, Inc. | Pipette                             Ulta Beauty DC #833                       482 Chaney Avenue                                                                            Greenwood          IN                46143-0103
Ulta, Inc. | Pipette                             Ulta Beauty DC #844                       4786 Mountain Creek Parkway                                                                  Dallas             TX                75236
Ulta, Inc. | Pipette                             Ulta Beauty DC #855                       850 East Central Avenue                                                                      Fresno             CA                93725
Ulta, Inc. | Pipette                             Ulta Beauty DC #888                       1135 Arbor Drive                                                                             Romeoville         IL                60446-1174
Ulta, Inc. | Pipette                             Ulta Beauty FFC #808                      2619 Ignition Drive                    Suite #8                                              Jacksonville       FL                32218-0100
Ulta, Inc. | Pipette                             Ulta Inc.                                 1000 Remington Blvd, Suite 120                                                               Bolingbrook        IL                60440




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Ulta, Inc. | Pipette                                  ULTA MFC Greer                       549 Mason Farm Lane                                                                                         Greer            SC             29651
Ultimate Business Consulting, LLC                                                          2406 McClintock Road                            Unit 301                                                    Charlotte        NC             28205
Ultra Ingredients                                                                          Ste A 5563 Sepulveda Blvd.                                                                                  Culver City      CA             90230
Uly, Inc.                                                                                  90 Seal Rock Dr                                                                                             San Francisco    CA             94121
Umanis                                                                                     6 Avenue Gustave EIffel                                                                                     Paris                           75007         France
Underwriters at Lloyd’s London
UNFI                                                                                       1 Albion RoadSTE 101                                                                                        Lincoln          RI             02865-3749
UNFI - Atlanta                                                                             100 Lakeview Ct SW                                                                                          Atlanta          GA             30331
UNFI:UNFI - York                                                                           York Warehouse225 Cross Farm Lane                                                                           York             PA             17406
UniFirst Corporation                                                                       14266 Catalina Street                                                                                       San Leandro      CA             94577
Unique, Inc dba Merestone                                                                  6005 COMMERCE DRIVE                                                                                         Irving           TX             75063
Unisource Solutions Inc.                                                                   8350 Rex Road                                                                                               Pico Rivera      CA             90660
United HealthCare Services, Inc.                      Greg Faith                           TruePill                                        3588 Arden Road, Bldg D                                     Hayward          CA             94545-3921
United HealthCare Services, Inc.                      United HealthCare Services, Inc.     9900 Bren Road E                                                                                            Minnetonka       MN             55343
United Natural Foods, Inc. (UNFI)                                                          313 Iron Horse Way                                                                                          Providence       RI             02908
United Natural Foods, Inc. (UNFI)                     UNFI - Accounts Payable              1 Albion Road, Suite #101                                                                                   Lincoln          RI             02865
United Natural Foods, Inc. (UNFI)                     United Natural Foods, Inc. (UNFI)    7909 South Union Ridge Parkway                                                                              Ridgefield       WA             98642
United Negro College Fund, Inc                                                             1805 7th Street, NW                                                                                         Washington       DC             20001
United Parcel Service. Inc                                                                 PO Box 894820                                                                                               Los Angeles      CA             90189-4820
United Rentals                                                                             PO Box 100711                                                                                               Atlanta          GA             30384-0711
United States Attorney’s Office for the District of
Delaware                                              Attn: David C. Weiss                 c/o/ Ellen Slights                              1007 Orange Street, Suite 700   P.O. Box 2046               Wilmington       DE             19899-2046
United States Attorney’s Office for the District of
Delaware                                              Attn: David C. Weiss                 c/o/ Ellen Slights                              1007 Orange Street, Suite 700   P.O. Box 2046               Wilmington       DE             19899-2046
United States Patent & Trademark Of                                                        Suite 300 2051 Jamieson Ave.                                                                                Alexandria       VA             22314
United States Plastic Corp                                                                 1390 Neubrecht Rd                                                                                           Lima             OH             45801
United States Small Business Admin                    EIDL                                 Suite 320 2 North 20th St.                                                                                  Birmingham       AL             35203
United States Treasury                                                                     Internal Revenue Service                                                                                    Ogden            UT             84201-0039
United States Treasury                                                                     Internal Revenue Service Center                                                                             Ogden            UT             84201
United States Treasury                                                                     Internal Revenue Services                                                                                   Fresno           CA             93888-0025
United States Treasury - IRS                          Attn: Bankruptcy/Legal Dept.         P.O. Box 7346                                                                                               Philadelphia     PA             19101-7346
United States Treasury - IRS                          Internal Revenue Service Center      PO Box 1302 - 10715 David Taylor Dr                                                                         Charlotte        NC             28201-1302
United Talent Agency dba UTA Speakers                                                      888 7th Avenue                                  Suite 922                                                   New York         NY             10106
UnitedHealthcare Insurance Company                                                         P.O. Box 94017                                                                                              Palatine         IL             60094-4017

Unity First Travel                                                                         Suite 123, St Loyes House, 20 St Loyes Street                                                               Bedford                         MK40 1ZL      United Kingdom
Univar USA                                                                                 PO Box 409692                                                                                               Atlanta          GA             30384-9692
Universal Meridian Ecommerce                          Meridian                             Suite 150 947 Hornet Drive                                                                                  Hazelwood        MO             63042
Universidade Catolica Portuguesa                                                           RUA Diogo Botelho 1327                                                                                      Porto            31             4169-005      Portugal
Universidade Católica Portuguesa                                                           Campus Camões                                                                                               Braga                           4710-362      Portugal
Universidade Católica Portuguesa                                                           Palma De Cima                                                                                               Lisboa                          1649-023      Portugal
Universidade Católica Portuguesa                                                           Rua Diogo Botelho, 1327                                                                                     Porto                           4169-005      Portugal
University of Hawaii                                                                       2545 McCarthy Mall                                                                                          Honolulu         HI             96822
University of Maryland                                Office of Technology Commerc         2130 Mitchell Building                                                                                      College Park     MD             20742-5213
University of Melbourne                                                                    The University of Melbourne                                                                                                  VIC            03010         Australia
Upfluence (Vendor)                                                                         214 Sullivan Street                             3A                                                          New York         NY             10012
UPS                                                                                        PO BOX 809488                                                                                               Chicago          IL             60680
UPS Freight                                                                                P.O Box 809488                                                                                              Chicago          IL             60680
Urban Outfitters Inc. | Costa Brazil                  ANTHROPOLOGIE / Attn: Lexy Nespoli   5000 South Broad Street, Building 18                                                                        Philadelphia     PA             19112
Urban Outfitters Inc. | Costa Brazil                  URBN GAP FULFILLMENT CENTER          766 Brackbill Rd.                                                                                           Gap              PA             17527
Urban Outfitters Inc. | Costa Brazil                  URBN WEST COAST FULFILLMENT          ANTHROPOLOGIE                                   12055 Moya Blvd.                                            Reno             NV             89506
Urban Outfitters Inc. | Pipette                       Bristol Rental DC (BRO)              2401 Green Lane                                                                                             Levittown        PA             19057
Urban Outfitters Inc. | Pipette                       Gap Direct DC (GFC)                  766 Brackbill Road                                                                                          Gap              PA             17527
Urban Outfitters Inc. | Pipette                       Gap Retail DC (GAP)                  755 Brackbill Road                                                                                          Gap              PA             17527
Urban Outfitters Inc. | Pipette                       Reno Direct DC (RNO)                 12055 Moya Blvd.                                                                                            Reno             NV             89506
Urban Outfitters Inc. | Pipette                       Reno Retail DC (REN)                 6640 Echo Avenue                                                                                            Reno             NV             89506
Urban Outfitters Inc. | Pipette                       Urban Outfitters DC                  Indiana Fulfillment Center (IFC)                501 Windy Ridge Road                                        Indiana          PA             15701
Urban Robot, LLC                                                                           420 Lincoln Road                                Suite 600                                                   Miami Beach      FL             33139
Urban Robot, LLC                                                                           Suite 600 420 Lincoln Road                                                                                  Miami Beach      CA             33139
Urban Venture Group, Inc.                                                                  6848 Merwood Street                                                                                         Columbus         OH             43235
UrbanSitter, Inc.                                                                          601 California Street, Suite 607                                                                                             CA             94108
Urquiza, Oscar                                                                             Address Redacted
Ursua, Joshua                                                                              Address Redacted
Urzua-Rios, Virginia                                                                       Address Redacted
US Bank                                               Howard Kang                          800 Nicollet Mall                                                                                           Minneapolis      Minnesota      55402
US Bank Equipment Finance                             C/O US Bank National Association     PO Box 790448                                                                                               St Louis         MO             63179-0448
US Department of Homeland Security                                                         24000 Avila Road, 2nd Floor, Room 2                                                                         Laguna Niguel    CA             92677
US Environmental Protection Agency                                                         1300 Pennsylvania Ave NW                                                                                    Washington       DC             20004-3002
US Healthworks Medical Group PC                                                            PO Box 50042                                                                                                Los Angeles      CA             90074
US Pharmacopeia                                                                            12601 Twinbrook Parkway                                                                                     Rockville        MD             20852
US Waste Industries, Inc.                                                                  PO Box 2326                                                                                                 Walterboro       SC             29488
US Waste Industries, Inc.                             Attn: Bankruptcy/Legal Dept.         PO Box 2326                                                                                                 Walterboro       SC             29488
USA for UNHCR                                         The UN Refugee Agency                Suite 450 1310 L Street, NW                                                                                 Washington       DC             20005
USA Scientific Inc                                                                         P.O. Box 30000                                                                                              Orlando          FL             32891-8210
Utah State University                                 Institute for Antiviral Research     5600 Old Main Hill                                                                                          Logan            UT             84322-5600
Utley's LLC                                                                                3123 61St.                                                                                                  Woodside         NY             11377

UTTERS ON THE BEACH C/O JENNA LEWANDA                                                      Address Redacted
Uvento LLC                                                                                 7133 Hawthorn Avenue, #307                                                                                  Los Angeles      CA             90046




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Uwa, Enoye                                                                              Address Redacted
Vala Collection, LLC                                                                    2118 Wilshire Blvd. #1048                                                                               Santa Monica       CA           90403
Valco Instruments Co Inc                           C/O Valco Instruments Company LP     P O Box 55603                                                                                           Houston            TX           77255
Valdes Grande, Jose                                                                     Address Redacted
Valdes, Dominic                                                                         Address Redacted
Valdez Rodriguez, Wendolyne                                                             Address Redacted
Valdez, Sandy                                                                           Address Redacted
Valentines (Shoes by Teresa)                       Valentines (Shoes by Teresa)         3801 N. Capital of Texas Hwy, STE G-180                                                                 Austin             TX           78746
Valiant Restoration LLC                                                                 816 Spruce ST.                                                                                          Whiteville         NC           28472
Validity, Inc                                                                           200 Clarendon Street                      22nd FL                                                       Boston             MA           02116
Valin Corporation                                                                       P.O. Box 8402                                                                                           Pasadena           CA           91109
Valkevich, Ellen                                                                        Address Redacted
Valladolid, Andrei                                                                      Address Redacted
Vallejo, Emily                                                                          Address Redacted

Valter Gonçalves de Lima x Construtora Manara      FELIPE VILELA DA SILVA - Sete de
LTDA - Amyris Fermentação de Performance LTDA      Setembro Street                      817 - Araraquara                                                                                        SP                                            Brazil
Vamsi Karri                                                                             Address Redacted
Van Deren, Brian                                                                        Address Redacted
Van Lare Envrionmental                             C/O Douglas Van Lare                 11435 Rampart Drive                                                                                     Dublin             CA           94568
Vanderlyn Hospitality Group C/O Shanelle Harrell                                        Address Redacted
Vandilson de Oliveira Peixoto x Ardenghi
Engenharia Industrial - Sublime Engenharia -CP
Kelco Brasil - Amyris Fermentação de Performance
LTDA                                               ANDRE CESARIO DA COSTA               Antônio Furlan Júnior Street              1219                               Sertãozinho/SP/Brazil                                                    Brazil
Vanessa Moore dba VM Design, LLC.                                                       1737 5th Street #3                                                                                      Concord            CA           94519
Vanessa Tryde                                                                           Address Redacted
Vanilla Hair Inc.                                                                       10 - 3597 Malsum Drive                                                                                  North Vancouver    BC           V7G 0B2       Canada
Vanka, Ramya                                                                            Address Redacted
Vargas, Cinthia                                                                         Address Redacted
VARILEASE FINANCE, INC.                                                                 6340 SOUTH 3000 EAST, SUITE 400                                                                         SALT LAKE CITY     UT           84121
Various New Product                                                                     Address Redacted
Various Sales & Ed                                                                      Address Redacted
VARUZZA COMERCIO DE ARTIGOS                        DO VESTUARIO LTDA                    AV. PEREIRA BARRETO 42                                                                                  SANTO ANDRE        SP           09190-210     Brazil
Vasconcelos Arruda Associados                                                           Rua joshua Benoliel, no 6 - 7 A                                                                         Lisboa             31           1250          Portugal
Vasquez, Chelsea                                                                        Address Redacted
Vaswani Inc                                                                             75 Carter Drive                                                                                         Edison             NJ           08817
Vedantham, Punitha                                                                      Address Redacted
Velem LLC                                                                               15 West 26th Street                       8th Floor                                                     New York           NY           10010
Velem LLC v. Amyris Clean Beauty, Inc.             Scott L. Swanson                     McCue Sussmane Zapfel & Cohen, P.C.       420 Lexington Avenue, Suite 2250                              NY                 NY           10170
Venair, INC                                                                             16713 Park Centre Blvd                                                                                  Miami Gardens      FL           33169
Venerável Ordem                                    Terceira São Francisco               Rua da Bolsa 80                                                                                         Porto                           4050-116      Portugal
Venetia Ahluwalia                                                                       113 Nassau Street, Apt 10D                                                                              New York           NY           10038
Venetia Alia C/O Harish Rajput                                                          Address Redacted
Veneziano, Kathleen                                                                     Address Redacted
Venkat K Chari                                                                          Address Redacted
Venus Media Group LLC                                                                   2840 W Bay Drive                          Suite 185                                                     Belleair Bluffs    FL           337700
Veracity Networks, LLC                                                                  357 S 670 W.                                                                                            Lindon             UT           84042
Verder Scientific, Inc.                                                                 Suite 300 11 Penns Trail                                                                                Newton             PA           18940
Verissimo, Dereck                                                                       Address Redacted
Veritiv Operating Company                          Unisource Worldwide Inc              P.O. Box 31001-1382                                                                                     Pasadena           CA           91110-1382
Verizon Mobile                                     C/O Verizon Wireless Services LLC    PO Box 660108                                                                                           Dallas             TX           75266-0108
Verizon Wireless                                   C/O Verizon Wireless Services LLC    PO Box 660108                                                                                           Dallas             TX           75266-0108
Versa Engineering & Technology, Inc                                                     1320 Willow Pass Rd., Ste. 500                                                                          Concord            CA           94520
Vertical Development Academy                       Center for Leadership Maturity LLC   503 Victoria Way                                                                                        Friendswood        TX           77549
Vesta                                                                                   122 East Houston St                                                                                     San Antonio        TX           78205
Vestcom Retail Solutions                                                                2800 Cantrell Rd                          Suite 500                                                     Little Rock        AR           72202
VFI Corporate Finance                              Varilease Finance, Inc               6340 South 3000 East, 4th Floor                                                                         Salt Lake City     UT           84121
                                                                                        2800 EAST COTTONWOOD PARKWAY, 2ND
VFI KR SPE I LLC                                                                        FLR                                                                                                     SALT LAKE CITY     UT           84121
VHG Labs Inc                                       LGC Standards                        276 Abby Road                                                                                           Manchester         NH           03103
Victor, Marisa                                                                          Address Redacted
Victoria Martin                                                                         245 BEACONSFIELD ROAD                                                                                   London                          SE9 4ED       United Kingdom
Victoria Steinsberg                                                                     Address Redacted
Victoria Steinsberg                                                                     Address Redacted
Victory Marketing Agency, LLC                                                           Suite 350 9160 Forum Corporate Park                                                                     Fort Myers         FL           33905
                                                   ARTIGOS DO VESTUARIO E ACESSORIOS
VIDA NOVA RP COMERCIO VAREJISTA DE                 L                                    AV. CEL. FERNANDO FE 1540, LOJA 175                                                                     RIBEIRAO PRETO     SP           14026-900     Brazil
VIDA NOVA UDI COMERCIO VAREJISTA DE                                                     AV JOAO NAVES DE A 1331, L LUC 1237                                                                     UBERLANDIA         MG           38408-902     Brazil
View Imaging Inc                                                                        53 Bridge Street                          # 609                                                         Brooklyn           NY           11201
Viewfinders                                                                             PO Box 1756                                                                                             Bridgehampton      NY           11932
Viewstream.com, Inc.                                                                    4 Embarcadero Center                      Suite 1400                                                    San Francisco      CA           94111
Viewstream.com, Inc.                                                                    Suite 1400 4 Embarcadero Center                                                                         San Francisco      CA           94111
Vigon International, Inc.                                                               127 Airport Rd                                                                                          East Stroudsburg   PA           18301
Villarreal Diego                                                                        Address Redacted
Vinca Petersen                                                                          Address Redacted
Vincent Oquendo                                                                         Address Redacted
Vincent, Paul                                                                           Address Redacted
Vinjamur, Vivek                                                                         Address Redacted




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                    Creditor Name                                 Attention                               Address 1                                Address 2                 Address 3              City           State                  Zip            Country
Vinokurov, Iana                                                                        Address Redacted
Violet Grey                                     Cassandra Cadwell/Violet Grey          4927 Lillian St                                                                                   San Diego          CA                    92110
Violet Grey                                     Rachel Richman                         Violet Grey                                   10465 Eastborne Ave       Apt 207                   West Hollywood     CA                    90024
Violet Grey                                     Rachel Richman / Violet Grey           10465 Eastborne Ave., Apt 207                                                                     Los Angeles        CA                    90024
Violet Grey                                     Sarah Brown/Violet Grey                201 E 12th Street, PH-12                                                                          New York           NY                    10003
Violet Grey                                     Tanner Riley / Violet Grey             302 Linden Street, Apt 3                                                                          Brooklyn           NY                    11237
Violet Grey                                     Violet Grey                            152 US Highway 206, Building 15A                                                                  Hillsborough       NJ                    08844
Violet Grey                                                                            Address Redacted
Violet Grey / Rachel Richman                                                           Address Redacted
VIOLET GREY ATTN :SAMPLING                                                             Address Redacted
VIOLET GREY ATTN: FF VIOLET- Johnathan
Seaquist                                                                               Address Redacted
Violet Grey, Inc.                                                                      738 N. Cahuenga Blvd.                                                                             Los Angeles        CA                    90038
Virginia Department of Taxation                                                        P.O Box 1777                                                                                      Richmond           VA                    23218-1777
Vision Models                                                                          8631 Washington Blvd                                                                              Culver City        CA                    90232
Vision Service Plan (CA)                                                               P.O. Box 45210                                                                                    San Francisco      CA                    94145-5210
Vista Packaging & Logistics                                                            4700 Fisher Rd                                                                                    Columbus           OH                    43228
VistaJet US Inc                                                                        Level 6 120 Wooster Street                                                                        New York           NY                    10012
Viswanathan, Ramya                                                                     Address Redacted
Vita and Vassil Consulting Services                                                    35 Savona Ct                                                                                      Danville           CA                    94526
Vita Excogitari, Inc.                           Katherine Mcnamara                     2000 Avenue of the Stars                                                                          Los Angeles        CA                    90067
Vitacost.com / A Subsidiary of the Kroger Co.                                          Account Payable4700 Exchange Court, #200                                                          Boca Raton         FL                    33431
Vitacost.com / A Subsidiary of the Kroger                                              Mt. Zion Fulfillment Center251 East Mt Zion
Co.:Vitacost.com - KY Distribution Center                                              Road                                                                                              Florence           KY                    41042
Vitacost.com / A Subsidiary of the Kroger
Co.:Vitacost.com - NC Distribution Center                                              130-B Lexington Parkway                                                                           Lexington          NC                    27295
Vitacost.com / A Subsidiary of the Kroger
Co.:Vitacost.com - NV Distribution Center                                              840 Pilot Road                                                                                    Las Vegas          NV                    89119
VitaJuwel USA Inc                               LukasProduction                        #O 1170 Burnett Ave.                                                                              Concord            CA                    94520
Viv MGMT, LLC                                                                          6267 Doyle St.                                                                                    Emeryville         CA                    94608
Viva Healthcare Packaging (USA) Inc                                                    Lockbox 24121, 14005 Live Oak Ave                                                                 Irwindale          CA                    91706-1300
Vivabox Solutions LLC - JVN                     Kelli Charles                          Maple Logistics Solutions                     1000 Strickler Road                                 Mount Joy          PA                    17552
Vivabox Solutions LLC - JVN                     Productiv Attn: Receiving Dept - VBX   Vivabox Solutions LLC - JVN                   4255 Patriot Drive        Suite 300                 Grapevine          TX                    76051
Vivabox Solutions LLC - JVN                     Vivabox Solutions LLC - JVN            9211 Corporate Boulevard                      suite 110                                           Rockville          MD                    20850
Vivabox Solutions, LLC | Biossance              AmeriPac - TX                          1011 N. 28th Avenue - Suite 100                                                                   DFW Airport        TX                    75261
Vivabox Solutions, LLC | Biossance              Julio Castaño                          Productiv                                     4255 Patriot Drive                                  Grapevine          TX                    76051
Vivabox Solutions, LLC | Biossance              ProPackaging Valencia                  28936 Avenue Williams                                                                             Valencia           CA                    91355
Vivabox Solutions, LLC | Biossance              SGC Addison (Bazaar Program)           16420 Midway Road                                                                                 Addison            TX                    75001
Vivabox Solutions, LLC | Biossance              SGC China - DTK                        Unit 608, No. 6 Hongmian Road                                                                     Futian Free        Trade Zone Shenzhen   518038        China
Vivabox Solutions, LLC | Biossance              Vivabox Solutions,LLC                  9211 Corporate Blvd, Ste 110                                                                      Rockville          MD                    20850
Vivabox Solutions,LLC - Rose Inc                Receiving Dept - VBX                   Productiv                                     4255 Patriot Drive        Suite 300                 Grapevine          TX                    76051
Vivian Arriaga                                                                         Address Redacted
Vivian Feinberg                                                                        Address Redacted
Vivian Kwan                                                                            2082 Phillips Alley                                                                               Colorado Springs   CO                    80910
VIVIANE FURRIER OLIVEIRA INDUSTRIA                                                     R RONDONIA 130                                                                                    JACUTINGA          MG                    37590-000     Brazil
Vivo Capital                                    Vivo Capital                           192 Lytton Avenue                                                                                 Palo Alto          CA                    94301
Vivo Capital Fund VIII, LP                                                             505 Hamilton Ave., Suite 207,                                                                     Palo Alto          CA                    94301
                                                                                                                                                                                         SAINT HILAIRE DE
VMI S.A.S.                                                                             70 rue anne de bretagne                       PA Marches de bretagne                              LOULAY             MONTAIGU VENDEE       85600         France
Voigt-Abernathy Sales Corp                                                             P.O. Box 100276                                                                                   Birmingham         AL                    35210
Voisins Department Store                        Lyn Marshall                           26-32 King Street                                                                                 St Helier          Jersey                JE4 8NF       United Kingdom
VOLKMAN VIDEO, INC                                                                     165 DUANE ST. 7B                                                                                  NEW YORK           NY                    10013
Von Maur (Vendor)                                                                      6565 Brady Street                                                                                 Davenport          IA                    52806
Vongtharangsy, Nalien                                                                  Address Redacted
VoxPop Communities Inc. DBA Influenster                                                435 Hudson Street, Suite 400                                                                      New York           NY                    10014
VS + Company                                                                           141 Flushing Ave                              Building 77, Suite 1208                             Brooklyn           NY                    11205
VSP Technologies                                                                       P.O. Box 76416                                                                                    Baltimore          MD                    21275-6416
VTG Tanktainer GmbH                                                                    109 East Evans Street                                                                             West Chester       PA                    19380
VUV Analytics, Inc                                                                     715 Discovery Blvd, Suite 502                                                                     Cedar Park         TX                    78613
VWR International Eurolab, S.L.                                                        C/ De la Tecnologia 5-17                      Llinars del Valles                                  Barcelona                                08450         Spain
VWR International LLC                                                                  100 Matsonford Road Building 1                Suite 200                                           Radnor             PA                    19087-8660
VWR International LLC                                                                  PO Box 640169                                                                                     Pittsburgh         PA                    15264-0169
Vy Nguyen                                                                              Address Redacted
W Model Management Ltd                                                                 115 Curtain Road                                                                                  Shoreditch                               EC2A 3AH      United Kingdom
W.C. Rouse Holdings, Inc.                                                              Ste. 14 110 Longale Rd                                                                            Greensboro         NC                    27409
W2O Food Innovation                             C/O Alex Woo                           340 W Diversey Pkwy, Apt 817                                                                      Chicago            IL                    60657
W2O Group                                       C/O tWist Mktg                         Suite 300 100 Campus Drive                                                                        Florham Park       NJ                    07932
Waddington Studios Ltd                                                                 127 CHURCH WALK                                                                                   London                                   N16 8QW       United Kingdom
Wagner Life Science, LLC                                                               PO Box 1209                                                                                       Middleton          MA                    01949
Wake and Jake, LLC                                                                     APT 22K 4220 24TH ST                                                                              Long Island City   NY                    11101-4642
Wal Mart Inc.                                                                          PO Box 60544                                                                                      St Louis           MO                    63150-60544
Walchli Tauber Group                                                                   Suite 201 2225 Old Emmorton Road                                                                  Bel Air            MD                    21015
Wales Bonner / Attn: Zinzi Wilkinson                                                   Address Redacted
Walk The Shark LLC dba Digital Matter                                                  850 Park Ave                                                                                      New York           NY                    10075
Walker, Erica                                                                          Address Redacted
Wall Street Transcript Corp                                                            622 Third Ave., 34th Flr.                                                                         New York           NY                    10017
Wallace, Christopher                                                                   PO Box 954                                                                                        Riegelwood         NC                    28456
WALMART                                                                                702 SW 8th St                                                                                     Bentonville        AR                    72712
WALMART                                                                                708 SW C St                                                                                       Bentonville        AR                    72712




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Walmart.com | Pipette            CHINO COMBO WHSE 8103               6750 KIMBALL AVENUE                                                        CHINO             CA           91708
Walmart.com | Pipette            CLT1N TROUTMAN NC FC - VS3856       386 MURDOCK RD                                                             TROUTMAN          NC           28166
Walmart.com | Pipette            DFW1S FORT WORTH TX FC - VS2148     5300 WESTPORT PKWY                                                         FORT WORTH        TX           76177
Walmart.com | Pipette            DFW6N FORT WORTH TX FC - VS3863     14700 BLUE MOUND RD                                                        FORT WORTH        TX           76052
Walmart.com | Pipette            DISTRIBUTION CENTER 6280            9590 All Points Parkway                                                    Plainfield        IN           46168
Walmart.com | Pipette            DISTRIBUTION CENTER 8589            2 GATEWAY BLVD                                                             PEDRICKTOWN       NJ           08067
Walmart.com | Pipette            DISTRIBUTION CENTER 9180            235 EAST SYDNEY DRIVE                                                      SPARKS            NV           89434
Walmart.com | Pipette            DISTRIBUTION CENTER 9181            30801 W 191ST ST.                                                          GARDNER           KS           66021

Walmart.com | Pipette            ECOMMERCE FULFILLMENT CENTER 7006   5300 Westport Parkway                                                      Fort Worth        TX           76177
Walmart.com | Pipette            KS1 HVFC WHSE EDGERTON KS           30801 W 191ST ST                                                           EDGERTON          KS           66021
Walmart.com | Pipette            NJ1 HVFC WHSE PEDRICKTOWN NJ        2 GATEWAY BLVD CLUB AURRERA                                                PEDRICKTOWN       NJ           08067
Walmart.com | Pipette            NV1 HVFC WHSE MACARRAN NV           235 E SYDNEY DR                                                            SPARKS            NV           89437
Walmart.com | Pipette            PHX1 GLENDALE AZ FC-VS3105          6600 N SARIVAL AVE                  6600 N SARIVAL AVE                     GLENDALE          AZ           85340
Walmart.com | Pipette            REGIONAL DISTRIBUTION CENTER 4008   1015 HIXSON BLVD                                                           LEBANON           TN           370901409
Walmart.com | Pipette            REGIONAL DISTRIBUTION CENTER 7441   3501 BRANDON RD                                                            JOLIE             IL           604361249
Walmart.com | Pipette            REGIONAL DISTRIBUTION CENTER 7552   5756 ENTERPRISE DR                                                         MCCORDSVILLE      IN           460555552
Walmart.com | Pipette            REGIONAL DISTRIBUTION CENTER 7853   5100 N RIDGE TRL                                                           DAVENPORT         FL           33897
Walmart.com | Pipette            REGIONAL DISTRIBUTION CENTER 8240   6055 S. FULTON PARKWAY                                                     ATLANTA           GA           30349
Walmart.com | Pipette            ST                                  4622 MERCEDES DRIVE                                                        BELCAMP           MD           21017
Walmart.com | Pipette            WAL-MART DC 6006A-ASM DIS           2200B 7TH AVENUE SOUTHWEST                                                 CULLMAN           AL           35055
Walmart.com | Pipette            WAL-MART DC 6006G-GENERAL           2200B 7TH AVENUE SOUTHWEST                                                 CULLMAN           AL           35055
Walmart.com | Pipette            WAL-MART DC 6009A-ASM DIS           1501 MAPLE LEAF ROAD                                                       MOUNT PLEASANT    IA           52641
Walmart.com | Pipette            WAL-MART DC 6009G-GENERAL           1501 MAPLE LEAF ROAD                                                       MOUNT PLEASANT    IA           52641
Walmart.com | Pipette            WAL-MART DC 6010A-ASM DIS           690 HIGHWAY 206                                                            DOUGLAS           GA           31533
Walmart.com | Pipette            WAL-MART DC 6010G-GENERAL           690 HIGHWAY 206                                                            DOUGLAS           GA           31533
Walmart.com | Pipette            WAL-MART DC 6011A-ASM DIS           2200 MANUFACTURERS BOULEVARD                                               BROOKHAVEN        MS           39601
Walmart.com | Pipette            WAL-MART DC 6011G-GENERAL           2200 MANUFACTURERS BOULEVARD                                               BROOKHAVEN        MS           39601
Walmart.com | Pipette            WAL-MART DC 6012A-ASM DIS           3100 NORTH I-27                                                            PLAINVIEW         TX           79072
Walmart.com | Pipette            WAL-MART DC 6012G-GENERAL           3100 NORTH I-27                                                            PLAINVIEW         TX           79072
Walmart.com | Pipette            WAL-MART DC 6016A-ASM DIS           3920 IH 35 NORTH                                                           NEW BRAUNFELS     TX           78130
Walmart.com | Pipette            WAL-MART DC 6016G-GENERAL           3920 IH 35 NORTH                                                           NEW BRAUNFELS     TX           78130
Walmart.com | Pipette            WAL-MART DC 6017A-ASM DIS           2108 EAST TIPTON STREET                                                    SEYMOUR           IN           47274
Walmart.com | Pipette            WAL-MART DC 6017G-GENERAL           2108 EAST TIPTON STREET                                                    SEYMOUR           IN           47274
Walmart.com | Pipette            WAL-MART DC 6018A-ASM DIS           2103 SOUTH MAIN                                                            SEARCY            AR           72143
Walmart.com | Pipette            WAL-MART DC 6018G-GENERAL           2103 SOUTH MAIN                                                            SEARCY            AR           72143
Walmart.com | Pipette            WAL-MART DC 6019A-ASM DIS           7504 EAST CROSSROADS BOULEVARD                                             LOVELAND          CO           80538
Walmart.com | Pipette            WAL-MART DC 6019G-GENERAL           7504 EAST CROSSROADS BOULEVARD                                             LOVELAND          CO           80538
Walmart.com | Pipette            WAL-MART DC 6020A-ASM DIS           4224 KETTERING ROAD                                                        BROOKSVILLE       FL           34602
Walmart.com | Pipette            WAL-MART DC 6020G-GENERAL           4224 KETTERING ROAD                                                        BROOKSVILLE       FL           34602
Walmart.com | Pipette            WAL-MART DC 6021A-ASM DIS           1005 SOUTH H STREET                                                        PORTERVILLE       CA           93257
Walmart.com | Pipette            WAL-MART DC 6021G-GENERAL           1005 SOUTH H STREET                                                        PORTERVILLE       CA           93257
Walmart.com | Pipette            WAL-MART DC 6023A-ASM DIS           21504 COX ROAD                                                             SUTHERLAND        VA           23885
Walmart.com | Pipette            WAL-MART DC 6023G-GENERAL           21504 COX ROAD                                                             SUTHERLAND        VA           23885
Walmart.com | Pipette            WAL-MART DC 6024A-ASM DIS           3920 SOUTHWEST BLVD.                                                       GROVE CITY        OH           43123
Walmart.com | Pipette            WAL-MART DC 6024G-GENERAL           3920 SOUTHWEST BLVD.                                                       GROVE CITY        OH           43123
Walmart.com | Pipette            WAL-MART DC 6025A-ASM DIS           6140 3M DRIVE                                                              MENOMONIE         WI           54751
Walmart.com | Pipette            WAL-MART DC 6025G-GENERAL           6140 3M DRIVE                                                              MENOMONIE         WI           54751
Walmart.com | Pipette            WAL-MART DC 6026A-ASM DIS           10817 HWY 99W                                                              RED BLUFF         CA           96080
Walmart.com | Pipette            WAL-MART DC 6026G-GENERAL           10817 HWY 99W                                                              RED BLUFF         CA           96080
Walmart.com | Pipette            WAL-MART DC 6027A-ASM DIS           310 OWENS ROAD                                                             WOODLAND          PA           16881
Walmart.com | Pipette            WAL-MART DC 6027G-GENERAL           310 OWENS ROAD                      ST RT 970                              WOODLAND          PA           16881
Walmart.com | Pipette            WAL-MART DC 6030A-ASM DIS           42-D FREETOWN ROAD                                                         RAYMOND           NH           03077
Walmart.com | Pipette            WAL-MART DC 6030G-GENERAL           42-D FREETOWN ROAD                                                         RAYMOND           NH           03077
Walmart.com | Pipette            WAL-MART DC 6031A-ASM DIS           23701 WEST SOUTHERN AVE                                                    BUCKEYE           AZ           85326
Walmart.com | Pipette            WAL-MART DC 6031G-GENERAL           23701 WEST SOUTHERN AVE                                                    BUCKEYE           AZ           85326
Walmart.com | Pipette            WAL-MART DC 6035A-ASM DIS           3220 NEVADA TERRACE                                                        OTTAWA            KS           66067
Walmart.com | Pipette            WAL-MART DC 6035G-GENERAL           3220 NEVADA TERRACE                                                        OTTAWA            KS           66067
Walmart.com | Pipette            WAL-MART DC 6036A-ASM DIS           8660 SOUTH US HWY 79                                                       PALESTINE         TX           75803
Walmart.com | Pipette            WAL-MART DC 6036G-GENERAL           8660 SOUTH US HWY 79                                                       PALESTINE         TX           75803
Walmart.com | Pipette            WAL-MART DC 6038A-ASM DIS           8827D OLD RIVER RD                                                         MARCY             NY           13403
Walmart.com | Pipette            WAL-MART DC 6038G-GENERAL           8827D OLD RIVER RD                                                         MARCY             NY           13403
Walmart.com | Pipette            WAL-MART DC 6039A-ASM DIS           1659 POTTERTOWN RD                                                         MIDWAY            TN           37809
Walmart.com | Pipette            WAL-MART DC 6039G-GENERAL           1659 POTTERTOWN RD                                                         MIDWAY            TN           37809
Walmart.com | Pipette            WAL-MART DC 6039R-REGULAR           1657 POTTERTOWN RD                                                         MIDWAY            TN           37809
Walmart.com | Pipette            WAL-MART DC 6040A-ASM DIS           1010 WAL-MART DRIVE                                                        HOPE MILLS        NC           28348
Walmart.com | Pipette            WAL-MART DC 6040G-GENERAL           1010 WAL-MART DRIVE                                                        HOPE MILLS        NC           28348
Walmart.com | Pipette            WAL-MART DC 6043A-ASM DIS           492 JONESVILLE ROAD                                                        COLDWATER         MI           49036
Walmart.com | Pipette            WAL-MART DC 6043G-GENERAL           492 JONESVILLE ROAD                                                        COLDWATER         MI           49036
Walmart.com | Pipette            WAL-MART DC 6048A-ASM DIS           3022 HWY 743                                                               OPELOUSAS         LA           70570
Walmart.com | Pipette            WAL-MART DC 6048G-GENERAL           3022 HWY 743                                                               OPELOUSAS         LA           70570
Walmart.com | Pipette            WAL-MART DC 6054A-ASM DIS           385 CALLAWAY CHURCH ROAD                                                   LA GRANGE         GA           30241
Walmart.com | Pipette            WAL-MART DC 6054G-GENERAL           385 CALLAWAY CHURCH ROAD                                                   LA GRANGE         GA           30241
Walmart.com | Pipette            WAL-MART DC 6066A-ASM DIS           694 CRENSHAW BLVD                                                          HOPKINSVILLE      KY           42240
Walmart.com | Pipette            WAL-MART DC 6066G-GENERAL           694 CRENSHAW BLVD                                                          HOPKINSVILLE      KY           42240
Walmart.com | Pipette            WAL-MART DC 6068A-ASM DIS           221 LOIS RD                                                                SANGER            TX           76266
Walmart.com | Pipette            WAL-MART DC 6068G-GENERAL           221 LOIS RD                                                                SANGER            TX           76266
Walmart.com | Pipette            WAL-MART DC 6069A-ASM DIS           1200 MATLOCK DRIVE                                                         ST. JAMES         MO           65559
Walmart.com | Pipette            WAL-MART DC 6069G-GENERAL           1200 MATLOCK DRIVE                                                         ST. JAMES         MO           65559




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                  Creditor Name                                    Attention                               Address 1                          Address 2        Address 3           City              State         Zip             Country
Walmart.com | Pipette                                WAL-MART DC 6070A-ASM DIS            220 WAL-MART DRIVE                                                               SHELBY          NC                28150
Walmart.com | Pipette                                WAL-MART DC 6070G-GENERAL            220 WAL-MART DRIVE                                                               SHELBY          NC                28150
Walmart.com | Pipette                                WAL-MART DC 6080A-ASM DIS            300 VETERANS DRIVE                                                               TOBYHANNA       PA                18466
Walmart.com | Pipette                                WAL-MART DC 6080G-GENERAL            300 VETERANS DRIVE                                                               TOBYHANNA       PA                18466
Walmart.com | Pipette                                WAL-MART DC 6092A-ASM DIS            3110 ILLINOIS HWY 89                                                             SPRING VALLEY   IL                61362
Walmart.com | Pipette                                WAL-MART DC 6092G-GENERAL            3110 ILLINOIS HWY 89                                                             SPRING VALLEY   IL                61362
Walmart.com | Pipette                                WAL-MART DC 6094A-ASM DIS            5801 SW REGIONAL AIRPORT BLVD                                                    BENTONVILLE     AR                72712
Walmart.com | Pipette                                WAL-MART DC 6094G-GENERAL            5801 SW REGIONAL AIRPORT BLVD                                                    BENTONVILLE     AR                72712
Walmart.com | Pipette                                WAL-MART DC 7026A-ASM DIS            945 NORTH STATE ROAD 138                                                         GRANTSVILLE     UT                84029
Walmart.com | Pipette                                WAL-MART DC 7026G-GENERAL            945 NORTH STATE ROAD 138                                                         GRANTSVILLE     UT                84029
Walmart.com | Pipette                                WAL-MART DC 7033A-ASM DIS            C/O WAL-MART HAWAII DISTRIBUTION                                                 APPLE VALLEY    CA                92307
Walmart.com | Pipette                                WAL-MART DC 7033G-GENERAL            C/O WAL-MART HAWAII DISTRIBUTION       21215 JOHNSON ROAD                        APPLE VALLEY    CA                92307
Walmart.com | Pipette                                WAL-MART DC 7034A-ASM DIS            4860 WHEATLEYS POND ROAD                                                         SMYRNA          DE                19977
Walmart.com | Pipette                                WAL-MART DC 7034G-GENERAL            4860 WHEATLEYS POND ROAD                                                         SMYRNA          DE                19977
Walmart.com | Pipette                                WAL-MART DC 7035A-ASM DIS            18245 NW 115 AVENUE                                                              ALACHUA         FL                32615
Walmart.com | Pipette                                WAL-MART DC 7035G-GENERAL            18245 NW 115 AVENUE                                                              ALACHUA         FL                32615
Walmart.com | Pipette                                WAL-MART DC 7036A-ASM DIS            2226 FM 3013 SUITE 100                                                           SEALY           TX                77474
Walmart.com | Pipette                                WAL-MART DC 7036G-GENERAL            2226 FM 3013 SUITE 100                                                           SEALY           TX                77474
Walmart.com | Pipette                                WAL-MART DC 7038A-ASM DIS            4009 SOUTH JENKINS RD                                                            FT PIERCE       FL                34981
Walmart.com | Pipette                                WAL-MART DC 7038G-GENERAL            4009 SOUTH JENKINS RD                                                            FT PIERCE       FL                34981
Walmart.com | Pipette                                WAL-MART DC 7039A-ASM DIS            111 DISTRIBUTION WAY                                                             BEAVER DAM      WI                53916
Walmart.com | Pipette                                WAL-MART DC 7039G-GENERAL            111 DISTRIBUTION WAY                                                             BEAVER DAM      WI                53916
Walmart.com | Pipette                                WAL-MART DC 7045A-ASM DIS            6004 WALTON WAY                                                                  MT. CRAWFORD    VA                22841
Walmart.com | Pipette                                WAL-MART DC 7045G-GENERAL            6004 WALTON WAY                                                                  MT. CRAWFORD    VA                22841
Walmart.com | Pipette                                WALMART DC 7356                      3215 COMMERCE CENTER BLVD                                                        BETHLEHEM       PA                18015
Walmart.com | Pipette                                WAL-MART WAREHOUSE 6037              2650 HWY 395 SOUTH                                                               HERMISTON       OR                97838
Walmart.com | Pipette                                Walmart.com                          850 Cherry Avenue                                                                San Bruno       CA                94066-3031
Walmart.com | Tia Mowry                              CLT1N TROUTMAN NC FC - VS3856        386 MURDOCK RD                         386 MURDOCK RD                            TROUTMAN        NC                28166
Walmart.com | Tia Mowry                              REGIONAL DISTRIBUTION CENTER 7441    3501 BRANDON RD                                                                  JOLIE           IL                60436-1249
Walmart.com | Tia Mowry                              WAL-MART DC 6027A-ASM DIS            310 OWENS ROAD                         ST RT 970                                 WOODLAND        PA                16881
Walmart.com | Tia Mowry                              WAL-MART DC 7033A-ASM DIS            C/O WAL-MART HAWAII DISTRIBUTION       21215 JOHNSON ROAD                        APPLE VALLEY    CA                92307
Walsh Nutrition Group                                                                     808 S Ashland Ave                                                                La Grange       IL                60525
Walsh, Renee                                                                              Address Redacted
Walter Schupfer Management Corporation                                                    401 Broadway, Suite 1400                                                         New York        NY                10013
Walter, Jessica                                                                           Address Redacted
Walters, Angela                                                                           Address Redacted
Walthew, David                                                                            Address Redacted
Wang, Catherine                                                                           Address Redacted
Wang, Han                                                                                 Address Redacted
Wang, Isabel                                                                              Address Redacted
Wang, Ivan                                                                                Address Redacted
Wang, Jun                                                                                 Address Redacted
Wang, Kate                                                                                Address Redacted
Wang, Nu                                                                                  Address Redacted
Wanyi Jiang                                                                               Address Redacted
Wanyi Jiang                                                                               Address Redacted
Warbington, Hailley                                                                       Address Redacted
Ward Jr., David                                                                           Address Redacted
Ware, Shayna                                                                              Address Redacted
Warner Advisors LLC                                                                       7909 Walerga Road PMB 241                                                        Sacramento      CA                95747
Washington, Brittany                                                                      Address Redacted
Wason, Roger                                                                              Address Redacted
Waste Management of Alameda County                   C/O Waste Management of California   PO Box 541065                                                                    Los Angeles     CA                90054-1065
Waste Repurposing International, Inc. (dba Smarter
Sorting)                                                                                  1101 E 6th Street                                                                Austin          TX                78702
Waters Technologies Corp                                                                  Dept CH 14373                                                                    Palatine        IL                60055-4373
Waters Technologies Corporation                                                           PO Box 7410591                                                                   Chicago         IL                60674-0591
Watershed Technology, Inc                                                                 360 9th Street                                                                   San Francisco   CA                94103
Watson, Grant                                                                             Address Redacted
Watson, Latoya                                                                            Address Redacted
Watson, Tiarra                                                                            Address Redacted
Watson-Marlow Inc                                                                         37 Upton Technology Park                                                         Wilmington      MA                01887
Way Model Management Eireli                                                               AL SANTOS 2159                         14Âº andar cj 142                         SÃ£o Paulo      SP                01419-100    Brazil
Wayfarer Entertainment, LLC                                                               2nd Floor 7961 W. 3rd St.                                                        Los Angeles     CA                91604

WBG COMERCIO E CONSULTORIA LTDA                                                           AVENIDA DOUTOR CARDOSO DE MELO 474                                               SAO PAULO       SP                04548-002    Brazil
We Are The Board, LLC                                                                     15821 Ventura Blvd                 Suite 270                                     Encino          CA                91436
we love pr GmbH                                                                           Ungererstrasse 129                                                               Munich          Bavaria           80805        Germany
We Speak LLC                                                                              276 5th Ave                        # 704                                         New York        NY                10001
Weafer, Ryan                                                                              Address Redacted
Weatherwax, Erik                                                                          Address Redacted
Webb, Alexander                                                                           Address Redacted
Weblux Inc DBA Black & Black Creative                                                     3950 Knightsbridge Way                                                           San Ramon       CA                94582
Websavant                                                                                 1001 N Bowen Road                                                                Arlington       TX                76012
WeCircular                                                                                848 Brickell Ave, Suite 1130 A                                                   Miami           FL                33131
Wedepohl, Justin                                                                          Address Redacted
Wegmans Food Market, Inc. (Vendor)                                                        1500 Brooks Avenue                                                               Rochester       NY                14603
Weisman, Brodie, Starr & Margolies, P.A.             Attn.: William S. Weisman, Esq.      140 N Federal Hwy - 2nd Floor                                                    Boca Raton      FL                33432
Weisman, Brodie, Starr & Margolies, P.A.             Attn.: William S. Weisman, Esq.      Attn.: William S. Weisman, Esq.    140 N Federal Hwy - 2nd Floor                 Boca Raton      FL                33432




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                    Creditor Name                                          Attention                             Address 1                                  Address 2                     Address 3           City             State           Zip            Country
Weitzman Consulting Group LLC                                                                  775 Oak Knoll Lane                                                                                     Menlo Park      CA               94025
Welch, Erica                                                                                   Address Redacted
Welch, John                                                                                    Address Redacted
Well Art International (H.K.) Ltd                                                              122 Austin Road                                                                                        Kowloon         KLN              8523          Hong Kong
WellBuilt Construction Enterprises                                                             Suite 1005 237 W 35th Street                                                                           New York        NY               10001
WellBuilt Construction Enterprises, LLC                                                        237 West 35th Street                         Suite 1005                                                New York        NY               10001
Wellcom Group, Inc                                                                             175 Pearl Street                             8th Floor                                                 Brooklyn        NY               11201
Wells Fargo Bank                                      Corp Trust & Escrow Services             WF 8113, P.O. Box 1450                                                                                 Minneapolis     MN               55485-8113
WELLS FARGO BANK, N.A.                                                                         800 WALNUT STREET, F0005-044                                                                           DES MOINES      IA               50309
Wells Insurance                                                                                P.O. Box 2320                                                                                          Wilmington      NC               28402
WeMedia                                               Janco E-Commerce Solutions Limited       DD107, Lot 475, 481-483, 485RP               Yuen Long Fung Kat Heung, NT,                             Hong Kong                                      Hong Kong
                                                                                                                                                                                                      NINGBO FREE
WeMedia                                               NFTZ Zhengzheng E-commerce Co.,LTD O/B ROOM411                                        NO.5 GANGDONG AVENUE                                      TRADE ZONE                                     China
                                                      WeMedia Shopping Network Technology Co.,
WeMedia                                               Limited                                  14/F., Chun Wo Commercial Centre,            23-29 Wing Wo Street, Central,                            Hong Kong                                      Hong Kong
                                                      Wemedia/JJinhua Page Supply Chain
WeMedia                                               Management Co.,LTD                       No.2,Zone D,2nd Floor,E2 Warehouse,          No.888 Zhenghan South Street                              Jinhua City                                    China
WeMedia Shopping Network Holdings C                                                            Suite 1600 660 Newport Center Dr.                                                                      Newport Beach   CA               92660
WeMedia Shopping Network Technology Co.,                                                                                                    23-29 Wing Wo Street, Central, Hong
Limited                                                                                        Room 2A, 14/F Chun Wo Commercial Centre      Kong                                                      Hong Kong                        999077        Hong Kong
Wen Yi Teong                                                                                   Address Redacted
Wen Yi Teong                                                                                   Address Redacted
Wendi Miyake                                                                                   Address Redacted
Wendland, Steven                                                                               Address Redacted
Wenxin Yang                                                                                    Address Redacted

Wesley Gomes da Silva x Ardenghi Engenharia
Industrial - Gelnex Industria e Comercio - CP Kelco
Brasil - Amyris Fermentação de Performance LTDA       DIEGO FERREIRA FREITAS                   Pedro Ludovico Teixeira sTREET Qd. 31        Lt. 41, nº 52, Sala 06                                                                                   Brazil
Wessinger, Richard                                                                             Address Redacted
Western Allied Mechanical Inc                                                                  1180 O'Brien Dr                                                                                        Menlo Park      CA               94025-1411
Western Scientific Fastserv Inc                                                                5035 Clayton Rd.                                                                                       Concord         CA               94521
Westfield Property Management LLC                                                              PO Box 57187                                                                                           Los Angeles     CA               90074
Westover Media                                                                                 11578 s riverwood rd                                                                                   portland        OR               97219
Westpak, Inc.                                                                                  83 Great Oaks Blvd.                                                                                    San Jose        CA               95119
Westrick, Jacob                                                                                Address Redacted
WESTWING COMERCIO VAREJISTA LTDA                                                               AV ODILA CHAVES RODRI 1200, GAPAO A                                                                    JUNDIAI         SP               13213-087     Brazil
WESTWING COMERCIO VAREJISTA LTDA                                                               AV. QUEIROZ FILHO 1700, TORRE A                                                                        SAO PAULO       SP               05319-000     Brazil
Whansen Ltd                                                                                    4 Northwood Lodge                            Oak Hill Park                                             London          London           NW3 7LL       United Kingdom
Whichard, Kiesha                                                                               Address Redacted
Whitacre Logistics LLC                                                                         12602 South Dixie Hwy                                                                                  Portage         OH               43451
White Mountain Process, LLC                                                                    PO Box 1300                                                                                            Sturbridge      MA               01566
White, Amber                                                                                   Address Redacted
White, Lauren                                                                                  Address Redacted
White, Tammy                                                                                   Address Redacted
Whitestone Works, LLC                                                                          Suite 6000 99 Wall Street                                                                              New York        NY               10005
Whiteville Rentals Inc.                                                                        344 Vinson Blvd                                                                                        Whiteville      NC               28472
Whitney English LLC                                                                            636 N. Detroit St.                                                                                     Los Angeles     CA               90036-1946
Wibo Corporation Co.,Ltd.                                                                      59/375 Soi Nimitmai 28 , Klongsawa                                                                     Bangkok                          10510         Thailand
Wichlan, Matthew                                                                               Address Redacted
Wichmann, Gale                                                                                 Address Redacted
Wiesler, Bianca                                                                                Address Redacted
Wildflowers Talent and Models LLC                                                              1751 Colorado Blvd #409                                                                                Los Angeles     CA               90041
Wiley Companies                                                                                545 Walnut Steet                                                                                       Coshocton       OH               43812
Wiley Companies                                                                                PO Box 933322                                                                                          Cleveland       OH               44193
Wiley Companies                                                                                PO Box 933322                                                                                          Cleveland       OH               44193
Wiley Companies                                       Organic Technologies                     PO Box 933322                                                                                          Cleveland       OH               44193
Wiley Rein LLP                                                                                 1776 K Street                                                                                          Washington      DC               20006
Wilhelmina International LTD                                                                   2562 Hylan Blvd                              Unit 61000                                                Staten Island   NY               10306
Wilhelmina London LTD                                                                          6 Perseverance Works                         38 Kingsland Road                                         London                           E2 8DD        United Kingdom
Wilkerson, Tamya                                                                               Address Redacted
Wilkins Media, LLC, v. Amyris, Inc.                   Bailey Duquette P.C.                     Marc B. Duquette                             104 Charlton Street                   1-W                 New York        New York         10014
Wilkins, Solomon                                                                               Address Redacted
Willett & Willett LLP                                                                          Suite 500 9171 Wilshire Blvd                                                                           Beverly Hills   CA               90210
William Giacofci                                                                               Address Redacted
William Reed Business Media Ltd                                                                Broadfield Park                                                                                        Crawley         SW               RH11 9RT      United Kingdom
Williams & Connolly LLP                                                                        725 Twelfth Street, NW                                                                                 Washington      DC               20005
Williams, Natalie                                                                              Address Redacted
Williams, Shawn                                                                                Address Redacted
Williams, Shirley                                                                              Address Redacted
Willingham Welding Solutions Inc                                                               18005 E.Hwy 225                                                                                        La Porte                         77571
Willis, Karlton                                                                                Address Redacted
Willoughby, Hunter                                                                             Address Redacted
Wilmington Rubber & Gasket                                                                     P.O. Box 15249                                                                                         Wilmington                       28408
Wilson Jr., Oliver                                                                             Address Redacted
Wilson Sonsini Goodrich & Rosati                                                               P.O. Box 742866                                                                                        Los Angeles     CA               90074-2866
                                                                                               Flat K, 14/F, Tower 2, Wah Fung Industrial
Winco Design Limited                                                                           Centre, 33-39 Kwai Fung Crescent             Kwai Tsing, N.T.                                          Hong Kong                                      Hong Kong
Windsor                                               Windsor Club, Inc.                       3125 Windsor Boulevard                                                                                 Vero Beach      FL               32963




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                   Creditor Name                                Attention                                 Address 1                       Address 2                   Address 3               City           State           Zip        Country
Windy Riemer                                                                           Address Redacted
Winners Merchants International LP             c/o Accounts Payable                    Winners Merchants International LP    60 STANDISH COURT                                    Mississauga           ON           L5R OG1       Canada
Winston Visions LLC                            Shae Winston                            po box 5056                                                                                columbia              SC           29250
Wirattigowit, Piyawan                                                                  Address Redacted
Wireless Ventures, LLC                         Amerizon                                PO Box 890378                                                                              Charlotte             NC           28289
Wischnia, Beth                                                                         Address Redacted
Wisconsin BioProducts                                                                  6143 N 60 St                                                                               Milwaukee             WI           53218
Wisconsin Department of Revenue                                                        2135 Rimrock Rd                                                                            Madison               WI           53708
Wisconsin Department of Revenue                                                        PO Box 930208                                                                              Milwaukee             WI           53293-0208
With Honors LLC                                                                        15467 Vista Haven Place                                                                    Sherman Oaks          CA           91403
WithumSmith+Brown,PC                                                                   Accounts Receivable                   P.O. Box 5340                                        Princeton             NJ           08540
Wodika Devine                                                                          25625 Southfield Rd. Suite 100                                                             Southfield            MI           48075
Wofford, Elizabeth                                                                     Address Redacted
Wogulis, Mark                                                                          Address Redacted
Wolff Olins                                                                            200 Varick Street, 10th Floor                                                              New York              NY           10014
Wolk, Christine                                                                        Address Redacted
Wolpers, Stephanie                                                                     Address Redacted
Wolverine Flagship Fund Trading Lim                                                    Suite 340 175 W. Jackson Blvd.                                                             Chicago               IL           60604
Women Management                                                                       3 Rue Meyerbeer                                                                            Paris                              75009         France
Women’s Health / Attn: Brian Underwood                                                 Address Redacted
Women's Earth and Climate Action Ne            WECAN                                   #384 775 E. Blithedale Avenue                                                              Mill Valley           CA           94941
Wondersauce, LLC                                                                       45 W 25th St                          6th Floor                                            New York              NY           10010
Wong, Ann                                                                              Address Redacted
Wong, Edrick                                                                           Address Redacted
Wong, Randal                                                                           Address Redacted
Wong, Sarah                                                                            Address Redacted
Wong, Spencer                                                                          Address Redacted
Wong-Sing, Robert                                                                      Address Redacted
Woo, Youmin                                                                            Address Redacted
Wooten, James Gary                                                                     Address Redacted
Wooten,James Gary                                                                      Address Redacted
Workday, Inc.                                                                          6110 Stoneridge Mall Road                                                                  Pleasanton            CA           94588
Workday, Inc.                                                                          6110 Stoneridge Mall Road                                                                  Pleasanton            CA           94588
Workiva Inc.                                                                           2900 University Blvd                                                                       Ames                  IA           50010
World Courier Inc                                                                      PO Box 842325                                                                              Boston                MA           02284-2325
World Wide Packaging LLC                                                               5995 Sepulveda Blvd                   Suite 200                                            Culver City           CA           90230
World Wide Technology, LLC                                                             1 World Wide Way                                                                           St. Louis             MO           63146
Wormser Corporation                                                                    150 Coolidge Ave                                                                           Englewood             NJ           07631
Wpromote, LLC                                                                          2100 E. Grand Avenue                  1st Floor                                            El Segundo            CA           90245
Wrenn Management LLC                                                                   8149 Santa Monica Blvd. #284                                                               Los Angeles           CA           90046
Wright Brothers Institute                                                              5000 Springfield Street, Ste 100                                                           Dayton                OH           45431
Wright Gardner, LLC                                                                    128 Starlite St                                                                            South San Francisco   CA           94080
Wright, Oksana                                                                         Address Redacted
Wright's Media, LLC                                                                    2407 Timberloch Place                 Suite B                                              The Woodlands         TX           77380-1039
Wrike, Inc.                                                                            70 N. 2nd Street                                                                           San Jose              CA           95113
Wrk Lab, Inc                                                                           3605 NW 115th Ave.                                                                         Doral                 FL           33178
WT MEDIA London LTD                                                                    60-66 Wardou                          2nd Floor, National House                            London                             EC1R 0HU      United Kingdom
Wu, Iris                                                                               Address Redacted
Wu, Jinghua                                                                            Address Redacted
Wu, Tung-Yun                                                                           Address Redacted
Wu, Weiyin                                                                             Address Redacted
Wu, Ying Min                                                                           Address Redacted
WW Administration Services LLC- Costa Brazil   Sara Kempe/Ashley Conte                 WW Administration Services LLC        500 108th Ave NE            Suite 1100               Bellevue              WA           98004
WW Administration Services LLC- Costa Brazil   WildLife                                6962 Wildlife Road                                                                         Malibu                CA           90265
WWD, Beauty Inc / Attn: James Manso                                                    Address Redacted
Wyoming Department of Revenue                                                          122 West 25th St, Herschler Bldg.                                                          Cheyenne              WY           82002-0110
Xavier Diniz, Angelica                                                                 Address Redacted
XDIRECTN                                                                               29 Scales Rd                                                                               London                             N179HD        United Kingdom
Xela Pack Inc                                                                          8300 Boettner Road                                                                         Saline                MI           48176
Xia, Christine                                                                         Address Redacted
Xiong, Yi                                                                              Address Redacted
xSuite North America Inc.                                                              Suite 300 100 Pennsylvania Ave.                                                            Framingham            MA           01701
Xuechen Jiang                                                                          Address Redacted
XX Artists                                                                             #102 936 N Hudson Ave.                                                                     Los Angeles           CA           90038
XYZ Graphics, Inc.                                                                     190 Lombard Street                                                                         San Francisco         CA           94111
Y Eighty Three INC                                                                     6700 Indian Creek Drive               403                                                  Miami Beach           FL           33141
Yadav, Monika                                                                          Address Redacted
Yadin, Ron                                                                             Address Redacted
Yaël Bienenstock                                                                       Address Redacted
Yana Gorcheva                                                                          Address Redacted
Yang, Liu                                                                              Address Redacted
Yang, Steven                                                                           Address Redacted
Yang, Yue                                                                              Address Redacted
YANGZHOU DAQIAN COSMETICS CO.,LTD              St. Onge Steward Johnston & Reens LLC   Stephen McNamara                      986 Bedford St.                                      Stamford              CT           06905
Yao, Brian                                                                             Address Redacted
Yap, Benjamin                                                                          Address Redacted
Yasmin Hartary                                                                         Address Redacted
Yasmine Chanel                                                                         Address Redacted
YeEun Kim                                                                              Address Redacted




In re: Amyris, Inc., et al.
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                   Creditor Name                               Attention                          Address 1                         Address 2                Address 3               City            State           Zip            Country
Yeh, Phoebe                                                                      Address Redacted
Yeon, Su                                                                         Address Redacted
Yeow, Ngee Ping                                                                  Address Redacted
Yessica Santos                                                                   Address Redacted
Yi, Angie                                                                        Address Redacted
Yi, Stacy                                                                        Address Redacted
Yi, Un                                                                           Address Redacted
Yishai, Oren                                                                     Address Redacted
YM&U Entertainment Inc                                                           23679 Calabasas Rd                    #340                                              Calabasas          CA               91302
YNAP - NET-A-PORTER / ATTN: BLAIR
RUTLEDGE                                                                         Address Redacted
Yokogawa Corporation of America                                                  2 Dart Rd.                                                                              Newman             GA               30265
Yoly LoBello                                                                     Address Redacted
YOOX NET-A-PORTER GRP                                                            Address Redacted
Yotpo Inc.                                                                       33 W 19th St.                         5th floor                                         new york           NY               10011
Youn, Sekyong                                                                    Address Redacted
Younes, Rowaida                                                                  Address Redacted
Yousif, Nadia                                                                    Address Redacted
Yovanna Ventura                                                                  Address Redacted
YRC Freight                                                                      PO Box 100129                                                                           Pasadena           CA               91189-0003
Yuan, Shuo-Fu                                                                    Address Redacted
Yuen, Holly                                                                      Address Redacted
Yung, Jessica                                                                    Address Redacted
Yurgel, Peter                                                                    Address Redacted
Z&R Design                                                                       4939 Hood Dr.                                                                           Woodland Hills     CA               91364
Zacarias dos Santos x Mafiza Empreiteira e
Engenharia LTDA - Amyris Fermentação de
Performance LTDA                             ERMELINDO NARDELI NETO              Campos Sales street                   nº 661 - Barueri/SP                                                                   06401-000.    Brazil
Zachariah Epperson                                                               Address Redacted
Zachary Ballantine                                                               Address Redacted
Zack Peter, LLC                                                                  #1615 755 S. Spring Street                                                              Los Angeles        CA               90014
Zamanian, Alison                                                                 Address Redacted
Zand Dermatology, Inc.                                                           655 Redwood Hwy                       Suite 246                                         Mill Valley        CA               94941
Zappi                                                                            77 Sleeper Street                                                                       Boston             MA               02210
Zar, Rachel                                                                      Address Redacted
Zara's Kitchen Ltd                                                               48A Boscombe Road                                                                       London             London           W12 9HU       United Kingdom
Zavala Jimenez, Mario                                                            Address Redacted
Zawadzka, Anna                                                                   Address Redacted
Zdot,LLC dba Bounce Marketing & Events                                           1327 Island Ave                                                                         Pittsburgh         PA               15212
Zee, Joe                                                                         Address Redacted
Zem Joaquin                                                                      #657 145 Town Center                                                                    Corte Madera       CA               94925
Zencore Group, LLC                                                               STE 16809 548 Market St                                                                 San Francisco      CA               94104
Zendesk Inc                                                                      1019 Market Street                                                                      San Francisco      CA               94103
Zeochem                                                                          1600 West Hill Street                                                                   Louisville         KY               40210
ZeroCater, Inc.                                                                  115 Stillman St                                                                         San Francisco      CA               94017
Zest Tea, LLC                                                                    321 1100 Wicomico St                                                                    Baltimore          MD               21230
Zeta Global Corp.                                                                PO Box 825451                                                                           Yountville         CA               94599
Zhang, Carl                                                                      Address Redacted
Zhang, Guo-Chang                                                                 Address Redacted
Zhang, Jian                                                                      Address Redacted
Zhang, Ruoxin                                                                    Address Redacted
Zhang, Simon                                                                     Address Redacted
Zhang, Yang                                                                      Address Redacted
Zhang, Zhongtian                                                                 Address Redacted
Zhao, Lishan                                                                     Address Redacted
Zhenya Posternak                                                                 Address Redacted
ZHENYA POSTERNAK                                                                 Address Redacted
Zhong, Wenqing                                                                   Address Redacted
Ziac, Julia                                                                      Address Redacted
Ziegelman et al. v. Amyris, Inc.             Jad Sheikali                        Honigman LLP                          155 North Wacker Drive   Suite 3100               Chicago            IL               60606-1734
Zion Ko Lamm                                                                     905 Kenilworth Ave                    Suite 579                                         Charlotte          NC               28204
Zitoli, Alexander                                                                Address Redacted
Zitomer                                      Zitomer / Attn: Sharmin Rai         969 Madison Avenue, 1st Floor                                                           New York City      NY               10021
Zlamal, Jaime                                                                    Address Redacted
Znameroski, Elizabeth                                                            Address Redacted
Zook Enterprises LLC                                                             16809 Park Circle Dr.                                                                   Chagrin Falls                       44023
ZPE LLC                                      Zero Point Extraction               Suite 101 2615 SW Cessna Dr                                                             Prineville         FL               32603
Zulberti, Joseph                                                                 Address Redacted
Zulily, LLC                                  Zulily c/o ArcBest Consolidation    2001 Harrisburg Pike                                                                    Carlisle           PA               17015
Zulily, LLC                                  Zulily, LLC                         2601 Elliott Avenue, Suite 200                                                          Seattle            WA               98121
Zulily, LLC                                  Zulily, LLC - CAFC                  7925 Rosemead Blvd                                                                      Pico Rivera        CA               90660
Zulily, LLC                                  Zulily, LLC - NVFC                  3200 USA Parkway                                                                        McCarran           NV               89434
Zulily, LLC                                  Zulily, LLC - OHFC                  3051 Creekside Parkway                                                                  Lockbourne         OH               43194
Zulily, LLC                                  Zulily, LLC - PAFC                  10 Emery Street                                                                         Bethlehem          PA               18015
Zulily, LLC                                  Zulily, LLC - TNCC                  890 Visco Driver                                                                        Nashville          TN               37210
Zupnick, Chanan                                                                  Address Redacted
Zurmuhle, Alexander                                                              Address Redacted
Zuuk International                                                               3567 Meeting Street Rd.                                                                 North Charleston   SC               29405
Zymo Research Corporation                                                        17062 Murphy Ave                                                                        Irvine             CA               92614




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                                                                                          Creditor Matrix



                     Creditor Name   Attention                            Address 1                 Address 2        Address 3           City        State        Zip   Country
ZZY Inc                                                1319 N Avenue 50                                                          Los Angeles    CA           900042




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